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 1 Christopher Celentino (State Bar No. 131688)
   Yosina M. Lissebeck (State Bar No. 201654)
 2 Christopher B. Ghio (State Bar No. 259094)
   DINSMORE & SHOHL LLP
 3 655 West Broadway, Suite 800
   San Diego, CA 92101
 4 Telephone: 619.400.0500
   Facsimile: 619.400.0501
 5 christopher.celentino@dinsmore.com
   yosina.lissebeck@dinsmore.com
 6 christopher.ghio@dinsmore.com

 7 Special Counsel to Richard A. Marshack, Chapter 11
   Trustee For The Bankruptcy Estate Of The Litigation
 8 Practice Group P.C. and Liquidating Trustee of the
   LPG Liquidation Trust
 9
                             UNITED STATES BANKRUPTCY COURT
10              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
11
     In re:                                       Case No. 8:23-bk-10571-SC
12
     THE LITIGATION PRACTICE GROUP P.C.,          Chapter 11
13
                          Debtor.                 SECOND AND FINAL CHAPTER 11
14                                                APPLICATION OF DINSMORE &
                                                  SHOHL LLP FOR COMPENSATION
15                                                AND REIMBURSEMENT OF
                                                  EXPENSES FOR THE PERIOD JULY 1,
16                                                2024 THROUGH SEPTEMBER 23, 2024;
                                                  DECLARATION OF CHRISTOPHER
17                                                CELENTINO
18
                                                  Hearing:
19                                                Date: January 14, 2025
20                                                Time: 10:00 a.m.
                                                  Ctrm: 5C
21                                                Judge: Hon. Scott C. Clarkson
                                                  Place: 411 West Fourth Street
22                                                       Santa Ana, CA 92701
23

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 1                                             SUMMARY OF FEE REQUEST
 2       Name of Applicant:                                      Dinsmore & Shohl LLP
 3       Authorized to Provide Professionals                     Special Counsel to Richard A. Marshack,
         Services to:                                            Chapter 11 Trustee For The Bankruptcy Estate
 4                                                               Of The Litigation Practice Group P.C
 5       Date of Retention:                                      Application filed (ECF No. 91), and Order (ECF
                                                                 No. 171) entered on July 5, 2023, effective as of
 6                                                               May 8, 2023
 7       Period for Which Final Award of                         May 8, 2023 – September 23, 2024
         Compensation and Reimbursement is
 8       Sought:
 9       Amount of Final Award of Compensation                   $5,947,875.25
         Sought:
10
         Amount of Final Award of Expenses                       $63,191.65
11       Sought:
12       Second Period for Which Additional                      July 1, 2024-September 23, 2024
         Compensation and Reimbursement is
13       Sought:
14       Amount of (Unpaid) Compensation Sought                  $1,202,050.00
         for Second Period:
15
         Amount of (Unpaid) Expense                              $5,812.54
16       Reimbursement Sought for Second Period:
17       Fees and Costs Previously Requested and                 Total Amount of $ 4,803,204.36, consisting of:
         Awarded:
18                                                                   (i)       $4,745,825.251 for fees in the First
                                                                               Period (May 8, 2023 through June 30,
19                                                                             2024); and
20

21                                                                   (ii)      $57,379.11 for costs in the First
                                                                               Period (May 8, 2023 through June 30,
22                                                                             2024)

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     1
         $650,000 of this amount has not been paid, as it is a hold back which will be paid pursuant to a Stipulation [Dkt 1698]
28           and Order [Dkt 1714] entered September 20, 2024.



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 1

 2          Dinsmore & Shohl LLP ("Dinsmore" or "Applicant"), as Special Counsel to Richard A.

 3 Marshack, Chapter 11 Trustee For The Bankruptcy Estate Of The Litigation Practice Group P.C. and

 4 Liquidating Trustee of the LPG Liquidation Trust (the "Trustee" or "Marshack") in the above-

 5 captioned bankruptcy case for the above captioned debtor (the "Debtor"), hereby submits this second

 6 and final application (the “Application”) for an Order allowing and approving payment of final

 7 compensation for legal services rendered and reimbursement of expenses incurred or estimated to be

 8 incurred during the period May 8, 2023 through September 23, 2024 (the “Total Period”). The Total

 9 Period includes Dinsmore’s unpaid request contained in this second application period of July 1,

10 2024 through September 23, 2024 (the "Application")

11                                                       I.

12                                           INTRODUCTION

13          This Application is filed pursuant to section 331 of Title 11 of the United States Code, 11

14 U.S.C. §§ 101 et seq. (the "Bankruptcy Code"), Rule 2016(a) of the Federal Rules of Bankruptcy

15 Procedures (the "Bankruptcy Rules") and Local Bankruptcy Rule 2016-1. Applicant has reviewed

16 the requirements of Local Rule 2016-1 and the Application complies with such rule.

17          On March 20, 2023 (the "Petition Date"), The Litigation Practice Group P.C. filed a

18 voluntary petition under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

19 ("Bankruptcy Code"), which commenced the above-referenced bankruptcy case (the "Case").

20          On May 8, 2023, the Office of the United States Trustee (the "U.S. Trustee") appointed

21 Richard A. Marshack to serve in a fiduciary capacity as the chapter 11 trustee of the Debtor's Estate

22 [Dkt. No. 62]. On or about May 8, 2023, the Trustee filed his Acceptance of Appointment as

23 Chapter 11 Trustee [Dkt. No. 63]. On or about May 8, 2023, the Court approved the appointment of

24 the Trustee as the Chapter 11 trustee in the Case [Dkt. No. 65].

25          On June 23 and 29, 2023, the U.S. Trustee appointed a seven-member Official Committee of

26 Unsecured Creditors of the Litigation Practice Group P.C. (the "Committee") to represent the general

27 interests of unsecured creditors in the Bankruptcy Case [Dkt. Nos. 134 and 157].

28 ///


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 1           On or about July 5, 2023, by order entered August 17, 2017, the Court authorized Trustee's
 2 retention of Dinsmore as his special counsel [Dkt. No. 171].

 3           On September 3, 2024, Dinsmore filed its First Chapter 11 Application for Compensation
 4 and Reimbursement of Expenses for the Period May 8, 2023 through June 30, 2024 [Dkt. No. 1621]

 5 (the "First Application"), which sought allowance and payment of $4,745,825.25 in fees and

 6 $57,379.11, for a total of $4,803,204.36.

 7           On October 1, 2024, this Court entered its Omnibus Order Granting Applications for
 8 Compensation and Reimbursement of Expenses [Dkt. No. 1778] (the "First Fee Order") allowing

 9 Dinsmore's interim fees and expenses in the amount of $4,745,825.25 and $57,379.11, respectively.

10 Dinsmore agreed to a voluntary deferral of $650,000.00, which shall be paid in accordance with

11 Paragraph 4 of such order.

12           Pursuant to its First Application for allowance of fees and reimbursement of expenses
13 Dinsmore was paid $4,153,204.36, representing fees in the amount of $4,095,825.25 and costs in the

14 amount of $57,379.11.

15           By this Second Application, Dinsmore seeks allowance and payment of $1,202,050.00 in
16 fees and $5,812.54 in expenses for the period from July 1, 2024 through September 23, 2024 (the

17 "Application Period"), for a total of $1,207,862.54. This requested amount takes into account: (1)

18 deductions made for fees incurred but not charged in the approximate amount of $189,427.50; (2)

19 deductions made for fees charged in the amount of $3,677.50 (which consists of approximately a

20 50% discount for travel time for required appearance at hearings); (3) deductions made for expenses

21 incurred but not charged in the amount of $798.50;2 and (4) for a voluntary no charge in total

22 amount of $3,737.50.3 The total courtesy discounts/no charges represent approximately 16% of all

23 fees.

24           Applicant, in compliance with the Court's Order Appointing Fee Examiner ("Examiner
25 Order"), will transmitthe time records relevant to this Application to the Fee Examiner for review.

26
             2
                 Id.
27
             3
                 Details related to fees and expenses incurred but not charged are not reflected in this Application or the
28 exhibits attached hereto.


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 1 The Application submitted herewith, and the time records in support thereof, will be reviewed by the

 2 Fee Examiner prior to the hearing. Applicant will make any adjustment as needed, through a

 3 supplemental declaration, prior to the hearing.

 4          Dinsmore seeks an order granting, on a final basis: (a) allowance of $5,947,875.25 for fees
 5 incurred during the Total Period, and (b) authority for the Trustee to pay 100% of those allowed and

 6 unpaid fees of $1,202,050.00 for the Second Period from available funds in the Estate to Dinsmore.

 7 Further, Dinsmore seeks an order granting, on a final basis: (a) allowance of $63,191.65 for

 8 reimbursement of those costs incurred during the Total Period, and (b) authority for the Trustee to

 9 pay 100% of those allowed and unpaid costs of $5,812.54 for the Second Period from available

10 funds in the Estate to Dinsmore.

11                                                    II.
12                                 DINSMORE'S ROLE IN THE CASE
13          The Trustee has noted that, prior to his appointment in May 2023, the Debtor is a
14 professional corporation organized under the laws of the State of California with its principal place

15 of business in Tustin, California. As of the Petition Date, the Debtor operated as a law firm that

16 provided consumer debt validation services to its clients. The Case has a storied history, and future,

17 and Applicant is proud of the role it has served in the Case to date, and the current and anticipated

18 results expected in the Case on behalf of the Trustee and creditors.

19          Tony M. Diab ("Mr. Diab"), and his disbarment in California and Nevada, was the direct
20 cause of the Debtor's formation. On January 14, 2019, the Supreme Court of the State of Nevada

21 entered an order disbarring Mr. Diab from the practice of law in Nevada. The Nevada disbarment

22 order related to significant misconduct, including stealing a $375,000 client settlement payment,

23 forging client retainer agreements to conceal the conversion of client funds, and forging the

24 signature of a judge on a falsified order. On February 7, 2019, the State Bar of California entered

25 default against Mr. Diab on similar claims in a pending California proceeding and ordered that Mr.

26 Diab's law license be placed on involuntary inactive status. Mr. Diab was subsequently disbarred

27 from the practice of law in California on January 10, 2020.

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 1          The Debtor was incorporated in California on February 22, 2019. The timing is noteworthy:
 2 the incorporation occurred less than a month after Mr. Diab's Nevada disbarment and two weeks

 3 after Mr. Diab's law license was placed on involuntary inactive status in California. The Trustee

 4 alleges that the Debtor was formed to conceal the transfer and continuation of Mr. Diab's preexisting

 5 debt resolution practice notwithstanding his inability to practice law.

 6          It is with Applicant's assistance and investigation that the Trustee was able to document and
 7 detail the below-noted horrifying picture of Mr. Diab's orchestrated fleecing of Debtor's consumer

 8 clients, creditors, investors, and numerous third parties.

 9          The Trustee has further alleged that the Debtor's named management served as a shell to
10 permit Mr. Diab to continue de facto control over business operations despite no longer holding a

11 license to practice law. John Thompson ("Mr. Thompson") was the original, sole shareholder and

12 managing partner of the Debtor between February and November 2019. Daniel March ("Mr.

13 March") took assignment of Mr. Thompson's ownership in the Debtor in November 2019, and

14 served as the sole shareholder and managing partner of the Debtor until the appointment of the

15 Trustee. Mr. March has pleaded "no contest" to California disbarment proceedings regarding his law

16 license, essentially accepting the allegation that, during his tenure, he assisted Mr. Diab and the

17 Debtor in stealing over $272 Million from the consumer clients of LPG.

18          In each instance, the Trustee alleges that Mr. Diab effectively "rented" the law licenses of
19 Mr. Thompson and Mr. March, neither of whom exercised any actual management or control over

20 the Debtor. During this time, Mr. Diab impersonated Mr. March and Mr. Thompson, forged Mr.

21 March's signature on documents, and purportedly provided legal advice to clients of the Debtor.

22          Prepetition, the Debtor serviced more than 50,000 consumer clients across the United States
23 with an estimated annual cash flow of $150 million in 2022; that cash flow, however, does not

24 represent a revenue stream in which Debtor has an equitable interest, to the contrary, the monies

25 received were essentially trust funds belonging to consumer clients of LPG, and not LPG itself.

26 Generally, the relationship between the Debtor and its consumer clients was governed by a legal

27 services agreement (an "LSA") that established an attorney-client relationship between the parties.

28 During the course of the Case, the Debtor's LSA's were rejected, and the consumer clients, at their


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 1 election, were authorized to enter into brand new unrelated legal agreements with Morning Law

 2 Group ("MLG") (discussed infra.), and a portion of the revenue from which new agreements are

 3 pledged to the Debtor Estate from which payments to creditors can be made by the Trustee.

 4          The Debtor utilized both in-house and third-party marketing affiliates to obtain consumer
 5 client referrals on a massive scale. The Debtor's "in-house" marketing efforts were operated through

 6 an entity called Coast Processing, which was acquired by Mr. Diab in 2021. The Debtor also utilized

 7 a network of hundreds of third-party marketing affiliates to purchase referrals. In each case, the

 8 Debtor acquired potential client data through in-house or third-party efforts that identified victims of

 9 predatory lending, significant debt potentially subject to challenge, and other methods. Rather than

10 pay for these referral lists upfront, the Debtor paid third-party marketing affiliates a percentage of its

11 “revenue” stream, the collections earned from referred clients through revenue generated from those

12 clients during their engagement with the Debtor. The marketing affiliates' practices were dubious at

13 best and, included direct solicitation and referral of clients (which may have violated the rules of

14 professional conduct governing licensed attorneys in multiple jurisdictions). Additionally, in some

15 circumstances, the marketing affiliates would assist with the execution of an LSA between the

16 Debtor and a consumer client. Applicant asserts that this illegal arrangement was detrimental to

17 Debtor and served primarily to line the pockets of the affiliate marketing companies.

18          The Trustee alleges, and Applicant investigated and determined, that Mr. Diab, and a series
19 of co-conspirators, orchestrated and implemented a scheme to fraudulently transfer client files, and

20 purportedly the related consumer trust funds to be received, to third parties. The series of prepetition

21 transactions involving the Debtor, Mr. Diab, Mr. Diab's co-conspirators, or their affiliates include

22 the following:

23                 Repeatedly either selling, or utilizing as purported collateral, the same accounts
24                  receivable from the same client files to factoring companies, other lenders, or
25                  investors;
26                 Transferring client files to third parties selected by Mr. Diab, or his co-conspirators,
27                  and such transfers of client files were made for inadequate or no consideration and
28                  without consumer client consent;


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 1                 Intercepting ACH draws from client accounts under the LSAs and diverting the funds
 2                  collected to the fraudulent transferees; and
 3                 Causing the fraudulent transferees to initiate redundant or duplicative, and
 4                  unauthorized, ACH draws against consumer client accounts.
 5          The foregoing transactions, among others, siphoned substantial cash flow from the Debtor.
 6 The Debtor also entered into a series of purportedly secured borrowings, sales, and investments on

 7 unfavorable terms to finance the Debtor's operations and pay fees owed to the Debtor's marketing

 8 affiliates that the Debtor's cash flow from accounts receivable were unable to sustain.

 9          Creditors and clients became increasingly aware of the Debtor's misconduct, orchestrated by
10 Mr. Diab and his co-conspirators. By way of example, between late April 2023 and May 2023,

11 entities to which the Debtor impermissibly transferred client files began receiving significant client

12 complaints related to duplicative or fraudulent ACH draws against their personal accounts. Other

13 creditors who expected more significant payments under the terms of their agreements began filing

14 lawsuits to enforce their asserted rights against the Debtor. On March 10, 2023, a California state

15 court in one such lawsuit ordered the appointment of a receiver. The Debtor filed the Bankruptcy

16 Case, in March 2023 in part, to frustrate the appointment of the Receiver.

17          The Trustee was appointed on May 8, 2023, and retained Applicant on May 18, 2024.
18 Applicant commenced a "deep dive" of the allegations to date, and located witnesses who worked

19 for LPG, worked for competitors of LPG (the fraudulent conveyance partners), creditors of LPG,

20 and advertising affiliates of LPG who provided documents and testimony that established the many

21 tentacles of the fraudulent enterprise established by Mr. Diab and his many co-conspirators.

22 Applicant prepared and filed a complaint against the many participants in Diab's scam, and filed for

23 a TRO under seal on May 25, 2023. The Court granted the TRO on May 26, 2023 and with

24 Applicant's coordination and advanced planning, when served on many third parties, the LPG

25 electronic infrastructure was essentially “frozen”, the databases copied, the ACH processing halted,

26 the bank accounts and sources of funds secured, the computer logins (except for a few nefarious

27 operators) were mostly terminated and data retained, and the premises occupied by the fraudulent

28 conveyance partner(s) that contained all of the Debtor's computers and related equipment was


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 1 catalogued and seized. The Court granted a Preliminary Injunction on June 2, 2023 memorializing

 2 the TRO. Applicant assisted in the preparation of successful financing motions, a successful motion

 3 to approve interim management agreement, and a successful motion to sell the assets of LPG –

 4 including its client contact lists and proprietary database and operating code – pursuant to written

 5 opinion issued July 21, 2024. While there appears to be interference with the conversion of clients

 6 to new agreements with the buyer of the assets – which interference will become known in the next

 7 phase of the Case, Applicant has analyzed litigation targeting multiple fronts, and at this juncture

 8 notes:

 9          a.      Two lawsuits and successful motions, settlements and claims objections vis-à-vis
10 secured creditors reduced alleged secured debt of $174,901,643 to a reduction of $1,355,000 with

11 settlements insuring that effective day payments for secured creditors total $720,000 with the

12 balance being paid after Applicant and the Estate are successful in obtaining $10 Million in litigation

13 proceeds; with one claim, that of Azzure, set for Summary Judgment in November and another

14 Bridge, having appealed the granting of the Summary Judgment decided against it.

15          b.      Applicant on behalf of the Trustee has filed 3 fraudulent conveyance and other claims
16 against co-conspirators and other entities and has already achieved settlements in the amount of $1.6

17 Million. Applicant on behalf of the Trustee has successfully pursued a writ of attachment against

18 one such recipient, Bayrooti.

19          c.      Applicant on behalf of the Trustee has filed 11 claims against marketing targets,
20 seeking not less than $11.5 Million in damages, has obtained three default judgment in the amount of

21 $3.9 Million, has one approved Settlement, for payment of $90,000 to the Estate, , has 3 Motions for

22 Summary Judgment that have or will be filed shortly, is discussing settlements in other matters, and

23 has another 50-100 targets to review and investigate;

24          d.      Applicant on behalf of the Trustee has filed 2 claims against MCA Defendants
25 seeking not less than $7 Million in damages, and anticipates filing, another 5-10 such claims;

26          e.      Applicant on behalf of the Trustee has filed multiple claims against avoidance
27 recipients, as noted above, and anticipates filing additional claims. Further, Applicant is assisting

28 the Trustee in evaluating other avoidance recipients not noted above, that may not have been


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 1 marketers or MCA type lenders, but simply obtained an avoidable transfer within the applicable time

 2 period. That list contains over 517 potential transferees with approximately $100 Million or more in

 3 damages.

 4              Applicant submits that its efforts to date have been highly successful, and as a result, the
 5 Trustee is poised to have a successful case.

 6                                                                III.
 7                                               APPLICATION SUMMARY
 8 A.           Second Application Summary
 9              1.       Applicant: Dinsmore & Shohl LLP
10              2.       Application Period: July 1, 2024 through September 23, 2024
11              3.       Date of Entry of Order Authorizing Employment: July 5, 2023
12              4.       Date Services by Applicant Commenced: May 8, 2023
13              5.       Date of Prior Fee Application: September 3, 2024
14              6.       Advance Retainer Received: None
15              7.       Fees Previously Awarded: $4,745,825.254
16              8.       Expenses Previously Awarded: $57,379.11
17 B.           Fees and Expenses Sought in this Application
18              By this Application, Dinsmore seeks allowance and payment of $1,202.050.00 in fees and
19 $5,812.54 in expenses for the period from July 1, 2024 through September 23, 2024, for a total of

20 $1,207,862.54. This requested amount takes into account:

21              (1) deductions made for fees incurred but not charged in the approximate amount of
22              $189,427.50;
23              (2) deductions made for fees charged in the amount of $3,677.50 (which consists of
24              approximately a 50% discount for travel time for required appearance at hearings);
25               (3) deductions made for expenses incurred but not charged in the amount of $798.50; and
26               (4) for a voluntary no charge in total amount of $3,737.50.
27 The total courtesy discounts/no charges represent approximately 16% of all fees.

28   4
         As reflected in the First Fee Order, Dinsmore agreed to a voluntary deferral of $650,000.00.



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 1          The fees and expenses requested, for the Application Period, hearing information on this
 2 Application and the deadline for filing and serving a written opposition to this Application are set

 3 forth in the Notice filed concurrently herewith.

 4                                                     IV.
 5                                            BACKGROUND
 6 A.       Terms of Employment
 7          On or about June 7, 2023, Dinsmore submitted the Notice of Filing Application Pursuant to
 8 11 U.S.C. Section 327(a) Authorizing the Retention and Employment of Dinsmore & Shohl LLP as

 9 Special Counsel for Chapter 11 Trustee Richard A. Marshack and Opportunity to Request a Hearing

10 [Dkt No. 91], and the Authorizing the Retention and Employment of Dinsmore & Shohl LLP as

11 Special Counsel for Chapter 11 Trustee Richard A. Marshack [Dkt. No. 90] and related pleadings

12 [Dkt. Nos. 90-1 and 92] (collectively, the "Employment Pleadings") whereby the Trustee sought to

13 employ Dinsmore as special counsel in this Case (the "Employment Application") pursuant to the

14 terms set forth therein. By order entered on July 5, 2023, [Dkt. No. 171] (the "Employment Order"),

15 the Court approved the Employment Application and authorized the Trustee to employ Dinsmore as

16 its special counsel in this Case effective as of May 8, 2023.

17          Under the Employment Pleadings, Dinsmore agreed to be compensated for services rendered
18 on the basis of its hourly billings and expenses incurred, subject to approval by this Court.

19 Dinsmore has not shared, has no plan to, and has not entered into any agreement with any third

20 party, to share fees which may be allowed or paid as special counsel for the Trustee, except under

21 such arrangements as may exist among the partners and employees of Dinsmore. As this Court is

22 aware, and as was disclosed in Dinsmore's Employment Pleadings at the outset of the Case,

23 Dinsmore did not receive a pre-petition retainer on account. Dinsmore submitted a comprehensive

24 Rule 2014 disclosure at the outset [Dkt. Nos. 90-92] and one supplemental Rule 2014 disclosure

25 during the case [Dkt. No. 1430].

26 B.       Case Status and Dinsmore's Activity in the Case
27          1.      Motions to Dismiss or Convert the Bankruptcy Case and Appointment of the
28                  Trustee by the U.S. Trustee.


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 1          On March 30, 2023, the Office of the United States Trustee filed a motion [Dkt. No. 21] (the
 2 "U.S. Trustee Dismissal Motion") to dismiss the Bankruptcy Case or convert the Bankruptcy Case to

 3 a case under chapter 7 of the Bankruptcy Code. Although filed only shortly after the Bankruptcy

 4 Case, the U.S. Trustee observed that the Debtor had already failed to comply with a litany of

 5 reporting requirements, including: (i) failure to provide proof of insurance; (ii) failure to provide

 6 evidence the Debtor closed its prepetition bank accounts or the opening of postpetition, debtor-in-

 7 possession bank accounts at authorized depositories; (iii) failure to provide required disclosures

 8 concerning real property, cash flow, required certificates and licenses, income tax returns, financial

 9 statements, employee benefits, insiders; and (iv) failure to provide evidence that the petition was

10 recorded.

11          On April 19, 2023, Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC DVI Fund
12 2, LLC collectively filed a motion [Dkt. No. 44] (the "Creditor Dismissal Motion") to dismiss the

13 Bankruptcy Case or, in the alternative, convert the Bankruptcy Case to a case under chapter 7 of the

14 Bankruptcy Code or appoint a chapter 11 trustee. The Creditor Dismissal Motion was premised on

15 allegations the Debtor engaged in a prepetition pattern of dissipating its assets to marketing entities

16 or insiders for less than fair value in a scheme to hinder, delay, and defraud creditors. The Creditor

17 Dismissal Motion also alleged that the Debtor filed the Bankruptcy Case, in part, to frustrate efforts

18 to obtain appointment of a receiver in state court.

19          On May 4, 2023, the Bankruptcy Court entered an order [Dkt. No. 58] granting the U.S.
20 Trustee Dismissal Motion and ordering the appointment of a chapter 11 trustee. On May 15, 2023,

21 the movants withdrew the Creditor Dismissal Motion.

22          On May 8, 2023, the U.S. Trustee filed a notice of appointment [Dkt. No. 62] of Richard A.
23 Marshack as the chapter 11 Trustee and the Trustee accepted [Dkt. No. 63] the appointment. On

24 May 8, 2023, the Bankruptcy Court entered an order [Dkt. No. 65] approving the appointment of the

25 Trustee. Shortly thereafter, Applicant was retained as Trustee's Special Litigation Counsel.

26          2.      Appointment of the Committee/
27          On June 13, 2023, the Trustee filed an emergency motion [Dkt. No. 102] (the "Ad Hoc
28 Committee Motion") to permit the Trustee to enter into an expense reimbursement agreement with


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 1 an ad hoc committee intended to advance the interests of all consumer client claimants. The U.S.

 2 Trustee objected [Dkt. No. 127], in part, on the grounds that the U.S. Trustee was in the process of

 3 re-soliciting creditor interest in serving on an official committee of unsecured creditors. On June 26,

 4 2023, creditor Carolyn Beech objected [Dkt. No. 144] to the expense reimbursement motion. On

 5 June 26, 2023, the Trustee, U.S. Trustee, and Carolyn Beech entered into a stipulation [Dkt. No.

 6 149] dismissing the Ad Hoc Committee Motion provided that the U.S. Trustee agree that a majority

 7 of any official committee of unsecured creditors remains comprised of consumer client claimants.

 8 On June 27, 2023, the Bankruptcy Court entered an order [Dkt. No. 151] approving the stipulation.

 9          On June 23, 2023, the U.S. Trustee filed a notice [Dkt. No. 134] of the appointment of a five-
10 member Committee. On June 29, 2023, the U.S. Trustee filed a notice [Dkt. No. 157] of the

11 appointment of two additional members to the Committee, which resulted in a seven-member

12 Committee. The Committee's membership is as follows: (i) Alexandra Lufti; (ii) April Reidy; (iii)

13 Denise Burtchell; (iv) Angela Dows, Esq.; (v) Thomas Ray; (vi) Affirma, LLC; and (vii) Abigail R.

14 Beaudin. Consistent with the Bankruptcy Court approved stipulation, the majority of the

15 Committee's members are consumer client claimants.

16          3.     Postpetition Financial Reporting and Disclosures.
17          On the Petition Date, the Bankruptcy Court issued certain notices [Dkt. Nos. 2-6] of
18 deficiencies or omissions in documents supporting the Petition and of the Bankruptcy Court's intent

19 to dismiss the Bankruptcy Case in the event the deficiencies were not resolved.

20          On March 24, 2023, the Debtor filed a list [Dkt. No. 16] of the top 20 creditors holding
21 unsecured claims. On April 4, 2023, the Debtor filed a corporate resolution [Dkt. No. 27] authorizing

22 the filing of the Bankruptcy Case, a corporate ownership statement [Dkt. No. 28], a statement [Dkt.

23 No. 29] of related cases, a disclosure [Dkt. No. 30] of attorney compensation, a summary [Dkt. No.

24 32] of assets and liabilities, Schedules A/B, D, E/F, G, and H [Dkt. No. 33], a statement of financial

25 affairs [Dkt. No. 34], and a list [Dkt. No. 36] of equity security holders. On May 1, 2023, the Debtor

26 filed an amended Schedule D [Dkt. No. 52], Schedule G [Dkt. No. 53], an amended statement of

27 financial affairs [Dkt. No. 54], and a monthly operating report [Dkt. No. 55] for the month ended

28 March 31, 2023. Based on the Plan Proponent's review, the Plan Proponents believe that the


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 1 financial disclosures filed by the Debtor are incomplete, unreliable, and otherwise of limited value

 2 for purposes comprehensive assessment of the Debtor's financial condition on the Petition Date.

 3          The Trustee has provided financial disclosures following his appointment. The Trustee
 4 initially filed declarations [Dkt. Nos. 112, 184] in lieu of filing monthly operating reports, which

 5 cover the months ending April 30, 2023, through June 30, 2023. The Trustee subsequently filed

 6 monthly operating reports [Dkt. Nos. 510, 511, 512, 541, 542, 593, 740, 741, 765, 857, 950], which,

 7 as of the date of this Disclosure Statement, cover the periods ending April 30, 2023, through January

 8 31, 2024.

 9          4.      The Injunction Action.
10                  (a)     The Complaint, Preliminary Injunction, and Amended Complaints.
11          On May 25, 2023, Applicant prepared and filed on behalf of the Trustee a complaint [Adv.
12 Dkt. No. 1] initiating the adversary proceeding captioned Marshack v. Diab, et al., Adv. Proc. No.

13 8:23-ap-01046-SC ("Injunction Action"). As set forth more fully in the complaint, the Trustee filed

14 the Injunction Action, inter alia, to enjoin the transfer or dissipation of assets of the Debtor, recover

15 assets transferred pursuant to certain avoidable or fraudulent transactions, and obtain turnover of

16 certain Debtor assets not in the possession, custody, or control of the Debtor. The Injunction Action

17 relates primarily to the scheme, implemented by Mr. Diab, his co-conspirators, and their affiliates, to

18 fraudulently or otherwise impermissibly transfer assets of the Debtor discussed more fully herein.

19          On May 25, 2023, Applicant on behalf of the Trustee filed an emergency motion [Adv. Dkt.
20 No. 4], inter alia, seeking turnover of certain estate property, a preliminary injunction, lock-out of

21 certain parties from accessing certain estate property, and related relief. The motion and related

22 papers [Adv. Dkt. Nos. 3-8] included requests for immediate turnover and preservation of critical

23 operating information, client information, accounts, ACH processing accounts, bank accounts and

24 client funds. On June 23, 2023, the Bankruptcy Court entered an order [Adv. Dkt. No. 70] granting

25 the motion.

26          On June 15, 2023, Applicant on behalf of the Trustee filed a first amended complaint [Adv.
27 Dkt. No. 62] primarily to correct the spelling or entity designations of named defendants and add

28 other defendants. The following defendants filed answers to the first amended complaint, but not the


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 1 second amended complaint: Tony Diab [Adv. Dkt. No. 134]; and Scott Eadie [Adv. Dkt. No. 241].

 2          On October 13, 2023, Applicant on behalf of the Trustee filed a second amended complaint
 3 [Adv. Dkt. No. 226]. The following defendants filed answers to the second amended complaint:

 4 Greyson Law Center PC [Adv. Dkt. No. 251]; Marich Bein, LLC [Adv. Dkt. No. 263]; Daniel S.

 5 March [Adv. Dkt. No. 280]; CLG and LGS Holdco, LLC [Adv. Dkt. No. 307]; BankUnited, N.A.

 6 [Adv. Dkt. No. 314]; Eng Taing [Adv. Dkt. No. 326]; Touzi Capital, LLC [Adv. Dkt. No. 327];

 7 Worldpay Group and Worldpay, LLC [Adv. Dkt. No. 395]; and Fidelity National Information

 8 Services, Inc. dba FIS [Adv. Dkt. No. 396].

 9          On October 27, 2023, the Court granted the Stipulated Order to Dismiss Defendants Han and
10 Jayde without prejudice [1046 Dkt. No. 250]. Defendants Han and Jayde remain bound by the

11 Preliminary Injunction and the Court’s jurisdiction to enforce same.

12          On November 3, 2023, Eng and Touzi filed a Motion to Dismiss as to Trustee’s Second
13 Amended Complaint [1046 Dkt. No. 265]. On December 22, 2023, the Court denied Eng and

14 Touzi’s Motion to Dismiss as to Trustee’s Second Amended Complaint [1046 Dkt. 299].

15          On November 8, 2023, Trustee filed a Dismissal of Occams Advisory, Inc.; Teracel
16 Blockchain Fund, LLC and Chris Winslow and as to erroneously named Defendants, B.A.T., Inc.

17 d/b/a/ Coast Processing, Guardian, Maverick Management, LLC, Eng Tang, and WorldPay, Inc. who

18 have since been properly named [1046 Dkt. No. 270].

19          On December 6, 2023, Defendant Greyson filed its Motion to Vacate the Court’s Preliminary
20 Injunction [1046 Dkt. No. 290]. After Trustee’s good faith effort to meet and confer with Greyson,

21 on January 8, 2024, the parties filed their Joint Statement of Issues and supporting declarations

22 [1046 Dkt. No. 325]. On January 16, 2024, Greyson filed further evidentiary objections and

23 declarations in support of their Motion in violation of the Court’s December 28, 2023 Order [1046

24 Dkt. No. 293]. On December 16, 2024, the Court issued a further Scheduling Order on Greyson’s

25 frivolous Motion to Vacate the Court’s Preliminary Injunction Order [1046 Dkt. No. 333]. That

26 same day, Greyson again violated the Court’s orders [1046 Dkt. Nos. 293 and 333] and filed further

27 briefing on its Motion to Vacate without leave of Court [1046 Dkt. No. 338].

28          On December 22, 2023, Defendants Loli and Lisa Cohen (“Cohen”) filed separate Motions to


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 1 Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) [1046 Dkt. Nos. 300 and 301]. The

 2 hearings on Loli and Cohen’s Motions to Dismiss was initially set for January 31, 2024 [1046 Dkt.

 3 Nos. 301 and 302]. On January 16, 2024, the Court entered the Stipulated Order to Continue the

 4 Hearings on Loli and Cohen’s Motions to Dismiss to February 7, 2024 to allow the parties to work

 5 towards a potential resolution of the issues raised by their Motions [1046 Dkt. No. 334]. On January

 6 26, 2024, the parties filed a Further Stipulation to Continue the Hearings on Loli and Cohen’s

 7 Motions to Dismiss to provide further opportunity for the parties to resolve the issues raised by the

 8 Motions to Dismiss [1046 Dkt. No. 360]. On March 13, 2024, Trustee filed his opposition to Loli

 9 and Cohen’s Motions to Dismiss [1046 Dkt No. 443 and 442]. On March 26, 2024, the Court

10 granted Defendants Loli and Cohen’s Motions to Dismiss with leave to amend the SAC [1046 Dkt.

11 No. 458, 459]. Pursuant to the Court’s Order, the Trustee’s deadline to file his Third Amended

12 Complaint as to Defendants Loli and Cohen was April 19, 2024 [1046 Adv. Dkt. No. 458, 459]. On

13 April 26, 2024, the Trustee filed its Third Amended Complaint [1046 Dkt. No. 506], pursuant to this

14 Court order granting an extension to file same [1046 Dkt. No. 507].

15          On January 18, 2024, Trustee filed his Motion to Dismiss his claims against Defendants
16 Marich Bein, LLC and BankUnited, NA in order to sever his claims from the 1046 Action and file a

17 new adversary proceeding [1046 Dkt. No. 339]. On February 29, 2024, the Court granted Trustee’s

18 Motion to Dismiss [1046 Dkt. No. 436].

19          On January 24, 2024, Bradford Lee filed an Emergency Motion to Quash his deposition
20 unilaterally set by Greyson without leave of Court to conduct early discovery, among other issues

21 [1046 Dkt. No. 347]. At the hearing, the Court granted in part and denied in part Lee’s Motion to

22 Quash [1046 Dkt. No. 351]. The Court’s Order at the hearing: (1) continued the deposition of

23 Bradford Lee to February 2, 2024 at 10:00 am to be held in person at the office of the Bankruptcy

24 Law Firm, PC; (2) set January 29, 2024 as the deadline for any party to file a motion for a protective

25 order as to Bradford Lee’s continued deposition; (3) amended 1046 Dkt. No. 333 continuing

26 Greyson’s deadline to file briefing on its evidentiary objections to February 29, 2024; (4) amended

27 1046 Dkt. No. 333 continuing Trustee’s deadline to file an opposition in response to Greyson’s

28 further briefing; (5) amended 1046 Dkt. No. 333 continuing Greyson’s deadline to file a reply to


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 1 March 21, 2024; and (6) amended 1046 Dkt. No. 333 to continue the hearing on Greyson’s frivolous

 2 Motion to Vacate to March 27, 2024 at 1:30 pm. The Court ordered counsel for Trustee to prepare

 3 such an order and further requested that the order include language that all other orders set forth in

 4 Adv. Dkt No. 333 were to be followed. By way of objection, Greyson sought to have extraneous

 5 information included in the Order expanding the scope of further briefing and language intended to

 6 harass, intimidate and threaten Bradford Lee. Specifically, language ordering him to testify

 7 truthfully, which is required of every deponent, and with no evidence of any wrongdoing other than

 8 providing truthful testimony supported by actual evidence that contradicts Han’s self-serving

 9 declarations that are unsupported by any evidence.

10          On February 12, 2024, Defendants Worldpay Group, Worldpay, LLC and Fidelity National
11 Information Services, Inc. dba FIS filed answers to Trustee’s Second Amended Complaint [1046

12 Dkt. Nos. 395, 396].

13          On February 12, 2024, Trustee filed his Motion for Order Approving Compromise of
14 Controversy as to Defendant [1046 Dkt. No. 394]. February 16, 2024, Trustee re-filed his Motion for

15 Order Approving Compromise of Controversy as to Maverick Bankcard, Inc. in the main bankruptcy

16 case to provide notice to all creditors [Bankr. Dkt. No. 942]. On March 4, 2024, Trustee filed his

17 Notice of Withdrawal of his Motion for Order Approving Compromise with Maverick Bankcard, Inc

18 as to the Motion filed in the 1046 Action only [1046 Dkt. No. 430]. On March 8, 2024, the Court

19 granted Trustee’s Motion for Order Approving Compromise with Maverick Bankcard, Inc. in the

20 main bankruptcy case [Bankr. Dkt. No. 1035].

21          On February 20, 2024, counsel for Defendant Cohen filed a Motion to Withdraw as Counsel
22 [1046 Dkt. No. 401]. On March 13, 2024 the Court granted counsel’s Motion by default [1046 Dkt.

23 No. 451].

24          On February 22, 2024, Defendant Han filed her Motion for a Protective Order [1046 Dkt.
25 No. 403] related to Trustee’s Deposition Subpoena and Request for Production of Documents in

26 order to oppose Greyson’s frivolous Motion to Vacate the Preliminary Injunction. On February 27,

27 2024, Trustee filed its opposition to Han’s frivolous Motion for a Protective Order and Request for

28 Sanctions [1046 Dkt. No. 416]. On February 28, 2024, this Court denied Defendant Han’s Motion


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 1 for a Protective Order, continued the hearing on Greyson’s frivolous Motion to Vacate to May 1,

 2 2024, and continued the briefing schedule for Greyson’s supplemental brief, Trustee’s supplemental

 3 opposition, and Greyson’s supplemental reply, and set a hearing on Trustee’s Request for Sanctions

 4 [1046 Dkt. No. 418]. Trustee and Defendant Han settled Trustee’s Request for Sanctions, which was

 5 granted by the Court on March 15, 2024 [1046 Dkt. No. 445].

 6          On March 26, 2024, Trustee filed his complaint initiating Adversary Proceeding No. 8:24-ap-
 7 01040-SC [1040 Dkt. No. 1] against Marich Bein, BankUnited, Vulcan Consulting Group, LLC and

 8 Lisa Cohen.

 9          On April 2, 2024, Greyson filed its Supplemental Brief in support of its Motion to Vacate,
10 including the Declarations of Han Trinh, Tony Diab, Scott Eadie and Kathleen March [1046 Adv.

11 Dkt. No. 474]. Greyson further filed four (4) sets of improper Evidentiary Objections to the

12 Declaration of Brad Lee, Supplemental Declaration of Brad Lee, Declaration of Alex Rubin and

13 Declaration of Jeremy Freedman [1046 Dkt Nos. 475, 475, 477, 478]. On April 17, 2024, Trustee

14 filed his Supplemental Opposition to Greyson’s Supplemental Brief in support of its Motion to

15 Vacate and Responses to four (4) sets of meritless Evidentiary Objections filed by Greyson on April

16 2, 2024 [1046 Dkt. Nos. 493, 493-1 to 493-11]. On April 18, 2024 the Trustee filed the declaration

17 of Randall Balwin Clark in Opposition to Greyson’s Motion to Vacate and subsequently the exhibits

18 thereto [1046 Dkt. No. 495 and 498]. On April 24, 2024, Greyson filed its Reply in support of its

19 Motion to Vacate and additional evidentiary objections [1046 Dkt. Nos. 501-505]. On May 1, 2024,

20 the Court held a hearing on Greyson’s Motion to Vacate. At the hearing the Court ordered the parties

21 to file separate findings of fact and conclusions of law. On May 15, 2024, Greyson and Trustee filed

22 their respective finding of fact and conclusions of law [1046 Dkt. Nos. 532 and 537, respectively].

23 On August 27, 2024 the Court denied Greyson’s Motion to Vacate [Bankr. Dkt. No. 1545].

24          On May 6, 2024, Greyson filed its motion to dismiss the Trustee’s Third Amended
25 Complaint [1046 Dkt. No. 513]. On May 29, 2024, the Trustee filed his opposition to Greyson’s

26 motion to dismiss [1046 Dkt. No. 548]. On June 5, 2024, Greyson filed its Reply in support of its

27 motion to dismiss and request to strike portion of the declaration of Jeremy Freedman [1046 Dkt.

28 Nos. 561 and 562]. On June 10, 2024, the Court denied Greyson’s motion to dismiss [1046 Dkt. No.


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 1 566].

 2          On May 7, 2024, Greyson filed its motion to compel the production of a purported contract
 3 pursuant to its request for production of documents [1046 Dkt. No. 515]. On June 7, 2024, the Court

 4 denied Greyson’s motion to compel and ordered the Trustee to file a supplemental declaration

 5 regarding his lack of possession, custody or control of the contract sought by Greyson [1046 Dkt.

 6 No. 564]. On June 17, 2024, the Trustee filed his declaration pursuant to the Court’s order denying

 7 Greyson’s motion to compel [1046 Dkt. No. 572]. On June 20, 2024, Greyson filed its motion to

 8 strike the Trustee’s declaration [1046 Dkt. No. 573]. On July 15, 2024, the Court denied Greyson’s

 9 motion to strike [1046 Dkt. No. 598].

10          On May 10, 2024, Loli filed her motion to dismiss the Third Amended Complaint [1046 Dkt.
11 No. 522]. On May 29, 2024, Trustee filed his opposition to Loli’s motion to dismiss [1046 Dkt. No.

12 549]. On June 5, 2024, Loli filed her Reply in support of her motion to dismiss [1046 Dkt. No. 560].

13 On June 10, 2024, the court denied in part and granted in part Loli’s motion to dismiss and granted

14 the Trustee leave to amend to provide a more definite statement regarding his negligence cause of

15 action [1046 Dkt. No. 567]. On June 28, 2024, the Trustee timely filed his Fourth Amended

16 Complaint pursuant to the Court’s order denying in part Loli’s motion to dismiss the Third Amended

17 Complaint [1046 Dkt. No. 583].

18                 (b)    Motions to Dismiss the Injunction Action.
19          On November 3, 2023, defendants, Eng Taing and Touzi Capital, LLC, filed a motion [Adv.
20 Dkt. No. 265] to dismiss the second amended complaint in the Injunction Action. On November 22,

21 2023, Applicant prepared filed and served an Opposition [Adv. Dkt. No. 283]. Applicant appeared

22 an argued at the hearing, and on December 22, 2023, the Bankruptcy Court entered an order [Adv.

23 Dkt. No. 299] denying the Eng Taing and Touzi Capital, LLC motion to dismiss.

24          On December 22, 2023, defendants Rosa Bianca Loli and Lisa Cohen filed motions [Adv.
25 Dkt. Nos. 300, 301] to dismiss the second amended complaint in the Injunction Action. On March

26 13, 2023, Applicant prepared, filed and served the Trustee's oppositions [Adv. Dkt. Nos. 442, 443]

27 to the motions. The Court granted in part and denied in part the Motion [Adv. Dkt No. 459] and

28 Applicant prepared filed and served the third amended complaint as instructed.


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 1                 (c)     Voluntary Dismissals of Defendants to the Injunction Action,
 2          On July 24, 2023, Applicant on behalf of the Trustee filed a notice [Adv. Dkt. No. 103] of
 3 dismissal, without prejudice, of defendant, the United States Parcel Service.

 4          On August 1, 2023, Applicant on behalf of the Trustee filed a notice [Adv. Dkt. No. 119] of
 5 dismissal, without prejudice, of defendant, Phoenix Law Group, Inc.

 6          On October 6, 2023, the Bankruptcy Court entered an order [Adv. Dkt. No. 221] approving a
 7 stipulation to dismiss without prejudice defendants, Gallant Law Group, PC and Center Pointe Law,

 8 PC.

 9          On October 27, 2023, the Bankruptcy Court entered an order [Adv. Dkt. No. 250] approving
10 a stipulation to dismiss without prejudice defendants, Han Trinh and Jayde Trinh.

11          On November 11, 2023, Applicant on behalf of the Trustee filed a notice [Adv. Dkt. No.
12 270] of dismissal, without prejudice, of defendants, Occams Advisory, Inc., Teracel Blockchain

13 Fund, LLC, Chris Winslow, B.A.T., Inc. d/b/a Coast Processing, Guardian, Maverick Management,

14 LLC, Eng Tang, WorldPay, Inc., William Taylor Carss, and Maria Eeyah Tan.

15          On January 30, 2023, Applicant on behalf of the Trustee filed a notice [Adv. Dkt. No. 372] of
16 dismissal, without prejudice, of defendants, Jake Akers and Authorize.net.

17          On March 15, 2024, the Bankruptcy Court entered an order [Adv. Dkt. No. 446] granting the
18 Trustee's motion [Dkt. No. 339] to dismiss without prejudice Marich Bein, LLC and BankUnited,

19 N.A. as defendants to the Injunction Action to permit the Trustee to file a new complaint against the

20 defendants in a separate adversary proceeding.

21                 (d)     Defaults Entered Against Defendants to the Injunction Action.
22          The Clerk of the Bankruptcy Court has entered defaults against the following defendants:
23 Vulcan Consulting Group, LLC [Adv. Dkt. No. 144]; Wes Thomas [Adv. Dkt. No. 145]; Seamless

24 Chex, Inc. [Adv. Dkt. No. 153]; Teracel Blockchain Fund II, LLC [Adv. Dkt. No. 154]; Jake Akers

25 [Adv. Dkt. No. 163]; BAT, Inc. d/b/a Coast Processing [Adv. Dkt. No. 164]; Jimmy Chhor [Adv.

26 Dkt. No. 174]; Oakstone Law Group, P.C. [Dkt. No. 177]; Prime Logix, LLC [Adv. Dkt. No. 179];

27 Revolv3, Inc. [Adv. Dkt. No. 180]; and Guardian Processing, LLC [Adv. Dkt. No. 181]. As of the

28 date of this Disclosure Statement, the Bankruptcy Court has not entered default judgments.


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 1                  (e)    Settlements and Compromises of Claims Related to the Injunction
 2 Action.

 3          On July 6, 2023, Applicant on behalf of the Trustee filed a motion [Dkt. No. 176] in the
 4 Bankruptcy Case to approve a stipulated judgment with Phoenix Law, PC ("Phoenix") that, among

 5 other things, provides a finding that the Debtor's prepetition transfer of approximately 40,000

 6 consumer client files to Phoenix is avoided as a preferential or fraudulent transfer, and providing for

 7 the recovery of such consumer client files and related material. The settlement agreement also

 8 provided for the dismissal of defendants, William Taylor Carss and Maria Eeya Tan, without

 9 prejudice. On August 7, 2023, the Bankruptcy Court entered an order [Dkt. No. 365] approving the

10 settlement motion.

11          The Injunction Action remains pending as of the date of this Disclosure Statement.
12 Applicant anticipates further proceedings in the Injunction Action later in fall, 2024.

13          5.      The Postpetition Financing Motions.
14          Applicant on behalf of the Trustee prepared, filed and served motions that requested
15 postpetition financing to fund ordinary business operations of the Debtor because the estate lacked

16 adequate available cash to fund such expenses. Specifically, the U.S. Trustee objected to the use of

17 postpetition funds collected from consumer clients by ACH draws and the estate lacked significant

18 cash on hand as of the Petition Date. The Trustee contended that maintaining the Debtor's operations

19 postpetition was necessary to preserve the going-concern value of the Debtor in advance of any sale

20 of the Debtor's business.

21          On June 16, 2023, Applicant on behalf of the Trustee filed an emergency motion [Dkt. No.
22 119] (the "First Financing Motion") to obtain postpetition financing, on an unsecured, superpriority

23 administrative basis, from Resolution Ventures in the amount of $800,000, including an initial

24 advance of $350,000 and a subsequent advance of $450,000. On June 22, 2023, the Bankruptcy

25 Court entered an order [Dkt. No. 131] (the "First Financing Order") approving the First Financing

26 Motion on an interim basis.

27          On June 29, 2023, Applicant on behalf of the Trustee filed an ex parte notice [Dkt. No. 156]
28 (the "Second Financing Motion") of an alleged nonmaterial modification to the promissory note by


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 1 and between the Trustee and Resolution Ventures, pursuant to the First Financing Order. The Second

 2 Financing Motion indicated that Resolution Ventures had advanced $240,000 of the $800,000 loan

 3 amount prior to entry of the First Financing Order; however, Resolution Ventures subsequently

 4 informed the Trustee that it was unable to provide any further advances under the promissory note.

 5 The Second Financing Motion proposed that the non-material modification would substitute Liberty

 6 Acquisitions Group, Inc. ("Liberty"), an affiliate of Consumer Legal Group PC ("CLG"), as the

 7 lender for the remaining $560,000 balance of the approved, unsecured, superpriority administrative

 8 loan, and repayable on a pari passu basis with the $240,000 loaned by Resolution Ventures.

 9          On June 29, 2023, the Bankruptcy Court set [Dkt. No. 158] an emergency hearing on the
10 Second Financing Motion, which Applicant appeared and argued at. On July 3, 2023, the

11 Bankruptcy Court entered an order [Dkt. No. 168] (the "Second Financing Order") authorizing, on

12 an interim basis, the proposed loan from Liberty Acquisitions Group, Inc.

13          On July 16, 2023, Applicant on behalf of the Trustee filed an emergency motion [Dkt. No.
14 249] (the "Third Financing Motion") to obtain postpetition financing, on an unsecured, superpriority

15 administrative basis, from Resolution Ventures, in the amount of $249,663.98, and from Liberty, in

16 the amount of $249,663.98. On July 18, 2023, the Committee filed an objection [Dkt. No. 282] to the

17 Third Financing Motion, in part, on the grounds that the proposed, amended Liberty promissory note

18 would have impermissibly permitted Liberty to obtain immediate repayment of its postpetition loans

19 from the first sale proceeds received by the estate. Applicant appeared and argued at the hearing. On

20 July 20, 2023, the Bankruptcy Court entered an order [Dkt. No. 310] (the "Third Financing Order")

21 approving the Third Financing Motion on an interim basis; provided, however, that Liberty would no

22 longer provide the additional $249,663.98 in financing and would instead be replaced by

23 PanAmerican Consulting Inc. without the immediate repayment provisions in the Liberty note.

24          On August 21, 2023, the Bankruptcy Court entered orders [Dkt. Nos. 413, 414, 415]
25 approving on a final basis the financing authorized under the First Financing Order, the Second

26 Financing order, and the Third Financing Order.

27          Upon Plan Confirmation, the post-petition loans had to be paid. They were. The Estate paid
28 the postposition lenders as required.


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 1          6.      Motion to Approve Management Agreement.
 2          On July 10, 2023, Applicant prepared, filed and served on behalf of the Trustee a motion
 3 [Dkt. No. 204] to authorize the Trustee to enter into a management agreement with Resolution

 4 Processing to provide the services of Russell Squires and Gary DePew for $60,000 for the first

 5 month of services, and $40,000 per month for each month thereafter, for no more than three months.

 6 The Trustee requested approval of the management agreement to provide persons familiar with the

 7 business operations of the Debtor to maintain operations until the closing of a sale. At the hearing

 8 concerning the sale, the Committee requested that Russ Squires, serving in a representative capacity

 9 for bidder, Morning Law Group, resign from his management position as of the July 20, 2023, bid.

10 On August 21, 2023, the Bankruptcy Court entered an order [Dkt. No. 412] approving the motion as

11 modified on the record at the sale hearing.

12          On September 28, 2023, Applicant prepared, filed and served on behalf of the Trustee a
13 motion [Dkt. No. 545] to surcharge secured creditor collateral, as applicable, to provide for the

14 immediate payment of the management fee. The Committee objected [Dkt. No. 557] on the grounds

15 that the extent of secured creditor collateral was not yet determined and that the order approving the

16 management agreement only entitled Mr. Squires to an administrative claim rather than ordinary

17 course payment. The Committee also reserved rights to the extent the payment was ultimately

18 determined to come from unencumbered funds. On October 27, 2023, the Bankruptcy Court entered

19 an order [Dkt. No. 601] granting the surcharge motion and authorizing payment of the management

20 fee.

21          7.      The Morning Law Group Sale.
22                  (a)    Asset Sale.
23          On July 7, 2023, Applicant prepared, filed and served on behalf of the Trustee a motion [Dkt.
24 No. 191] (the "Sale Motion") to approve a sale of substantially all of the Debtor's assets. The Sale

25 Motion sought approval of that certain Agreement of Purchase and Sale and Joint Escrow

26 Instructions by and between the Trustee and CLG (the "CLG PSA"). Under the CLG PSA, CLG

27 would purchase certain of the Debtor's assets for the following consideration: (i) an $8 million

28 deposit; and (ii) a post-closing "earn-out," after deducting a 20% administrative fee, calculated as (a)


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 1 20% of all amounts collected by CLG on "Active Executory Contracts," as defined in the CLG PSA

 2 and (b) 15% of all amounts collected by CLG on "Inactive Executory Contracts" As defined in the

 3 CLG PSA. The CLG PSA included other provisions such as the appointment of an ethics

 4 compliance monitor to ensure compliance with applicable regulations in the post-closing operations

 5 of the Debtor's business.

 6          On July 10, 2023, the Bankruptcy Court sua sponte entered an order [Dkt. No. 206]
 7 requesting both briefing concerning the Sale Motion and optional supplemental briefing concerning

 8 the Bankruptcy Court's authority to approve the sale in light of the Debtor's prepetition illegal

 9 operations and the appropriate conditions and available post-sale reformations of any and all

10 business operations. The Trustee set forth that the sale of the consumer identity with the entry of

11 new ethically compliant legal agreements, was within the Court’s authority.

12          On July 17, 2023, the following parties filed supplemental briefing in accordance with the
13 Court's supplemental briefing order: Carolyn Beech and Diane Scarnavack [Dkt. No. 254]; CLG

14 [Dkt. No. 257]; the U.S. Trustee [Dkt. No. 259]; the Trustee [Dkt. No. 260]; the Committee [Dkt.

15 No. 264]; and Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC DVI Fund 2, LLC

16 [Dkt. No. 267]. The following parties filed responses to the pocket briefs: (i) the Committee [Dkt.

17 No. 292]; and (ii) CLG [Dkt. No. 307].

18          On July 19, 2023, the following parties filed responses to the Sale Motion: Affirma, LLC
19 [Dkt. No. 285]; Oxford Knox, LLC [Dkt. No. 287]; the National Association of Consumer

20 Bankruptcy Attorneys and National Consumer Bankruptcy Rights Center [Dkt. No. 288]; Alteryx,

21 Inc. [Dkt. No. 289]; Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC DVI Fund 2,

22 LLC [Dkt. No. 290]; Azzure Capital, LLC [Dkt. No. 294]; the U.S. Trustee [Dkt. No. 296]; OHP-

23 CDR, LP [Dkt. No. 299]; and the Committee [Dkt. No. 300].

24          On July 20, 2023, Applicant on behalf of the Trustee filed a reply [Dkt. No. 313] in support
25 of the Sale Motion. On July 21, 2023, the Bankruptcy Court held a hearing on the Sale Motion.

26 Applicant appeared and argued at the hearing, where the Trustee sought approval of a revised and

27 further negotiated form of the CLG PSA to which the Trustee, the Committee, and CLG agreed. The

28 hearing resulted in a competitive bidding process between CLG, the Bensamochan Law Group, and


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 1 Morning Law Group ("MLG").

 2            The bidding process resulted in the selection of MLG as the winning bidder, pursuant to that
 3 certain Agreement of Purchase and Sale and Joint Escrow Instructions by and between the Trustee

 4 and MLG [Dkt. No. 416] (the "Purchase Agreement"). The Purchase Agreement provided for the

 5 transfer of certain of the Debtor's assets to MLG. The purchase price was calculated as: (i) a deposit

 6 in the amount of $5.5 million; and (ii) an post-closing "earn-out" calculated as (a) 50% of all

 7 amounts collected by MLG on "Active Executory Contracts," as defined in the purchase agreement

 8 and (b) 40% of all amounts collected by MLG on "Inactive Executory Contracts” as defined in the

 9 purchase agreement The Estate was not entitled to receive earn-out payments until MLG satisfied the

10 financing it obtained to fund the deposit. The actual amount to be received from the sale is based on,

11 among other things, MLG's actual entry into new ethically compliant legal services agreements with

12 former LPG clients.. As set forth more fully in this Disclosure Statement, the combined recovery

13 under the Sale Transaction, including the deposit, is estimated at approximately $14.1 million.5

14            On July 22, 2023, the Court entered a memorandum decision [Dkt. No. 320] approving the
15 Sale Transaction. On August 2, 2023, the Court entered an order [Dkt. No. 352] granting the Sale

16 Motion. The Sale Transaction closed on August 4, 2023.

17                     (b)      Appointment of the Monitor.
18            On August 7, 2023, the Court entered an order [Dkt. No. 363] appointing Nancy Rapoport as
19 ethics compliance monitor (the "Monitor"), pursuant to the Purchase Agreement and Sale Order. The

20 order of appointment provided that the role of the Monitor is strictly to monitor MLG's compliance

21 with generally understood ethical standards and consumer protection obligations in its going-forward

22 business servicing the Debtor's former consumer clients.

23            On November 27, 2023, the Monitor filed her first report [Dkt. No. 720] concerning MLG's
24 compliance with ethical obligations. On February 21, 2024, the Monitor filed her second report [Dkt.

25 No. 951] concerning MLG's compliance with ethical obligations.

26            The Monitor (with the no-charge assistance of Applicant) has filed monthly fee statements
27            55
                 There appears to have been some interference in the customer negotiation transactions that led to a reduced
     "opt in" schedule than that anticipated and disclosed by the Trustee as part of the Sale Assumptions. Trustee expects
28   subsequent proceedings concerning the outcome of his investigation in this regard in the fall 2024.



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 1 [Dkt. Nos. 524, 525, 567, 614, 748, 812, 813, 913, 915, 978, 1084, 1194, 1272, 1403, 1480, 1612,

 2 and 1782] since her appointment. On November 13, 2023, the Bankruptcy Court entered an order

 3 [Dkt. No. 661] approving a stipulation providing for payment of the Monitor through funds held by

 4 MLG. On February 8, 2024, the Bankruptcy Court entered an order [Dkt. No. 928] granting the

 5 Trustee's motion to surcharge secured creditor collateral, if any, to fund accrued fees of the Monitor.

 6 Applicant continues its reporting to Monitor and has fielded multiple questions from third party

 7 attorneys' general who are in touch with the Monitor concerning their independent investigations of

 8 Mr. Diab and his band of co-conspirators.

 9                  (c)     Opt-Out Notice and Assumption and Rejection.
10          On August 16, 2023, Applicant prepared the Trustee's 90-day opt-out notice to consumer
11 clients [Dkt. Nos. 403, 404] whose LSAs were potentially subject to assumption and assignment,

12 pursuant to applicable California law. The opt-out notice and procedure were implemented in

13 consultation with the Trustee, Committee, Monitor, and MLG to comply with applicable law

14 governing a sale of law firm clients.

15          On September 8, 2023, Applicant prepared and filed Trustee's notice [Dkt. No. 489] of
16 potential assumption and assignment of executory agreements, pursuant to the Purchase Agreement

17 and Sale Order. Following service of the notice, the Bankruptcy Court granted [Dkt. Nos. 523, 555,

18 927] several motions to reject executory agreements, including LSA, pursuant to the terms of the

19 Purchase Agreement and Sale Order.

20                  (d)     Projected Recoveries and Potential Disputes.
21          The Trustee projects that recoveries under the Purchase Agreement will be materially less
22 than the top line projected estimate existing as of the time of the sale hearing, largely because: (i)

23 MLG encountered significant difficulty (perhaps because of unwarranted interference) in converting

24 the former clients to MLG clients under new legal service agreements and; (ii) due to the Monitor's

25 position concerning the timing within which MLG was permitted to begin outreach and recovery of

26 the Inactive Executory Contracts.

27          8.      The 3012 Motion.
28          On February 7, 2024, the Applicant filed Trustee's motion [Dkt. No. 924] to determine the


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 1 amount of secured claims, if any, held by: (i) Everyday Funding Group, (ii) Green Fund, (iii) World

 2 Global Fund, (iv) MCA Capital Holdings, (v) StratCap Management, (vi) Cobalt, (vii) Cloudfund,

 3 (viii) BMF, (ix) Kevlar, and (x) Franklin Capital. The motion provided that relief was appropriate,

 4 under Bankruptcy Rule 3012, because each claim related to a UCC-1 financing statement that was

 5 not terminated notwithstanding the Trustee's belief that the value of the underlying claim was $0.

 6 The Trustee also sought authority to file UCC-3 termination statements with respect to any creditor

 7 whose claim was valued at $0. None of the allegedly secured creditors subject to the motion filed

 8 responses or appeared at the hearing on the motion. On March 13, 2024, the Bankruptcy Court

 9 entered an order [Dkt. No. 1021] granting the motion, valuing the claims of listed secured creditors

10 at $0, and permitting the Trustee to file UCC-3 termination statements with respect to such claims.

11          9.         Motions to Approve Compromises6.
12          On February 16, 2024, Applicant filed Trustee's motion [Dkt. No. 942] to approve a
13 compromise with Maverick Bankcard, Inc. The Trustee asserted that Maverick established a

14 prepetition reserve that held approximately $628,343.18 as of the Petition Date and that Maverick

15 has certain setoff or recoupment rights with respect to refunds, chargebacks, or ACH returns

16 incurred while processing payments from the Debtor's consumer clients. Pursuant to the settlement,

17 Maverick has agreed to apply its setoff rights with respect to the reserve and release to the Debtor

18 $216,010.65, which is attributable to the remaining reserve balance and an amount inadvertently

19 withheld postpetition.

20          On March 15, 2024, the Bankruptcy Court entered an order [Dkt. No. 1027] approving a
21 stipulation between the Trustee and Pioneer Funding Group II, LLC reclassifying its secured claim

22 as an unsecured claim and deeming the unsecured claim allowed in the amount of $366,500, subject

23 to disallowance, pursuant to § 502(d).

24          On March 19, 2024, the Trustee and City Capital NY filed a stipulation with the Bankruptcy
25 Court [Dkt. No. 1041] reclassifying City Capitals secured claim as an unsecured claim and deeming

26 it allowed in the amount of $2,950,000.00, subject to disallowance, pursuant to § 502(d).

27          10.        Plan and Effective Date.
28          6
                Other Motions to Compromise are discussed below in reference to the proceedings they resolved.



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 1          On August 29, 2024, the Court held a confirmation hearing (the "Confirmation Hearing") on
 2 the Modified First Amended Joint Chapter 11 Plan of Liquidation (Dated June 14, 2024) [Dkt. No.

 3 1344] (the "Plan"). On September 9, 2024, the Court its Order Confirming Modified First Amended

 4 Joint Chapter 11 Plan of Liquidation (Dated June 14, 2024) [Dkt. No. 1646] (the "Confirmation

 5 Order"). On September 24, 2024, as Dk. No. 1762, the Trustee filed the Notice of Occurrence of the

 6 Effective Date of the Plan, which was September 24, 2024 [Dkt. No. 1762] (the "Effective Date").

 7          11.    Progress Made Toward Substantial Consummation of the Plan.
 8                 (a)     Administrative Claims
 9                         Administrative Claim Appeals
10          On August 27, 2024, the Court denied the administrative expense motions of Han Trinh [Dkt.
11 No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh (Dk. No. 675) seeking $114,825.14, and

12 Greyson Law Center, PC (Dk. No. 676) seeking $5,434,633.00. The Court entered the following

13 Orders denying the administrative claims: Han Trinh (“Han”) as Dk. No. 1548; Phuong (aka Jayde)

14 Trinh (“Jayde”) as Dk. No. 1547; and Greyson Law Center, PC (“Greyson”) as Dk. No. 1546. On

15 September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements of

16 Election to Bankruptcy Appellate Panel (“Admin Claim Appeals”). On September 7, 2024, the

17 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim

18 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

19 v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02077-FMO (“Han Appeal”); Phuong Jayde

20 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO (“Jayde Appeal”); and

21 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

22 (“Greyson Appeal”).

23                         Administrative Claim Payments
24          On September 18, 2024, the Trustee made payments to the following administrative expense
25 claimants:

26                        14 administrative claimants with whom the Trustee previously entered into
27 stipulations that have been approved by the court (Name, Dk. No.): (1) ADP, 665; (2) Wells Marble

28 and Hurst, PLLC, 679; (3) SDCO Tustin Executive Center, Inc., 686; (4) Melina Beltran, 693; (5)


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 1 Kimberly Torres, 694; (6) Melissa Wilkes, 695, amended by 727; (7) R. Reed Pruyn, 698; (8) Jorge

 2 E. Sanchez, 700; (9) Jaslynn Sanchez, 701; (10) Amy Ginsburg, et al, 706; (11) Randall Baldwin

 3 Clark, Attorney at Law, PLLC, 707; (12) Sharp Electronics Corporation, 729; (13) Israel Orozco,

 4 862; (14) Jennifer McLaughlin, 1363.

 5                        Two administrative claimants whose motions the Trustee did not oppose:
 6 David Orr, Esq., (Dk. No. 697) in the amount of $31,068.45 and Peter Schneider (Dk. No. 702) in

 7 the amount of $67,252.77.

 8                        Two administrative claimants who did not file motions because the Court
 9 already authorized and allowed such amounts: FTL 500 Corp. in the amount of $10,000, Dk. No.

10 825, and River Tree, LLC, in the amount of $35,843.77, Dk. No. 522.

11           In all, the Trustee made 18 payments totaling of $790,106.32 to the allowed administrative
12 expense claimants. The Trustee has made other payments to retained professionals on account of

13 their interim fees as allowed and approved by the Court.

14           Currently, there are three administrative expense motions that remain pending to which the
15 Trustee’s response has been extended. The motions are set for hearings on December 5, 2024, and

16 Trustee’s responses are due November 21, 2024. Trustee’s position on the remaining three

17 administrative expense has remained unchanged since the filing of the August 15, 2024, status

18 report:

19           United Partnership, Dk. No. 671: United Partnerships (“UP”) seeks $178,665.70 for
20 providing leads and customer retention services to Debtor. The Trustee has concluded that he must

21 oppose the motion because UP has not yet been able to provide any evidence that its claim arose

22 from a post-petition transaction with the Debtor that directly and substantially benefitted the estate.

23 The Trustee has agreed to continue the hearing on the Motion and modify the briefing schedule to

24 provide UP with additional time to investigate and provide proof in support of its claim.

25           Herret Credit Consultants, Dk. No. 708: Herret Credit Consultants (“Herret”) seeks
26 $450,000.00 for post-petition services allegedly managing 65,000 consumer clients and a myriad of

27 LPG marketing firms. The Trustee has concluded that he must oppose the motion because UP has

28 not yet been able to provide any evidence that its claim arose from a post-petition transaction with


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 1 the Debtor (and not non-Debtor entities that received fraudulent transfers of the Debtor’s assets) that

 2 directly and substantially benefitted the estate. The Trustee has agreed to continue the hearing on the

 3 Motion and modify the briefing schedule on the Motion to allow Herret time to complete its

 4 investigation and attempt to meet its burden of proof.

 5          Alteryx, Dk. No. 750: Alteryx seeks $703,089.94 based on a March 2022 sublease Alteryx,
 6 Dk. No. 750: Alteryx seeks $703,089.94 based on a March 2022 sublease agreement between

 7 Alteryx and Innovative Solutions, Inc. (“Innovative”) for property located at 3345 Michelson Drive,

 8 Suites 400 and 490, and 3347 Michelson Drive, Suite 400 in Irvine, CA (“Alteryx Property”). The

 9 Debtor was not a party to the sublease and did not receive any benefit in return for providing (1) a

10 guaranty and (2) an irrevocable letter of credit (“LOC”) in the amount of $409,206.31 to Alteryx as

11 part of Innovative’s sublease. The Trustee prepared an adversary proceeding against Alteryx

12 (“Alteryx Adversary”) which would seek avoidance and recovery of fraudulent transfers including

13 the cancellation of LPG’s guaranty, its pledge of cash in support of the LOC which Alteryx has

14 completely exhausted, and over $1 million of payments made on account of obligations under the

15 sublease. After preparation of the Alteryx Adversary, because the stated amount in controversy

16 exceeds $1,000,000, pursuant to Section 2.10(c)(i) of the Liquidation Trust Agreement included in

17 the Plan, the Trustee obtained consent of the Post-Confirmation Committee2 to make a counteroffer

18 to Alteryx which was accepted. The Trustee is in the process of documenting the proposed

19 agreement.
                   Improperly Designated Administrative Claims
20

21          The Trustee identified 70 parties that filed proofs of claim marking the box stating it was an
22 administrative claim entitled to administrative priority status under 11 U.S.C. §503(b)(9) or as a

23 broader administrative claim under 11 U.S.C. §503(b). After a thorough review of these proofs of

24 claim and the evidence attached to them, the Trustee determined that these proofs of claims were not

25 entitled to administrative priority. On September 24, 2024, the Trustee filed an Omnibus Objection

26 to Proofs of Claim Filed for Alleged Administrative Claims as Dk. No. 1747 (“Omnibus Objection

27 to Alleged Admin Claims”). The total amount of the Omnibus Objection to Alleged Admin Claims

28 is at least $849,841.16.3 The hearing on the Omnibus Objection to Alleged Admin Claims is set on


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 1 November 14, 2024 (Dk. No. 1747).

 2                 (b)     Trustee’s Filed Objections to Claims
 3          The Trustee has been investigating and verifying proofs of claims that have been filed with
 4 the bankruptcy court and with the Court-approved claims agent, Omni Agent Solutions (“Omni”)

 5 and filing appropriate objections. In addition to filing the Omnibus Objection to Alleged Admin

 6 Claims (supra), the Trustee filed the following objections.

 7          On September 13, 2024, the Trustee filed Objection to Unified Global Research Group, Inc’s
 8 (“Unified”) Proof of Claim No. 23 in the amount of $6,155,125.60 as Dk. No. 1686 (“Unified

 9 Objection”). Currently, the hearing on the Unified Objection is set on November 26, 2024.

10          On September 19, 2024, the Trustee filed Omnibus Objection to Proofs of Claim filed by (I)
11 Phuong “Jayde” Trinh; (II) Sheri Chen; (III) Justin Nguyen; (IV) Han Trinh; (V) Israel Orozco; (VI)

12 Scott Eadie; (VII) Kevin Kurka; and (VIII) Azevedo Solutions Group, Inc as Dk. No. 1707

13 (“Insiders Objection”). The amounts of claims in the Insiders Objection are as follows:

14                        Phuong “Jayde” Trinh: $14,423.08 (Proof of Claim No. 75)
15                        Sheri Chen: $12,083.19 (Proof of Claim No. 77)
16                        Justin Nguyen: $23,884.20, including priority claim of $15,150.00 for unpaid
17                         wages (Proof of Claim No. 78)
18                        Han Trinh: $24,310.23 (Proof of Claim No. 79)
19                        Israel Orozco: $53,729.31, including priority claim of $24,310.23 for unpaid
20                         wages (Proof of Claim No. 104)
21                        ·Scott Eadie: $31,249.99 (Proof of Claim No. 193)
22                        ·Kevin Kurka: $575,000.00, including priority claim of $15,150.00 for unpaid
23                         wages (Proof of Claim No. 101651)
24                        Azevedo Solutions Group, Inc.: $475,200.00 (Proof of Claim No. 100232)
25          Currently, the Insiders Objection is partially granted as to the claims filed by Sheri Chen and
26 Justin Nguyen as per Court order entered on October 16, 2024, as Dk. No. 1827. The hearing on the

27 remaining six claims listed in the Insiders Objection is set for October 24, 2024, and November 13,

28 2024.


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 1         On September 20, 2024, the Trustee filed Omnibus Objection to Alleged 11 U.S.C.
 2 §507(A)(4) Priority Claims that Exceed Statutory Cap naming six claimants whose proofs of claims

 3 exceeded the statutory cap pursuant to §507(A)(4) (“Stat Cap Objection I”) as Dk. No. 1715. The

 4 hearing on Stat Cap Objection I is currently set on November 14, 2024. On October 18, 2024, the

 5 Court approved Trustee’s stipulation with Jennifer Ann McLaughlin (“McLaughlin”), one of the

 6 claimants named in Stat Cap Objection I. The order, entered as Dk. No. 1843, caps the McLaughlin

 7 priority portion at $15,150 and reclassified $3,764.77 as an unsecured claim and vacated the

 8 November 14, 2024, hearing as to McLaughlin only.

 9         On September 20, 2024, the Trustee filed Omnibus Objection to Alleged 11 U.S.C.
10 §507(A)(4) Priority Wage Benefit Claims filed by Non-Employees (“Non-Employee Wage

11 Objection”) as Dk. No. 1717. The hearing on Non-Employee Wage Objection is set on November

12 14, 2024.

13         On September 20, 2024, the Trustee filed Objection to the Claims Filed by Olga Lucia
14 Esquivel (“Esquivel Objection”) as Dk. No. 1719 which proposes disallowing 14 claims totaling

15 $170,895.95 filed by Olga Esquivel. The hearing on Esquivel Objection is set on November 14,

16 2024.

17         On September 20, 2024, the Trustee filed Omnibus Objection to Duplicative Priority Proofs
18 of Claims (“Duplicative Claims Objection”) as Dk. No. 1728. The hearing on Duplicative Claims

19 Objection is set on November 14, 2024.

20         On October 3, 2024, the Trustee filed Objection to Priority Claim No. C 571-101407 filed by
21 Alexandria Marie Campos for Exceeding the Statutory Cap (“Stat Cap Objection II”) as Dk. No.

22 1783. The hearing on Stat Cap Objection II is set on December 5, 2024.

23         On October 3, 2024, the Trustee filed Objection to Alleged Priority Claim No. 2410-1 Filed
24 by Alexis Johnson That Exceeds the Statutory Cap (“Stat Cap Objection III”) as Dk. No. 1784. The

25 hearing on Stat Cap Objection III is set on December 5, 2024.

26         On October 3, 2024, the Trustee filed Omnibus Objection to Alleged Priority Claims that
27 Lack Evidence Supporting Priority Status (“Non-Evidenced Priority Objection”) as Dk. No. 1785.

28 The hearing on Non-Evidenced Priority Objection is set on December 5, 2024.


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 1                  (c)    Schedule Of Payments.
 2          In addition to payment of administrative claims outlined above which became due on the
 3 Effective Date, the Trustee has made payments outlined in the attached Schedule of Payments to

 4 Professionals.

 5                  (d)    Schedule of any and all Post-Confirmation Tax Liabilities
 6          There have been no postconfirmation tax liabilities that have accrued or come due post-
 7 confirmation. The next post-confirmation status report will be due in 120 days, at which point the

 8 Trustee will have a more comprehensive tax liability schedule to report to the Court.

 9                  (e)    Projections to the Trustee’s Ability to Comply With the Terms of the
10 Plan

11          The Trustee has not encountered any difficulties in complying with the terms of the Plan and
12 has been pursuing the exact course of action outlined in the August 15, 2024, status report, and the

13 Court’s confirmation order. At this point, the Trustee does not project any upcoming difficulties in

14 complying with the terms of the Plan.

15                  (f)    Estimate of the Date for Plan Consummation and Application for Final
16 Decree

17          The Trustee anticipates that the Plan will be substantially consummated upon the transfer of
18 the remaining assets from the bankruptcy estate to the liquidating trust. The Trustee will file an

19 application for final decree once the Estate has been fully administered.

20          12.     Adversary Proceedings.
21                  (a)    Debtor's Adversary Proceeding.
22          On April 7, 2023, the Debtor filed a complaint [Adv. Dkt. No. 1] initiating the adversary
23 proceeding captioned The Litigation Practice Group P.C. v. Validation Partners LLC, et al., Adv.

24 Proc. No. 8:23-ap-01029-SC. The complaint sought to extend the automatic stay and enjoin certain

25 creditors that were pursuing prepetition litigation against the Debtor. On June 9, 2023, following the

26 Trustee's appointment, the Trustee filed a notice [Dkt. No. 5] of voluntary dismissal of the adversary

27 proceeding.

28                  (b)    The OHP Action.


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 1           On September 11, 2023, OHP-CDR, LP and PurchaseCo80, LLC (collectively, the "OHP
 2 Plaintiffs") filed a complaint [Adv. Dkt. No. 1] initiating the adversary proceeding captioned OHP-

 3 CDR, LP, et al. v. Marshack, et al., Adv. Proc. No. 8:23-ap-01098-SC (the "OHP Action"). In the

 4 OHP Action, the OHP Plaintiffs seek determination of lien priority and the extent of their alleged

 5 ownership interests in certain assets of the Debtor.

 6           On October 13, 2023, Applicant on behalf of the Trustee filed an answer and counterclaims
 7 [Adv. Dkt. No. 7] in the OHP Action. On October 13, 2023, defendant Azzure Capital, LLC filed an

 8 answer [Adv. Dkt. No. 10].

 9           On November 3, 2023, the OHP Plaintiffs filed an answer [Adv. Dkt. No. 13] to the Trustee's
10 counterclaims.

11           On February 21, 2024, the Bankruptcy Court entered an order [Adv. Dkt. No. 26] setting a
12 pretrial conference and requiring the OHP Plaintiffs to submit briefing and evidence in support of

13 their secured status. On March 15, 2024, the OHP Plaintiffs filed a brief [Adv. Dkt. No. 37] and

14 related exhibits [Adv. Dkt. Nos. 36, 38-46]. The pretrial conference took place on April 22, 2024.

15           Over the course of the litigation, the parties met and prepared various Joint Status Reports.
16 Further, the parties continuously exchanged information and continued to be open to settlement. On

17 June 18, 2024 [Adv. Dkt No. 55] Applicant prepared, filed and served a Motion for Summary

18 Judgment on Count Two of the Trustee's Counterclaim against OHP. The Hearing was set for July

19 31, 2024. 7 On August 28, 2024, the Court entered its Order Granting Motion to Approve Settlement

20 Agreement between the Trustee, OHP-CDR, LP and PurchaseCo 80, LLC [Dkt. No. 1563].

21           13.      Marketing Affiliate Actions.
22           Applicant is currently pursuing claims against various entities that seek avoidance of
23 fraudulent transfers and recovery/turnover of funds paid to marketing affiliates by the Debtor on the

24 theory that Defendant and Debtor were engaged in the solicitation of illegal capping of consumers.

25 To date, ten such complaints have been filed with a demand amount of over $11,500,000. Applicant

26

27           7
               This Application only seeks recovery of fees until June 30, 2024. The OHP case was argued at a hearing in
     July and ultimately the parties entered into a settlement agreement, which was approved by the Court. However, this will
28   be described in Applicant's next fee application.



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 1 has approximately 50-100 more marketing affiliate targets under investigation. The currently filed

 2 actions are:

 3          •      Dkt. No. 773; 8:23-ap-01148-SC; Trustee's complaint against JGW Solutions, LLC.
 4          •      Dkt. No. 780; 8:23-ap-01150-SC; Trustee's complaint against Clear Vision Financial,
 5 LLC d/b/a Liberty1 Financial.

 6          •      Dkt. No. 821; 8:24-ap-01001-SC; Trustee's complaint against Leucadia Enterprises.
 7          •      Dkt. No. 824; 8:24-ap-01003-SC; Trustee's complaint against Perfect Financial, LLC.
 8          •      Dkt. No. 826; 8:24-ap-01004-SC; Trustee's complaint against Point Break Holdings,
 9 LLC.

10          •      Dkt. No. 919; 8:24-ap-01017-SC; Trustee's complaint against New Horizon Finance,
11 LLC.

12          •      Dkt. No. 920; 8:24-ap-01018-SC; Trustee's complaint against MRD Marketing LLC.
13          •      Dkt. No. 931; 8:24-ap-01023-SC; Trustee's complaint against CRI System, Inc.
14          •      Dkt. No. 823; 8:24-ap-01002-SC; Trustee's complaint against Clearcube LLC d/b/a
15 Litigation Practice Center.

16          •      Dkt. No. 1841’ 8:24-ap-01138-SC; Trustee's complaint against New Vision Debt
17 LLC, et al.

18          In Clearcube LLC DBA Litigation Practice Center, the Court on June 4, 2023, granted
19 default judgement in favor of the Trustee in the amount of $1,981,549.22 [Dkt. No. 34]. At the same

20 time, the Court entered Finding of Facts [Dkt. No. 29]. On October 29, 2024, the Court granted

21 default judgment in favor of the Trustee in the amount of $1,662,610.22 against MRD Marketing

22 [Dkt No. 34]. On October 25, 2024, the Court granted default judgment in favor of the Trustee in

23 the amount of $536,832.08 against CRI System, Inc.. [Dkt No. 43]. Currently, Applicant on behalf

24 of the Trustee is in the process of enforcing the judgment amounts against these defendants.

25          14.    MCA Actions.
26          LPG entered into Merchant Cash Advance Agreements with various entities allegedly to
27 "sell" LPG's interest in future income in the form of clients' ACH debits. The Court will need to

28


                                                   34
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 1 determine whether these transactions are sales or loans8. The Court will also need to determine the

 2 validity of the agreements along with the terms associated with those agreements. It is the Trustee's

 3 contention that all consumer client ACH debits should have been held in trust, and were not

 4 receivables of the debtor until earned by providing lawful legal services. Further, the ACH debits

 5 included funds that would be generated in the future from unlawful marketing agreements, whereby

 6 the target generates leads for consumers interested in legal services provided by LPG in exchange

 7 for a percentage per consumer placed with LPG, less a maintenance fee. As the agreements for

 8 referrals are unlawful and void pursuant to California Business and Professional Code sections 6151

 9 and 6155, the Merchant Cash Advance Agreements, which are comprised of funds received under

10 the unlawful agreements, are also void.

11           Applicant is investigating and pursuing various entities that entered into Merchant Cash
12 Advance Agreements with the Debtor. In such complaints, the Trustee seeks recovery of multiple

13 fraudulent conveyances. The Trustee has filed two complaints seeking recovering of approximately

14 $7,000,000;

15           •          Dkt. No. 1228; 8:24-ap-01080-SC; Trustee's complaint against BMF Advance, LLC;
16 and

17           •          Dkt. No. 1352; 8:24-ap-01090-SC; Trustee's complaint against Cobalt Funding
18 Solutions, LLC.

19           The Trustee has approximately 10 more MCA targets under investigation
20           15.        Status of Secured Creditor and Related Litigation.
21           Because the Debtor failed to list all its secured creditors upon the bankruptcy filing, the
22 Trustee performed a UCC search and ultimately identified 23 creditors which allegedly held secured

23 liens ("Secured Creditors"). Applicant, along with general counsel, on behalf of the Trustee did an

24 analysis and put these creditors in two categories: 1) those that had documents to support their

25 claims and filed liens, but who the Trustee believed had issues related to those documents and liens;

26 and 2) those that did not have documents to support their claim and filed liens. Combined, these 23

27
             8
                 In light of recent findings by the Court, Applicant will also be reviewing and investigating targets in regards to
28 recovering funds from a Ponzi scheme, and/or a criminal enterprise and may be amending complaints as needed.


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 1 creditors asserted that collectively they held liens, which—if valid—encumbered at least

 2 $174,901,643 of the Debtor's collateral. Applicant, and general counsel, on behalf of the Trustee has

 3 resolved all but 1 of the Secured Creditors' claims. As described throughout this application, the

 4 settlements have reduced the total secured claim amount from $169,901,643 to $1,355,000; leaving

 5 $5,000,000 still pending and to be resolved by way of order or settlement.

 6                  (a)    Bridge Funding CAP, LLC d/b/a/ Fundura Capital, MNS Funding, LLC,
 7 Azzure Capital LLC, Diverse Capital, LLC, PECC Corp, Marich Bein, Proof Positive LLC,

 8 MC DVI Fund 1 LLC, MC DVI Fund 2 LLC, Debt Validation Fund II LLC, Venture Partners

 9 LLC. These Secured Creditors have all been named as defendants in the adversary 8:24-ap-01011-

10 SC that on January 26, 2024, Applicant, along with general counsel, filed on behalf of the Trustee

11 ("Secured Creditor Adversary") seeking, inter alia, declaratory judgment as to validity of their

12 secured interests. The following is the status of Applicant's efforts and the Trustee's resolution with

13 various defendants in the Secured Creditor Adversary:

14          Applicant on behalf of the Trustee has been able to settle with Proof Positive/MCDVI Funds
15 1 and 2/Debt Validation Fund II/Venture Partners – who agreed to its lien being avoided – thereby

16 reducing another $68,000,000 from the secured list.

17          On March 15, 2024, the Court entered an order [Dkt. No. 1030], approving the stipulation
18 between the Trustee and Marich Bein whereby Marich Bein consented to the Trustee filing a

19 termination of the UCC Statement. Marich Bein's $22,304,093.25 alleged secured claim will thus be

20 unsecured moving forward, subject to objection and further investigation by the Trustee into the

21 transactions as alleged in the adversary complaint filed by Applicant on behalf of the Trustee against

22 Marich Bein and Bank United, et al, Dkt. No. 1068; 8:24-ap-01040-SC.

23          On February 7th and 8th, the Bankruptcy Court entered two orders [Adv. Dkt. No. 10 & 12]
24 setting a pretrial conference and requiring the Plaintiffs to submit briefing and evidence in support of

25 their secured status. Most defendants complied, Applicant reviewed those responses and prepared

26 detailed status reports for each defendant, as instructed by the Court [Adv. Dkt Nos. 66-73). The

27 pretrial conference took place on April 22, 2024. Applicant attended and argued at the hearing.

28


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 1          Over the course of the litigation, the parties also met and prepared various Joint Status
 2 Reports. Further, the parties continuously exchanged information and continued to be open to

 3 settlement. On June 18, 2024 [Adv. Dkt No. 104] Applicant prepared, filed and served a Motion for

 4 Summary Judgment on Count Two of the Trustee's Counterclaim against PECC.

 5          On August 27, 2024, the Court granted partial summary judgment in favor of the Trustee and
 6 against Bridge Funding as Secured Creditor [Adv. Dkt. No. 150]. On September 20, 2024, Bridge

 7 Funding filed an appeal of the denial of summary judgment, U.S. District Court Case No. 8:24-cv-

 8 02043-FMO.

 9          The Trustee had agreed to participate in mediation with Azzure Capital. In the meantime,
10 Azzure Capital has agreed to release its $5 million lien from money that was to be paid upon

11 effective date and to obtain a replacement lien on other assets of the estate including litigation

12 proceeds. The hearing on the Summary Judgment Motion against Azzure Capital is continued to

13 November 13, 2024, at 11:00 a.m. [Adv. Dkt. No. 147]. In late October the proposed mediator

14 withdrew because his firm had been retained and substituted in as counsel for CLG (in the Injunction

15 Action described above); the Trustee had been working on obtaining a new mediator; and recently

16 Judge Jury agreed to mediate. But it appears that the parties are now moving forward with the

17 Summary Judgment Motion as scheduled.

18          The Trustee negotiated a settlement with Diverse Capital ("Diverse"). On September 3, 2024,
19 the Court approved the settlement between the Trustee and Diverse [Dkt. No. 1609]. On September

20 19, 2024, the Trustee dismissed Diverse from the Secured Creditor Adversary [Adv. Dkt. No. 158].

21          On August 15, 2024, the Court granted summary judgment in favor of the Trustee and
22 against PECC as Secured Creditor [Adversary Dkt. No. 144].

23          On September 3, 2024, the Court approved the settlement between the Trustee and MNS
24 Funding as Dk. No. 1610.

25          14.     Other Pending Litigation.
26                  (a)     Dkt. No. 1095; 8:24-ap-01048-SC; Administrative claimant Alteryx's
27 complaint against Morning Law Group, PC that was removed by Morning Law Group from state

28 court.


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 1                         (b)      Dkt. No. 1129; 8:24-ap-01068-SC; Trustee's complaint against Arash Asante
 2 Bayrooti. A writ of attachment in the amount of $5,814,146.45 was issued – ex parte – on August

 3 15, 2024. Following service of the writ, it was discovered that the bulk of defendant’s cash or

 4 marketable securities were held in an investment account. Parties stipulated to issuance of a further

 5 writ of attachment which was ultimately served on October 18, 2024. That writ attached to US

 6 Treasuries in Mr. Bayrooti’s investment account valued at $4,357,034.01. Initial disclosures have

 7 been made and discovery served. Responses from each side to discovery requests are due Friday

 8 November 8, 2024.

 9                         (c)      Dkt. No. 1596; 8:24-ap-01120-SC; Trustee's complaint against Colonna
10 Cohen Law, PLLC. Answer to complaint and counterclaims was filed on October 18, 2024.

11 Trustee’s response to counterclaim is due shortly. The parties will meet and confer mid-November.

12 C.           Cash on Hand
13              Trustee is holding approximately $2,040,084.28 in cash.
14                                                                   V.
15                                          TIME KEEPERS AND PROCEDURES
16 A.           Summary of Dinsmore Professionals
17              Professional services rendered during the Application Period were performed by attorneys
18 and paraprofessionals. Dinsmore has staffed the Case with attorneys and paraprofessionals with

19 experience and expertise in separate and distinct areas. The attorney biographies are attached hereto

20 as Exhibit "C."9 The services of the attorneys and paraprofessionals were billed pursuant to the

21 terms of employment set forth in the Employment Application and the Engagement Agreement. The

22 names, hourly billing rates, total number of hours spent on this Case by each professional and

23 paraprofessional who billed time during the Application Period and the total amount of fees accrued

24 for those hours are set forth in Exhibit "B" and incorporated herein by reference.10

25

26              9
                    The biographical information of other professionals listed on Exhibit B attached hereto will be provided upon
     request.
27
                10
                     Referenced hours relate to fees requested within this Application without deduction for the courtesy discount
28 provided. For the major timekeepers in the case – Christopher Celentino, Christopher Ghio, and others – Applicant
     agreed to a 9% reduction in the anticipated hourly rate of such attorneys, which was applied to conform with the rates

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 1            In addition, detailed information concerning the identity of each professional and
 2 paraprofessional who provided services to the Trustee for the Application Period, the task

 3 description, number of hours spent on each task, and the amount of compensation requested for each

 4 professional per task is set forth in the statements of account attached hereto as Exhibit "D."11 The

 5 compensation is based on the customary compensation charged to Dinsmore's non-bankruptcy

 6 clients. Dinsmore has drafted summaries of the services rendered within each category of service,

 7 and those summaries appear in Section VII below. However, the most detailed description of

 8 Dinsmore's specific services are contained within the statements of account that appear within

 9 Exhibit "D." Those are also likely the most accurate given that they were drafted at the time the

10 services were rendered.

11 B.         Time Keeping Procedures
12            1.       Each time keeper is responsible for reviewing and entering his or her own time.
13            2.       Each time keeper has been specifically instructed to:
14                     (a)      Designate a category of service under which the work being performed falls.
15 In that regard, Dinsmore primarily uses matter numbers which, where applicable, attempt to mirror

16 the categories of services designated by the Office of the United States Trustee ("OUST").

17 However, where Dinsmore has spent a significant amount of time on an issue specific to this Case,

18 and thus not captured within one of the categories designated by the OUST, Dinsmore has created a

19 specific matter number to capture all of the time spent on that particular issue, and to assist the Court

20 and the OUST's review of Dinsmore's fee applications. For certain everyday activities for which the

21 services spread generally over the entire case, or an entire litigation strategy, a Case Administration,

22 a Creditors Meetings, a General Litigation and a General Adversary Proceeding matter was used.

23                     (b)      Track and enter time to the nearest tenth of an hour as it occurs. Lumping of
24 multiple time entries has been deemed acceptable by Dinsmore so long as the description of services

25

26 stated in the employment application. Applicant notes that the Fee Examiner stated that Applicant’s fees are 35% below
     market for comparable service providers.
27            11
                 The attachment of the statements of account in Exhibit D, or any description herein or therein, is not a waiver
28   of the attorney-client or attorney work-product privileges, or any other privileges. Dinsmore preserves and reserves all
     rights with respect to the attorney-client and attorney work-product privileges and any other privileges.


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 1 rendered indicates how much time was spent on each specific task within the lumped entry.

 2 Wherever possible, each time keeper has been instructed to lump only those entries which fall under

 3 a single project. This is why a single time keeper may have multiple time entries on the same day

 4 under a single category of service. However, in light of various multiple matters in the Case that

 5 either have cross-over issues and/or were set for hearing on the same date with various other matters,

 6 such time for various matters may have been grouped under one matter as applicable.

 7                                               VI.
                                REQUEST FOR AND PAYMENT OF FEES AND
 8                    EXPENSES INCURRED DURING THE SECOND APPLICATION PERIOD
 9

10 A.            Summary of Fees
11               By this Application, Dinsmore seeks allowance and payment of $1,202,050.00 in fees and
12 $5,812.54 in expenses for the period from July 1, 2024 through September 23, 2024 (the

13 "Application Period"), for a total of $1,207,862.5412. This requested amount takes into account: (1)

14 deductions made for fees incurred but not charged in the approximate amount of $189,427.50; (2)

15 deductions made for fees charged in the amount of $3,677.50 (which consists of approximately a

16 50% discount for travel time for required appearance at hearings); (3) deductions made for expenses

17 incurred but not charged in the amount of $798.50;13 and (4) for a voluntary no charge in total

18 amount of $3,737.50.14 The total courtesy discounts/no charges represent approximately 16% of all

19 fees.

20               These amounts are based on the actual time necessary to perform the particular legal services
21 required, multiplied by the hourly rate of the professional rendering the services. Dinsmore believes

22 the billing rates charged are reasonable and within the range of fees charged by its peers for services

23 of a similar nature. The compensation is based on the customary compensation charged to

24   12
          As this application only includes time billed through September 23, 2024, it does not include Applicant’s time to
              prepare, revise and finalize this fee application. The fees incurred for this fee application will be billed, and paid,
25            as a general expense pursuant to the engagement agreement moving forward under the terms of the Plan and the
              Liquidating Trust.
26
                 13
                      Id.
27
                 14
                      Details related to fees and expenses incurred but not charged are not reflected in this Application or the
28 exhibits attached hereto.


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 1 Dinsmore's non-bankruptcy clients. The total fees for the Application Period are based upon

 2 8,807.7015 hours of billable time and represent an average billing rate of approximately $545.06 per

 3 hour (computation of blended hourly rate for persons who billed time during the Application Period,

 4 excluding paraprofessional time).

 5 B.         Summary of Expenses
 6            By this Application, Dinsmore seeks interim allowance and reimbursement for expenses
 7 incurred in the amount of $5,812.54. This requested amount takes into account deductions made for

 8 expenses incurred but not charged in the amount of $798.50.

 9            An itemization of all reasonable and necessary expenses Dinsmore incurred on behalf of the
10 Trustee during the Application Period is attached hereto as Exhibit "E." Exhibit "E" includes the

11 date the expense was incurred as applicable, the description of the expense, and the cost of the

12 expense. All of the expenses that Dinsmore is seeking allowance and reimbursement through this

13 Application are customarily charged to its non-bankruptcy clients.

14                                               VII.
                           SYNOPSIS OF SERVICES PERFORMED BY DINSMORE AS
15                                SPECIAL COUNSEL TO THE TRUSTEE
16

17 A.         Project Summary
18            While the above represents an overall summary of the Case and Applicant's work performed,
19 Dinsmore has separated its time and expenses into project categories. Attached hereto as Exhibit

20 "A" is a summary of the services performed by Dinsmore during the Application Period, sorted by

21 the specific project category, the total number of hours billed per category, and the total amount of

22 discounted fees sought by Dinsmore for the combined categories. Exhibit "D" contains the detail

23 statements of account supporting information for Exhibit "A" attached hereto.

24 B.         Narrative Summary
25            The remainder of this Application sets forth a description of the services that have been
26 rendered by Dinsmore to the Trustee for the benefit of the Debtor's Estate, in specific categories as

27
              15
                   The hours listed are the total hours of billable time of Dinsmore professionals requested for payment for the
28 Application Period and do not include any adjustment for the courtesy discount provided by Dinsmore.


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 1 defined below.16 Dinsmore has performed the following services during the Application Period

 2 which were necessary, reasonable, and beneficial for the Debtor's Estate:

 3                      Case Administration (143576-1)
 4           In this category, during the Application Period, Dinsmore billed 21.30 hours for $15,247.50,
 5 in overall fees.

 6                      a.      Time Keeper Breakdown
 7
                                                               FEES
 8
                   NAME                           TITLE                RATE              HOURS          TOTAL FEES
 9     Christopher Celentino                Partner                   $835.00              6.10           $5,093.50
       Wendy Yones                          Paraprofessional          $205.00              2.10            $430.50
10     Yosina M. Lissebeck                  Partner                   $745.00             13.50          $10,057.50
                                                                        TOTALS            21.70          $15,581.50
11

12                      b.      Services Rendered
13           Services provided during the Application Period and included in this category relate to

14 Dinsmore's oversight of the administration of the Case and the Estate. Where possible, Dinsmore

15 has categorized services in the more specific categories listed below. However, where a particular

16 service did not fall into one of those specific categories, that service was placed in this general case

17 administration category. The services rendered in this category were necessary to the administration

18 of the Estate and resolving the general administrative issues which arise in any Chapter 11 Case.

19           The services rendered in this category were necessary to the Trustee's role in the

20 administration of the Estate, and were beneficial to the Estate by resolving the general administrative

21 issues which arise in any Chapter 11 case such as this Case. Early on, this category was used for

22 projects that would relate to broad swaths of matters, such as applicability of IOLTA segregation

23 requirements, communication with creditors, review of financial records for relevance to defendants,

24 and the like. Wherever reasonably possible, the Application puts such "general" timekeeper entries

25 in the category that applies most closely with the task, or Defendant, for which the projects were

26 utilized.

27
             16
                  The hours and fees provided in Section VII(B) do not include any adjustment for fees incurred but not
28 charged or the courtesy discount provided by Dinsmore.


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 1                  Employment Applications (143576-2)
 2         In this category, during the Application Period, Dinsmore billed 8.60 hours for $7,028.00, in
 3 overall fees.

 4                  a.        Time Keeper Breakdown
 5                                                       FEES
                  NAME                      TITLE                RATE      HOURS       TOTAL FEES
 6
      Christopher Celentino           Partner                   $835.00      6.90        $5,761.50
 7    Yosina M. Lissebeck             Partner                   $745.00      1.70        $1,266.50
                                                                  TOTALS     8.60        $7,028.00
 8

 9                  b.        Services Rendered

10         In this category, services rendered included the preparation of the application to employ the

11 Fee examiner.

12                  Fee Applications (143576-4)

13         In this category, during the Application Period, Dinsmore billed 321.10 hours for

14 $135,793.00, in overall fees.

15                  a.        Time Keeper Breakdown

16                                                       FEES
                   NAME                     TITLE                RATE      HOURS       TOTAL FEES
17    Christopher Celentino           Partner                   $835.00     20.00       $16,700.00
      Yosina M. Lissebeck             Partner                   $745.00     67.40       $50,213.00
18
      Ellen A. Kennedy                Partner                   $665.00      2.60        $1,729.00
19    Lovee D. Sarenas                Partner                   $660.00       .80         $528.00
      Christopher B. Ghio             Partner                   $625.00     16.30       $10,187.50
20    Sarah S. Mattingly              Partner                   $610.00       .60         $366.00
      M. Tyler Powell                 Partner                   $595.00      4.30        $2,558.50
21
      John H. Stephens                Partner                   $545.00      1.20         $654.00
22    Brian M. Metcalf                Associate                 $650.00      1.00         $650.00
      Jeremy B. Freedman              Associate                 $465.00      8.90        $4,138.50
23    Veneeta Jaswal                  Associate                 $460.00       .30         $138.00
      Jamie D. Mottola                Associate                 $455.00      2.50        $1,137.50
24
      Lexi J. Epley                   Associate                 $420.00      1.60         $672.00
25    Jonathan B. Serrano             Associate                 $415.00      3.40        $1,411.00
      Jacob R. Bothamley              Associate                 $405.00      5.60        $2,268.00
26    Suzanne M. Marino               Associate                 $395.00      0.30         $118.50
      Vanessa Rodriguez               Associate                 $385.00      5.00        $1,925.00
27
      Paige E. Hornback               Associate                 $355.00       .20           $71.00
28    Brian L. Cockroft               Associate                 $275.00       .60         $165.00
      Caron Burke                     Paraprofessional          $225.00    178.50       $40,162.50

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 1                                                             TOTALS         321.10       $135,793.00

 2
                        b.     Services Rendered
 3
             Applicant prepared filed and served the First Interim Application. This consisted of
 4
     reviewing, analyzing, redacting and revising thousands of time entries and billing statements over
 5
     the period from May 8, 2023 – June 30, 2024. Applicant also drafted summaries of all legal
 6
     services, separated by matter numbers, as required by the US Trustee’s office. Applicant also
 7
     drafted, revised and finalized the fee application, which was over 100 pages.
 8
             Additionally, in this category, services rendered included review, revision and filing of Ethic
 9
     Monitor's First Fee Application along with the fee application of the Ombudsman'. Services also
10
     included, but were not charged, the monthly review and editing of time for services provided to the
11
     Trustee pursuant to the U.S. Trustee Guidelines.
12
             As this application only includes time billed through September 23, 2024, it does not include
13
     Applicant’s time to prepare, revise and finalize this second and final fee application. The fees
14
     incurred for this fee application will be billed, and paid, as a general expense pursuant to the
15
     engagement agreement moving forward under the terms of the Plan and the Liquidating Trust.
16
                        Plan and Disclosure Statement (143576-6)
17
             In this category, during the Application Period, Dinsmore billed 94.20 hours for $65,846.00.
18
     in overall fees.
19
                        a.     Time Keeper Breakdown
20
                                                      FEES
21
                   NAME                      TITLE            RATE           HOURS        TOTAL FEES
22     Christopher Celentino           Partner               $835.00          10.30         $8,600.50
       Yosina M. Lissebeck             Partner               $745.00          52.80        $39,336.00
23     Christopher B. Ghio             Partner               $625.00          20.90        $13,062.50
       M. Tyler Powell                 Partner               $595.00            .80          $476.00
24
       Jeremy B. Freedman              Associate             $465.00           9.40         $4,371.00
25                                                             TOTALS         94.20        $65,846.00

26
                        b.     Services Rendered
27
             Trustee and his General Counsel were primarily tasked with the preparation of the Plan and
28


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 1 Disclosure Statement in this Case. Where appropriate and applicable to Applicant's services

 2 rendered, Dinsmore assisted with the preparation and negotiation of the specific Plan and Disclosure

 3 Statement provisions which required input from Dinsmore concerning the issues of the litigation

 4 matters. Additionally as claims came in, Applicant provided input to the Trustee regarding various

 5 claims as many of those claimants were also litigation targets and thus Dinsmore had a better

 6 understanding of the issues related to those matters and how to classify those parties. Dinmore's

 7 input was also important for purposes of providing insight related to class, voting and tabulation

 8 issues. Applicant assisted both General Counsel and the Committee with information and requests

 9 in order to prepare for the Plan confirmation hearing, which Applicant also participated in, and

10 provided benefit to the Estate by having documents, exhibits, and information as needed by the

11 parties. Applicant assisted with the drafting of the confirmation order, provided information related

12 to parties for service of the confirmation order, and had multiple conversations with the Committee

13 and the Trustee to finalize the Plan and transition to the Trust.

14                    Claims, Consumer Rejections Claims and Administrative Claims (143576-7)
15          In this category, during the Application Period, Dinsmore billed 94.30 hours for $60,260.50,
16 in overall fees.

17                    a.       Time Keeper Breakdown
18                                                   FEES
                   NAME                      TITLE           RATE          HOURS       TOTAL FEES
19
       Christopher Celentino           Partner              $835.00         11.10        $9,268.50
20     Yosina M. Lissebeck             Partner              $745.00         33.20       $24,734.00
       Christopher B. Ghio             Partner              $625.00          6.00        $3,750.00
21     M. Tyler Powell                 Partner              $595.00         15.30        $9,103.50
       Spencer K. Gray                 Associate            $475.00         13.10        $6,222.50
22
       Jeremy B. Freedman              Associate            $465.00         14.40        $6,696.00
23     Jacob R. Bothamley              Associate            $405.00          1.20         $486.00
                                                              TOTALS        94.30       $60,260.50
24

25                    b.       Services Rendered
26          Trustee's General Counsel is tasked primarily with the objections to claims. The litigation

27 for which Applicant was primarily responsible necessarily resulted in the discovery of facts and

28 circumstances relevant to certain claims, including specifically administrative claims. In particular,


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 1 Special Counsel coordinated the entire consumer contract rejection process, and in the course of

 2 litigation, discovered and disclosed facts demonstrating the insufficiency of certain administrative

 3 claims, such as that from Greyson law group and its principals Han and Jade Trinh. While some of

 4 that overlapped with the response to Greyson's Motion for Relief from the Injunction it agreed to be

 5 bound by, the development of those theories in conjunction with General Counsel made for a

 6 comprehensive presentation in opposition to validity and allowance of same. Further, Dinsmore

 7 attorneys responded to many consumer clients' emails and phone calls related to the filing of claims

 8 and/or amendments to those claims. Finally, Applicant reviewed secured and priority claims so that

 9 it could include any necessary objections to various parties' claims to its adversary proceedings.

10 Applicant prepared filed and served objections related to the litigation matters it is attending to.

11 Those objections are identified and described more particularly above. Applicant further has had

12 numerous conversations with the Trustee related to procedures and moving forward with the rejected

13 consumer class claim and liquidating the claim.

14                    Asset Analysis/Recovery/Disposition (143576-8)
15          In this category, during the Application Period, Dinsmore billed 25.10 hours for $11,687.50,
16 in overall fees.

17                    a.     Time Keeper Breakdown
18                                                       FEES
                   NAME                     TITLE                RATE        HOURS       TOTAL FEES
19     Sara A. Johnston               Partner                   $495.00       11.50        $5,692.50
20     Yosina M. Lissebeck            Partner                   $725.00         .20         $149.00
       Jeremy B. Freedman             Associate                 $465.00        9.90        $4,603.50
21     Brandon E. Lira                Associate                 $355.00        2.80         $994.00
       Jonathan B. Serrano            Associate                 $415.00         .50         $207.50
22
       Wendy Yones                    Paraprofessional          $205.00         .20           $41.00
23                                                                TOTALS      25.10       $11,687.50

24                    b.     Services Rendered
25                           Sale Motion. This matter included the work done in negotiating, organizing,

26 reviewing, documenting and advising the Trustee related to the Sale of Debtor's assets, and all the

27 various issues that went with the sale as identified in its invoices. On July 7, 2023, Applicant

28 prepared, filed and served on behalf of the Trustee a motion [Dkt. No. 191] (the "Sale Motion") to


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 1 approve the sale of substantially all of the Debtor's assets. The Sale Motion sought approval of that

 2 certain Agreement of Purchase and Sale and Joint Escrow Instructions drafted, revised and finalized

 3 by Applicant to document the agreement between the Trustee and CLG (the "CLG PSA"). The sale

 4 and its terms are more fully described above, and incorporated herein by reference. Applicant was

 5 mindful of the issues that plagued the Debtor pre-petition, and thus it did research related to making

 6 sure the sale took place ethically and legally. Applicant did research, had discussions, and ultimately

 7 advised the Trustee of the importance that the Court appoint a monitor to ensure compliance with

 8 applicable regulations in the post-closing operations of the Debtor's business.

 9          As discussed above, the Bankruptcy Court sua sponte entered an order [Dkt. No. 206]
10 requesting both briefing concerning the Sale Motion and optional supplemental briefing concerning

11 the Bankruptcy Court's authority to approve the sale in light of the Debtor's prepetition illegal

12 operations and the appropriate conditions and available post-sale reformations of any and all

13 business operations. And on July 17, 2023, numerous parties responded and filed said briefs.

14 Applicant reviewed and analyzed those briefs so that it could properly respond to any questions the

15 Court might have at the hearing, as well as to properly advise the Trustee.

16          On July 19, 2023, as set forth above, numerous parties filed responses to the Sale Motion.
17 Applicant reviewed and analyzed those briefs so that it could properly respond to any questions the

18 Court might have at the hearing, as well as to properly advise the Trustee. On July 20, 2023,

19 Applicant prepare, filed and served on behalf of the Trustee a reply [Dkt. No. 313] in support of the

20 Sale Motion. On July 21, 2023, the Bankruptcy Court held a hearing on the Sale Motion. Applicant

21 prepared for that hearing and attended the Hearing, which took all day. At the hearing, the Trustee

22 sought approval of a revised and further negotiated form of the CLG PSA to which the Trustee, the

23 Committee, and CLG agreed. The hearing resulted in a competitive bidding process between CLG,

24 the Bensamochan Law Group, and Morning Law Group ("MLG").The bidding process resulted in

25 the selection of MLG as the winning bidder, pursuant to that certain Agreement of Purchase and Sale

26 and Joint Escrow Instructions by and between the Trustee and MLG [Dkt. No. 416] (the "Purchase

27 Agreement"). Applicant revised and finalized the Purchase Agreement and all supporting

28 documents thereto to comply with the terms agreed to in Court and those in which the Court ordered.


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 1 This included having to prepare, file and serve motions to assume and reject various executory

 2 contracts (which are also further itemized in matter number 9 below). In order to prepare these

 3 motions, Applicant had to review numerous agreements, discuss these with the Trustee and MLG,

 4 and obtain information related to the transaction. On July 22, 2023, the Court entered a

 5 memorandum decision [Dkt. No. 320] approving the Sale Transaction. On August 2, 2023, the Court

 6 entered an order [Dkt. No. 352] granting the Sale Motion. The Sale Transaction closed on August 4,

 7 2023. The Estate obtained $5.5 million as the initial payment; and ultimately another $1.5 million

 8 pursuant to the terms of the parties' agreement. Future proceeds, pursuant to the agreement, will

 9 continue to be made.

10          Asset Analysis. While the majority of Applicant's time in this matter was related to the sale,
11 time entries also involved matters that resulted from the sale. Applicant prepared and sent numerous

12 cease and desist letters to various parties that were interfering with the transfer of consumer clients

13 to MLG and were improperly interfering with the consumers rights to opt in and out (which is more

14 fully described below). Applicant responded to thousands of inquiries from consumers. Applicant

15 also began to review UCC lien issues and how those impacted the Debtor's proceeds. Applicant

16 reviewed various documents related to double pulls and identified what rejected consumer clients

17 funds needed to be returned. Applicant prepared, filed and served various motions to be heard by

18 the Court to further benefit the creditors of the Estate. Applicant reviewed litigation filed against

19 LPG, made sure stays were in place, and requested, organized and reviewed millions of pages of

20 documents that were produced through various 2004 applications, motions for turnover and

21 subpoenas, all prepared, filed and served by Applicant.

22          As to the Second Application period, Asset Analysis referred to Applicant investigating
23 various entities and preparing, filing and serving 2004 applications. It also consisted of applicant

24 reviewing and analyzing various claims to see if litigation could be supported.

25                  Post-Petition Financing Matters (143576-11)
26          In this category, during the Application Period, Dinsmore billed 5.10 hours for $3,229.50, in
27 overall fees.

28                  a.      Time Keeper Breakdown


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 1                                                  FEES
                  NAME                     TITLE            RATE           HOURS       TOTAL FEES
 2
       M. Tyler Powell               Partner               $595.00          3.80         $2,261.00
 3     Yosina M. Lissebeck           Partner               $745.00          1.30          $968.50
                                                             TOTALS          5.10        $3,229.50
 4

 5                  b.       Services Rendered
 6          Applicant assisted the Trustee in finding, negotiating and drafting the various agreements

 7 needed by the Estate to obtain post-petition financing. The Trustee needed to request postpetition

 8 financing to fund ordinary business operations of the Debtor because the estate lacked adequate

 9 available cash to fund such expenses. Specifically, the U.S. Trustee objected to the use of

10 postpetition funds collected from consumer clients by ACH draws and the estate lacked significant

11 cash on hand as of the Petition Date. The Trustee contended that maintaining the Debtor's operations

12 postpetition was necessary to preserve the going-concern value of the Debtor in advance of any sale

13 of the Debtor's business.

14          On June 16, 2023, Applicant prepared, filed and served on behalf of the Trustee an

15 emergency motion [Dkt. No. 119] (the "First Financing Motion") to obtain postpetition financing, on

16 an unsecured, superpriority administrative basis, from Resolution Ventures in the amount of

17 $800,000, including an initial advance of $350,000 and a subsequent advance of $450,000. On June

18 22, 2023, the Bankruptcy Court entered an order [Dkt. No. 131] (the "First Financing Order")

19 approving the First Financing Motion on an interim basis.

20          On June 29, 2023, Applicant prepared, filed and served on behalf of the Trustee an ex parte

21 notice [Dkt. No. 156] (the "Second Financing Motion") of an alleged nonmaterial modification to the

22 promissory note by and between the Trustee and Resolution Ventures, pursuant to the First

23 Financing Order. The Second Financing Motion indicated that Resolution Ventures had advanced

24 $240,000 of the $800,000 loan amount prior to entry of the First Financing Order; however,

25 Resolution Ventures subsequently informed the Trustee that it was unable to provide any further

26 advances under the promissory note. The Second Financing Motion proposed that the non-material

27 modification would substitute Liberty Acquisitions Group, Inc. ("Liberty"), an affiliate of Consumer

28 Legal Group PC ("CLG"), as the lender for the remaining $560,000 balance of the approved,


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 1 unsecured, superpriority administrative loan, and repayable on a pari passu basis with the $240,000

 2 loaned by Resolution Ventures.

 3          On June 29, 2023, the Bankruptcy Court set [Dkt. No. 158] an emergency hearing on the
 4 Second Financing Motion. On July 3, 2023, the Bankruptcy Court entered an order [Dkt. No. 168]

 5 (the "Second Financing Order") authorizing, on an interim basis, the proposed loan from Liberty

 6 Acquisitions Group, Inc.

 7          On July 16, 2023, Applicant prepared, filed and served on behalf of the Trustee an
 8 emergency motion [Dkt. No. 249] (the "Third Financing Motion") to obtain postpetition financing,

 9 on an unsecured, superpriority administrative basis, from Resolution Ventures, in the amount of

10 $249,663.98, and from Liberty, in the amount of $249,663.98. On July 18, 2023, the Committee

11 filed an objection [Dkt. No. 282] to the Third Financing Motion, in part, on the grounds that the

12 proposed, amended Liberty promissory note would have impermissibly permitted Liberty to obtain

13 immediate repayment of its postpetition loans from the first sale proceeds received by the estate. On

14 July 20, 2023, the Bankruptcy Court entered an order [Dkt. No. 310] (the "Third Financing Order")

15 approving the Third Financing Motion on an interim basis; provided, however, that Liberty would no

16 longer provide the additional $249,663.98 in financing and would instead be replaced by

17 PanAmerican Consulting Inc. without the immediate repayment provisions in the Liberty note.

18          On August 21, 2023, the Bankruptcy Court entered orders [Dkt. Nos. 413, 414, 415]
19 approving on a final basis the financing authorized under the First Financing Order, the Second

20 Financing order, and the Third Financing Order.

21          On May 23, 2024, Applicant prepared, filed and served, along with general counsel, on
22 behalf of the Trustee and Motion to Surcharge Secured Creditors to Pay these super-priority loans

23 [Dkt No. 1242]. On June 18, 2024, the Court approved Trustee's Application to Surcharge Secured

24 Creditors to authorize Trustee to use funds on hand to pay such post-petition financing obligations

25 [Dkt. No. 1350].

26          Upon Plan confirmation, the payments to the postpetition lenders was due. Applicant
27 reviewed the documents, assessed the amounts and the interest, and obtained the necessary

28 documentation to ensure the payments were made. Thus, the Estate paid these parties, as required


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 1 by the Plan.

 2                  Employee Matters (143576-12)
 3          In this category, during the Application Period, Dinsmore billed .70 hours for $521.50, in
 4 overall fees.

 5                  a.       Time Keeper Breakdown
 6                                                  FEES
                  NAME                     TITLE            RATE           HOURS       TOTAL FEES
 7
       Yosina M. Lissebeck           Partner               $745.00           .70          $521.50
 8                                                           TOTALS          .70          $521.50

 9                  b.       Services Rendered
10          One of the most complicated issues facing the Trustee was the fact that the Debtor's former

11 principals began raiding the Debtor's operations to ensure that there would be nothing left for

12 Trustee to administer and sell; while focus was on the transfer of the Debtor's consumer client

13 contacts, Debtor's former operators also pilfered the Debtor's employee base, stealing the employees

14 themselves to employment with other "affiliated" companies such as PrimeLogix and Maverick,

15 while also stealing the ACH pulls from Debtor's consumer customers to finance the payment of the

16 employees who dutifully followed instructions to assist the migration of Debtor's consumer contracts

17 to Debtor's fraudulent conveyance partners, Oakstone, Phoenix, CLG, Greyson, and others.

18 Employees caught in the middle involuntarily had their employment changed away from LPG.

19 Others– filed multiple claims before the Labor Commision and sought damages against the Estate

20 for alleged "interference" in the disruption of the fraudulent conveyance scheme in which they were

21 ensconced. In some cases, some of the employees assisted on the return to the estate of the database

22 and the client files from Phoenix and others back to LPG; Greyson, of course, was not cooperative.

23 Dealing fairly with the employees who were NOT complicit in the formulation of the illegal plans,

24 but who innocently bought into the bile eschewed about the Trustee and the Court by Debtor's

25 former principals was delicate – Applicant assisted the Trustee in the handling of these affairs

26 without long-term penalty to the Estate.

27                  Meetings of Creditors (143576-13)

28          In this category, during the Application Period, Dinsmore billed 3.50 hours for $2,922.50, in


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 1 overall fees.

 2                   a.        Time Keeper Breakdown
 3                                                   FEES
                   NAME                      TITLE           RATE          HOURS        TOTAL FEES
 4
       Christopher Celentino           Partner              $835.00          3.50         $2,922.50
 5                                                            TOTALS         3.50         $2,922.50

 6
                     b.        Services Rendered
 7          On June 13, 2023, Applicant assisted the Trustee with the filing of an emergency motion
 8 [Dkt. No. 102] (the "Ad Hoc Committee Motion") to permit the Trustee to enter into an expense

 9 reimbursement agreement with an ad hoc committee intended to advance the interests of all

10 consumer client claimants. The U.S. Trustee objected [Dkt. No. 127], in part, on the grounds that the

11 U.S. Trustee was in the process of re-soliciting creditor interest in serving on an official committee

12 of unsecured creditors. On June 26, 2023, creditor Carolyn Beech objected [Dkt. No. 144] to the

13 expense reimbursement motion. On June 26, 2023, the Trustee, U.S. Trustee, and Carolyn Beech

14 entered into a stipulation [Dkt. No. 149] dismissing the Ad Hoc Committee Motion provided that the

15 U.S. Trustee agree that a majority of any official committee of unsecured creditors remains

16 comprised of consumer client claimants. On June 27, 2023, the Bankruptcy Court entered an order

17 [Dkt. No. 151] approving the stipulation.

18          On June 23, 2023, the U.S. Trustee filed a notice [Dkt. No. 134] of the appointment of a five-
19 member Committee. On June 29, 2023, the U.S. Trustee filed a notice [Dkt. No. 157] of the

20 appointment of two additional members to the Committee, which resulted in a seven-member

21 Committee. The Committee's membership is as follows: (i) Alexandra Lufti; (ii) April Reidy; (iii)

22 Denise Burtchell; (iv) Angela Dows, Esq.; (v) Thomas Ray; (vi) Affirma, LLC; and (vii) Abigail R.

23 Beaudin. Consistent with the Bankruptcy Court approved stipulation, the majority of the

24 Committee's members are consumer client claimants.

25          Applicant reviewed and responded to numerous emails, calls and met weekly with the OCC
26 to ensure thorough communication and avoid duplication of effort regarding specific tasks to be

27 undertaken.

28                   2004 Examinations (143576-15)


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 1          In this category, during the Application Period, Dinsmore billed 3.60 hours for $1,4722.00,
 2 in overall fees.

 3                    a.     Time Keeper Breakdown
 4                                                      FEES
                    NAME                   TITLE                RATE       HOURS       TOTAL FEES
 5
       M. Tyler Powell               Partner                   $595.00       1.00         $595.00
 6     Yosina M. Lissebeck           Partner                   $745.00        .60         $447.00
       Jennifer E. Pitcock           Paraprofessional          $215.00       2.00         $430.00
 7                                                                TOTALS     3.60        $1.472.00

 8                    b.     Services Rendered
 9          Applicant assisted Trustee's general counsel in preparation of Rule 2004 examinations that

10 would not repeat or infringe upon discovery to be commenced in conjunction with specific litigation

11 matters, but which otherwise were necessary to piece together the depth and breadth of the

12 documents evidencing Debtor's fraudulent conduct. To date, between Rule 2004 and adversary

13 discover, over 100 million documents have been recovered and reviewed.

14                    General Litigation (143576-18)

15          In this category, during the Application Period, Dinsmore billed 57.40 hours for $31,604.00,

16 in overall fees.

17                    a.     Time Keeper Breakdown

18                                                      FEES
                    NAME                   TITLE                RATE       HOURS      TOTAL FEES
19
       Ellen Arvin Kennedy           Partner                   $665.00        .50        $332.50
20     John H. Stephens              Partner                   $545.00       1.20        $654.00
       M. Tyler Powell               Partner                   $595.00       7.70       $4,581.50
21     Sara A Johnston               Partner                   $495.00       1.10        $544.50
       Yosina M. Lissebeck           Partner                   $745.00      14.50      $10,802.50
22
       Brian M. Metcalf              Associate                 $650.00      12.40       $8,060.00
23     Bryan L. Cockroft             Associate                 $275.00       1.00        $275.00
       Jacob R. Bothamley            Associate                 $405.00       2.50       $1,012.50
24     Brandon e. Lira               Associate                 $355.00       4.40       $1,562.00
       Vanessa Rodriguez             Associate                 $385.00       7.20       $2,772.00
25
       Jennifer E. Pitcock           Paraprofessional          $215.00        .30          $64.50
26     Wendy Yones                   Paraprofessional          $205.00       4.60        $943.00
                                                                 TOTALS     57.40      $31,604.00
27

28                    b.     Services Rendered


                                                        53
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 1          The Trustee has developed a comprehensive list of litigation claims against entities that
 2 received avoidable transfers including fraudulent conveyances, preferences, and unauthorized

 3 postpetition transactions. The list currently includes 517 transferees which received transfers totaling

 4 approximately $100 million. Because the litigation target list is sizeable and is significantly longer

 5 than it would be in a standard Chapter 11 case, the Trustee is currently in the process of finalizing a

 6 process to commence and process this litigation in an efficient fashion. The Trustee anticipates

 7 recovering tens of millions of dollars on account of these claims.

 8          In order to gain information related to these litigation targets, Applicant reviewed,
 9 researched, organized, and drafted numerous requests for information through demand letters, 2004

10 applications (as noted above), and subpoenas. This resulted in numerous documents, agreements,

11 and accounting documents that established transfers from the Debtor. Applicant reviewed, analyzed

12 and organized those documents. As Applicant obtained enough information, it would open a new

13 matter number for that litigation target and maintain time entries thereunder.

14          The services rendered in this category were necessary and beneficial to the Estate in that they
15 served to ensure efficient administration in that they allowed the Trustee to analyze and file

16 appropriate pleadings and properly disclose pending claims in conjunction with the sale.

17                   Adv. Case Nos. 23-102 / 23-1046 (Diab) (143576-19)
18          In this category, during the Application Period, Dinsmore billed 226.70 hours for
19 $105,557.50, in overall fees.

20                   a.        Time Keeper Breakdown
21                                                   FEES
                    NAME                    TITLE             RATE           HOURS        TOTAL FEES
22
       Christopher B. Ghio            Partner                $625.00          21.70        $13,562.50
23     Christopher Celentino          Partner                $835.00           5.90         $4,926.50
       Sara A Johnston                Partner                $495.00           5.80         $2,871.00
24     Yosina M. Lissebeck            Partner                $745.00          10.20         $7,599.00
       M. Tyler Powell                Partner               $5953.00            .70           $416.50
25
       Lexi J. Epley                  Associate              $420.00          28.40        $11,928.00
26     Jacob R. Bothamley             Associate              $405.00          20.10         $8,140.50
       Jeremy B. Freedman             Associate              $465.00          93.30        $43,384.50
27     Jonathan B. Serrano            Associate              $415.00            .40           $166.00
       Vanessa Rodriguez              Associate              $385.00          15.60         $6,006.00
28
       Robert J. Simmons              eDiscovery            $365.00            7.30         $2,664.50


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 1                                   Project Manager
       Angelica B. Garcia            Paraprofessional        $225.00          17.30         $3,892.50
 2
                                                               TOTALS        226.70       $105,557.50
 3

 4
                     b.     Services Rendered
 5          On May 26, 2023, the Trustee filed suit against more than forty-five non-debtor entities and
 6 individuals and simultaneously sought an emergency turnover and restraining order to protect and

 7 recover Debtor assets, client files, funds and evidence fraudulently transferred by LPG insiders and

 8 co-conspirators, including Mr. Diab. The case number for this adversary proceeding is 8:23-ap-

 9 1046-SC ("1046 Action"). Since the filing of the 1046 Action, the Trustee has obtained a

10 Preliminary Injunction to protect consumer clients, Estate assets and evidence. The Trustee obtained

11 a stipulated judgment and turnover as to Phoenix resulting in the turnover of a substantial number of

12 LPG consumer client files (but not corresponding liabilities related thereto) that ultimately resulted

13 in the Court approving the Trustee's motion to sell LPG's client files to Morning Law Group, PC.

14 The Trustee further is in discussions and intends to enter into a settlement agreements with two

15 additional defendants with an anticipated turnover to the Debtor's Estate totaling more than $1.2

16 million dollars, subject to Court approval.

17          In additional to the direct benefits obtained for the Debtor's Estate, the Trustee has been
18 engaged in discovery, obtained over 100 million documents related to this matter, taken the

19 deposition of two witnesses and responded to substantial motion practice with certain named

20 defendants challenging the Complaint and seeking to vacate the Preliminary Injunction. As a result

21 of said challenges and Trustee's ongoing investigation, the Trustee has further filed four amended

22 complaints since May 26, 2023.

23          Based on the Trustee's investigation, motions to compromise and stipulated judgments, the
24 Trustee has dismissed seventeen (17) of the named defendants, entered default as to eleven (11) of

25 the named defendants, with all other defendants either having answered the operative pleading or

26 will be subject to the Trustee seeking entry of default. As to those defendants that have answered the

27 operative Complaint, the Trustee is engaged in settlement discussions and further discovery with the

28 intention of filing motions for summary judgment, where appropriate, given Diab's and March's


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 1 admission to the fraudulent transfer of LPG assets at the Preliminary Injunction hearing and

 2 substantial evidence supporting same.

 3                    Adv. Case No. 23-1098 (OHP-CDR, LP) (143576-20)
 4          In this category, during the Application Period, Dinsmore billed 38.40 hours for $26,798.00,
 5 in overall fees.

 6                    a.       Time Keeper Breakdown
 7                                                        FEES
                    NAME                     TITLE                RATE      HOURS        TOTAL FEES
 8
       Christopher Celentino           Partner                   $835.00       .80          $668.00
 9     M. Tyler Powell                 Partner                   $595.00      9.10         $5,414.50
       Yosina M. Lissebeck             Partner                   $745.00     27.10        $20,189.50
10     Jeremy B. Freedman              Associate                 $465.00       .90          $418.50
       Jennifer E. Pitcock             Paraprofessional          $215.00       .50          $107.50
11
                                                                   TOTALS    38.40        $26,798.00
12

13                    b.       Services Rendered

14          On September 11, 2023, OHP-CDR, LP and PurchaseCo80, LLC (collectively, the "OHP

15 Plaintiffs") filed a complaint [Adv. Dkt. No. 1] initiating the adversary proceeding captioned OHP-

16 CDR, LP, et al. v. Marshack, et al., Adv. Proc. No. 8:23-ap-01098-SC (the "OHP Action"). In the

17 OHP Action, the OHP Plaintiffs seek determination of lien priority and the extent of their alleged

18 ownership interest asserted. OHP asserted that it had a valid, enforceable claim of $16,938,954.

19 On October 13, 2023, the Trustee filed an answer and counterclaims [Adv. Dkt. No. 7] in the OHP

20 Action. On October 13, 2023, defendant Azzure Capital, LLC filed an answer [Adv. Dkt. No. 10].On

21 November 3, 2023, the OHP Plaintiffs filed an answer [Adv. Dkt. No. 13] to the Trustee's

22 counterclaims.

23          Over the course of the litigation, the parties met and prepared various Joint Status Reports.

24 Further, the parties continuously exchanged information and continued to be open to settlement. On

25 June 18, 2024 [Adv. Dkt No. 55] Applicant prepared, filed and served a Motion for Summary

26 Judgment on Count Two of the Trustee's Counterclaim against OHP. The Hearing was set for July

27 31, 2024. After the hearing, but prior to a decision by the Court, the parties entered into settlement

28 discussions. A Settlement was reached. The parties documented the settlement and prepared, filed


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 1 and served a 9019 Motion to approve the settlement. The Settlement was approved. OHP was paid

 2 $250,000 upon the effective date, along with other terms to provide future payments based on a

 3 formula set forth in the settlement agreement, and their secured claim was denied.

 4                      Debt Relief Group LLC (143576-22)
 5           In this category, during the Application Period, Dinsmore billed .10 hours for $48.00, in
 6 overall fees.

 7                      a.     Time Keeper Breakdown
 8                                                        FEES
                   NAME                     TITLE                 RATE      HOURS       TOTAL FEES
 9
       Matthew J. Stockl               Associate                 $480.00      .10           $48.00
10                                                                 TOTALS     .10           $48.00
                        b.     Services Rendered
11
             The complaint against The Debt Relief Group seeks avoidance of fraudulent transfers and
12
     recovery/turnover of funds paid to Defendant by Debtor during the applicable lookback period.
13
     Applicant is seeking to recover approximately $997,037.98. Applicant continues to investigate the
14
     transfers and is reviewing documents to support a complaint that should be filed in December.
15
                        Adv. Case No. 24-01017 (New Horizon Finance LLC) (143576-23)
16
             In this category, during the Application Period, Dinsmore billed 48.50 hours for $20,734.50,
17
     in overall fees.
18
                        a.     Time Keeper Breakdown
19
                                                          FEES
20                  NAME                     TITLE                RATE      HOURS       TOTAL FEES
21     Christopher Celentino           Partner                   $835.00       .30         $250.50
       M. Tyler Powell                 Partner                   $595.00      6.30        $3,748.50
22     Yosina M. Lissebeck             Partner                   $745.00      2.40        $1,788.00
       Vanessa Rodriguez               Associate                 $385.00     38.00       $14,630.00
23     Jennifer E. Pitcock                                       $215.00
                                       Paraprofessional                        .50         $107.50
24     Katherine Hemphill              Paraprofessional          $210.00      1.00         $210.00
                                                                   TOTALS    48.50       $20,734.50
25

26                      b.     Services Rendered
             On February 6, 2024, Applicant prepared, filed and served on behalf of the Trustee a
27
     Complaint against New Horizon Finance LLC. On March 28, 2024, the Trustee filed his First
28


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 1 Amended Complaint (the "FAC") to include new accounting numbers for the 90-day and 4-year

 2 conveyances. The FAC was served on the Defendant on March 29, 2024. On May 15, 2024, the Rule

 3 26(f) Conference was held and counsel for the parties discussed the Joint Status Report and a

 4 potential settlement was discussed. On May 20, 2024, the Defendant filed its Answer to the FAC.

 5 On May 28, 2024, Applicant prepared and filed the Joint Status Report. On June 20, 2024, Applicant

 6 appeared at the Status Conference. Discovery was propounded on July 26, 2024. Applicant will

 7 continue to pursue the matter, with the next steps being to receive discovery requests from the

 8 Defendant. Additionally, the Applicant will file any necessary Pre-Trial Motions as needed.

 9 Discussions with the Defendant regarding a potential settlement are ongoing, and the Applicant is

10 hopeful that a settlement can be reached soon.

11          On October 8, 2024, the Court approved a settlement between the Trustee and the Defendant
12 [Dkt. No. 1799]. Pursuant to the Court’s order, New Horizon has paid the Trustee $90,000.00 in

13 exchange of release of claims and the Trustee will dismiss the adversary.

14                    Adv. Case No. 23-1150 (Clear Vision Financial LLC / Liberty 1 Financial)
15 (143576-24)

16          In this category, during the Application Period, Dinsmore billed 90.70 hours for $41,143.50,
17 in overall fees.

18                    a.    Time Keeper Breakdown
19                                                     FEES
                   NAME                    TITLE               RATE       HOURS       TOTAL FEES
20
       Sarah S. Mattingly            Partner                  $610.00       1.40         $854.00
21     Jamie D. Mottola              Associate                $455.00      85.50       $38,902.50
                                     eDiscovery
       Robert J. Simmons                                      $365.00       3.80         $1,387.00
22                                   Project Manager
                                                                TOTALS     90.70        $41,143.50
23

24                    b.    Services Rendered

25          On December 21, 2023, Applicant prepared, filed and served on behalf of the Trustee a

26 complaint against Clear Vision Financial which seeks avoidance of fraudulent transfers and

27 recovery/turnover of funds paid to Defendant by Debtor on the theory that Defendant and Debtor

28 were engaged in the solicitation of illegal capping of consumers. The complaints seeking to recover


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 1 approximately $794,848.57. Applicant has been conducting discovery and believes it will be in a

 2 position to draft a Motion for Summary Judgment.

 3                    Adv. Case No. 24-01018 (MRD Marketing LLC) (143576-25)
 4          In this category, during the Application Period, Dinsmore billed 34.90 hours for $13,981.50,
 5 in overall fees.

 6                    a.     Time Keeper Breakdown
 7                                                      FEES
                  NAME                     TITLE                RATE      HOURS       TOTAL FEES
 8     Yosina M. Lissebeck                                     $745.00
                                     Partner                                2.00        $1,490.00
 9     Vanessa Rodriguez             Associate                 $385.00     31.90       $12,281.50
       Katherine Hemphill            Paraprofessional          $210.00      1.00         $210.00
10                                                               TOTALS    34.90       $13,981.50

11                    b.     Services Rendered
12          On February 6, 2024, Applicant prepared, filed and served on behalf of the Trustee a

13 Complaint against MRD Marketing LLC. On April 1, 2024, Applicant prepared, filed and served on

14 behalf of the Trustee his First Amended Complaint ("FAC") to include new accounting numbers for

15 the 90-day and 4-year conveyances. The FAC was served on the Defendant on April 2, 2024. The

16 Defendant's deadline to file and serve an Answer to the FAC was on May 2, 2024. The Defendant

17 did not file an Answer. On June 18 2024, the Trustee filed a Request for Entry of Default. On that

18 same day, the Clerk entered default against the Defendant. Applicant pursued the Motion for Default

19 , and a judgment was entered in the amount of $1,662,610.22 against the Defendant. Applicant will

20 proceed with collecting this judgment.

21                    Adv. Case No. 24-01040 (Marich Bein, LLC) (143576-26)

22          In this category, during the Application Period, Dinsmore billed 39.90 hours for $19,165.50,

23 in overall fees.

24                    a.     Time Keeper Breakdown

25                                                      FEES
                   NAME                    TITLE                RATE      HOURS       TOTAL FEES
26     Christopher B. Ghio                                     $625.00
                                     Partner                                5.60        $3,500.00
27     Yosina M. Lissebeck           Partner                   $745.00       .40         $298.00
       Lexi J. Epley                 Associate                 $420.00      8.80        $3,696.00
28     Jeremy B. Freedman            Associate                 $465.00     25.10       $11,671.50



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 1                                                             TOTALS          39.90        $19,165.50

 2
                     b.      Services Rendered
 3
            On March 26, 2024, Applicant prepared, filed and served on behalf of the Trustee a
 4
     Complaint against Marich Bein, LLC, BankUnited, N.A. among others pursuant to this Court's order
 5
     dismissing Marich Bein and BankUnited from the 1046 Action. Marich Bein in conjunction with
 6
     BankUnited processed ACH debits on LPG files and entered into fraudulent ACH receivable
 7
     purchase agreements with LPG pre-petition as part of Diab's fraudulent scheme to defraud LPG
 8
     creditors. When this relationship deteriorated, Marich Bein withheld substantial LPG asset for which
 9
     the Trustee seeks to recover. Marich Bein and BankUnited have filed an answer and the parties have
10
     exchanged initial disclosures. The remaining defendants have not formally responded to the
11
     Complaint. As to these defendants, Applicant on behalf of the Trustee intends to seek entry of
12
     default. Applicant is continuing to obtain documents through various subpoena and other resources.
13
     And through this is investigating other transfers to these defendants as well as related targets.
14
     Applicant believes that it will need to file an Amended Complaint to assert these claims.
15
                     Adv. Case No. 24-1004 (Point Break Holdings LLC) (143576-27)
16
            In this category, during the Application Period, Dinsmore billed .70 hours for $365.50, in
17
     overall fees.
18
                     a.      Time Keeper Breakdown
19
                                                      FEES
20                 NAME                     TITLE             RATE            HOURS        TOTAL FEES
       Yosina M. Lissebeck            Partner                $745.00             .30          $223.50
21                                                           $355.00
       Paige E. Hornback              Associate                                  .40          $142.00
22                                                             TOTALS           0.70          $365.50

23
                     b.      Services Rendered
24
            On January 10, 2024, Applicant prepared, filed and served on behalf of the Trustee a
25
     complaint against Point Break Holdings. The Trustee is pursuing actions against Point Break
26
     Holdings, LLC related to the Debtor's payments to defendant between March 2022 and March 2023.
27
     Trustee's claims include: (1) avoidance, recovery, and preservation of 2 year actual fraudulent
28
     transfers; (2) avoidance, recovery, and preservation of 2-year constructive fraudulent transfers' (3)


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 1 avoidance, recovery, and preservation of 4-year actual fraudulent transfers; (4) avoidance, recovery,

 2 and preservation of 4-year construction fraudulent transfers; (5) avoidance, recovery, and

 3 preservation of preferential transfer made within 90 days of the petition date; and (6) turnover. This

 4 target is represented by the same counsel as Perfect Financial, and as such, is similarly procedurally

 5 postured to that action. The parties have exchanged written discovery, and Applicant is currently

 6 determining whether to schedule party depositions or proceed straight to summary judgment. The

 7 Trustee is seeking $3,557,704.32 in damages based on the Debtor's payments to defendant between

 8 March 2022 and March 2023.

 9                  Adv. Case No. 24-01002 (Clearcube LLC) (143576-28)
10          In this category, during the Application Period, Dinsmore billed .90 hours for $281.00, in
11 overall fees.

12                  a.      Time Keeper Breakdown
13                                                  FEES
                   NAME                    TITLE            RATE           HOURS       TOTAL FEES
14
       Sarah S. Mattingly            Partner               $610.00            .10          $61.00
15     Bryan L. Cockroft             Associate             $275.00            .80         $220.00
                                                             TOTALS          0.90         $281.00
16

17                  b.      Services Rendered
18          Applicant prepared, filed and served on behalf of the Trustee a complaint against Clearcube

19 LLC on January 10, 2024. Clearcube did not answer the complaint, therefore the Court has granted

20 default judgement in favor of the Trustee on June 4, 2024 in the amount of $1,981,549.22. After the

21 Request for the Clerk to enter Default Judgement was field in February 2024, on April 22, 2024,

22 Applicant prepared, filed and served on behalf of the Trustee a Motion for Default Judgement along

23 with a Memorandum of Points and Authorities. The hearing was set on the Motion for Default

24 Judgement for May 15, 2024, the Court granted the Motion for Default Judgment against Clearcube.

25 The Court requested that the Trustee file Finding of Facts, which was filed on June 4, 2024 and the

26 Court entered default judgment on June 4, 2024. Since the proof of claim listed in the default

27 judgment was incorrect, the default judgement was amended on June 4, 2024. Currently, Applicant

28 on behalf of Trustee is in the process of collecting the judgement amount from Clearcube. Applicant


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 1 is in the process of filing a Writ of Execution to Levy Clearcube's bank accounts.

 2                    Adv. Case No. 23-1148 (JGW Solutions LLC) (143576-29)
 3          In this category, during the Application Period, Dinsmore billed 30.10 hours for $13,130.50,
 4 in overall fees.

 5                    a.     Time Keeper Breakdown
 6                                                  FEES
                   NAME                    TITLE             RATE          HOURS        TOTAL FEES
 7
       Sarah S. Mattingly            Partner                $610.00          7.60         $4,636.00
 8     Yosina M. Lissebeck           Partner                $745.00          1.30          $968.50
       Paige E. Hornback             Associate              $355.00         21.20         $7,526.00
 9                                                            TOTALS        30.10        $13,130.50

10                    b.     Services Rendered
11          On December 18, 2023, Applicant prepared, filed and served on behalf of the Trustee a

12 complaint against JGW Solutions. The Trustee is pursuing actions against JGW Solutions, LLC

13 related to 5 Accounts receivable Purchase Agreements between JGW and the debtor. Trustee's

14 claims include: (1) avoidance, recovery, and preservation of 2 year actual fraudulent transfers; (2)

15 avoidance, recovery, and preservation of 2-year constructive fraudulent transfers' (3) avoidance,

16 recovery, and preservation of 4-year actual fraudulent transfers; (4) avoidance, recovery, and

17 preservation of 4-year construction fraudulent transfers; (5) avoidance, recovery, and preservation of

18 preferential transfer made within 90 days of the petition date; and (6) turnover. The parties have

19 exchanged written discovery and Applicant filed a motion for summary judgment to be heard before

20 the Court on November 26, 2024. The Trustee is seeking $621,090.91 in damages based on the

21 Debtor's payments to defendant between March 2022 and March 2023.

22                    Spot on Consulting Inc. (143576-31)

23          In this category, during the Application Period, Dinsmore billed 5.60 hours for $2,247.00, in

24 overall fees.

25                    a.     Time Keeper Breakdown

26                                                  FEES
                  NAME                     TITLE             RATE          HOURS        TOTAL FEES
27     Yosina M. Lissebeck                                  $745.00
                                     Partner                                  .10            $74.50
       Suzanne M. Marino             Associate              $395.00          5.50         $2,172.50
28
                                                              TOTALS         5.60         $2,247.00


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 1                    b.     Services Rendered
 2          Applicant is investigating this target as there are a number of agreements and documents that

 3 reflect that Spot On may have received avoidable transfers. Applicant is currently drafting a 2004

 4 petition that it will allow it to obtain information needed to determine how to proceed.

 5                    Adv. Case No. 24-01023 (CRI System Inc.) (143576-32)

 6          In this category, during the Application Period, Dinsmore billed 32.50 hours for $14,114.50,

 7 in overall fees.

 8                    a.     Time Keeper Breakdown

 9                                                  FEES
                   NAME                    TITLE            RATE           HOURS       TOTAL FEES
10     Yosina M. Lissebeck           Partner               $745.00           2.80        $2,086.00
11     Jacob R. Bothamley            Associate             $405.00          29.70       $12,028.50
                                                             TOTALS         32.50       $14,114.50
12

13                    b.     Services Rendered

14          On February 9, 2024, Applicant prepared, filed and served on behalf of the Trustee a

15 complaint against CRI Systems, Inc. Defendant did not answer the complaint, therefore Trustee

16 took a default posture. Defendant received updated transfer amounts from accounts regarding

17 transfers between LPG and CRI, thereafter Applicant prepared, filed and served on behalf of the

18 Trustee an amended complaint to reflect the substantive changes. The First Amended Complaint

19 encountered greater difficulty in serving due to the fact that CRI was no longer accepting mail at the

20 address listed on the Nevada Secretary of State Website. Applicant conducted research for

21 alternative addresses for CRI's principal and registered agent, and served the First Amended

22 complaint at that address. The First Amended Complaint was also not answered. Applicant

23 prepared, filed and served a request for entry of default and default was entered. Applicant prepared

24 and the Court entered a default judgment in the amount of $536,832.08. Applicant is now

25 proceeding to collect on the judgment.

26                    Vasco Assets LLC (143576-33)

27          In this category, during the Application Period, Dinsmore billed 10.00 hours for $4,285.00,

28 in overall fees.


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 1                    a.     Time Keeper Breakdown
 2                                                       FEES
                   NAME                     TITLE                RATE       HOURS        TOTAL FEES
 3
       Milton T. Spurlock             Partner                   $595.00        .50          $297.50
 4     Suzanne M. Marino              Partner                   $395.00       3.60         $1,422.00
       Yosina M. Lissebeck            Partner                   $745.00        .40          $298.00
 5     Jonathan B. Serrano            Associate                 $415.00       5.20         $2,158.00
                                      eDiscovery
 6     Robert J. Simmons                                        $365.00         .30           $109.50
                                      Project Manager
 7                                                                TOTALS      10.00         $4,285.00

 8                    b.     Services Rendered
 9          Applicant is investigating litigation target Vasco through review of documents previously

10 obtained through 2004 application practice. Applicant prepared a second 2004 application related to

11 Vasco and obtained additional clarifying documentation related to transfers. Applicant continues to

12 investigate the transfers and the subsequent transferors related thereto, and anticipates filing a

13 motion for turnover. .

14                    Adv. Case No. 24-01001 (Leucadia Enterprises Inc.) (143576-34)

15          In this category, during the Application Period, Dinsmore billed 20.60 hours for $6,156.00,

16 in overall fees.

17                    a.     Time Keeper Breakdown

18                                                       FEES
                   NAME                     TITLE                RATE       HOURS        TOTAL FEES
19     Sarah S. Mattingly                                       $610.00
                                      Partner                                 1.20          $732.00
20     Yosina M. Lissebeck            Partner                   $745.00        .30          $223.50
       Bryan L. Cockroft              Associate                 $275.00      18.70         $5,142.50
21     Jamie Herald                   Paraprofessional          $145.00        .40            $58.00
                                                                  TOTALS     20.60         $6,156.00
22

23                    b.     Services Rendered
24          On January 9, 2024, Applicant prepared, filed and served on behalf of the Trustee a
25 complaint against Leucadia Enterprises Inc. The case is currently in the discovery stage of litigation.

26 Defendant answered the January Complaint in March after a Motion for the Clerk to enter Default

27 was filed in February 2024. Trustee's counsel granted Leucadia's counsel an extension to file the

28 Answer to the Complaint. A meet and confer with Leucadia's Counsel was held and parties filed a


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 1 Joint Status Report on April 11, 2024. On May 9, 2024 a Scheduling Order was entered into with

 2 the following deadlines:

 3            Applicant propounded discovery, which defendant responded to. Applicant anticipates at this
 4 stage that if no settlement is reached, this case will move forward with a dispositive motion or a trial.

 5 Currently no settlement has been offered and not clear if any will be offered at this stage

 6                     PECC/Teng/Touzi/Oakstone (143576-35)
 7            In this category, during the Application Period, Dinsmore billed 1.20 hours for $729.00, in
 8 overall fees.

 9                     a.      Time Keeper Breakdown
10                                                   FEES
                     NAME                    TITLE           RATE           HOURS        TOTAL FEES
11
         Christopher B. Ghio           Partner              $625.00            .50          $312.50
12       M. Tyler Powell               Partner              $595.00            .70          $416.50
                                                              TOTALS          1.20          $729.00
13

14                     b.      Services Rendered
15            On May 26, 2023, Applicant prepared, filed and served on behalf of the Trustee a complaint

16 against more than forty-five non-debtor entities and individuals including Eng Taing and Touzi

17 Capital, LLC. Upon service of the complaint, counsel for Eng Taing and Touzi Capital, LLC,

18 identified an additional entity, PECC, Corp., also owned and controlled by Eng Taing. Applicant's

19 investigation has uncovered detailed evidence of the scheme to fraudulently transfer LPG assets and

20 ACH receivables Based on Applicant's investigation, review of the evidence and information

21 obtained from other defendants, the Trustee filed a lawsuit initiating Adversary Proceeding No.

22 8:24-ap-01011-SC as against PECC, among nine other similarly situated defendants for avoidance

23 and recovery among other relief. PECC answered Trustee's complaint on May 17, 2024. Applicant

24 continues its investigation as it related to PECC, Eng Taing and Touzi Capital, LLC.

25                     United Global Research Group, Inc. (143576-36)

26            In this category, during the Application Period, Dinsmore billed 40.70 hours for $20,176.50,

27 in overall fees.

28 ///


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 1                    a.       Time Keeper Breakdown
 2                                                        FEES
                    NAME                     TITLE                RATE      HOURS        TOTAL FEES
 3
       Sara A Johnston                 Partner                   $495.00     25.60        $12,672.00
 4     Yosina M. Lissebeck             Partner                   $745.00      1.80         $1,341.00
       Spencer K. Gray                 Associate                 $475.00     11.90         $5,652.50
 5     Robert J. Simmons               eDiscovery
                                                                 $365.00       1.40           $511.00
                                       Project Manager
 6
                                                                   TOTALS     40.70        $20,176.50
 7

 8                    b.       Services Rendered
 9          Applicant is investigating this potential litigation target and reviewing relevant documents in

10 preparation for drafting an adversary complaint. Applicant had informal discovery discussions with

11 United GlobalWhen it failed to provide the relevant documents Applicant attempted to again obtain

12 this through information discussions. However, Applicant ultimately prepared a 2004 application.

13 Applicant is still trying to get United Global to respond to the 2004, but anticipates filing a

14 complaint by January.

15          Applicant prepared filed and served an objection to United Global’s priority claim. There

16 was no evidence that it was entitled to priority status. That objection is currently pending.

17                    Adv. Case No. 24-1115 (MPowering America, LLC/Matthew Lovelady)

18                    (143576-37)

19          In this category, during the Application Period, Dinsmore billed 78.90 hours for $35,861.50,

20 in overall fees.

21                    a.       Time Keeper Breakdown

22                                                        FEES
                   NAME                      TITLE                RATE      HOURS        TOTAL FEES
23     Christopher B. Ghio             Partner                   $625.00       .70          $437.50
24     Christopher Celentino           Partner                   $835.00      1.00          $835.00
       Sara A Johnston                 Partner                   $495.00     14.00         $6,930.00
25     Yosina M. Lissebeck             Partner                   $745.00      4.80         $3,576.00
       Spencer K Gray                  Associate                 $475.00     44.50        $21,137.50
26
                                       eDiscovery
       Robert J. Simmons                                         $365.00        .60           $219.00
27                                     Project Manager
       Wendy Yones                     Paraprofessional          $205.00      13.30         $2,726.50
28                                                                 TOTALS     78.90        $35,861.50



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 1                    b.     Services Rendered
 2          Applicant investigated this potential litigation target and reviewed relevant documents in

 3 preparation for drafting an adversary complaint. Applicant further reviewed the proof of claim filed

 4 by MPowering, that provided various agreements. MPowering agreed to produce documentation by

 5 March 26, 2024, but failed to do so. Applicant drafted and sent a final meet and confer request.

 6 Applicant analyzed whether it should prepare and serve a 2004 application or draft a complaint

 7 based on the information already in the Applicant's possession.

 8          On August 23, 2024, Applicant prepared, filed and served on behalf of the Trustee a

 9 complaint against MPowering America, LLC and Matthew Lovelady (collectively, the

10 "Defendants"). Defendants did not answer the complaint, therefore Trustee took a default posture.

11 On October 25, 2024, Applicant prepared, filed and served a request for entry of default. However,

12 prior to filing the default against MPowering American, Trustee was notified that it filed a Chapter 7

13 Bankruptcy. Thus, it will proceed in the bankruptcy against them. Shortly after filing a Request to

14 enter default against Lovelady only, Lovelady filed a motion to dismiss. Thus, the Court calendared

15 that hearing and denied the request to enter default. Applicant will prepare opposition and attend the

16 hearing set for December.

17                    Strategic Consulting Solutions LLC (143576-38)

18          In this category, during the Application Period, Dinsmore billed 10.10 hours for $3,985.50,

19 in overall fees.

20                    a.     Time Keeper Breakdown

21                                                      FEES
                   NAME                    TITLE                RATE       HOURS        TOTAL FEES
22     Sara A Johnston               Partner                   $495.00       2.60         $1,287.00
23     Yosina M. Lissebeck           Partner                   $745.00        .20          $149.00
       Spencer K Gray                Associate                 $475.00        .40          $190.00
24     Brandon E. Lira               Associate                 $355.00       6.30         $2,236.50
       Wendy Yones                   Paraprofessional          $205.00        .60          $123.00
25                                                               TOTALS     10.10         $3,985.50
26                    b.     Services Rendered
27          Applicant investigated this potential litigation target and reviewed relevant documents in

28 preparation for drafting an adversary complaint. Applicant prepared a 2004 application in order to


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 1 obtain relevant information. Applicant continues to review this matter and anticipates drafting and

 2 filing a complaint by January.

 3                    Sabia Financial Inc. (143576-39)
 4            In this category, during the Application Period, Dinsmore billed 19.60 hours for $7,936.50,
 5 in overall fees.

 6                    a.       Time Keeper Breakdown
 7                                                        FEES
                     NAME                    TITLE                RATE      HOURS       TOTAL FEES
 8
         Sara A Johnston               Partner                   $495.00      4.00        $1,980.00
 9       Yosina M. Lissebeck           Partner                   $745.00       .30         $223.50
         Vanessa Rodriguez             Associate                 $385.00     14.40        $5,544.00
10       Katherine Hemphill            Paraprofessional          $210.00       .90         $189.00
                                                                   TOTALS    19.60        $7,936.50
11

12                    b.       Services Rendered
13            Applicant reviewed and analyzed various documents related to Sabia Financial in
14 anticipation for drafting a complaint. Applicant prepared and sent Sabia a demand, which resulted in

15 communications between the parties. Discussions with Sabia's counsel regarding settlement are

16 ongoing.

17                    BC Consulting Group, LLC (143576-40)
18            In this category, during the Application Period, Dinsmore billed 15.30 hours for $6,894.50,
19 in overall fees.

20                    a.       Time Keeper Breakdown
21                                                        FEES
                     NAME                    TITLE                RATE      HOURS       TOTAL FEES
22
         Sara A Johnston               Partner                   $495.00      1.60         $792.00
23       Yosina M. Lissebeck           Partner                   $745.00      2.30        $1,713.50
         Vanessa Rodriguez             Associate                 $385.00     11.40        $4,389.00
24                                                                 TOTALS    15.30        $6,894.50

25                    b.       Services Rendered
26            Applicant reviewed and analyzed various documents related to BC Consulting in anticipation

27 for drafting a complaint. Applicant prepared and sent BC Consulting a demand, which resulted in

28 ///


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 1 communications between the parties. Discussions with BC Consulting regarding settlement are

 2 ongoing.

 3                    EZ Debt Relief Inc. (143576-41)
 4          In this category, during the Application Period, Dinsmore billed 3.40 hours for $1,644.00, in
 5 overall fees.

 6                    a.     Time Keeper Breakdown
 7                                                     FEES
                   NAME                    TITLE               RATE       HOURS        TOTAL FEES
 8
       Sara A Johnston               Partner                  $495.00       2.30         $1,138.50
 9     Yosina M. Lissebeck           Partner                  $745.00        .20          $149.00
       Jacob R. Bothamley            Associate                $405.00        .70          $283.50
10                                   eDiscovery
       Robert J. Simmons                                      $365.00         .20           $73.00
                                     Project Manager
11
                                                                TOTALS       3.40         $1,644.00
12

13                    b.     Services Rendered
14          Applicant conducted research and found contact information for EZ Debt's principal.

15 Applicant has been in frequent contact with EZ Debt to learn about the inner workings of EZ Debt,

16 as an LPG marketer. . Applicant counsel is in the process of reviewing the large number of

17 documents received from EZ Debt and has entered into settlement discussions.

18                    Summit Marketing Solutions Inc. (143576-42)

19          In this category, during the Application Period, Dinsmore billed 11.30 hours for $4,700.50,

20 in overall fees.

21                    a.     Time Keeper Breakdown

22                                                     FEES
                   NAME                    TITLE               RATE       HOURS        TOTAL FEES
23     Sara A Johnston               Partner                  $495.00       1.00          $495.00
24     Yosina M. Lissebeck           Partner                  $745.00        .10            $74.50
       Jacob R. Bothamley            Associate                $405.00      10.20         $4,131.00
25                                                              TOTALS     11.30         $4,700.50

26                    b.     Services Rendered
27          Applicant is in the process of obtaining further documentation based on information learned

28 from the initial production received from Summit’s counsel. Applicant is conducting ongoing


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 1 research to determine transfers from Debtor. Applicant is in the process of preparing a complaint to

 2 be filed with information received through the document productions by January.

 3                    Gotham Trading NYC (143576-50)
 4          In this category, during the Application Period, Dinsmore billed 1.60 hours for $952.00, in
 5 overall fees.

 6                    a.     Time Keeper Breakdown
 7                                                       FEES
                   NAME                     TITLE                RATE      HOURS        TOTAL FEES
 8
       Christopher B. Ghio            Partner                   $625.00      1.30          $812.50
 9     Jeremy B. Freedman             Associate                 $465.00       .30          $139.50
                                                                  TOTALS     1.60          $952.00
10

11                    b.     Services Rendered
12          Applicant received documents to suggest that Gotham obtained LPG money for goods that

13 were provided to other transferors. Applicant is investigating the location of these goods and

14 targeting the recipients for return of property of the estate.

15                    Consumer/Creditor Communications (143576-53)

16          In this category, during the Application Period, Dinsmore billed 50.10 hours for $22,782.50,

17 in overall fees.

18                    a.     Time Keeper Breakdown

19                                                       FEES
                  NAME                      TITLE                RATE      HOURS        TOTAL FEES
20     Yosina M. Lissebeck                                      $745.00
                                      Partner                                 .30          $223.50
21     Jamie D. Mottola               Associate                 $455.00     49.40        $22,477.00
       Wendy Yones                    Paraprofessional          $205.00       .40            $82.00
22                                                                TOTALS    50.10        $22,782.50

23                    b.     Services Rendered
24          Applicant has received thousands of inquiries from various consumer clients. These
25 consumers reach out to Applicant whenever there is a filing that provides notice to all creditors in an

26 attempt to understand the proceedings. These consumers reach out to Applicant to obtain help in

27 figuring out where their own client files are, if they were rejected or transferred, how and where to

28 file a proof of claim, and many other questions. Applicant put a lower billing associate in charge of


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 1 assisting with putting together a Frequently Asked Questions supplement for Omni to put on its web

 2 site, and for the associate to better respond to emails. Applicant believed a lower billing associate

 3 should be the person responding to these questions, and not a paralegal or legal assistant because the

 4 associate could better address upset consumers, inform them why no legal advice could be provided

 5 by the Trustee to these individuals, better explain the proceedings taking place, and generally

 6 provide them with assistance on how to best move forward with their issues.

 7                   Azzure Capital LLC (143576-54)
 8          In this category, during the Application Period, Dinsmore billed 6.90 hours for $4,953.00, in
 9 overall fees.

10                   a.        Time Keeper Breakdown
11                                                   FEES
                   NAME                      TITLE           RATE          HOURS        TOTAL FEES
12
       Christopher Celentino           Partner              $835.00          4.00         $3,340.00
13     M. Tyler Powell                 Partner              $595.00          1.70         $1,011.50
       Yosina M. Lissebeck             Partner              $745.00           .20          $149.00
14     Vanessa Rodriguez               Associate            $385.00           .10            $38.50
       Veneeta Jaswal                  Associate            $460.00           .90          $414.00
15
                                                              TOTALS         6.90         $4,953.00
16                   b.        Services Rendered
17          Azzure Capital has asserted a claim in the amount of $5M. Applicant advised the Trustee
18 related to a negotiated settlement with Azzure that was initially approved by the Court, but

19 reconsidered and denied. The OCC, and other secured creditors did not support the settlement and

20 wanted to object to Azzure's claim. OHP filed a lawsuit (described above) that included Azzure and

21 the Trustee. The Trustee's secured litigation also included Azzure as a defendant (matter #63). The

22 Trustee has agreed to go to mediation with Azzure Capital. In the meantime, Azzure Capital has

23 agreed to release its $5 million lien from money that is to be paid upon effective date in exchange for

24 a replacement lien on litigation proceeds. This agreement has been reduced to a stipulation. The

25 mediation is set for November, and a summary judgment motion was filed and will be heard after

26 mediation if a settlement is not reached. Time associated with this mediation and the motion for

27 summary judgment is also under the secured creditor litigation, matter #63.

28                   MCA Capital Holdings LLC (143576-56)


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 1          In this category, during the Application Period, Dinsmore billed 13.70 hours for $7,075.50,
 2 in overall fees.

 3                    a.     Time Keeper Breakdown
 4                                                      FEES
                   NAME                    TITLE                RATE        HOURS        TOTAL FEES
 5
       John A. Stephens              Partner                   $545.00       10.00         $5,450.00
 6     Veneeta Jaswal                Associate                 $460.00        3.40         $1,564.00
       Wendy Yones                   Paraprofessional          $305.00         .30            $61.50
 7                                                               TOTALS      13.70         $7,075.50

 8                    b.     Services Rendered
 9          Applicant is investigating whether to file a complaint against MCA Capital, as it appears they
10 were a Merchant Cash Advance lender, and currently Applicant is targeting other such lenders with a

11 complaint that alleges six causes of action: Two claims for the avoidance, recovery and preservation

12 of 2-year actual fraudulent transfers; Two claims for the avoidance, recovery and preservation of 4-

13 year actual fraudulent transfers; Avoidance, recovery and preservation of preferential transfer made

14 within 90 days of the petition date; and turnover. Applicant believes it will have the complaint on

15 file by December.

16                    MCDVI Fund 2 LLC, MCDVI Fund 2, LLC, Debt Validation Fund II, LLC,
17 Venture Partners, LLC and ProofPositive (143576-57)

18          In this category, during the Application Period, Dinsmore billed .10 hours for $74.50, in
19 overall fees.

20                    a.     Time Keeper Breakdown
21                                                      FEES
                  NAME                     TITLE                RATE        HOURS        TOTAL FEES
22
       Yosina M. Lissebeck           Partner                   $745.00        .10            $74.50
23                                                               TOTALS       .10            $74.50

24                    b.     Services Rendered
25          These defendants are all in the secured creditor litigation that Applicant prepared and filed

26 (matter #63). Applicant did some preliminary investigating into the alleged secured liens that these

27 parties asserted. Applicant had several discussions with the parties counsel related to its claims and

28 reviewed various documents. The balance of the time associated with these parties is in matter #63.


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 1                  ProofPositive LLC (143576-59)
 2          In this category, during the Application Period, Dinsmore billed 1.00 hours for $655.00, in
 3 overall fees.

 4                  a.       Time Keeper Breakdown
 5                                                  FEES
                  NAME                     TITLE            RATE           HOURS       TOTAL FEES
 6
       M. Tyler Powell               Partner               $595.00            .60         $357.00
 7     Yosina M. Lissebeck           Partner               $745.00            .40         $298.00
                                                             TOTALS          1.00         $655.00
 8

 9                  b.       Services Rendered
10          Applicant was successful in avoiding ProofPositive’s secured lien in the Secured Creditor

11 litigation, matter #63. However, Applicant continues to investigate avoidance actions against this

12 target. Applicant has had discussions and reviewed a number of documents related to the transfers

13 and defenses thereto. Applicant will either settle this matter or proceed with a complaint by January.

14                  Venture Partners, LLC (143576-60)

15          In this category, during the Application Period, Dinsmore billed .10 hours for $74.50, in

16 overall fees.

17                  a.       Time Keeper Breakdown

18                                                  FEES
                  NAME                     TITLE            RATE           HOURS       TOTAL FEES
19                                                         $745.00
       Yosina M. Lissebeck           Partner                                 .10           $74.50
20                                                           TOTALS          .10           $74.50

21                  b.       Services Rendered
22          Applicant was successful in avoiding Venture Partners secured lien in the Secured Creditor

23 litigation, matter #63. However, Applicant continues to investigate avoidance actions against this

24 target. Applicant has had discussions and reviewed a number of documents related to the transfers

25 and defenses thereto. Applicant will either settle this matter or proceed with a complaint by January.

26                  OHP-CDR, LP (143576-62)

27          In this category, during the Application Period, Dinsmore billed 8.20 hours for $4,768.00, in

28 overall fees.


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 1                   a.        Time Keeper Breakdown
 2                                                        FEES
                   NAME                      TITLE                RATE       HOURS       TOTAL FEES
 3
       Christopher Celentino           Partner                   $835.00       4.90        $4,091.50
 4     Wendy Yones                     Paraprofessional          $205.00       3.30         $676.50
                                                                   TOTALS      8.20        $4,768.00
 5

 6                   b.        Services Rendered
 7          OHP filed a lawsuit against the Trustee and Azzure, which Applicant prepared and filed a

 8 counter-claim in. Thus, most of the time associated with OHP is in matter # 20 Applicant did some

 9 preliminary investigating into the alleged secured lien that OHP asserted. Applicant had several

10 discussions with OHP's counsel related to its claims and reviewed various documents produced. The

11 balance of the time associated with OHP is in matter #20.

12                   Adv. Case No. 24-1001 - Secured Creditor Liquidation (143576-63)

13          In this category, during the Application Period, Dinsmore billed 180.60 hours for

14 $106,255.00, in overall fees.

15                   a.        Time Keeper Breakdown

16                                                        FEES
                    NAME                     TITLE                RATE       HOURS       TOTAL FEES
17                                                               $625.00
       Christopher B. Ghio             Partner                                 1.40          $875.00
18     Christopher Celentino           Partner                   $835.00       3.30         $2,755.50
       Matthew Tyler Powell            Partner                   $595.00      83.80        $49,861.00
19     John H. Stephens                Partner                   $545.00        .20          $109.00
       Yosina M. Lissebeck             Partner                   $745.00      57.10        $42,539.50
20
       Brandon E. Lira                 Associate                 $355.00      10.60         $3,763.00
21     Vanessa Rodriguez               Associate                 $385.00        .20            $77.00
       Jessica M. Lavin                Associate                 $375.00       7.70         $2,887.50
22     Wendy Yones                     Paraprofessional          $205.00      11.70         $2,398.50
       Jennifer E. Pitcock             Paraprofessional          $215.00       4.60          $989.00
23
                                                                   TOTALS    180.60       $106,255.00
24
                     b.        Services Rendered.
25
            On January 26, 2024 Applicant, and general counsel, prepared, filed and served on behalf of
26
     the Trustee a complaint against secured parties seeking, inter alia, declaratory judgment as to validity
27
     of their secured interests. Bridge Funding CAP, LLC d/b/a/ Fundura Capital, MNS Funding, LLC,
28


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 1 Azzure Capital LLC, Diverse Capital, LLC, PECC Corp, Marich Bein, Proof Positive LLC, MC DVI

 2 Fund 1 LLC, MC DVI Fund 2 LLC, Debt Validation Fund II LLC, Venture Partners LLC, all have

 3 been named as defendants in the adversary 8:24-ap-01011-SC ("Secured Creditor Adversary").The

 4 following is the status of Applicant's efforts and the Trustee's resolution with various defendants in

 5 the Secured Creditor Adversary:

 6          Applicant on behalf of the Trustee has been able to settle with Proof Positive/MCDVI Funds
 7 1 and 2/Debt Validation Fund II/Venture Partners – who agreed to its lien being avoided – thereby

 8 reducing $68,000,000 from the secured list.

 9          On March 15, 2024, the Court entered an order [Dkt. No. 1030], approving the stipulation
10 between the Trustee and Marich Bein whereby Marich Bein consented to the Trustee filing a

11 termination of the UCC Statement. Marich Bein's $22,304,093.25 alleged secured claim will thus be

12 unsecured moving forward, subject to objection and further investigation by Applicant into the

13 transactions as alleged in the adversary complaint filed by Applicant on behalf of the Trustee against

14 Marich Bein and Bank United, et al, Dkt. No. 1068; 8:24-ap-01040-SC.

15          On February 7th and 8th, the Bankruptcy Court entered two orders [Adv. Dkt. No. 10 & 12]
16 setting a pretrial conference and requiring the Plaintiffs to submit briefing and evidence in support of

17 their secured status. Most defendants complied, Applicant reviewed those responses and prepared

18 detailed status reports for each defendant, as instructed by the Court [Adv. Dkt Nos. 66-73). The

19 pretrial conference took place on April 22, 2024. Applicant attended and argued at the hearing.

20 Over the course of the litigation, the parties also met and prepared various Joint Status Reports.

21 Further, the parties continuously exchanged information and continued to be open to settlement. On

22 June 18, 2024 [Adv. Dkt No. 104] Applicant prepared, filed and served a Motion for Summary

23 Judgment on Count Two of the Trustee's Counterclaim against PECC.

24          On August 27, 2024, the Court granted partial summary judgment in favor of the Trustee and
25 against Bridge Funding as Secured Creditor [Adv. Dkt. No. 150]. On September 20, 2024, Bridge

26 Funding filed an appeal of the denial of summary judgment, U.S. District Court Case No. 8:24-cv-

27 02043-FMO.

28          The Trustee hads agreed to participate in mediation with Azzure Capital. In the meantime,


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 1 Azzure Capital has agreed to release its $5 million lien from money that was to be paid upon

 2 effective date and to obtain a replacement lien on other assets of the estate including litigation

 3 proceeds. The hearing on the Summary Judgment Motion against Azzure Capital is continued to

 4 November 13, 2024, at 11:00 a.m. [Adv. Dkt. No. 147]. In late October the proposed mediator

 5 withdrew because his firm had been retained and substituted in as counsel for CLG (in the Injunction

 6 Action described above); the Trustee had been working on obtaining a new mediator; and recently

 7 Judge Jury agreed to mediate. But it appears that the parties are now moving forward with the

 8 Summary Judgment Motion as scheduled. The Trustee negotiated a settlement with Diverse Capital

 9 ("Diverse"). On September 3, 2024, the Court approved the settlement between the Trustee and

10 Diverse [Dkt. No. 1609]. On September 19, 2024, the Trustee dismissed Diverse from the Secured

11 Creditor Adversary [Adv. Dkt. No. 158].

12          On August 15, 2024, the Court granted summary judgment in favor of the Trustee and
13 against PECC as Secured Creditor [Adversary Dkt. No. 144].

14          On September 3, 2024, the Court approved the settlement between the Trustee and MNS
15 Funding [Dkt. No. 1610].

16                    Adv. Case No. 24-1080 (BMF Advance LLC) (143576-64)
17          In this category, during the Application Period, Dinsmore billed 69.60 hours for $35,517.00,
18 in overall fees.

19                    a.       Time Keeper Breakdown
20                                                       FEES
                   NAME                      TITLE               RATE       HOURS        TOTAL FEES
21
       Christopher Celentino           Partner                  $835.00        .60          $501.00
22     John H. Stephens                Partner                  $545.00      27.10        $14,769.50
       M. Tyler Powell                 Partner                  $595.00        .60          $357.00
23     Yosina M. Lissebeck             Partner                  $745.00       4.50         $3,352.50
       Jacob R. Bothamley              Associate                $405.00       4.00         $1,620.00
24
       Veneeta Jaswal                  Associate                $460.00      31.00        $14,260.00
25     Robert J. Simmons
                                       eDiscovery
                                                                $365.00        1.80          $657.00
                                       Project Manager
26                                                                TOTALS      69.60        $35,517.00

27                    b.       Services Rendered
28          On May 16, 2024, Applicant prepared, filed and served on behalf of the Trustee a complaint


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 1 against BMF Advance, LLC. BMF was a Merchant Cash Advance lender, and the complaint alleges

 2 six causes of action: Two claims for the avoidance, recovery and preservation of 2-year actual

 3 fraudulent transfers; Two claims for the avoidance, recovery and preservation of 4-year actual

 4 fraudulent transfers; Avoidance, recovery and preservation of preferential transfer made within 90

 5 days of the petition date; and turnover. The complaint seeks to recover $2,775,541.99. Defendant's

 6 response is due July 2, 2024. The parties will then meet and confer, prepare a joint status report and

 7 engage in discovery, both written and depositions.

 8          On September 13, 2024, the Court issued a Case Management and Preservation of Records
 9 Order, which required all parties to submit a brief with all evidence within 45 days. Applicant began

10 reviewing documents and preparing to draft the brief.

11                    Clearfund Solution, LLC / Cloudfund, LLC (143576-66)
12          In this category, during the Application Period, Dinsmore billed 5.80 hours for $3,671.00, in
13 overall fees.

14                    a.       Time Keeper Breakdown
15                                                   FEES
                   NAME                      TITLE           RATE            HOURS        TOTAL FEES
16
       Christopher Celentino           Partner              $835.00             .20          $167.00
17     Yosina M. Lissebeck             Partner              $745.00             .30          $223.50
       John H. Stephens                Partners             $545.00             .30          $163.50
18     Brian M. Metcalf                Associate            $650.00            4.30         $2,795.00
       Veneeta Jaswal                  Associate            $460.00             .70          $322.00
19
                                                              TOTALS           5.80         $3,671.00
20

21                    b.       Services Rendered
22          Debtor's records indicate that within the avoidance period, this litigation target received
23 $486,331. Applicant is investigating the litigation target, collecting materials and reviewing

24 documents in preparation for a possible adversary proceeding to be filed by December.

25                    Adv. Case No. 24-1090 (Cobalt Funding Solutions, LLC) (143576-67)
26          In this category, during the Application Period, Dinsmore billed 42.30 hours for $21,743.00,
27 in overall fees.

28                    a.       Time Keeper Breakdown


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 1                                                       FEES
                   NAME                      TITLE               RATE      HOURS       TOTAL FEES
 2
       Christopher Celentino           Partner                  $835.00       .40         $334.00
 3     John H. Stephens                Partner                  $545.00     19.50       $10,627.50
       Yosina M. Lissebeck             Partner                  $745.00      2.20        $1,639.00
 4     Veneeta Jaswal                  Associate                $460.00     18.50        $8,510.00
       Jacob R. Bothamley              Associate                $405.00       .30         $121.50
 5
                                       eDiscovery
       Robert J. Simmons                                        $365.00      1.40          $511.00
 6                                     Project Manager
                                                                  TOTALS    42.30        $21,743.00
 7

 8                   b.        Services Rendered
 9          On June 18, 2024, Applicant prepared, filed and served on behalf of the Trustee a complaint

10 against Cobalt Funding Solutions, LLC. Cobalt was a Merchant Cash Advance lender, and the

11 complaint alleges six causes of action: Two claims for the avoidance, recovery and preservation of

12 2-year actual fraudulent transfers; Two claims for the avoidance, recovery and preservation of 4-year

13 actual fraudulent transfers; Avoidance, recovery and preservation of preferential transfer made

14 within 90 days of the petition date; and turnover. The complaint seeks to recover $4,552,150.00.

15 Defendant's response is due August 1, 2024. The parties will then meet and confer, prepare a joint

16 status report engage in discovery, both written and depositions.

17          On September 5, 2024, the Court issued a Case Management and Preservation of Records

18 Order, which required all parties to submit a brief with all evidence within 45 days. Applicant began

19 reviewing documents and preparing to draft the brief.

20                   Everyday Funding Group (143576-68)

21          In this category, during the Application Period, Dinsmore billed 1.20 hours for $651.50, in

22 overall fees.

23                   a.        Time Keeper Breakdown

24                                                       FEES
                   NAME                      TITLE               RATE      HOURS       TOTAL FEES
25     John H. Stephens                                         $545.00
                                       Partner                                .50         $272.50
       Brian M. Metcalf                Associate                $650.00       .30         $195.00
26
       Veneeta Jaswal                  Associate                $460.00       .40         $184.00
27                                                                TOTALS     1.20         $651.50

28


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 1                  b.      Services Rendered
 2           Everyday was a Merchant Cash Advance lender that sued the Debtor in NY State Court in

 3 August 2021. The suit was filed to enforce a June 2021 merchant cash advance agreement where it

 4 allegedly purchased approximately $1.5M in future AR from the Debtor for a gross purchase price of

 5 $1M. The suit sought a judgment of less than $200,000 because the Debtor had repaid the balance.

 6 This lawsuit was settled in late 2021. Applicant on behalf of the Trustee is continuing to review the

 7 Debtor's transactions with Everyday and other MCA lenders that may be related to Everyday.

 8                  Franklin Capital Management LLC (143576-69)

 9           In this category, during the Application Period, Dinsmore billed .90 hours for $439.50, in

10 overall fees.

11                  a.      Time Keeper Breakdown

12                                                   FEES
                   NAME                    TITLE             RATE           HOURS       TOTAL FEES
13     John H. Stephens              Partner                $545.00            .30         $163.50
14     Veneeta Jaswal                Associate              $460.00            .60         $276.00
                                                              TOTALS          0.90         $439.50
15

16                  b.      Services Rendered

17           Applicant investigated Franklin's relationship with Debtor due to a UCC Statement filed

18 against the Debtor that remained unreleased as of the Petition Date. Applicant's investigation so far

19 indicates that the filing was made prospectively in advance of a potential transaction that never

20 closed.

21                  Green Fund NY (143576-70)

22           In this category, during the Application Period, Dinsmore billed 2.60 hours for $1,582.50, in

23 overall fees.

24                  a.      Time Keeper Breakdown

25                                                   FEES
                   NAME                    TITLE             RATE           HOURS       TOTAL FEES
26     John H. Stephens              Partner                $545.00            .30         $163.50
       Brian M. Metcalf              Associate              $650.00           1.90        $1,235.00
27
       Veneeta Jaswal                Associate              $460.00            .40         $184.00
28                                                            TOTALS          2.60        $1,582.50



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 1                 b.      Services Rendered
 2          Debtor's records indicate that within the avoidance period, this litigation target received

 3 $199,801. Applicant is investigating the litigation target, collecting materials and reviewing

 4 documents in preparation for a possible adversary proceeding.

 5                 Kevlar Capital LLC (143576-71)

 6          In this category, during the Application Period, Dinsmore billed 6.00 hours for $3,074.50, in

 7 overall fees.

 8                 a.      Time Keeper Breakdown

 9                                                   FEES
                   NAME                    TITLE             RATE            HOURS        TOTAL FEES
10     John H. Stephens              Partner                $545.00            3.70         $2,016.50
       Veneeta Jaswal                Associate              $460.00            2.30         $1,058.00
11
                                                              TOTALS           6.00         $3,074.50
12

13                 b.      Services Rendered

14          Kevlar is another entity that had a UCC-1 of record against the Debtor as of the Petition Date

15 pursuant to a merchant cash advance agreement. Applicant, with general counsel, was able to obtain

16 a release of the UCC-1 through the preparation of a 3012 Motion, although Kevlar was no longer

17 operating. The Trustee is continuing to investigate the Debtor's transactions with Kevlar to

18 determine whether additional litigation is needed

19                 Stratcap Management LLC (143576-72)

20          In this category, during the Application Period, Dinsmore billed 1.20 hours for $672.50, in

21 overall fees.

22                 a.      Time Keeper Breakdown

23                                                   FEES
                   NAME                    TITLE             RATE            HOURS        TOTAL FEES
24     John H. Stephens              Partner                $545.00             .30          $163.50
       Brian M. Metcalf              Associate              $650.00             .50          $325.00
25
       Veneeta Jaswal                Associate              $460.00             .40          $184.00
26                                                            TOTALS           1.20          $672.50

27                 b.      Services Rendered
28          Stratcap was an entity formed by an insider of the Debtor that executed AR Purchase


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 1 Agreements with the Debtor. The validity of these agreements is in question. Stratcap also filed a

 2 UCC-1 statement against the Debtor pursuant to these agreements. Applicant, with general counsel,

 3 was able to obtain a release of the UCC-1 through the preparation of a 3012 Motion. Applicant

 4 continues to investigate the details of these insider transactions.

 5                    World Global Fund LLC (143576-73)
 6          In this category, during the Application Period, Dinsmore billed 17.00 hours for $8,837.50,
 7 in overall fees.

 8                    a.       Time Keeper Breakdown
 9                                                   FEES
                   NAME                      TITLE           RATE            HOURS        TOTAL FEES
10
       Christopher B. Ghio             Partner              $625.00            2.00         $1,250.00
11     Christopher Celentino           Partner              $835.00             .50          $417.50
       John H. Stephens                Partner              $545.00            3.50         $1,907.50
12     Yosina M. Lissebeck             Partner              $745.00             .70          $521.50
       Jeremy B. Freedman              Associate            $465.00             .60          $279.00
13
       Veneeta Jaswal                  Associate            $460.00            9.70         $4,462.00
14                                                            TOTALS          17.00         $8,837.50

15                    b.       Services Rendered
16          Debtor's records indicate that within the avoidance period, this litigation target received

17 $850,000. Applicant however is researching various claims for relief as to World Global and its

18 partner Optimum Bank. Applicant is investigating the litigation target, collecting materials and

19 reviewing documents in preparation for filing an amended complaint against these parties related to

20 the findings of the Court that LPG was a Ponzi and criminal enterprise.

21                    Ace Funding Source LLC (143576-74)

22          In this category, during the Application Period, Dinsmore billed 3.90 hours for $1,842.50, in

23 overall fees.

24                    a.       Time Keeper Breakdown

25                                                   FEES
                   NAME                      TITLE           RATE            HOURS        TOTAL FEES
26     Sara A. Johnston                                     $495.00
                                       Partner                                 1.60          $792.00
       Yosina M. Lissebeck             Partner              $745.00             .60          $447.00
27
       Brandon E. Lira                 Associate            $355.00            1.70          $603.50
28                                                            TOTALS           3.90         $1,842.50



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 1                    b.       Services Rendered
 2          Ace was a merchant cash advance lender that sued the Debtor in NY State Court. Applicant

 3 prepared a Rule 2004 motion based on the information in the complaint, but counsel has not filed the

 4 motion yet and is evaluating all options.

 5                    Herret Credit Consultants (143576-75)

 6          In this category, during the Application Period, Dinsmore billed 32.50 hours for $16,312.50,

 7 in overall fees.

 8                    a.       Time Keeper Breakdown

 9                                                   FEES
                   NAME                      TITLE           RATE         HOURS        TOTAL FEES
10     Christopher Celentino           Partner              $835.00          .30          $250.50
11     Sarah S. Mattingly              Partner              $610.00         1.40          $854.00
       Yosina M. Lissebeck             Partner              $745.00         1.60         $1,192.00
12     Matthew J. Stockl               Associate            $480.00        29.20        $14,016.00
                                                              TOTALS       32.50        $16,312.50
13

14                    b.       Services Rendered

15          Applicant Reviewed emails in connection with the investigation of potential avoidance

16 claims. Applicant engaged in discussions with general counsel and Herret's counsel regarding basis

17 for Herret's administrative priority claim and benefit to the estate of commissions purportedly owed

18 under Independent Contractor Agreement. Applicant formed strategy in preparation for drafting

19 adversary complaint, including claims under sections 502(d) and (j), 542, 544(b), 547, 548, 549, 550,

20 and 551 of the Bankruptcy Code and corresponding claims under Cal Civ. Code sections 3439.04(a),

21 3439.05 and 3439.07.

22                    Greyson/Han Trinh (143576-76)

23          In this category, during the Application Period, Dinsmore billed 2.30 hours for $1,199.50, in

24 overall fees.

25                    a.       Time Keeper Breakdown

26                                                   FEES
                   NAME                      TITLE           RATE         HOURS        TOTAL FEES
27     Christopher Celentino           Partner              $835.00          .20          $167.00
       Yosina M. Lissebeck             Partner              $745.00          .20          $149.00
28
       Jeremy B. Freedman              Associate            $465.00         1.90          $883.50


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 1                                                            TOTALS         2.30         $1,199.50

 2                   b.        Services Rendered
 3          On August 27, 2024, this Court denied the administrative expense motions of Han Trinh
 4 [Dkt. No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh [Dkt. No. 675] seeking $114,825.14,

 5 and Greyson Law Center, PC [Dkt. No. 676] seeking $5,434,633.00. The Court entered the

 6 following Orders denying the administrative claims: Han Trinh ("Han") as Dkt. No. 1548; Phuong

 7 (aka Jayde) Trinh ("Jayde") as Dkt. No. 1547; and Greyson Law Center, PC ("Greyson") as Dkt. No.

 8 1546. On September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements

 9 of Election to Bankruptcy Appellate Panel ("Admin Claim Appeals"). On September 7, 2024, the

10 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim

11 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

12 v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02077-FMO ("Han Appeal"); Phuong Jayde

13 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO ("Jayde Appeal"); and

14 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

15 ("Greyson Appeal").

16          Much of what occurred under this matter number was for the period of time covered by the
17 first application, as discussed above, especially in matter number 19. While a bit of work took place

18 in matter numbers 76 and 77; most work is now being billed under matter numbers 150,151 and 152

19 below.

20                   Han Trinh and Jayde Trinh (143576-77)
21          In this category, during the Application Period, Dinsmore billed 5.20 hours for $2,576.00, in
22 overall fees.

23                   a.        Time Keeper Breakdown
24                                                   FEES
                   NAME                      TITLE           RATE         HOURS        TOTAL FEES
25
       Christopher Celentino           Partner              $835.00          .20          $167.00
26     Yosina M. Lissebeck             Partner              $745.00          .60          $223.50
       Jeremy B. Freedman              Associate            $465.00         4.70         $2,185.50
27                                                            TOTALS        5.50         $2,576.00

28


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 1                  b.      Services Rendered
 2          On August 27, 2024, this Court denied the administrative expense motions of Han Trinh

 3 [Dkt. No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh [Dkt. No. 675] seeking $114,825.14,

 4 and Greyson Law Center, PC [Dkt. No. 676] seeking $5,434,633.00. The Court entered the

 5 following Orders denying the administrative claims: Han Trinh ("Han") as Dkt. No. 1548; Phuong

 6 (aka Jayde) Trinh ("Jayde") as Dkt. No. 1547; and Greyson Law Center, PC ("Greyson") as Dkt. No.

 7 1546. On September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements

 8 of Election to Bankruptcy Appellate Panel ("Admin Claim Appeals"). On September 7, 2024, the

 9 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim

10 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

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12 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO ("Jayde Appeal"); and

13 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

14 ("Greyson Appeal").

15          Much of what occurred under this matter number was for the period of time covered by the

16 first application, as discussed above, especially in matter number 19. While a bit of work took place

17 in matter numbers 76 and 77; most work is now being billed under matter numbers 150,151 and 152

18 below.

19                  Debt Resolution Direct (143576-78)

20          In this category, during the Application Period, Dinsmore billed 1.10 hours for $323.00, in

21 overall fees.

22                  a.      Time Keeper Breakdown

23                                                 FEES
                  NAME                     TITLE           RATE           HOURS        TOTAL FEES
24           Matthew J. Stockl        Associate           $480.00            .10           $48.00
             Bryan L. Cockroft        Associate           $275.00           1.00          $275.00
25
                                                            TOTALS          1.10          $323.00
26

27                  b.      Services Rendered

28          Currently Applicant is investigating and analyzing documents related to Debt Resolution


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 1 Direct. Based on the bank statements, affiliate agreements, and accounts receivable purchase

 2 agreements with Debt Resolution Direct Applicant will draft an adversary proceeding complaint

 3 related to fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the

 4 adversary proceeding complaint in December.

 5                  Gofi Finance / Gofi, LLC (143576-79)
 6          In this category, during the Application Period, Dinsmore billed .10 hours for $48.00, in
 7 overall fees.

 8                  a.      Time Keeper Breakdown
 9                                                   FEES
                   NAME                    TITLE             RATE            HOURS        TOTAL FEES
10
       Matthew J. Stockl              Associate             $480.00            .10           $480.00
11                                                             TOTALS          .10           $480.00

12                  b.      Services Rendered
13          On March 26, 2024, Applicant prepared, filed and served on behalf of the Trustee a
14 Complaint against GoFi, LLC, among other defendants including Marich Bein, LLC, BankUnited,

15 N.A. and Lisa Cohen. The case number for this adversary proceeding is 8:24-ap-01040-SC ("1040

16 Action"). This matter is described above as matter #26. Based on Applicant's investigation, Marich

17 Bein diverted substantial amounts of money due to LPG to GoFi. Applicant has made several

18 attempts at serving GoFi with the Complaint. In light of GoFi's attempt to hide and abscond with the

19 funds received from Marich Bein, Applicant is investigating the best way to proceed with claims

20 against these defendants.

21                  United Debt Consultants (143576-80)
22          In this category, during the Application Period, Dinsmore billed 1.30 hours for $378.00, in
23 overall fees.

24                  a.      Time Keeper Breakdown
25                                                   FEES
                   NAME                    TITLE             RATE            HOURS        TOTAL FEES
26     Matthew J. Stockl              Associate             $480.00             .10           $48.00
27     Bryan L. Cockroft              Associate             $275.00            1.20          $330.00
                                                               TOTALS          1.30          $378.00
28


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 1                    b.     Services Rendered
 2          Currently Applicant is investigating and analyzing documents related to United Debt

 3 Consultants. Based on the bank statements, affiliate agreements, accounts receivable purchase

 4 agreements with United Debt Consultants, Applicant is drafting an adversary proceeding complaint

 5 based on alleged fraudulent transfers received by United Debt Consultants in hopes of recovering the

 6 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

 7 proceeding complaint in December.

 8                    Platinum Capital Consulting, LLC (143576-81)

 9          In this category, during the Application Period, Dinsmore billed 8.60 hours for $2,833.00, in

10 overall fees.

11                    a.     Time Keeper Breakdown

12                                                   FEES
                   NAME                    TITLE             RATE           HOURS        TOTAL FEES
13     Yosina M. Lissebeck           Partner                $745.00            .20          $149.00
14     Sara A Johnston               Partner                $495.00           1.70          $841.50
       Bryan L. Cockroft             Associate              $275.00           6.70         $1,842.50
15                                                            TOTALS          8.60         $2,833.00

16                    b.     Services Rendered

17          Applicant is investigating and analyzing documents related to Platinum Capital Consulting.

18 Based on the bank statements, affiliate agreements, and accounts receivable purchase agreements

19 with Platinum Capital Consulting, Applicant is drafting the adversary proceeding complaint based

20 on alleged fraudulent transfers received by Platinum Capital Consulting in hopes of recovering the

21 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

22 proceeding complaint by December.

23                    Adv. Case No. 24-1068 (Arash Asante Bayrooti) (143576-85)

24          In this category, during the Application Period, Dinsmore billed 161.60 hours for $90,613.00,

25 in overall fees.

26                    a.     Time Keeper Breakdown

27                                                   FEES
                   NAME                    TITLE             RATE           HOURS        TOTAL FEES
28     Christopher B. Ghio           Partner                $625.00          70.00        $43,750.00


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 1     Christopher Celentino           Partner                   $835.00      6.30        $5,260.50
       M. Tyler Powell                 Partner                   $595.00      9.80        $5,831.00
 2
       Yosina M. Lissebeck             Partner                   $745.00      4.60        $3,427.00
 3     Jacob R. Bothamley              Associate                 $405.00       .50         $202.50
       Matthew J. Stockl               Associate                 $480.00     60.00       $28,800.00
 4     Brandon E. Lira                 Associate                 $355.00      7.90        $2,804.50
       Jennifer E. Pitcock             Paraprofessional          $215.00      2.50         $537.50
 5
                                                                   TOTALS   161.60       $90,613.00
 6
                     b.        Services Rendered
 7          On April 19, 2024, Applicant prepared, filed and served on behalf of the Trustee a suit
 8 against Arash Asante Bayrooti to recover a single payment of approximately $5.9M from the Debtor

 9 to him in September 2022. The case number for this adversary proceeding is 8:24-ap-1068. The

10 state purpose for the payment was to fund Mr. Diab's purchase of Mr. Bayrooti's ownership interest

11 in an unrelated company.

12          A writ of attachment in the amount of $5,814,146.45 was issued – ex parte – on August 15,
13 2024. Following service of the writ, it was discovered that the bulk of defendant’s cash or

14 marketable securities were held in an investment account. Parties stipulated to issuance of a further

15 writ of attachment which was ultimately served on October 18, 2024. That writ attached to US

16 Treasuries in Mr. Bayrooti’s investment account valued at $4,357,034.01. Initial disclosures have

17 been made and discovery served. Responses from each side to discovery requests are due Friday

18 November 8, 2024.

19                   A Solution 2 / A Solution Debt Relief / A Solution Debt Relief 3 (143576-86)
20          In this category, during the Application Period, Dinsmore billed 2.20 hours for $837.00, in
21 overall fees.

22                   a.        Time Keeper Breakdown
23
                                                          FEES
24                 NAME                      TITLE                RATE      HOURS      TOTAL FEES
       Sara A. Johnston                Partner                   $495.00       .40        $198.00
25     Brandon E. Lira                 Associate                 $355.00      1.80        $639.00
                                                                   TOTALS     2.20        $837.00
26

27                   b.        Services Rendered
28          Applicant is investigating and analyzing documents related to A Solution2/A Solution Debt


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 1 Relief/A Solution Debt Relief 3. Based on the bank statements, affiliate agreements, and accounts

 2 receivable purchase agreements with, A Solution2/A Solution Debt Relief/A Solution Debt Relief 3

 3 Applicant is drafting the adversary proceeding complaint based on alleged fraudulent transfers

 4 received by A Solution2/A Solution Debt Relief/A Solution Debt Relief 3 in hopes of recovering the

 5 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

 6 proceeding complaint by December.

 7                    All Service Financial, LLC (143576-87)
 8          In this category, during the Application Period, Dinsmore billed .60 hours for $345.00, in
 9 overall fees.

10                    a.       Time Keeper Breakdown
11                                                   FEES
                  NAME                      TITLE            RATE           HOURS        TOTAL FEES
12
       Brian W. Boyd                   AssocAIt             $575.00           .60           $345.00
13                                                            TOTALS          .60           $345.00

14                    b.       Services Rendered
15          Applicant is investigating and analyzing documents related to All Service Financial, LLC
16 Based on the bank statements, affiliate agreements, and accounts receivable purchase agreements

17 with, All Service Financial, LLC Applicant is drafting the adversary proceeding complaint based on

18 alleged fraudulent transfers received by All Service Financial, LLC in hopes of recovering the

19 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

20 proceeding complaint by December.

21                    Consumer Law Group, PC/Feig (143576-88)
22          In this category, during the Application Period, Dinsmore billed 67.60 hours for $35,460.00,
23 in overall fees.

24                    a.       Time Keeper Breakdown
25                                                   FEES
                   NAME                      TITLE           RATE           HOURS        TOTAL FEES
26
       Christopher Celentino           Partner              $835.00            .70          $584.50
27     Christopher B. Ghio             Partner              $625.00           8.00         $5,000.00
       Milton T. Spurlock              Partner              $595.00          29.30        $17,433.50
28     Yosina M. Lissebeck             Partner              $745.00           2.20         $1,639.00



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 1     Jonathan B. Serrano           Associate                $415.00          .20            $83.00
       Suzanne M. Marino             Associate                $395.00        26.40        $10,428.00
 2
                                     eDiscovery
       Robert J. Simmons                                      $365.00          .80           $292.00
 3                                   Project Manager
                                                                TOTALS       67.60        $35,460.00
 4
                     b.      Services Rendered
 5
            On May 26, 2023, Applicant prepare, filed and served on behalf of the Trustee a suit against
 6
     more than forty-five non-debtor entities and individuals including CLG initiating the main adversary
 7
     proceeding, Case No. 8:23-ap-1046-SC ("1046 Action"). CLG responded to the complaint and the
 8
     parties met and conferred. The parties initially entered into a settlement agreement to resolve
 9
     various issues related to the transfer of client files to CLG and amounts CLG owed the Debtor.
10
     However, the 9019 motion was ultimately withdrawn. The parties continue to disclose information
11
     and Applicant has now reviewed numerous documents and agreements related to the various
12
     transactions Applicant continues to explore settlement options, but is prepared to pursue the
13
     complaint, with possible new allegations, against CLG in 2025.
14
                     Acufi LLC / Acufi Finance (143576-90)
15
            In this category, during the Application Period, Dinsmore billed 2.20 hours for $823.00, in
16
     overall fees.
17
                     a.      Time Keeper Breakdown
18
                                                       FEES
19                 NAME                    TITLE               RATE         HOURS        TOTAL FEES
       Sara A. Johnston              Partner                   $495            .30          $148.50
20     Brandon E. Lira               Associate                $355.00         1.90          $674.50
                                                                TOTALS        2.20          $823.00
21

22
                     b.      Services Rendered
23          Applicant is investigating and analyzing documents related to Acufi LLC / Acufi Finance.
24 Based on the bank statements, affiliate agreements, and accounts receivable purchase agreements

25 with, Acufi LLC / Acufi Finance Applicant is drafting the adversary proceeding complaint based on

26 alleged fraudulent transfers received by Acufi LLC / Acufi Finance in hopes of recovering the

27 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

28 proceeding complaint by December.


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 1                  Teracel Blockchain Fund II LLC (143576-91)
 2          In this category, during the Application Period, Dinsmore billed .50 hours for $229.50, in
 3 overall fees.

 4                  a.       Time Keeper Breakdown
 5                                                       FEES
                  NAME                      TITLE                RATE        HOURS        TOTAL FEES
 6
       Yosina M. Lissebeck            Partner                   $745.00         .20          $149.00
 7     Suzanne M. Marino              Associate                 $360.00         .10           $39.50
       Wendy Yones                    Paraprofessional          $205.00         .20           $41.00
 8                                                                TOTALS       0.50          $229.50

 9                  b.       Services Rendered
10          Applicant is investigating litigation target Teracel through review of documents and data

11 contained within Debtor's servers and files, and is also investigating the corporate structure and

12 whereabouts of this target in an effort to confirm sufficiency of service of process. While the Court

13 has entered default against this target, Applicant is still working to assess the universe of potential

14 claims related to this target before requesting a set sum from the Court as a default judgment.

15                  Brian Reale (Freedom Enrollment) (143576-93)

16          In this category, during the Application Period, Dinsmore billed .30 hours for $172.50, in

17 overall fees.

18                  a.       Time Keeper Breakdown

19                                                       FEES
                  NAME                     TITLE                 RATE        HOURS        TOTAL FEES
20
       Bryan W. Boyd                  Associate                 $575.00        .30           $172.50
21                                                                TOTALS       .30           $172.50

22                  b.       Services Rendered
23          Applicant is investigating and analyzing documents related to Brian Reale (Freedom

24 Enrollment). Based on the bank statements, affiliate agreements, and accounts receivable purchase

25 agreements with, Brian Reale (Freedom Enrollment) Applicant is drafting the adversary proceeding

26 complaint based on alleged fraudulent transfers received by Brian Reale (Freedom Enrollment) in

27 hopes of recovering the fraudulent transfers. Applicant plans to finalize the drafts and exhibits and

28 file the adversary proceeding complaint by December.


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 1                  Integrity Docs LLC (143576-94)
 2          In this category, during the Application Period, Dinsmore billed 8.90 hours for $5,117.50, in
 3 overall fees.

 4                  a.     Time Keeper Breakdown
 5                                                   FEES
                  NAME                    TITLE              RATE           HOURS        TOTAL FEES
 6
       Bryan W. Boyd                 Associate              $575.00           8.90         $5,117.50
 7                                                            TOTALS          8.90         $5,117.50

 8                  b.     Services Rendered
 9          Applicant is investigating and analyzing documents related to Integrity Docs LLC. Based on
10 the bank statements, affiliate agreements, and accounts receivable purchase agreements with,

11 Integrity Docs LLC Applicant is drafting the adversary proceeding complaint based on alleged

12 fraudulent transfers received by Integrity Docs LLC in hopes of recovering the fraudulent transfers.

13 Applicant plans to finalize the drafts and exhibits and file the adversary proceeding complaint by

14 December.

15                  Golden Financial Services (143576-95)
16          In this category, during the Application Period, Dinsmore billed .30 hours for $172.50, in
17 overall fees.

18                  a.     Time Keeper Breakdown
19                                                   FEES
                  NAME                    TITLE              RATE           HOURS        TOTAL FEES
20
       Bryan W. Boyd                 Associate              $575.00           .30           $172.50
21                                                            TOTALS          .30           $172.50

22                  b.     Services Rendered
23          Applicant is investigating and analyzing documents related to Golden Financial Services.
24 Based on the bank statements, affiliate agreements, and accounts receivable purchase agreements

25 with, Golden Financial Services Applicant is drafting the adversary proceeding complaint based on

26 alleged fraudulent transfers received by Golden Financial Services in hopes of recovering the

27 fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the adversary

28 proceeding complaint by December


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 1                  Liamia Group, Inc. (143576-96)
 2          In this category, during the Application Period, Dinsmore billed 2.10 hours for $815.50, in
 3 overall fees.

 4                  a.      Time Keeper Breakdown
 5                                                   FEES
                   NAME                     TITLE            RATE            HOURS        TOTAL FEES
 6
       Sara A. Johnston               Partner               $495.00             .50          $247.50
 7     Brandon E. Lira                Assocaite             $355.00            1.60          $568.00
                                                               TOTALS          2.10          $815.50
 8

 9                  b.      Services Rendered
10          Applicant is investigating and analyzing documents related to Liamia Group, Inc. Based on

11 the bank statements, affiliate agreements, and accounts receivable purchase agreements with, Liamia

12 Group, Inc. Applicant is drafting the adversary proceeding complaint based on alleged fraudulent

13 transfers received by Liamia Group, Inc. in hopes of recovering the fraudulent transfers. Applicant

14 plans to finalize the drafts and exhibits and file the adversary proceeding complaint by December.

15                  ACB Holdings, LP (143576-102)

16          In this category, during the Application Period, Dinsmore billed .30 hours for $$178.50, in

17 overall fees.

18                  a.      Time Keeper Breakdown

19                                                   FEES
                  NAME                      TITLE            RATE            HOURS        TOTAL FEES
20     M. Tyler Powell                                      $595.00
                                      Partner                                  .30           $178.50
21                                                             TOTALS          .30           $178.50

22                  b.      Services Rendered
23          ACB was one the entities that purchased either (i) the right of a marketing affiliate to be paid

24 a share of fees paid to the Debtor from clients that they placed with the Debtor or (ii) paid to acquire

25 the income that the Debtor would earn from one or more sets of client files. As a result, the Debtor

26 made payments to ACB pursuant to these agreements prior to the Petition Date. Applicant continues

27 to investigate this potential litigation target to determine if a complaint is warranted.

28


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 1                   CFM Indosuez Wealth (143576-104)
 2          In this category, during the Application Period, Dinsmore billed 2.70 hours for $1,686.50, in
 3 overall fees.

 4                   a.        Time Keeper Breakdown
 5                                                   FEES
                   NAME                      TITLE           RATE          HOURS        TOTAL FEES
 6
       Christopher Celentino           Partner              $835.00          1.10          $918.50
 7     Matthew J. Stockl               Associate            $480.00          1.60          $768.00
                                                              TOTALS         2.70         $1686.50
 8

 9                   b.        Services Rendered
10          Applicant is investigating and analyzing documents related to CFM Indosuez Wealth. Based

11 on the bank statements, affiliate agreements, and accounts receivable purchase agreements with,

12 CFM Indosuez Wealth Applicant is drafting the adversary proceeding complaint based on alleged

13 fraudulent transfers received by CFM Indosuez Wealth in hopes of recovering the fraudulent

14 transfers. Applicant plans to finalize the drafts and exhibits and file the adversary proceeding

15 complaint by December.

16                   Vasco Associates LLC (143576-121)

17          In this category, during the Application Period, Dinsmore billed 1.60 hours for $1,192.00, in

18 overall fees.

19                   a.        Time Keeper Breakdown

20                                                   FEES
                  NAME                       TITLE           RATE          HOURS        TOTAL FEES
21                                                          $745.00
       Yosina M. Lissebeck             Partner                               1.60         $1,192.00
22                                                            TOTALS         1.60         $1,192.00

23                   b.        Services Rendered
24          Applicant is investigating and analyzing documents related to Vasco Associates LLC. Based

25 on the bank statements, affiliate agreements, and accounts receivable purchase agreements with,

26 Vasco Associates LLC Applicant is drafting the adversary proceeding complaint based on alleged

27 fraudulent transfers received by Vasco Associates LLC in hopes of recovering the fraudulent

28 transfers. Applicant plans to finalize the drafts and exhibits and file the adversary proceeding


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 1 complaint by December.

 2                    Document Review (143576-122)
 3          In this category, during the Application Period, Dinsmore billed 148.70 hours for $44,642.50,
 4 in overall fees.

 5                    a.       Time Keeper Breakdown
 6                                                        FEES
                   NAME                      TITLE                RATE      HOURS     TOTAL FEES
 7
       Christopher B. Ghio             Partner                   $625.00      1.20       $750.00
 8     Yosina M. Lissebeck             Partner                   $745.00      1.80      $1,341.00
       Sara A. Johnston                Partner                   $495.00     40.70     $20,146.50
 9     Jacob R. Bothamley              Associate                 $405.00       .40       $162.00
                                       eDiscovery
10     Robert J. Simmons                                         $365.00      5.00       $1,825.00
                                       Project Manager
11     Wendy Yones                     Paraprofessional          $205.00     99.60      $20,418.00
                                                                   TOTALS   148.70      $44,642.50
12

13                    b.       Services Rendered
14          Applicant has dedicated resources and personnel to handle the over 100 million documents
15 produced to date to categorize same, make same a searchable database, and analyze the impact of

16 any document on any aspect of the Case. This is a significant undertaking, and important to the

17 ultimate success of the litigation phase of the Case.

18                    Bridge Funding Cap, LLC (143576-128)
19          In this category, during the Application Period, Dinsmore billed 12.30 hours for $4,978.50,
20 in overall fees.

21                    a.       Time Keeper Breakdown
22                                                        FEES
23                 NAME                      TITLE                RATE      HOURS     TOTAL FEES
       Christopher Celentino           Partner                   $825.00       .20       $167.00
24     M. Tyler Powell                 Partner                   $575.00      1.50       $892.50
       Yosina M. Lissebeck             Partner                   $745.00       .40       $298.00
25     Brandon E. Lira                                           $355.00
                                       Associate                             10.20      $3,621.00
26                                                                 TOTALS    12.30      $4,978.50

27                    b.       Services Rendered
28          Bridge Funding Cap is a defendant in the Trustee’s adversary proceedings against the


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 1 secured creditors, detailed above in matter #63. After the Court granted to the Trustee’s Motion for

 2 Summary Judgment against Bridge, Bridge appealed. Applicant has billed all matters related to the

 3 appeal under this matter number. Applicant reviewed the initial notice, did research regarding

 4 appealing a non-final order. Applicant will continue to defend this appeal on behalf of the Trustee.

 5                    Avoidance Actions (143576-129)
 6          In this category, during the Application Period, Dinsmore billed 10.10 hours for $7,182.50,
 7 in overall fees.

 8                    a.       Time Keeper Breakdown
 9                                                        FEES
                   NAME                      TITLE                RATE      HOURS       TOTAL FEES
10
       Christopher Celentino           Partner                   $825.00       .10           $83.50
11     M. Tyler Powell                 Partner                   $575.00       .90         $535.50
       Yosina M. Lissebeck             Partner                   $745.00      8.70        $6,481.50
12     Wendy Yones                     Paraprofessional          $205.00       .40           $82.00
                                                                   TOTALS    10.10        $7,182.50
13

14                    b.       Services Rendered
15          The Trustee has developed a comprehensive list of litigation claims against entities that

16 received avoidable transfers including fraudulent conveyances, preferences, and unauthorized

17 postpetition transactions. The list currently includes 517 transferees which received transfers totaling

18 approximately $100 million. Because the litigation target list is sizeable and is significantly longer

19 than it would be in a standard Chapter 11 case, the Trustee is currently in the process of finalizing a

20 process to commence and process this litigation in an efficient fashion. The Trustee anticipates

21 recovering tens of millions of dollars on account of these claims.

22          Applicant is holding all of the documents in its data base, providing the Trustee and his

23 general counsel access through share folders. Thus, it is necessary for Applicant and MHW as

24 general counsel to work together on the avoidance actions that MHW is pursuing. The Trustee

25 determined that Applicant would focus on the specialty complaints, such as the capper complaints,

26 the secured creditor complaints, the MCA complaints, while MHW would focus on the general

27 bankruptcy type complaint related to postpetition transfers, preferences, and fraudulent conveyances.

28 This necessitates communication between MHW and Applicant to insure that this is done in a cost


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 1 effective manner that does not duplicate services.

 2                    Adv. Case No. 24-1120 (Colonna Cohen Law, PLLC) (143576-130)
 3          In this category, during the Application Period, Dinsmore billed 40.40 hours for $20,301.00,
 4 in overall fees.

 5                    a.       Time Keeper Breakdown
 6                                                        FEES
                    NAME                     TITLE                RATE      HOURS      TOTAL FEES
 7
       Christopher Celentino           Partner                   $835.00       .30        $250.50
 8     Yosina M. Lissebeck             Partner                   $745.00      1.20        $894.00
       M. Tyler Powell                 Partner                   $595.00     16.60       $9,877.00
 9     Brandon E. Lira                 Associate                 $355.00     10.10       $3,585.50
       Matthew J. Stockl               Associate                 $480.00     11.60       $5,568.00
10
       Jennifer Pitcock                Paraprofessional          $215.00       .30          $64.50
11     Wendy Yones                     Paraprofessional          $205.00       .30          $61.50
                                                                   TOTALS    40.40      $20,301.00
12

13                    b.       Services Rendered
14          On August 30, 2024, Applicant prepared, filed and served on behalf of the Trustee a

15 complaint against Colonna Cohen Law, PLLC. On September 20, 2024, Applicant prepared, filed

16 and served on behalf of the Trustee a first amended complaint against Colonna Cohen Law, PLLC.

17 On October 18, 2024, Defendant filed its answer to the first amended complaint and asserted counter

18 claims. Applicant prepared filed and served its response to the counterclaims. The parties are

19 scheduling the necessary meet and confer conferences and moving forward with the litigation.

20                    Government Assistance (143576-131)

21          In this category, during the Application Period, Dinsmore billed 5.50 hours for $3,737.50, in

22 overall fees.

23                    a.       Time Keeper Breakdown

24                                                        FEES
                   NAME                      TITLE                RATE      HOURS      TOTAL FEES
25
       Christopher B. Ghio             Partner                   $625.00      3.00       $1,875.00
26     Yosina M. Lissebeck             Partner                   $745.00      2.50       $1,862.50
                                                                   TOTALS     5.50       $3,737.50
27

28                    b.       Services Rendered


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 1          The Trustee requested that all his professionals provide the necessary support and respond to
 2 any questions that various governmental agencies, such as the FBI or AG offices, at no charge to the

 3 Estate. Applicant has provided this time at no charge to the Estate as requested.

 4                   Validation LLC (143576-132)
 5          In this category, during the Application Period, Dinsmore billed 1.30 hours for $741.50, in
 6 overall fees.

 7                   a.        Time Keeper Breakdown
 8                                                   FEES
                   NAME                      TITLE           RATE         HOURS        TOTAL FEES
 9
       Christopher Celentino           Partner              $835.00          .50          $417.50
10     Jacob R Bothamley               Associate            $405.00          .80          $324.00
                                                              TOTALS        1.30          $741.50
11

12                   b.        Services Rendered
13          Applicant is investigating and analyzing documents related to Validation LLC. Based on the

14 bank statements, affiliate agreements, and accounts receivable purchase agreements with, Validation

15 LLC Applicant is drafting the adversary proceeding complaint based on alleged fraudulent transfers

16 received by Validation LLC in hopes of recovering the fraudulent transfers. Applicant plans to

17 finalize the drafts and exhibits and file the adversary proceeding complaint by December.

18                   Reliance Assistance Group Inc. (143576-133)

19          In this category, during the Application Period, Dinsmore billed 6.50 hours for $2,032.50, in

20 overall fees.

21                   a.        Time Keeper Breakdown

22                                                   FEES
                   NAME                      TITLE           RATE         HOURS        TOTAL FEES
23                                                          $495.00
       Sara A. Johnston                Partner                               .90          $445.50
24     Yosina M. Lissebeck             Partner              $745.00          .10            $74.50
       Bryan L. Cockroft               Associate            $275.00         5.50         $1,512.50
25                                                            TOTALS        6.50         $2,032.50

26                   b.        Services Rendered
27          Applicant is investigating and analyzing documents related to Reliance Assistance Group
28 Inc. Based on the bank statements, affiliate agreements, and accounts receivable purchase


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 1 agreements with, Reliance Assistance Group Inc. Applicant is drafting the adversary proceeding

 2 complaint based on alleged fraudulent transfers received by Reliance Assistance Group Inc. in hopes

 3 of recovering the fraudulent transfers. Applicant plans to finalize the drafts and exhibits and file the

 4 adversary proceeding complaint by December.

 5                    Payliance, LLC (143576-134)
 6          In this category, during the Application Period, Dinsmore billed 49.60 hours for $24,904.00,
 7 in overall fees.

 8                    a.     Time Keeper Breakdown
 9                                                   FEES
                   NAME                    TITLE             RATE           HOURS        TOTAL FEES
10
       Christopher Ghio              Partner                $625.00          10.60         $6,625.00
11     Yosina M. Lissebeck           Partner                $745.00           1.80         $1,341.00
       Jacob R. Bothamley            Associate              $405.00           6.00         $2,430.00
12     Jeremy B. Freedman            Associate              $465.00          31.20        $14,508.00
                                                              TOTALS         49.60        $24,904.00
13

14                    b.     Services Rendered
15          On August 20, 2024, the Trustee filed his motion to compromise with Payliance [Dkt. No.
16 1526]. On August 27, 2024, Greyson filed its objection to the turnover of the Greyson Reserve as

17 part of the Trustee’s compromise with Payliance [Dkt. No. 1556]. On September 4, 2024, the

18 Trustee filed his Reply in support of his motion to compromise with Payliance [Dkt. No. 1625]. On

19 September 11, 2024, the Court held a hearing on Trustee’s motion to compromise with Payliance.

20 On September 26, 2024, the Court granted the Trustee’s motion to compromise with Payliance as

21 modified at the hearing on same [Dkt. No. 1770]. Payliance has paid the settlement to the Trustee.

22                    OptimumBank Holdings Inc. (143576-136)
23          In this category, during the Application Period, Dinsmore billed 38.40 hours for $18,886.00,
24 in overall fees.

25                    a.     Time Keeper Breakdown
26                                                   FEES
                   NAME                    TITLE             RATE           HOURS        TOTAL FEES
27
       Christopher Ghio              Partner                $625.00           8.00         $5,000.00
28     Yosina M. Lissebeck           Partner                $745.00           1.80         $1,341.00
       M. Tyler Powell               Partner                $595.00            .60          $357.00


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 1     Jacob R. Bothamley            Associate                 $405.00       9.10         $3,685.50
       Jeremy B. Freedman            Associate                 $465.00      17.80         $8,277.00
 2
       Wendy Yones                   Paraprofessional          $205.00       1.10          $225.50
 3                                                               TOTALS     38.40        $18,886.00

 4                   b.      Services Rendered
 5          On August 22, 2024, the Trustee filed his motion to compromise with Optimum [Dkt. No.
 6 1530]. On September 5, 2024, CLG filed its opposition to Trustee’s motion to compromise with

 7 Optimum [Dkt. No. 1635]. On September 10, 2024, the Trustee filed his Reply in support of motion

 8 to compromise with Optimum [Dkt. No. 1653]. Based on the agreement of the parties, including

 9 CLG, to work towards a resolution the Trustee he withdrew his motion to compromise to be re-filed

10 at a later time and after further discovery with CLG. Applicant continues to investigate claims

11 against Optimum bank and will proceed accordingly.

12                   Greyson Appeal (143576-150)
13          In this category, during the Application Period, Dinsmore billed 2.90 hours for $1,444.50, in
14 overall fees.

15                   a.      Time Keeper Breakdown
16                                                      FEES
                   NAME                    TITLE                RATE      HOURS        TOTAL FEES
17
       Christopher B. Ghio           Partner                   $625.00       .60          $375.00
18     Jeremy B. Friedman            Associate                 $465.00      2.30         $1,069.50
                                                                 TOTALS     2.90         $1,444.50
19

20                   b.      Services Rendered
21          On August 27, 2024, this Court denied the administrative expense motions of Han Trinh

22 [Dkt. No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh [Dkt. No. 675] seeking $114,825.14,

23 and Greyson Law Center, PC [Dkt. No. 676] seeking $5,434,633.00. The Court entered the

24 following Orders denying the administrative claims: Han Trinh ("Han") as Dkt. No. 1548; Phuong

25 (aka Jayde) Trinh ("Jayde") as Dkt. No. 1547; and Greyson Law Center, PC ("Greyson") as Dkt. No.

26 1546. On September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements

27 of Election to Bankruptcy Appellate Panel ("Admin Claim Appeals"). On September 7, 2024, the

28 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim


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 1 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

 2 v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02077-FMO ("Han Appeal"); Phuong Jayde

 3 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO ("Jayde Appeal"); and

 4 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

 5 ("Greyson Appeal").

 6                   Han Trinh Appeal (143576-151)
 7          In this category, during the Application Period, Dinsmore billed 5.70 hours for $2,706.50, in
 8 overall fees.

 9                  a.       Time Keeper Breakdown
10                                                  FEES
                   NAME                    TITLE            RATE          HOURS        TOTAL FEES
11
       Yosina M. Lissebeck           Partner               $745.00           .20          $149.00
12     Jeremy B. Friedman            Associate             $465.00          5.50         $2,557.50
                                                             TOTALS         5.70         $2,706.50
13

14                  b.       Services Rendered
15          On August 27, 2024, this Court denied the administrative expense motions of Han Trinh

16 [Dkt. No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh [Dkt. No. 675] seeking $114,825.14,

17 and Greyson Law Center, PC [Dkt. No. 676] seeking $5,434,633.00. The Court entered the

18 following Orders denying the administrative claims: Han Trinh ("Han") as Dkt. No. 1548; Phuong

19 (aka Jayde) Trinh ("Jayde") as Dkt. No. 1547; and Greyson Law Center, PC ("Greyson") as Dkt. No.

20 1546. On September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements

21 of Election to Bankruptcy Appellate Panel ("Admin Claim Appeals"). On September 7, 2024, the

22 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim

23 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

24 v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02077-FMO ("Han Appeal"); Phuong Jayde

25 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO ("Jayde Appeal"); and

26 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

27 ("Greyson Appeal").

28                  Jayde Trinh Appeal (143576-152)


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 1          In this category, during the Application Period, Dinsmore billed 2.30 hours for $1,069.50, in
 2 overall fees.

 3                  a.      Time Keeper Breakdown
 4                                                   FEES
                   NAME                   TITLE               RATE          HOURS        TOTAL FEES
 5
       Jeremy B. Friedman            Associate               $465.00          2.30         $1,069.50
 6                                                             TOTALS         2.30         $1,069.50

 7                  b.      Services Rendered
 8          On August 27, 2024, this Court denied the administrative expense motions of Han Trinh
 9 [Dkt. No. 674] seeking $136,280.56, Phuong (aka Jayde) Trinh [Dkt. No. 675] seeking $114,825.14,

10 and Greyson Law Center, PC [Dkt. No. 676] seeking $5,434,633.00. The Court entered the

11 following Orders denying the administrative claims: Han Trinh ("Han") as Dkt. No. 1548; Phuong

12 (aka Jayde) Trinh ("Jayde") as Dkt. No. 1547; and Greyson Law Center, PC ("Greyson") as Dkt. No.

13 1546. On September 9, 2024, Han, Jayde, and Greyson each filed Notices of Appeal and Statements

14 of Election to Bankruptcy Appellate Panel ("Admin Claim Appeals"). On September 7, 2024, the

15 Trustee filed his Statements of Election to Proceed in U.S. District Court for all three Admin Claim

16 Appeals. Currently, the Admin Claim Appeals are assigned the following case numbers: Han Trinh

17 v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02077-FMO ("Han Appeal"); Phuong Jayde

18 Trinh v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02243-FMO ("Jayde Appeal"); and

19 Greyson Law Center, PC v. Richard A. Marshack, Chapter 11 Trustee: 8:24-cv-02074-FMO

20 ("Greyson Appeal").

21                                                   VIII.
22          DETERMINATION OF APPROPRIATE ALLOWANCE OF COMPENSATION
23          Section 330(a)(1) of the Bankruptcy Code authorizes the Court to award to counsel employed
24 by a debtor-in-possession appointed under section 327 or 1103 "(A) reasonable compensation for

25 actual, necessary services rendered by the . . . attorney and by any paraprofessional person employed

26 by any such person; and (B) reimbursement for actual, necessary expenses."

27          When determining the amount of reasonable compensation to be awarded, the court shall
28 consider the nature, extent and value of such services, taking into account all relevant factors,


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 1 including the factors set forth in Section 330(a)(3). Relevant factors are discussed in the context of

 2 this Case in the following subsections.

 3
                    The Complexity and Difficulty of the Questions Involved and the Skill to
 4
     Perform the Legal Services Properly
 5

 6          This Case has been and continues to be an extraordinary and complicated case. This Case
 7 has been heavily contested from day one. A Case such as this one is ripe with complicated,

 8 contested issues. Further, this case has many moving parts, all of which significantly affect each

 9 other. It is imperative that the lead attorneys review and supervise all aspects of the case to ensure

10 success.

11          This matter during the Application Period has involved a number of very complex and
12 difficult questions of law, and has presented particularly unique legal issues. Applicant's complete

13 and thorough review of the facts and law, has allowed Applicant to have a high success rate on

14 motions and matters before the Court in this Case.

15
                    The Likelihood that the Acceptance of Particular Employment Will Preclude
16
     Other Employment by the Lawyer
17

18          The acceptance of this Case by Dinsmore resulted in a substantial time commitment of
19 attorneys over a significant period of time, billing, in the aggregate, 2,064 hours of time during this

20 second Application Period, excluding paraprofessional time. Such a large commitment of time to

21 this matter had the effect of precluding other employment.

22                  The Experience, Reputation and Ability of the Lawyer or Lawyers Performing
23 the Services/Rates for Services

24          Dinsmore respectfully submits that it has an outstanding and well-earned reputation for
25 providing legal services of the finest quality in each of the substantive areas involved in this Case.

26 This reputation is fully supported by the qualifications and experience of the individual attorneys and

27 paraprofessionals providing services to this Case. In particular, complex fraud cases like this Case is

28 a specialty focus area of Christopher Celentino, the lead partner in this Case, and along with Yosina


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 1 Lissebeck and Christopher Ghio – each have well-earned reputations to handling similar complicated

 2 matters. Dinsmore believes that the rates it charges for its services are commensurate with the rates

 3 charged by other bankruptcy and non-bankruptcy lawyers of similar reputation and qualifications;

 4 and in this Case, Applicant has agreed to a reduced rate for such timekeepers not available to the

 5 general public. Dinsmore believes that the services that it has performed were performed within a

 6 reasonable amount of time commensurate with the complexity, importance and nature of the

 7 problems, issues and tasks addressed.

 8                  The Time and Labor Required
 9          Dinsmore expended approximately, in the aggregate, 2,064 hours in the Case during the
10 Second Application Period, utilizing several attorneys and paraprofessionals. The Case has

11 demanded a high level of effort, attention and dedication by those involved. Dinsmore's average

12 hourly rate for all services rendered in the Case during the Application Period is $543.70 per hour,

13 excluding paraprofessional time.

14          Dinsmore believes that its request for compensation, as modified by the adjustments and rate
15 reductions offered, is fair and reasonable. The request for compensation is based on customary

16 billing rates, with reduced rates utilized for the senior attorneys. Dinsmore submits that Dinsmore's

17 rates are well in line with standard charges by other attorneys practicing in the Southern California

18 community on non-bankruptcy matters. Dinsmore performed necessary professional services and

19 billed pursuant to the terms of employment approved by this Court. All services provided by

20 Dinsmore were necessary and performed for the benefit of the Estate and its creditors in this

21 complicated Chapter 11 Case. Based upon the foregoing, Dinsmore requests that fees and costs be

22 allowed in the full amount of those requested.

23                                                    IX.
24                                             CONCLUSION
25          Applicant is proud of its dedication, efforts and results to date in this Case. For the foregoing
26 reasons, Dinsmore respectfully requests that this Court determine that the amounts requested herein

27 by Dinsmore are allowable and submits that the total amount allowed for fees and full amount

28 allowed for costs should be awarded to Dinsmore.


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 1         WHEREFORE, Dinsmore respectfully prays for an order providing for the following:
 2         1.     Allows Dinsmore, on a final basis for the Total Period, a Chapter 11 administrative
 3 expense claim under 11 U.S.C. §§ 330 for fees in the amount of $5,947,875.25 and reimbursement

 4 of Dinsmore’s expenses in the amount of $63,191.65.

 5         2.     Authorizes the Trustee to pay to Dinsmore 100% of its allowed, unpaid fees of
 6 $1,202,050.00 and expenses of $5,812.54 for the Second Period from available funds in the Estate;

 7 and

 8         3.     Authorizing the Trustee to immediately pay the requested amounts.
 9         4.     Granting such other and further relief as is just and proper.
10 Date: November 8, 2024                        Dinsmore & Shohl LLP
11
                                                 By: /s/ Christopher Celentino
12                                                      Christopher Celentino
                                                        Yosina M. Lissebeck
13                                                      Special Counsel to Richard A. Marshack,
                                                        Chapter 11 Trustee For The Bankruptcy Estate
14                                                      Of The Litigation Practice Group P.C. and
                                                        Liquidating Trustee of the LPG Liquidation
15                                                      Trust
16

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 1                         DECLARATION OF CHRISTOPHER CELENTINO
 2          I, Christopher Celentino, declare as follows:
 3          1.      I am an attorney duly licensed to practice before this Court and the courts of this
 4 state. I am a partner at Dinsmore & Shohl LLP ("Dinsmore"), special counsel to the Chapter 11

 5 Trustee, Richard A. Marshack (the "Trustee") appointed in the above-captioned case. I am over 18

 6 years old. If called as a witness, I could and would competently testify to the truth of the following

 7 facts, each of which are stated herein of my own personal knowledge of such facts.

 8          2.      I submit this Declaration in support of Dinsmore & Shohl LLP's applications,
 9 allowing, on a final basis for the Total Period, a Chapter 11 administrative expense claim under 11

10 U.S.C. § 330 for fees in the amount of $5,947,875.25 and reimbursement of Dinsmore’s expenses in

11 the amount of $63,191.65 as well as authorization and allowance to pay to Dinsmore 100% of its

12 allowed, unpaid fees of $1,202,050.00 and expenses of $5,812.54 for the Second Period from

13 available funds in the Estate; and

14          3.      I prepared and am fully familiar with the Application. To the best of my knowledge,
15 the facts set out in the Application are true and correct and the billing materials appended to the

16 Application are fully accurate.

17          4.      I am one of Dinsmore's attorneys principally responsible for rendering services to the
18 Trustee. The other principally responsible attorneys are Yosina Lissebeck and Christopher Ghio.

19 Other Dinsmore's attorneys and paraprofessionals rendered services on matters from time to time, as

20 necessary, at my request, and under the supervision of myself, Ms. Lissebeck and Mr. Ghio

21          5.      The compensation and expense reimbursements requested in the Application are
22 billed at rates, and in accordance with billing practices, no less favorable and in many cases more

23 favorable than those customarily used by Dinsmore in other debtor and non-debtor engagements.

24          6.      I carefully reviewed Dinsmore's time records in these cases on a line-by-line basis
25 and, in the exercise of billing discretion, made certain write-offs totaling $189,427.520 which is
26 approximately 360 hours of work. In addition, deductions were made for fees charged in the amount

27 of $3,677.50 (which consists of approximately a 50% discount for travel time for required

28 appearance at hearings), and voluntary no charges in total amount of $3,737.50. To the best of my


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 1 knowledge, no time has been billed to the estate outside the scope of work authorized by the

 2 Employment Order.

 3          7.     Additionally, we will be providing the Fee Examiner Dinsmore’s billing records prior
 4 to the hearing, and the Fee Examiner will provided me with several reports containing questions and

 5 suggestions. I will review those reports and make adjustments to the application if needed. If any

 6 adjustments are made, I will file a supplemental declaration before the hearing.

 7          8.     I am familiar with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
 8 the Local Bankruptcy Rules, and the Guidelines for Reviewing Applications for Compensation &

 9 Reimbursement of Expenses Filed Under 11 U.S.C. § 330, 28 C.F.R. § 58, Appendix A (the "U.S.

10 Trustee Guidelines"), which are promulgated by the Office of the United States Trustee. I believe

11 that the Application complies with applicable law and the requirements of the U.S. Trustee

12 Guidelines. Specifically, I have reviewed Local Bankruptcy Rule 2016-1(a) and I believe the

13 Application complies with the rule.

14          9.     I declare under penalty of perjury under the laws of the United States, that the
15 foregoing is true and correct, except for those matters stated upon the information and belief and as

16 to those, I believe them to be true.

17          Executed this 8th day of November 2024.
18

19                                               /s/ Christopher Celentino
                                                 Christopher Celentino
20

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                                                                           EXHIBIT "A"
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 1
                                                EXHIBIT "A"
 2                                       FEE APPLICATION SUMMARY

 3                                                                           INTERIM PERIOD
 4                           CATEGORIES                               (July 1, 2024 - September 23, 2024)

 5

 6                                                                   Hours           Amount requested

 7   Case Administration (143576-1)                                     21.70                    $15,581.50

 8   Employment Applications (143576-2)                                  8.60                     $7,028.00
 9
     Fee Applications (143576-4)                                       321.10                    $135,793.00
10
     Plan and Disclosure Statement (143576-6)                           94.20                    $65,846.00
11
     Claims, Consumer Rejections Claims and Administrative Claims       94.30                    $60,260.50
12   (143576-7)

13   Asset Analysis/Recovery/Disposition (143576-8)                     25.10                    $11,687.50

14
     Post-Petition Financing Matters (143576-11)                         5.10                     $3,229.50
15
     Employee Matters (143576-12)                                         .70                       $521.50
16
     Meetings of Creditors (143576-13)                                   3.50                     $2,922.50
17
     2004 Examinations (143576-15)                                       3.60                     $1.472.00
18
     General Litigation (143576-18)                                     57.40                    $31,604.00
19
20   Adv. Case Nos. 23-102 / 23-1046 (Diab) (143576-19)                226.70                  $105,557.50

21   Adv. Case No. 23-1098 (OHP-CDR, LP) (143576-20)                    38.40                    $26,798.00

22   Debt Relief Group LLC (143576-22)                                    .10                        $48.00

23   Adv. Case No. 24-01017 (New Horizon Finance LLC) (143576-23)       48.50                    $20,734.50
24
     Adv. Case No. 23-1150 (Clear Vision Financial LLC / Liberty 1      90.70                    $41,143.50
25   Financial) (143576-24)

26   Adv. Case No. 24-01018 (MRD Marketing LLC) (143576-25)             34.90                    $13,981.50

27   Adv. Case No. 24-01040 (Marich Bein, LLC) (143576-26)              39.90                    $19,165.50

28
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                                                                           EXHIBIT "A"
                                                                               Page 108
 1
     Adv. Case No. 24-1004 (Point Break Holdings LLC) (143576-27)       0.70       $365.50
 2
     Adv. Case No. 24-01002 (Clearcube LLC) (143576-28)                 0.90       $281.00
 3
     Adv. Case No. 23-1148 (JGW Solutions LLC) (143576-29)             30.10     $13,130.50
 4
     Spot on Consulting Inc. (143576-31)                                5.60      $2,247.00
 5

 6   Adv. Case No. 24-01023 (CRI System Inc.) (143576-32)              32.50     $14,114.50

 7   Vasco Assets LLC (143576-33)                                      10.00      $4,285.00

 8   Adv. Case No. 24-01001 (Leucadia Enterprises Inc.) (143576-34)    20.60      $6,156.00

 9   PECC/Teng/Touzi/Oakstone (143576-35)                               1.20       $729.00
10
     United Global Research Group, Inc. (143576-36)                    40.70     $20,176.50
11
     MPowering America, LLC (143576-37)                                78.90     $35,861.50
12
     Strategic Consulting Solutions LLC (143576-38)                    10.10      $3,985.50
13
     Sabia Financial Inc. (143576-39)                                  19.60      $7,936.50
14
     BC Consulting Group, LLC (143576-40)                              15.30      $6,894.50
15

16   EZ Debt Relief Inc. (143576-41)                                    3.40      $1,644.00

17   Summit Marketing Solutions Inc. (143576-42)                       11.30      $4,700.50

18   Gotham Trading NYC (143576-50)                                     1.60       $952.00

19
     Consumer/Creditor Communications (143576-53)                      50.10     $22,782.50
20
     Azzure Capital LLC (143576-54)                                     6.90      $4,953.00
21
     MCA Capital Holdings LLC (143576-56)                              13.70      $7,075.50
22
     MCDVI Fund 2 LLC, MCDVI Fund 2, LLC, Debt Validation Fund
23                                                                       .10        $74.50
     II, LLC, Venture Partners, LLC and ProofPositive (143576-57)

24   ProofPositive LLC (143576-59)                                      1.00       $655.00
25
     Venture Partners, LLC (143576-60)                                   .10        $74.50
26
     OHP-CDR, LP (143576-62)                                            8.20      $4,768.00
27
     Adv. Case No. 24-1001 - Secured Creditor Liquidation (143576-    180.60    $106,255.00
28   63)

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 1
     Adv. Case No. 24-1080 (BMF Advance LLC) (143576-64)                 69.60   $35,517.00
 2
     Clearfund Solution, LLC / Cloudfund, LLC (143576-66)                 5.80    $3,671.00
 3
     Adv. Case No. 24-1090 (Cobalt Funding Solutions, LLC) (143576-
 4                                                                       42.30   $21,743.00
     67)

 5   Everyday Funding Group (143576-68)                                   1.20     $651.50
 6
     Franklin Capital Management LLC (143576-69)                          0.90     $439.50
 7
     Green Fund NY (143576-70)                                            2.60    $1,582.50
 8
     Kevlar Capital LLC (143576-71)                                       6.00    $3,074.50
 9
     Stratcap Management LLC (143576-72)                                  1.20     $672.50
10

11   World Global Fund LLC (143576-73)                                   17.00    $8,837.50

12   Ace Funding Source LLC (143576-74)                                   3.90    $1,842.50

13   Herret Credit Consultants (143576-75)                               32.50   $16,312.50

14   Greyson/Han Trinh (143576-76)                                        2.30    $1,199.50

15
     Han Trinh and Jayde Trinh (143576-77)                                5.50    $2,576.00
16
     Debt Resolution Direct (143576-78)                                   1.10     $323.00
17
     Gofi Finance / Gofi, LLC (143576-79)                                  .10     $480.00
18
     United Debt Consultants (143576-80)                                  1.30     $378.00
19
     Platinum Capital Consulting, LLC (143576-81)                         8.60    $2,833.00
20

21   dv. Case No. 24-1068 (Arash Asante Bayrooti) (143576-85)           161.60   $90,613.00

22   A Solution 2 / A Solution Debt Relief / A Solution Debt Relief 3     2.20     $837.00
     (143576-86)
23
     All Service Financial, LLC (143576-87)                                .60     $345.00
24
     Consumer Law Group, PC/Feig (143576-88)                             67.60   $35,460.00
25
26   Acufi LLC / Acufi Finance (143576-90)                                2.20     $823.00

27   Teracel Blockchain Fund II LLC (143576-91)                           0.50     $229.50

28   Brian Reale (Freedom Enrollment) (143576-93)                          .30     $172.50

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Case 8:23-bk-10571-SC           Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
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                                                                               Page 110
 1
     Integrity Docs LLC (143576-94)                               8.90            $5,117.50
 2
     Golden Financial Services (143576-95)                         .30             $172.50
 3
     Liamia Group, Inc. (143576-96)                               2.10             $815.50
 4
     ACB Holdings, LP (143576-102)                                 .30             $178.50
 5

 6   CFM Indosuez Wealth (143576-104)                             2.70            $1686.50

 7   Vasco Associates LLC (143576-121)                            1.60            $1,192.00

 8   Document Review (143576-122)                               148.70           $44,642.50

 9   Phoenix Law (143576-128)                                    12.30            $4,978.50
10
     Avoidance Actions (143576-129)                              10.10            $7,182.50
11
     Adv. Case No. 24-1120 (Colonna Cohen Law, PLLC) (143576-    40.40           $20,301.00
12   130)

13   Government Assistance (143576-0131)                          5.50            $3,737.50

14   Validation LLC (143576-132)                                  1.30             $741.50

15
     Reliance Assistance Group Inc. (143576-133)                  6.50            $2,032.50
16
     Payliance, LLC (143576-134)                                 49.60           $24,904.00
17
     OptimumBank Holdings Inc. (143576-136)                      38.40           $18,886.00
18
     Greyson Appeal (143576-150)                                  2.90            $1,444.50
19
     Han Trinh Appeal (143576-151)                                5.70            $2,706.50
20

21   Jayde Trinh Appeal (143576-152)                              2.30            $1,069.50

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                                                                 Page 111
 1                             EXHIBIT "B"
     SUMMARY OF PROFESSIONALS AND PARAPROFESSIONALS WHO PROVIDED
 2                  SERVICES DURING THE FEE PERIOD

 3
                              Date of Bar    Rate                         Total Fees
 4           Name                                     Hours         (does not include courtesy
                              Admission      (2024)
                                                                            discount)
 5     Christopher B. Ghio       2009       $625.00      177.80                $111,125.00

 6
      Christopher Celentino      1988       $835.00       89.70                 $74,899.50
 7
       Ellen Arvin Kennedy       2001       $665.00        3.10                   $2,061.50
 8
        John H. Stephens         1979       $545.00       68.10                 $37,114.50
 9
        Lovee D. Sarenas         1999       $660.00           .80                   $528.00
10
      Matthew Tyler Powell       2004       $595.00      166.10                 $98,829.50
11

12     Milton T. Spurlock        2001       $595.00       29.80                 $17,731.00

13       Sara A Johnston         2016       $495.00      115.60                 $57,222.00

14      Sarah S. Mattingly       2012       $610.00       12.30                   $7,503.00
15
       Yosina M. Lissebeck       1999       $745.00      338.80                $252,406.00
16
        Brian M. Metcalf         2000       $650.00       20.40                 $13,260.00
17
        Bryan L. Cockroft        2022       $275.00       35.50                   $9,762.50
18
         Brian W. Boyd           2017       $575.00       10.40                   $5,980.00
19
20     Jacob R. Bothamley        2017       $405.00       91.10                 $36,895.50

21      Jamie D. Mottola         2016       $455.00      137.40                   62,517.00

22     Jeremy B. Freedman        2016       $465.00      228.50                $106,252.50

23      Jessica M. Lavin         2014       $375.00        7.70                   $2,887.50
24
       Jonathan B. Serrano       2021       $415.00        9.70                   $4,025.50
25
          Lexi J. Epley          2022       $420.00       38.80                 $16,296.00
26      Matthew J. Stockl        2019       $480.00      102.80                 $49,344.00
27
        Paige E. Hornback        2022       $355.00       21.80                   $7,739.00
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 1
         Spencer K Gray              2019       $475.00        69.90          $33,202.50
 2
       Suzanne M. Marino             2021       $395.00        35.90          $14,180.50
 3
       Vanessa Rodriguez             2023       $385.00       123.80          $47,663.00
 4
         Veneeta Jaswal              2018       $460.00        68.60          $31,556.00
 5
                                     2023
 6       Brandon E. Lira                        $355.00        59.30          $21,051.50

                                     N/A
 7     Robert J. Simmons                        $365.00        22.60           $8,249.00

 8                                   N/A
           Caron Burke                          $225.00       178.50          $40,162.50

 9                                   N/A
          Jamie Herald                          $145.00          .40               58.00
10                                   N/A
        Jennifer E. Pitcock                     $215.00        10.70           $2,300.50
11                                   N/A
       Katherine Hemphill                       $210.00         2.90             $609.00
12
                                     N/A
          Wendy Yones                           $205.00       138.10          $28,310.50
13
                                     N/A
       Angelica B. Garcia                       $225.00        17.30           $3,892.50
14

15                                             TOTALS:       2434.20        $1,205,615.00

16               ADDITIONAL AMOUNT FOR THIS APPLICATION                             0.00
17                                LESS NO CHARGES:                               3,737.50
18
                                     TOTAL DUE:                             $1,202.050.00
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                                      Bryan L. Cockroft
                                      Associate
                                      bryan.cockroft@dinsmore.com

                                      Louisville, KY
                                      Tel: (502) 540-2576




                                                          y
Bryan focuses his practice on health care law. His experience includes a one-year fellowship at TriHealth, Inc. in



                                                        nl
Cincinnati Ohio where he assisted with the drafting of TriHealth’s COVID-19 vaccination policy; working with in-
house and outside counsel on physician contracting, clinical trial agreements, and vendor contracting; and
                                                  O
conducting legal research on compliance, hospital credentialing, and telemedicine. He received his J.D. from
University of Cincinnati College of Law where he participated in the Entrepreneurship and Community
Development Clinic.
                                      ft
Services
    •   Health Care Industry
                    ra


Education
    •   University of Cincinnati College of Law (J.D., 2021)
                   D



    •   University of Louisville (M.B.A., 2023)
    •   University of Louisville (B.A., 2018)
           o Economics
Bar Admissions
    •   Kentucky
    •   Ohio




Publications
July 26, 2024
Pennsylvania Court Rules Non-Compete Ban Can Stand

July 9, 2024
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Court Blocks FTC's Non-Compete Rule for Plaintiffs

May 6, 2024
Rescheduling Marijuana and its Impact on Healthcare and the Economy

April 26, 2024
Questions Abound in the Healthcare Industry after Federal Trade Commission Bans Non-Competes

April 25, 2024
Feeling Lucky? Lottery to Decide Cannabis Business Licensees in Kentucky

January 12, 2024
Kentucky Senator Introduces Legislation to Combat Discrimination in the 340B Drug Program

January 4, 2024




                                                      y
$9 Billion+ to be Repaid to 340B Hospitals- Is your Hospital Eligible?

October 12, 2023


                                                    nl
DEA Further Extends Telemedicine Prescribing Flexibilities
                                            O
August 21, 2023
Fifth Circuit Court Keeps Abortion Medication Legal, But With Restrictions

August 7, 2023
                                   ft
CMS Publishes Proposed Rules for OPPS, ASC and PFS for Calendar Year 2024
                  ra

July 25, 2023
FTC and DOJ Take Key Actions with Antitrust Guidance Affecting Healthcare

April 18, 2023
                 D



Contradictory Court Opinions Leave the Approval of Abortion Medication in Question

April 17, 2023
Medical Marijuana Will Soon be Legal in Kentucky
JD Supra

January 19, 2023
D.C. District Court Rules HHS Will be in Charge of OPPS Repayments

January 13, 2023
DOJ Clears the Way for USPS to Deliver Abortion Drugs by Mail

November 22, 2022
Marijuana “Kind of” Legal in Kentucky

October 25, 2022
Feds Announce More Aggressive Enforcement of Poor Performing Nursing Homes
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                                       Brian M. Metcalf
                                       Of Counsel
                                       brian.metcalf@dinsmore.com

                                       Los Angeles, CA
                                       Tel: (213) 335-7752




                                                             y
Brian focuses his practice on complex bankruptcy, restructuring, and litigation matters. He has experience



                                                           nl
representing clients in all levels of bankruptcy and state and federal court litigation proceedings, including
discovery, motion practice, evidentiary hearings and trials, appeals, and alternative dispute resolution. He
                                                  O
regularly represents debtors, creditors’ committees, trustees, secured and unsecured creditors, equity holders,
and other parties in interest in all aspects of Chapter 7 and Chapter 11 cases, bankruptcy related litigation, and
out-of-court restructurings. In litigation, he represents plaintiffs and defendants in all types of matters, including
claims involving commercial transactions and contracts, fraud, director and officer fiduciary duties, real estate,
                                       ft
intellectual property, and other business disputes. He works closely with clients to identify tactical objectives and
goals and then develops and executes strategies to promptly and efficiently achieve them while providing
                      ra


guidance on settlement and litigation options.

Services
                     D



    •   Corporate & Transactional
    •   Bankruptcy & Restructuring
    •   Litigation

Education
    •   University of Michigan Law School (J.D., cum laude, 1999)
    •   University of Oregon (B.S., 1994)

Bar Admissions
    •   Arizona
    •   California


Court Admissions
    •   U.S. District Court for the District of Arizona
    •   U.S. District Court for the Northern District of California
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   •   U.S. District Court for the Eastern District of California
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Southern District of California
   •   U.S. Court of Appeals for the Fifth Circuit
   •   U.S. Court of Appeals for the Ninth Circuit

Distinctions
   •   California Rising Star®
          o Law & Politics Media Inc. (2006, 2007, 2009, 2010)




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                                       Brian J. Wood
                                       Associate
                                       brian.wood@dinsmore.com

                                       Louisville, KY
                                       Tel: (502) 581-8016




                                                            y
Brian is a litigator who focuses on commercial litigation. His experience includes managing portfolios for clients in



                                                          nl
Indiana and Kentucky from inception to judgment and satisfaction in consumer and commercial collection actions.
He advised clients on best practices and compliance with state and federal collections laws and has appeared in
                                                 O
numerous courts in Indiana and Kentucky.

Services
    •   Litigation
                                       ft

    •   Bankruptcy & Restructuring
                      ra

Education
    •   University of Kentucky College of Law (J.D., 2016)
    •   University of Louisville (B.A., 2013)
                     D



           o English
Bar Admissions
    •   Kentucky
    •   Indiana


Court Admissions
    •   U.S. District Court for the Northern District of Indiana
    •   U.S. District Court for the Southern District of Indiana
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                                      Christopher Celentino
                                      Partner
                                      christopher.celentino@dinsmore.com

                                      San Diego, CA
                                      Tel: (619) 400-0519

                                      Los Angeles, CA
                                      Tel: (619) 400-0519




                                                          y
Christopher focuses his practice on creditor's rights, fiduciary services litigation, business reorganization and



                                                        nl
workouts, and insolvency and bankruptcy law. His bankruptcy practice emphasizes representation of creditors and
court-appointed trustees in chapter 7 and 11 cases, as well as representation of debtors in chapter 11 cases. He
                                               O
has knowledge of mechanic's lien law and related construction litigation matters, as well as family law and related
dissolution matters. His creditor's right practice emphasizes representing lenders and borrowers in workout and
restructuring of commercial loans, secured transactions, and lease transactions, and pursuit of creditor's rights in
commercial litigation matters.
                                      ft

He is certified as a business bankruptcy specialist by the American Board of Certification. In 2011, he was
                      ra


selected as one of the "Transcript 10," comprised of 10 of the most noteworthy attorneys from San Diego County,
by the San Diego Daily Transcript. In 2012, Christopher was the president of the California Bankruptcy Forum, the
leading professional organization for bankruptcy lawyers in California, having served previously as treasurer and
                     D



secretary; in 2018, he served as a co-chair of the annual meeting.

He is also a former member and past president of the Board of Directors of the San Diego Bankruptcy Forum. He
is a member of the San Diego County Bar Association, where he served as chair of the Bankruptcy Law Section
from 1992 - 1993, and a secretary and vice president of the California State Bar Association Insolvency
Committee, as well as a former member of the Board of Directors of the Bay Area Bankruptcy Forum. He is also
former chair of the San Diego Financial Lawyers Group and has served since 1994 as a court-appointed
mediation panel member to the United States Bankruptcy Court, Southern District of California. He has served as
both a court-appointed expert and privately-engaged expert in many cases involving unique issues of bankruptcy
and divorce.

Services
    •   Corporate & Transactional
    •   Bankruptcy & Restructuring
    •   Litigation

Education
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   •   Georgetown University Law Center (J.D., cum laude, 1987)
         o Journal of Law and Technology, co-founder and editor-in-chief
          o The Georgetown law Journal, associate editor
   •   Northwestern University (B.S., 1984)

Bar Admissions
   •   California


Court Admissions
   •   U.S. Court of Appeals for the Ninth Circuit
   •   U.S. District Court for the Eastern District of California
   •   U.S. District Court for the Central District of California




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   •   U.S. District Court for the Northern District of California
   •

                                                           nl
       U.S. District Court for the Southern District of California

Affiliations/Memberships
                                                 O
   •   California Bankruptcy Forum, past president, secretary, treasurer, board member
   •   San Diego Bankruptcy Forum, past president and board member
   •   Bay Area Bankruptcy Forum, past board member
                                      ft

   •   Old Town Academy K-8 Charter School, co-founder and former chair of the board
                     ra


   •   ABI Southwest, Conference Board (March 2017)
   •   California State Bar Association, secretary and vice president, Insolvency Committee
                    D



   •   San Diego County Bar Association, Bankruptcy Law section, past chair
   •   American Bar Association
   •   San Diego Financial Lawyers Group, past chair
   •   U.S. Bankruptcy Court, Southern District of California, court-appointed mediation panel member (1994 -
       2012)

Distinctions
   •   Peer Review Rated AV® Preeminent™ by Martindale-Hubbell
   •   Chambers USA: America’s Leading Lawyers for Business, Bankruptcy/Restructuring (2017 - 2018)
   •   The Best Lawyers in San Diego, San Diego Magazine (2016)
   •   Best Lawyers®
         o Bankruptcy and Creditor Debtor Rights/Insolvency and Reorganization Law (2012 - 2025)
          o Litigation – Bankruptcy (2012 - 2022)
   •   San Diego Super Lawyers (2007 - 2018)
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•   “Transcript 10”, San Diego Daily Transcript (2011)
•   Senior Lawyer Fellowship, Center for International Legal Studies (2011)
•   Board certified in business bankruptcy law by American Board of Certification
•   Avvo Top Rated Lawyer (2022)
•   Americas Most Honored Lawyers - Top 1% (2022)




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                                       Christopher B. Ghio
                                       Partner
                                       christopher.ghio@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0468




                                                            y
Christopher is trusted by a wide range of clients, including financial institutions at the local, regional and national



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level; publicly traded corporations; court-appointed receivers; bankruptcy trustees; private fiduciaries; small
businesses and individuals.
                                                 O
Christopher’s broad-based practice includes civil litigation and appellate advocacy in state and federal courts; real
estate and corporate transactions; bankruptcy; loan workouts and restructuring.

A creative, out-of-the box thinker, Christopher employs the business sense honed from years working in his family
                                       ft

business to provide proactive, innovative solutions for the unique legal challenge facing each client.
                      ra


This approach remains the same whether at trial in the courtroom, negotiating a deal in a boardroom, or seeking a
favorable result at mediation or arbitration. Christopher firmly believes that forward looking, strategic thinking
should be at the core of each representation.
                     D



Christopher has been lead counsel on the following significant matters including: obtaining approval of a Chapter
11 liquidating plan for a court appointed Chapter 11 Trustee in a case involving the recovery of several dozen
fraudulently conveyed rental homes; successfully defending - in a reported decision - a summary judgment in his
clients’ favor on appeal to the California Appellate and Supreme Courts; securing terminating sanctions against
plaintiffs in multi-million dollar harassment and defamation cases; securing a "no-notice" ex parte turnover order
for a Chapter 11 Bankruptcy Trustee; and negotiating and documenting a lease for multiple floors of Class A office
space.

Christopher's clients routinely compliment his proactive and diligent strategic approaches which produce
exceptional results.

Services
    •   Litigation
    •   Bankruptcy & Restructuring
    •   Appellate | Legal Issues
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Education
   •   College of William and Mary, Marshall-Wythe School of Law (J.D., 2008)
   •   University of California, Los Angeles (B.A., 2005)
          o Political Science
Bar Admissions
   •   California


Court Admissions
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Eastern District of California
   •




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       U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California



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Publications
January 16, 2024
Debtors Doing Illegal Things
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American Bankruptcy Trustee Journal
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                    D
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                                       Caroline G. Massey
                                       Partner
                                       caroline.massey@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0462




                                                             y
Caroline is a litigator who advises and represents clients in mediations, arbitrations, and state and federal claims



                                                           nl
and litigation throughout the country. Her clients include individuals and business interests of all sizes, from
closely held family businesses to publicly traded companies with nationwide and international reach. Caroline
                                                 O
works closely with clients to streamline communication with key employees and protect business interests,
relationships, and strategies. When litigation can be avoided or minimized she works with clients to consider
optimal strategies and alternatives. Her experience includes serving as national counsel leading a litigation team
defending agricultural entities in litigation arising from E. coli outbreaks; successfully defending clients in
                                       ft
catastrophic premises liability cases; and litigating claims arising from a variety of business operations, including
employment class action cases with eight-figure exposure, gene-edited food development, and contractual
                      ra


disputes.

Caroline obtained her Bachelors of Business Administration from the University of San Diego, graduating in three
                     D



years with honors. After college, Caroline served in the district office of a California state senator. In this role, she
served as a regional spokesperson to critical stakeholders, including constituents, elected officials, business
advocacy groups, and regulatory bodies as to legislation and regulations. She obtained her law degree and a
graduate diploma, both with honors, from Louisiana State University. While at LSU, Caroline served on the Ethics
and Faculty Appointments Committees, was a member of the Moot Court Board, and received awards for oral
advocacy.

Services
    •   Litigation
    •   Tort
    •   Class Action
    •   Product Liability

Education
    •   Louisiana State University (J.D., cum laude, 2013)
           o CALI Excellence for the Future Award in Legal Traditions and Systems (Comparative Law Course)
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          o CALI Excellence for the Future Awards in European Union (Analysis re: EU Cross-Border Business
              Litigation)
   •   Louisiana State University (D.C.L., cum laude, 2013)
   •   University of San Diego (B.B.A., cum laude, 2007)

Bar Admissions
   •   California
   •   Georgia


Court Admissions
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Central District of California




                                                             y
   •   U.S. District Court for the Southern District of California
   •   U.S. Court of Appeals for the Ninth Circuit

Affiliations/Memberships                                   nl
                                                 O
   •   Association of Southern California Defense Counsel
   •   San Diego County Bar Association
   •   San Diego Defense Lawyers
                                      ft

   •   Junior League of Baton Rouge (past member)
                     ra


   •   Junior League of Savannah (past member)
   •   St. Andrew's Parish Day School, Governing Board member
                    D



   •   Junior League of San Diego, sustaining member




Publications
June 17, 2022
California Employers Can Take Advantage of Huge Unexpected Win
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                                      Ellen Arvin Kennedy
                                      Partner
                                      ellen.kennedy@dinsmore.com

                                      Lexington, KY
                                      Tel: (859) 425-1020




                                                          y
Ellen focuses her practice on litigating and mediating high-stakes matters in federal, state and bankruptcy courts,



                                                        nl
and employs a practical, measured approach to helping her clients reach resolutions.

She has experience handling commercial bankruptcy, insolvency and creditors’ rights matters for clients, including
                                               O
advising Chapter 11 and liquidating trustees and both creditors and debtors in complex liquidations and corporate
wind-downs. Her knowledge of bankruptcy law and her ability to tailor her approach to fit each client’s
circumstances allows her to offer counsel at every step of the bankruptcy and restructuring process, including
                                      ft
proactive counsel.

Ellen also leverages her knowledge of corporate law to guide investment groups through the purchase,
                   ra


reorganization and sale of companies and distressed assets in a variety of industries, such as coal, oil and gas,
health care, education and manufacturing.
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She provides restructuring assistance to clients looking for out-of-court resolutions, and handles foreclosures,
complex collection actions and litigation matters in state courts and federal to enforce the rights of secured
creditors. Because Ellen concentrates her practice in Kentucky, she is well known throughout the Kentucky
bankruptcy bar. Among other positions, she has served as chair of the Bankruptcy Section of the Kentucky Bar
Association twice (2008, 2010), and is frequently asked to lecture on bankruptcy practice throughout the state.
Ellen was selected to serve two rotations on the Local Bankruptcy Rules Committee for the Eastern District of
Kentucky. This service included a series of work sessions with the Western District Committee and court to unify
bankruptcy practice rules throughout the state.

Services
    •   Bankruptcy & Restructuring
    •   Corporate & Transactional
    •   Equine Industry

Education
    •   University of Kentucky College of Law (J.D., 2000)
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          o Moot Court Board, First Amendment Moot Court Team
   •   Centre College (B.A., cum laude, 1997)
         o Phi Beta Kappa
Bar Admissions
   •   Kentucky


Court Admissions
   •   U.S. Court of Appeals for the Sixth Circuit
   •   U.S. District Court for the Eastern District of Kentucky
   •   U.S. District Court for the Western District of Kentucky




                                                           y
Affiliations/Memberships
   •   Mid-West Regional Bankruptcy Conference 2020 and 2021, co-chair
   •

                                                         nl
       University of Kentucky David J. Rosenburg College of Law, Bankruptcy professor
                                               O
          o Commercial Debtor and Creditor Relations
   •   Member, American Inns of Court, Central Kentucky Chapter
   •   Leadership Kentucky, class of 2014
                                     ft

   •   Kentucky Bar Association, Bankruptcy Practice Section, past chair
                   ra

   •   Eastern District of Kentucky, U.S. Bankruptcy Court Local Rules Committee
   •   Fayette County Bar Association, Women Lawyers Section, former chair
   •
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       Leadership Lexington, class of 2008
   •   Legal Aid of the Bluegrass, board member

Distinctions
   •   Peer Review Rated AV in Martindale-Hubbell
   •   Best Lawyers©
         o "Lawyer of the Year" in Lexington for Bankruptcy and Creditor Debtor Rights / Insolvency and
            Reorganization (2016)
          o “Lawyer of the Year” in Lexington for Litigation - Bankruptcy (2017)
          o "Lawyer of the Year" in Lexington for Litigation - Environmental (2016, 2019)
          o Bankruptcy and Creditor Debtor Rights/Insolvency and Reorganization Law (2022-2024)
          o Litigation - Bankruptcy (2022-2024)
   •   Listed in The Best Lawyers in America© for Bankruptcy, Creditor Debtor Rights and Insolvency and
       Reorganization Law
   •   Kentucky Super Lawyers©
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           o For Bankruptcy: Business (2013 - present)
    •   Fayette County Bar Association Outstanding Young Lawyer of the Year, 2008




Experience
Chapter 11 Liquidating Trustee and Receiver representation and appointments
Ellen has a wealth of experience handling Chapter 11 cases as counsel for debtors, unsecured creditor
committees, and lessors. She has also, specifically represented both operating and liquidating trustees in Chapter
11 cases, and has served as a court-appointed Chapter 11 liquidating trustee. Ellen was appointed Chapter 11
Liquidating Trustee for Cambrian Coal Company and Trinity Coal Company, and served as counsel for operating
and liquidating trustees in other Chapter 11 cases which has provided her with a thorough understanding of the




                                                           y
claims investigation and litigation process from the liquidating trustee position. Ellen has investigated and filed
hundreds of preference actions, complex fraudulent conveyance actions and suits alleging breach of fiduciary



                                                         nl
duty against former principals of a debtor. In addition to prosecution of and administration of claims, Ellen has
supervised the liquidation of real property, all manner of equipment and large machinery, thoroughbred horses,
accounts receivable and general personal property. This experience ensures that she is adept at managing the
                                                O
liquidation and distribution process and coordinating the efforts and resources needed to ensure creditors’
interests are protected and the intended resolution is reached.

Counsel for Elizabeth Z. Woodward, Receiver, In re Zayat Stables, LLC
                                      ft

Ellen represented Elizabeth Z. Woodward in her role as court appointed receiver in the case MGG Investment
Company v. Zayat Stables LLC et al, and successfully defended a challenge to the continued receivership when
                   ra


Zayat Stables, LLC filed for bankruptcy protection. Zayat Stables, LLC was the owner of the 2015 Triple Crown
and Breeders Cup Classic winner American Pharoah, and more than 70 thoroughbreds when the receiver action
was filed. The receiver was tasked with locating and physically securing the Zayat Stables horses, which were
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being boarded and trained all over the country and selling them through a combination of auctions at Keeneland
Association, Inc., Fasig-Tipton Co. and private sales. Through the sales process, Ellen assisted the receiver in
evaluating asserted lien claims and making the appropriate distributions out of sale proceeds. The receiver was
also tasked with racing decisions, which required placing horses in appropriate races along with the administrative
work of securing insurance and care for horses as may be necessary, determining ownership of breeding rights
which had been assigned to others by Zayat Stables, collecting unclaimed purses at race courses across the
country, settling unresolved claims against Zayat Stables filed before racing authorities in several states and filing
her accounting with the presiding courts.

Healthcare
Ellen has served as counsel for a community hospital which filed Chapter 11 and ultimately sold to a nearby metro
hospital system, a Chapter 11 Trustee appointed to liquidate an operating hospital, counsel for an unsecured
creditors committee in a Chapter 11 case in which the debtor was an operating hospital which emerged from the
bankruptcy process pursuant to a plan of reorganization, and the principal owners of a small regional hospital
which was ultimately sold. Through this work, Ellen is well-versed in the unique challenges of operating a
healthcare business in and out of the bankruptcy context. She has experience dealing with administrative
agencies such as the United States Department of Health and Human Services and similar state agencies for the
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purpose of collecting Medicare/Medicaid reimbursements and navigating the setoff process for the benefit of her
clients. As a participant in the sales of hospitals and clinics, Ellen is aware of the challenges in selling health care
assets, and knows how to transfer operational permits and patient data in compliance with applicable state and
federal law.

Natural Resources
Ellen represented clients in several capacities in Chapter 11 Cases involving coal, gas and oil companies. She
has represented debtors, trustees, unsecured creditor committees, lenders, lessors, critical vendors, and general
unsecured creditors in Chapter 11 cases of debtors operating in the national resource industry. Representing
clients in such as variety of roles has given Ellen unique insights into the coal and natural gas business in terms of
financing, budgeting, operations, liquidation, negotiation of coal supply contracts, lease assumption analysis and
negotiation, as well as addressing transportation and labor issues in compliance with state and federal law. Over
the course of her career, Ellen has assisted both debtors and bidders in the sales of dozens of properties and
understands the complex permit transfer process that accompanies such sales.




                                                            y
Unsecured Creditor Committees



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Ellen has served as counsel for unsecured creditor committees in chapter 11 cases which cover a wide array of
industries, including coal, agriculture, and retail. She has also served as counsel for many more creditors
appointed to serve on committees, assisting with the work of the committee group as well as protecting her
                                                 O
client’s individual interests as necessary.

Corporate Reorganization and Membership Unit Sale
This transaction involved a corporate reorganization of several limited liability companies which collectively owned
                                       ft

or controlled certain coal producing and related assets followed by the sale of all of the membership units for
approximately $20,000,000 to a publicly traded company. Our firm’s experience in mergers and acquisitions,
                    ra


natural resources and tax matters enabled the client to maximize membership unit value and complete this
transaction in an efficient and timely manner.
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                                       Gina Kripotos
                                       Associate
                                       gina.kripotos@dinsmore.com

                                       Los Angeles, CA
                                       Tel: (213) 335-7746




                                                              y
Gina focuses her practice on commercial litigation. Her experience includes drafting legal notices, memoranda,



                                                            nl
pleadings, and motions; conducting legal research on a variety of topics; and gathering evidence used to
formulate defense or initiate legal actions.
                                                  O
Services
    •   Litigation

Education
                                       ft

    •   University of California, Los Angeles School of Law (LLM, 2018)
                      ra


    •   Osgoode Hall Law School (J.D., 2017)
    •   York University (B.A., 2009)
                     D



Bar Admissions
    •   California
    •   Ontario, Canada


Court Admissions
    •   U.S. District Court for the Central District of California
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                                      Jacob Bothamley
                                      Associate
                                      jacob.bothamley@dinsmore.com

                                      San Diego, CA
                                      Tel: (619) 400-0500




                                                            y
Jacob is an associate with the Firm's Corporate Department, Business Restructuring Practice Group. Jacob



                                                          nl
comes to us following a full term-clerkship for Chief Judge Theodor C. Albert of the United States Bankruptcy
Court, Central District of California. Jacob’s broad experience as a law clerk provides extra versatility within his
                                                O
group, allowing his practice to span a wide-range within both the corporate and bankruptcy arenas.

Services
    •   Bankruptcy & Restructuring
                                      ft

Education
                    ra

    •   University of California, Hastings College of the Law (J.D.)
    •   University of California, Santa Cruz (B.A.)
           o History
                   D



Bar Admissions
    •   California, 2017


Court Admissions
    •   U.S. Bankruptcy Court for the Central District of California
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                                       Jeremy B. Freedman
                                       Associate
                                       jeremy.freedman@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0517




                                                             y
Jeremy is a results-driven litigator who focuses on the needs of his clients. He has successfully litigated cases



                                                           nl
involving wrongful death, personal injury, professional liability, directors and officer’s liability, errors and omissions,
employment, commercial, premises liability, sexual assault and sexual harassment claims for national,
                                                  O
governmental, institutional, and individual clients. In a case of first impression, Jeremy successfully defended a
multimillion dollar wrongful death action for failure to use an automatic external defibrillator on a motion for
summary judgment, which was confirmed on appeal by the California Supreme Court. He has successfully tried
breach of contract cases, chaired personal injury jury trials, and has represented local and national banking
                                       ft
institutions in bankruptcy claims. His experience also includes implementing processes which led to improved
litigation efficiency and increased profitability while maintaining strict compliance to state and federal regulations
                      ra


for three of the nation’s largest financial institutions.

Jeremy obtained his bachelors in Business Science and Business Administration with a specialization in finance
                     D



from the Ohio State University. While at OSU, Jeremy tutored underprivileged children in history and in his spare
time continues his efforts to give back to the legal community and community at large. After college, Jeremy
worked in the banking industry for over seven years at one of the world leading banking institutions working
heavily with financial regulation and business development. He obtained his law degree from Thomas Jefferson
School of Law where he was appointed Technical Editor for Law Review.

Services
    •   Litigation

Education
    •   Thomas Jefferson School of Law (J.D., magna cum laude, 2015)
    •   The Ohio State University (B.S., magna cum laude, 2001)
          o Finance
Bar Admissions
    •   California
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Court Admissions
   •   U.S. Bankruptcy Court for the Southern District of California
   •   U.S. District Court for the Southern District of California
   •   U.S. District Court for the Central District of California
   •   U.S. Court of Appeals for the Ninth Circuit
   •   U.S. Bankruptcy Court for the Central District of California




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                                    Jessica M. Lavin
                                    Associate
                                    Jessica.Lavin@dinsmore.com

                                    Tampa, FL
                                    Tel: (813) 543-9823




                                                          y
Jessica is an associate whose practice focuses on commercial litigation. She has experience representing various



                                                        nl
types of contractors and developers in complex construction cases involving multi-unit condominiums and entire
communities of single-family homes. She is also familiar with managing a first-party property insurance client,
                                             O
including developing litigation strategies, and drafting and responding to pleadings, discovery, and dispositive
motions. Jessica received her J.D. from Florida Coastal School of Law.

Services
                                    ft
    •   Litigation
    •   Construction Industry
                      ra


Education
    •   Florida Coastal School of Law (J.D., 2013)
                     D



    •   Old Dominion University (B.A., 2009)
           o Philosophy, English/Professional Writing
Bar Admissions
    •   Florida
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                                       John A. Mayers
                                       Partner
                                       john.mayers@dinsmore.com

                                       San Diego, CA
                                       Tel: (619) 400-0470




                                                              y
John specializes in business and employment litigation, real property, and creditor’s rights. He is an experienced



                                                            nl
trial lawyer, having litigated over 50 trials and arbitrations, nearly half of which have been jury trials. John
represents small to medium size businesses and assists them in a wide variety of issues, ranging from hiring and
                                                  O
employee matters to operational issues, banking, real estate, and disputes with vendors, industry partners and
governmental agencies.

John also represents property ownership and management clients and assists them with transactions, leasing,
                                       ft
construction issues and claims, tenant issues, regulatory issues, litigation, arbitration, and the complexities
inherent in dealing with various municipalities. Clients appreciate his strategic mindset and determination, which
                      ra

has led to successful results in difficult trials.

While in law school, he served as a Judicial Extern for the California Court of Appeals.
                     D



Services
    •   Litigation

Education
    •   Pepperdine University (J.D., 1990)
    •   California State University, Northridge (B.A., 1985)
           o Communications
Bar Admissions
    •   California


Court Admissions
    •   California Supreme Court
    •   U.S. District Court for the Central District of California
    •   U.S. District Court for the Northern District of California
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                                      Jamie D. Mottola
                                      Associate
                                      jamie.mottola@dinsmore.com

                                      San Diego, CA
                                      Tel: (619) 400-0474




                                                           y
Jamie’s practice centers on assisting corporate clients with various transaction, commercial finance, real estate



                                                         nl
and bankruptcy matters. She often handles commercial and real estate financing and transactions, acquisitions
and dispositions, and a wide variety of real estate projects, including the purchase, sale and development of
                                                O
vacant land, shopping centers, hotels, gas stations, office buildings, industrial properties, warehouses, mixed-use
projects, residential developments, condominium projects, and construction financing.

A substantial part of Jamie’s practice is also devoted to the commercial financing space, where she has extensive
                                      ft
experience representing national banks, and other private lenders, in all aspects of lending transactions. These
include the preparation and negotiation of loan documents, intercreditor agreements, participation agreements,
                      ra

review of title, survey and due diligence requirements, and closing coordination. She has also represented both
corporate buyers and sellers with the purchase and sale of real estate.

Jamie has represented a variety of clients, ranging from businesses and financial institutions to individuals, in a
                     D



myriad of bankruptcy, commercial litigation, and other general corporate and real estate issues. These include
business formation and dissolution, secured transactions, creditor’s rights, receiverships and representation in
Chapter 7, 11, and 13 bankruptcy cases, real estate and title disputes, and judgment enforcement.

Services
    •   Bankruptcy & Restructuring
    •   Litigation

Education
    •   California Western School of Law (J.D.)
    •   San Diego State University (B.A.)
          o History
           o Minor in Anthropology
Bar Admissions
    •   California
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Court Admissions
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Eastern District of California
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California

Affiliations/Memberships
   •   San Diego County Bar Association
   •   Lawyers Club, Co-Chair Life + Law/Parenting Committee




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                                      Jonathan Serrano
                                      Associate
                                      jonathan.serrano@dinsmore.com

                                      Los Angeles, CA
                                      Tel: (213) 335-7758

                                      San Diego, CA
                                      Tel: (213) 335-7758




                                                          y
Jonathan focuses his practice on bankruptcy restructuring matters. His experience includes representing debtors,



                                                        nl
creditors, litigants, and buyers of distressed assets. He has litigated in district and bankruptcy courts.

Jonathan clerked for Judge Scott H. Yun, evaluating issues in countless chapter 7, chapter 13, and chapter 11
                                               O
cases. For an additional year, he clerked for Judge Wayne Johnson, further developing his bankruptcy expertise.

After completing terms at the United States Bankruptcy Court, Jonathan worked for a global law firm, assisting
clients in large chapter 11 cases.
                                      ft

Prior to practicing law, Jonathan taught high school chemistry for several years.
                      ra


Services
    •   Bankruptcy & Restructuring
                     D



Education
    •   University of California, Los Angeles School of Law (J.D.)
    •   Florida A&M University (B.S.)
           o Chemistry
Bar Admissions
    •   California
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                                      John H. Stephens
                                      Partner
                                      john.stephens@dinsmore.com

                                      San Diego, CA
                                      Tel: (619) 400-0472




                                                          y
John is a nationally recognized litigator with more than four decades of experience, having practiced in three



                                                        nl
major metropolitan areas: San Diego, Los Angeles and New York City. He has been involved in many complex
federal and state court jury and bench trials and appeals, several resulting in published opinions. John’s business
                                                 O
litigation includes cases involving receivers and creditors in Ponzi cases, unfair competition, fraud, breach of
contract, misappropriation of trade secrets, insurance bad faith and related tax issues. His real estate cases
include landslides, soil and water contamination, boundary disputes, inverse condemnation, construction and
enforcement of property restrictions.
                                      ft

John also handles real estate transactions often as part of litigated cases, including the purchase and sale of
                      ra

developed and undeveloped land, securing entitlements and structuring transactions to defer taxation.

During law school, John clerked for Joseph L. Alioto, former mayor of San Francisco and renowned anti-trust
attorney. In addition, while completing his master’s degree at Columbia University, he worked with Fred Friendly,
                     D



the former President of CBS News, on the PBS series “Media Law & Society.” He was also staff attorney at the
Legal Action Center of New York City, then chaired by Arthur Lyman, former counsel to the Senate during the Iran-
Contra hearings.

Services
    •   Litigation
    •   Appellate | Legal Issues

Education
    •   University of California, Hastings College of the Law (J.D., 1978)
    •   Columbia University (M.A., 1983)
    •   University of California, Irvine (B.A., 1972)

Bar Admissions
    •   California
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   •   New York


Court Admissions
   •   U.S. Supreme Court
   •   U.S. Court of Appeals for the Second Circuit
   •   U.S. Court of Appeals for the Ninth Circuit
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Northern District of California
   •   U.S. District Court for the Southern District of California
   •   U.S. District Court for the Eastern District of New York




                                                             y
   •   U.S. District Court for the Western District of New York
   •   U.S. District Court for the Southern District of New York

Affiliations/Memberships
   •   University of California Hastings Board of Trustees nl
                                                 O
   •   Downtown San Diego Partnership
   •   San Diego Regional Chamber of Commerce
                                      ft
   •   Association of Business Trial Lawyers

Distinctions
                   ra


   •   Peer Review Rated AV Preeminent by Martindale-Hubbell
   •   Judicial Review Rated AV Preeminent by Martindale-Hubbell
                  D



   •   Best Lawyers in San Diego, San Diego Magazine
   •   San Diego Super Lawyers
   •   National Super Lawyers, Business Litigation, Corporate Counsel Edition
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                                      Kurt R. Hunt
                                      Partner
                                      kurt.hunt@dinsmore.com

                                      Cincinnati, OH
                                      Tel: (513) 977-8101




                                                            y
Kurt focuses his practice on privacy, cybersecurity, data collection and usage, and technology issues. In that role,



                                                          nl
he advises clients on general corporate and administrative issues, regulatory compliance, and contract
negotiations.
                                                O
He also draws on his broad experience to help a wide variety of clients - ranging from start-up cloud service
providers to Fortune 50 corporations - resolve complex issues relating to their technology, data security, data
breach response, intellectual property, privacy, and marketing needs. He works closely with clients to develop
                                      ft
strategies that help ensure compliance with state privacy laws, including the California Consumer Privacy Act
(CCPA) and New York Department of Financial Services Cybersecurity Regulation, as well as European Union's
                      ra

General Data Protection Regulation (GDPR), the Telephone Consumer Protection Act (TCPA), the CAN-SPAM
Act, the FCC’s Customer Proprietary Network Information (CPNI) regulations, the Children's Online Privacy
Protection Act (COPPA), and the Family Educational Rights and Privacy Act (FERPA) and related student privacy
                     D



laws. He also drafts and negotiates service agreements and other commercial contracts that address complex
privacy and data issues.

Kurt is an experienced litigator and represents clients in state and federal courts, as well as before administrative
agencies. In 2011, he won a landmark case in the U.S. Court of Appeals for the Sixth Circuit against the
Department of Justice, securing his client’s right to bring claims against the Department of Homeland Security for
violations of the Privacy Act.

Services
    •   Litigation
    •   Corporate & Transactional
    •   Privacy, Data Protection & Internet Technologies
    •   Artificial Intelligence, Cybersecurity & Data Privacy
    •   Public Utilities Industry
    •   Life Sciences Privacy & Cybersecurity
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   •   Municipal & Government
   •   TCPA Compliance & Defense
   •   Blockchain Technology & Digital Currency
   •   Venture Capital

Education
   •   University of Michigan Law School (J.D., cum laude, 2007)
   •   Eastern Michigan University (B.S., magna cum laude, 2005)
         o Telecommunications and Film
Bar Admissions
   •   Ohio




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Court Admissions
   •
   •
       U.S. Court of Appeals for the Sixth Circuit

                                                         nl
       U.S. District Court for the Southern District of Ohio
                                                O
   •   U.S. District Court for the Northern District of Ohio

Affiliations/Memberships
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   •   Media Bridges
                   ra

          o Board of Trustees (president 2012 - 2013)
          o Vice president (2011 - 2012)
          o Member (2008 - 2011)
                  D



   •   Radio Free Queen City (WVQC-LPFM), Board of Advisors (2008 - 2012)
   •   The Ohio Center for Law-Related Education, (2009 - 2010), High School Mock Trial Case Committee co-
       chair (2010-2012)
   •   Xavier University, Media Law and Policy, adjunct professor (spring 2010, spring 2011)
   •   Rothenberg and Vine Elementary Schools, tutor (2008-2010)
   •   Ohio State Bar Association
   •   Cincinnati Bar Association
   •   Federal Communications Bar Association
   •   Energy Bar Association
   •   Electric Cooperative Bar Association
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Experience
Pre-Bid Due Diligence
Represented a bidder in connection with the pre-bid due diligence related to a major energy utility acquisition
involving Kentucky, Tennessee, and Indiana legal issues. The ultimate value of the deal for the successful bidder
was reported to be approximately $9.5 billion. The work involved all aspects of public utility regulation and
environmental law, as well as strategizing likely communications with major political stakeholders throughout all
levels of state and local government. Notable areas of representation in this matter included issues involving:

• Regulatory approvals for change in ownership or control of utilities;
• Regulatory approvals for financing applications;
• Regulatory approvals for obtaining certificate of public convenience and necessity;
• Renewable energy contract review;




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• PSC and OSHA complaints;
• Utility supply and vendor contracts;
• Utility tariffs;
• Litigation;
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• Regulatory review of rate-affecting issues;
• Fuel Adjustment Clauses;
• Pollution Control Bond change in control;
• Cost recovery of capital expenditures for pollution control equipment and renewable energy projects;
                                     ft
• Environmental surcharges;
• Projecting future impact of greenhouse gas regulations;
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• Title V air permits;
• Environmental contamination and compliance issues associated with ongoing operations;
• Disposal of coal combustion by-products;
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• General environmental regulatory compliance;
• State and local taxation;
• Real estate and operating leases;
• Franchises, rights-of-way, permitting, planning and zoning, and eminent domain;
• Retail operations review;
• Wholesale electric supply agreements;
• Gas pipeline regulatory issues; and
• Legislative, policy, and strategic planning advice.

Advise hospital on data access arrangement that allows safe patient information sharing
We worked with a hospital to build a data access arrangement that enabled them to share data between coding
staff and off-site providers. We worked with the client to help structure the agreements to ensure protected and
sensitive health care records and information are properly protected, as well as to build policies to ensure controls
are in place.

Advise Parking Company on New Key Card Vendor at College Campus
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We worked with a company that manages vehicle parking. Our client was seeking to replace their current
electronic key cards and access systems and was working with a new software vendor. The system provides
information on each parker, such as their name and status at the institution and also tracks financial information
related to parking fines or tickets.

Advise Pre-paid Card Provider on CAN SPAM and TCPA Compliance
We worked with a prepaid card provider to advise on their CAN SPAM and TCPA compliance issues regarding the
gathering and distribution of customer data. We helped to vet our client’s policies and ensure they remained
strong in the face of evolving legislation and threats.

Advised Client on Policies to Project Customer Data Used in Software Application
Our client developed a new software application that helped customers take inventory of their purchases and also
notifications for recalls, maintenance, upgrades and other services related to their purchase. The application
required gathering a tremendous amount of data, including purchase history, geographic location and other




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potentially sensitive information. We worked with our client to develop policies that dictated how and when this
information could be shared with other businesses, as well as ensuring the data remained protected and was in
compliance with the applicable federal and state laws.

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Build Data Sharing Platform for Client to Enable Information Sharing
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We built a data sharing platform for a retirement community to enable their providers throughout the country to
share information. We advised the client on compliance with myriad of regulations that govern health care data
and ensured their platform met their needs while also remaining protected from potential breaches.
                                     ft

Represent Client in Creation of Loyalty Program
We represented a transportation company in their negotiation with a vendor to implement a new loyalty program
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for their customers. The program required the gathering of customer data, including sensitive information about
location and travel. We worked on behalf of our client to fully vet the vendor and ensure the collection and use of
this information would be in compliance with the appropriate regulations.
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Advise Client on Building a Compliant Database
We advised a sports organization that promotes their game for all ages across the country, on the development of
a software application that required gathering information on players and coaches. Since the application would
involve sharing of data, some of which could be deemed personal or private, we worked with the client to ensure
they remained in compliance with all the applicable federal and state laws governing the collection, distribution
and sharing of such data.

Advise Client on Encryption Laws
Our client, a transport company, was seeking to strengthen their internal security practices relating to data
management. We advised them on the applicable encryption laws, including how to prioritize encryption levels.
We also worked with the client to develop and implement policies to govern future encryption procedures.

Email Spoofing Using Company Officials’ Addresses
Our client, a food manufacturer, noticed a pattern of email attempts, purportedly from company officials,
requesting money wire transfers. We worked with them to determine the email spoofs were coming from an
external source. We then worked with their technical staff to implement measures to ensure the email spoofs were
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eliminated and also helped to put in place policies that would guide potential information breaches that could
occur because of the spoofing.

Represent Credit Union in Data Breach, Advise on Prevention
We represented a credit union that suffered a data breach when a rogue employee made confidential information
public. We assisted the client with the data breach notification process and worked with their technical staff to
perform a risk analysis on the systems and data to determine how the breach may have happened. We
determined the full extent of the breach, and advised the client on implementing internal controls to prevent the
situation from occurring again.

Represent Financial Institution After Potential Data Breach, Advise on Policies
We represented a financial institution after a data breach occurred. Someone broke into our client’s facility and
stole computer equipment and files that contained potentially confidential information. However, the files were
appropriately redacted and the equipment was encrypted, both of which prevented any confidential information




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from being discovered or released. Following the incident, we worked with the client to ensure their policies
remained strong and also evaluated their response to the breach to ensure they remain proactive in the case of
another incident.

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Advice regarding Establishment and Operation of Natural Gas utility (Gas/Water/Sewage)
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We are currently assisting a large, municipal water and sewage utility in Kentucky with respect to its plans to enter
the natural gas business in order to spur economic development in the region. We are advising the client on all
aspects on the statutory and regulatory issues implicated by this new venture, as well as the related issues
implicated by its status as a municipal instrumentality. In addition to helping the client navigate these issues, we
                                     ft

have also been retained to assist with negotiations regarding gas purchase agreements, transmission and
distribution issues, eminent domain issues, and all aspects of the project – “from A to Z” - that will help them
                   ra


secure the supply of gas and deliver it to customers.

Advise clients on compliance issues relating to privacy
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We regularly advise a wide variety of clients on compliance with privacy regulations, including state laws, the
Electronic Communications Privacy Act, Stored Communications Act, Customer Proprietary Network Information
rules, EU Data Protection Directive, the Wiretap Act, and the Gramm-Leach Bliley Act. Our role has included
helping to structure services and internal processes, negotiating service agreements, and responding to specific
(and often immediate) concerns regarding the dissemination of data.

Privacy Act case involving first impression
We successfully briefed and argued an issue of first impression related to the Privacy Act before a three-judge
panel in the Sixth Circuit Court of Appeals (Shearson v. Dept. Homeland Security, 638 F.3d 498 (6th Cir. 2011)).

Resolved dispute with FCC on behalf of cable company
We represented a cable company that was contacted by the Federal Communications Commission regarding
alleged noncompliance with the FCC’s leakage reporting and annual reporting, found on forms 320 & 325. The
client was threatened with a loss of their license. We worked on behalf of the client to negotiate with the FCC to
resolve the alleged reporting issues that were noncompliance, and the client was able to avoid all threatened fines
and franchising penalties. We also have advised the client on a number of municipal franchise agreements.
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Advise clients on marketing compliance issues
We routinely counsel a variety of clients, including multimedia, technology and wireless companies on proposed
marketing initiatives for print, TV, radio and internet media. Our role includes reviewing proposed copy, drafting
necessary disclaimers and restrictions, and providing detailed assistance complying with CAN-SPAM, FTC
endorsement rules, the Telephone Consumer Protection Act, and other relevant laws and regulations. Our work
also includes drafting contest/sweepstakes rules and advising on compliance with state and federal contest laws
and rules, as well as advising on contest/sweepstakes rules specific to social media platforms.

IP Licensing/Agreement Experience
Our attorneys have drafted a wide variety of agreements for clients to help them protect their intellectual property.
Since 2011, we have drafted more than 575 total agreements, which can be broken down as follows:

Development Agreements (70)




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    •   Independent Contractor Agreements (15)




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    •   Talent Agreements (15)
    •   Presenter Agreements and Content Provider Agreements (10)
                                                O
    •   Joint Ownership Agreements (10)
    •   Production Agreements (10)
    •   Employee Invention Policy and Agreements (5)
                                      ft

    •   Joint Development Agreements (5)
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Litigation-related/Dispute Agreements (55)

    •   Pre-Litigation Settlement Agreements (15)
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    •   Trademark Trial & Appeal Board Settlements (15)
    •   Co-Existence Agreements (10)
    •   Litigation Settlement Agreements – Patent Disputes (5)
    •   Litigation Settlement Agreements – Trademark Disputes (5)
    •   Joint Defense Agreements (5)


License Agreements (155)

    •   Software License Agreements (35)
    •   Patent License Agreements (35)
    •   Trademark License Agreements (20)
    •   End User License Agreements (15)
    •   Subscription Agreements (10)
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   •   Software as a Service (SaaS Agreements (10)
   •   Channel Partner Agreements (10)
   •   Pilot Agreements (10)
   •   Copyright License Agreements (5)
   •   OEM License Agreements (5)


IT-related Agreements (170)

   •   Terms of Use and Privacy Policy (35)
   •   Healthcare-related IT Agreements (30)
   •   Software IT Agreements (25)




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   •   Hardware IT Agreements (25)
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   •
       Master Client/Service Agreements (25)
       Support and Maintenance IT Agreements (15)
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   •   Reseller Agreements (15)


Research Agreements (55)
                                     ft

   •   Advanced Research Agreements (25)
                  ra

   •   Materials Transfer (20)
   •   Cooperative Research and Development Agreements (10)
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Misc. Agreements (55)

   •   Non-Disclosure Agreements (25)
   •   Participant Agreements (10)
   •   Exclusive Sales Representation Agreements (5)
   •   Termination Agreements (5)
   •   Domain Purchase Agreements (5)
   •   Domain Escrow Agreements (5)
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Access Reform (Telecommunications)
We represent 13 of Kentucky’s 15 local rural exchange carriers (RLECs) in connection with the Kentucky
Public Service Commission’s ongoing administrative case regarding potential reforms to intrastate
access charges, high cost support, and universal service. This representation is ongoing.
Assist client in creating ride share program to help patients get to doctor appointments


We worked with a subsidiary of a transport group on a medical ridesharing program. Our client
contracted with taxi companies to arrange rides for patients to get to doctor appointments. The nature
of the program provided personal information to the taxi companies, including a person’s name,
address and doctor, so we worked with them to structure data access arrangements that ensured
sensitive and confidential information was protected.




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Dispute Over Jurisdictionality of Mobile to Landline Calls
When the Brandenburg Telephone Company needed Sprint to pay its access charges, it turned to Dinsmore.



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Sprint had been withholding millions of dollars in access charges billed to it pursuant to Brandenburg Telephone
Company’s filed and approved tariffs. Sprint claimed that although the tariff language jurisdictionalized access
traffic as inter/intrastate on the basis of a juxtaposition of the called and calling party numbers, the advent of
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wireless telecommunications required jurisdictionalization based on the location of the wireless switch handling
the traffic. Before the Franklin Circuit Court, Dinsmore successfully argued that the plain language and historical
application of Brandenburg Telephone Company’s tariff prevailed. As the Franklin Circuit Court agreed in
                                     ft
reversing the Commission, any other outcome would have resulted in an impermissible violation of Brandenburg
Telephone Company’s constitutional due process rights. As a result of the reversal, the client will be able to
                   ra

recover a substantial amount of unpaid charges, and it establishes an important precedent for other wireline
carriers across the Commonwealth.

In-House Counsel
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We serve as the in-house legal department for Bluegrass Cellular, a commercial mobile radio service (CMRS or
cellular) provider throughout Central Kentucky. We assist the client with a wide variety of needs, including
negotiating and drafting customer service agreements, vendor agreements, roaming agreements and intercarrier
agreements, as well as offering counsel on regulatory compliance, cell tower siting and construction, and other
general litigation needs.




Publications
March 8, 2024
FTC Levels the Playing Field Between Banks and Other Financial Institutions
Law360 Expert Analysis

January 23, 2024
2024 Brings New Cyber-Related Legal Obligations for Banks and Fintech Firms
FinXTech.com
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October 12, 2023
Blackbaud Reaches $49.5 Million Multistate Settlement Over Data Breach

November 1, 2021
Federal Trade Commission Updates Cybersecurity “Safeguards Rule” for Financial Institutions

July 14, 2021
Ohio Introduces Data Privacy Legislation

March 8, 2021
Virginia Becomes 2nd State to Adopt a Comprehensive Consumer Data Privacy Law

November 16, 2020
California Approves the CPRA, a Major Shift in U.S. Privacy Regulation




                                                      y
July 16, 2020
European Court of Justice Invalidates Privacy Shield, Upends Cross-Border Transfers

March 25, 2020
                                                    nl
Tips to Avoid Cyberattacks during the COVID-19 Pandemic
                                            O
March 24, 2020
How to Communicate About Possible COVID-19 Exposure Without Violating Privacy Rules
                                  ft
December 18, 2019
CCPA: The 1st Major American Foray into Comprehensive Data Privacy Regulation
                  ra


July 2, 2018
How Financial Institutions Should Prepare For and Respond to a Cybersecurity Incident
Bank Director
                 D



February 14, 2017
Cybersecurity Best Practices for Corporate Leadership

January 6, 2017
New Risk in Offering Free Credit Monitoring to Customers Affected by Data Breaches

December 20, 2016
GDPR: Looking to the Future of EU Data Privacy

November 1, 2016
Timing Is Everything in Data Breach Investigations and Disclosures

August 10, 2016
FCC Provides Guidance to Public Utilities on Autodialing and Prerecorded Calls

August 2, 2016
E.U.-U.S. Privacy Shield: A new, valuable tool for cross-border data transfers
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June 14, 2016
Cybersecurity Alert: Ransomware Attacks on the Rise

November 4, 2015
EU-US Safe Harbor Invalidated: What Now?

October 9, 2015
EU-U.S. Safe Harbor Invalidated – What It Means for Your Business




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                                      Kelli A. Lee
                                      Of Counsel
                                      kelli.lee@dinsmore.com

                                      Pittsburgh, PA
                                      Tel: (412) 288-5852




                                                            y
Kelli is a litigator with broad commercial litigation experience that focuses on financial services, particularly



                                                          nl
relating to consumer retail products and mortgage lending and servicing claims such as breach of contract, state
consumer protection statutes, negligence, fraud, and UCC compliance. She has represented financial industry
                                                O
clients in federal and state courts related to Real Estate Settlement Procedures, Truth in Lending Act, Gramm-
Leach-Bliley Act, Fair Debt Collections Practices Act, Electronic Funds Transfer Act, Fair Credit Reporting Act,
Telephone Consumer Protection Act, and Fair and Accurate Credit Transactions Act.
                                      ft
Her experience includes all stages of litigation, including first and second chair trial experience resulting in
directed verdicts for a national finance company. Kelli’s practices also included appellate experience, including
                      ra

argument before the Pennsylvania Superior Court. In addition, Kelli has in-house experience, where she oversaw
litigation, discussed settlements, and negotiated vendor contracts. This valuable experience allows Kelli to
anticipate concerns and provide thoughtful guidance to her clients.
                     D



Services
    •   Litigation

Education
    •   Duquesne University School of Law (J.D., cum laude, 2010)
    •   Duquesne University (B.A., magna cum laude, 2007)

Bar Admissions
    •   Pennsylvania


Court Admissions
    •   U.S. District Court for the Western District of Pennsylvania
    •   U.S. District Court for the Eastern District of Pennsylvania
    •   U.S. District Court for the Middle District of Pennsylvania
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                                     Lexi J. Epley
                                     Associate
                                     lexi.epley@dinsmore.com

                                     San Diego, CA
                                     Tel: (619) 400-0489




                                                          y
Lexi focuses her practice on complex civil litigation matters. Her previous experience includes counseling clients



                                                        nl
on a variety of issues regarding consumer class actions, personal injury, construction, professional liability, and
insurance defense. She received her J.D. from University of San Diego School of Law.
                                               O
Services
    •   Litigation

Education
                                     ft

    •   University of San Diego School of Law (J.D., cum laude, 2021)
                      ra

           o San Diego Law Review, associate member
    •   University of Nevada (B.A., cum laude, 2018)
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Bar Admissions
    •   California
    •   Nevada

Affiliations/Memberships
    •   Lawyer’s Club of San Diego
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                                     Lauren K. Levenson
                                     Associate
                                     lauren.levenson@dinsmore.com

                                     Pittsburgh, PA
                                     Tel: (412) 339-5612




                                                          y
Lauren is a civil litigator whose practice includes both commercial and construction litigation. Her litigation cases



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in the construction sector involve both commercial and residential construction, including construction payment
disputes, defect and/or delay claims, and personal injury defense. She has extensive experience in all facets of
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litigation while handling a diverse array of construction and business disputes on behalf of local and national
companies. Lauren is involved in all areas of case management and phases of litigation, with experience including
research, drafting pleadings, preparing and responding to discovery, taking and defending depositions, drafting
motions and pre-trial briefs, and involvement in trial preparation and settlement negotiations.
                                     ft

Her commercial litigation practice also involves representation of companies and individuals facing issues
                      ra

including cease and desists, employment contracts, non-disclosure agreements, disputes regarding non-
competes and non-solicitation provisions, and general day-to-day business advice. Lauren handles these issues
in the most efficient and cost-effective way possible.
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Lauren is dedicated to building her own book of clients, with a focus on young, ambitious professionals and
entrepreneurs in the Pittsburgh community seeking to establish and/or grow their businesses. Her clients admire
her passion and interest in their companies, allowing her to zealously advocate for favorable resolutions.

When not at work, Lauren enjoys spending time with her family and friends, working out with her personal trainer,
and prioritizing her self-care. As a Pittsburgh native, she is also a huge Steelers fan.

Services
    •   Litigation

Education
    •   University of Pittsburgh School of Law (J.D., cum laude, 2019)
           o Order of the Coif
           o Journal of Law and Commerce, staff editor
           o Dean’s Scholarship (2017-2019) and Law Fellows Scholarship (2017-2018)
           o Pitt law ambassador
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          o Legal Writing & Analysis teaching assistant
          o CALI Excellence for the Future Award: Federal Income Tax, Expert Witness
   •   University of Florida (B.A., cum laude, 2015)
          o Criminology and Law
Bar Admissions
   •   Pennsylvania
   •   Western District of Pennsylvania




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                                      Lovee Sarenas
                                      Partner
                                      lovee.sarenas@dinsmore.com

                                      Los Angeles, CA
                                      Tel: (213) 335-7753




                                                            y
Lovee concentrates her practice on trustee representations in bankruptcy cases under Chapter 7 of the



                                                          nl
Bankruptcy Code and representing creditors’ committees and distressed small businesses in Chapter 11 cases.
She has assisted and worked with institutional banks, insurance companies, airlines, storage facilities,
                                                O
commercial property owners, small businesses, and turnaround professionals.

Her experience includes counseling international companies in major retail bankruptcy cases; handling
bankruptcy-related real estate issues; defending institutional clients in a variety of bankruptcy litigation, avoidance
                                      ft
actions and fraudulent transfer claims; and serving as debtor-in-possession counsel to a B2B e-commerce
company in an intellectual property sale. She has experience with PACA claims and bankruptcy-related issues in
                    ra

farm business reorganizations. Having a dedicated and broad bankruptcy experience enables her to create
practical, cost-efficient, and innovative solutions to a variety of insolvency situations her clients may confront.
Throughout her career, Lovee has played a critical role in a number of reorganization, bankruptcy litigation and
                   D



insolvency matters, including:

    •   Representing several Official Committees of Unsecured Creditors in various reorganization cases
        including the case of Cornerstone Apparel, Inc. which resulted in a $9.5 million settlement distribution to
        unsecured creditors;
    •   Working with defense team for an aviation client in a fraudulent transfer claim that reduced a $5 million
        claim to a de minimus settlement amount;
    •   Successfully representing and defending several institutional clients comprised of banks, mortgage
        lenders, investment and accounting firms, and a national storage facility owner in bankruptcy
        reorganization matters, and bankruptcy and avoidance litigation;
    •   Serving as counsel to international clients from China, Korea and United Kingdom in the retail industry and
        commercial landlords across California in national retail bankruptcies;
    •   Serving as co-counsel for a farming operation with over 3,000 seasonal agricultural workers in the sale of
        its farming business in Central California as part of its chapter 11 plan;
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    •   Serving as debtor-in-possession counsel in the auction sale of the client’s web services patent which sold
        for $15.5 million from a $1 million opening bid thereby resulting in a 100% distribution to unsecured
        creditors; and
    •   Working with general bankruptcy counsel team that assisted in the reorganization of a winery in Napa,
        California.
Lovee is the first Filipino-American to serve as a judicial clerk for two bankruptcy judges: the late Richard M.
Neiter and Ellen A. Carroll (ret.) of the U.S. Bankruptcy Court for the Central District of California. Before she
clerked with Judge Neiter, Lovee practiced as a restructuring attorney for a prominent chapter 11 boutique
bankruptcy firm in Northern California.

She is also active in the community, having been recognized on account of several leadership roles in bar and
community organizations in Los Angeles, including the Los Angeles Bankruptcy Forum, the Central District U.S.
Bankruptcy Court Small Business Reorganizational Task Force, UPAAGLA Board of Directors, and the California




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Bankruptcy Forum. She is currently the vice president of the Los Angeles Bankruptcy Forum after a successful
year chairing its Diversity Equity & Inclusion Committee where she co-founded the Hon. Richard M. Neiter



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Externship Fellowship that awards stipends to law students from underrepresented backgrounds who are full-time
externs with the federal bankruptcy judiciary in the Central District.
                                                  O
She is a member of the USC Gould School of Law adjunct faculty and serves as an adjunct professor of
bankruptcy law at Southwestern Law School in Los Angeles.

Services
                                       ft

    •   Bankruptcy & Restructuring
                      ra


Education
    •   Southwestern University School of Law (J.D.)
    •
                     D



        University of the Philippines (B.A.)

Bar Admissions
    •   California


Court Admissions
    •   U.S. District Court for the Central District of California
    •   U.S. District Court for the Eastern District of California
    •   U.S. District Court for the Northern District of California
    •   U.S. District Court for the Southern District of California
    •   U.S. Court of Appeals for the Ninth Circuit

Affiliations/Memberships
    •   Los Angeles Bankruptcy Forum Executive Committee
    •   Los Angeles Bankruptcy Forum Vice President
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•   U.S. Bankruptcy Court Central District of California Small Business Reorganization Task Force (2020)
•   UP Alumni Association of Greater Los Angeles Board Member and Secretary
•   Los Angeles Bankruptcy Forum Board Member
•   Philippine American Bar Association
•   Los Angeles Catholic Lawyers Association
•   American Bankruptcy Institute
•   Los Angeles Bankruptcy Forum past Membership Co-Chair
•   United States Bankruptcy Courts’ Bankruptcy Forms Modernization Project Task Force (2010)
•   Task Force on Chapter 11 Individual Cases, United States Bankruptcy Court-Central District (2010)




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                                      Matthew J. Stockl
                                      Associate
                                      matthew.stockl@dinsmore.com

                                      Los Angeles, CA
                                      Tel: (213) 596-0008




                                                          y
Matt focuses his practice on representing debtors, secured and unsecured creditors, and other stakeholders in a



                                                        nl
broad range of matters, including Chapter 11 cases, out-of-court workouts, liquidations, and complex business
litigation in both federal and state court.
                                               O
Matt regularly advises and develops strategies and creative solutions for clients in distressed-debt situations. His
experience encompasses all facets of bankruptcy and insolvency, including: Chapter 11 plan restructuring and
related litigation, 363 sales, debtor-in-possession financing, priority disputes, fraudulent transfer and preference
                                      ft
actions, bankruptcy appeals, acquisitions and sales of distressed assets, assignments for the benefit of creditors,
Uniform Commercial Code Article 9 foreclosure sales, and all phases of commercial disputes, ranging from pre-
                      ra

litigation demands to litigation of commercial claims and defenses.

Matt clerked for the Honorable Janet S. Baer, United States Bankruptcy Court, Northern District of Illinois. Matt
also served as a law clerk for the Honorable Robert E. Littlefield, Jr. (Chief Judge), United States Bankruptcy
                     D



Court, Northern District of New York, and as a judicial intern for the Honorable Cecelia G. Morris, United States
Bankruptcy Court, Southern District of New York.

Services
    •   Corporate & Transactional
    •   Bankruptcy & Restructuring

Education
    •   Albany Law School (J.D., cum laude)
    •   McGill University (Bachelor of Commerce)

Bar Admissions
    •   California
    •   Illinois
    •   New York
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Court Admissions
   •   U.S. District Court for the Central District of California
   •   U.S. District Court for the Southern District of California
   •   U.S. District Court for the Northern District of Illinois
   •   U.S. District Court for the Central District of Illinois
   •   U.S. District Court for the District of Nebraska
   •   U.S. District Court for the Middle District of Pennsylvania
   •   U.S. District Court for the Eastern District of Wisconsin
   •   U.S. District Court for the Western District of Wisconsin

Affiliations/Memberships




                                                              y
   •   American Bankruptcy Institute
   •   Association of Business Trial Lawyers

Distinctions
                                                            nl
                                                  O
   •   Best Lawyers©
         o "Ones to Watch" in Bankruptcy and Creditor Debtor Rights/Insolvency and Reorganization Law
              (2021-2024)
                                       ft
   •   Illinois Super Lawyers - Rising Star®
            o Bankruptcy (2019-2021)
                    ra


   •   National Conference of Bankruptcy Judges’ Next Generation Program (2017)

Languages
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   •   French
   •   Spanish
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                                      Tyler Powell
                                      Of Counsel
                                      tyler.powell@dinsmore.com

                                      Lexington, KY
                                      Tel: (859) 425-1046




                                                           y
Tyler has nearly 20 years of experience in the fields of bankruptcy, creditor’s rights, loan modifications and



                                                         nl
restructuring, and commercial litigation. Over his career, he has represented both debtors and creditors in
commercial and consumer bankruptcy cases, and this experience provides clients with a unique insight into what
                                                O
to expect in whatever cases they have. This work has ranged from representing utilities and other creditors in
large chapter 11 cases in New York City and Delaware, defending and bringing preference and fraudulent
conveyance cases, and obtaining stay relief in a consumer case here in Kentucky.
                                      ft
Tyler’s courtroom experience is not limited to bankruptcy court; for the better part of his career, Tyler has
represented national and regional lenders in matters in state courts. Tyler has appeared in dozens of Kentucky
                   ra

state courts with his practice encompassing foreclosures, collection actions (garnishments, writs of possession,
and post-judgment asset discovery), and lien priority disputes between creditors on real property or personal
property pursuant to Article 9 of the UCC. Tyler also recognizes that his clients may need to resolve issues without
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litigation, and he has substantial experience reviewing client loans for issues or defects and documenting
agreements as part of loan workouts or forbearances, deeds in lieu of foreclosure, or other agreements between
debtors and their creditor. Tyler has been asked to speak or present to numerous groups to share his knowledge.

Tyler also serves as the primary outside counsel to a local video game company. In his time working with the
company, it has grown from a start-up to a successful and well known studio that has released multiple games
that have sold millions of copies. His diligence allows his client to focus on what it does best – making games.

Prior to joining Dinsmore, he clerked for Bankruptcy Judge James Massey in Atlanta, Georgia and then entered
private practice in central Kentucky. Most recently, Tyler was the primary outside counsel in the area of creditor’s
rights for a large regional bank. Tyler received his J.D. from Washington University in St. Louis School of Law.

Services
    •   Bankruptcy & Restructuring
    •   Corporate & Transactional

Education
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   •   Washington University, St. Louis (J.D., 2003)
   •   University of Kentucky (B.A., 2000)
          o History
Bar Admissions
   •   Kentucky


Court Admissions
   •   U.S. District Court for the Eastern District of Kentucky
   •   U.S. District Court for the Western District of Kentucky
   •   U.S. Bankruptcy Court for the Eastern District of Kentucky




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   •   U.S. Bankruptcy Court for the Western District of Kentucky

Affiliations/Memberships
   •
   •
       Kentucky Bar Association
       Fayette County Bar Association                    nl
                                               O
   •   Lexington Montessori School - Parent Board of Directors 2022
                                     ft

Publications
                   ra


January 16, 2024
Debtors Doing Illegal Things
American Bankruptcy Trustee Journal
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February 24, 2023
Utility Companies Face Credit Risk from Bankruptcies of Crypto Miners
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                                     Paige E. Hornback
                                     Associate
                                     paige.hornback@dinsmore.com

                                     Louisville, KY
                                     Tel: (502) 540-2594




                                                             y
Paige focuses her practice on commercial litigation. She has experience working on complex litigation matters in



                                                           nl
state, federal, and appellate courts. Paige has previously represented medical providers, business owners, and
government entities in matters involving medical malpractice, premises liability, employment law, and municipal
                                               O
and governmental law. She has a broad range of experience that enables her to approach complex issues from
multiple standpoints to serve clients’ needs. Paige received her J.D. from University of Kentucky College of Law.

Services
                                     ft
    •   Litigation

Education
                      ra


    •   University of Kentucky College of Law (J.D., magna cum laude, 2021)
           o CALI Award for Torts
                     D



           o CALI Award for Administrative Law
           o Kentucky Law Journal, Production Editor
    •   University of Louisville (B.S., cum laude, 2018)

Bar Admissions
    •   Kentucky
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                                      Spencer K. Gray
                                      Associate
                                      spencer.gray@dinsmore.com

                                      Lexington, KY
                                      Tel: (859) 425-1091




                                                           y
Spencer focuses his practice on commercial litigation, bankruptcy, and restructuring. Assisting organizations of all



                                                         nl
sizes, he is experienced guiding clients through complex issues, helping them achieve favorable outcomes with
consideration of their time, resources, and financial situations. This includes counseling clients on resolving
                                                O
conflicts at every stage, from early guidance on sound business practices to finding solutions through disputes,
civil actions, and arbitration. Spencer provides strategic advice to help clients achieve their desired results
efficiently and effectively. He also counsels clients on the many aspects of insolvency situations, including
litigation, claims practice, avoidance actions, and financial workouts. He helps corporate clients reach their
                                      ft
objectives through measures such as the purchase and sale of assets, foreclosure, renegotiation, and
reorganization.
                      ra


Previously, Spencer worked as a judicial law clerk. This experience provided firsthand knowledge of the inner
workings of federal courts, which he regularly leverages to attain clients’ objectives.
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Services
    •   Corporate & Transactional
    •   Litigation

Education
    •   University of Kentucky College of Law (J.D., magna cum laude, 2018)
           o Order of the Coif
    •   Eastern Kentucky University (B.S., 2013)

Bar Admissions
    •   Kentucky


Court Admissions
    •   U.S. District Court for the Western District of Kentucky
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•   U.S. District Court for the Eastern District of Kentucky
•   U.S. Bankruptcy Court for the Western District of Kentucky
•   U.S. Bankruptcy Court for the Eastern District of Kentucky




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                                      Sara A. Johnston
                                      Partner
                                      sara.johnston@dinsmore.com

                                      Lexington, KY
                                      Tel: (859) 425-1021




                                                            y
Sara focuses her practice on corporate litigation, lending disputes, and debt restructuring. Sara primarily advises



                                                          nl
and represents businesses and lenders facing financial and real property disputes. An extensive lending and
restructuring background enables her to navigate a variety of complex issues concerning creditor, debtor, trustee,
                                                O
receiver, committee, real estate and corporate matters. She has experience representing lenders, borrowers,
landlords, tenants, asset purchasers, trade vendors, farmers, and equity holders in various scenarios both inside
and outside of the courtroom. Sara’s experience includes restructuring businesses, preserving and litigating
creditor claims, avoidance actions, receiverships, foreclosures, bankruptcy, and asset purchases.
                                      ft

Services
                      ra


    •   Corporate & Transactional
    •   Litigation
                     D



    •   Bankruptcy & Restructuring

Education
    •   University of Kentucky College of Law (J.D., 2015)
    •   Auburn University (B.A., summa cum laude, 2011)
          o Political Science & Psychology
Bar Admissions
    •   Kentucky


Court Admissions
    •   Kentucky Supreme Court
    •   U.S. District Court for the Eastern District of Kentucky
    •   U.S. District Court for the Western District of Kentucky

Affiliations/Memberships
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   •   Kentucky Bar Association, Elder Law Section Legislative Committee, chair
   •   Legislative and Policy Review Committee for the Working Interdisciplinary Networks of Guardianship
       Stakeholders, chair
   •   Legal Aide of the Bluegrass, volunteer
   •   Accredited with the U.S. Department of Veterans Affairs
   •   The Willows, Advisory Board member
   •   Kentucky Guardianship Association, board member

Distinctions
   •   Kentucky Rising Stars®
         o For Bankruptcy: Business (2019-2024)




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   •   Best Lawyers ®
         o Litigation - Bankruptcy (2023-2024)
          o Litigation - Banking and Finance (2024)

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                                    Suzanne M. Marino
                                    Associate
                                    suzanne.marino@dinsmore.com

                                    Louisville, KY
                                    Tel: (502) 540-2510




                                                         y
Suzy focuses her practice on commercial litigation. She has experience helping clients navigate commercial



                                                       nl
disputes pre-suit, in administrative proceedings, in litigation, and through any appeals that may follow. Her
experience includes claims arising under the Kentucky Open Records Act, zoning and property disputes and
                                              O
appeals, and defending medical malpractice and professional negligence matters. She also has experience
litigating a variety of federal and state constitutional claims.

In her Open Records practice, Suzy has experience and success with every aspect of Open Records disputes,
                                     ft
from drafting or responding to a request all the way through appeals to the Attorney General and subsequent
litigation. She has successfully advocated for public agencies as well as record requesters. In her zoning and
                      ra

property dispute practice, Suzy works with clients ranging from property owners and developers to local
governmental agencies in connection with development and zoning decisions. In addressing clients’ unique and
complex issues, Suzy provides thoughtful, pragmatic, and innovative strategies to serve the needs and goals of
                     D



each individual client.

Suzy received her J.D. from the University of Louisville Brandeis School of Law. After law school, she served as a
federal judicial law clerk for Judge Rebecca G. Jennings of the U.S. District Court for the Western District of
Kentucky.

Services
    •   Litigation
    •   First Amendment & Media
    •   Medical Malpractice
    •   Health Care Industry
    •   Education Industry

Education
    •   Brandeis School of Law at the University of Louisville (J.D., magna cum laude, 2020)
           o University of Louisville Law Review, senior symposium editor
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          o Saul Lefkowitz Moot Court Competition, competitor
          o CALI Awards for Highest Grade: Constitutional Law and Lawyering Skills
   •   San Diego State University (B.A., 2016)

Bar Admissions
   •   Kentucky


Court Admissions
   •   U.S. District Court for the Western District of Kentucky




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                                      Sarah S. Mattingly
                                      Partner
                                      sarah.mattingly@dinsmore.com

                                      Louisville, KY
                                      Tel: (859) 425-1096

                                      Lexington, KY
                                      Tel: (859) 425-1096




                                                          y
Sarah focuses her practice on commercial litigation and banking and finance law. She assists clients with



                                                        nl
everything from everyday issues, questions, and problems to complex challenges, such as contested litigations,
complex bankruptcies, real estate, and general transactions. She regularly appears in state and federal courts to
                                               O
advocate for her clients.

Her experience includes general creditors’ rights (lender liability defense, actions against borrowers and
guarantors, writs of execution/writs of possession, wage and non-wage garnishments, asset depositions and
                                       ft
investigations, and fraudulent transfer investigation, prosecution, and settlement); bankruptcy (commercial and
consumer Chapter 11, 7, 13, or 12); and workouts (forbearance agreements, deeds in lieu of foreclosure, loan
                   ra

assumption/modification, and loan sales and assignments). She also handles foreclosure/collateral actions
(judicial and non-judicial foreclosures, mortgage enforcement and property protection, mortgages in possession,
enforcement of assignments of leases and/or rents, consensual and court-appointed receiverships, property
                  D



management issues, real estate title issues, and claims, sales and short sales, UCC Article 9 rights and
dispositions, mechanic’s lien, judicial lien, and tax lien foreclosures and litigation, and OREO sales, property
management, and eviction); and retail banking disputes (UCC Article 3 and 4 claims, Electronic Funds Transfer
Act and Regulation E claims, Expedited Funds Availability Act and Regulation CC claims, deposit account
disputes, CD, trust, and restrict accounts issues, and fraud loss claims).

Services
    •   Corporate & Transactional
    •   Bankruptcy & Restructuring
    •   Banking & Financial Services

Education
    •   University of Kentucky College of Law (J.D., 2011)
    •   Centre College (B.A., 2008)

Bar Admissions
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   •   Kentucky


Court Admissions
   •   U.S. Court of Appeals for the Sixth Circuit
   •   U.S. District Court for the Eastern District of Kentucky
   •   U.S. District Court for the Western District of Kentucky
   •   U.S. Bankruptcy Court for the Eastern District of Kentucky
   •   U.S. Bankruptcy Court for the Western District of Kentucky
   •   U.S. Bankruptcy Court for the District of Colorado
   •   U.S. District Court for the District of Maryland




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   •   U.S. Bankruptcy Court for the District of Maryland
   •   U.S. District Court for the District of Nebraska
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   •
       U.S. Bankruptcy Court for the District of Nebraska
                                                          nl
       U.S. District Court for the Eastern District of Wisconsin
                                                O
Affiliations/Memberships
   •   Commerce Lexington Ambassador
                                      ft
   •   Central Kentucky American Inn of Courts
   •   Kentucky Bar Association
                   ra


   •   Young Lawyers Association
   •   Fayette County Bar Association, CLE Committee
                  D



   •   Opportunity for Work & Learning (OWL), Fundraising Committee

Distinctions
   •   Kentucky Rising Star®
         o For Banking (2021)



Publications
August 25, 2022
A Refresher on Personal Guaranty for Community Banks
ICBB

March 1, 2017
New Kentucky Licensing Requirements for Mortgage Servicers
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November 2, 2016
Prepaid Banking Products To Be Regulated Like Credit Cards




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                                     Tyler J. Mitchell
                                     Associate
                                     tyler.mitchell@dinsmore.com

                                     Indianapolis, IN
                                     Tel: (317) 860-5354




                                                         y
Tyler’s practice focuses on civil litigation, both commercial and tort. He has experience representing clients



                                                       nl
against environmental claims brought by local and federal governmental bodies, catastrophic bodily injury and
wrongful death matters, and various commercial disputes.
                                              O
Tyler previously served as a Judicial Fellow with the North Carolina Judicial Branch, wherein he assisted judges of
the North Carolina Superior Court with particularly complex matters as designated by the Chief Justice. He
received his J.D. from The University of North Carolina School of Law.
                                     ft

Services
                      ra

    •   Litigation

Education
    •   University of North Carolina School of Law (J.D., 2018)
                     D



    •   The Citadel (B.A., 2015)
          o Political Science
           o Minor in Southern Studies
           o President, Pi Sigma Alpha (Political Science Honor Society)
Bar Admissions
    •   District of Columbia
    •   Indiana
    •   North Carolina
    •   South Carolina
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                                     Vanessa E. Rodriguez
                                     Associate
                                     vanessa.rodriguez@dinsmore.com

                                     San Diego, CA
                                     Tel: (619) 400-0476




                                                         y
Vanessa focuses her practice on business restructuring. Her experience includes performing legal research,



                                                       nl
analyzing case-related documents and evidence, and handling client relationships. Vanessa has also drafted
pleads, motions, loan documents, discovery requests and responses. She received her J.D. from Thomas
                                               O
Jefferson School of Law.

Services
   •   Corporate & Transactional
                                     ft

Education
                     ra

   •   Thomas Jefferson School of Law (J.D., magna cum laude)
         o CALI Award in Remedies
           o Moot Court
                    D



   •   University of California, Riverside (B.A.)

Bar Admissions
   •   California

Languages
   •   Spanish
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                                      Yosina M. Lissebeck
                                      Partner
                                      Yosina.Lissebeck@dinsmore.com

                                      San Diego, CA
                                      Tel: (619) 400-0473




                                                          y
As a partner of counsel, Yosina is a highly accomplished professional known for her expertise in insolvency and



                                                        nl
restructuring cases, as well as commercial and business litigation matters. Yosina is a trusted advisor who has
offered invaluable insights and innovative strategies tailored to the unique circumstances of numerous trustees,
                                               O
debtors, companies, receivers, stakeholders, and creditors. Her exceptional problem-solving skills and meticulous
attention to detail have led to successful resolutions of complex cases, preserving value for all parties involved.
She possesses a versatile skillset as an attorney and has established herself as a skilled litigator, representing
clients in court for law and motion matters, evidentiary hearings and trials. Yosina also adeptly handles
                                      ft
compliancy issues, contract disputes, fraud claims, and provides valuable assistance with receivership matters.
She earned her J.D. from the California Western School of Law.
                      ra


Services
    •   Corporate & Transactional
                     D



    •   Bankruptcy & Restructuring

Education
    •   California Western School of Law (J.D., 1998)
    •   University of California, Santa Barbara (B.A., 1995)
           o Political Science
Bar Admissions
    •   California

Affiliations/Memberships
    •   Member of the Federal Bar Association, San Diego Chapter, Publicity & Bankruptcy Liaison Officer
    •   Member of the California State Bar Association, Federal Courts Committee
    •   Member of the San Diego County Bar Association
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Publications
January 16, 2024
Debtors Doing Illegal Things
American Bankruptcy Trustee Journal




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            Claims, Consumer Rejections Claims and Administrative Claims (143576-7)



                                            FEES
                NAME                TITLE           RATE       HOURS     TOTAL FEES
    Christopher Celentino     Partner              $835.00      11.10      $9,268.50
    Yosina M. Lissebeck       Partner              $745.00      33.20     $24,734.00
    Christopher B. Ghio       Partner              $625.00       6.00      $3,750.00
    M. Tyler Powell           Partner              $595.00      15.30      $9,103.50
    Spencer K. Gray           Associate            $475.00      13.10      $6,222.50
    Jeremy B. Freedman        Associate            $465.00      14.40      $6,696.00
    Jacob R. Bothamley        Associate            $405.00       1.20       $486.00
                                                     TOTALS     94.30     $60,260.50
    Date            Name      Hours    Narrative
1   7/9/2024    C Celentino      0.3   Review and znalyze issues, confer re team meeting and task assignments
1   7/9/2024    W Yones          2.1   Take photos of computer modems, gather information regarding serial numbers and
                                       information for each computer used by Debtor for inventory
1    7/9/2024   Y Lissebeck      0.5   Review emails from Trustee re agenda for team meeting and tasks assigned to various
                                       attorneys, review file and draft response with details to discuss
1   7/11/2024   C Celentino      0.4   Prepare supplemental declaration re disclosure of employment; conference with Atty
                                       Lissebeck re same
1   7/11/2024   Y Lissebeck      0.6   Review and revise supplemental declaration re disclosure of employment
1   7/11/2024   Y Lissebeck        1   Meet with trustee team to discuss case status and strategy including plan, voting, claims,
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                       objections and litigation
1   7/12/2024   Y Lissebeck      1.1   Meet with OCC and trustee team to review case status and strategy, issues related to
                                       plan, fee applications and claims
1    8/1/2024   C Celentino      0.4   Review monitor report and finalize for submission
1    8/6/2024   C Celentino        3   Conference with Trustee Marshack and Atty Hays re case strategy and status
1    8/6/2024   Y Lissebeck        3   Meet with trustee and E. Hays to discuss case strategy and status related to entire case
                                       and assignments moving forward
1    8/8/2024   Y Lissebeck      2.5   Review files and documents re secured claims and draft detailed analysis of all 23
                                                                                                                                    Main Document




                                       secured creditor claims, case status, resolutions, and amounts at issue for use in status
1    8/8/2024   Y Lissebeck      0.1   Provide detailed analysis to trustee for use in status report
1    8/9/2024   Y Lissebeck      0.3   Telephone call with trustee re case status and information for law360 article re secured
                                       creditor issues
1    8/9/2024   Y Lissebeck      0.5   Review and revise email to D. Connolly re secured creditor litigation for law 360 article
1   8/12/2024   C Celentino      0.2   Review and analyze email from Trustee re master task chart and conference lead team re
                                       response
1   8/12/2024   Y Lissebeck      0.2   Review email from trustee re master task chart, forward chart to C. Celentino and C. Ghio
                                                                                                                                                     Page 179 of 501




                                       for comment, and respond to trustee
1   8/15/2024   C Celentino      1.6   Prep for and attend Forbes reporter interview
1   8/15/2024   Y Lissebeck      2.5   Review and revise status report
1   8/15/2024   Y Lissebeck      0.2   Review and respond to further emails re revised status report
1   9/18/2024   Y Lissebeck      0.1   Review various emails from N. Cooper re MOR and accounting information to report
1   9/19/2024   C Celentino      0.2   Review and analysis re various emails from D. Mehra re accounts receivable and MOR
                                       and conference with team re reporting and respond thereto re sale receivables and
1   9/19/2024   Y Lissebeck      0.2   Review various emails from D. Mehra re accounts receivable and MOR reporting and
                                       respond thereto re sale receivables and amounts
1   9/23/2024   Y Lissebeck      0.2   Discuss case with Trustee and set meeting time to discuss master task chart
                                                                                                                                                                                   Page 178




1   9/23/2024   Y Lissebeck      0.5   Update and and review master task chart and forward to trustee for meeting
                                                                                                                                                                               EXHIBIT "D"
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                                                                       EXHIBIT "D"
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                                Employment Applications (143576-2)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00      6.90     $5,761.50
    Yosina M. Lissebeck          Partner              $745.00      1.70     $1,266.50
                                                        TOTALS     8.60     $7,028.00
     Date            Name     Hours    Narrative
2   7/10/2024   C Celentino      0.8   Discuss OUST with examiner
2   7/22/2024   C Celentino      0.9   Conference concerning appt of fee examiner
2   7/26/2024   C Celentino      0.7   Review and revise stipulation concerning fee examiner
2   7/26/2024   C Celentino      0.3   Tc with Trustee re same
2   7/26/2024   C Celentino      0.8   Research re section 105 appointment of fee examiner
2   7/29/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re fee examiner stipulation
2   7/29/2024   Y Lissebeck      0.3   Review rules re fee examiner stipulation
2    8/1/2024   C Celentino      0.3   Connection declaration concerning summer shaw
2    8/2/2024   C Celentino      2.2   Review revise and finalize application, stipulation, declarations and order re fee examiner
                                                                                                                                                                                 Case 8:23-bk-10571-SC




2    8/2/2024   Y Lissebeck      0.2   Review various emails and revisions to application to appoint fee examiner
2    8/2/2024   Y Lissebeck      0.2   Telephone call with trustee re fee examiner
2    8/2/2024   Y Lissebeck      0.3   Revise stipulation
2    8/2/2024   Y Lissebeck      0.1   Review order
2    8/2/2024   Y Lissebeck      0.2   Review and finalize secured creditor chart for use in fee application and forward to team
                                       for use
2    8/4/2024   Y Lissebeck      0.1   Review email from J. Teeple with stipulation
2    8/4/2024   Y Lissebeck      0.1   Review email from N. Rapoport re stipulation
                                                                                                                                     Main Document




2   9/23/2024   C Celentino      0.9   Review and coordinate initial draft of proposed fee order, Dinsmore provisions,
                                       communication with Ed Hays and Trustee Marshack re same
                                                                                                                                                      Page 181 of 501

                                                                                                                                                                                    Page 180
                                                                                                                                                                                EXHIBIT "D"
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                                                                       EXHIBIT "D"
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                                    Fee Applications (143576-4)



                                                    FEES
                 NAME                  TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner                   $835.00     20.00     $16,700.00
    Yosina M. Lissebeck          Partner                   $745.00     67.40     $50,213.00
    Ellen A. Kennedy             Partner                   $665.00      2.60      $1,729.00
    Lovee D. Sarenas             Partner                   $660.00       .80       $528.00
    Christopher B. Ghio          Partner                   $625.00     16.30     $10,187.50
    Sarah S. Mattingly           Partner                   $610.00       .60       $366.00
    M. Tyler Powell              Partner                   $595.00      4.30      $2,558.50
    John H. Stephens             Partner                   $545.00      1.20       $654.00
    Brian M. Metcalf             Associate                 $650.00      1.00       $650.00
    Jeremy B. Freedman           Associate                 $465.00      8.90      $4,138.50
    Veneeta Jaswal               Associate                 $460.00       .30       $138.00
    Jamie D. Mottola             Associate                 $455.00      2.50      $1,137.50
    Lexi J. Epley                Associate                 $420.00      1.60       $672.00
    Jonathan B. Serrano          Associate                 $415.00      3.40      $1,411.00
    Jacob R. Bothamley           Associate                 $405.00      5.60      $2,268.00
    Suzanne M. Marino            Associate                 $395.00      0.30       $118.50
    Vanessa Rodriguez            Associate                 $385.00      5.00      $1,925.00
    Paige E. Hornback            Associate                 $355.00       .20         $71.00
    Brian L. Cockroft            Associate                 $275.00       .60       $165.00
    Caron Burke                  Paraprofessional          $225.00    178.50     $40,162.50
                                                             TOTALS   321.10    $135,793.00
    Date           Name      Hours    Narrative
4   7/3/2024   E Kennedy        0.3   Communication with lead counsel re: Fee Application preparation, review entries for clarity
                                      and completeness
4   7/3/2024   J Bothamley      0.3   Review email from C.C. re upcoming LPG Fee applications and review attached
                                      spreadsheet with time entries, strategize necessary revisions to time entries in
                                      spreadsheet.
4   7/3/2024   J Bothamley       1    Review spreadsheet for LPG time entries and review entries under matter 8, revise time
                                      entries for specificity and draft follow up questions for strategic ambiguities in entries.
4   7/3/2024   J Serrano        0.1   Review email from C. Celentino of Dinsmore re reviewing billing entries for fee application.
4   7/3/2024   L Sarenas        0.1   Review correspondence from C. Celentino of Dinsmore re support for fee application.
                                                                                                                                                                                   Case 8:23-bk-10571-SC




4   7/5/2024   J Mottola        1.5   Prepare supporting documentation in connection with Fee Application to ensure specify
                                      and clarification of requested fees.
4   7/5/2024   L Epley           1    Revise billing entries to eliminate attorney-client privileged information for purposes of
                                      preparing to draft Motion for Attorney's Fees
4   7/6/2024   J Stephens       0.8   Review and prepare revisions to time entries for feel application
4   7/7/2024   S Mattingly      0.6   Analyze time entries in preparation of fee application.
4   7/8/2024   B Metcalf        0.8   Review, analyze, and edit billing information to prepare fee application, evaluate potential
                                      confidential and privileged information and related matters for preparation of fee
                                                                                                                                       Main Document




                                      application and associated disclosures.
4   7/8/2024   B Metcalf        0.2   Email with C. Celentino, C. Burke regarding analysis of issues related to potentially
                                      confidential/privileged/strategic information for preparation of fee application.
4   7/8/2024   E Kennedy        0.7   Analyze time entries for inclusion on upcoming fee application to ensure that entries are
                                      properly classified and strike any privileged information
4   7/8/2024   E Kennedy        0.6   Continuing review of fee application information for purposes of clarity and protection of
                                      attorney client privilege
4   7/8/2024   L Sarenas        0.6   Review time records in support of fee application.
                                                                                                                                                        Page 183 of 501




4   7/8/2024   L Sarenas        0.1   Correspondence to C. Celentino of Dinsmore re finalizing exhibit in support of fee
                                      application.
4   7/8/2024   MT Powell        1.2   Begin review and revision of time entries from July 2023 to June 2024 for fee application.
4   7/8/2024   V Rodriguez      0.1   Receipt and review of correspondence from Attorney C.C. regarding reviewing all time
                                      entries for accuracy and to ensure all entries are in the correct client matter number for the
                                      fee application.
4   7/8/2024   Y Lissebeck      6.5   Review and revise time entries for all attorneys in preparation for fee application
4   7/9/2024   C Celentino      1.8   Review and revise fee application time entries
4   7/9/2024   J Bothamley      3.5   Review LPG time entries and ensure each entry is in the correct matter number and revise
                                      as appropriate in preparation for LPG fee application.
                                                                                                                                                                                      Page 182




4   7/9/2024   J Freedman       0.8   Draft analysis of substantial time records (over 200 of 1700 time entries) in order to submit
                                                                                                                                                                                  EXHIBIT "D"
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                                      fee application
    Date             Name     Hours    Narrative
4   7/9/2024    J Serrano        0.8   Review and revise billing entries.
4   7/9/2024    MT Powell        2.1   Review and revise time entries for fee application.
4   7/9/2024    V Rodriguez      1.5   Prepare supporting documentation in connection with Fee Application to ensure specify
                                       and clarification of requested fees.
4    7/9/2024   Y Lissebeck       2    Review and revise time entries, redacting information for fee application for all attorneys
4   7/10/2024   E Kennedy         1    Analyze time entries for inclusion on upcoming fee application to ensure that entries are
                                       properly classified and strike any privileged information, submit for addition to final
                                       document
4   7/10/2024   J Freedman       3.3   Draft analysis of substantial time records (over 900 of 1700 time entries) in order to submit
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                       fee application
4   7/10/2024   J Serrano        1.1   Revise time entries
4   7/10/2024   J Serrano          1   Correspond with C. Celentino of Dinsmore re same
4   7/10/2024   L Epley          0.6   Continue preparation of revision of billing time entries to eliminate attorney-client
                                       privileged information for purposes of including in Motion for Attorney's Fees
4   7/10/2024   V Rodriguez      0.8   Continue preparing the supporting documentation in connection with Fee Application to
                                       ensure specify and clarification of requested fees; drafting redactions regarding the same.
4   7/10/2024   V Rodriguez      0.8   Continue preparing the supporting documentation in connection with Fee Application to
                                                                                                                                       Main Document




                                       ensure specify and clarification of requested fees; drafting redactions regarding the same.
4   7/10/2024   V Rodriguez      0.6   Continue preparing the supporting documentation in connection with Fee Application to
                                       ensure specify and clarification of requested fees; drafting redactions regarding the same.
4   7/10/2024   Y Lissebeck       2    Review and revise time sheets for all attorneys for fee application
4   7/11/2024   J Freedman        1    Draft analysis of substantial time records (over 600 of 1700 time entries) in order to submit
                                       fee application
4   7/11/2024   V Rodriguez      0.8   Prepare supporting documentation in connection with Fee Application to ensure specify
                                       and clarification of requested fees; review of redactions regarding the same.
                                                                                                                                                        Page 184 of 501




4   7/11/2024   Y Lissebeck      0.4   Telephone call with Trustee and C. Celentino re fee application and case strategy moving
                                       forward with setting hearing
4   7/11/2024   Y Lissebeck      0.1   Review and respond to emails from C. Celentino re fee hearing and notice period
4   7/11/2024   Y Lissebeck      0.3   Review LPG time keepers time sheets
4   7/11/2024   Y Lissebeck      0.2   Draft email re fee application notice and hearing to trustee and team with deadlines and
                                       dates
4   7/15/2024   C Burke          2.9   Begin preparation of First Interim Fee Application
4   7/15/2024   C Burke          3.1   Continue preparation of First Interim Fee Application
4   7/15/2024   Y Lissebeck        2   Review and revise time entries of 6 different time keepers no longer at Dinsmore
4   7/16/2024   C Burke          3.9   Continue preparation of First Interim Fee Application
                                                                                                                                                                                      Page 183




4   7/17/2024   C Celentino      1.1   Review and revise exhibits to DS first interim fee application
                                                                                                                                                                                  EXHIBIT "D"
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4   7/18/2024   C Burke          2.8   Continue preparation of First Interim Fee Application
     Date            Name     Hours    Narrative
4   7/18/2024   Y Lissebeck      0.4   Review and revise stipulation for fee examiner and provide revisions to trustee
4   7/18/2024   Y Lissebeck      0.1   Draft email to Grobstein Teeple team re fee application deadlines
4   7/18/2024   Y Lissebeck      0.3   Review pre-bills in preparation for finalizing fee invoices
4   7/19/2024   C Burke          4.3   Review of time entries for fee application and fee examiner review.
4   7/22/2024   C Celentino      0.9   Review and revise exhibits to DS first interim fee application
4   7/22/2024   C Celentino      1.2   Review and revise exhibits to DS first interim fee application
4   7/22/2024   C Ghio           1.4   Review of time entries for fee application and fee examiner review.
4   7/23/2024   C Burke          4.8   Review and revise time entries for fee application and fee examiner review.
4   7/24/2024   C Burke          6.5   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                                                 Case 8:23-bk-10571-SC




4   7/26/2024   C Ghio           3.3   Review and revise time entries for fee aReview and revise time entries for fee application
                                       and fee examiner review.pplication.
4   7/27/2024   C Ghio           2.5   Review time entries in connection with feReview and revise time entries for fee application
                                       and fee examiner review.e application.
4   7/28/2024   C Ghio           2.5   Review and revise time entries for fee application and fee examiner review.
4   7/29/2024   C Burke          6.2   Continue preparation of First Interim Fee Application
4   7/29/2024   C Ghio           3.1   Review time entry in connection with fee application.
4   7/30/2024   C Burke          2.9   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                     Main Document




4   7/30/2024   C Ghio           0.3   Review and approve summary of Bayrooti litigation for fee application.
4   7/30/2024   J Stephens       0.2   Exchange email with Y. Lissebeck re: case summaries for fee application
4   7/30/2024   J Stephens       0.2   Exchange email with V. Jaswal re: same
4   7/31/2024   C Burke          5.8   Review and revise time entries for fee application and fee examiner review.
4   7/31/2024   C Ghio           0.7   Review and revise summary of 1046 Action for fee application.
4   7/31/2024   C Ghio           0.3   Review and revise summary of 1040 Action for fee application.
4   7/31/2024   J Freedman       1.4   Draft summary of Adversary Proceeding Nos. 1046 and 1040 to support fee application
4   7/31/2024   Y Lissebeck      0.5   Discuss fee application summaries with C. Ghio and J. Freedman
                                                                                                                                                      Page 185 of 501




4    8/1/2024   V Rodriguez      0.3   Review of multiple correspondences from Dinsmore Attorney Y. Lissebeck regarding
                                       providing a summary for each adversary proceeding that has been filed to include in the
                                       fee application and regarding the summaries provided to her regarding New Horizon
                                       Finance and MRD Marketing; detailed correspondence to Dinsmore Attorney Y. Lissebeck
                                       regarding the same.
4    8/2/2024   J Bothamley      0.8   Send updates and summaries of work on affiliate cases to Y. Lissebeck in preparation for
                                       filing of fee application.
4    8/2/2024   J Serrano        0.3   Draft summary of responsibilities in filed adversary proceedings
4    8/2/2024   J Serrano        0.1   Correspond with Y. Lissebeck of Dinsmore re same
4    8/5/2024   C Burke          6.2   Review and revise time entries for fee application and fee examiner review.
4    8/7/2024   C Burke          4.9   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                                                    Page 184
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4    8/8/2024   C Burke          2.6   Review and revise time entries for fee application and fee examiner review.
     Date            Name     Hours    Narrative
4    8/9/2024   C Burke          3.7   Review and revise time entries for fee application and fee examiner review.
4    8/9/2024   C Celentino        7   Review and revise exhibits to Dinsmore fee application
4    8/9/2024   J Mottola          1   Prepare summary of duties for fee application evidencing responses to consumer
4    8/9/2024   Y Lissebeck      0.2   Review emails from C. Celentino re fee application and notice re procedures from
4   8/10/2024   C Burke          7.5   Review and revise time entries for fee application and fee examiner review.
4   8/10/2024   C Celentino        8   Review and revise exhibits to Dinsmore fee application
4   8/11/2024   C Burke          5.2   Review and revise time entries for fee application and fee examiner review.
4   8/12/2024   C Burke          2.1   Review and revise time entries for fee application and fee examiner review.
4   8/13/2024   C Burke          2.9   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                                                Case 8:23-bk-10571-SC




4   8/14/2024   C Burke          7.2   Review and revise time entries for fee application and fee examiner review.
4   8/15/2024   C Burke          6.8   Review and revise time entries for fee application and fee examiner review.
4   8/15/2024   V Jaswal         0.3   Draft summary of BMF case for fee motion
4   8/15/2024   Y Lissebeck        7   Review and revise billing statements of all attorneys
4   8/15/2024   Y Lissebeck      0.1   Draft email to N. Rapaport re fee statements
4   8/15/2024   Y Lissebeck      0.2   Draft email to C. Celentino and C. Burke re fee statements
4   8/16/2024   B Cockroft       0.6   Draft summary of Leucadia case to use for fee request.
4   8/16/2024   C Burke          7.4   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                    Main Document




4   8/19/2024   C Burke          8.1   Review and revise time entries for fee application and fee examiner review.
4   8/19/2024   P Hornback       0.1   Draft summary of Point Break matter for fee schedule.
4   8/19/2024   P Hornback       0.1   Draft summary of matter Perfect Financial for fee schedule.
4   8/20/2024   C Burke          6.7   Review and revise time entries for fee application and fee examiner review.
4   8/22/2024   S Marino         0.3   Draft AP and affiliate target status updates for lead attorneys.
4   8/26/2024   C Burke            7   Review and revise time entries for fee application and fee examiner review.
4   8/26/2024   Y Lissebeck      0.3   Discuss revising fee application with C. Burke and briefly review fee application
4   8/27/2024   C Burke            5   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                     Page 186 of 501




4   8/27/2024   C Ghio           1.1   Review and revise fee application summaries for litigation against GoFi, LLC and PECC
                                       Corp.
4   8/27/2024   J Freedman       0.4   Draft summary of litigation regarding GoFi
4   8/27/2024   J Freedman       0.6   Draft litigation summary as to PECC Corp
4   8/27/2024   J Freedman       0.5   Draft litigation summary as to Greyson
4   8/27/2024   Y Lissebeck        1   Review and revise fee application
4   8/27/2024   Y Lissebeck      0.2   Draft email to team members to provide further information for fee application for various
                                       litigation targets
4   8/27/2024   Y Lissebeck      0.1   Discuss revisions to fee application with C. Burke
4   8/28/2024   C Burke            7   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                                                   Page 185
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     Date           Name      Hours   Narrative
4   8/28/2024   MT Powell         1   Review and respond to multiple emails from Y. Lissebeck re finalizing entries and details
                                      for fee application and review underlying agreements between Debtor and various
                                      litigation targets.
4   8/28/2024   Y Lissebeck     0.2   Review blurbs for various entities for use in fee application
4   8/28/2024   Y Lissebeck     0.1   Discuss revisions with C. Burke
4   8/28/2024   Y Lissebeck     0.2   Review and respond to emails from T. Powell re various litigation entities and fee
                                      applications
4   8/28/2024   Y Lissebeck     0.2   Review and respond to numerous emails re revisions to blurbs from V. Jaswal re including
                                      amounts and more information to describe work
                                                                                                                                                                              Case 8:23-bk-10571-SC




4   8/29/2024   C Burke           9   Review and revise time entries for fee application and fee examiner review.
4   8/30/2024   C Burke           6   Review and revise time entries for fee application and fee examiner review.
4   8/30/2024   J Freedman      0.6   Draft litigation summary as to Worldpay and Worldpay Group
4   8/30/2024   J Freedman      0.3   Draft litigation summary as to Defendant Revolv3
4   8/30/2024   Y Lissebeck     0.3   Review various fee application filings and draft email to P. Krause re notice, review
                                      response
4   8/30/2024   Y Lissebeck     0.2   Draft email to parties re summaries for litigation matters for use in fee app, review and
                                      revise summaries for use in fee application
                                                                                                                                  Main Document




4   8/31/2024   C Burke           9   Review and revise time entries for fee application and fee examiner review.
4   8/31/2024   Y Lissebeck    10.5   Review and revise fee application - 97 page document - providing detailed revisions to
                                      summaries of all matters and services performed by applicant
4    9/1/2024   Y Lissebeck     1.8   Respond to Fee Examiners questions and provide information re various individuals and
                                      time entries
4    9/1/2024   Y Lissebeck     7.3   Review and edit 250 pages of the final bill, redacting and making final edits and changes
                                      for use in the final fee application
4    9/2/2024   C Burke           9   Review and revise time entries for fee application and fee examiner review.
                                                                                                                                                   Page 187 of 501




4    9/2/2024   Y Lissebeck     0.5   Review and respond to examiners questions re bills, review further reports, and respond
                                      thereto
4    9/2/2024   Y Lissebeck     6.7   Review and edit pages 251-500 of the final bill, redacting and making final edits and
                                      changes for use in the final fee application
4    9/3/2024   C Burke         12    Review comments to First Interim Fee Application and revise same and prepare for filing
4    9/3/2024   C Ghio          1.1   Review and revise fee application based on fee examiner notes and comments.
4    9/3/2024   V Rodriguez     0.1   Review of correspondence from Attorney Y. Lissebeck re billing entries used in the LPG
                                      Fee Application; correspondence re the same.
4    9/3/2024   Y Lissebeck     8.2   Review billing sheets and invoices for fee application for all time keepers in case
4    9/3/2024   Y Lissebeck     0.5   Review and revise declaration of C. Celentino in support of fee request
                                                                                                                                                                                 Page 186




4    9/3/2024   Y Lissebeck     4.7   Review and revise fee application paying attention to billable amounts and hours and
                                                                                                                                                                             EXHIBIT "D"
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                                      verifying same
    Date             Name     Hours    Narrative
4   9/3/2024    Y Lissebeck      0.5   Review file documents and approve for filing
4   9/9/2024    Y Lissebeck      0.2   Review various emails to and from fee examiner and comment re various discounts taken
                                       from fee application
4   9/10/2024   Y Lissebeck      0.1   Review email from Trustee re fee applications, discounts, and issues related to various
                                       claims
4   9/11/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re discounts taken, preference work in
                                       association with secured creditor and marketing complaints, and OCC issues re deferment
4   9/12/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re fee application issues and discounts
                                       and deferment
                                                                                                                                                                             Case 8:23-bk-10571-SC




4   9/17/2024   Y Lissebeck      0.2   Review and respond to various texts and emails re stipulation to defer payment of
                                       avoidance billing, review stipulation
4   9/18/2024   Y Lissebeck      0.2   Review emails from C. Celentino re FINAL fee application deadlines and dates
4   9/23/2024   Y Lissebeck      0.3   Review and revise fee order particularly looking at amounts and offsets
4   9/23/2024   Y Lissebeck      0.2   Telephone call with trustee re fee application order and hearing
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                              Plan and Disclosure Statement (143576-6)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00     10.30     $8,600.50
    Yosina M. Lissebeck          Partner              $745.00     52.80    $39,336.00
    Christopher B. Ghio          Partner              $625.00     20.90    $13,062.50
    M. Tyler Powell              Partner              $595.00       .80      $476.00
    Jeremy B. Freedman           Associate            $465.00      9.40     $4,371.00
                                                        TOTALS    94.20    $65,846.00
    Date             Name     Hours    Narrative
6   7/1/2024    Y Lissebeck      0.2   Telephone call with trustee re deadlines and dates re voting and tabulation
6   7/1/2024    Y Lissebeck      0.3   Discuss procedures motion with trustee and C. Celentino
6   7/1/2024    Y Lissebeck      0.5   Telephone call with Omni re voting and tabulation issues
6   7/2/2024    Y Lissebeck      0.3   Review email re revisions to plan class, reply thereto and forward to OCC for review and
                                       comment
6    7/5/2024   Y Lissebeck      0.6   Telephone call with trustee team to discuss voting tabulation procedures and motion,
                                       voting ballots and deadlines
6    7/9/2024   C Ghio           1.1   Analysis re litigation recoveries for plan feasibility analysis.
6   7/10/2024   Y Lissebeck      0.5   Telephone call with Omni re voting and tabulation issues
                                                                                                                                                                                Case 8:23-bk-10571-SC




6   7/10/2024   Y Lissebeck      0.2   Draft email to trustee and OCC team re summary of strategy re tabulation and voting
6   7/14/2024   Y Lissebeck      0.3   Review emails from E. Hays re voting and classes, review plan class chart and respond to
                                       email re voting rights and categories of various creditors
6   7/15/2024   Y Lissebeck      0.2   Review revisions to plan re super priority loans and forward language to E. Hays and N.
                                       Koffroth
6   7/17/2024   Y Lissebeck      0.2   Review email from accountants re MOR and questions related to plan, respond to email
                                       with status
6   7/19/2024   C Celentino      0.9   LPG plan confirmation status call and prep and outline for pleadings re same
                                                                                                                                    Main Document




6   7/19/2024   Y Lissebeck      0.1   Draft email to K. Steven's re voting and Claims
6   7/19/2024   Y Lissebeck      0.1   Review email from taxing authority and forward to E. Hays
6   7/22/2024   Y Lissebeck      0.1   Review email from omni re updated claims in shareholders and forward to C. Burke to
                                       save to system for review
6   7/23/2024   Y Lissebeck      0.1   Review email from H. Hammi re amendment to plan and Resolution Venture's loan
6   7/26/2024   C Ghio             1   Conference call with committee counsel re motions for summary judgment, plan
                                       confirmation and settlement as all pertain to feasibility analysis.
6   7/26/2024   C Ghio           0.6   Telephonic strategy conference with Trustee re issues discussed with Committee.
                                                                                                                                                     Page 190 of 501




6   7/26/2024   Y Lissebeck      0.5   Review numerous emails from N. Koffroth, K. Steverson and E. Hays re plan, tabulation,
                                       reports and briefs
6   7/30/2024   Y Lissebeck      0.1   Review email from N. Koffroth re confirmation brief and issues related thereto
6   7/30/2024   Y Lissebeck      0.2   Review further emails re plan confirmation and reservation issues
6   7/31/2024   Y Lissebeck      0.3   Telephone call with K. Steverson re voting tabulation charts and brief
6    8/1/2024   C Ghio           0.9   Review and analysis of Nick Koffroth email re plan and disclosure statement and Azzure
                                       motion for summary judgment and subordination as the related to plan confirmation.
6    8/1/2024   Y Lissebeck      0.2   Review various emails re plan confirmation and tabulation declarations
6    8/1/2024   Y Lissebeck      0.3   Review revised declaration and brief
6    8/1/2024   Y Lissebeck      0.3   Telephone call with E. Hays re confirmation brief and declaration
                                                                                                                                                                                   Page 189




6    8/1/2024   Y Lissebeck      0.2   Review emails from trustee with information in to include in declaration and forward to N.
                                                                                                                                                                               EXHIBIT "D"
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                                       Koffroth
    Date             Name     Hours    Narrative
6   8/1/2024    Y Lissebeck      0.2   Discuss vote of MNS with N. Koffroth
6   8/1/2024    Y Lissebeck      0.2   Review revised documents
6   8/1/2024    Y Lissebeck      0.3   Telephone call with K. Steverson re revisions to plan vote, declaration and brief
6   8/1/2024    Y Lissebeck      0.3   Discuss declaration and confirmation brief with trustee
6   8/1/2024    Y Lissebeck      0.8   Review confirmation brief and declarations and respond to N. Koffroth with revisions
6   8/1/2024    Y Lissebeck      0.3   Telephone call with N. Koffroth re confirmation
6   8/2/2024    C Ghio           0.8   Call with committee professionals re settlements, summary judgments, plan confirmation
                                       and litigation recoveries as they relate to plan feasibility.
6    8/2/2024   Y Lissebeck      0.8   prepare for and participate in telephone call with OCC re status of plan and confirmation
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                       issues and objecting to claims
6    8/2/2024   Y Lissebeck      0.3   Telephone call with E. Hays re plan and confirmation issues and objecting to claims
6    8/5/2024   Y Lissebeck      0.2   Review email from re revisions to plan for resolution ventures super priority loan and
                                       forward language to E. Hays and N. Koffroth
6    8/8/2024   Y Lissebeck      0.2   Telephone call with Omni re confirmation issues
6    8/8/2024   Y Lissebeck      0.1   Review and respond to email from P. Krause re ECF notice to Omni
6    8/8/2024   Y Lissebeck      0.1   Review email from E. Hays re amendment to plan
6    8/9/2024   Y Lissebeck      0.3   Review objection to confirmation by greyson
                                                                                                                                   Main Document




6    8/9/2024   Y Lissebeck      0.2   Draft email re money coming into the Estate from Litigation and confirmation issues to C.
                                       Celentino and C. Ghio, review response and reply
6    8/9/2024   Y Lissebeck      0.2   Review emails from C. Celentino re client services and forward to K. Steverson
6    8/9/2024   Y Lissebeck      0.1   Review email from K. Steverson re calls from client services and respond
6    8/9/2024   Y Lissebeck      0.3   Telephone call with trustee re confirmation issues and reply
6    8/9/2024   Y Lissebeck      1.5   Discuss confirmation issues and objections to claims with OCC and E. Hays
6    8/9/2024   Y Lissebeck      0.2   Draft email to C. Celentino and C. Ghio re objection to confirmation by Greyson, review
                                       response and reply
                                                                                                                                                    Page 191 of 501




6   8/14/2024   Y Lissebeck      0.2   Discuss confirmation issues and objections with C. Celentino
6   8/14/2024   Y Lissebeck      0.2   Discuss confirmation issues and objections with Trustee
6   8/14/2024   Y Lissebeck      0.8   Meet with Trustee and E. Hays re confirmation issues
6   8/15/2024   C Ghio           0.6   Telephone call with Richard Marshack and Ed Hays re response to Greyson and Trinh
                                       objection to confirmation.
6   8/15/2024   Y Lissebeck      0.6   prepare for and participate in telephone call with E. Hays and Trustee re confirmation
                                       issues
6   8/16/2024   Y Lissebeck      0.2   Review and respond to email from E. Hays re oppositions to Plan and filing reply
6   8/16/2024   Y Lissebeck      0.2   Review and respond to email of W. Fennell re reply to objections to confirmation brief
6   8/19/2024   C Ghio           3.2   Review and analysis of Greyson objection to Plan confirmation
6   8/19/2024   J Freedman       0.6   Review and analysis of Greyson's objection to plan confirmation in order to assist client
                                                                                                                                                                                  Page 190
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                                       with reply to same
     Date            Name     Hours    Narrative
6   8/19/2024   J Freedman       0.2   Teleconference with client regarding Greyson objection to plan confirmation
6   8/19/2024   J Freedman       2.2   Draft reply to Greyson's objection to the plan confirmation with regards to allegations

6   8/19/2024   Y Lissebeck      0.2   Review and respond email from H. Hammi re reply to confirmation of plan obejctions
6   8/20/2024   C Celentino      0.8   Confer, review, and analysis of                                             his ongoing
                                       concerns related to                  in order to respond to Greyson's objection to the plan
                                       confirmation
6   8/20/2024   C Celentino      0.2   Review and comment on letter to counsel                         and Trustee regarding
                                       response to Greyson's objection to the plan confirmation and further handling
                                                                                                                                                                                    Case 8:23-bk-10571-SC




6   8/20/2024   J Freedman       0.8   Review and analysis of                                              his ongoing concerns
                                       related to                in order to respond to Greyson's objection to the plan confirmation
6   8/20/2024   J Freedman       0.7   Review and analysis of St                                                                  in
                                       order to respond to Greyson's objection to the plan confirmation
6   8/20/2024   J Freedman       0.6   Review and analysis of meet and confer communications with counsel for Greyson
                                       regarding
6   8/20/2024   J Freedman       2.7   Draft further argument and evidence in response to Greyson's objection to the plan
                                       confirmation
                                                                                                                                        Main Document




6   8/20/2024   J Freedman       0.7   Draft declaration in support of response to Greyson's objection to the plan confirmation
                                       regarding Wes Thomas
6   8/20/2024   J Freedman       0.2   Draft letter to counsel                    and Trustee regarding response to Greyson's
                                       objection to the plan confirmation and further handling
6   8/20/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino and E. Hays re reply to objections to
                                       confirmation of plan and declarations needed
6   8/20/2024   Y Lissebeck      0.2   Telephone call with trustee re reply to objections to confirmation and declarations needed
6   8/20/2024   Y Lissebeck      0.2   Telephone call with N. Rapoport re declaration for reply to objections to confirmation of
                                                                                                                                                         Page 192 of 501




6   8/20/2024   Y Lissebeck      0.2   Review and respond to email from C. Kurtz re the feasibility and litigation amounts and
                                       settlement
6   8/21/2024   C Ghio           0.9   Analysis of reply in support of plan confirmation brief and provide factual summary for
                                       inclusion in same.
6   8/21/2024   C Ghio           0.8   Review and approve                                  n support of Trustee’s reply brief in
                                       support of Plan confirmation.
6   8/21/2024   J Freedman       0.2   Multiple emails (2) with counsel                    s regarding his declaration in support of
                                       response to Greysons objection to the plan confirmation
6   8/21/2024   J Freedman       0.3   Draft declaration of                                                 in support of response to
                                       Greyson's objection to plan confirmation
                                                                                                                                                                                       Page 191
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     Date            Name     Hours    Narrative
6   8/21/2024   J Freedman       0.2   Multiple emails (4) with general counsel for Trustee and counsel
                                                                           in support of response to Greyson's objection to plan
                                       confirmation
6   8/21/2024   Y Lissebeck      0.3   Draft declaration of N. Rapoport in support of reply to objections to plan confirmation and
                                       forward to N. Rapoport for signature
6   8/21/2024   Y Lissebeck      0.1   Review executed declaration of N. Rapoport, forward and draft email to E. Hays for use in
                                       reply
6   8/21/2024   Y Lissebeck      0.4   Review and respond to emails of C. Kurtz re projections, secured settlements,
                                       administrative claims and litigation proceeds for use in feasibility analysis
                                                                                                                                                                                 Case 8:23-bk-10571-SC




6   8/21/2024   Y Lissebeck      0.3   Review and respond to further emails of C. Kurtz re POL projections, review file for
                                       amounts, and provide to team for use in reply
6   8/22/2024   C Ghio           1.1   Emails and telephone calls with Bill Fennel re estate response to Greyson objections to
                                       confirmation and Squires Declaration, Joinder by Validation.
6   8/22/2024   Y Lissebeck      0.2   Draft email to K. Steverson and C. Kurtz re witness preparation for plan confirmation and
                                       zoom hearings, review response and further reply
6   8/22/2024   Y Lissebeck      0.1   Review and respond to email of C. Kurtz re various feasibility issues for plan confirmation
6   8/22/2024   Y Lissebeck      0.3   Telephone call with trustee and E. Hays re reply to objection to confirmation brief
                                                                                                                                     Main Document




6   8/22/2024   Y Lissebeck      0.2   Telephone call with N. Koffroth re reply to objection to confirmation
6   8/22/2024   Y Lissebeck      0.5   Review and Revise reply and forward to N. Kofforth and E. Hays for review and finalization
6   8/22/2024   Y Lissebeck      0.2   Telephone call with E. Hays re revisions to reply
6   8/22/2024   Y Lissebeck      0.2   Draft email to C. Ghio and C. Celentino re revisions to reply
6   8/23/2024   C Ghio             1   Conference call with committee counsel re plan confirmation, response to objections and
                                       preparation for confirmation hearing.
6   8/23/2024   C Ghio           0.5   Analysis of litigation recoveries for plan confirmation hearing preparation.
6   8/23/2024   Y Lissebeck      0.2   Review and respond to various emails from E. Hays and Trustee re reply to objections and
                                                                                                                                                      Page 193 of 501




                                       strategy for hearing
6   8/23/2024   Y Lissebeck      1.5   preparation and participate in telephone call with OCC re plan confirmation issues
6   8/23/2024   Y Lissebeck      0.2   Draft email to K. Steverson and C. Kurtz re meeting to discuss testimony for confirmation
6   8/23/2024   Y Lissebeck      0.4   Review motion by K. March to continue confirmation hearing, review local rules re same
6   8/25/2024   Y Lissebeck      0.2   Review and respond to texts from Trustee re confirmation hearing and issues related
                                       thereto
6   8/26/2024   Y Lissebeck       1    Telephone call with N. Koffroth, C. Kutz, K. Steverson, E. Hays to discuss confirmation
                                       hearing and issues related thereto
6   8/26/2024   Y Lissebeck        2   Review file and organize documents for use at confirmation hearing
6   8/26/2024   Y Lissebeck      0.2   Draft email to Accountants re tax claims and tax analysis in preparation for confirmation
                                                                                                                                                                                    Page 192




                                       hearing
                                                                                                                                                                                EXHIBIT "D"
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6   8/26/2024   Y Lissebeck      0.2   Review and respond to email from Trustee re questions re feasibility
     Date            Name     Hours    Narrative
6   8/26/2024   Y Lissebeck      0.2   Draft email to accountants re tax issues and tax claims re confirmation and review
6   8/26/2024   Y Lissebeck      1.5   Meet with Trustee to discuss and prepare for plan confirmation hearing
6   8/26/2024   Y Lissebeck      0.2   Review and respond to emails from C. Kurtz re feasibility numbers and projections for
                                       confirmation
6   8/27/2024   Y Lissebeck      0.1   Review and respond to email from Trustee re purchase price projections re confirmation
                                       hearing
6   8/27/2024   Y Lissebeck      0.2   Review and respond to email from C. Celentino re confirmation issues and strategy
6   8/27/2024   Y Lissebeck      0.2   Review and respond to various emails re projections and amounts to pay claims
6   8/27/2024   Y Lissebeck      0.3   Telephone call with N. Koffroth re plan confirmation hearing and demonstrative exhibits to
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                       use
6   8/27/2024   Y Lissebeck      0.3   Telephone call with Trustee re confirmation hearing and strategy
6   8/27/2024   Y Lissebeck      0.5   Review and organize files for documents for use at plan confirmation hearing
6   8/28/2024   C Celentino      2.1   Review and confirmation briefs re Greyson opposition and reply
6   8/28/2024   C Ghio           1.6   Analysis re litigation recoveries for plan feasibility analysis.
6   8/28/2024   C Ghio           2.1   Review confirmation briefs, Greyson opposition and reply.
6   8/28/2024   Y Lissebeck      2.2   preparation and participate in telephone call with Force 10, OCC, Trustee to prepare for
                                       confirmation hearing
                                                                                                                                    Main Document




6   8/28/2024   Y Lissebeck      3.5   Review documents, pleadings and draft outline in preparation for confirmation hearing
6   8/28/2024   Y Lissebeck        1   Telephone call with Trustee re outline and preparation for confirmation Hearing
6   8/29/2024   C Celentino      0.6   Conference re entry of order on same and further status conference and related tasks
6   8/29/2024   C Celentino        5   Attend confirmation hearing
6   8/29/2024   C Ghio           4.1   Attend hearing on plan confirmation.
6   8/29/2024   C Ghio           0.6   Post confirmation meeting with professionals re entry of order on same and further status
                                       conference and related tasks.
6   8/29/2024   Y Lissebeck       2    Travel to/from Court hearing, discuss case status and strategy with C. Ghio on drive,
                                                                                                                                                     Page 194 of 501




                                       telephone call with Trustee re hearing on drive (4 hours total - 2 hours no charge - as TT
                                       billed at 50%)
6   8/29/2024   Y Lissebeck        5   Attend and participate in confirmation hearing
6   8/29/2024   Y Lissebeck      0.2   Review and respond to numerous emails from Trustee, E. Hays and A. DeLees re plan
                                       confirmation and effective date payments
6   8/29/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re confirmation and moving forward with
                                       effective date payments
6   8/30/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino and C. Ghio re effective day payment to
                                       CLG
6   8/30/2024   Y Lissebeck      0.4   Review and revise confirmation order
                                                                                                                                                                                   Page 193




6   8/30/2024   Y Lissebeck      1.1   Preparation and participate in telephone call with OCC re confirmation hearing, order and
                                                                                                                                                                               EXHIBIT "D"
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                                       moving forward with litigation
     Date            Name     Hours    Narrative
6   8/30/2024   Y Lissebeck      0.2   Review revisions of E. Hays to confirmation order, reply re same
6   8/30/2024   Y Lissebeck      0.2   Review and respond to emails from P. Krause and A. Mamlyuk re effective date payment
                                       to admin and secured parties
6   8/30/2024   Y Lissebeck      0.2   Discuss revisions to confirmation order with C. Celentino
6   8/30/2024   Y Lissebeck      0.3   Discuss revisions to confirmation order with trustee
6   8/30/2024   Y Lissebeck      0.2   Review the response of N. Koffroth to revisions of E. Hays and review notes from hearing
                                       re same
6   9/11/2024   Y Lissebeck      0.2   Draft email to T. Powell re secured creditor effective day payments and review various
                                       emails from T. Powell to secured creditors requesting payment information
                                                                                                                                                                                Case 8:23-bk-10571-SC




6   9/12/2024   MT Powell        0.8   Review and respond to multiple emails with counsel for Liberty Acquisition, MNS Funding,
                                       Diverse Capital, and P. Kraus, at Trustee's office regarding (i) balances owed to post-
                                       petition lenders and secured creditors upon confirmation and (ii) payment information for
                                       payments going out after Effective Date
6   9/14/2024   Y Lissebeck      0.2   Review and respond to multiple emails from E. Hayes and P.Krause re effective day
                                       payments and setting up meeting to finalize list of recipients of payments
6   9/16/2024   Y Lissebeck      0.2   Review and respond to emails from P. Krause re payment to effective date parties
6   9/17/2024   Y Lissebeck      0.4   Telephone call with E. Hays, B. Barhnardt, and A. Deelest re claims payments upon
                                                                                                                                    Main Document




                                       effective date and admin bar date in plan
6   9/17/2024   Y Lissebeck      0.1   Review further emails from OHP and CLG re payment of claims and respond to P. Krause
                                       re same
6   9/18/2024   Y Lissebeck      0.2   Telephone call with P. Krause re calls from creditors re Notice of Plan Confirmation Order
6   9/18/2024   Y Lissebeck      1.5   Review Plan Confirmation Order and Plan for deadlines outlining dates and deadlines for
                                       email
6   9/18/2024   Y Lissebeck      0.2   Review email from P. Krause and A. Deleest re payments to employee claims, deposit
                                       claims and other effective date payments and briefly review ledger
                                                                                                                                                     Page 195 of 501




6   9/18/2024   Y Lissebeck      0.3   Draft FAQ to address creditors questions re Notice of Plan Confirmation Order and
                                       circulate to P. Krause, J. Mottola and Omni for use
6   9/18/2024   Y Lissebeck      0.7   Draft detailed email to N. Koffroth, E. Hays, K. Owens, C. Celentino and Trustee with
                                       deadlines and information needed to be done pursuant to order
6   9/19/2024   C Celentino      0.7   Revise issues with plan confirmation order modification
6   9/19/2024   Y Lissebeck      0.2   Review and respond to various emails from W. Fennell re effective date, review plan for
                                       definition and respond with quote from plan re effective date
6   9/19/2024   Y Lissebeck      0.2   Review various emails from A. DeLeest and N. Koffroth re confirmation order duties and
                                       deadlines therein
6   9/19/2024   Y Lissebeck      0.8   Review Ledger for payments on effective date and compare with claims class chart,
                                                                                                                                                                                   Page 194




                                       updating chart as needed
                                                                                                                                                                               EXHIBIT "D"
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     Date            Name     Hours    Narrative
6   9/19/2024   Y Lissebeck      0.2   Review email from N. Koffroth and A. DeLeest re service of rejected contracts and
                                       effective day notice and respond re review of service list
6   9/19/2024   Y Lissebeck      0.2   Telephone call with A. DeLeest and C. Celentino re effective date deadlines and case
                                       strategy moving forward
6   9/19/2024   Y Lissebeck      0.1   Draft email to N. Koffroth and A. DeLeest re service list
6   9/19/2024   Y Lissebeck        1   Review service list and rejected contract list to make sure everyone will be provided notice
6   9/20/2024   Y Lissebeck      0.2   Review numerous emails between C. Celentino, E. Hays and Trustee re confirmation
                                       order and duties thereunder, respond to team re same
6   9/20/2024   Y Lissebeck      0.3   Review spreadsheet for parties to serve rejection notice with
                                                                                                                                                                                  Case 8:23-bk-10571-SC




6   9/20/2024   Y Lissebeck      0.4   Review confirmation order for duties and deadlines
6   9/20/2024   Y Lissebeck      0.1   Draft email to N. Kofforth, A. Deelest and trustee re parties to serve rejection notice with
6   9/20/2024   Y Lissebeck      0.4   Lengthy discussion with C. Celentino re confirmation order, case strategy and moving
                                       forward with litigation
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                                                                         EXHIBIT "D"
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            Claims, Consumer Rejections Claims and Administrative Claims (143576-7)



                                            FEES
                NAME                TITLE           RATE       HOURS     TOTAL FEES
    Christopher Celentino     Partner              $835.00      11.10      $9,268.50
    Yosina M. Lissebeck       Partner              $745.00      33.20     $24,734.00
    Christopher B. Ghio       Partner              $625.00       6.00      $3,750.00
    M. Tyler Powell           Partner              $595.00      15.30      $9,103.50
    Spencer K. Gray           Associate            $475.00      13.10      $6,222.50
    Jeremy B. Freedman        Associate            $465.00      14.40      $6,696.00
    Jacob R. Bothamley        Associate            $405.00       1.20       $486.00
                                                     TOTALS     94.30     $60,260.50
    Date            Name     Hours    Narrative
7   7/1/2024   Y Lissebeck      0.3   Discuss claims procedure motion with Trustee
7   7/1/2024   Y Lissebeck      0.2   Draft email to MLG requesting information related to amounts consumers paid to LPG and
                                      providing spreadsheet
7   7/1/2024   Y Lissebeck      0.5   Review excel spread sheet re rejected consumer claims and filed claims
7   7/1/2024   Y Lissebeck      0.2   Review and respond to email re serving proper parties with claims objections
7   7/1/2024   Y Lissebeck      0.3   Review chamber rule re objections to claims and forward to team
7   7/1/2024   Y Lissebeck      0.1   Review mailed claim
7   7/1/2024   Y Lissebeck      0.2   Review and respond to emails re procedures motion
7   7/2/2024   S Gray           0.2   Emails with Y. Lissebeck discussing objection and resolution of rejected consumer claim.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




7   7/2/2024   Y Lissebeck      0.1   Review email re objection to claims and service from P. Krause and respond
7   7/2/2024   Y Lissebeck      0.1   Review email from Trustee re tax claim of Texas for state business taxes
7   7/2/2024   Y Lissebeck      0.2   Review email from Omni with claims register and respond re corrupt file
7   7/2/2024   Y Lissebeck      0.4   Review file and provide documents to S. Grey for use in objection and resolution of
                                      rejected consumer claim
7   7/2/2024   Y Lissebeck      0.3   Draft detailed email to S. Grey re objection and resolution of rejected consumer claim
7   7/2/2024   Y Lissebeck      0.1   Review email and responses to email re Alterix claim
7   7/3/2024   J Freedman       0.2   Multiple emails (2) with client regarding alter ego allegations in fourth amended complaint
                                                                                                                                      Main Document




                                      in order to develop strategy to rebut Greyson's arguments regarding same to support
                                      administrative claims
7   7/3/2024   Y Lissebeck      0.2   Review updated claims register provided by Omni and respond to email re chart
7   7/3/2024   Y Lissebeck      0.1   Discuss difference of rejected v opt out consumers and payment of refunds with C.
                                      Celentino
7   7/3/2024   Y Lissebeck      0.2   Draft email to MLG re payment of refunds and difference between opt out and cancelled
                                      on list, review response
7   7/3/2024   Y Lissebeck      0.1   Review email from UST re payment of refund claims to rejected consumers forwarded by
                                                                                                                                                       Page 198 of 501




                                      C. Celentino
7   7/3/2024   Y Lissebeck      0.2   Review and respond to email from A. Mamlyuk re United Partnership administrative claim
                                      and moving forward with settlement discussions
7   7/3/2024   Y Lissebeck      0.2   Draft email to team re procedures motion and provide new claims register for review,
                                      review various replies
7   7/4/2024   S Gray           0.6   Review and analyze proof of claim No. 102770 and letter to rejected consumers
7   7/4/2024   S Gray           0.4   Research bankruptcy court equitable powers and claim objection standard for use in claim
                                      objection and motion for liquidation.
7   7/4/2024   S Gray           0.3   Review and analyze plan of liquidation and disclosure statement related to claim
                                      classifications and treatment of claimants
                                                                                                                                                                                     Page 197




7   7/4/2024   S Gray           6.4   Draft and analyze Trustee's objection to proof of claim, declaration in support of objection,
                                                                                                                                                                                 EXHIBIT "D"
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                                      and proof of service
    Date            Name      Hours   Narrative
7   7/4/2024    S Gray            1   Research local rules regarding claim objections to ensure compliance with local rules and
                                      practice
7    7/5/2024   C Celentino     2.1   Prep for and attend meeting regarding claims objection procedure motion and analysis of
                                      claims spreadsheet re objection strategy
7    7/5/2024   S Gray          1.8   Revise and analyze the Trustee's objection to proof of claim No. 102770-1
7    7/5/2024   S Gray          1.1   Revise and analyze notice of Trustee's objection to proof of claim No. 102770-1 and make
                                      final revisions to Trustee's objection.
7    7/5/2024   S Gray          0.1   Emails with Y. Lissebeck regarding revisions to Trustee's objection to proof of claim No.
                                      102770-1 and notice of objection
                                                                                                                                                                              Case 8:23-bk-10571-SC




7    7/5/2024   S Gray          1.1   Draft and analyze notice of the Trustee's objection to proof of claim No. 102770-1
7    7/5/2024   Y Lissebeck     0.2   Review and respond to email from S. Grey re claims objection and resolution and
                                      information re claims register and filed rejected claim
7    7/5/2024   Y Lissebeck     0.6   Telephone call with trustee team to discuss procedures motion and objecting to certain
                                      claims
7    7/5/2024   Y Lissebeck     0.1   Draft email to S. Grey re revisions and finalizing objection and resolution
7    7/5/2024   Y Lissebeck     0.7   Revise claims objections and resolution and supporting notice
7    7/6/2024   S Gray          0.1   Review Notice of Trustee's Claim Objection.
                                                                                                                                  Main Document




7    7/8/2024   C Celentino     0.7   Tabulation discussion
7    7/8/2024   C Celentino     1.4   Kyle herret call
7    7/8/2024   Y Lissebeck     0.1   Review email re LPG tabulation report
7    7/8/2024   Y Lissebeck     0.2   Telephone call with trustee re admin claims objections and rejection objection
7    7/8/2024   Y Lissebeck     0.1   Draft email to E. Hayes re UP admin claim and moving forward with objection
7    7/8/2024   Y Lissebeck     0.2   Review and respond to email from P. Kraus re secured creditor and amended claim
7    7/8/2024   Y Lissebeck     0.2   Draft email to trustee and OCC re amended POC for rejected class and voting 3B
                                      classification
                                                                                                                                                   Page 199 of 501




7    7/9/2024   Y Lissebeck     0.2   Review email from A. Mamlyuk re UP admin claim and stipulation to continue hearing,
                                      respond re effect on plan confirmation and adding language re same
7    7/9/2024   Y Lissebeck     0.2   Discuss Herrit claim with S. Mattingly and complaint
7    7/9/2024   Y Lissebeck     0.2   Review and respond to email from A. Mamlyuk re Herrit admin claim
7    7/9/2024   Y Lissebeck     0.3   Review and revise stipulation re UP admin claim and forward to A. Mamlyuk
7    7/9/2024   Y Lissebeck     0.2   Review email from T. Powell re complaint against Ms. Collona-Cohen and draft email to
                                      OCC and E. Hayes re objection to secured claim and complaint
7   7/10/2024   C Celentino     0.6   Communication concerning Allyrtex and SDP settlement
7   7/10/2024   Y Lissebeck     0.1   Review and respond to email from A. Mamlyuk re ADP claim and reduction of amount
7   7/11/2024   Y Lissebeck     0.2   Telephone call with Trustee and E. Hays re objections to claims and managing objections
                                                                                                                                                                                 Page 198




7   7/11/2024   Y Lissebeck     0.2   Review email from P. Krause re consumer claim and respond re CLG transfer
                                                                                                                                                                             EXHIBIT "D"
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7   7/11/2024   Y Lissebeck     0.2   Review and respond to emails from A. Mamlyuk re Alteryx admin claims
     Date            Name     Hours    Narrative
7   7/12/2024   C Celentino      2.3   Meet with Trustee team re claims
7   7/12/2024   Y Lissebeck      0.2   Review email from A. Mamlyuk re ADP claim and settlement amount
7   7/12/2024   Y Lissebeck      2.3   Meet with trustee team re claims
7   7/15/2024   C Celentino      0.8   Strategize re trustee objections to estimation motions
7   7/15/2024   Y Lissebeck      0.1   Review email from P. Krause with Priority claims register and suggestions for strategy
                                       related to objections
7   7/15/2024   Y Lissebeck      0.1   Review email from A. Mamlyuk re Herret claim and questions related to claim
7   7/15/2024   Y Lissebeck      0.1   Review email from A. Mamlyuk re alterix settlement
7   7/15/2024   Y Lissebeck      0.2   Draft email to E. Tang re help with priority claims and request for LPG information, review
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                       response and further reply
7   7/16/2024   Y Lissebeck      0.1   Review and respond to email from A. Mamlyuk re Herret call and need for further
                                       information
7   7/16/2024   Y Lissebeck      0.3   Review and revise ADP stipulation and add additional language re no admissions
7   7/18/2024   C Celentino      1.1   Analysis and conference re claims avoidance chart
7   7/18/2024   Y Lissebeck      0.3   Review email from D. Delos Reyes re alterix claim, review accounting documents re
                                       conveyances and respond to email
7   7/18/2024   Y Lissebeck      0.1   Review correspondence from A. Mamlyuk to Alterix re admin claim and avoidance action
                                                                                                                                       Main Document




7   7/19/2024   Y Lissebeck      0.3   Review email from D. DelosReyes re innovative, review spreadsheet for information, and
                                       res
7   7/22/2024   Y Lissebeck      0.1   Review emails from P. Krause and E. Tang re wahe claimant
7   7/22/2024   Y Lissebeck      0.1   Review and forward email from A. Colona-Cohen to C. Celentino
7   7/23/2024   C Celentino      2.1   Review and recommendations concerning claims objections and admin claims
7   7/23/2024   Y Lissebeck      0.2   Review email from B. Barnhardt re JP Morgan claim and secured line of credit
7   7/23/2024   Y Lissebeck      0.2   Review and respond to email from E. Hays re claim of Ashlee Colonna-Cohen and
                                       stipulation to withdraw objection, and strategy for filing complaint
                                                                                                                                                        Page 200 of 501




7   7/23/2024   Y Lissebeck      0.1   Draft email to A. Mamlyuk requesting updated admin chart with amounts
7   7/23/2024   Y Lissebeck      0.1   Forward email to T. Powell for review and input
7   7/23/2024   Y Lissebeck      0.1   Respond to email from T. Powell
7   7/23/2024   Y Lissebeck      0.1   Review updated chart and ask that chart be forwarded to OCC
7   7/24/2024   Y Lissebeck      0.1   Review email from E. Hays re the complaint against A. Colonna Cohen for avoidance
7   7/25/2024   Y Lissebeck      0.2   Review and respond to email from A. Mamlyuk re admin claims and denial of claims and
                                       calculating amounts for plan purposes
7   7/26/2024   Y Lissebeck      0.2   Review email from T. Powell re JP Morgan collateral and issues related to ALteryx
7   7/26/2024   Y Lissebeck      0.3   Review and respond to email from P. Kraus re LPG consumer client email, forward to J.
                                       Mottola for review, and respond to J. Mottola email re clarification related to questions and
                                       claim
                                                                                                                                                                                      Page 199
                                                                                                                                                                                  EXHIBIT "D"
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7   7/26/2024   Y Lissebeck      0.3   Telephone call with E. Hays re same
     Date            Name     Hours    Narrative
7   7/30/2024   Y Lissebeck      0.3   Review email from T. Powell re primelogix and respond with paragraph for allegations in
                                       complaint
7   7/30/2024   Y Lissebeck      0.3   Review and revise stipulation to allow admin claim of attorney
7    8/1/2024   C Ghio           0.5   Analysis re Hala Hammi email re review of response to creditor subpoena.
7    8/2/2024   Y Lissebeck      0.1   Draft email to N. Koffroth and E. Hays re meeting to discuss objections to claims
7    8/9/2024   Y Lissebeck      0.3   Review various claims issues and update master task chart with claims objections
                                       procedures
7    8/9/2024   Y Lissebeck      0.2   Draft email to E. Tan re priority claims, review response, reply and forward information to
                                       E. Hays for use
                                                                                                                                                                                 Case 8:23-bk-10571-SC




7    8/9/2024   Y Lissebeck      0.1   Review and respond to email of A. Mamlyuk re allegations in complaint to use against
                                       Alterix
7   8/12/2024   Y Lissebeck      0.2   Review email from J. Kurtz, J. Teeple and E. Hays re objection to priority tax claims and
                                       status of various bank records
7   8/13/2024   Y Lissebeck      0.2   Review objection to confirmation of plan filed by Blue Cross and discuss with C. Celentino
7   8/13/2024   Y Lissebeck      0.2   Review and respond to email from E. Hays re same objection
7   8/14/2024   C Ghio           0.4   Telephone calls and emails with Russ Squires and Tracy Roman re United Partnerships
                                       subpoena
                                                                                                                                     Main Document




7   8/14/2024   Y Lissebeck      0.2   Discuss objection to claims with E. Hays
7   8/14/2024   Y Lissebeck      0.1   Draft email to A. Mamlyuk re admin claims and amounts to be paid upon effective date
7   8/14/2024   Y Lissebeck      0.1   Draft email to E. Than re employees and information re employees
7   8/14/2024   Y Lissebeck      0.3   Review email from A. DeLeest re obtaining subpoena documents for credit cards, review
                                       file, and respond to email
7   8/14/2024   Y Lissebeck      0.1   Review email from A. Mamlyuk re amounts to be paid on effective date and forward
7   8/14/2024   Y Lissebeck      0.2   Review email from T. Roman re subpoena from United Partnership and issues re turnover
                                       of luna documents
                                                                                                                                                      Page 201 of 501




7   8/14/2024   Y Lissebeck      0.2   Discuss response to subpoena with C. Ghio
7   8/15/2024   C Ghio           0.8   Telephone conference with MLG and ResPro re subpoena from United Partnerships
                                       requesting sensitive client materials implicating MLG and Estate equities.
7   8/16/2024   Y Lissebeck      0.2   Review and respond to emails from J. Teeple and A. DeLeest re accounting files and
                                       employee files related to objections to claims
7   8/16/2024   Y Lissebeck      0.1   Review and respond to various emails from E. Hays to R. Squires re employees claims for
                                       LPG
7   8/19/2024   Y Lissebeck      0.1   Review and respond to email from N. Cooper re employee claims and statements with
                                       paychex information
7   8/20/2024   C Ghio           1.2   Review draft response to Greyson Law objection to plan confirmation and revise.
                                                                                                                                                                                    Page 200




7   8/20/2024   Y Lissebeck      0.2   Review and respond to emails re Blue Cross claim and employee information
                                                                                                                                                                                EXHIBIT "D"
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     Date            Name     Hours    Narrative
7   8/20/2024   Y Lissebeck      0.2   Review and respond to emails from N. Cooper re paychex information related to bluecross
                                       claim
7   8/21/2024   C Ghio           1.2   Review of Zoom data re call centers and identification of agents in connection with United
                                       Partnerships claim objection.
7   8/22/2024   Y Lissebeck      0.2   Telephone call with trustee re settlement of blue cross admin claim
7   8/22/2024   Y Lissebeck      0.1   Draft email to E. Hays re settlement of blue cross claim
7   8/22/2024   Y Lissebeck      0.2   Review email from consumer client re amended rejected claim, forward to J. Motolla for
                                       review and follow up
7   8/23/2024   Y Lissebeck      0.2   Review and respond to email from D. Goodrich re MLG documents, request C. Ghio follow
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                       up and response
7   8/23/2024   Y Lissebeck      0.4   Review and revise Alterix complaint and forward revisions to A. Mamlyuk
7   8/23/2024   Y Lissebeck      0.2   Telephone call with A. Mamlyuk re revised complaint and language to use re avoidance
                                       transfers
7   8/23/2024   Y Lissebeck      0.2   Review and respond to email re Alteryx complaint and objection to claim
7   8/26/2024   C Ghio           1.4   Review and analysis and revision of draft Alteryx adversary proceeding.
7   8/26/2024   Y Lissebeck      0.5   Discuss claims and claims objections with A. DeLeest and Trustee
7   8/26/2024   Y Lissebeck      0.2   Review and respond to emails from A. DeLeest re objections to claims and proof of claim
                                                                                                                                      Main Document




                                       forms
7   8/26/2024   Y Lissebeck      0.3   Review claims register and forward various claims to sharedrive for A. DeLeest to use for
                                       objections
7   8/26/2024   Y Lissebeck      0.2   Review and respond to email from A. Mamlyuk re admin claims and status of alterix
7   8/26/2024   Y Lissebeck      0.3   Telephone call with A. Mamlyuk re claims objections and alterix issues
7   8/27/2024   Y Lissebeck      0.1   Review and respond to email of A. DeLeest re duplicate claims and objections
7   8/27/2024   Y Lissebeck      0.2   Review and respond to email from T. Powell re objection to A. Colona-Cohen claim and
                                       forward email to E. Hays re JP Morgan claim
                                                                                                                                                       Page 202 of 501




7   8/27/2024   Y Lissebeck      0.4   Review and revise complaint against A. Colona-Cohen and provide T. Powell with
                                       comments re same
7   8/30/2024   J Freedman       1.7   Review and analysis of priority claims in order to develop strategy for omnibus objection to
                                       same
7   8/30/2024   Y Lissebeck      0.5   Review claims report for need to file objections to admin, secured and priority claims
                                       before effective date
7   8/30/2024   Y Lissebeck      1.2   Telephone call with A. DeLeest reviewing all priority and secured claims in preparation for
                                       objections
7   8/30/2024   Y Lissebeck      0.8   Telephone call with A. DeLeest re admin and tax claims and plan language
7   8/30/2024   Y Lissebeck      0.2   Draft email to A. DeLeest re claims that need objections prior to effective date
                                                                                                                                                                                     Page 201




7   8/30/2024   Y Lissebeck      0.1   Review email from A. DeLeest re objection to secured claims
                                                                                                                                                                                 EXHIBIT "D"
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7   8/30/2024   Y Lissebeck      0.2   Draft email to E. Hays, N. Koffroth and J. Teeple re objection to tax claims
     Date            Name     Hours    Narrative
7   8/30/2024   Y Lissebeck      0.2   Draft email to C. Ghio and J. Freedman re objection to certain wage claimants priority
                                       claims
7   8/31/2024   J Freedman       0.6   Develop strategy regarding objections to Han Jayde, Scott, Justin and other's employment
                                       claims in light of confirmation
7   8/31/2024   Y Lissebeck      0.3   Review and respond to various emails from J. Freedman and C. Celentino re objecting to
                                       priority wage claims of various employees of LPG and grounds to object and cross claims
7    9/1/2024   J Freedman       0.4   Develop further strategy for substantive objections to claims by Han, Jayde, Scott, Justin
                                       and others in light of plan confirmation
7    9/2/2024   Y Lissebeck      0.2   Review and respond to email from P. Krause re resolution of Chase claim and forward
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                       emails from E. Hays to A. DeLeest re resolution
7    9/3/2024   J Freedman       0.6   Develop strategy for objection to insiders priority claims including Han and Jayde Trinh,
                                       Israel Orozco, Justin Nguyen, Scott Eadie and Kevin Kurka
7    9/3/2024   MT Powell        0.3   Discuss upcoming objection to insider employee claims with Y. Lissebeck and J.
                                       Freedman.
7    9/3/2024   MT Powell        0.7   Review priority claims of former employees that were insiders for objection or payment.
7    9/4/2024   J Freedman       0.2   Teleconference with client regarding strategy for priority claims
7    9/4/2024   J Freedman       1.2   Draft objections to priority claims ahead of deadline
                                                                                                                                     Main Document




7    9/4/2024   J Freedman       2.7   Review and analysis of evidence related to priority claimants, in order to draft objections
                                       and evaluate for further adversary proceeding
7    9/4/2024   MT Powell        0.8   Review priority claims of insider employees and payments made to those employees in
                                       preference period
7    9/4/2024   Y Lissebeck      0.5   Discuss objections to priority claims and strategy for objections with A. Deleest
7    9/4/2024   Y Lissebeck      0.2   Telephone call with trustee re claims objections and process to ensure consistency
7    9/4/2024   Y Lissebeck      0.3   Review file and forward documents to T. Powell for use with objections
7    9/4/2024   Y Lissebeck      0.3   Telephone call with T. Powell and J. Freedman re filing objections to priority wage
                                                                                                                                                      Page 203 of 501




                                       claimants whom we are already identifying as litigation targets
7    9/5/2024   Y Lissebeck      0.3   Telephone call with Trustee re claims objections and moving forward with case
7    9/6/2024   MT Powell        0.2   Review and respond to email from accountants with information on payments to key
                                       employees in preference period
7    9/6/2024   Y Lissebeck      0.1   Review and respond to email from T. Powell re objection to priority wage claims
7    9/6/2024   Y Lissebeck      0.2   Review file and draft email to A. DeLees with spreadsheet that identifies what consumers
                                       paid to LPG for claims analysis
7    9/6/2024   Y Lissebeck      0.2   Telephone call with Trustee re claims objections and moving forward with case
7    9/9/2024   J Bothamley      1.1   Research whether CRI System, New Vision Debt, Summit Marketing Solutions, Inc.,
                                       and/or EZ Debt Relief filed a priority/ admin proof of claim in LPG BK case.
                                                                                                                                                                                    Page 202
                                                                                                                                                                                EXHIBIT "D"
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    Date             Name     Hours    Narrative
7   9/9/2024    Y Lissebeck      0.3   Draft email to team re review of litigation targets for admin or priority claims, and making
                                       sure complaint has objection or need to file an objection prior to effective date, review
                                       various responses to email and reply thereto
7    9/9/2024   Y Lissebeck      0.2   Review and respond to emails re Unified Partnership objection to claim and supporting
                                       declaration
7   9/10/2024   J Freedman       0.8   Review and analysis of standard for objection and proof of claim for wages pursuant to 11
                                       U.S.C. 507(a)(4) in order to draft objection to LPG insiders claims
7   9/11/2024   J Bothamley      0.1   Review and respond to email from V. Jaswal re question about admin/priority claims for
                                       affiliates.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




7   9/11/2024   MT Powell        0.5   Call with J. Freedman re claims objection to certain employees and insiders and Bill.com
                                       payments
7   9/11/2024   Y Lissebeck      0.2   Review and respond to various emails from P. Krause and A. Deleest re objections to
                                       claims and effective date payments
7   9/11/2024   Y Lissebeck      0.2   Draft email to J. Freedman and T. Powell re deadline for objection to claims, review
                                       response and reply
7   9/11/2024   Y Lissebeck      0.1   Review email from A. DeLeest re tax claims and objection deadline and respond thereto
7   9/12/2024   MT Powell        0.6   Review reports of payments during preference period and in years preceding bankruptcy
                                                                                                                                      Main Document




                                       to identify payments made to former employees with priority claims for claim objection.
7   9/12/2024   MT Powell        2.7   Begin drafting objection to priority claims filed by former employees involved in the
                                       transfer of Debtor assets to third parties and declaration of Richard Marshack in support of
                                       objection
7   9/12/2024   MT Powell        1.2   Review each claim of each creditor to identify reasons for objection.
7   9/12/2024   Y Lissebeck      0.2   Review and respond to numerous emails re objections to priority claims and finalizing
                                       objections
7   9/12/2024   Y Lissebeck      0.2   Review and respond to emails re objections to tax claims and obtaining information
                                                                                                                                                       Page 204 of 501




                                       related thereto via subpoena to taxing authorities
7   9/13/2024   MT Powell        0.9   Revise declaration of R. Marshack for objection to claim of insiders.
7   9/13/2024   Y Lissebeck      0.2   Review and respond to email re affiliate litigation targets and admin and/or priority claims
7   9/14/2024   Y Lissebeck      0.3   Review and revise declaration of trustee in support of objection to priority wage claims
7   9/14/2024   Y Lissebeck      0.1   Discuss revisions with T. Powell
7   9/16/2024   J Freedman       0.4   Draft litigation hold letter to Justin Nguyen and H3 Computer Services related to objection
                                       to priority claim
7   9/16/2024   J Freedman       0.6   Draft litigation hold letter to Mario Azevedo and Aezevedo Solutions related to objection to
                                       priority claim
7   9/16/2024   J Freedman       0.3   Draft litigation hold letter to Thanhhang Nguyen related to objection to priority claim
                                                                                                                                                                                     Page 203




7   9/16/2024   J Freedman       0.3   Draft litigation hold letter to Scott Eadie related to objection to priority claim
                                                                                                                                                                                 EXHIBIT "D"
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7   9/16/2024   J Freedman       0.3   Draft litigation hold letter to Kevin Kurka related to objection to priority claim
     Date           Name      Hours   Narrative
7   9/16/2024   MT Powell         2   Review and edit objection to claims of certain insiders and accompanying declaration of
                                      R.Marshack
7   9/16/2024   MT Powell       2.4   Finalize information on payments to secured creditors according to settlements and
                                      payments to post-petition lenders
7   9/16/2024   Y Lissebeck     0.3   Review declaration of Trustee in support of objection to wage priority claim and comment
                                      re exhibit references needed in declaration and objection
7   9/16/2024   Y Lissebeck     0.2   Review and respond to emails from A. DeLeest re update on admin and priority wage
                                      claim objections
7   9/16/2024   Y Lissebeck     0.1   Discuss revisions with T. Powell and W. Yones to finalize and obtain hearing date
                                                                                                                                                                                Case 8:23-bk-10571-SC




7   9/16/2024   Y Lissebeck     0.1   Draft email to trustee with a revised declaration for review and signature
7   9/16/2024   Y Lissebeck     0.3   Review and revise declaration
7   9/16/2024   Y Lissebeck     0.5   Review and revise objection
7   9/17/2024   J Freedman      1.3   Draft subpoena to Justin Nguyen and Thanhhang Nguyen regarding priority claim
7   9/17/2024   MT Powell       0.5   Attend conference call with Y. Lissebeck and E. Hays re Effective Date payments and
                                      other post-confirmation issues re claims and claim payments.
7   9/17/2024   MT Powell       1.2   Edit and finalize objection to claims of insiders
7   9/17/2024   Y Lissebeck     0.2   Review email and chart from P. Krause with payments to secured/super priority loans and
                                                                                                                                    Main Document




                                      respond thereto
7   9/17/2024   Y Lissebeck     0.2   Review notice of claim objections and respond re revising notice
7   9/17/2024   Y Lissebeck     0.2   Review various emails from N. Cooper and T. Powell re accounting of azevedo
7   9/17/2024   Y Lissebeck     0.5   Telephone call with A. Deelest to review outstanding claims objections for admin and an
                                      priority claims, confirm which ones are being handled by Dinsmore and provide status of
                                      objections
7   9/17/2024   Y Lissebeck     0.2   Draft email to K. Stevenson of Omni re POS of confirmation order for admin bar date,
                                      review response and reply
                                                                                                                                                     Page 205 of 501




7   9/18/2024   MT Powell       1.3   Attention to final revisions to insider claim objection for filing.
7   9/18/2024   Y Lissebeck     0.2   Telephone call with A. Deleest re various objections to tax claims and timing of 45 day bar
                                      in confirmation order
7   9/18/2024   Y Lissebeck     0.1   Review and respond to email of T. Powell re objection to wage priority claims
7   9/19/2024   C Ghio          0.5   Prepare email to David Goodrich re subpoena response and information concerning
                                      employees working Columbia call center.
7   9/19/2024   J Freedman      0.1   Review and analysis of email from investor regarding Unified Global claim and evidence
                                      provided regarding same in order evaluate for further grounds for objection and evidence
                                      as to other defendants
7   9/19/2024   Y Lissebeck     0.1   Review emails from T. Powell and J. Golden re Oxford Knox and BAE information for use
                                                                                                                                                                                   Page 204




                                      moving forward with objections to claims
                                                                                                                                                                               EXHIBIT "D"
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     Date            Name     Hours    Narrative
7   9/20/2024   Y Lissebeck      0.2   Draft email to accountants and trustee re subpoena to tax affiliates and identification of
                                       possible tax preparation party
7   9/21/2024   J Freedman       0.1   Review and analysis of evidence provided by insider investor to evaluate further claims
                                       against defendants not currently
7   9/22/2024   J Freedman       0.6   Draft request for production of documents to subpoena as to claimant Azevedo Solutions
                                       Group to support objection to claim
7   9/22/2024   J Freedman       0.3   Draft request for production of documents to subpoena as to Sherri Chen to support
                                       objection claim
7   9/22/2024   J Freedman       0.1   Draft litigation hold letter as to Sherri Chen
                                                                                                                                                                                Case 8:23-bk-10571-SC




7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Justin Nguyen
7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Israel Orozco
7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Scott Eadie
7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Thanhhang Nguyen
7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Azevedo Solutions Group and Mario Azevedo
7   9/22/2024   J Freedman       0.6   Draft request for production of documents to subpoena as to Israel Orozco to support
                                       objection claim
7   9/22/2024   J Freedman       0.4   Draft request for production of documents to subpoena as to Kevin Kurka to support
                                                                                                                                    Main Document




                                       objection claim
7   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Azevedo Solutions Group and Kevin Kurka
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                          Asset Analysis/Recovery/Disposition (143576-8)



                                                  FEES
                NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Sara A. Johnston           Partner                   $495.00     11.50     $5,692.50
    Yosina M. Lissebeck        Partner                   $725.00       .20      $149.00
    Jeremy B. Freedman         Associate                 $465.00      9.90     $4,603.50
    Brandon E. Lira            Associate                 $355.00      2.80      $994.00
    Jonathan B. Serrano        Associate                 $415.00       .50      $207.50
    Wendy Yones                Paraprofessional          $205.00       .20        $41.00
                                                           TOTALS    25.10    $11,687.50
     Date            Name     Hours    Narrative
8   7/11/2024   J Freedman       0.2   Develop strategy for filing complaint as against Visa / Authorize.net in order to recover
                                       debtor assets
8   7/12/2024   Y Lissebeck      0.1   Review and respond to emails re payment of sale proceeds from MLG
8   7/15/2024   Y Lissebeck      0.1   Review email from B. Barnhardt re ACH and Zelle documents from bank of America and
                                       review of statements requested in subpoena, forward to accountants for assistance in
                                       responding to bank
8   7/16/2024   J Serrano        0.2   Correspond with Y. Lissebeck of Dinsmore re access to bank account statements of
                                       Primelogix.
8    8/6/2024   W Yones          0.2   Gather information regarding obtaining current addresses for client refund list
                                                                                                                                                                                   Case 8:23-bk-10571-SC




8   8/13/2024   S Johnston       0.3   Work on initial 549 analysis for updated demand letters
8   8/15/2024   B Lira             1   Analyze law concerning the scope of the remedies afford by Section 549 of the
                                       Bankruptcy Code with attention to applicable precedents of the Ninth Circuit
8   8/15/2024   B Lira           1.1   Prepare additional demand letter templates to conform to the latest evidence emerging in
                                       the case
8   8/16/2024   S Johnston       0.6   Finalize letters for post-petition avoidance
8   8/22/2024   S Johnston       0.5   Update WIP Report for next avoidance targets
8   8/22/2024   S Johnston       0.2   Coordinate Leads Meeting for next complaint assignments
                                                                                                                                       Main Document




8   8/23/2024   J Freedman       0.3   Multiple emails (3) with general counsel for Trustee regarding claims against Alteryx for
                                       avoidance
8   8/23/2024   J Freedman       0.8   Review and analysis of draft complaint by general counsel for Trustee in order to evaluate
                                       for further evidence, claims and allegations in light of discovery in the 1046 Action
8   8/23/2024   J Freedman       2.7   Review and analysis of evidence and records related to Alteryx in order to draft further
                                       allegations and claims against Alteryx in Trustee's avoidance action
8   8/23/2024   J Freedman       3.1   Draft further allegations and claims to the avoidance action against Alteryx
8   8/24/2024   J Freedman       2.1   Draft further allegations to the Alteryx complaint to support claims and fraudulent transfers
                                                                                                                                                        Page 208 of 501




8   8/26/2024   J Freedman       0.6   Draft further allegations to the Alteryx complaint prior to sending to client
8   8/26/2024   J Freedman       0.1   Draft letter to client providing revised Alteryx complaint with additional facts consistent
                                       with the evidence
8   8/28/2024   J Serrano        0.3   Correspond with M. Burgess from the IT team re LPG domain access.
8   8/28/2024   S Johnston       1.9   Update WIP report for affiliate litigation
8    9/9/2024   S Johnston       0.4   Correspondence to S. Gray, V. Rodriguez, B. Cockcroft, J. Bothamley re proof of claim
                                       status and claim objection instruction
8   9/10/2024   B Lira           0.3   Correspondence with SJ and YL regarding potential procedures motion to govern the
                                       Trustee's avoidance actions
8   9/10/2024   S Johnston       0.3   Examine and analyze next targets for potential complaints
                                                                                                                                                                                      Page 207




8   9/11/2024   B Lira           0.2   Review assignment of four additional affiliates to BEL by SAJ for potential avoidance
                                                                                                                                                                                  EXHIBIT "D"
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                                       actions
     Date            Name    Hours    Narrative
8   9/11/2024   S Johnston      0.6   Brief attention to Bill.com transactions for potential implications on claim objections and
                                      adversary complaints
8   9/11/2024   S Johnston      0.3   Work on additional affiliate assignments to B. Lira
8   9/13/2024   B Lira          0.2   Analyze claims of Coast to Coast with attention to any putative rights to be treated as an
                                      administrative or priority claimant
8   9/13/2024   S Johnston      0.3   Brief attention to updated payment reports for instruction to associates to update amounts
                                      on same and potential affiliate implications
8   9/13/2024   S Johnston      0.2   Discuss subpoena service details with S. Gray
8   9/13/2024   S Johnston      0.2   Work on "new affiliates" for priority status
                                                                                                                                                                                  Case 8:23-bk-10571-SC




8   9/13/2024   S Johnston      0.3   Work on B. Lira additional adversary assignments for updates to WIP report
8   9/16/2024   S Johnston      0.9   Work on updates to WIP Report for next adversary complaints
8   9/16/2024   S Johnston      0.2   Discuss updated complaint details with S. Mattingly
8   9/17/2024   S Johnston      0.2   Brief attention to updated WIP report incorporating additional affiliates
8   9/17/2024   S Johnston      0.5   Review updated form demand letters for next affiliate targets
8   9/19/2024   S Johnston      0.1   Brief discussion with V. Rodriguez for ponzi scheme considerations for memorandum
                                      regarding the same
8   9/19/2024   S Johnston      0.1   Brief updates to MCA Lender dba chart
                                                                                                                                      Main Document




8   9/19/2024   S Johnston      1.1   Begin work on 2004 pleadings for BankUnited, N.A.
8   9/23/2024   S Johnston      2.1   Prepare for affiliate WIP call with Y. Lissebeck with specific attention to affiliate status,
                                      settlements, complaint details, and ponzi scheme updates
8   9/23/2024   S Johnston      0.2   Work on initial affiliate information detail with B. Lira
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                           Post-Petition Financing Matters (143576-11)



                                             FEES
               NAME                  TITLE           RATE      HOURS    TOTAL FEES
    M. Tyler Powell            Partner              $595.00     3.80      $2,261.00
    Yosina M. Lissebeck        Partner              $745.00     1.30       $968.50
                                                      TOTALS     5.10     $3,229.50
      Date           Name      Hours    Narrative
11   9/12/2024   MT Powell        0.3   Review pleadings on post-petition borrowing to confirm payment amounts to post-petition
                                        lenders.
11   9/12/2024   Y Lissebeck      0.2   Review and respond to emails re w9s and payment amounts to be paid to CLG for super
                                        priority loan
11   9/12/2024   Y Lissebeck      0.1   Review file for notes re amounts and respond to T. Powell re final loan amount
11   9/12/2024   Y Lissebeck      0.1   Discuss same with T. Powll
11   9/13/2024   MT Powell        2.2   Review pleadings re approval of post-petition loans to track changes in loan documents
                                        and amounts and review additional information on payments from Liberty Acquisitions
                                        made directly to creditors of the Debtor.
                                                                                                                                                                                Case 8:23-bk-10571-SC




11   9/13/2024   MT Powell        0.8   Review and respond to email from I. Kharasch, counsel for Liberty Acquistions, LLC re
                                        correct principal balance of Liberty Note and calculation of same.
11   9/15/2024   Y Lissebeck      0.1   Review various emails re payment of super priority loan to Liberty (CLG)
11   9/15/2024   Y Lissebeck      0.1   Review response and reply further to T. Powell re repayment amounts
11   9/15/2024   Y Lissebeck      0.3   Review numbers and request confirmation from T. Powell re payback amounts
11   9/16/2024   Y Lissebeck      0.2   Review numerous emails re payment to Liberty on effective date and draft email re payee
                                        and address
11   9/17/2024   Y Lissebeck      0.2   Review various emails from Liberty counsel and P. Krause re liberty payment
                                                                                                                                    Main Document




11   9/19/2024   MT Powell        0.5   Attention to multiple phone calls and texts regarding correction of payment to Resolution
                                        Ventures on post-petition claim with P. Kraus at Marshack Hayes and R. Squires of
                                        Resolution Ventures.
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                                Employee Matters (143576-12)



                                             FEES
               NAME                  TITLE           RATE      HOURS   TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00      .70      $521.50
                                                      TOTALS     .70      $521.50
     Date            Name     Hours    Narrative
12   7/5/2024   Y Lissebeck      0.2   Telephone call with C. Celentino re employee issues, and draft email to employee
                                       requesting documents
12   7/5/2024   Y Lissebeck      0.2   Review and respond to employee email and forward to C. Ghio and C. Celentino for
                                       review and use
12   7/5/2024   Y Lissebeck      0.3   Telephone call with trustee and employee related to various matters
                                                                                                                                                                      Case 8:23-bk-10571-SC
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                                 Meetings of Creditors (143576-13)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00      3.50     $2,922.50
                                                        TOTALS     3.50     $2,922.50
      Date           Name      Hours    Narrative
13    7/5/2024   C Celentino      1.1   Prep for and attend standing committee meeting
13    7/8/2024   C Celentino      1.1   LPG standing committee call
13   7/15/2024   C Celentino      0.9   Commitee standing meeting
13   7/25/2024   C Celentino      0.4   Limited attendance in weekly standing committee call
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                                2004 Examinations (143576-15)



                                                  FEES
                 NAME                TITLE                RATE      HOURS    TOTAL FEES
    M. Tyler Powell            Partner                   $595.00      1.00      $595.00
    Yosina M. Lissebeck        Partner                   $745.00       .60      $447.00
    Jennifer E. Pitcock        Paraprofessional          $215.00      2.00      $430.00
                                                           TOTALS     3.60     $1.472.00
      Date            Name     Hours    Narrative
15   7/12/2024   Y Lissebeck      0.2   Review and respond to email from J. Freedman re 2004 application and proceeding with
                                        drafting it to serve
15   7/15/2024   Y Lissebeck      0.2   Review responses re ACH and Zelle information and documents needed and draft further
                                        email to team re banks request to limit items
15   7/22/2024   Y Lissebeck      0.1   Review email from V. Rodriguez re service and response of 2004 subpoena
15   7/23/2024   J Pitcock          2   Prepare Motion for 2004 Examination of Bank of America packet to obtain identification of
                                        owners of recipient accounts of intrabank transfers from Debtor for potential
                                        preferential/fraudulent transfers.
15   8/31/2024   MT Powell        0.4   Draft document requests for transfers to unknown accounts from Debtor accounts for
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        discovery.
15    9/9/2024   MT Powell        0.6   Finish review and edits to document requests for transfers to unidentified accounts from
                                        Debtor's bank accounts.
15   9/13/2024   Y Lissebeck      0.1   Review email from T. Powell re rule 2004 application to B of A and need to obtain further
                                        information related to supboena
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                                General Litigation (143576-18)



                                                  FEES
                 NAME                TITLE                RATE      HOURS    TOTAL FEES
    Ellen Arvin Kennedy        Partner                   $665.00       .50      $332.50
    John H. Stephens           Partner                   $545.00      1.20      $654.00
    M. Tyler Powell            Partner                   $595.00      7.70     $4,581.50
    Sara A Johnston            Partner                   $495.00      1.10      $544.50
    Yosina M. Lissebeck        Partner                   $745.00     14.50    $10,802.50
    Brian M. Metcalf           Associate                 $650.00     12.40     $8,060.00
    Bryan L. Cockroft          Associate                 $275.00      1.00      $275.00
    Jacob R. Bothamley         Associate                 $405.00      2.50     $1,012.50
    Brandon e. Lira            Associate                 $355.00      4.40     $1,562.00
    Vanessa Rodriguez          Associate                 $385.00      7.20     $2,772.00
    Jennifer E. Pitcock        Paraprofessional          $215.00       .30        $64.50
    Wendy Yones                Paraprofessional          $205.00      4.60      $943.00
                                                           TOTALS    57.40    $31,604.00
     Date            Name      Hours    Narrative
18   7/1/2024    B Metcalf        0.6   Review documents and analyze potential claims against MCA parties and accounts
                                        receivable purchasers.
18    7/1/2024   W Yones          1.2   Gather information and prepare reference binder regarding trial deadlines and dates in
                                        various adversary proceedings
18    7/1/2024   Y Lissebeck      0.3   Review various chamber rule re pre-trial order and stipulation and deadlines
18    7/1/2024   Y Lissebeck      0.2   Draft email to team with copies of rules for use and proper calendaring
18    7/2/2024   Y Lissebeck      0.2   Draft email to team re local guidelines and rules related to motions and adversary practice
18    7/3/2024   J Bothamley      0.1   Send sample 2004 motion to V. Rodriguez.
18    7/3/2024   V Rodriguez      0.1   Receipt and review of correspondence from Attorney Y.L. regarding the Central District
                                                                                                                                                                                     Case 8:23-bk-10571-SC




                                        Rules for Adversary Proceedings.
18    7/3/2024   V Rodriguez      0.1   Receipt and review of correspondence from Attorney Y.L. regarding reviewing the Central
                                        Guide's Court Manual for the proper formatting of motions and submitting evidence by way
                                        of declarations.
18    7/5/2024   Y Lissebeck      0.1   Review updated excel sheet with contact information re fraudulent conveyance and
                                        preference targets
18   7/11/2024   W Yones          0.6   Update and revise litigation/adversary tracking chart with new docket deadlines and
                                        information for Y. Lissebeck
                                                                                                                                         Main Document




18   7/12/2024   Y Lissebeck      0.1   Review and respond to email from J. Freedman re pursuing Visa and providing
                                        information re to C. Haes re same
18   7/15/2024   J Bothamley      0.3   Update WIP report with latest developments in EZ Debt and Summit Marketing.
18   7/16/2024   J Bothamley      0.1   Review email from Y. Lissebeck re additional requirements for initial disclosures in affiliate
                                        cases.
18   7/16/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding drafting
                                        supplemental initial disclosures to include information pertaining to J. Teeple and N.
                                        Rapoport.
                                                                                                                                                          Page 219 of 501




18   7/16/2024   Y Lissebeck      0.2   Draft email to affiliate team re supplemental disclosures for experts
18   7/16/2024   Y Lissebeck      1.8   Update spreadsheet
18   7/16/2024   Y Lissebeck      1.3   Telephone call with                      and other team members to discuss vendors and
                                        affiliate targets for avoidance actions
18   7/16/2024   Y Lissebeck      0.1   Draft email to accountants re maverick statements and affiliate targets
18   7/16/2024   Y Lissebeck      0.2   Review emails from J. Serrano re maverick bank statements and review statements
18   7/17/2024   Y Lissebeck      0.2   Draft email to accountants re various spread sheets showing payments to AP participants
                                        and review response
18   7/18/2024   W Yones          0.3   Update and revise adversary tracking chart & deadlines
18   7/18/2024   Y Lissebeck      0.3   Telephone with trustee re litigation targets and case strategy
                                                                                                                                                                                        Page 218




18   7/23/2024   Y Lissebeck      0.1   Review email from B. Fennell re supboena and proof of service
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18   7/23/2024   Y Lissebeck      0.1   Review response from C.Ghio
      Date           Name      Hours   Narrative
18   7/24/2024   MT Powell         1   Review and analyze JPMorgan Chase proof of claim, account statements, and letter of
                                       credit documents
18   7/24/2024   V Rodriguez     0.4   Strategy conference regarding drafting supplemental initial disclosures, review of
                                       document production, and potential settlement offers.
18   7/25/2024   Y Lissebeck     0.1   Review email from N. Cooper re bank records and various accounts that still have money
                                       to collect
18   7/29/2024   B Lira          1.3   Develop strategy concerning post-sale security issues in LPG's Chapter 11 proceeding
                                       and related litigation
18   7/29/2024   J Bothamley     0.1   Meet w/ V. Jaswal re usury memo and upcoming initial disclosures for affiliate adversary
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                       proceedings.
18   7/29/2024   J Stephens      0.2   Conference with Y. Lissebeck re: materials found in email review
18   7/30/2024   B Lira          3.1   Analyze California law concerning breaches of professional duty by attorneys with
                                       attention to the consequences of professional failings on the enforceability of legal
                                       services agreements
18   7/30/2024   B Metcalf       0.2   Email with B. Barnhardt, J. Freedman, Y. Lissebeck regarding analysis of Bank of West
                                       records for LPG and affiliates, proposed volume and deadline for production of
18   7/30/2024   B Metcalf       0.1   Review and analyze terms of subpoena and scope of documents requested from Bank of
                                                                                                                                    Main Document




                                       the West.
18   7/31/2024   B Metcalf       0.1   Email with B. Barnhardt regarding status of subpoena and production of documents from
                                       Bank of the West.
18   7/31/2024   MT Powell       0.5   Review and respond to emails from Y. Lissebeck and N. Cooper at Grobstein re initial
                                       analysis of post-petition payments before Trustee appointment. Establish threshold for
                                       additional research and timetable for same.
18    8/1/2024   B Metcalf       1.3   Review and analyze complaints and supporting allegations and causes of action against
                                       factoring/MCA lenders and accounts receivable purchasers and related exhibits and
                                                                                                                                                     Page 220 of 501




                                       answers, analyze bases for causes additional potential claims and theories for recovery of
                                       amounts transferred from LPG and affiliated entities in connection with transactions.
18    8/1/2024   J Stephens      0.4   Review list of 549 transfers for target defendants
18    8/1/2024   V Rodriguez     0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding the new
                                       accounting link and password to Grobstein's Work Product in Share File to view their
                                       relevant documents relating to the respective adversary proceedings.
18    8/1/2024   W Yones         0.3   Update and revise adversary tracking chart for Y. Lissebeck
18    8/2/2024   B Metcalf       0.4   Research and analyze potential avoidance actions and claims against factoring/MCA
                                       entities.
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     Date            Name      Hours    Narrative
18   8/2/2024    B Metcalf        0.7   Review and analyze complaints and supporting allegations and causes of action against
                                        factoring/MCA lenders and accounts receivable purchasers and related exhibits and
                                        answers, analyze bases for causes additional potential claims and theories for recovery of
                                        amounts transferred from LPG and affiliated entities in connection with transactions.
18    8/2/2024   B Metcalf        0.5   Research regarding standards for tracing transfers from commingled funds between
                                        debtor and non-debtor affiliates.
18    8/2/2024   B Metcalf        0.6   Research regarding characterization of MCA transactions and claims related to usurious
                                        lending arrangments.
18    8/2/2024   J Stephens       0.3   Complete review of target defendant's 549 transfers
                                                                                                                                                                                 Case 8:23-bk-10571-SC




18    8/2/2024   S Johnston       0.4   Work on 549 updates to impacted affiliates for complaint adjustments
18    8/2/2024   S Johnston       0.7   Telephone call with Y. Lissebeck re affiliate status
18    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding including 549
                                        Claims for Relief in the adversary proceedings if they are not included already and
                                        regarding the attached LPG Post-Petition Disbursement Summary.
18    8/5/2024   B Metcalf        0.5   Review and analyze pleadings, declarations, and exhibits regarding LPG solvency and
                                        payments during fraudulent and preferential transfer periods.
18    8/5/2024   B Metcalf        1.8   Review and analyze bank records and accountant summaries of transfers between LPG
                                                                                                                                     Main Document




                                        and affiliated entities and factoring/MCA lenders and accounts receivable purchasers,
                                        marketing entitites, and insiders and affiliated entities, record supporting insolvency at
                                        time of transfers, fraudulent intent, and illegality of transactions and agreements, and
                                        related avoidance actions and damages claims.
18    8/5/2024   B Metcalf        0.8   Research regarding California common law fraudulent transfer claims, aiding and abetting
                                        liability for intentional fraudulent transfers, and related recoverable compensatory and
                                        punitive damages.
18    8/5/2024   Y Lissebeck      0.2   Review message from Resurgent Capital and forward to C. Ghio to respond
                                                                                                                                                      Page 221 of 501




18    8/8/2024   J Stephens       0.2   Review email from Y. Lissebeck re: content of initial disclosures
18    8/8/2024   W Yones          0.2   Search through database and gather information regarding EPPS, LLC for J. Bothamley
                                        and Y. Lissebeck
18    8/9/2024   B Metcalf        0.6   Research regarding potential claims and damages for transactions and transfers between
                                        LPG and affiliates and factoring/MCA lenders and accounts receivable purchasers.
18    8/9/2024   J Bothamley      0.1   Review email from Y. Lissebeck re need to put opposing counsel on notice of protective
                                        order that is in place.
18    8/9/2024   Y Lissebeck      0.2   Draft email to team re service of initial disclosures and disclosing experts, as well as
                                        protective order disclosure
18   8/12/2024   J Bothamley      0.1   Review various email exchanges re LPG - Final documents for filing.
                                                                                                                                                                                    Page 220




18   8/12/2024   J Stephens       0.1   Review email from Y. Lissebeck re: additional complaints
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18   8/12/2024   W Yones          0.2   Update adversary tracking chart with new dates and deadlines
      Date            Name     Hours    Narrative
18   8/12/2024   Y Lissebeck      0.2   Review litigation targets and assign tasks to various attorneys
18   8/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck regarding disclosing witnesses in
                                        the Initial Disclosures and including a Proof of Service to show that Initial Disclosures
                                        were served.
18   8/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck regarding moving forward with
                                        filing new affiliate complaints.
18   8/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck regarding providing notice to
                                        opposing counsel of the protective order in place.
18   8/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck regarding utilizing Project Assistant
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        W. Yones to assist in LPG projects.
18   8/13/2024   V Rodriguez      0.1   Review of several correspondences from the LPG team regarding having all filed
                                        documents be approved by one of the team leads and what forms to use when drafting a
                                        settlement agreement.
18   8/13/2024   Y Lissebeck      0.2   Discuss filing of expert for MCA and UCC issues in litigation matters with C. Celentino
18   8/13/2024   Y Lissebeck      0.2   Discuss UCC expert with T. Powell
18   8/13/2024   Y Lissebeck      0.3   Research re MCA expert
18   8/15/2024   J Bothamley      0.2   Review strategy email from C. Ghio re fraudulent conveyance claims (writs of
                                                                                                                                    Main Document




18   8/16/2024   V Rodriguez      0.2   Review of multiple correspondences from Attorney C. Ghio re utilizing Writs of
                                        Attachments against the Defendants to satisfy creditors, the methods on how to obtain the
                                        Writs of Attachments, and the attached sample pleadings that were successful in one of
                                        the adversary proceeding.
18   8/16/2024   V Rodriguez      0.2   Review of several correspondences from the LPG team re securing a $5.8M Writ of
                                        Attachment against one of the Defendants, and a ruling in favor of the Trustee on a
                                        Motion for Summary Judgment against PECC.
18   8/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney C. Celentino re timekeeping to ensure that the
                                                                                                                                                     Page 222 of 501




                                        time entries reflect each new topic and thoroughly explains the work being done for each
                                        specific matter.
18   8/16/2024   W Yones          0.2   Update and add new entity information to adversary tracking chart
18   8/19/2024   J Bothamley      0.2   Meet with V. Rodriguez re answering questions on motion to approve compromise.
18   8/19/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney S. Gray and Attorney T. Powel re when
                                        and how to provide opposing counsel with notice of the Protective Order.
18   8/20/2024   W Yones          0.3   Update new dates and deadlines on adversary proceeding chart for Y. Lissebeck
18   8/21/2024   B Metcalf        0.3   Review and analyze additional documents and cases related to avoidance actions and
                                        other claims against factoring/MCA lenders and accounts receivable purchasers.
18   8/22/2024   B Metcalf        0.4   Review and analyze answer and affirmative defenses asserted by factoring/MCA lender
                                                                                                                                                                                   Page 221




                                        and accounts receivable purchasers to prefential and fraudulent transfer claims.
                                                                                                                                                                               EXHIBIT "D"
                                                                                                                                    Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date            Name     Hours    Narrative
18   8/22/2024   J Bothamley      0.1   Review email from Y. Lissebeck re upcoming deadlines and targets for LPG affiliate
                                        complaints.
18   8/22/2024   J Bothamley      0.1   Review changes to google litiagation hold letter and respond to email from J Freedman re
                                        review of litigation hold letter to google complete and ready to send.
18   8/22/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney Y. Lissebeck re filing new complaints
                                        against hundreds of affiliates before the end of the year, what to include in those
                                        complaints, and the attached template demand letters to send to the affiliates before
                                        commencing litigation.
18   8/22/2024   Y Lissebeck        1   Review litigation tracking sheet and identify new litigation targets to pursue
                                                                                                                                                                                  Case 8:23-bk-10571-SC




18   8/22/2024   Y Lissebeck      0.3   Draft detailed email to T. Spurlock with litigation targets and requesting status of
                                        proceedings
18   8/22/2024   Y Lissebeck      0.4   Draft detailed email to S. Mattingly and S. Johnston with litigation targets and requesting
                                        status of proceedings
18   8/22/2024   Y Lissebeck      0.3   Draft detailed email to T. Powell with litigation targets and requesting status of
18   8/22/2024   Y Lissebeck      0.3   Draft detailed email to affiliate litigation team with outline of how to proceed and new
                                        litigation targets, provide copies of demand letters for use
18   8/23/2024   MT Powell        0.7   Telephone call with M. Hale re forthcoming lawsuits against MCA lenders.
                                                                                                                                      Main Document




18   8/23/2024   Y Lissebeck      0.3   Draft detailed email to new team members re helping draft affiliate marketing complaints,
                                        legal theory and pursuing those matters
18   8/23/2024   Y Lissebeck      0.7   Telephone call with B. Boyd re taking on lead of 10 or so affiliate complaints, explaining
                                        case status and strategy
18   8/23/2024   Y Lissebeck      0.3   Draft email to B. Boyd providing litigation targets, case files, affiliate agreements,
                                        accountings and provide case strategy and status
18   8/23/2024   Y Lissebeck      0.2   Draft email to A. Hoyland re the data share folders and access to drives
18   8/25/2024   MT Powell        0.5   Review list of assigned Merchant Cash Advance lenders for further investigation and
                                                                                                                                                       Page 223 of 501




                                        litigation. Request additional information from accountants on transactions with lenders.
18   8/26/2024   B Metcalf        0.4   Research and analyze additional potential direct and indirect transfers from LPG to
                                        factoring/MCA lenders and accounts receivable purchasers and related potential claims
                                        for avoidance and recovery of transfers and damages.
18   8/26/2024   MT Powell        1.1   Research Debtor's transactions and dealings with WorldPay and similarly named entities
                                        to determine if release language was an issue.
18   8/27/2024   B Metcalf        0.4   Review and analyze new bankruptcy court findings, conclusions, and orders regarding
                                        injunctive relief and requests for administrative claims from participants and co-
                                        conspirators involved in operation of LPG and related transactions and transfers.
18   8/27/2024   V Rodriguez      0.2   Review of multiple correspondences from the LPG Team re the attached Order Denying
                                                                                                                                                                                     Page 222




                                        Greyson's Motion to Vacate the Preliminary Injunction.
                                                                                                                                                                                 EXHIBIT "D"
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18   8/27/2024   Y Lissebeck      0.2   Draft emails to team with release language for use moving forward with settlements
      Date           Name      Hours    Narrative
18   8/28/2024   B Metcalf        0.3   Email with J. Stephens regarding analysis of potential claims against factoring/MCA
                                        lenders and accounts receivable purchasers.
18   8/28/2024   MT Powell        0.6   Review MCA agreements and state court litigation to identify individual owners of same
                                        and relationship to other litigation targets.
18   8/28/2024   Y Lissebeck      0.1   Review and respond to email from N. Cooper re accounting records and avoidance folders
                                        with bank records
18   8/29/2024   B Metcalf        0.2   Email with J. Stephens regarding analysis of potential claims against factoring/MCA
                                        lenders and accounts receivable purchasers, calculation of credits and debits from bank
                                        records for accurate calculation of net transfers and related information provided by
                                                                                                                                                                                    Case 8:23-bk-10571-SC




18   8/29/2024   B Metcalf        0.5   accountants.
                                        Review   and analyze bank records for LPG and affiliates, accountant reports regarding
                                        transfers from LPG and affiliates to factoring/MCA lenders and accounts receivable
                                        purchasers, evaluate credits, debits, and net transfer amounts to potential defendants.
18   8/29/2024   B Metcalf        0.3   Review and analyze new complaints against MCA lenders and accounts receivable
                                        purchasers, evaluate updated allegations and claims.
18   8/29/2024   B Metcalf        0.6   Review and analyze new bankruptcy court findings, conclusions, and rulings regarding
                                        administrative claims and motions for summary judgment against lienholders and
                                        avoidance action defendants.
                                                                                                                                        Main Document




18   8/29/2024   B Metcalf        0.8   Research regarding ponzi scheme presumptions and requirements in fraudulent transfer
                                        actions, application to general fraud cases.
18   8/29/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re the proper manner of service of
                                        large briefs and large complaints with exhibits.
18   8/29/2024   W Yones          0.3   Gather information, update and revise new dates and deadlines in adversary tracking
18   8/30/2024   V Rodriguez      0.1   Review of correspondence from Attorney C. Ghio re the court's approval of the LPG plan
                                        of liquidation.
18   8/31/2024   MT Powell          0   Read and analyze Court's ruling denying Greyson's Motion to Vacate Preliminary
                                                                                                                                                         Page 224 of 501




18   8/31/2024   MT Powell        0.4   Draft email to Dinsmore team re "criminal enterprise" finding and proceeding based on
                                        Ponzi scheme finding and review responses of C. Celentino and C. Ghio.
18    9/3/2024   W Yones          0.4   Update new dates and deadlines on all tracking charts for Y. Lissebeck
18    9/4/2024   Y Lissebeck      0.2   Review email with detailed analysis re interconnections of various affiliate entities from E.
                                        Lee and respond
18    9/4/2024   Y Lissebeck      0.2   Draft email to accountants requesting updated bank information, briefly review updated
                                        chart providing information re to bank statements in trustee's possession
18    9/9/2024   MT Powell        0.3   Attention to pleadings in case and adversaries including entry of confirmation order.
18    9/9/2024   V Rodriguez      1.7   Review and analysis of the Order Denying Greyson's Motion to Vacate the Preliminary
                                        Injunction with attention to pages 1 through 31, to understand the changes in our theories
                                                                                                                                                                                       Page 223




                                        in prosecuting this matter and because it provides valuable findings to use when pursuing
                                                                                                                                                                                   EXHIBIT "D"
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                                        defendants.
      Date           Name      Hours    Narrative
18    9/9/2024   W Yones          0.2   Update new deadlines/dates in adversary tracking chart
18   9/10/2024   V Rodriguez      0.9   Continue review and analysis of the Order Denying Greyson's Motion to Vacate the
                                        Preliminary Injunction with attention to pages 52 through 61, to understand the changes in
                                        our theories in prosecuting this matter and because it provides valuable findings to use
                                        when pursuing defendants.
18   9/10/2024   V Rodriguez      1.7   Continue review and analysis of the Order Denying Greyson's Motion to Vacate the
                                        Preliminary Injunction with attention to pages 31 through 52, to understand the changes in
                                        our theories in prosecuting this matter and because it provides valuable findings to use
                                        when pursuing defendants.
                                                                                                                                                                                   Case 8:23-bk-10571-SC




18   9/10/2024   Y Lissebeck      0.1   Draft email to S. Johnston and S. Mattingly asking for litigation targets to be assigned and
                                        for complaint drafting to commence
18   9/10/2024   Y Lissebeck      0.1   Review response from S. Johnston with assignments of next 4 affiliates and reply
18   9/11/2024   MT Powell        0.6   Review information on payments made by Bill.com to third parties
18   9/11/2024   W Yones          0.1   Update new deadlines/dates in adversary tracking chart
18   9/13/2024   J Bothamley      0.2   Review updated affiliate transfer figures, including post-petition figures sent by S.
                                        Johnston for various LPG affiliate entities.
18   9/13/2024   MT Powell        0.8   Attention to intra-bank transfers from Debtor's post-petition accounts to unknown accounts
                                                                                                                                       Main Document




                                        at Bank of America identified by accountants
18   9/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Gray re the procedures for serving a
                                        Subpoena pursuant to a 2004 Motion.
18   9/13/2024   V Rodriguez      0.1   Correspondence to Attorney S. Gray with information re the procedures for serving a
                                        Subpoena pursuant to a 2004 Motion.
18   9/13/2024   V Rodriguez      0.1   Strategy conference with Attorney S. Gray re the procedures for serving a Subpoena
                                        pursuant to a 2004 Motion.
18   9/16/2024   B Cockroft         1   Draft preference and post petition transfer letter.
                                                                                                                                                        Page 225 of 501




18   9/16/2024   J Bothamley      0.1   Respond to S. Johnston confirm new payment figures for affiliates.
18   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re taking on a new case against
                                        another affiliate that received substantial amount of funds post-petition.
18   9/17/2024   J Bothamley      0.8   Begin review of International Petroleum v. Black Gold case to add to alter ego research.
18   9/17/2024   MT Powell        0.6   Review and respond to emails re calculation and information for effective date payments.
18   9/17/2024   Y Lissebeck      0.2   Draft email to S. Mattingly re in pari delicto memo and defense and additional case to
                                        consider and include in brief
18   9/17/2024   Y Lissebeck      0.3   Telephone call with C. Celentino to discuss litigation strategy and status
18   9/18/2024   J Pitcock        0.3   Email exchange with Y. Lissebeck regarding running list of contracts not yet formally
                                        rejected.
                                                                                                                                                                                      Page 224




18   9/19/2024   E Kennedy        0.5   Review information re: additional lawsuits pending outside of bankruptcy court, analyze
                                                                                                                                                                                  EXHIBIT "D"
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                                        how to best address outstanding obligations for client's benefit
      Date           Name      Hours    Narrative
18   9/19/2024   MT Powell        0.6   Review and respond to emails with Y. Lissebeck and J. Stephens re information on MCA
                                        lenders and assumed names.
18   9/19/2024   Y Lissebeck      0.2   Review email from S. Johnston re Bank United LPG account and payments to targets and
                                        respond with need for 2004 application
18   9/19/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re accounting records and tracing and
                                        need for meeting with accountants
18   9/20/2024   Y Lissebeck      0.2   Review and respond to emails from S. Johnston re CCGG and how it relate to teracel and
                                        BAT
18   9/23/2024   W Yones          0.3   Update and revise adversary tracking sheet for new assignments and deadlines
                                                                                                                                                                                  Case 8:23-bk-10571-SC




18   9/23/2024   Y Lissebeck        1   Telephone call with A. DeLeest and the Trustee to discuss the master task list and chart
                                        and case status and strategy
18   9/23/2024   Y Lissebeck      0.4   Discuss litigation targets and moving forward with cases with C. Celentino and C. Ghio
18   9/23/2024   Y Lissebeck      0.7   Further telephone call with Trustee to discuss litigation targets, case status and strategy
                                        moving forward
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                            Adv. Case Nos. 23-102 / 23-1046 (Diab) (143576-19)



                                                      FEES
                 NAME                    TITLE                 RATE     HOURS    TOTAL FEES
    Christopher B. Ghio            Partner                    $625.00    21.70    $13,562.50
    Christopher Celentino          Partner                    $835.00     5.90     $4,926.50
    Sara A Johnston                Partner                    $495.00     5.80     $2,871.00
    Yosina M. Lissebeck            Partner                    $745.00    10.20     $7,599.00
    M. Tyler Powell                Partner                   $5953.00      .70       $416.50
    Lexi J. Epley                  Associate                  $420.00    28.40    $11,928.00
    Jacob R. Bothamley             Associate                  $405.00    20.10     $8,140.50
    Jeremy B. Freedman             Associate                  $465.00    93.30    $43,384.50
    Jonathan B. Serrano            Associate                  $415.00      .40       $166.00
    Vanessa Rodriguez              Associate                  $385.00    15.60     $6,006.00
                                   eDiscovery
    Robert J. Simmons                                        $365.00      7.30     $2,664.50
                                   Project Manager
    Angelica B. Garcia             Paraprofessional          $225.00     17.30     $3,892.50
                                                               TOTALS   226.70   $105,557.50
     Date             Name     Hours    Narrative
19   7/1/2024    J Freedman       0.2   Draft joint status report as to WorldPay and FIS
19   7/1/2024    J Freedman       0.2   Multiple emails (2) with counsel for FIS and World Pay regarding Joint Status reports
                                        required to be filed and evaluation of WorldPay's declaration
19    7/1/2024   J Freedman       0.6   Finalize joint status reports as to Greyson, Scott Eadie, CLG, LGS HoldCo, Touzi Capital,
                                        Eng Taing and Optimum Bank prior to filing
19    7/1/2024   J Freedman       1.4   Review and analysis of case and statutory authority regarding rejection and voiding a
                                        contract that does and does not exist in order to address Greyson's claims regarding the
                                        purported Phoenix / Greyson contract
19    7/1/2024   J Freedman       0.8   Review court docket regarding all motions Greyson and Han have filed in order to draft
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        argument for sanctions in opposition to Greyson/s motion to strike Richard Marshack's
                                        declaration
19    7/1/2024   J Freedman       1.2   Draft further argument to supplemental opposition to Greyson's motion to strike Richard
                                        Marshack's declaration regarding sanctions
19    7/2/2024   C Ghio           0.5   Analysis of status report and discovery plans and discovery conference timing issues.
19    7/2/2024   J Bothamley      0.2   Review email from Y.L. re review court manual for adversary proceeding motions.
19    7/2/2024   J Freedman       1.8   Strategize regarding theme of case against core defendants and financial institutions in
                                        order to further develop discovery strategy to support same
                                                                                                                                    Main Document




19    7/2/2024   J Freedman       0.6   Multiple emails (5) with counsel for FIS / Worldpay regarding joint status report,
                                        responsive pleading to fourth amended complaint and potential resolution
19    7/2/2024   J Freedman       0.1   Draft further letter to Google regarding hold on certain accounts prior to issuing

19    7/5/2024   C Ghio           1.5   Emails and telephone calls with L
                                                                                                                     ng and

19    7/5/2024   C Ghio           1.1   Analysis of preservation of                           information
                                                                                                                                                     Page 228 of 501




19    7/5/2024   C Ghio           0.6   Telephone call with Trustee re issues at
19    7/8/2024   C Ghio           0.7   Telephone call and email with
19    7/8/2024   C Ghio           0.4   Review and respond to Leslie Cohen email re Rule 26(f) conference timing re Bianca Loli.
19    7/8/2024   J Freedman       0.2   Multiple emails with Dan March regarding joint status report prior to filing
19    7/9/2024   A Garcia         3.4   Begin to conduct extensive legal research pertaining to ownership rights of developed
                                        software under various employment scenarios for purposes of drafting a legal
                                        memorandum
19    7/9/2024   C Ghio           0.8   Review of Dan March Answer to 4th Amended Complaint.
19   7/10/2024   A Garcia         1.8   Continue to conduct extensive legal research pertaining to ownership rights of developed
                                        software under various employment scenarios for purposes of drafting a legal
                                                                                                                                                                                   Page 227




                                        memorandum
                                                                                                                                                                               EXHIBIT "D"
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      Date            Name     Hours    Narrative
19   7/10/2024   J Freedman       0.2   Multiple emails (3) with General counsel for Trustee regarding Dwolla subpoena in order to
                                        obtain critical information
19   7/11/2024   A Garcia          3    Continue to conduct extensive legal research pertaining to ownership rights of developed
                                        software under various employment scenarios for purposes of drafting a legal
                                        memorandum
19   7/11/2024   J Bothamley      0.1   Review email exchange between Y.L. and Marshack Hays re possible subpoena to
19   7/11/2024   Y Lissebeck      0.1   Draft email to B. Barnhardt re response to subpoena and Dwolla information
19   7/12/2024   A Garcia         1.3   Begin to draft legal research memorandum pertaining to ownership claims of copyright
                                        assessing the varying degrees of strength of claim
                                                                                                                                                                                  Case 8:23-bk-10571-SC




19   7/12/2024   A Garcia         5.1   Continue to conduct extensive legal research pertaining to ownership rights of developed
                                        software under various employment scenarios for purposes of drafting a legal
                                        memorandum
19   7/15/2024   A Garcia         2.7   Finalize legal research memorandum pertaining to ownership claims of copyright
                                        assessing the varying degrees of strength of claim
19   7/15/2024   C Ghio           1.4   Review Order Denying Grayson Motion to Reconsider Motion to Compel and Vacating
                                        Hearings
19   7/15/2024   J Freedman       0.2   Multiple emails (4) with client and accountants regarding response to Bank of America
                                                                                                                                      Main Document




                                        regarding subpoena for bank records to ensure receipt of complete records
19   7/15/2024   Y Lissebeck      0.1   Review order of the court denying reconsideration of Motion filed by K. March
19   7/16/2024   J Freedman       0.4   Develop strategy regarding transfers from optimum to Prime Logix in order to trace funds
                                        and recover estate assets
19   7/16/2024   J Freedman       0.1   Review and analysis of tentative ruling on status conference continuing the hearing on
                                        same
19   7/16/2024   J Freedman       0.3   Develop strategy for filing motion to amend the complaint regarding alter ego allegations
                                        among others to correct complaint in light of evidence
                                                                                                                                                       Page 229 of 501




19   7/17/2024   J Bothamley      0.1   Review email from B. Barnhardt re response from Dwolla to subpoena for records.
19   7/17/2024   J Freedman       0.2   Multiple emails (2) with counsel for Scott Eadie regarding the continued status conference
                                        in this action per the Court's tentative ruling
19   7/17/2024   J Freedman       0.2   Multiple emails with counsel for Scott Eadie regarding initial disclosures in light of
                                        continued status conference
19   7/17/2024   J Freedman       1.3   Review and analysis of State Bar Court filings related to the disbarment of Daniel March in
                                        order to identify evidence to support Trustee claims
19   7/17/2024   J Freedman       0.6   Review and analysis of public records and asset search on Daniel March to identify assets
                                        to evaluate writ of attachment to secure Trustee claims
19   7/17/2024   J Freedman       0.4   Review and analysis of records produced by EPPS regarding transfer of funds to third
                                                                                                                                                                                     Page 228




                                        parties
                                                                                                                                                                                 EXHIBIT "D"
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      Date            Name     Hours    Narrative
19   7/17/2024   J Freedman       0.7   Review and analysis of evidence as to Daniel March in order to further evaluate damages
                                        in order to develop strategy for writ of attachment
19   7/17/2024   L Epley          2.3   Begin preparation of Motion for Leave to Amend Fifth Amended Complaint, including
                                        Notice of Motion, introduction to motion and grounds for motion, a summary of the
                                        relevant procedural history as it relates to the previous amended complaints and various
                                        motions to dismiss, and the legal standard for a motion for leave to amend pursuant to
19   7/17/2024   L Epley          3.2   FRCP   15
                                        Review/analyze   declarations of William Ty Carrs and Alex Rubin, and Counterclaim in
                                        Point Break Holdings action for purposes of determining evidentiary support to show that
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                                  at the time of bankruptcy filing
19   7/18/2024   C Ghio           0.3   Coordinate Rule 26f conference via email with Leslie Cohen
19   7/18/2024   C Ghio           0.5   Review and analysis re communication re production of documents by Bank of America.
19   7/18/2024   J Bothamley      0.9   Add names and key information to LPG encyclopedia based on Defendants identified in
                                        1046 Adv. Proc. complaint.
19   7/18/2024   J Freedman       0.2   Multiple communications (2) with General Counsel for Trustee regarding evidence and
                                        facts as to Prime Logix
19   7/18/2024   J Freedman       0.2   Develop strategy for complaint as against
                                                                                                                                        Main Document




19   7/18/2024   J Freedman       0.2   Multiple emails (2) with counsel for Bianca Loli regarding 26f conference per code
19   7/18/2024   J Freedman       0.2   Multiple emails (2) with General Counsel for Trustee regarding Dwolla's inquiry as to the
                                        complaint
19   7/18/2024   L Epley          1.1   Review/analyze Fourth Amended Complaint (39 pages) for purposes of determining
                                        allegations that are going to be amended and including those allegations in Motion for
                                        Leave to File Fifth Amended Complaint
19   7/18/2024   L Epley          1.3   Review/analyze ninth circuit case law interpreting factors that weigh against allowing
                                        amendment of a pleading, including undue prejudice, futility, undue delay, or bad faith, for
                                                                                                                                                         Page 230 of 501




                                        purposes of incorporating into Motion for Leave to File Fifth Amended Complaint
19   7/18/2024   L Epley          3.3   Continue preparation of Motion for Leave to file Fifth Amended Complaint, including
                                        procedural history of case as it relates to prior amendments of the complaint, the
                                        proposed amendments for the Fifth Amended Complaint, and argument as to why
                                        amendment would not cause undue delay, undue prejudice, is not made in bad faith, and
                                        is not futile, and incorporating applicable Ninth Circuit case law
19   7/22/2024   C Ghio           0.3   Emails with Leslie Cohen confirming 11:30 am Rule 26 and settlement conference
19   7/22/2024   J Freedman       0.6   Review and analysis of evidence and pleadings in order to prepare for Rule 26f
                                        conference with counsel for Defendant, Bianca Loli
19   7/22/2024   J Freedman       2.1   Teleconference with counsel with Defendant Bianca Loli pursuant to Rule 26f
                                                                                                                                                                                       Page 229




19   7/22/2024   J Freedman       0.7   Review and analysis of                         in light of legal standard and supporting case
                                                                                                                                                                                   EXHIBIT "D"
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                                        law
      Date            Name     Hours    Narrative
19   7/22/2024   J Freedman       0.3   Develop further strategy for discovery in light of Rule 26f conference with counsel for
                                        Bianca Loli to support larger claims
19   7/22/2024   L Epley          3.9   Continue preparation of Motion for Leave to File Fifth Amended Complaint, including
                                        argument that Plaintiff's motion for leave to amend is not made in bad faith or for a dilatory
                                        motive, there was no undue delay, there was no failure to cure prior amendments, and the
                                        amendment is not futile
19   7/23/2024   J Freedman       0.2   Review and analysis of subpoena to Morning Law Group and Resolution Processing
                                        regarding client information
19   7/23/2024   J Freedman       0.2   Review and analysis of email accounts at C
                                                                                                                                                                                     Case 8:23-bk-10571-SC




                                                                                                                               with a
                                        demand for turnover of admin information for such accounts
19   7/23/2024   L Epley          2.4   Review/analyze Fourth Amended Complaint and documentary evidence in file relating to
                                        Defendants Eng Taing and Touzi Capital, including bank statements, disbursement
                                        details, correspondence, and contracts, in preparation for drafting Initial Disclosures as to
                                        Defendants Touzi Capital LLC and Eng Taing, and for purposes of identifying persons with
                                        knowledge in support of Plaintiff's claims and documents in support of Plaintiff's claims,
                                        and review of file to determine computation of damages
                                                                                                                                         Main Document




19   7/23/2024   L Epley          2.1   Continue preparation of Initial Disclosures as to Touzi Capital LLC and Eng Taing,
                                        including identification of persons with knowledge in support of claims against Touzi and
                                        Taing and summary of factual allegations those persons would be expected to testify on
19   7/24/2024   C Celentino      3.2   Confer with team, review, and analyze Greyson's Motion to Vacate and further briefing and
                                        declaration by Tony Diab in support thereof, and Trustee's Opposition papers and
                                        declarations of Alex Rubin, Ty Carss and Jane Dearwester in support thereof, including
                                        evidence regarding LPG's alter egos and emails about creation/control of Oakstone and
                                        Phoenix, for purposes of determining evidentiary support to include in argument that alter
                                                                                                                                                          Page 231 of 501




                                        egos are of Tony Diab instead of LPG to include in Motion for Leave to file Fifth Amended
                                        Complaint
19   7/24/2024   J Bothamley      0.6   Research additional contacts at

19   7/24/2024   J Bothamley      0.2   Review and analyze email thread between J. Freedman and Google re need to get certain
                                        LPG affiliate accounts secured and preserved.
19   7/24/2024   J Bothamley      0.4   Send new email to                                                                     and J.
                                        Freedman requesting                                           s with reminder of what
                                        conversations have already taken place.
19   7/24/2024   J Bothamley      0.1   Meet with L. Epley re questions on initial disclosures in 1046 adv. proc.
                                                                                                                                                                                        Page 230




19   7/24/2024   J Bothamley      0.2   Meet with V. Rodriguez re questions on initial disclosures in affiliate adversary
                                                                                                                                                                                    EXHIBIT "D"
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19   7/24/2024   J Freedman       1.2   Draft further arguments to the motion for leave to amend regarding              claims
      Date            Name     Hours    Narrative
19   7/24/2024   L Epley          3.2   Review/analyze Greyson's Motion to Vacate and further briefing and declaration by Tony
                                        Diab in support thereof, and Trustee's Opposition papers and declarations of Alex Rubin,
                                        Ty Carss and Jane Dearwester in support thereof, including evidence regarding LPG's
                                        alter egos and emails about creation/control of Oakstone and Phoenix, for purposes of
                                        determining evidentiary support to include in argument that alter egos are of Tony Diab
                                        instead of LPG to include in Motion for Leave to file Fifth Amended Complaint
19   7/24/2024   L Epley          2.4   Continue and finalize preparation of Motion for Leave to Amend, including notice of motion
                                        and required disclosures pursuant to federal bankruptcy and local rules, Declaration of J
                                        Freedman in support of Motion, and Memorandum of Points and Authorities in support
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        thereof, including summary of proposed amendments to complaint regarding LPG's alter
                                        ego scheme and LPG's revenue at the time of the Petition Date, and incorporating
                                        references to documentary and testimonial evidence in support of amendments to
                                        allegations
19   7/24/2024   L Epley          1.2   Continue and finalize preparation of Initial Disclosures against Touzi Capital and Eng
                                        Taing, and compile documents for document production, including agreements, financial
                                        documents, and bank records
19   7/25/2024   C Ghio           0.8   Telephone call with
                                                                                                                                     Main Document




19   7/25/2024   C Ghio           0.5   Telephone conference with Trustee re N

19   7/25/2024   J Bothamley      0.2   Meet w/ J Freedman and L. Epley re questions on initial disclosures.
19   7/25/2024   J Bothamley      3.1   Draft initial disclosures for defendant Bianca Loli in 1046 Adv. Proc.
19   7/25/2024   J Freedman       2.3   Draft further arguments and legal support to motion for leave to amend the complaint
19   7/25/2024   J Freedman       0.6   Draft initial disclosures as to Touzi Capital and Eng Taing to support Trustee's claims
19   7/25/2024   L Epley          1.2   Continue and finalize initial disclosures against Eng Taing and Touzi Capital, including
                                        separating disclosures as to each defendant
                                                                                                                                                      Page 232 of 501




19   7/26/2024   J Bothamley       1    Review draft of initial disclosure and review fourth amended complaint for additional
                                        details and entities to mention in disclosure as well as re-evaluate damages associated
                                        with Loli and send to J. Freedman for feedback.
19   7/26/2024   J Freedman       0.7   Draft fifth amended complaint to be filed with motion for leave to amend re alter ego
                                        allegations
19   7/26/2024   J Freedman       1.2   Finalize motion for leave to amend complaint in light of allegations to include further
                                        arguments regarding same
19   7/26/2024   Y Lissebeck      0.1   Review email from T. Powell to J. Freedman re vulcan records
19   7/29/2024   C Celentino      0.1   Discuss revisions with C. Celentino
19   7/29/2024   J Freedman       0.2   Review and analysis of public records related to Umpqua Bank in order to issue subpoena
                                                                                                                                                                                    Page 231




                                        and obtain critical records related to claims and turnover in light of new evidence as to
                                                                                                                                                                                EXHIBIT "D"
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                                        EPPS
      Date            Name     Hours    Narrative
19   7/29/2024   J Serrano        0.1   Review docket for continuance of status conference
19   7/29/2024   J Serrano        0.1   Correspond with J. Freedman of Dinsmore re same and initial disclosures.
19   7/29/2024   Y Lissebeck      1.5   Review and revise 5th amended complaint
19   7/29/2024   Y Lissebeck      0.1   Discuss revisions with C. Celentino
19   7/29/2024   Y Lissebeck      0.2   Draft email to J. Freedman with revisions and further comments for further revisions to be
                                        made
19   7/30/2024   J Freedman       0.6   Draft further allegations to the fifth amended complaint to support Trustee claims
19   7/30/2024   J Freedman       0.2   Multiple emails (4) with counsel for Touzi Capital and Eng Taing regarding continued initial
                                        disclosure deadlines
                                                                                                                                                                                   Case 8:23-bk-10571-SC




19   7/30/2024   J Freedman       0.2   Multiple emails (2) with counsel for CLG and LGS Holdco regarding deadlines for initial
                                        disclosures
19   7/30/2024   J Freedman       0.2   Mutliple emails (2) with General Counsel for Trustee regarding timing of production of
                                        document by Bank of the West in response to subpoena
19   7/30/2024   J Serrano        0.2   Correspond with J. Freedman of Dinsmore re continuance of deadline to file initial
                                        disclosures.
19   7/30/2024   Y Lissebeck      0.1   Review email from B. Barnhardt re bank of west subpoena and response
19   7/30/2024   Y Lissebeck      0.5   Review file for information related to status report
                                                                                                                                       Main Document




19   7/30/2024   Y Lissebeck      0.5   Telephone call with T. Spurlock re CLG and moving forward with obtaining data and file
                                        information
19   7/30/2024   Y Lissebeck      0.1   Discuss notice of acknowledgement with J. Freedman
19   7/31/2024   J Freedman       0.5   Draft further amendments to the fifth amended complaint to clarify allegations and correct
                                        facts in light of new evidence
19   7/31/2024   J Freedman       0.7   Draft further arguments to the motion for leave to amend to include additional
                                        amendments regarding UCC-1, secured and unsecured creditors in addition to clarification
                                        as to ACH debits and receivables
                                                                                                                                                        Page 233 of 501




19   7/31/2024   J Freedman       0.4   Review and analysis of 549 claim report provided by Grobtein Teeple in order to evaluate
                                        claims against defendants in the 1046 action
19    8/1/2024   C Ghio           0.9   Review and respond to

19    8/1/2024   C Ghio           0.8   Analysis of amendments to complaint re allegations concerning insolvency and LPG
                                        prepetition revenue.
19    8/1/2024   J Freedman       0.2   Review and analysis of prior subpoenas to develop strategy for further records
19    8/2/2024   J Freedman       0.3   Review and analysis of AMEX verified claim in order to develop strategy for subpoena and
                                        response to same
19    8/2/2024   Y Lissebeck      0.1   Review emails from J. Freedman re subpoena to Amex
                                                                                                                                                                                      Page 232




19    8/6/2024   J Bothamley      0.2   Meeting with J. Freedman to discuss subpoenas for records from Umpqua bank and
                                                                                                                                                                                  EXHIBIT "D"
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     Date            Name     Hours    Narrative
19   8/6/2024   J Bothamley      1.3   Research Umpqua Bank and Amex within case adv. proc. and main case for context in
                                       preparation to draft subpoenas.
19   8/6/2024   J Bothamley      0.8   Begin drafting subpeonas for Umpqua Bank and Amex.
19   8/6/2024   J Freedman       0.2   Review and analysis of evidence in order to develop strategy for document request for
                                       subpoena to AMEX to ensure completeness and receipt of critical evidence
19   8/7/2024   C Ghio           0.4   Prepare notes with comments re proposed revisions.
19   8/7/2024   J Bothamley      0.2   Emails to J. Freedman re questions about adding EPPS, LLC to subpeonas to Umpqua
                                       Bank and Amex
19   8/7/2024   J Bothamley      0.7   Draft notices of subpoenas for Amex and Umpqua bank, research proper entity names to
                                                                                                                                                                             Case 8:23-bk-10571-SC




                                       add to captions.
19   8/7/2024   J Bothamley      0.7   Draft actual subpoenas and check against past subpoenas for consistency in information
                                       provided.
19   8/7/2024   J Bothamley      2.1   Draft Exhibit A to subpoena for Umpqua bank, verify contact information and other
                                       identifiers for accuracy and consistency.
19   8/7/2024   J Bothamley      0.8   Draft Exhibit A to Amex subpoena, review Amex POC for account information and other
                                       identifiers and add findings to Exhibit A.
19   8/7/2024   J Bothamley      0.4   Review and revise drafts of subpoenas for Umpqua Bank and Amex for consistency of
                                                                                                                                 Main Document




                                       information sought after reviewing notes from meeting with J. Freedman.
19   8/7/2024   J Bothamley      0.1   Review response from J. Freedman re account information for Umpqua Bank and whether
                                       additional entities need to be covered by the subpoenas.
19   8/7/2024   J Freedman       0.3   Draft letter to general counsel for Trustee regarding final settlement agreement and
                                       Trustee declaration in support of 9019 motion
19   8/7/2024   J Freedman       0.4   Review and analysis of further records related to EPPS in order to develop strategy for
                                       subpoena and document request
19   8/7/2024   J Freedman       1.4   Review and analysis of records related to Eng Taing and Touzi capital with regards to
                                                                                                                                                  Page 234 of 501




                                       involvement with Loli to prepare initial disclosures
19   8/7/2024   Y Lissebeck      0.2   Telephone call with C. Ghio re settlement with OHP and effect on CLG litigation
19   8/8/2024   J Bothamley      0.6   Finish drafting Exhibit A of Umpqua subpoena.
19   8/8/2024   J Bothamley      0.1   Meet with Y. Lissebeck to discuss Umpqua subpoena before it goes out.
19   8/8/2024   J Bothamley      0.5   Further revisions to draft of subpoena Exhibit A - docs to be produced - for Amex.
19   8/8/2024   J Bothamley      0.7   Research service address for Umpqua Bank and Amex to serve subpoenas and review
                                       filled out Subpoena Form B2570 for both banks.
19   8/8/2024   J Bothamley      0.5   Finalize Exhibit A for Umpqua Subpoena before sending to J. Freedman for review.
19   8/8/2024   J Bothamley      0.4   Finalize Exhibit A for Amex subpoena and send to J. Freedman for review.
19   8/8/2024   J Bothamley      0.4   Research docs in case and secretary of state websites to find contact information for
                                                                                                                                                                                Page 233




                                       EPPS, LLC to add them to subpoena to Umpqua bank.
                                                                                                                                                                            EXHIBIT "D"
                                                                                                                                 Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
     Date             Name     Hours    Narrative
19   8/8/2024    J Freedman       0.6   Draft revisions to the settlement agreement to include final agreement of parties regarding
                                        the hold back amount and CLG client contracts
19    8/8/2024   J Freedman       0.4   Draft initial disclosures as to defendant Bianca Loli
19    8/8/2024   J Freedman       0.6   Review and analysis of evidence to support claims against Defendant Bianca Loli in order
                                        to draft initial disclosures
19    8/9/2024   J Freedman       0.2   Draft further requests for production to the subpoena to Umqua Bank to obtain critical
                                        records
19    8/9/2024   Y Lissebeck      0.1   Draft email to J. Freedman re amended complaint
19   8/10/2024   J Freedman         5   Draft further evidence to initial disclosures as to defendant Bianca Loli
                                                                                                                                                                                  Case 8:23-bk-10571-SC




19   8/12/2024   J Freedman       0.5   Draft further allegations to the Fifth Amended Complaint to comport with evidence
19   8/12/2024   J Freedman       0.5   Finalize fifth amended complaint and add additional facts regarding funds withheld as to
                                        Marich Bein
19   8/12/2024   Y Lissebeck      0.2   Review 5th amended complaint, compare to edited version, and draft email to J.
                                        Freedman requesting that revisions be made
19   8/12/2024   Y Lissebeck      0.3   Draft email to J. Freedman with revisions and comments for both 9019 motion and
                                        complaint
19   8/12/2024   Y Lissebeck      0.8   Review and revise complaint
                                                                                                                                      Main Document




19   8/12/2024   Y Lissebeck      0.1   Draft email to A. Mamlyuk with revised complaint
19   8/13/2024   J Bothamley      0.1   Meet with J. Freedman re follow up questions on Umpqua and Amex subpoenas re
                                        different formatting and minor changes, ready to send to C. Ghio for review.
19   8/14/2024   J Bothamley      0.1   Email to J. Freedman confirming that Umpqua and Amex subpoenas have been reviewed
                                        and revised.
19   8/14/2024   J Bothamley      0.4   Review and analyze updated Umpqua and Amex subpeonas, make minor revisions to
                                        notice of subpoena and send to C. Ghio for further review.
19   8/14/2024   J Bothamley      0.2   Exchange emails with J. Freedman re correspondence with Google and need to send a
                                                                                                                                                       Page 235 of 501




                                        formal letter for account records.
19   8/15/2024   J Freedman       0.8   Draft further witness and expected testimony to the initial disclosure to Defendant Bianca
                                        Loli
19   8/16/2024   J Freedman       0.5   Draft further facts to initial disclosures as to defendant Loli
19   8/16/2024   J Freedman       0.8   Review and analysis of evidence as to Loli and damages in order to prepare initial
                                        disclosures
19   8/19/2024   C Celentino      1.6   Confer, review and analysis of evidence as to Alex Tarkoff in light of
                                                                                   and for potential new adversary proceeding
19   8/19/2024   J Freedman       1.6   Review and analysis of evidence as to Alex Tarkoff in light of
                                                                          and for potential new adversary proceeding
                                                                                                                                                                                     Page 234




19   8/19/2024   J Freedman       1.1   Draft further witnesses, expected testimony and documents to produced in initial
                                                                                                                                                                                 EXHIBIT "D"
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                                        disclosures to defendant Bianca Loli
      Date            Name     Hours    Narrative
19   8/19/2024   J Freedman       0.6   Review and analysis of Grobstein Teeple Analysis as to Prime Logix and Loli ahead of
                                        initial disclosure and evaluate for production
19   8/19/2024   J Freedman       0.1   Multiple emails (2) with client regarding status of Bank of America records per subpoena
19   8/19/2024   J Freedman       0.2   Review and analysis of public records on Alex Tarkoff to include in initial disclosures
19   8/19/2024   J Freedman       1.5   Review and analysis of further evidence to be include in initial disclosures including
                                        Bianca Loli
19   8/20/2024   C Ghio           0.3   Review and revise Bank subpoenas.
19   8/20/2024   J Bothamley      0.1   Re-send draft subpoenas for Umpqua and Amex to C. Ghio for approval.
19   8/20/2024   J Bothamley      0.1   Revise Umpqua and Amex subpoenas consistent with comments from C. Ghio.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




19   8/20/2024   J Bothamley      0.8   Review prior litigation hold letter for google and review correspondence between J.
                                        Freedman, J. Bothamley, and google re LPG and related accounts to be held per pending
                                        litigation in preparation to make significant revision and updates for new hold letter.
19   8/20/2024   J Freedman       0.2   Develop strategy for revised litigation hold letter to be sent to Google in order to obtain
                                        access to Coast Processing email accounts and LPG accounts recently discovered
19   8/20/2024   J Freedman       2.7   Review and analysis of evidence regarding LPG's financials prior to bankruptcy, bank
                                        records and further communications in LPG, Greyson, Prime Logix and Maverick
                                        Managements email accounts to support claims and provide in initial disclosures
                                                                                                                                      Main Document




19   8/20/2024   J Freedman       1.2   Draft further evidence and witness information to initial disclosures as to Bianca Loli
19   8/21/2024   J Freedman       0.6   Review and analysis of claims as to World Fund and World Pay in order to develop
                                        strategy for further handling and potential resolution
19   8/21/2024   J Freedman       0.1   Multiple emails (2) with investor regarding evidence and facts related to World Global
19   8/21/2024   Y Lissebeck      0.3   Discuss case strategy and status with C. Ghio re settlements and various defendants
19   8/21/2024   Y Lissebeck      0.2   Discuss case status and strategy re 9019 settlements with J. Freedman
19   8/21/2024   Y Lissebeck      0.2   Discuss case status re 9019 motions and timing of payment with C. Celentino
19   8/22/2024   C Ghio           2.5   Review document production for 7026 initial disclosures to Bianca Loli.
                                                                                                                                                       Page 236 of 501




19   8/22/2024   J Bothamley      0.1   Meet with J. Freedman re follow up questions on google litigation hold letter.
19   8/22/2024   J Bothamley      0.5   Draft follow up litigation hold letter to google re preservation of ESI and send to J.
                                        Freedman for approval.
19   8/22/2024   J Freedman       0.3   Review and analysis of Stratcap proposal to assume LPG assets for production in initial
                                        disclosures to support claims in light of allegations supporting same therein
19   8/22/2024   J Freedman        1    Designate documents to be produced in initial disclosures to Bianca Loli and other
                                        defendants appropriately pursuant to the protective order
19   8/22/2024   J Freedman       0.3   Draft further argument and information to pre-litigation hold letter to Google to secure
                                        accounts prior to demand for turn over
19   8/22/2024   Y Lissebeck      0.6   Draft a detailed email to C. Ghio with list of defendants and requesting status of
                                                                                                                                                                                     Page 235




                                        proceedings
                                                                                                                                                                                 EXHIBIT "D"
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19   8/23/2024   J Freedman       0.2   Teleconference with counsel for Loli regarding initial disclosures
      Date            Name     Hours    Narrative
19   8/23/2024   J Freedman       0.6   Review and analysis of further evidence and records to be produced in initial disclosures
                                        to Defendant Bianca Loli among other defendants
19   8/25/2024   J Freedman       0.7   Draft initial disclosures as to Eng Taing
19   8/25/2024   J Freedman       0.8   Review and analysis of evidence as to Eng Taing and Touzi Capital for initial disclosures
19   8/25/2024   Y Lissebeck      0.3   Review release language and discuss issues related thereto with T. Powell and C.
                                        Celentino
19   8/26/2024   J Freedman       0.8   Review and analysis of Wells Fargo Bank Statements for Maverick to evaluate for
                                        production in initial disclosures
19   8/26/2024   J Freedman       1.8   Review and analysis of evidence as to Scott Eadie in order to evaluate for production in
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        initial disclosures
19   8/26/2024   J Freedman       1.1   Review and analysis of evidence regarding Greyson to produce in initial disclosures
19   8/26/2024   R Simmons        1.2   Assist with production of initial disclosures as to Bianca Loli matter
19   8/27/2024   C Celentino      0.8   Review, analyze, and confer re Court's Order denying Greyson's Motion to Vacate the
                                        Preliminary Injunction re determining findings by Judge Clarkson with respect to LPG,
                                        considering other potential claims of relief
19   8/27/2024   C Ghio           1.5   Review and analysis of 61-page order denying Greyson’s motion to vacate preliminary
                                        injunction.
                                                                                                                                     Main Document




19   8/27/2024   J Freedman       0.6   Review and analysis of Court's order (61 pages) denying Greyson's motion to vacate and
                                        develop strategy in light of same
19   8/27/2024   J Freedman       0.2   Multiple emails (2) with counsel for Scott Eadie regarding initial disclosures
19   8/27/2024   J Freedman       0.2   Multiple emails (3) with counsel for Greyson regarding initial disclosures
19   8/27/2024   J Freedman       0.8   Review further evidence to produce with Loli and Greyson's initial disclosures that also
                                        relate to other named defendants
19   8/27/2024   J Freedman       0.2   Review and execute stipulation to continue briefing schedule as to CLG and LGSHoldco
                                        per agreement of parties
                                                                                                                                                      Page 237 of 501




19   8/27/2024   L Epley          0.8   Review/analyze Court's Order denying Greyson's Motion to Vacate the Preliminary
                                        Injunction (61 pages), for purposes of determining findings by Judge Clarkson with respect
                                        to LPG, considering other potential claims of relief
19   8/27/2024   R Simmons        0.8   Assist with production of initial disclosures as to Bianca Loli matter
19   8/27/2024   S Johnston       0.8   Analyze order denying Greyson's motion to vacate the preliminary injunction for next
                                        affiliate compliant counts and potential complaint amendments
19   8/27/2024   S Johnston       0.4   Brief attention to EPD Investment opinion for 9th Circuit Ponzi Scheme presumption to
                                        prepare for next week's affiliate adversary complaint call
19   8/27/2024   Y Lissebeck      0.5   Review Order re denying greyson motion to vacate PI
19   8/27/2024   Y Lissebeck      0.2   Telephone call with trustee to discuss transferring website and domain
                                                                                                                                                                                    Page 236




19   8/27/2024   Y Lissebeck      0.8   Discuss order and consequences of order with Law360 reporter
                                                                                                                                                                                EXHIBIT "D"
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19   8/27/2024   Y Lissebeck      0.2   Discuss order with trustee
      Date            Name     Hours    Narrative
19   8/27/2024   Y Lissebeck      0.2   Draft email to team re order and use for other litigation
19   8/27/2024   Y Lissebeck      0.1   Review and respond to emails re transferring website and domain
19   8/28/2024   C Celentino      0.2   Confer re reply to opposition
19   8/28/2024   J Freedman       1.2   Draft initial disclosures as to Eng Taing
19   8/28/2024   J Freedman       0.2   Develop strategy for further discovery related to BAT financial records to locate assets
19   8/28/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino about domain name and web
                                        information transfers
19   8/28/2024   Y Lissebeck      0.1   Telephone call with C. Ghio re CLG's opposition to optima bank settlement
19   8/28/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino and J. Freedman re reply to opposition
                                                                                                                                                                                   Case 8:23-bk-10571-SC




19   8/28/2024   Y Lissebeck      0.2   Review further emails from C. Ghio re letter to GoDaddy and offer of proof to court
19   8/29/2024   J Bothamley      0.1   Follow up with J. Freedman re status of Umpqua and Amex Subpoenas and google lit hold
                                        letter.
19   8/29/2024   J Freedman       1.5   Draft initial disclosures as to Eng Taing
19   8/29/2024   J Freedman       1.1   Review and analysis of revised document production to Bianca Loli initial disclosures to
                                        ensure accuracy and completeness to satisfy duties per code
19   8/29/2024   S Johnston       0.9   Recommend additional allegations re Ponzi for various complaints based on recent Order
                                        Denying Greyson's Motion to Vacate Preliminary Injunction
                                                                                                                                       Main Document




19   8/29/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney S. Johnston re revising the Complaint
                                        to include new additional claims for relief and background information based on the Ponzi
                                        scheme implications provided in the Order Denying the Greyson's Motion to Vacate the
                                        Preliminary Injunction
19   8/30/2024   J Freedman         1   Draft initial disclosures as to Touzi Capital
19   8/30/2024   J Freedman       0.7   Draft initial disclosures as to Scott Eadie
19   8/31/2024   MT Powell        0.7   Evaluate finding of Ponzi scheme behavior and caselaw cited in opinion
19    9/2/2024   J Freedman         1   Draft further initial disclosures as to Eng Taing
                                                                                                                                                        Page 238 of 501




19    9/2/2024   J Freedman       0.8   Draft further initial disclosures as to Touzi Capital
19    9/2/2024   J Freedman       1.1   Review and analysis of evidence as to Touzi and Taing to produce with initial disclosures
19    9/3/2024   C Ghio           0.4   Review, revise and approve litigation hold letter to Google.
19    9/3/2024   C Ghio           0.5   Review and approve Subpoena to Umpqua Bank.
19    9/3/2024   C Ghio           0.5   Review and approve Subpoeana to American Express.
19    9/3/2024   J Freedman       0.3   Review and analysis of multiple emails (2) with counsel for CLG and LGS Holdco
                                        regarding resolution and documents needed to discuss same
19    9/3/2024   J Freedman       0.5   Draft three additional witnesses to initial disclosures as to Eng Taing and Touzi Capital in
                                        light of recently reviewed evidence
19    9/3/2024   J Freedman        2    Review and analysis of emails (out of millions) and evidence regarding Eng Taing and
                                        Touzi Capital to produce with initial disclosures
                                                                                                                                                                                      Page 237
                                                                                                                                                                                  EXHIBIT "D"
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     Date             Name     Hours    Narrative
19   9/3/2024    S Johnston       0.6   Recommendations to B. Cockcroft, V. Rodriguez, and S. Gray for Ponzi Scheme
                                        recommendations to affiliate complaints and confirm same with recent EPD 9th Circuit
                                        decision
19    9/3/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re a recent opinion that has
                                        language that can be utilized in the Complaint as additional allegations or to bolster the
                                        548 actual intent allegations already in the Complaint.
19    9/4/2024   J Freedman       0.2   Review and analysis of email from investor with analysis and further evidence of claims as
                                        additional defendants
19    9/4/2024   J Freedman       0.2   Multiple emails (2) with counsel for Eng Taing and Touzi Capital regarding initial
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        disclosures
19    9/4/2024   J Freedman       0.3   Finalize litigation hold letter to Google and demand for response
19    9/9/2024   J Freedman       0.6   Remote meeting with counsel for CLG regarding access to CLG's client relation
                                        management software, informal production of documents and initial disclosures
19    9/9/2024   J Freedman       0.2   Draft letter to counsel for CLG per remote meeting
19    9/9/2024   J Freedman       0.6   Teleconference with general counsel for Trustee regarding Prime Logix and claims
                                        against Alteryx
19   9/10/2024   C Ghio           0.5   Review                correspondence re settlement.
                                                                                                                                      Main Document




19   9/10/2024   J Freedman       0.2   Multiple emails (2) with counsel for CLG regarding access to client relations management
                                        software
19   9/10/2024   V Rodriguez       1    Research and analysis re additional claims for relief that may be added to the complaint
                                        based on the Ponzi scheme implications provided in the Order Denying the Greyson
                                        Motion to Vacate Preliminary Injunction.
19   9/11/2024   J Freedman       1.7   Draft initial disclosures as to Scott Eadie
19   9/11/2024   J Freedman       0.6   Review and analysis of records produced by Bill.com in order to identify transfers to
                                        named defendants among others
                                                                                                                                                       Page 239 of 501




19   9/11/2024   J Freedman       2.2   Review and analysis of evidence for production with Scott Eadie initial disclosures
19   9/11/2024   J Freedman       0.3   Draft revisions to order on Payliance motion to compromise per Court order at hearing on
                                        same
19   9/11/2024   V Rodriguez       1    Research and analysis re additional claims for relief that may be added to the complaint
                                        based on the Ponzi scheme implications provided in the Order Denying the Greyson
                                        Motion to Vacate Preliminary Injunction.
19   9/11/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Gray re providing him with information re the
                                        research results re a Ponzi scheme claim for relief to include in the complaint
19   9/11/2024   V Rodriguez      1.1   Research and analysis of case law that includes a suit against an investor of a Ponzi
                                        scheme to determine what claims for reliefs were used against the investor to utilize those
                                                                                                                                                                                     Page 238




                                        claims for relief in the complaint against the affiliate
                                                                                                                                                                                 EXHIBIT "D"
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      Date           Name      Hours    Narrative
19   9/11/2024   V Rodriguez      0.2   Continue research and analysis of case law that includes a suit against an investor of a
                                        Ponzi scheme to determine what claims for reliefs were used against the investor to utilize
                                        those claims for relief in the complaint against the affiliate.
19   9/11/2024   V Rodriguez      1.5   Review and analysis of a 42 page Ninth Circuit Court of Appeals Opinion that has
                                        potential language and claims for relief re a Ponzi scheme that can be included in the
                                        complaint against the affiliate
19   9/12/2024   J Freedman       0.5   Draft initial disclosures to Defendant Scott Eadie
19   9/12/2024   J Freedman       0.3   Review and analysis of initial disclosures served by Scott Eadie in order to evaluate for
                                        further strategy
                                                                                                                                                                                  Case 8:23-bk-10571-SC




19   9/13/2024   C Ghio           1.8   Review and revise/approve Scott Eadie initial disclosures.
19   9/13/2024   J Freedman       1.3   Finalize initial disclosures to Eng Taing
19   9/13/2024   J Freedman       0.7   Finalize initial disclosures to Touzi Capital
19   9/13/2024   J Freedman       0.2   Multiple emails (3) with counsel for Scott Eadie regarding initial disclosures and deadline
                                        to produce associated documents
19   9/13/2024   R Simmons        2.3   Run production for Eng Touzi matter initial disclosures
19   9/13/2024   S Johnston       0.6   Review V. Rodriguez Ponzi Scheme recommendations for adversary complaint edits
19   9/15/2024   J Freedman       1.8   Review and analysis of evidence for production in association with Scott Eadie initial
                                                                                                                                      Main Document




                                        disclosures
19   9/16/2024   J Freedman       0.6   Review and analysis of initial disclosures produced by Eng Taing and Touzi Capital
19   9/16/2024   J Freedman       1.6   Prepare documents for production in connection with Scott Eadie initial disclosures
19   9/16/2024   J Freedman       1.6   Review and analysis of documents produced by Eng Taing and Touzi Capital (over 600
                                        pages of 1700) in order to evaluate for impact on claims
19   9/16/2024   R Simmons        0.9   QC Eadie Initial disclosures and rectify issues prior to creating production deliverable
19   9/16/2024   S Johnston       0.1   Continued work on Ponzi Scheme implications for complaint adjustments
19   9/16/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re finalizing the proposed revisions to the
                                                                                                                                                       Page 240 of 501




                                        complaint by this week.
19   9/17/2024   C Ghio           1.2   Legal research and analysis re Ponzi scheme allegations, intentional fraudulent transfer
                                        common law claims and punitive damages.
19   9/17/2024   J Freedman       1.1   Review and analysis of evidence and code further documents for production to initial
                                        disclosures as to Scott Eadie
19   9/17/2024   J Freedman       0.1   Draft letter to counsel for Eng Taing and Touzi Capital regarding protective order and
                                        document production pursuant to same
19   9/17/2024   R Simmons        1.2   Finalize Eadie production of initial disclosure docs
19   9/17/2024   S Johnston       0.2   Correspondence with V. Rodriguez re ponzi scheme presumption for amended/edited
                                        complaints
                                                                                                                                                                                     Page 239




19   9/17/2024   S Johnston       0.3   Discuss Ponzi scheme implications with Y. Lissebeck for updated complaints
                                                                                                                                                                                 EXHIBIT "D"
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      Date            Name     Hours    Narrative
19   9/17/2024   S Johnston       0.2   Initial analysis from B. Metcalf impressions for ponzi scheme allegations and bank
                                        account links
19   9/17/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re drafting a memorandum to discuss additional
                                        claims and substance that can be added to the complaint, in addition to the redlines to the
                                        complaint.
19   9/17/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re drafting memorandum to discuss
                                        additional claims and substance that can be added to the complaint.
19   9/17/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re whether CA Civil Code section
                                        3439.04(b) can be added to the complaint and whether there is any case law on what the
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        test is to be successful under this statute.
19   9/17/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re drafting a memorandum to
                                        discuss additional claims and substance that can be added to the complaint, in addition to
                                        the redlines to the complaint.
19   9/17/2024   V Rodriguez       1    Updating the Working Memorandum with a summary of case law to utilize in the complaint
                                        re Ponzi schemes and the methods and claims for relief the trustees used in those case to
                                        prosecute those defendants.
19   9/17/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re focusing research on the Ponzi scheme
                                                                                                                                      Main Document




                                        presumption instead of the statutory allegations.
19   9/17/2024   V Rodriguez      0.3   Detailed correspondence to Attorney S. Johnston re how the CA Civil Code section
                                        3439.04(b) can be added to the complaint and conducting research re on case law re what
                                        the test is to be successful under this statute.
19   9/17/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re focusing research on the Ponzi
                                        scheme presumption instead of the statutory allegations.
19   9/17/2024   V Rodriguez       3    Research and analysis of case law that includes a suit against an investor of a Ponzi
                                        scheme to determine what claims for reliefs were used against the investor to utilize those
                                                                                                                                                       Page 241 of 501




                                        claims for relief in the complaint against the affiliate.
19   9/17/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re drafting a memorandum to discuss additional
                                        claims and substance that can be added to the complaint.
19   9/17/2024   Y Lissebeck      0.1   Review case law forwarded by E. Hays re new 9th circuit case related to alter ego
19   9/17/2024   Y Lissebeck      0.3   Review, respond and forward email and case law from E. Hays to J. Bothamly to include in
                                        research memo re alter ego
19   9/17/2024   Y Lissebeck      0.2   Draft email to S. Mattingly and S. Johnston re ponzi scheme memo, claims for relief, and
                                        setting up call to discuss case strategy and status
19   9/17/2024   Y Lissebeck      0.2   Review further emails re ponzi memo and assigning new litigation targets to associates
                                        and respond with which targets should be next
                                                                                                                                                                                     Page 240




19   9/18/2024   C Ghio           0.2   Email               re settlement meeting 9/25/2024 at 12 noon
                                                                                                                                                                                 EXHIBIT "D"
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19   9/18/2024   C Ghio           0.8   Legal analysis re settlement strategy.
      Date            Name     Hours    Narrative
19   9/18/2024   J Freedman       1.6   Finalize review of documents to produced in connection with initial disclosures to Scott
                                        Eadie
19   9/18/2024   J Freedman       0.8   Review and analysis of documents (135 pages) produced by Scott Eadie with revised
                                        initial disclosures to evaluate for impact on claims
19   9/18/2024   J Freedman       0.4   Review and analysis of Scott Eadie's amended initial disclosures for changes and impact
                                        on claims
19   9/18/2024   J Freedman       3.6   Review and analysis of evidence (over 2000 documents) related to Phoenix and Maverick
                                        management for initial disclosure production as to Greyson
19   9/18/2024   J Freedman       0.4   Draft initial disclosures as to Greyson
                                                                                                                                                                               Case 8:23-bk-10571-SC




19   9/18/2024   S Johnston       0.3   Supplemental instruction to V. Rodriguez for California common law claim availability
                                        based on ponzi scheme presumption for affiliates versus investors
19   9/18/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re the attached appellate case that
                                        discusses the Ponzi Scheme Presumption to review and utilize in the complaint to make a
                                        claim for punitive damages.
19   9/18/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re the attached appellate case that discusses
                                        the Ponzi Scheme Presumption to review and utilize in the complaint to make a claim for
                                        punitive damages.
                                                                                                                                   Main Document




19   9/19/2024   J Freedman       0.2   Finalize subpoena to Umpqua bank to obtain records to support claims and damages
19   9/19/2024   J Freedman       0.2   Finalize subpoena to AMEX in order to obtain records to support claims and damages
19   9/19/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
19   9/19/2024   V Rodriguez      0.6   Research for the Complaint and First Amended Complaint in an appellate case that
                                        discusses the Ponzi Scheme Presumption to review their claims for relief and the
                                        language utilized to include such information in the complaint.
                                                                                                                                                    Page 242 of 501




19   9/19/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re providing her the Memorandum
                                        re the potential new allegations for the complaint and the redlines to the complaint.
19   9/19/2024   V Rodriguez      0.9   Review and analysis of an appellate case that discusses the Ponzi Scheme Presumption
                                        to review and utilize in the complaint to make a claim for punitive damages.
19   9/19/2024   V Rodriguez      0.7   Drafting detailed notes re how to use the Ponzi Scheme Presumption in the complaint
                                        based on an appellate case that utilized it and was successful in their motion.
19   9/20/2024   R Simmons        0.9   QC review of initial disclosure for Eadie production
19   9/20/2024   S Johnston       1.4   Work on BankUnited cross references for Main adversary complaint ahead of finalizing
                                        2004 pleadings
19   9/20/2024   V Rodriguez      2.8   Drafting a Memorandum re the additional claims for relief or allegations that can
                                                                                                                                                                                  Page 241




                                        potentially be included in the affiliate complaint.
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                            Adv. Case No. 23-1098 (OHP-CDR, LP) (143576-20)



                                                      FEES
                 NAME                    TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino          Partner                   $835.00       .80      $668.00
    M. Tyler Powell                Partner                   $595.00      9.10     $5,414.50
    Yosina M. Lissebeck            Partner                   $745.00     27.10    $20,189.50
    Jeremy B. Freedman             Associate                 $465.00       .90      $418.50
    Jennifer E. Pitcock            Paraprofessional          $215.00       .50      $107.50
                                                               TOTALS    38.40    $26,798.00
      Date            Name     Hours    Narrative
20   7/11/2024   C Celentino      0.1   Communicatins re opposition to PECC summary judgment motion and respond
20   7/11/2024   MT Powell        0.5   Review objection of OHP to motion for summary judgment and begin to outline response.
20   7/11/2024   Y Lissebeck      0.1   Review email from T. Powell re oppositions to PECC summary judgment motion and
                                        respond
20   7/11/2024   Y Lissebeck      0.2   Discuss opposition to PECC Summary judgment motion with trustee
20   7/11/2024   Y Lissebeck      0.1   Review email from C. Celentino re opposition to PECC summary judgment motion and
                                        respond
20   7/15/2024   J Freedman       0.9   Review and analysis of evidence with particular attention to timing of transfers and
                                        insolvency in order to evaluate and develop strategy to counter OHP arguments regarding
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                        LPG's revenue
20   7/15/2024   MT Powell         1    Telephone call with Y. Lissebeck at Dinsmore re evidentiary allegations re solvency in
                                        OHP opposition to motion for summary judgment
20   7/15/2024   Y Lissebeck       1    Review opposition and all documents filed with the opposition to the motion for summary
                                        judgment
20   7/15/2024   Y Lissebeck      0.4   Review file, transcript, state court proceedings, declarations, and exhibits for evidence to
                                        use in Reply and forward to T. Powell for review and use
20   7/15/2024   Y Lissebeck      0.5   Discuss reply with T. Powell
                                                                                                                                       Main Document




20   7/16/2024   MT Powell        0.8   Research caselaw for reply to OHP objection to motion for summary judgment.
20   7/16/2024   Y Lissebeck      0.3   Review files and compare excel sheets re Validation partners files
20   7/16/2024   Y Lissebeck      0.2   Draft email to R. Izakelian with copy of VP dec and files they purchased
20   7/17/2024   MT Powell        0.5   Finalize reply to opposition of OHP to pending motion for summary judgment for filing and
                                        notice of request for judicial notice of actions of State Bar of California.
20   7/17/2024   MT Powell        4.2   Draft and revise reply to objection to OHP objection.
20   7/17/2024   MT Powell        0.8   Review final order in State Bar of California case against Daniel March
20   7/17/2024   Y Lissebeck      0.1   Review email from T. Powell re argument for reply and respond
                                                                                                                                                        Page 244 of 501




20   7/17/2024   Y Lissebeck      0.1   Discuss request for judicial notice with T. Powell
20   7/17/2024   Y Lissebeck      1.2   Review and revise OHP reply and provide revisions to T. Powell
20   7/17/2024   Y Lissebeck      0.6   Review and revise argument re N. Rapoport and J. Teeple declarations
20   7/17/2024   Y Lissebeck      0.5   Review and revise argument related to 547(b)(5)
20   7/17/2024   Y Lissebeck      2.3   Draft argument re insolvency for use in OHP reply
20   7/18/2024   J Pitcock        0.3   Oversee service of Trustee's Reply to Opposition of Plaintiffs to Trustee's Motion for
                                        Partial Summary Judgment and related Request for Judicial Notice.
20   7/25/2024   Y Lissebeck      0.1   Review various emails from S. Weise re stipulation and motion for summary judgment
20   7/29/2024   C Celentino      0.2   Conference re OHP settlement tino and offer for judgment
20   7/29/2024   Y Lissebeck      0.1   Review tentative re OHP
                                                                                                                                                                                      Page 243




20   7/29/2024   Y Lissebeck      0.2   Review numerous emails re settlement and offer for judgment
                                                                                                                                                                                  EXHIBIT "D"
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20   7/29/2024   Y Lissebeck      0.3   Draft email to trustee re settlement
      Date            Name     Hours    Narrative
20   7/29/2024   Y Lissebeck      0.3   Telephone call with OCC re settlement
20   7/29/2024   Y Lissebeck      0.2   Discuss OHP settlement with C. Celentino and offer for judgment
20   7/29/2024   Y Lissebeck      0.1   Review file re OHP motion
20   7/30/2024   C Celentino      0.1   Confer re settlement issues
20   7/30/2024   Y Lissebeck      0.6   Telephone call with E. Hays re settlement with OHP
20   7/30/2024   Y Lissebeck      0.2   Telephone call with trustee re settlement issues
20   7/30/2024   Y Lissebeck      0.6   Telephone call with R. Izakelian re settlement issues
20   7/30/2024   Y Lissebeck      0.2   Telephone call with Trustee re settlement
20   7/30/2024   Y Lissebeck      0.5   Review MSJ documents in preparation for hearing
                                                                                                                                                                           Case 8:23-bk-10571-SC




20   7/30/2024   Y Lissebeck      0.1   Draft email to OCC with settlement offer to OHP
20   7/30/2024   Y Lissebeck      0.3   Telephone call with T. Powell re settlement of OHP claims
20   7/30/2024   Y Lissebeck      0.1   Review revisions to settlement proposal from T. Powell
20   7/30/2024   Y Lissebeck      0.2   Draft settlement proposal to Trustee for review and authorization
20   7/30/2024   Y Lissebeck      0.2   Discuss settlement issues with C. Celentino
20   7/31/2024   Y Lissebeck      0.3   Telephone call with Trustee re OHP settlement and motion for summary judgment
20   7/31/2024   Y Lissebeck      0.3   Discuss case with trustee and C. Celentino after hearing and providing case strategy
                                        moving forward
                                                                                                                               Main Document




20   7/31/2024   Y Lissebeck        1   Attend hearing on MSJ
20   7/31/2024   Y Lissebeck      0.5   Review files in preparation for hearing
20    8/1/2024   C Celentino      0.3   Settlement discussions
20    8/1/2024   Y Lissebeck      0.3   Discuss settlement with C. Celentino
20    8/1/2024   Y Lissebeck      0.1   Telephone call with N. Koffroth re OHP settlement
20    8/1/2024   Y Lissebeck      0.2   Draft email to OCC re OHP settlement
20    8/1/2024   Y Lissebeck      0.2   Telephone call with R. Izaeklian re settlement
20    8/1/2024   Y Lissebeck      0.1   Telephone call with Trustee re settlement
                                                                                                                                                Page 245 of 501




20    8/1/2024   Y Lissebeck      0.2   Review and respond to settlement email from R. Izaeklian
20    8/1/2024   Y Lissebeck      0.1   Telephone call with R. Izaeklian re settlement
20    8/1/2024   Y Lissebeck      0.2   Review past settlement correspondence and forward to trustee
20    8/1/2024   Y Lissebeck      0.3   Telephone call with trustee re settlement
20    8/1/2024   Y Lissebeck      0.3   Draft email to parties re same
20    8/1/2024   Y Lissebeck      0.2   Telephone call with R. Izaeklian re settlement
20    8/1/2024   Y Lissebeck      0.3   Discuss case strategy with T. Powell
20    8/1/2024   Y Lissebeck      0.2   Review settlement offer and forward to trustee
20    8/1/2024   Y Lissebeck      0.2   Telephone call with R. Izakelian re settlement
20    8/1/2024   Y Lissebeck      0.2   Telephone call with Trustee re settlement
20    8/1/2024   Y Lissebeck      0.3   Discuss settlement with C. Celentino
                                                                                                                                                                              Page 244
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20    8/2/2024   C Celentino      0.1   Conference re settlement
     Date             Name     Hours    Narrative
20   8/2/2024    Y Lissebeck      0.2   Telephone call with R. Izaeklian re settlement and leaving message for court re resolution
                                        of adversary
20    8/2/2024   Y Lissebeck      0.2   Discuss filing motion to change vote with E. Hays
20    8/2/2024   Y Lissebeck      0.1   Telephone call with C. Celentino re settlement
20    8/2/2024   Y Lissebeck      0.3   Review disclosure statement and plan re change to vote and draft email to trustee re
                                        procedures
20    8/2/2024   Y Lissebeck      0.1   Discuss vote and plan with R. Izaelkian
20    8/2/2024   Y Lissebeck      0.1   Review and respond to emails from Trustee re plan vote and confirming no objection by
                                        OHP
                                                                                                                                                                                 Case 8:23-bk-10571-SC




20    8/5/2024   MT Powell        0.4   Review draft of settlement agreement with OHP and PurchaseCo
20    8/5/2024   Y Lissebeck      1.8   Draft settlement agreement with OHP
20    8/6/2024   Y Lissebeck      0.7   Finalize draft of settlement agreement
20    8/6/2024   Y Lissebeck      0.1   Review hearing dates for settlement motion
20    8/6/2024   Y Lissebeck      0.1   Review and respond to emails from R. Izakelian re 3018 motion
20    8/6/2024   Y Lissebeck      0.2   Telephone call with R. Izakelian re 9019 motion and hearing dates
20    8/6/2024   Y Lissebeck      0.1   Forward draft of settlement to R.Izakelian for revision
20    8/7/2024   Y Lissebeck      0.4   Review and respond to emails of R. Izakelian re settlement
                                                                                                                                     Main Document




20    8/7/2024   Y Lissebeck      0.2   Draft email to T. Powell with 9019 motion
20    8/7/2024   Y Lissebeck      0.1   Discuss 9019 motion with T. Powell
20    8/7/2024   Y Lissebeck      0.4   Review and revise 9019 motion
20    8/7/2024   Y Lissebeck      0.3   Review and revise settlement
20    8/7/2024   Y Lissebeck      0.2   Forward settlement to R. Izakelian for review and comment
20    8/7/2024   Y Lissebeck      0.3   Telephone call with R. Izakelian re settlement
20    8/8/2024   MT Powell        0.5   Review draft settlement agreement with OHP and draft Motion to Approve Trustee's
                                        Settlement with OHP and forward comments to Y. Lissebeck.
                                                                                                                                                      Page 246 of 501




20    8/8/2024   Y Lissebeck      1.5   Review and revise 9019 motion
20    8/8/2024   Y Lissebeck      0.2   Draft email to R. Izakelian with settlement and revise response
20    8/8/2024   Y Lissebeck      0.1   Draft email to trustee with declaration and settlement for review and signature
20    8/8/2024   Y Lissebeck      0.3   Review, revise and finalize documents
20    8/8/2024   Y Lissebeck      0.5   Draft declaration of trustee in support of OHP 9019 motion
20    8/9/2024   Y Lissebeck      0.3   Review 3012 motion
20   9/16/2024   Y Lissebeck      0.2   Review various emails and responses re payment to OHP on effective date
20   9/17/2024   Y Lissebeck      0.1   Review various emails re R. Izakalian and P. Krause re payment of effective date amount
20   9/17/2024   Y Lissebeck      0.2   Draft email to R. Izakelian re notice of withdraw of MSJ and resolution of AP against
                                        Azzure, review response and reply
20   9/18/2024   MT Powell        0.4   Review orders resolving OHP adversary based on confirmation of plan.
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      Date            Name     Hours    Narrative
20   9/18/2024   Y Lissebeck      0.4   Review notice to withdraw MSJ and comment re revisions to caption and Proof of service
                                        to T. Powell
20   9/19/2024   J Pitcock        0.2   Review and download Stipulation to Dismiss Adversary Proceeding and Order Approving
                                        Same.
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                            Debt Relief Group LLC (143576-22)



                                          FEES
                NAME              TITLE           RATE      HOURS   TOTAL FEES
    Matthew J. Stockl        Associate           $480.00      .10       $48.00
                                                   TOTALS     .10       $48.00
      Date           Name   Hours    Narrative
22   9/17/2024   M Stockl      0.1   Call with S. Mattingly regarding status of adversary complaint, case strategy, and next
                                     steps.
                                                                                                                                                                           Case 8:23-bk-10571-SC
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                   Adv. Case No. 24-01017 (New Horizon Finance LLC) (143576-23)



                                                   FEES
                 NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino       Partner                   $835.00       .30      $250.50
    M. Tyler Powell             Partner                   $595.00      6.30     $3,748.50
    Yosina M. Lissebeck         Partner                   $745.00      2.40     $1,788.00
    Vanessa Rodriguez           Associate                 $385.00     38.00    $14,630.00
    Jennifer E. Pitcock         Paraprofessional          $215.00       .50      $107.50
    Katherine Hemphill          Paraprofessional          $210.00      1.00      $210.00
                                                            TOTALS    48.50    $20,734.50
     Date            Name      Hours    Narrative
23   7/2/2024    V Rodriguez      0.5   Strategy conference regarding the upcoming deadlines for discovery, motions, and pretrial
                                        stipulation, and the relevant rules.
23    7/2/2024   V Rodriguez      3.2   Conduct comprehensive research and analysis of local bankruptcy rules, federal rules of
                                        civil procedures, federal rules of evidence, and the Judge's chamber rules specific to this
                                        case, focusing on discovery and motion deadlines
23    7/2/2024   Y Lissebeck      0.3   Discuss deadlines and reminders for discovery cut off, motion dates, and pre-trial status
                                        conference dates with V. Rodriguez
23    7/9/2024   V Rodriguez      0.3   Continue conducting a comprehensive research and analysis of local bankruptcy rules,
                                        federal rules of civil procedures, federal rules of evidence, and the Judge's chamber rules
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        specific to this case, focusing on discovery and motion deadlines
23    7/9/2024   Y Lissebeck      0.1   Draft email to T. Powell and V. Rodriguez re obtaining information from defendant and
                                        moving forward with meet and confer
23   7/10/2024   V Rodriguez      0.1   Review of correspondence with opposing counsel regarding serving discovery requests if
                                        a settlement cannot be reached.
23   7/10/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding drafting
                                        discovery requests to Defendant.
23   7/10/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding following up
                                                                                                                                      Main Document




                                        with opposing counsel regarding providing documentation verifying the business
                                        relationship between New Horizon and the entities that they paid funds to, to allow us to
                                        verify whether New Horizon was legally transferring money to those entities for
                                        services/goods provided.
23   7/11/2024   K Hemphill        1    Prepare Discovery shells for (1) Request for Production of Documents and (2) Request for
                                        Admission.
23   7/11/2024   Y Lissebeck      0.1   Review email from M. Rapkowski re transfers and various entities
23   7/12/2024   MT Powell        0.3   Review and respond to email from M. Rapowski, counsel for New Horizon, forwarding
                                                                                                                                                       Page 251 of 501




                                        additional information for settlement discussions. Recommend settlement based on
                                        review of new information and tracing issues.
23   7/12/2024   MT Powell        0.4   Draft email setting out terms of potential settlement with New Horizon for review by
23   7/12/2024   V Rodriguez      0.1   Review of multiple correspondences from Dinsmore Attorney T. Powell and Dinsmore
                                        Attorney Y. Lissebeck regarding the rational on why a settlement is the best option for the
                                        client, pursuing a higher settlement amount offer, and presenting this information to the
                                        client.
23   7/12/2024   V Rodriguez      0.3   Review of multiple correspondences from Dinsmore Attorney T. Powell and Dinsmore
                                        Attorney Y. Lissebeck regarding accepting the settlement offer of $100K and the analysis
                                        regarding why this would be the best option for the client based on the financial state of
                                                                                                                                                                                     Page 250




                                        New Horizon and their possibility of filing for bankruptcy, whether they filed a proof of
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        claim, and the 90-day and 4-year conveyance amounts
      Date           Name      Hours    Narrative
23   7/12/2024   V Rodriguez      0.1   Review of analysis of Omni's proof of claim search results to confirm that New Horizon did
                                        not file a proof of claim that could be waived as a condition to a potential settlement.
23   7/12/2024   V Rodriguez      0.1   Review of correspondence to the client regarding proposing a final take it or leave
                                        settlement offer and the rational on why a settlement is the best option in this case.
23   7/12/2024   V Rodriguez      0.1   Review and analysis of the last settlement offer provided by New Horizon to determine the
                                        amount and whether it is in the best interest of the client to accept the offer.
23   7/12/2024   V Rodriguez      0.1   Review of correspondence from opposing counsel regarding New Horizon's business
                                        expenses and explained how these expenses relate to the funds paid to the respective
                                        companies to demonstrate that these expenses were not fraudulent.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




23   7/12/2024   Y Lissebeck      0.1   Review email from T. Powell re settlement offer and respond with request for further
                                        information re offer
23   7/15/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney T. Powell regarding contacting
                                        opposing counsel to provide him the settlement offer.
23   7/15/2024   V Rodriguez      0.1   Review of correspondence from the client regarding approving the proposal to provide the
                                        opposing party with a take it or leave it offer of $125,000 to settle this case.
23   7/15/2024   V Rodriguez      0.2   Multiple correspondences to Dinsmore Attorney Y. Lissebeck regarding whether to
                                        proceed with drafting discovery requests or to wait until the proposed settlement offer has
                                                                                                                                      Main Document




                                        been discussed with opposing counsel
23   7/15/2024   Y Lissebeck      0.1   review email from V. Rodriguez re discovery requests and respond
23   7/16/2024   V Rodriguez      0.1   Review of the initial disclosures to determine if they include information pertaining to J.
                                        Teeple and N. Rapoport and to determine whether a supplemental initial disclosure is
                                        needed.
23   7/16/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding whether it
                                        would be possible to obtain information from New Horizon regarding other assets,
                                                                                   or whether this situation is happening again.
                                                                                                                                                       Page 252 of 501




23   7/17/2024   V Rodriguez      0.1   Receipt and review of 49 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   7/17/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in this case.
23   7/22/2024   MT Powell        0.1   Telephone call with M. Rapowski re settlement of adversary.
23   7/22/2024   V Rodriguez      2.4   Drafting the Plaintiff Richard A. Marshack, Chapter 11 Trustee's First Set of Requests for
                                        Production of Documents to Defendant New Horizon Finance LLC.
23   7/22/2024   V Rodriguez      0.6   Drafting the Plaintiff Richard A. Marshack, Chapter 11 Trustee's First Set of Requests for
                                        Admission to Defendant New Horizon Finance LLC.
                                                                                                                                                                                     Page 251




23   7/23/2024   V Rodriguez      0.3   Drafting a proof of service regarding discovery responses.
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date           Name      Hours    Narrative
23   7/23/2024   V Rodriguez      0.6   Continue drafting Plaintiff Richard A. Marshack, Chapter 11 Trustee's First Set of
                                        Requests for Production of Documents to Defendant New Horizon Finance LLC
23   7/23/2024   V Rodriguez      1.9   Drafting the Plaintiff Richard A. Marshack, Chapter 11 Trustee's First Set of Requests for
                                        Admission to Defendant New Horizon Finance LLC.
23   7/23/2024   Y Lissebeck      0.1   Review email from V. Rodriguez with discovery to go out to defendants
23   7/26/2024   J Pitcock        0.5   Finalize Trustee's First Set of Requests for Admission with proof of service and serve
                                        same.
23   7/26/2024   MT Powell        0.3   Attention to service of discovery requests on New Horizon. Forward requests for
                                        production of documents to New Horizon counsel.
                                                                                                                                                                                   Case 8:23-bk-10571-SC




23   7/26/2024   MT Powell        0.4   Review drafts of discovery requests to New Horizon.
23   7/26/2024   MT Powell        0.2   Review response to settlement offer from counsel for New Horizon
23   7/26/2024   V Rodriguez      0.1   Review of multiple correspondences from Dinsmore Attorney Y. Lissebeck and Dinsmore
                                        Attorney T. Powell regarding serving discovery requests on opposing counsel.
23   7/26/2024   V Rodriguez      0.2   Drafting revisions to the Requests for Admissions.
23   7/26/2024   V Rodriguez      0.2   Review of multiple correspondences from Dinsmore Attorney T. Powell regarding drafting
                                        revisions to the Requests for Admission and serving discovery requests on opposing
                                        counsel.
                                                                                                                                       Main Document




23   7/26/2024   V Rodriguez      0.1   Review of correspondence to opposing counsel regarding the attached Requests for
                                        Admissions.
23   7/26/2024   V Rodriguez      0.1   Review of correspondence to opposing counsel regarding the attached Request for
                                        Production of Documents.
23   7/26/2024   V Rodriguez      0.2   Correspondence to Dinsmore Attorney T. Powell regarding serving the Request for
                                        Production of Documents on opposing counsel
23   7/27/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding serving the
                                        Requests for Production of Documents on opposing counsel.
                                                                                                                                                        Page 253 of 501




23   7/30/2024   V Rodriguez      0.2   Review of multiple correspondences with opposing counsel regarding a counteroffer to
                                        settle the case
23   7/31/2024   V Rodriguez      0.1   Strategy conference regarding drafting supplemental disclosures to include experts N.
                                        Rapoport and Joshua Teeple's information.
23   7/31/2024   V Rodriguez      0.1   Review of correspondence with the client regarding the financials provided by the
                                        Defendant and the Defendant's threat to file for bankruptcy if their settlement offer is not
                                        accepted.
23   7/31/2024   V Rodriguez      0.3   Strategy conference regarding drafting Motions to Compel discovery responses if
                                        Defendant does not timely answer Plaintiff's discovery requests.
23    8/1/2024   V Rodriguez      1.3   Drafting the Plaintiff Richard A. Marshack, Chapter 11 Trustee's Supplemental 7026
                                                                                                                                                                                      Page 252




                                        Disclosures as to New Horizon Finance LLC to include expert N. Rapoport's information
                                                                                                                                                                                  EXHIBIT "D"
                                                                                                                                       Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        before serving opposing counsel.
     Date            Name      Hours    Narrative
23   8/1/2024    V Rodriguez      0.5   Research and analysis of the Federal Rules of Bankruptcy Procedure, Federal Rules of
                                        Civil Procedure, and the Local Bankruptcy Rules regarding serving Supplemental
                                        Disclosures on the opposing party.
23    8/1/2024   V Rodriguez      0.8   Drafting a summary of the adversary proceeding as required for the LPG Fee Application
                                        with attention to the matter, procedure status, what has generally been done in the case
                                        through June 2024, and what we anticipate will happen.
23    8/1/2024   V Rodriguez      0.1   Review of the Proof of Service regarding the Plaintiff Richard A. Marshack, Chapter 11
                                        Trustee's Supplemental 7026 Disclosures as to New Horizon Finance LLC.
23    8/1/2024   V Rodriguez      0.2   Correspondence to Dinsmore Attorney Y. Lissebeck regarding the attached Plaintiff
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        Richard A. Marshack, Chapter 11 Trustee's Supplemental 7026 Disclosures as to New
                                        Horizon Finance LLC.
23    8/1/2024   V Rodriguez      0.3   Review of the court's docket to review the status of the case and to assist in drafting the
                                        summary of the adversary proceeding.
23    8/2/2024   V Rodriguez      0.1   Review and analysis of the LPG Post-Petition Disbursement Summary to determine if the
                                        Defendant received a 549 payment over $30,000 to determine if an amendment to the
                                        First Amended Complaint is necessary.
23    8/2/2024   V Rodriguez      0.1   Receipt and review of 56 correspondences from the U.S. Bankruptcy Court Central District
                                                                                                                                      Main Document




                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23    8/2/2024   V Rodriguez      0.2   Review of the First Amended Complaint to determine if a 549 Claim for Relief was
                                        included.
23    8/2/2024   V Rodriguez      0.2   Correspondence to Dinsmore Attorney Y. Lissebeck regarding New Horizon being an
                                        entity that received a 549 payment of $115,000, the First Amended Complaint not
                                        containing a 549 Claim for Relief, and having to file a Second Amended Complaint to
23    8/2/2024   V Rodriguez      0.1   include
                                        Review this   claim.
                                                 of correspondence    from Dinsmore Attorney Y. Lissebeck regarding potentially
                                                                                                                                                       Page 254 of 501




                                        getting the settlement increased due to the Defendant's 549 payment.
23    8/6/2024   V Rodriguez      0.3   Strategy conference regarding drafting a Second Amended Complaint due to the 549
                                        payment received by the Defendant.
23    8/7/2024   V Rodriguez      1.5   Review and analyze multiple LPG documents in ViewPoint related to the Defendant and
                                        LPG to identify any pertinent documents for use in the prosecution against the Defendant.
23    8/7/2024   V Rodriguez      0.1   Receipt and review of several correspondences from the U.S. Bankruptcy Court Central
                                        District of California regarding recent filings in the main bankruptcy case to determine if
                                        they are relevant to this matter.
23   8/13/2024   MT Powell        0.4   Review and respond to emails with M. Rapowski counsel for New Horizon re counter offer
                                        and settlement of adversary.
                                                                                                                                                                                     Page 253




23   8/13/2024   V Rodriguez      0.3   Revising Plaintiff Richard A. Marshack, Chapter 11 Trustee's Supplemental 7026
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        Disclosures as to New Horizon Finance LLC.
      Date           Name      Hours    Narrative
23   8/13/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck regarding whether to proceed with serving the
                                        Plaintiff Richard A. Marshack, Chapter 11 Trustee's Supplemental 7026 Disclosures as to
                                        New Horizon Finance LLC.
23   8/14/2024   C Celentino      0.3   Analysis and confer re correspondences with opposing counsel re a proposed
                                        counteroffer re settlement and strategy Agreement and Rule 9019 Motion.
23   8/14/2024   V Rodriguez      0.3   Review of multiple correspondences with Opposing Counsel re a newly proposed
                                        counteroffer to settle the case based on new evidence of post-petition payments to the
                                        Defendant, their agreement to the new settlement offer, and drafting the Settlement
                                        Agreement and Rule 9019 Motion.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




23   8/14/2024   V Rodriguez      0.1   Strategy conference re drafting the Settlement Agreement between the parties.
23   8/14/2024   V Rodriguez      0.4   Multiple correspondences to Attorney T. Powell and Attorney Y. Lissebeck regarding
                                        drafting the Settlement Agreement, and not proceeding with drafting the Second Amended
                                        Complaint, reviewing Viewpoint documents, drafting Supplement Disclosures, nor
                                        providing opposing counsel with the Protective Order, and drafting the Motion to Approve
                                        the Settlement Agreement
23   8/14/2024   V Rodriguez      0.1   Receipt and review of 20 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                                                                                                                      Main Document




                                        relevant to this matter.
23   8/14/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re drafting revisions to the Plaintiff
                                        Richard A. Marshack, Chapter 11 Trustee's Supplemental 7026 Disclosures as to New
                                        Horizon Finance LLC
23   8/14/2024   Y Lissebeck      0.2   Review email from M Rapkowski re settlement and respond to email from V. Rodriguez re
                                        drafting settlement
23   8/15/2024   V Rodriguez      1.4   Drafting the Settlement Agreement between the parties to finalize and settle the case.
23   8/15/2024   V Rodriguez      0.3   Drafting a summary of the adversary proceeding against New Horizon Finance LLC as
                                                                                                                                                       Page 255 of 501




                                        required for the LPG Fee Application with attention to what the Complaint entails including
                                        causes of actions, theories, and the amount we are seeking.
23   8/16/2024   MT Powell        0.7   Review draft of settlement agreement from associate.
23   8/16/2024   V Rodriguez      0.8   Continue drafting the Settlement Agreement between the parties to finalize and settle the
                                        case.
23   8/16/2024   V Rodriguez      0.2   Correspondence to Attorney T. Powell and Attorney Y. Lissebeck re the attached
                                        Settlement Agreement for their review before providing it to opposing counsel for their
                                        review and comments
23   8/16/2024   Y Lissebeck      0.2   Review and respond to email from V. Rodriguez re status of settlement agreement and
                                        moving forward with 9019 motion
                                                                                                                                                                                     Page 254




23   8/19/2024   V Rodriguez      0.4   Strategy conference re what to include and what rules are relevant when drafting the
                                                                                                                                                                                 EXHIBIT "D"
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                                        Motion for Approval of the Settlement Agreement.
      Date           Name      Hours    Narrative
23   8/19/2024   V Rodriguez      1.5   Drafting the Chapter 11 Trustee's Notice of Motion and Motion for Order Approving the
                                        Settlement Agreement Between the Trustee and New Horizon Finance LLC
23   8/21/2024   MT Powell        0.4   Revise draft settlement agreement with New Horizon Finance and forward draft to M.
                                        Rapkowski counsel for Defendant.
23   8/21/2024   V Rodriguez      0.3   Review of multiple correspondences from Attorney T. Powell and Attorney Y. Lissebeck re
                                        whether the settlement or the adversary dealt with the AR purchase agreements between
                                        New Horizon and third party purchasers such that those third parties might seek a portion
                                        of the settlement
23   8/21/2024   V Rodriguez      0.1   Receipt and review of 20 correspondences from the U.S. Bankruptcy Court Central District
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   8/21/2024   V Rodriguez      0.1   Review and analysis of the revised Settlement Agreement with New Horizon before
                                        providing it to opposing counsel.
23   8/21/2024   V Rodriguez      1.7   Continue drafting the Chapter 11 Trustee's Notice of Motion and Motion for Order
                                        Approving the Settlement Agreement Between the Trustee and New Horizon Finance LLC
23   8/21/2024   V Rodriguez      0.6   Research and analysis of the case law and statutes cited in the Motion for Order
                                        Approving Settlement Agreement to ensure accuracy and confirm that the law is still
                                                                                                                                      Main Document




                                        current and able to be cited.
23   8/21/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney T. Powell and Attorney Y. Lissebeck re
                                        OHP's potentially requesting their percentage of fees from any files that they were getting
                                        paid on from the settlement with New Horizon, and the attached revised Settlement
                                        Agreement
23   8/21/2024   Y Lissebeck      0.2   Telephone call with T. Powell re revisions to settlement agreement
23   8/21/2024   Y Lissebeck      0.2    Review settlement agreement and approve for forwarding to defendant
23   8/22/2024   V Rodriguez      0.1   Review of correspondence to opposing counsel re the attached draft Settlement
                                                                                                                                                       Page 256 of 501




                                        Agreement for his review.
23   8/22/2024   V Rodriguez      0.6   Continue drafting the Chapter 11 Trustee's Notice of Motion and Motion for Order
                                        Approving the Settlement Agreement Between the Trustee and New Horizon Finance LLC
23   8/22/2024   V Rodriguez      0.7   Finalize research and analysis of the case law and statutes cited in the Motion for Order
                                        Approving Settlement Agreement to ensure accuracy and confirm that the law is still
                                        current and able to be cited.
23   8/27/2024   MT Powell        0.5   Review and respond to email from M. Rapowski re changes to release language
23   8/27/2024   V Rodriguez      0.3   Review of multiple correspondences with opposing counsel re their review of the draft
                                        Settlement Agreement so a Motion for Approval can be filed this week and removing
                                        language added re releasing claims against entities and individuals
                                                                                                                                                                                     Page 255




23   8/27/2024   V Rodriguez      0.1   Review and analysis of opposing counsel's redlines to the draft Settlement Agreement.
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date           Name      Hours    Narrative
23   8/27/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re including language in the
                                        settlement agreement that provides a release to the defendant for known claims only.
23   8/27/2024   V Rodriguez      0.2   Review of correspondence from Attorney T. Powell re drafting a proposed motion to
                                        approve the settlement with New Horizon
23   8/27/2024   Y Lissebeck      0.2   Review general release language in settlement and provide comments to T. Powell re
                                        same
23   8/28/2024   V Rodriguez      0.1   Review of correspondence with opposing counsel re the attached revised draft of the
                                        Settlement Agreement for his review.
23   8/28/2024   V Rodriguez      0.1   Receipt and review of 33 correspondences from the U.S. Bankruptcy Court Central District
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   8/28/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney T. Powell and Attorney Y. Lissebeck re
                                        the deadline for filing the Motion to Approve the Settlement with New Horizon given the
                                        October 2, 2024 hearing date.
23   8/29/2024   V Rodriguez      0.1   Review of correspondence from opposing counsel re providing a response to the revised
                                        draft of the Settlement Agreement by tomorrow.
23   8/30/2024   MT Powell        0.3   Review and respond to email from M. Rapowski re final settlement agreement
                                                                                                                                      Main Document




23   8/30/2024   MT Powell        0.3   Review and respond to email from M. Rapowski re final language for settlement
23   8/30/2024   V Rodriguez      0.1   Review of multiple correspondences with opposing counsel re agreeing to the terms of the
                                        Settlement Agreement and seeking approval of the Settlement Agreement with the court.
23    9/3/2024   V Rodriguez      0.6   Continue drafting the Chapter 11 Trustee's Notice of Motion and Motion for Order
                                        Approving the Settlement Agreement Between the Trustee and New Horizon Finance LLC
23    9/3/2024   V Rodriguez      0.1   Review and analysis of the executed Settlement Agreement.
23    9/3/2024   V Rodriguez      0.1   Review of correspondence from opposing counsel re the attached executed Settlement
                                        Agreement.
                                                                                                                                                       Page 257 of 501




23    9/4/2024   V Rodriguez      0.1   Review of correspondence from Attorney T. Powell regarding proceeding with the October
                                        2nd hearing for the Motion for Order Approving the Settlement Agreement instead of a
                                        later date.
23    9/4/2024   V Rodriguez      0.6   Continue drafting the Chapter 11 Trustee's Notice of Motion and Motion for Order
                                        Approving the Settlement Agreement Between the Trustee and New Horizon Finance LLC
23    9/4/2024   V Rodriguez      0.2   Research and analysis re whether a proposed order is required to be filed with a motion
                                        for order approving a settlement agreement.
23    9/4/2024   V Rodriguez      0.1   Correspondence to Attorney T. Powell re the attached Chapter 11 Trustee's Notice of
                                        Motion and Motion for Order Approving the Settlement Agreement Between the Trustee
                                        and New Horizon Finance LLC
                                                                                                                                                                                     Page 256




23    9/5/2024   MT Powell        0.7   Review and edit Motion to Approve New Horizon settlement and Declaration of Trustee
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        Marshack in support thereof
     Date            Name      Hours    Narrative
23   9/9/2024    MT Powell        0.5   Review and respond to email from K. Owens, creditors' committee counsel, re questions
                                        on New Horizon settlement.
23    9/9/2024   V Rodriguez      0.3   Receipt and review of 92 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23    9/9/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re revisions to make to the Motion
                                        to Approve the Settlement Agreement Between the Trustee and New Horizon Finance
23    9/9/2024   V Rodriguez      0.1   Review of multiple correspondences with Official Creditors Committee re the attached
                                        Settlement Agreement and filing the Motion to Approve the Settlement Agreement
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        Between the Trustee and New Horizon Finance LLC.
23    9/9/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re whether this affiliate filed an
                                        administrative or priority claim.
23    9/9/2024   V Rodriguez      0.2   Review and analysis of the claims register and the Omni proof of claim spreadsheet to
                                        confirm that this affiliate did not file an administrative or priority claim.
23    9/9/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re the affiliate not having filed an administrative
                                        or priority claim.
23    9/9/2024   V Rodriguez      0.1   Review of multiple correspondences with Attorney Y. Lissebeck and Attorney T. Powell re
                                                                                                                                      Main Document




                                        filing the Motion to Approve the Settlement Agreement Between the Trustee and New
                                        Horizon Finance LLC this week.
23    9/9/2024   Y Lissebeck      0.2   Discuss response to K. Owens email re settlement with T. Powell, review T. Powell's
                                        response re factors to establish settlement
23   9/10/2024   V Rodriguez      0.1   Review of correspondence from Attorney T. Powell re filing and serving the Motion for
                                        Order Approving The Settlement Agreement Between The Trustee And New Horizon
                                        Finance, LLC today and awaiting responses from the Official Creditors Committee re their
                                        inquiries re the settlement of this matter
                                                                                                                                                       Page 258 of 501




23   9/10/2024   V Rodriguez      0.1   Correspondence to Attorney T. Powell re whether he would like to proceed with filing and
                                        serving of the Motion for Order Approving The Settlement Agreement Between The
                                        Trustee And New Horizon Finance, LLC before tomorrow's deadline.
23   9/10/2024   Y Lissebeck      0.2   REview declaration of trustee in support of 9019 motion and draft email to Trustee
                                        requesting review and signature
23   9/10/2024   Y Lissebeck      0.1   Review response from trustee and forward executed signature to be finalized and filed
23   9/11/2024   MT Powell        0.6   Review and respond to emails with assistant and K. Owens, counsel for the Committee, re
                                        finalizing motion to approve New Horizon settlement.
23   9/11/2024   V Rodriguez      0.1   Receipt and review of 21 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                                                                                                                                                                     Page 257




                                        relevant to this matter.
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date           Name      Hours    Narrative
23   9/11/2024   V Rodriguez      0.1   Review of the conformed copy of the Notice of Motion and Motion for an Order Approving
                                        the Settlement Agreement and Proof of Service.
23   9/11/2024   V Rodriguez      0.3   Reviewing and revising the proof of service for the Notice of Motion and Motion for an
                                        Order Approving the Settlement Agreement.
23   9/11/2024   V Rodriguez      0.2   Final review of the Notice of Motion and Motion for an Order Approving the Settlement
                                        Agreement and Proof of Service.
23   9/11/2024   V Rodriguez      0.8   Drafting further revisions and finalizing the Notice of Motion and Motion for an Order
                                        Approving the Settlement Agreement before filing and service.
23   9/11/2024   Y Lissebeck      0.1   Review 9019 motion and respond with revisions
                                                                                                                                                                                Case 8:23-bk-10571-SC




23   9/12/2024   V Rodriguez      0.3   Review of multiple correspondences from Attorney Y. Lissebeck and Attorney C. Celentino
                                        re the procedures utilized to handle the filing of the Motion to Approve the Settlement
                                        Agreement
23   9/12/2024   V Rodriguez      0.1   Correspondence to Dinsmore employee K. Hemphill re the relevant deadlines for the
                                        Motion to Approve the Settlement Agreement.
23   9/12/2024   V Rodriguez      0.1   Further review of the conformed copy of the Motion to Approve the Settlement Agreement.
23   9/12/2024   V Rodriguez      0.2   Review of the court's docket to confirm that the Motion to Approve the Settlement
                                        Agreement was properly and timely filed.
                                                                                                                                    Main Document




23   9/13/2024   MT Powell        0.2   Review and approve corrected notice of hearing for New Horizon settlement motion.
23   9/13/2024   V Rodriguez      0.1   Review of correspondence with Attorney T. Powell re the attached Amended Notice of
                                        Hearing for the 1909 motion.
23   9/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re the revision required to be made
                                        to the 1909 motion.
23   9/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney T. Powell re revising the timing of the hearing on
                                        the 1909 motion.
23   9/13/2024   V Rodriguez      0.1   Review of multiple correspondences with Attorney Y. Lissebeck re the notice on the 1909
                                                                                                                                                     Page 259 of 501




                                        motion needing revisions.
23   9/13/2024   V Rodriguez      0.2   Review of correspondence from Attorney Y. Lissebeck re the calendaring of the 1909
                                        motion needing to be calendared for 11 a.m. instead of 10 a.m. as listed in the motion
23   9/13/2024   V Rodriguez      0.1   Review of 23 correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   9/13/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Central District re the
                                        recently filed 9019 motion and the amended notice of motion re the same.
23   9/16/2024   V Rodriguez      0.1   Review of correspondence from the U.S. Bankruptcy Court Central District of California
                                        regarding the Transcript regarding the hearing held on September 11, 2024 regarding the
                                                                                                                                                                                   Page 258




                                        Notice of Motion and Motion for Order Approving Settlement Agreement between the
                                                                                                                                                                               EXHIBIT "D"
                                                                                                                                    Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        Trustee and New Horizon Finance LLC.
      Date           Name      Hours    Narrative
23   9/16/2024   V Rodriguez      0.1   Review of 10 correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   9/17/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   9/18/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
                                                                                                                                                                               Case 8:23-bk-10571-SC




23   9/19/2024   V Rodriguez      0.2   Correspondence to Attorney Y. Lissebeck, Attorney T. Powell, and Attorney C. Celentino
                                        re the upcoming hearing on October 2, 2024 re the Motion to Approve the Settlement
                                        Agreement.
23   9/19/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
23   9/20/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re attendance at the hearing re the Motion to
                                        Approve the Settlement Agreement with New Horizon.
                                                                                                                                   Main Document




23   9/20/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re attendance at the hearing re the
                                        Motion to Approve the Settlement Agreement with New Horizon.
23   9/20/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re attendance at the hearing re the
                                        Motion to Approve the Settlement Agreement with New Horizon unless the tentative ruling
                                        takes the hearing off calendar.
23   9/20/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
                                                                                                                                                    Page 260 of 501




23   9/20/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re attendance at the hearing re the Motion to
                                        Approve the Settlement Agreement with New Horizon unless the tentative ruling takes the
                                        hearing off calendar.
23   9/23/2024   V Rodriguez      0.1   Review of 34 correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
                                                                                                                                                                                  Page 259
                                                                                                                                                                              EXHIBIT "D"
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Case 8:23-bk-10571-SC    Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
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                                                                          EXHIBIT "D"
                                                                               Page 260
      Adv. Case No. 23-1150 (Clear Vision Financial LLC / Liberty 1 Financial) (143576-24)



                                                 FEES
                NAME                 TITLE               RATE      HOURS     TOTAL FEES
    Sarah S. Mattingly         Partner                  $610.00      1.40       $854.00
    Jamie D. Mottola           Associate                $455.00     85.50     $38,902.50
                               eDiscovery
    Robert J. Simmons                                   $365.00      3.80      $1,387.00
                               Project Manager
                                                          TOTALS    90.70     $41,143.50
     Date            Name      Hours    Narrative
24   7/1/2024    J Mottola        2.6   Analyze banking records and other documents produced in response to Subpoena to
                                        Zions Bancorporation to identify evidence to support causes of action plead in complaint.
24    7/7/2024   S Mattingly      0.1   Revise meet and confer letter to OC requesting OC correct deficiencies in the discovery
                                        responses.
24    7/8/2024   J Mottola        0.4   Finalize Meet and Confer letter to Defendant's counsel addressing failure to comply with
                                        discovery requests to encourage cooperation without further court involvement.
24    7/9/2024   J Mottola        0.7   Continued strategizing and formulating discovery plan and supporting arguments in light
                                        of evolving information and upcoming court deadlines.
24   7/10/2024   J Mottola        2.4   Analyze records produced by Defendant's financial institutions in response to Subpoenas
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        sent in an effort to identify evidence supporting causes of action plead in the Amended
                                        Complaint and to combat Defendant's alleged defenses.
24   7/15/2024   S Mattingly      0.2   Call with OC re meet and confer.
24   7/23/2024   J Mottola          2   Analyze records produced by Defendant's financial institutions in response to Subpoenas
                                        sent in an effort to identify evidence supporting causes of action plead in the Amended
                                        Complaint and to combat Defendant's alleged defenses.
24   7/24/2024   J Mottola        1.7   Analyze records produced by Defendant's financial institutions in response to Subpoenas
                                        sent in an effort to identify evidence supporting causes of action plead in the Amended
                                                                                                                                    Main Document




                                        Complaint and to combat Defendant's alleged defenses.
24   7/24/2024   J Mottola        1.3   Prepare Supplemental Disclosures in light of new information pursuant to requirements of
                                        Bankruptcy Rule of Procedure rule 7026.
24   7/28/2024   S Mattingly      0.3   Revise the trustee's supplemental initial disclosures.
24   7/29/2024   J Mottola        0.7   Prepare correspondence to counsel for Defendant following up from Meet and Confer and
                                        addressing continued failure to comply with production requests in an effort to obtain
                                        requested production which may provide evidence to support causes of action and/or
                                        evidence to combat alleged defenses.
                                                                                                                                                     Page 262 of 501




24   7/29/2024   J Mottola        0.9   Prepare Motion to Compel in light of Defendant's failure to produce documents in
                                        response to Requests for Production of Documents in an effort to obtain evidence to
                                        support causes of action plead in the Complaint and defend against alleged defenses.
24   7/30/2024   J Mottola        0.9   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                        progression of this adversary.
24   7/30/2024   J Mottola        1.4   Prepare Motion to Compel in light of Defendant's failure to produce documents in
                                        response to Requests for Production of Documents in an effort to obtain evidence to
                                        support causes of action plead in the Complaint and defend against alleged defenses.
24   7/30/2024   S Mattingly      0.2   Consider additional discovery needed from OC in support of a MJS.
24   7/31/2024   J Mottola        1.8   Prepare Motion to Compel in light of Defendant's failure to produce documents in
                                                                                                                                                                                   Page 261




                                        response to Requests for Production of Documents in an effort to obtain evidence to
                                                                                                                                                                               EXHIBIT "D"
                                                                                                                                    Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        support causes of action plead in the Complaint and defend against alleged defenses.
     Date           Name    Hours    Narrative
24   8/1/2024   J Mottola      1.7   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                     progression of this adversary.
24   8/1/2024   J Mottola      1.8   Prepare supporting documentation for Supplemental Disclosures in light of new
                                     information pursuant to requirements of Bankruptcy Rule of Procedure rule 7026.
24   8/1/2024   J Mottola       1    Conference and exchange of correspondence with Defendant's counsel regarding delivery
                                     of production of documents in an effort to obtain further supporting evidence to pursue
                                     causes of action plead in the Complaint.
24   8/1/2024   J Mottola      1.6   Further analyze records produced by Defendant's financial institutions in response to
                                     Subpoenas sent in an effort to identify evidence supporting causes of action plead in the
                                                                                                                                                                             Case 8:23-bk-10571-SC




                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/2/2024   J Mottola      1.5   Further analyze records produced by Defendant's financial institutions in response to
                                     Subpoenas sent in an effort to identify evidence supporting causes of action plead in the
                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/2/2024   J Mottola       1    Analyze documents produced by Defendant in response to Requests for Production of
                                     Documents in an effort to identify evidence supporting causes of action plead in the
                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/5/2024   J Mottola      2.5   Analyze documents produced by Defendant in response to Requests for Production of
                                                                                                                                 Main Document




                                     Documents in an effort to identify evidence supporting causes of action plead in the
                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/6/2024   J Mottola      0.7   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                     progression of this adversary.
24   8/6/2024   J Mottola      0.8   Finalize Supplemental Disclosures in light of new information pursuant to requirements of
                                     Bankruptcy Rule of Procedure rule 7026.
24   8/6/2024   J Mottola      2.8   Further analyze records produced by Defendant's financial institutions in response to
                                     Subpoenas sent in an effort to identify evidence supporting causes of action plead in the
                                                                                                                                                  Page 263 of 501




                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/7/2024   J Mottola      0.8   Prepare supporting documentation for Supplemental Disclosures in light of new
                                     information pursuant to requirements of Bankruptcy Rule of Procedure rule 7026.
24   8/8/2024   J Mottola      1.8   Finalize documents to be included with Supplemental Disclosures in light of new
                                     information pursuant to requirements of Bankruptcy Rule of Procedure rule 7026.
24   8/8/2024   J Mottola       2    Analyze documents produced by Defendant in response to Requests for Production of
                                     Documents in an effort to identify evidence supporting causes of action plead in the
                                     Amended Complaint and to combat Defendant's alleged defenses.
24   8/8/2024   J Mottola      2.3   Analyze documents produced by Defendant in response to Requests for Production of
                                     Documents in an effort to identify evidence supporting causes of action plead in the
                                                                                                                                                                                Page 262




                                     Amended Complaint and to combat Defendant's alleged defenses.
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24   8/8/2024   R Simmons      1.3   Run production of initial disclosures for LPG-Clear Vision Financial 8:23-ap-01150-SC
     Date            Name      Hours    Narrative
24   8/9/2024    J Mottola        1.1   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24    8/9/2024   R Simmons        0.8   Run production of initial disclosures for LPG-Clear Vision Financial 8:23-ap-01150-SC
24   8/12/2024   J Mottola        1.6   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/12/2024   R Simmons        1.7   Clear Visions re-production for initial disclosures
24   8/13/2024   J Mottola        0.7   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                                                                                                                                                            Case 8:23-bk-10571-SC




                                        progression of this adversary.
24   8/13/2024   J Mottola        0.5   Prepare correspondence to counsel for Defendant regarding Supplemental Disclosure in
                                        compliance and furtherance of Plaintiff's disclosure obligation.
24   8/14/2024   J Mottola        1.6   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/15/2024   J Mottola        3.2   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                                                                                                                Main Document




                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/16/2024   J Mottola        2.2   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/17/2024   J Mottola        1.6   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/19/2024   J Mottola         4    Analyze documents produced by Defendant in response to Requests for Production of
                                                                                                                                                 Page 264 of 501




                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/20/2024   J Mottola        4.8   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/21/2024   J Mottola        4.6   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/22/2024   J Mottola        0.2   Analyze Borrower's comments to Forbearance Agreement.
24   8/22/2024   S Mattingly      0.2   Revise status of discovery re necessary updates ahead of discovery deadlines.
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                                                                                                                                                                           EXHIBIT "D"
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      Date           Name      Hours    Narrative
24   8/23/2024   J Mottola        3.2   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/24/2024   J Mottola        2.6   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/25/2024   J Mottola        2.8   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
                                                                                                                                                                                   Case 8:23-bk-10571-SC




24   8/27/2024   J Mottola        0.9   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                        progression of this adversary.
24   8/27/2024   J Mottola        1.9   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/27/2024   S Mattingly      0.2   Analyze of pending deadlines and outstanding discovery.
24   8/30/2024   J Mottola        3.1   Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                                                                                                                       Main Document




                                        Amended Complaint and to combat Defendant's alleged defenses.
24   8/31/2024   J Mottola         2    Analyze documents produced by Defendant in response to Requests for Production of
                                        Documents in an effort to identify evidence supporting causes of action plead in the
                                        Amended Complaint and to combat Defendant's alleged defenses.
24   9/10/2024   J Mottola        0.7   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                        progression of this adversary.
24   9/17/2024   J Mottola        0.7   Further strategize discovery plan in light of upcoming court deadlines to ensure
                                        progression of this adversary.
                                                                                                                                                        Page 265 of 501




24   9/17/2024   S Mattingly      0.2   Analysis regarding whether additional discovery is needed as it relates to the MSJ prior to
                                        discovery closure.
24   9/19/2024   J Mottola        2.4   Strategize arguments and evidence needed for Motion for Summary Judgment in
                                        furtherance of a favorable ruling to aid in the recovery of Debtor's funds paid out prior to
                                        the bankruptcy.
                                                                                                                                                                                      Page 264
                                                                                                                                                                                  EXHIBIT "D"
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                     Adv. Case No. 24-01018 (MRD Marketing LLC) (143576-25)



                                                   FEES
               NAME                   TITLE                RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck         Partner                   $745.00      2.00     $1,490.00
    Vanessa Rodriguez           Associate                 $385.00     31.90    $12,281.50
    Katherine Hemphill          Paraprofessional          $210.00      1.00      $210.00
                                                            TOTALS    34.90    $13,981.50
     Date            Name      Hours    Narrative
25   7/8/2024    V Rodriguez      0.1   Receipt and review of multiple correspondences from Attorney Y.L. regarding filing a
                                        Default Judgment Motion
25    7/9/2024   V Rodriguez      0.1   Receipt and review of correspondence from Attorney Y. Lissebeck regarding filing the
                                        Default Judgment Motion prior to the Status Conference and filing a Status Report before
                                        the Status Conference
25    7/9/2024   V Rodriguez      0.6   Review and analysis of the Judge's calendar and instructions for self-calendaring to
                                        determine when the Default Judgment Motion can be heard.
25    7/9/2024   Y Lissebeck      0.2   Review and respond to various emails from V. Rodriguez re default judgment and
                                        deadlines for filing motion
                                                                                                                                                                                  Case 8:23-bk-10571-SC




25   7/15/2024   V Rodriguez      0.4   Drafting Plaintiff's Motion for Default Judgment under LBR 7055-1 to seek a default court
                                        judgment against the Defendant.
25   7/15/2024   V Rodriguez      0.6   Drafting the Default Judgment (Without Prior Judgment) to seek a default court judgment
                                        against the Defendant.
25   7/15/2024   V Rodriguez      3.7   Drafting the Memorandum of Points and Authorities in Support of Motion for Entry of
                                        Default Judgment with attention to pages 1 through 25 to seek a default court judgment
                                        against the Defendant.
25   7/15/2024   V Rodriguez      0.2   Research and analysis of the Judge's chamber rules regarding scheduling a hearing for
                                                                                                                                      Main Document




                                        the Motion for Entry of Default Judgment to ascertain when the motion can be heard.
25   7/15/2024   Y Lissebeck      0.1   Review file for deadlines and draft email to V. Rodriguez re upcoming deadlines and
                                        strategy
25   7/16/2024   V Rodriguez      0.6   Drafting the Declaration of N. Rapopart in Support of Motion for Entry of Default
25   7/16/2024   V Rodriguez      1.5   Drafting the Memorandum of Points and Authorities in Support of Motion for Entry of
                                        Default Judgment.
25   7/16/2024   V Rodriguez      0.9   Drafting the Declaration of J. Teeple in Support of Motion for Entry of Default Judgment.
25   7/17/2024   K Hemphill         1   Create Table of Contents and Table of Authorities for Memorandum of Points and
                                                                                                                                                       Page 267 of 501




                                        Authorities.
25   7/17/2024   V Rodriguez      0.7   Continue drafting the Memorandum of Points and Authorities in Support of Motion for
                                        Entry of Default Judgment with attention to the table of contents and table of authorities.
25   7/17/2024   V Rodriguez      0.9   Finalizing the Plaintiff's Motion for Default Judgment Under LBR 7055-1, Declaration of J.
                                        Teeple in Support of Motion, Declaration of Nancy Rapoport in Support of Motion,
                                        Memorandum of Points and Authorities in Support of Motion, and Default Judgment
                                        (Without Prior Judgment).
25   7/17/2024   Y Lissebeck      0.1   Review email from V. Rodriguez and respond re timing of motion for default
25   7/17/2024   Y Lissebeck      0.3   Review and revise motion for default judgment
25   7/29/2024   V Rodriguez      0.4   Strategy conference regarding case law in the Motion for Default Judgment and revisions
                                                                                                                                                                                     Page 266




                                        to make to the Motion for Default Judgment.
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date           Name      Hours    Narrative
25   7/30/2024   V Rodriguez      0.6   Highly detailed correspondence to Dinsmore Attorney Y. Lissebeck regarding her
                                        requested revisions and questions regarding the Motion for Default Judgment and the
                                        supporting documents
25   7/30/2024   V Rodriguez      1.5   Drafting the Plaintiff's Findings of Fact and Conclusions of Law.
25   7/30/2024   V Rodriguez      3.4   Drafting revisions to the Motion for Default Judgment and its supporting documents with
                                        attention to the Declaration of Joshua Teeple, Declaration of Nancy Rapoport, Plaintiff's
                                        Motion for Default Judgment, and the Points and Authorities.
25   7/30/2024   Y Lissebeck      0.5   Review and revise motion for default and supporting documents
25   7/30/2024   Y Lissebeck      0.1   Review and respond to email of V. Rodriguez re motion for default
                                                                                                                                                                                  Case 8:23-bk-10571-SC




25   7/31/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding contacting
                                        expert J. Teeple's associate to assist on obtaining Mr. Teeple's signed Declaration in
                                        Support of the Motion for Default Judgment.
25   7/31/2024   V Rodriguez      0.2   Review of multiple correspondences from expert J. Teeple regarding reviewing and
                                        signing his Declaration in Support of Motion for Default
25   7/31/2024   V Rodriguez      0.3   Correspondence to expert J. Teeple regarding the attached Motion for Default Judgment
                                        for his review and signature of the Declaration in Support of the Motion for Default
25   7/31/2024   V Rodriguez      0.3   Multiple correspondences to expert N. Rapaport regarding the attached Motion for Default
                                                                                                                                      Main Document




                                        Judgment for her review and signature of the Declaration in Support of the Motion for
                                        Default Judgment
25   7/31/2024   V Rodriguez      0.1   Correspondence to N. Cooper regarding having expert J. Teeple review and sign his
                                        Declaration in Support of the Motion for Default Judgment before our August 7, 2024
                                        deadline.
25    8/1/2024   V Rodriguez      0.6   Drafting a summary of the adversary proceeding as required for the LPG Fee Application
                                        with attention to the matter, procedure status, what has generally been done in the case
                                        through June 2024, and what we anticipate will happen.
                                                                                                                                                       Page 268 of 501




25    8/1/2024   V Rodriguez      0.1   Review of expert J. Teeple's signed Declaration in Support of the Motion for Default
                                        Judgment.
25    8/1/2024   V Rodriguez      0.2   Review of the court's docket to review the status of the case and to assist in drafting the
                                        summary of the adversary proceeding.
25    8/1/2024   V Rodriguez      0.1   Review of correspondence from expert J. Teeple regarding his signed Declaration in
                                        Support of the Motion for Default Judgment
25    8/2/2024   V Rodriguez      0.1   Review of correspondences from the U.S. Bankruptcy Court Central District of California
                                        regarding the filed Motion for Default Judgment.
25    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding making
                                        revisions to the Proof of Service regarding the Motion for Default Judgment
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     Date            Name      Hours    Narrative
25   8/2/2024    V Rodriguez      0.3   Multiple strategy conferences regarding the court's website's date selection for the Motion
                                        for Default Judgment, why the date is different than the self-calendaring date, and whether
                                        to proceed with filing with the self-calendared date.
25    8/2/2024   V Rodriguez      0.2   Review of multiple correspondences from expert N. Rapoport regarding the attached
                                        signed Declaration in Support of the Motion for Default Judgment and revisions to make
                                        regarding the same
25    8/2/2024   V Rodriguez      0.3   Revising the proof of service regarding the Motion for Default Judgment.
25    8/2/2024   V Rodriguez      0.1   Review and analysis of the LPG Post-Petition Disbursement Summary to determine if the
                                        Defendant received a 549 payment over $30,000 to determine if an amendment to the
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        First Amended Complaint is necessary.
25    8/2/2024   V Rodriguez      0.2   Review of correspondence from accountant N. Cooper regarding contacting expert J.
                                        Teeple regarding his Declaration in Support of Motion for Default Judgment
25    8/2/2024   V Rodriguez      0.1   Review of expert N. Rapoport's signed Declaration in Support of the Motion for Default
                                        Judgment.
25    8/2/2024   V Rodriguez      0.9   Revising the Motion for Default Judgment and attaching the signed Declarations in
                                        Support from experts N. Rapoport and J. Teeple before filing and service.
25    8/2/2024   V Rodriguez      0.1   Correspondence to Dinsmore Attorney Y. Lissebeck regarding the attached fully executed
                                                                                                                                      Main Document




                                        Motion for Default Judgment.
25    8/5/2024   V Rodriguez      0.1   Review of correspondence from the U.S. Bankruptcy Court Central District of California
                                        regarding the hearing set for the Motion for Default Judgment Under LBR 7055-1.
25    8/5/2024   V Rodriguez      0.1   Review of correspondence from expert N. Rapoport regarding her signed Declaration in
                                        Support of the Motion for Default Judgment.
25    8/5/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding the hearing set
                                        for the Motion for Default Judgment Under LBR 7055-1
25    8/7/2024   V Rodriguez      0.1   Receipt and review of several correspondences from the U.S. Bankruptcy Court Central
                                                                                                                                                       Page 269 of 501




                                        District of California regarding recent filings in the main bankruptcy case to determine if
                                        they are relevant to this matter.
25   8/13/2024   V Rodriguez      0.3   Strategy conference re filing a Motion for Default Judgment, the Declarations in support
                                        that are needed, and contacting the expert witnesses to sign their Declarations.
25   8/14/2024   V Rodriguez      0.1   Receipt and review of 20 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
25   8/15/2024   V Rodriguez      0.3   Drafting a summary of the adversary proceeding against MRD Marketing LLC as required
                                        for the LPG Fee Application with attention to what the Complaint entails including causes
                                        of actions, theories, and the amount we are seeking.
                                                                                                                                                                                     Page 268




25   8/20/2024   V Rodriguez      0.3   Strategy conference re preparing for and attending the hearing on the Motion to Enter
                                                                                                                                                                                 EXHIBIT "D"
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                                        Default Judgment against the Defendant scheduled for August 28, 2024.
      Date           Name      Hours    Narrative
25   8/21/2024   V Rodriguez      1.6   Plan and prepare for the hearing on August 28, 2024 re the Plaintiff Marshack's Motion for
                                        Default Judgment Under LBR 7055-1.
25   8/21/2024   V Rodriguez      0.1   Review of multiple correspondences from the U.S. Bankruptcy Court Central District of CA
                                        re the attached Order Continuing Status Conference to September 12, 2024 and the
                                        Certificate of Notice re the same.
25   8/21/2024   V Rodriguez      0.1   Review and analysis of the Certificate of Notice re the Order Continuing Status
                                        Conference to September 12, 2024.
25   8/21/2024   V Rodriguez      0.1   Review and analysis of the Order Continuing Status Conference to September 12, 2024.
25   8/27/2024   V Rodriguez      0.4   Continue planning and preparing for the hearing tomorrow re the Motion for Default
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                        Judgment.
25   8/27/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck regarding the tentative ruling not being released
                                        by the court yet and there not being a link to the hearing tomorrow since the tentative
                                        ruling has not been released.
25   8/27/2024   V Rodriguez      0.3   Strategy conference re what to include in the Declarations for experts N. Rapoport and J.
                                        Teeple that will be used to support the Motion for Default Judgment.
25   8/28/2024   V Rodriguez      0.3   Review and analysis of the court's tentative ruling re today's hearing re the Motion for
                                        Default Judgment.
                                                                                                                                       Main Document




25   8/28/2024   Y Lissebeck      0.2   Review and respond to emails from V. Rodriguez re motion for default judgment
25   8/28/2024   Y Lissebeck      0.1   Review and respond to emails from V. Rodriguez re findings of fact and order
25   8/28/2024   Y Lissebeck      0.1   Review tentative and discuss with V. Rodriguez
25   8/29/2024   V Rodriguez      0.4   Research and analysis of the local rules re lodging an order after a Motion for Default
                                        Judgment has been granted by the court.
25   8/30/2024   V Rodriguez      0.6   Drafting the Default Judgment (Without Prior Judgment) to be lodged pursuant to the
                                        Court's order.
25   8/30/2024   V Rodriguez      0.4   Continue research and analysis of the local rules re lodging an order after a Motion for
                                                                                                                                                        Page 270 of 501




                                        Default Judgment has been granted by the court.
25   8/30/2024   V Rodriguez      0.5   Drafting the Plaintiff's Findings of Facts and Conclusions of Law to be lodged pursuant to
                                        the Court's order.
25    9/3/2024   V Rodriguez      0.3   Drafting a Proof of Service re the Plaintiff's Findings of Facts and Conclusions of Law, and
                                        the Default Judgement.
25    9/3/2024   V Rodriguez      0.4   Research and analysis re whether the Judge is served the Plaintiff's Findings of Facts and
                                        Conclusion of Law, and the Default Judgement, and if so, what method the Judge must be
                                        served.
25    9/3/2024   V Rodriguez      0.5   Drafting the Plaintiff's Findings of Facts and Conclusions of Law to be lodged pursuant to
                                        the Court's order.
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     Date            Name      Hours    Narrative
25   9/3/2024    V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re the attached Plaintiff's Findings of Facts and
                                        Conclusion of Law, the Default Judgement, and the Proof of Service for her review before
                                        proceeding to lodge and serve the documents.
25    9/4/2024   V Rodriguez      0.4   Final review of the Plaintiff's Findings of Facts and Conclusions of Law, the Default
                                        Judgment, and the Proof of Service before proceeding with lodging and service.
25    9/4/2024   V Rodriguez      0.1   Revising the Plaintiff's Findings of Facts and Conclusions of Law before proceeding with
                                        lodging and service.
25    9/4/2024   V Rodriguez      0.3   Strategy conference re whether to lodge or file the Plaintiff's Findings of Facts and
                                        Conclusions of Law and the Default Judgment, and whether it is necessary to file the
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        Proof of Service.
25    9/4/2024   V Rodriguez      0.1   Revising the date on the Proof of Service re the Plaintiff's Findings of Facts and
                                        Conclusions of Law and the Default Judgment.
25    9/4/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re revising the Plaintiff's Findings
                                        of Facts and Conclusions of Law
25    9/4/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re lodging and serving the Default Judgement
                                        and Plaintiff's Findings of Facts and Conclusions of Law today since today is the deadline
                                        to do so.
                                                                                                                                      Main Document




25    9/4/2024   Y Lissebeck      0.2   Review and respond to email of V. Rodriguez re lodging judgment and findings of fact
25    9/9/2024   V Rodriguez      0.1   Review and analysis of the conformed copy of the proof of service re the Plaintiff's
                                        Findings of Facts and Conclusions of Law and the Default Judgment.
25    9/9/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re whether this affiliate filed an
                                        administrative or priority claim.
25    9/9/2024   V Rodriguez      0.1   Review and analysis of the confirmation of the Adversary Lodged Order Upload Form
                                        regarding the Plaintiff's Findings of Facts and Conclusions of Law.
25    9/9/2024   V Rodriguez      0.1   Review of the court's tentative ruling to confirm that the status conference scheduled for
                                                                                                                                                       Page 271 of 501




                                        September 12, 2024 is still on calendar and to see if the tentative ruling was released
25    9/9/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re attending the Status Conference scheduled
                                        for September 12, 2024.
25    9/9/2024   V Rodriguez      0.1   Review and analysis of the confirmation of the Adversary Lodged Order Upload Form
                                        regarding the Default Judgment.
25    9/9/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re the affiliate not having filed an administrative
                                        or priority claim.
25    9/9/2024   V Rodriguez      0.2   Review and analysis of the claims register and the Omni proof of claim spreadsheet to
                                        confirm that this affiliate did not file an administrative or priority claim.
25   9/10/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re the affiliate not having filed an
                                                                                                                                                                                     Page 270




                                        administrative or priority claim.
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      Date           Name      Hours    Narrative
25   9/10/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re reviewing the docket to confirm
                                        if the Status Conference gets taken off calendar
25   9/10/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re attending the Status
25   9/10/2024   V Rodriguez      0.3   Strategy conference re preparing for and attending the Status Conference on September
                                        12, 2024.
25   9/11/2024   V Rodriguez      0.1   Receipt and review of 21 correspondences from the U.S. Bankruptcy Court Central District
                                        of California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
25   9/18/2024   V Rodriguez      0.1   Correspondence to Attorney Y. Lissebeck re the court entering default judgement and
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        proceeding with filing an Abstract of Judgment.
25   9/18/2024   V Rodriguez      0.1   Review of correspondence from Attorney C. Celentino re sending the Abstract of
                                        Judgment to the California Secretary of State along with the Secretary of State where the
                                        Defendant is incorporated.
25   9/18/2024   V Rodriguez      0.1   Correspondence to Attorney C. Celentino re sending the Abstract of Judgment to the
                                        California Secretary of State along with the Secretary of State where the Defendant is
                                        incorporated.
25   9/18/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re the court entering default
                                                                                                                                      Main Document




                                        judgement and proceeding with filing an Abstract of Judgment.
25   9/18/2024   V Rodriguez      0.1   Review and analysis of the filed and entered Plaintiff's Findings of Facts and Conclusions
                                        of Law.
25   9/18/2024   V Rodriguez      0.1   Review and analysis of the filed and entered Default Judgment (Without Prior Judgment).
25   9/20/2024   Y Lissebeck      0.1   Review and respond to email from V. Rodriguez re hearing on motion for default
25   9/23/2024   V Rodriguez      0.1   Review and analysis of the attached filed and entered Plaintiff's Findings of Facts and
                                        Conclusions of Law to confirm that it is the same copy as that previously provided by the
                                        Court.
                                                                                                                                                       Page 272 of 501




25   9/23/2024   V Rodriguez      0.1   Review of correspondence from the U.S. Bankruptcy Court Central District of California
                                        regarding the continuation of the Status Conference.
25   9/23/2024   V Rodriguez      0.1   Review of correspondence from the U.S. Bankruptcy Court Central District of California
                                        regarding taking the Status Conference hearing off calendar.
25   9/23/2024   V Rodriguez      0.1   Review and analysis of the attached filed and entered Default Judgment to confirm that it
                                        is the same copy as that previously provided by the Court.
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                          Adv. Case No. 24-01040 (Marich Bein, LLC) (143576-26)



                                                 FEES
                NAME                     TITLE           RATE      HOURS      TOTAL FEES
    Christopher B. Ghio            Partner              $625.00      5.60       $3,500.00
    Yosina M. Lissebeck            Partner              $745.00       .40        $298.00
    Lexi J. Epley                  Associate            $420.00      8.80       $3,696.00
    Jeremy B. Freedman             Associate            $465.00     25.10      $11,671.50
                                                          TOTALS    39.90      $19,165.50
     Date             Name     Hours    Narrative
26   7/5/2024    L Epley          1.1   Review/analyze documents in Viewpoint for purposes of determining identification of all
                                        documents that may be used to support claims or defenses for initial disclosures
26    7/9/2024   Y Lissebeck      0.2   Draft email to team asking about status of case and settlement issues re Marich Bein
26   7/16/2024   J Freedman       1.9   Review and analysis of records related to Marich Bein in order to identify critical
                                        documents to support claims to produce with initial disclosures
26   7/22/2024   L Epley           1    Continue preparation of Initial Disclosures as to Defendants Marich Bein LLC and
                                        BankUnited, including identification of persons with knowledge in support of claims
                                        against Marich Bein LLC and BankUnited and summary of factual allegations those
                                        persons would be expected to testify on
                                                                                                                                                                                   Case 8:23-bk-10571-SC




26   7/23/2024   L Epley          2.1   Continue preparation of Initial Disclosures as to Defendants Marich Bein LLC and
                                        BankUnited, including identification of persons with knowledge in support of claims
                                        against Marich Bein LLC and BankUnited and summary of factual allegations those
                                        persons would be expected to testify on
26   7/23/2024   L Epley          2.4   Review/analyze Complaint and documentary evidence in file relating to Defendants
                                        Marich Bein LLC and BankUnited, including bank statements, disbursement details,
                                        correspondence, and contracts, in preparation for drafting Initial Disclosures as to
                                        Defendants Marich Bein LLC and BankUnited, and for purposes of identifying persons
                                                                                                                                       Main Document




                                        with knowledge in support of Plaintiff's claims and documents in support of Plaintiff's
                                        claims, and review of file to determine computation of damages
26   7/24/2024   L Epley          1.5   Continue and finalize preparation of Initial Disclosures against Marich Bein and
                                        BankUnited, and compile documents for document production, including agreements,
                                        financial documents, and bank records
26   7/25/2024   L Epley          0.7   Continue and finalize initial disclosures against Marich Bein and BankUnited, including
                                        separating disclosures as to each defendant
26   7/28/2024   J Freedman        1    Review and analysis of records and evidence in order to include in initial disclosures as to
                                                                                                                                                        Page 274 of 501




                                        Marich Bein
26   7/28/2024   J Freedman       0.7   Draft further initial disclosures to Marich Bein and BankUnited
26   7/29/2024   J Freedman       1.9   Draft further evidence to initial disclosures as to Marich Bein
26   7/29/2024   J Freedman       0.4   Draft further evidence to initial disclosures as to BankUnited
26   7/29/2024   J Freedman       2.7   Review and analysis of evidence in support of claims against Marich Bein and BankUnited
                                        to produce with initial disclosures
26   7/29/2024   J Freedman       1.6   Review and analysis of evidence related to Claims against BankUnited to produce with
                                        Initial Disclosures
26   7/30/2024   C Ghio           2.1   Review and revise initial disclosure to defendant Marich Bein.
26   7/30/2024   C Ghio           2.1   Review and revise initial disclosure to defendant Bank United.
                                                                                                                                                                                      Page 273




26   7/30/2024   J Freedman       0.8   Finalize initial disclosures to Marich Bein regarding documents, witnesses and statement
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                                        of damages
      Date            Name     Hours    Narrative
26   7/30/2024   J Freedman       0.6   Finalize initial disclosures to BankUnited regarding documents, witnesses and statement
                                        of damages
26   7/30/2024   J Freedman       2.2   Review and analysis of ESI evidence to identify further evidence in support of claims to
                                        produce with initial disclosures
26   7/30/2024   J Freedman       0.3   Review and analysis of Marich Bein's initial disclosures to evaluate for impact on strategy
                                        and Trustee's initial disclosures
26   7/30/2024   J Freedman       0.2   Multiple emails (2) with counsel for BankUnited regarding deadline to produce documents
                                        in support of initial disclosures
26   7/30/2024   J Freedman       0.2   Multiple emails (2) with counsel for Marich Bein regarding deadline to produce documents
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                        in support of initial disclosures
26   7/30/2024   J Freedman       1.3   Review and analysis of bank statement received to date and reviewed by Grobstein
                                        Teeple in order to identify document to be produced with initial disclosures
26   7/31/2024   C Ghio           1.1   Review and approve documents to be shared at initial disclosure.
26   7/31/2024   J Freedman       1.6   Review and analysis of over 4,000 documents to be produced to Marich Bein and
                                        BankUnited for redaction, completeness and accuracy
26    8/2/2024   J Freedman       0.1   Multiple emails (2) with counsel for Marich Bein regarding initial disclosures
26    8/5/2024   J Freedman       0.4   Multiple emails (4) with counsel for Marich Bein regarding initial disclosures and document
                                                                                                                                        Main Document




                                        production in order to identify supporting evidence
26   8/18/2024   J Freedman       4.2   Review and analysis of evidence (over 4,000 pages) related to Bianca Loli, prime Logix
                                        and Maverick Management to support claims and provide in initial disclosures
26   8/29/2024   J Freedman       0.2   Multiple emails with counsel for Marich Bein regarding joint status report
26   8/29/2024   J Freedman       0.7   Draft joint status report to timely file per court order
26   8/29/2024   J Freedman       0.3   Multiple emails with counsel for Marich Bein regrading proposed Joint Status report
26   8/29/2024   J Freedman       0.1   Draft letter to counsel for Bank United regarding joint status report
26   8/29/2024   J Freedman       0.3   Timely file joint status report pursuant to court order
                                                                                                                                                         Page 275 of 501




26   8/30/2024   J Freedman       0.3   Multiple emails (2) with counsel for BankUnited regarding the joint status report and initial
                                        disclosures
26    9/4/2024   J Freedman       0.7   Finalize unilateral status report prior to deadline per code
26   9/10/2024   J Freedman       0.4   Review and analysis of public records on defendant Lisa Cohen in order to develop
                                        strategy for service
26   9/20/2024   C Ghio           0.3   Analysis re Bank United subpoena and production.
26   9/20/2024   Y Lissebeck      0.2   Review and respond to emails from S. Johnston re Bank United documents and subpoena
27   7/11/2024   Y Lissebeck      0.2   Telephone call with S. Mattingly re settlement offer
27   7/12/2024   Y Lissebeck      0.1   Review email from S. Mattingly with settlement offer and respond re further information
                                        from defendants before responding with counter
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                   Adv. Case No. 24-1004 (Point Break Holdings LLC) (143576-27)



                                              FEES
                NAME                  TITLE           RATE       HOURS     TOTAL FEES
    Yosina M. Lissebeck         Partner              $745.00        .30       $223.50
    Paige E. Hornback           Associate            $355.00        .40       $142.00
                                                       TOTALS      0.70       $365.50
      Date           Name     Hours    Narrative
27   8/20/2024   P Hornback      0.4   Attention to CLG documents received from LPG hard drive and their mention of affiliate
                                       Point Break Holdings.
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                         Adv. Case No. 24-01002 (Clearcube LLC) (143576-28)



                                               FEES
                NAME                   TITLE           RATE      HOURS     TOTAL FEES
    Sarah S. Mattingly           Partner              $610.00       .10        $61.00
    Bryan L. Cockroft            Associate            $275.00       .80       $220.00
                                                        TOTALS     0.90       $281.00
      Date           Name      Hours    Narrative
28    7/2/2024   B Cockroft       0.5   Review Writ of Execution to prepare to file with court.
28    7/7/2024   S Mattingly      0.1   Revise the writ of execution to be issued for collection of the judgment.
28   7/12/2024   B Cockroft       0.3   Review Levy documents to file.
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                      Adv. Case No. 23-1148 (JGW Solutions LLC) (143576-29)



                                              FEES
                NAME                  TITLE           RATE      HOURS     TOTAL FEES
    Sarah S. Mattingly          Partner              $610.00      7.60      $4,636.00
    Yosina M. Lissebeck         Partner              $745.00      1.30       $968.50
    Paige E. Hornback           Associate            $355.00     21.20      $7,526.00
                                                       TOTALS    30.10     $13,130.50
     Date            Name      Hours    Narrative
29   7/5/2024    P Hornback       0.9   Draft lengthy update and proposed litigation strategy to client.
29   7/7/2024    S Mattingly      0.2   Update Trustee regarding the status of discovery in preparation of filing a dispositive
                                        motion.
29    7/8/2024   P Hornback       0.4   Attention to deadlines and need for draft motion to compel, interrogatories to defendant,
                                        and motion for summary judgment and strategize regarding filing a motion to compel or
                                        filing bank subpoenas.
29    7/8/2024   Y Lissebeck      0.2   Review email from S. Mattingly re motion to compel, discovery issues and deadlines for
                                        MSJ and respond thereto
29   7/13/2024   P Hornback       0.3   Draft Interrogatories.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




29   7/15/2024   P Hornback       1.5   Draft Interrogatories to JGW Solutions.
29   7/16/2024   P Hornback       0.1   Attention to template subpoenas for bank statements of affiliate.
29   7/27/2024   S Mattingly      0.1   Analyze case law regarding course of dealing evidence for the purpose of assisting with
                                        preparing a motion for summary judgment.
29   7/28/2024   P Hornback       0.6   Supplement draft Interrogatories to incorporate revisions.
29   7/28/2024   S Mattingly      0.4   Revise Trustee's interrogatories to be served on defendant.
29   7/28/2024   S Mattingly      0.2   Analyze next steps regarding completing discovery and filing a dispositive motion
29   7/29/2024   P Hornback       0.4   Finalize and serve interrogatories.
                                                                                                                                      Main Document




29   7/29/2024   P Hornback       4.1   Draft motion for summary judgment.
29    8/4/2024   S Mattingly      0.9   Initial revisions to the Trustee's motion for summary judgment.
29   8/19/2024   P Hornback       0.2   Draft summary of matter for fee schedule.
29   8/23/2024   Y Lissebeck      0.3   Telephone call with S. Mattingly re filing summary judgment motion and moving forward
                                        with evidence
29   8/27/2024   P Hornback       1.3   Draft and edit motion for summary judgment
29   8/27/2024   P Hornback       0.4   Draft Nancy Rapaport's declaration in support of Motion for Summary Judgment.
29   8/27/2024   P Hornback       0.2   Draft Joshua Teeple declarations in support of Motion for Summary Judgment.
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29   8/27/2024   S Mattingly      0.7   Revise declarations in support of motion for summary judgment.
29   8/27/2024   S Mattingly      0.1   Correspondence regarding requested extension to respond to Interr.
29   8/27/2024   Y Lissebeck      0.1   Review request for continuance of discovery
29   8/27/2024   Y Lissebeck      0.2   Telephone call with S. Mattingly re stipulation to continue discovery cut off for one week
29   8/28/2024   P Hornback       2.1   Draft joint stipulation of extension of deadlines from previously entered scheduling order.
29   8/28/2024   S Mattingly      0.2   Revise the stipulation regarding the current scheduling order.
29   8/28/2024   S Mattingly      1.1   Revise Trustee's motion for summary judgment and supporting memo.
29   8/28/2024   Y Lissebeck      0.2   Review and respond to email from P. Hornback re continuance of court deadlines,
                                        stipulation and calling court for dates
29   8/28/2024   Y Lissebeck      0.1   Review email to M. Lieberman re cut off dates and stipulation and response thereto
29   8/29/2024   P Hornback       0.2   E-mails with opposing counsel regarding joint stipulation.
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29   8/30/2024   P Hornback       0.1   E-mail from counsel with executed stipulation.
      Date           Name      Hours    Narrative
29   8/30/2024   P Hornback       0.2   Finalize and file proposed joint stipulation.
29   8/30/2024   S Mattingly      0.9   Additional revisions to the Trustee's motion for summary judgment and supporting
                                        memorandum.
29   8/30/2024   S Mattingly      0.5   Revise the declarations in support of the motion for summary judgment.
29    9/2/2024   P Hornback       1.7   Supplement draft motion for summary judgment to incorporate uncontroverted statement
                                        of facts and conclusions of law and declarations of experts.
29    9/2/2024   P Hornback       1.7   Draft uncontroverted statement of facts and conclusions of law.
29    9/3/2024   P Hornback       2.7   Draft motion for summary judgment, including incorporating edits and supplementing
                                        additional legal authority into argument section.
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29    9/3/2024   S Mattingly      1.9   Additional revisions to Trustee's motion for summary judgment against JGW and
                                        supporting declarations.
29    9/4/2024   P Hornback       0.5   Complete draft of uncontroverted statement of facts and conclusions of law.
29    9/9/2024   P Hornback       0.1   Voicemail from Plaintiff's counsel requesting additional time to respond to discovery.
29   9/10/2024   P Hornback       0.3   Draft e-mail to defense counsel regarding discovery extension and settlement offer.
29   9/10/2024   P Hornback       0.3   Finalize motion for summary judgment prior to submitting for client approval.
29   9/13/2024   P Hornback       0.2   E-mail from defense counsel with Interrogatories.
29   9/13/2024   P Hornback       0.5   Review defendant's responses to interrogatories and analyze next steps in incorporating
                                                                                                                                     Main Document




                                        into dispositive motion.
29   9/13/2024   Y Lissebeck      0.1   Review and respond to email from P. Honback re discovery responses from defendant
                                        and no further extensions required
29   9/17/2024   P Hornback       0.2   Attention to defendant's theory of the case based on responses to interrogatories and next
                                        steps in revising the Rapaport declaration and dispositive motion.
29   9/17/2024   S Mattingly      0.4   Analyze JGW's interrogatory responses and what, if any, impact they have on the MSJ.
29   9/19/2024   Y Lissebeck      0.1   Draft email to S. Mattingly re status of MSJ filing and timing
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                              Spot on Consulting Inc. (143576-31)



                                             FEES
               NAME                  TITLE           RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00       .10        $74.50
    Suzanne M. Marino          Associate            $395.00      5.50     $2,172.50
                                                      TOTALS     5.60     $2,247.00
      Date           Name      Hours    Narrative
31   7/16/2024   S Marino         0.2   Review status of investigation pertaining to Spot On and outline plan for next steps
                                        including meet and confer and likely 2004 petition related to Spot On.
31   7/22/2024   S Marino         0.7   Revise draft 2004 motion and attached document requests to include requests for
                                        information pertaining to Spot On's relationship with other affiliates such as 241 Inc. and
                                        CLG.
31   8/27/2024   S Marino         0.1   Email lead attorneys with update on investigation into target.
31    9/3/2024   S Marino         1.9   Begin reviewing the Court's order denying Greyson's motion to vacate the preliminary
                                        injunction in preparation for workup and analysis of potential theories against Spot On.
31    9/4/2024   Y Lissebeck      0.1   Review email from creditor and forward to S. Marino and T. Spurlock for use in
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                        investigation against affiliate Spot On
31    9/9/2024   S Marino         1.4   Complete review of the Court's order denying Greyson's motion to vacate the preliminary
                                        injunction in preparation for workup and analysis of potential theories against Spot On.
31   9/10/2024   S Marino         1.2   Revise draft 2004 petition related to Spot On in order to incorporate additional information
                                        uncovered in investigation and insert additional document production requests based
                                        upon same.
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                          Adv. Case No. 24-01023 (CRI System Inc.) (143576-32)



                                                 FEES
                NAME                     TITLE           RATE      HOURS      TOTAL FEES
    Yosina M. Lissebeck            Partner              $745.00      2.80       $2,086.00
    Jacob R. Bothamley             Associate            $405.00     29.70      $12,028.50
                                                          TOTALS    32.50      $14,114.50
     Date             Name     Hours    Narrative
32   7/5/2024    J Bothamley      0.2   Review and respond to question from Y.L. re status of default on CRI with latest
                                        information and upcoming critical dates.
32    7/5/2024   Y Lissebeck      0.2   Review file for reservice of summons and deadline of answer and new status conference
                                        date
32    7/5/2024   Y Lissebeck      0.1   Draft email to J. Bothamly re same and review reply
32   7/23/2024   J Bothamley      0.1   Review case docket and key upcoming deadlines.
32   7/23/2024   J Bothamley      0.1   Review local rules on defaults in preparation for filing a notice of default.
32   7/23/2024   J Bothamley      0.1   Review FRCP 55 regarding defaults and the accompanying requirements.
32   7/23/2024   J Bothamley      2.2   Draft Request for Entry of Default and accompanying declaration detailing history of CRI
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                        complaint and difficulties with service.
32   7/24/2024   J Bothamley      0.2   Provide update on status of case and key dates for possible default of CRI System, Inc. to
                                        Y. Lissebeck and C. Celentino.
32   7/24/2024   Y Lissebeck      0.2   Draft email to J. Bothamley re filing request for default, review response, and reply further
                                        re filing
32   7/25/2024   J Bothamley      0.6   Finalize documents for request for entry of default.
32   7/25/2024   J Bothamley      0.3   Research proper service for Request for Default against CRI System, Inc.
32   7/25/2024   J Bothamley      1.1   Make further finalizing revisions to Request for Default documents and send to C.
                                                                                                                                        Main Document




                                        Celentino for final review.
32   7/25/2024   J Bothamley      0.3   Final review of all documents in request for entry of default before filing and give
                                        authorization to file request for entry of default.
32   7/25/2024   J Bothamley      2.2   Draft introduction, background on Debtor and CRI, and procedural history on motion for
                                        default judgment.
32   7/25/2024   Y Lissebeck      0.1   Review email from J. Bothamley and review request to enter default
32   7/26/2024   J Bothamley      0.3   Draft and research legal standards (Eitel factors) in support of motion for default
32   7/26/2024   J Bothamley      0.3   Research and draft prejudice to plaintiff Eitel factor in support of motion for default
                                                                                                                                                         Page 286 of 501




                                        judgment.
32   7/26/2024   J Bothamley      2.1   Research and draft sufficiency of complaint Eitel factor in support of motion for default
                                        judgment.
32   7/26/2024   J Bothamley      1.9   Research and draft merits of Plaintiff's substantive claims Eitel factor beginning with CRI's
                                        unlawful contracts of fees in support of motion for default judgment.
32   7/26/2024   J Bothamley      1.8   Research and draft portion of sufficiency of substantive complaint Eitel factor on
                                        fraudulent transfers from unlawful contracts.
32   7/29/2024   J Bothamley      2.3   Continue draft of motion for default judgment.
32   7/30/2024   J Bothamley      0.1   Meet with V. Rodriguez re answers to questions regarding motions for default judgment
                                        items that need to be included in motion and/or removed.
                                                                                                                                                                                       Page 285




32    8/6/2024   J Bothamley      0.2   Review CRI calendar dates and see if anything needs to be taken off calendar due to
                                                                                                                                                                                   EXHIBIT "D"
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                                        multiple summons.
     Date             Name     Hours    Narrative
32   8/6/2024    J Bothamley      1.3   Review motion for default judgment in CRI as drafted so far and review and analyze
                                        sample motion for default judgments and analyze motions without affiliate agreements and
                                        purchase agreements.
32   8/14/2024   J Bothamley      0.2   Meet with Y. Lissebeck to give updates on motion for default judgment and strategy for
                                        filling in gaps in the record and how to obtain necessary declarations.
32   8/15/2024   J Bothamley      0.4   Send brief summary of CRI matter to Y. Lissebeck for review.
32   8/19/2024   J Bothamley      1.3   Continue draft of motion for default judgment
32   8/21/2024   J Bothamley      2.9   Draft findings of fact and conclusions of law in support of motion for default judgment.
32   8/27/2024   J Bothamley      0.9   Draft status report for Marshack v. CRI in advance of status conference and send to Y.
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        Lissebeck for review.
32   8/27/2024   J Bothamley      0.9   Draft and revise declaration of Nancy Rapoport to support motion for default judgment.
32   8/27/2024   J Bothamley      1.1   Draft and revise declaration of Josh Teeple to support motion for default judgment.
32   8/28/2024   J Bothamley      0.1   Review proof of claim attached to status report and provide feedback for revision.
32   8/28/2024   J Bothamley      0.2   Correspondence with N. Rapoport and J. Teeple re availabilty to discuss declarations in
                                        support of motion for default judgment.
32   8/28/2024   Y Lissebeck      0.2   Review the status report and respond with revisions and comments
32   8/28/2024   Y Lissebeck      0.2   Review and respond to emails from J. Bothamly re motion for default, declarations,
                                                                                                                                   Main Document




                                        findings of fact and order
32   8/29/2024   J Bothamley      0.4   Revise findings of fact and conclusions of law in support of motion for default judgment
                                        and send to Y. Lissebeck for review.
32   8/29/2024   J Bothamley      0.4   Finalize all documents before sending to Y. Lissebeck, N. Rapoport, and J. Teeple for
                                        review.
32   8/29/2024   J Bothamley      0.2   Email draft of declaration in support of motion for default judgment to N. Rapoport for
                                        review and comments.
32   8/29/2024   J Bothamley      0.2   Revise declaration of Nancy Rapoport consistent with her suggestions and return for her
                                                                                                                                                    Page 287 of 501




                                        signature
32   8/29/2024   J Bothamley      0.2   Email draft of declaration in support of default judgment to J. Teeple for review and
                                        comments.
32   8/29/2024   J Bothamley      0.2   Revise draft of declaration of J. Teeple and re-send to J. Teeple for review.
32   8/29/2024   Y Lissebeck      0.2   Review and respond to emails from J. Bothamley re review and execution of J. Teeple and
                                        N. Rapoport declaration
32   8/30/2024   J Bothamley      0.1   Send copy of corresponding declaration of N. Rapoport to J. Teeple upon his request for
                                        review.
32   8/30/2024   J Bothamley      0.1   Review executed copies of declarations from N. Rapoport and J. Teeple in support of
                                        motion for default judgment.
                                                                                                                                                                                  Page 286




32   8/30/2024   J Bothamley       1    Finalize and compile all default judgment documents for filing.
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32   8/30/2024   Y Lissebeck       1    Review and revise memo of P&A re default judgment
      Date            Name     Hours    Narrative
32   8/30/2024   Y Lissebeck      0.2   Review and respond to email of J. Bothamley re default judgment and supporting
                                        documents to include with filing
32    9/4/2024   J Bothamley      0.5   Review and analyze complete motion for default judgment package and send to Y.
                                        Lissebeck for final approval.
32    9/4/2024   J Bothamley      0.3   Final review of all documents to be filed in CRI default judgment after approval from Y.
                                        Lissebeck.
32    9/4/2024   Y Lissebeck      0.2   Review and respond to email of J. Bothamley reviewing default judgment and approving
                                        for filing
32   9/10/2024   J Bothamley      0.1   Review court's tentative ruling on status conference and continued date, confirm with Y.
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        Lissebeck.
32   9/16/2024   J Bothamley      0.3   Review upcoming calendar deadlines and associated local rules to ensure compliance.
32   9/16/2024   Y Lissebeck      0.2   Review and respond to email from J. Bothamly re no need to file scheduling order
                                        because of pending motion for default judgment, review docket for date of motion hearing
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                                Vasco Assets LLC (143576-33)



                                                 FEES
                NAME                 TITLE               RATE      HOURS    TOTAL FEES
    Milton T. Spurlock         Partner                  $595.00       .50      $297.50
    Suzanne M. Marino          Partner                  $395.00      3.60     $1,422.00
    Yosina M. Lissebeck        Partner                  $745.00       .40      $298.00
    Jonathan B. Serrano        Associate                $415.00      5.20     $2,158.00
                               eDiscovery
    Robert J. Simmons                                   $365.00       .30      $109.50
                               Project Manager
                                                          TOTALS    10.00     $4,285.00
     Date            Name      Hours    Narrative
33   7/2/2024    M Spurlock       0.3   Review status of Vasco Financial email review and analysis regarding potential impact on
                                        moving forward with discovery against Vasco Assets and develop plan regarding same.
33    7/2/2024   R Simmons        0.3   Create search for Admin@vascofinancial.com email communications for Suzy Marino
33    7/9/2024   Y Lissebeck      0.1   Draft email to T. Spurlock re status of 2004 application and obtaining information related
                                        to transfers
33   7/10/2024   Y Lissebeck      0.1   Review email re vasco emails from associate
33   7/10/2024   Y Lissebeck      0.1   Draft email to T. Spurlock re 2004 application and review of emails
33   7/10/2024   Y Lissebeck      0.1   Open LPG emails for Vasco records
33   7/15/2024   S Marino         2.2   Review and analyze documents in Viewpoint Database containing search term
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        "vascofinancial" to assess potential nexus between Vasco Assets and Vasco Financial in
                                        LPG's records.
33   7/16/2024   J Serrano        0.2   Review second 2004 motion in advance of meet and confer
33   7/16/2024   J Serrano        0.1   Correspond with S. Marino of Dinsmore re same.
33   7/16/2024   S Marino         0.3   Summarize research findings related to the potential connections between Vasco Assets
                                        and LPG's other affiliates such as Vasco Financial from review of relevant
                                        communications in Viewpoint database of LPG documents.
33   7/16/2024   S Marino         0.3   Coordinate commencement of new meet and confer conference with Vasco Assets as
                                                                                                                                     Main Document




                                        precursor for anticipated filing of second 2004 petition.
33   7/17/2024   J Serrano        0.1   Correspond with S. Marino of Dinsmore re meet and confer for second 2004 motion and
                                        proposed dates of production.
33   7/17/2024   S Marino         0.3   Draft subpoena and proposed order to be filed and served with the second 2004 petition.
33   7/17/2024   S Marino         0.4   Revise draft 2004 petition and update relevant dates in same in preparation for filing.
33   7/23/2024   J Serrano        0.2   Review local and federal rules re subpoena
33   7/23/2024   J Serrano        0.6   Revise second motion for production of documents pursuant to FRBP 2004
33   7/23/2024   J Serrano        0.2   Correspond with T. Spurlock of Dinsmore re same.
                                                                                                                                                      Page 290 of 501




33   7/23/2024   J Serrano        0.2   Conference with Mr. Moore of Vasco re scope, timing, and place of production of
                                        documents and things in connection with second 2004 motion
33   7/23/2024   J Serrano        0.2   Revise proposed order approving same
33   7/23/2024   J Serrano        0.2   Revise subpoena re same
33   7/23/2024   M Spurlock       0.2   Planning regarding motion and subpoena to Vasco following review of results of resent
                                        meet and confer.
33   7/24/2024   J Serrano        0.1   Review order granting second 2004 motion on Vasco Assets
33   7/24/2024   J Serrano        0.1   Correspond with T. Spurlock and S. Marino of Dinsmore re same.
33   7/24/2024   J Serrano        0.1   Compile and sign subpoena
33   8/27/2024   S Marino         0.1   Email lead attorneys with update on investigation into target.
                                                                                                                                                                                    Page 289




33   8/30/2024   J Serrano        0.2   Call with B. Mor of Vasco re responding to subpoena
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33   8/30/2024   J Serrano        0.1   Correspond with C. Ghio of Dinsmore re same.
     Date             Name   Hours    Narrative
33   9/3/2024    J Serrano      0.4   Review previous 2004 production and current subpoena in preparation for call with B. Mor
                                      of Vasco Assets to discuss contents of subpoena
33    9/3/2024   J Serrano      1.3   Draft declaration of B. Mor
33    9/3/2024   J Serrano      0.3   Call with B. Mor re same.
33    9/3/2024   J Serrano      0.2   Correspond with B. Mor of Vasco re same.
33   9/11/2024   J Serrano      0.3   Review production of documents and things from Vasco Assets
33   9/11/2024   J Serrano      0.1   Correspond with T. Spurlock of Dinsmore re same.
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                   Adv. Case No. 24-01001 (Leucadia Enterprises Inc.) (143576-34)



                                                   FEES
                NAME                  TITLE                RATE      HOURS    TOTAL FEES
    Sarah S. Mattingly          Partner                   $610.00      1.20      $732.00
    Yosina M. Lissebeck         Partner                   $745.00       .30      $223.50
    Bryan L. Cockroft           Associate                 $275.00     18.70     $5,142.50
    Jamie Herald                Paraprofessional          $145.00       .40        $58.00
                                                            TOTALS    20.60     $6,156.00
      Date            Name     Hours    Narrative
34   7/10/2024   J Herald         0.3   Finalize Request for Admissions and Request for Production with exhibits to send to
                                        opposing counsel.
34   7/10/2024   J Herald         0.1   Correspondence with opposing counsel with Request for Admissions and Requests for
                                        Production
34   7/10/2024   S Mattingly      0.5   Revise the Trustee's discovery requests.
34   7/11/2024   B Cockroft       2.3   Draft subpoenas to send to banks regarding Leucadia transactions.
34   7/12/2024   Y Lissebeck      0.2   Review email from S. Mattingly re subpoenas on bank and respond re drafting of
                                        subpoenas and then service, review further reply
34   7/16/2024   B Cockroft       0.5   Draft client update about Leucadia litigation in order to determine next steps to litigation.
                                                                                                                                                                                    Case 8:23-bk-10571-SC




34   7/17/2024   Y Lissebeck      0.1   Review status email from B. Cockroft and review deadlines and upcoming dates
34    8/5/2024   S Mattingly      0.1   Correspondence with OC regarding its discovery responses.
34   8/19/2024   B Cockroft       1.5   Review discovery responses from Leucadia to analyze further documents.
34   8/27/2024   B Cockroft         2   Analyze documents and emails provided by Leucadia from discovery responses.
34   8/29/2024   B Cockroft       2.5   Analyze discovery responses from Leucadia to determine further information needed.
34   9/17/2024   B Cockroft       3.1   Review emails from Leucadia in viewpoint develop a greater understanding between
                                        Leucadia and LPG to prepare to draft interrogatories.
34   9/19/2024   B Cockroft       0.6   Analyze discovery responses to prepare follow-up interrogatories.
                                                                                                                                        Main Document




34   9/19/2024   S Mattingly      0.2   Review bank subpoenas.
34   9/19/2024   S Mattingly      0.4   Analyze Defendants' responses to request for production of documents and admissions.
34   9/21/2024   B Cockroft       2.5   Review discovery responses to prepare interrogatories to serve on Leucadia.
34   9/23/2024   B Cockroft       0.9   Draft and revise subpoenas to send to banks.
34   9/23/2024   B Cockroft       2.8   Review discovery responses from Leucadia.
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                            PECC/Teng/Touzi/Oakstone (143576-35)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Christopher B. Ghio        Partner              $625.00       .50      $312.50
    M. Tyler Powell            Partner              $595.00       .70      $416.50
                                                      TOTALS     1.20      $729.00
     Date           Name    Hours    Narrative
35   7/8/2024   C Ghio         0.5   Review document production and emails re amounts owed from LPG to PECC.
35   7/8/2024   MT Powell      0.3   Briefly review supplemental disclosures of PECC
35   7/8/2024   MT Powell      0.4   Review and respond to email from A. Wahl re individual settlement between Pecc and
                                     Trustee
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                          United Global Research Group, Inc. (143576-36)



                                                  FEES
                 NAME                 TITLE               RATE      HOURS    TOTAL FEES
    Sara A Johnston             Partner                  $495.00     25.60    $12,672.00
    Yosina M. Lissebeck         Partner                  $745.00      1.80     $1,341.00
    Spencer K. Gray             Associate                $475.00     11.90     $5,652.50
    Robert J. Simmons           eDiscovery
                                                         $365.00      1.40      $511.00
                                Project Manager
                                                           TOTALS    40.70    $20,176.50
      Date           Name      Hours    Narrative
36   7/11/2024   S Gray           0.1   Correspond with Y. Lissebeck regarding revisions to rule 2004 motion draft to prepare for
                                        filing and service.
36    8/2/2024   S Johnston       0.2   Work on most recent 2004 update for protective order incorporations, discovery specifics,
                                        and update on settlement potential
36    9/3/2024   S Gray           0.3   Correspond with Y. Lissebeck and S. Johnston regarding claim objection, discovery, and
                                        complaint strategy.
36    9/3/2024   S Johnston       0.5   Analyze claims objection versus affiliate complaint for discussion with Y. Lissebeck
36    9/4/2024   R Simmons        1.4   Create search for ARPAs and affiliate agreements for Global Research Group and other
                                        entities
                                                                                                                                                                                     Case 8:23-bk-10571-SC




36    9/4/2024   S Gray           0.2   Correspond with S. Johnston and Y. Lissebeck regarding strategy for claim objection and
                                        avoidance action complaint.
36    9/4/2024   S Gray           1.6   Revise and analyze Rule 2004 Motion, Notice of Rule 2004 Motion, Declaration in Support
                                        of Rule 2004 Motion, and Proposed Order.
36    9/4/2024   S Johnston       0.8   Analyze available options in responding to Unified's priority claim
                                        (2004/objection/complaint)
36    9/4/2024   S Johnston       0.8   Begin work on objection to Unified's priority claim
36    9/4/2024   S Johnston       0.8   Review 157 Unified Global Viewpoint documents to confirm lack of affiliate agreements
                                                                                                                                         Main Document




                                        and ARPAs
36    9/4/2024   S Johnston       5.7   Prepare objection to Unified's priority claim
36    9/4/2024   Y Lissebeck      0.3   Draft email to S. Johnston and S. Gray re filing an objection to priority claim and bringing a
                                        complaint for affirmative claims
36    9/5/2024   S Gray           0.3   Review ballot reports to develop claim objection.
36    9/5/2024   S Gray           0.5   Conference call with Y. Lissebeck and S. Johnston to discuss and develop strategy for
                                        2004 examination and claim objection.
36    9/5/2024   S Johnston       2.1   Continued work on objection to claim with particular focus on background and request for
                                                                                                                                                          Page 297 of 501




                                        relief
36    9/5/2024   S Johnston       0.5   Conference with Y. Lissebeck and S. Gray re 2004 Motions and Claim Objections
36    9/9/2024   S Gray           0.3   Correspond with opposing counsel regarding written discovery.
36    9/9/2024   S Gray           2.2   Revise and analyze Rule 2004 Motion and supporting documents, including declaration, to
                                        ensure compliance with local and federal rules and to broaden discovery scope.
36    9/9/2024   S Gray           0.9   Correspond with S. Johnston and W. Yones regarding strategy for Rule 2004 motion to
                                        ensure compliance with local practices and procedures.
36    9/9/2024   S Gray           0.3   Draft and analyze Rule 2004 Subpoena.
36    9/9/2024   S Johnston         1   Work on 2004 filing with special attention to meet and confer details
36    9/9/2024   S Johnston       1.1   Continue preparation of claims objection with specific addition to hearing, objection, and
                                                                                                                                                                                        Page 296




                                        notice additions
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36    9/9/2024   S Johnston       0.6   Work on incorporating void agreement details into objection background
      Date           Name      Hours    Narrative
36   9/10/2024   S Gray           0.5   Correspond with S. Johnson and W. Yones regarding amended 2004 motion and notice of
                                        errata.
36   9/10/2024   S Gray           0.2   Research local practices and rules related to notice of errata.
36   9/10/2024   S Gray           0.7   Revise and analyze Notice of Errata.
36   9/10/2024   S Johnston       3.5   Finalize claim objection with special attention to supplemental case law and statutory
                                        details
36   9/10/2024   S Johnston       2.2   Prepare R. Marshack Declaration in support of claim objection
36   9/10/2024   S Johnston       0.4   Continued discussions with S. Gray for 2004 Order and Protective Order inclusion
36   9/10/2024   S Johnston       0.2   Begin drafting proposed order for claim objection
                                                                                                                                                                                 Case 8:23-bk-10571-SC




36   9/11/2024   S Gray           0.1   Correspond with Y. Lissebeck regarding order granting Rule 2004 Motion.
36   9/11/2024   S Gray           0.2   Correspond with S. Johnston regarding objection strategy for Unified Global Research
                                        Group, Inc. proof of claim.
36   9/11/2024   S Johnston       1.3   Prepare exhibits and notices for objection to claim filing
36   9/11/2024   Y Lissebeck        1   Review, revise and approve objection to claim, including priority claim and draft email to
                                        S. Johnston re same
36   9/12/2024   S Gray           0.2   Correspond with S. Johnston and W. Yones regarding objection to UGRG claim.
36   9/12/2024   S Johnston       1.6   Revise and finalize claim objection with declaration
                                                                                                                                     Main Document




36   9/13/2024   S Gray           0.8   Correspond with S. Johnston, V. Rodriguez, and W. Yones regarding strategy for Rule
                                        2004 subpoena.
36   9/13/2024   S Johnston       0.9   Revise objection for filing today
36   9/13/2024   Y Lissebeck      0.1   Review email from W. Yones and process server with subpoena to be served on Unified
36   9/14/2024   S Johnston       0.2   Confirm accuracy of objection, declaration, and exhibits
36   9/16/2024   S Gray           0.1   Correspond with S. Johnston regarding service of rule 2004 subpoena.
36   9/16/2024   S Gray           0.7   Review and analyze accounting data to develop avoidance action complaint.
36   9/16/2024   S Johnston       0.4   Work on case deadlines and production requirements for service and filing preparation
                                                                                                                                                      Page 298 of 501




36   9/19/2024   S Gray           0.1   Correspond with S. Johnston regarding objection to Unified Global Research Group claim
                                        and additional information.
36   9/19/2024   S Johnston       0.3   Work on verifying information received regarding Todd DiRoberto and Unified Global
                                        Research Group from E. Lee
36   9/19/2024   Y Lissebeck      0.1   Review email from E. Lee re information related to Unified Global and principles actions
36   9/19/2024   Y Lissebeck      0.1   Review email from S. Johnston re same and respond thereto
36   9/20/2024   S Gray           0.7   Research local and federal rules related to service of subpoena to ensure compliance with
                                        local practices and requirements.
36   9/20/2024   S Gray           0.3   Correspond with S. Johnston and W. Yones regarding service of subpoena and notice of
                                        subpoena.
                                                                                                                                                                                    Page 297




36   9/20/2024   Y Lissebeck      0.2   Review 2004 subpoena and respond to questions from S. Johnston and W. Yones re filing
                                                                                                                                                                                EXHIBIT "D"
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                                        notice of service
      Date           Name     Hours    Narrative
36   9/23/2024   S Gray          0.6   Correspond with S. Johnston and W. Yones regarding service of Rule 2004 motion and
                                       notice.
36   9/23/2024   S Johnston      0.2   Work on updated filing detail for hearing/no objection
36   9/23/2024   S Johnston      0.3   Analyze potential supplemental service of 2004 pleadings
                                                                                                                                                                        Case 8:23-bk-10571-SC
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               Adv. Case No. 24-1115 (MPowering America, LLC/Matthew Lovelady)

                                           (143576-37)



                                                 FEES
                NAME                TITLE                RATE      HOURS    TOTAL FEES
    Christopher B. Ghio       Partner                   $625.00       .70      $437.50
    Christopher Celentino     Partner                   $835.00      1.00      $835.00
    Sara A Johnston           Partner                   $495.00     14.00     $6,930.00
    Yosina M. Lissebeck       Partner                   $745.00      4.80     $3,576.00
    Spencer K Gray            Associate                 $475.00     44.50    $21,137.50
                              eDiscovery
    Robert J. Simmons                                   $365.00       .60      $219.00
                              Project Manager
    Wendy Yones               Paraprofessional          $205.00     13.30     $2,726.50
                                                          TOTALS    78.90    $35,861.50
     Date             Name     Hours    Narrative
37   8/2/2024    S Johnston       0.1   Confirm lack of complete production from MPowering's CLO, Steve Primack, for
                                        instruction regarding 2004 Motion
37    8/9/2024   Y Lissebeck      0.1   Review and respond to emails re moving forward with complaint from C. Celentino, S.
                                        Johnston and S. Gray
37   8/12/2024   S Gray           0.4   Correspond with Y. Lissebeck regarding status of complaint and rule 2004 motion to
                                        strategize next steps.
37   8/12/2024   S Johnston       0.8   Work on Mpowering investigation for potential change in filing strategy for 2004 vs
                                        complaint based on plan objection
37   8/12/2024   S Johnston       0.1   Work on complaint adjustment for claims of relief
                                                                                                                                                                               Case 8:23-bk-10571-SC




37   8/12/2024   W Yones          2.1   Begin to review and analyze emails in all custodians files for information regarding
                                        MPowering America in preparation for filing an adversary proceeding before August 23,
                                        2024
37   8/12/2024   Y Lissebeck      0.2   Review and respond to various emails from G. Spencer and S. Johnston re status of filing
                                        complaint and objection to claim and email review re invoices
37   8/12/2024   Y Lissebeck      0.2   Telephone call with S. Johnston re moving forward with complaint
37   8/13/2024   S Johnston       0.4   Work on analyzing Mpowering agreements to determine relevance for adversary
37   8/13/2024   W Yones          0.3   Review and analyze documents/emails in all custodians files in preparation for filing an
                                                                                                                                   Main Document




                                        adversary proceeding before August 23, 2024
37   8/13/2024   Y Lissebeck      0.2   Review various emails from s. Gray and W. Yones re pursuing affiliate and documents
                                        from emails, respond with connection and amounts to include in any complaint
37   8/14/2024   S Gray           0.8   Review and analyze Affiliate agreement, corporate data of MPowering America LLC and
                                        related entities, and Affiliate Marketing Agreement
37   8/14/2024   S Gray           0.2   Analyze Dinsmore team emails related to complaint strategy.
37   8/14/2024   S Gray           0.3   Review and analyze draft complaint
37   8/14/2024   W Yones            2   Review and analyze emails in all custodians files in preparation for filing adversary
                                                                                                                                                    Page 301 of 501




                                        proceeding
37   8/15/2024   S Gray           0.5   Review and analyze complaint filed by MPowering America, LLC against LPG et. al. in 8th
                                        Judicial District Court, Clark County, Nevada in preparation of drafting complaint
37   8/15/2024   S Gray           0.4   Review and analyze draft MPowering America, LLC complaint
37   8/15/2024   S Gray           0.9   Review and analyze MPowering America, LLC proof of claim, amended proof of claim,
                                        and supporting documentation
37   8/16/2024   S Gray             2   Draft and analyze complaint
37   8/16/2024   W Yones          2.3    review and analyze emails in all custodians files in preparation for filing adversary
                                        proceeding
37   8/16/2024   Y Lissebeck      0.3   Review and respond to numerous emails from S. Grey, W. Yones and S. Johnston re
                                                                                                                                                                                  Page 300




                                        objection to claim and filing complaint, documents needed, review of accounting records
                                                                                                                                                                              EXHIBIT "D"
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                                        and affiliate documents
      Date           Name      Hours    Narrative
37   8/17/2024   S Gray           0.2   Research Nevada business information related to MPowering and potentially related
                                        entities on Nevada Secretary of State Business Search portal.
37   8/17/2024   S Gray           1.3   Review and analyze emails and other documents involving MPowering America, LLC to
                                        develop avoidance action complaint.
37   8/17/2024   S Gray           0.2   Review and analyze C. Ghio email, memorandum, and related documents regarding
                                        fraudulent transfer litigation strategy to develop avoidance action complaint against
                                        MPowering America, LLC.
37   8/17/2024   S Gray           3.2   Draft and analyze avoidance action complaint against MPowering America, LLC.
37   8/17/2024   S Gray           2.2   Analyze financial data on transfers during applicable lookback period to develop
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                        avoidance action complaint.
37   8/17/2024   S Gray           0.2   Review and analyze Protective Order to develop adversary proceeding complaint.
37   8/17/2024   Y Lissebeck      0.2   Review and respond to emails re Mpower and Mpowering and various related affiliates
                                        and documents
37   8/18/2024   S Gray           2.3   Draft and analyze avoidance action complaint.
37   8/18/2024   S Gray           0.3   Review and analyze related Accounts Receivable Purchase Agreement to develop
                                        avoidance action complaint.
37   8/18/2024   S Gray           0.5   Research Federal Bankruptcy law related to avoidance of preferential transfers and
                                                                                                                                        Main Document




                                        fraudulent transfers to develop avoidance action complaint.
37   8/18/2024   S Gray           0.7   Research potential avoidance action defendants to develop complaint.
37   8/18/2024   S Gray           0.2   Review and analyze bankruptcy claims register to develop avoidance action complaint.
37   8/18/2024   S Gray           0.4   Correspond with S. Johnston regarding potential avoidance action defendants to develop
                                        complaint.
37   8/18/2024   S Gray           0.7   Review and analyze Mpowering America LLC proof of claim and amended proof of claim
                                        to develop avoidance action complaint.
37   8/18/2024   S Gray           1.1   Review and analyze emails, invoices, and other documents related to MPowering America
                                                                                                                                                         Page 302 of 501




                                        LLC to develop avoidance action complaint.
37   8/19/2024   C Celentino       1    Review and analyze business reports and asset reports to develop writ of attachment
                                        request and evaluate potential defendant assets
37   8/19/2024   C Ghio           0.7   Analysis re assets of fraudlent transferee litigation target and possible writ of attachment.
37   8/19/2024   R Simmons        0.6   Create targeted searches for Mpowering
37   8/19/2024   S Gray           1.4   Correspond with Y. Lissebeck, C. Ghio, C. Celentino, W. Yones, and S. Johnson
                                        regarding status and strategy for avoidance action complaint.
37   8/19/2024   S Gray           1.5   Review and analyze invoices, emails, and other documents related to MPowering
                                        America, LLC and potential litigation targets to develop avoidance action complaint.
37   8/19/2024   S Gray           1.1   Draft and analyze avoidance action complaint.
                                                                                                                                                                                       Page 301




37   8/19/2024   S Gray             1   Review and analyze business reports and asset reports to develop writ of attachment
                                                                                                                                                                                   EXHIBIT "D"
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                                        request and evaluate potential defendant assets.
      Date           Name      Hours    Narrative
37   8/19/2024   S Gray           0.9   Review and analyze application for right to attach order, temporary protective order, and
                                        order for issuance of writ of attachment, emergency motion for application for a right to
                                        attach order and issuance of writ of attachment or, alternatively, for a temporary protective
                                        order, memorandum of points and authorities in support of emergency motion, declaration
                                        in support of emergency motion, and notice of emergency motion to develop avoidance
                                        action strategy.
37   8/19/2024   S Gray           0.4   Research prejudgment attachment under California law to develop strategy for avoidance
                                        action complaint.
37   8/19/2024   S Gray           0.3   Correspond with Grobstein Teeple regarding accounting information to develop avoidance
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                        action complaint.
37   8/19/2024   S Johnston       0.5   Work on Mpowering Complaint with S. Gray for potential additional party inquiries
37   8/19/2024   S Johnston       0.4   Analyze related entities and individuals for potential complaint inclusion
37   8/19/2024   S Johnston       0.4   Work on asset and deposit account searches for MPowering and M. Lovelady related
                                        entities ahead of finalizing the complaint
37   8/19/2024   Y Lissebeck      0.2   Review and respond to numerous emails from S. Gray re property searches and obtaining
                                        bank account information related to various litigation targets
37   8/19/2024   Y Lissebeck      0.2   Review emails re MPowering bank statements and respond thereto related to accountant
                                                                                                                                        Main Document




                                        files and records
37   8/20/2024   S Gray           0.2   Correspond with T. Spurlock and S. Marino regarding affiliate transfer information to
                                        develop avoidance action complaint.
37   8/20/2024   S Gray           0.6   Review and analyze memorandum of points and authorities in support of emergency
                                        motion for application for a right to attach order and issuance of writ of attachment or
                                        alternatively for a temporary protective order pending a noticed hearing.
37   8/20/2024   S Gray           0.1   Correspond with Grobstein Teeple regarding financial records to develop avoidance action
                                        complaint.
                                                                                                                                                         Page 303 of 501




37   8/20/2024   S Gray           0.4   Correspond with W. Yones and R. Simmons regarding preparation of exhibits in support of
                                        avoidance action complaint.
37   8/20/2024   S Gray           2.7   Revise and analyze draft avoidance action complaint.
37   8/20/2024   S Gray           0.5   Correspond regarding asset investigation of potential avoidance action defendants.
37   8/20/2024   S Johnston       0.5   Analyze transfer support for post-adversary complaint discovery
37   8/20/2024   S Johnston       0.4   Work on additional transfer evidence via emails and bank records with S. Gray for
                                        complaint draft
37   8/20/2024   Y Lissebeck      0.2   Review and respond to emails from S. Gray re status of Mpower affiliate information for
                                        upcoming complaint
37   8/21/2024   S Gray           0.1   Correspond with S. Johnston regarding revisions to avoidance action complaint.
                                                                                                                                                                                       Page 302




37   8/21/2024   S Gray           0.1   Correspond with S. Marino regarding potential avoidance action defendants to develop
                                                                                                                                                                                   EXHIBIT "D"
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                                        avoidance action complaint.
      Date           Name      Hours    Narrative
37   8/21/2024   S Gray           1.5   Revise and analyze avoidance action complaint.
37   8/21/2024   S Gray           0.2   Correspond with Grobstein Teeple regarding LPG financial data to develop avoidance
                                        action complaint.
37   8/21/2024   S Gray           1.1   Research and analyze issues related to attachment of deposit accounts to develop
                                        avoidance action strategy.
37   8/21/2024   S Johnston       2.2   Initial redline of Mpowering complaint and exhibits
37   8/21/2024   W Yones          2.1   Begin gathering, redacting and formatting exhibits in preparation for upcoming adversary
                                        proceeding filing
37   8/21/2024   Y Lissebeck      0.3   Review and respond to numerous emails from S. Gray and N. Cooper re Mpowering
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        exhibits and documents for complaint
37   8/21/2024   Y Lissebeck      0.5   Review and revise complaint further re additional allegations re proof of claim
37   8/21/2024   Y Lissebeck      0.2   Review and respond to email re complaint, exhibits and notice of compliance
37   8/22/2024   S Gray           0.3   Review and analyze LPG emails, bank records, and other documents to develop
                                        avoidance action complaint.
37   8/22/2024   S Gray           0.5   Research issues related to writ of attachment and Lovelady assets to develop strategy for
                                        avoidance action.
37   8/22/2024   S Gray           0.3   Correspond with S. Johnston and Y. Lissebeck regarding strategy for avoidance action
                                                                                                                                     Main Document




                                        complaint.
37   8/22/2024   S Gray           0.2   Correspond with W. Yones regarding preparation of exhibits for avoidance action
                                        complaint.
37   8/22/2024   S Gray           0.6   Draft and analyze notice of compliance with rule 7026 of the federal rules of bankruptcy
                                        procedure and rule 7026-1 of the local bankruptcy rules.
37   8/22/2024   S Gray           0.2   Correspond with Grobstein Teeple regarding transaction records to develop avoidance
                                        action complaint and supporting exhibits.
37   8/22/2024   S Gray           0.3   Research local rules regarding commencing an adversary proceeding to ensure
                                                                                                                                                      Page 304 of 501




                                        compliance with local practice requirements.
37   8/22/2024   S Gray           2.2   Revise and analyze avoidance action complaint.
37   8/22/2024   S Gray           0.7   Revise and analyze exhibits to avoidance action complaint.
37   8/22/2024   S Gray             1   Research facts and law relevant to priority claim objection and disallowance of a claim to
                                        develop avoidance action complaint.
37   8/22/2024   S Johnston       2.4   Finalize complaint for Y. Lissebeck review
37   8/22/2024   S Johnston       0.9   Final review of exhibits ahead of complaint filing
37   8/22/2024   S Johnston       0.2   Telephone call with S. Gray for MPowering complaint edits
37   8/22/2024   W Yones            2   Continue compile and prepare exhibits in preparation for upcoming adversary proceeding
                                        filing
                                                                                                                                                                                    Page 303




37   8/22/2024   Y Lissebeck        1   Review and revise complaint
                                                                                                                                                                                EXHIBIT "D"
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37   8/22/2024   Y Lissebeck      0.2   Review and revise notice of compliance
      Date           Name      Hours    Narrative
37   8/23/2024   S Gray           0.7   Research law relevant to priority claim objection and disallowance of claims to develop
                                        avoidance action complaint.
37   8/23/2024   S Gray           0.6   Revise and analyze avoidance action complaint and notice of compliance with Rule 7026
                                        of the Federal Rules of Bankruptcy Procedure and Rule 7026-1 of the Local Bankruptcy
37   8/23/2024   S Gray           0.6   Revise and analyze exhibits in support of avoidance action complaint.
37   8/23/2024   S Gray           0.3   Correspond with Y. Lissebeck, S. Johnston, and W. Yones regarding revisions to
                                        avoidance action complaint, exhibits, and filing of avoidance action complaint.
37   8/23/2024   S Johnston       0.5   Work on claim objection count to complaint for filing
37   8/23/2024   S Johnston       0.1   Telephone call from S. Gray re Complaint counts/claims and addition(s) of same
                                                                                                                                                                                  Case 8:23-bk-10571-SC




37   8/23/2024   S Johnston       0.4   Work on final redactions for Complaint filing
37   8/23/2024   S Johnston       0.3   Analyze "MPower" as potential necessary or related party for complaint
37   8/23/2024   Y Lissebeck      0.3   Review revised complaint and approve to be finalized
37   8/23/2024   Y Lissebeck      0.2   Telephone call with S. Gray re complaint and allegations related to affiliate
37   8/26/2024   S Gray           0.4   Research California law regarding service of process on out of state individuals to develop
                                        strategy for service of process in avoidance action.
37   8/26/2024   S Johnston       0.4   Confirm filing of complaint and redaction for exhibits
37   8/26/2024   S Johnston       0.4   Work on summons issuance and status conference details
                                                                                                                                      Main Document




37   8/27/2024   S Gray           0.2   Review and analyze summons and proof of service to ensure compliance with applicable
                                        rules of procedure.
37   8/27/2024   S Johnston       0.8   Work on post-summons documents for early meeting of counsel and status conference
37   8/27/2024   S Johnston       0.5   Work on uniform application to post-complaint filings and initial disclosures
37   8/27/2024   W Yones          2.5   Worked on service (voluminous documents served on 5 addresses)of newly filed
                                        adversary proceeding
37   8/28/2024   S Gray           0.1   Correspond with Y. Lissebeck regarding status of avoidance action investigation to
                                        develop strategy.
                                                                                                                                                       Page 305 of 501




37    9/2/2024   S Gray           0.2   Review emails with Y. Lissebeck, S. Johnston, and W. Yones regarding case status and
                                        upcoming deadlines.
37    9/2/2024   S Gray           0.5   Review and analyze order denying Greyson's motion to vacate the preliminary injunction
                                        to develop case strategy.
37    9/4/2024   S Johnston       0.3   Brief work on tying M. Azevedo with MPowering Ponzi Scheme
37   9/11/2024   S Gray           0.1   Correspond with V. Rodriguez and B. Cockroft regarding strategy for amending adversary
                                        complaints and potential additional claims.
37   9/11/2024   S Gray           0.4   Review and analyze case status related to responsive pleadings and other early case
                                        deadlines to ensure compliance with local rules and practice.
37   9/16/2024   S Gray           0.8   Review and analyze accounting data to develop adversary proceeding strategy.
                                                                                                                                                                                     Page 304




37   9/16/2024   S Johnston       0.2   Work on default motion strategy
                                                                                                                                                                                 EXHIBIT "D"
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37   9/17/2024   S Gray           0.2   Correspond with S. Johnston regarding complaint strategy and potential amendment.
      Date            Name     Hours    Narrative
37   9/17/2024   S Johnston       0.6   Analyze amendment options for complaint in light of additional case and figure details
37   9/23/2024   S Johnston       0.2   Discussions with M. Brock for two week response extension
37   9/23/2024   Y Lissebeck      0.2   Review and respond to email from M. Brock re extension of time to respond
37   9/23/2024   Y Lissebeck      0.1   Draft email to S. Johnston and S. Grey re extensions of time
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                                                                           Page 306
                          Strategic Consulting Solutions LLC (143576-38)



                                                  FEES
                NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Sara A Johnston            Partner                   $495.00      2.60     $1,287.00
    Yosina M. Lissebeck        Partner                   $745.00       .20      $149.00
    Spencer K Gray             Associate                 $475.00       .40      $190.00
    Brandon E. Lira            Associate                 $355.00      6.30     $2,236.50
    Wendy Yones                Paraprofessional          $205.00       .60      $123.00
                                                           TOTALS    10.10     $3,985.50
      Date           Name      Hours    Narrative
38   7/11/2024   S Gray           0.2   Correspond with Y. Lissebeck regarding documents related to Strategic Consulting
                                        Solutions information to assist in investigation of entity status
38   7/11/2024   W Yones          0.6   Gather corporate and contact information regarding Strategic Consulting
38   7/11/2024   Y Lissebeck      0.1   Review and respond to email from S. Gray re affiliate information and emails with invoices
38    8/2/2024   S Johnston       0.6   Work through potential issues for collection (receivership, NY AG shutdown, non-affiliate
                                        status, etc.) for avoidance optoions
38    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
38    8/8/2024   B Lira           1.4   Review financial records concerning the defendant's transactions with the debtor
38    8/8/2024   B Lira           1.5   Research the scope of fraudulent transfer claims in bankruptcy proceedings with attention
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        to applicable interpretations of the Ninth Circuit
38    8/8/2024   B Lira           1.1   Develop strategy concerning the presentment of fraud related claims to the Court in light
                                        of the limited records available for this defendant
38    8/9/2024   S Johnston       0.6   Work on case history and related analysis with B. Lira for demand letter
38   8/12/2024   B Lira           0.6   Strategy session with SAJ concerning the prosecution of avoidance actions on behalf of
                                        the LPG estate with attention to the available remedies against Strategic Consulting
                                        Solutions LLC
38   8/12/2024   S Johnston       0.6   Work on case analysis for 549 claims and complaint drafting with B. Lira
                                                                                                                                     Main Document




38    9/9/2024   B Lira           0.4   Analyze claims of Strategic with attention to any putative rights to be treated as an
                                        administrative or priority claimant
38   9/16/2024   B Lira            1    Prepare demand letter to Strategic Consulting Solutions concerning its receipt of $1.7M in
                                        fraudulent transfers with attention to issues of confidentiality and spoliation
38   9/16/2024   S Johnston       0.2   Analyze fraudulent conveyance strategy for instruction to B. Lira re demand letter
38   9/16/2024   S Johnston       0.4   Revise demand letter
38   9/17/2024   B Lira           0.1   Email TP and SG regarding prior efforts to resolve claims against Strategic Consulting
38   9/17/2024   B Lira           0.2   Revise demand letter to Strategic Consulting Solutions concerning its receipt of $1.7M in
                                                                                                                                                      Page 308 of 501




                                        fraudulent transfers with attention to issues of confidentiality and spoliation
38   9/17/2024   S Gray           0.2   Correspond with T. Powell and B. Lira regarding Strategic Consulting Solutions LLC
                                        demand letter.
38   9/19/2024   S Johnston       0.2   Provide final revisions to B. Lira for demand letter
                                                                                                                                                                                    Page 307
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                                Sabia Financial Inc. (143576-39)



                                                  FEES
                NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Sara A Johnston            Partner                   $495.00      4.00     $1,980.00
    Yosina M. Lissebeck        Partner                   $745.00       .30      $223.50
    Vanessa Rodriguez          Associate                 $385.00     14.40     $5,544.00
    Katherine Hemphill         Paraprofessional          $210.00       .90      $189.00
                                                           TOTALS    19.60     $7,936.50
     Date             Name     Hours    Narrative
39   8/2/2024    S Johnston       0.4   Work on WIP update for Sabia and opposing counsel correspondence ahead of final
                                        complaint review
39    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney S. Johnston regarding adding the LPG
                                        Post-Petition Disbursement Summary to the file if they are listed on the summary
39    8/2/2024   V Rodriguez      0.1   Review and analysis of the LPG Post-Petition Disbursement Summary to determine if the
                                        Defendant received a 549 payment over $30,000 to determine if a demand letter should
                                        be sent to the litigation target.
39    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney S. Johnston regarding the Complaint
                                        provided to her for review before proceeding with filing and service
                                                                                                                                                                                  Case 8:23-bk-10571-SC




39    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
39    8/9/2024   S Johnston       1.1   Work on updating complaint and finalize same for filing
39    8/9/2024   S Johnston       0.5   Work on exhibit analysis to incorporate and finalize for complaint filing
39   8/13/2024   K Hemphill       0.4   Finalize exhibits with margin references.
39   8/13/2024   V Rodriguez      0.3   Review of correspondence from Attorney S. Johnston re whether there has been
                                        settlement discussion with opposing counsel, whether there are any new accounting
                                        numbers re the 90-day preference period and the 4-year conveyance period, revising the
                                        exhibits, and updating the date for disclosure
                                                                                                                                      Main Document




39   8/13/2024   V Rodriguez      0.3   Strategy conference re revisions to make to the exhibits to the Complaint.
39   8/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney Y. Lissebeck re including the Protective Order
                                        as part of initial disclosures to provide notice to opposing counsel that they are bound by
39   8/13/2024   V Rodriguez      0.2   Review and analysis of the case file to determine if there are any new accounting numbers
                                        re the 90-day preference period and the 4-year conveyance period
39   8/14/2024   S Johnston       0.2   Discuss final edits for complaint filing with V. Rodriguez
39   8/14/2024   V Rodriguez      1.5   Review, analyze, and draft notes re LPG documents in ViewPoint related to the Defendant
                                        and LPG to identify any pertinent documents for use in the prosecution against the
                                                                                                                                                       Page 310 of 501




                                        Defendant.
39   8/14/2024   V Rodriguez      0.6   Review of the revised exhibits to the Complaint to determine if and what further revisions
                                        are needed.
39   8/14/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re the attached revised exhibits to the Complaint
                                        and the revised Notice of Compliance with Rule 7026.
39   8/14/2024   V Rodriguez      0.1   Drafting revisions to the Notice of Compliance with Rule 7026.
39   8/14/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re revising the Notice of
                                        Compliance with Rule 7026
39   8/16/2024   S Johnston       0.1   Work on final exhibits to complaint
39   8/16/2024   V Rodriguez      1.5   Review, analyze, and draft notes re LPG documents in ViewPoint related to the Defendant
                                                                                                                                                                                     Page 309




                                        and LPG to identify any pertinent documents for use in the prosecution against the
                                                                                                                                                                                 EXHIBIT "D"
                                                                                                                                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc




                                        Defendant.
      Date           Name      Hours    Narrative
39   8/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re the formatting of the exhibits to
                                        the complaint
39   8/19/2024   V Rodriguez      0.4   Strategy conference re review and analysis of document production and what information
                                        to search for when reviewing LPG and the affiliate's document production.
39   8/20/2024   S Johnston       0.5   Work on updated account financials for complaint final draft
39   8/20/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re providing final file ready copies of
                                        the complaint and supporting documents for her review before filing it tomorrow
39   8/20/2024   V Rodriguez      0.1   Strategy conference re proceeding to file the Complaint, when to file and how to file and
                                        serve it.
                                                                                                                                                                                    Case 8:23-bk-10571-SC




39   8/20/2024   Y Lissebeck      0.1   Review and respond to email re finalizing complaint and exhibits for filing
39   8/21/2024   K Hemphill       0.5   Review Complaint and Exhibits to Complaint and revise formatting as needed.
39   8/21/2024   V Rodriguez      0.1   Revising the Notice of Compliance with Rule 7026.
39   8/21/2024   V Rodriguez      1.5   Revising the Complaint to include information regarding the Protective Order and
                                        conducting further review and revisions to the entire Complaint before filing.
39   8/21/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re revising the Complaint to include
                                        information re the Protective Order
39   8/21/2024   V Rodriguez      0.2   Updating the Work in Progress Report with the latest status of the case.
                                                                                                                                        Main Document




39   8/21/2024   V Rodriguez      0.7   Drafting revisions to the exhibits to the Complaint to include the Protective Order and to
                                        properly label all exhibits.
39   8/21/2024   V Rodriguez      0.3   Finalizing the Complaint, exhibits, and Notice of Compliance with Rule 7026 before filing.
39   8/22/2024   Y Lissebeck      0.1   Review email from S. Johnston re status of filing complaint
39   8/23/2024   S Johnston         1   Additional edits to disallowance of claim portions of complaint
39   8/27/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re making further revisions to the
                                        Complaint
39   8/28/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney Y. Lissebeck and Attorney S. Johnston
                                                                                                                                                         Page 311 of 501




                                        re a short summary of the status of the case to include in the LPG fee application.
39    9/9/2024   S Johnston       0.1   Confirm complaint versus objection route for affiliate
39    9/9/2024   V Rodriguez      0.2   Correspondence to Attorney S. Johnston re the affiliate having filed a proof of claim and
                                        whether she would like the objection to claim or complaint filed first.
39    9/9/2024   V Rodriguez      0.2   Review and analysis of the claims register and the Omni proof of claim spreadsheet to
                                        confirm that this affiliate did not file an administrative or priority claim.
39    9/9/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re whether this affiliate filed an
                                        administrative or priority claim.
39   9/10/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re moving forward with the
                                        Complaint since the proof of claim filed by the affiliate is not a priority or administrative
                                                                                                                                                                                       Page 310




39   9/11/2024   V Rodriguez      1.2   Research and analysis of an adversary complaint in the U.S. BK. Central District that
                                                                                                                                                                                   EXHIBIT "D"
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                                        contains claims for relief that can potentially be used in the affiliate complaint
      Date            Name     Hours    Narrative
39   9/13/2024   S Johnston       0.1   Confirm updated pre and post-petition financial reports
39   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated 4-year pre-petition disbursement summary and
                                        comparing it to the previous provided summaries to determine if the amount of funds paid
                                        to the affiliate has changed such that the complaint would need to be revised.
39   9/13/2024   V Rodriguez      0.1   Review of 23 correspondences from the U.S. Bankruptcy Court Central District of
                                        California regarding recent filings in the main bankruptcy case to determine if they are
                                        relevant to this matter.
39   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated post-petition disbursement summary and comparing it
                                        to the previous provided summary to determine if the amount of funds paid to the affiliate
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        has changed.
39   9/13/2024   V Rodriguez      0.2   Correspondence to Attorney S. Johnston re there being no changes to the 4-year and 90-
                                        day pre-petition disbursement summaries compared to the previously provided
                                        summaries, and no changes to the post-petition disbursement summary compared to the
                                        previously provided summary.
39   9/13/2024   V Rodriguez      0.1   Review and analysis of the complaint to ensure that the 4-year pre-petition disbursement
                                        numbers and the 90-day pre-petition disbursement numbers match the updated numbers.
39   9/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re reviewing the attached pre-
                                                                                                                                      Main Document




                                        petition and post-petition disbursement summaries to confirm whether the amounts of
                                        funds paid to the affiliate has changed.
39   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated 90-day pre-petition disbursement summary and
                                        comparing it to the previous provided summaries to determine if the amount of funds paid
                                        to the affiliate has changed such that the complaint would need to be revised.
39   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re there being no changes to the 4-
                                        year and 90-day pre-petition disbursement summaries compared to the previously
                                        provided summaries, and no changes to the post-petition disbursement summary
                                                                                                                                                       Page 312 of 501




                                        compared to the previously provided summary.
39   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re whether we have asserted a
                                        claim for relief in the complaint re CA Civil Code section 3439.04(b).
39   9/16/2024   V Rodriguez      1.7   Research and analysis of cases that allege similar claims for relief to determine if there
                                        are additional claims for relief that can be alleged in the complaint.
39   9/16/2024   V Rodriguez      0.3   Detailed correspondence to Attorney S. Johnston re asserting an additional claim for relief
                                        in the complaint re CA Civil Code section 3439.04(b).
39   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re whether the proposed revisions
                                        to the complaint can be finalized this week.
                                                                                                                                                                                     Page 311
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                            BC Consulting Group, LLC (143576-40)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Sara A Johnston            Partner              $495.00      1.60      $792.00
    Yosina M. Lissebeck        Partner              $745.00      2.30     $1,713.50
    Vanessa Rodriguez          Associate            $385.00     11.40     $4,389.00
                                                      TOTALS    15.30     $6,894.50
     Date            Name      Hours    Narrative
40   7/2/2024    V Rodriguez      0.2   Drafting the Notice of Motion and Motion Pursuant to Fed. R. Bankr. P. 2004 and L.B.R.
                                        2004-1 For an Order Authorizing the Production of Documents by BC Consulting Group,
                                        LLC dba Paralegal Assistance Center
40    7/5/2024   V Rodriguez      0.4   Drafting the Order Granting Chapter 11 Trustee's Motion Pursuant to Fed. R. Bankr. P.
                                        2004 and L.B.R. 2004-1 for an Order Authorizing the Production of Documents by BC
                                        Consulting Group, LLC dba Paralegal Assistance Center.
40    7/5/2024   V Rodriguez      0.4   Compiling the exhibits to the 2004 Motion
40    7/5/2024   V Rodriguez      2.5   Drafting the Notice of Motion and Motion Pursuant to Fed. R. Bankr. P. 2004 and L.B.R.
                                        2004-1 For an Order Authorizing the Production of Documents by BC Consulting Group,
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        LLC dba Paralegal Assistance Center
40    7/5/2024   Y Lissebeck      0.5   Review and revise 2004 application and subpoena to include additional meet and confer
                                        facts
40    7/5/2024   Y Lissebeck      0.2   Review and further revise 2004 application notice and discuss filing motion with V.
                                        Rodriguez
40    7/5/2024   Y Lissebeck      0.1   Draft email to V. Rodriquez re revisions to 2004 application and inclusion of new facts
40    7/8/2024   V Rodriguez      0.1   Review of the LOU confirmation page regarding the lodged Proposed Order regarding the
                                        2004 Motion.
                                                                                                                                     Main Document




40    7/9/2024   V Rodriguez      0.1   Receipt and review of correspondence from the U.S. Bankruptcy Court Central District of
                                        California regarding the Order granting the 2004 Motion.
40    7/9/2024   V Rodriguez      0.1   Receipt and review of correspondence from Attorney Y. Lissebeck regarding personally
                                        serving the 2004 subpoena and potentially drafting a Notice of Subpoena
40    7/9/2024   V Rodriguez      0.2   Strategy conference regarding preparing and serving a subpoena on BC Consulting Group
                                        for document production.
40    7/9/2024   Y Lissebeck      0.2   Review and respond to various emails from V. Rodriguez re 2004 supboena and notice of
                                        subpoena
                                                                                                                                                      Page 314 of 501




40   7/10/2024   V Rodriguez      0.5   Review and revise the Subpoena to Produce Documents, Information, or Objects or to
                                        Permit Inspection of Premises in a Bankruptcy Case
40   7/10/2024   V Rodriguez      0.9   Review and revise the Plaintiff and Chapter 11 Trustee Richard A. Marshack's Notice of
                                        Subpoena to Produce Documents, Information, or Objects to BC Consulting Group, LLC
                                        dba Paralegal Assistance Center for filing
40   7/10/2024   V Rodriguez      0.7   Research and analysis of the local bankruptcy rules, federal rules of civil procedure, and
                                        federal rules of bankruptcy procedure regarding the method to serve a subpoena pursuant
                                        to a Rule 2004 Examination
40   7/10/2024   Y Lissebeck      0.2   Review and respond to notice of subpoena email from V. Rodriguez and respond re notice
                                        and service of subpoena and order
                                                                                                                                                                                    Page 313
                                                                                                                                                                                EXHIBIT "D"
                                                                                                                                     Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date           Name      Hours    Narrative
40   7/11/2024   V Rodriguez      0.2   Review of several correspondences with Dinsmore Attorney Y. Lissebeck regarding
                                        proceeding with personal service of the Subpoena on BC Consulting, the filing of the
                                        Notice of Subpoena, and which attorney service to use for service
40   7/11/2024   Y Lissebeck      0.2   Review and respond to email from V. Rodriguez re service of subpoena and filing of
40   7/22/2024   V Rodriguez      0.3   Research and analysis of the Federal Rules of Civil Procedure and The Central Guide to
                                        determine if the Proof of Service regarding the Subpoena and Order to produce
                                        documents needs to be filed.
40   7/22/2024   V Rodriguez      0.1   Review and analysis of the proof of service regarding the Subpoena and Order to produce
                                        documents.
                                                                                                                                                                               Case 8:23-bk-10571-SC




40   7/22/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney Y. Lissebeck regarding not filing the
                                        Proof of Service regarding the Subpoena and Order, and the deadline for BC Consulting
                                        to produce documents pursuant to the Subpoena and Order.
40   7/31/2024   V Rodriguez      0.4   Detailed correspondence to the client regarding the status of the case, the Defendant's
                                        failure to respond to the Subpoena and Court Order, and a potential settlement offer.
40   7/31/2024   V Rodriguez      0.3   Correspondence to Dinsmore Attorney Y. Lissebeck regarding a potential settlement offer
                                        to propose to the client after reviewing and analyzing the 90-day preference period
                                        numbers and 4-year fraudulent conveyance numbers
                                                                                                                                   Main Document




40    8/2/2024   S Johnston       0.3   Work on 2004 production review and update for potential compel motion
40    8/2/2024   V Rodriguez      0.1   Review and analysis of the LPG Post-Petition Disbursement Summary to determine if the
                                        Defendant received a 549 payment over $30,000 to determine if a demand letter should
                                        be sent to the litigation target.
40    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney S. Johnston regarding whether BC
                                        Consulting Group provided document production by last week's deadline and regarding
                                        the 90-day and 4-year conveyance amounts
40    8/2/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney S. Johnston regarding adding the LPG
                                                                                                                                                    Page 315 of 501




                                        Post-Petition Disbursement Summary to the file if they are listed on the summary
40    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
40   8/14/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re whether to proceed with settlement
                                        discussions with the Defendant and whether to request that they provide documents
                                        pursuant to the subpoena.
40   8/16/2024   S Johnston       0.2   Make recommendation to V. Rodriguez for settlement discussions versus compelling
                                        production
40   8/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re calling the Defendant to request
                                        the outstanding documentation and asking him if he would like to make a settlement offer
40   8/19/2024   V Rodriguez      0.2   Correspondence to Attorney S. Johnston re the outcome of the telephone call with B.
                                                                                                                                                                                  Page 314




                                        DeFelice re producing the documents and information requested in the Subpoena by
                                                                                                                                                                              EXHIBIT "D"
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                                        August 23, 2024.
      Date           Name      Hours    Narrative
40   8/19/2024   V Rodriguez      0.3   Telephone call to BC Consulting's principal B. DeFelice re producing the documents and
                                        information requested in the Subpoena by August 23, 2024.
40   8/19/2024   Y Lissebeck      0.2   Review email from BC Consulting providing documents and reply to V. Rodriguez
                                        requesting strategy moving forward
40   8/20/2024   S Johnston       0.5   Work on 2004 production initial review for potential settlement and/or need for complaint
40   8/20/2024   V Rodriguez      0.1   Strategy conference re reviewing the documents provided by B. DeFelice to determine if
                                        his insolvency claims are accurate and whether all of the documents requested in the
                                        Subpoena were produced.
40   8/20/2024   V Rodriguez      0.1   Review of multiple voicemails from B. DeFelice re providing any and all documents
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        requested in the Subpoena.
40   8/20/2024   V Rodriguez      0.2   Review of multiple correspondences from B. DeFelice re the attached documents
                                        requested in the Subpoena
40   8/20/2024   Y Lissebeck      0.2   Review and respond to email from V. Rodriguez re documents produced and settlement
                                        issues
40   8/21/2024   V Rodriguez      0.4   Review of multiple correspondences from Attorney Y. Lissebeck re the Defendant's
                                        submission of several documents and the plan of action to pursue the case
40   8/21/2024   Y Lissebeck      0.2   Review and respond to email from V. Rodriguez re documents produced, insolvency and
                                                                                                                                     Main Document




                                        settlement issues
40   8/28/2024   V Rodriguez      0.1   Review of multiple correspondences from Attorney Y. Lissebeck and Attorney S. Johnston
                                        re a short summary of the status of the case to include in the LPG fee application.
40    9/9/2024   S Johnston       0.1   Examine s drive for priority claims and objection deadlines
40    9/9/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re whether this affiliate filed an
                                        administrative or priority claim.
40    9/9/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re the affiliate not having filed an administrative
                                        or priority claim.
                                                                                                                                                      Page 316 of 501




40    9/9/2024   V Rodriguez      0.2   Review and analysis of the claims register and the Omni proof of claim spreadsheet to
                                        confirm that this affiliate did not file an administrative or priority claim.
40   9/13/2024   S Johnston       0.1   Confirm updated pre and post-petition financial reports
40   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated post-petition disbursement summary and comparing it
                                        to the previous provided summary to determine if the amount of funds paid to the affiliate
                                        has changed.
40   9/13/2024   V Rodriguez      0.1   Review and analysis of the 2004 motion to ensure that the 4-year pre-petition
                                        disbursement numbers and the 90-day pre-petition disbursement numbers match the
40   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated 4-year pre-petition disbursement summary and
                                        comparing it to the previous provided summaries to determine if the amount of funds paid
                                                                                                                                                                                    Page 315




                                        to the affiliate has changed such that the complaint would need to be revised.
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      Date           Name      Hours    Narrative
40   9/13/2024   V Rodriguez      0.3   Review and analysis of the updated 90-day pre-petition disbursement summary and
                                        comparing it to the previous provided summaries to determine if the amount of funds paid
                                        to the affiliate has changed such that the complaint would need to be revised.
40   9/13/2024   V Rodriguez      0.2   Correspondence to Attorney S. Johnston re there being no changes to the 4-year and 90-
                                        day pre-petition disbursement summaries compared to the previously provided
                                        summaries, and no changes to the post-petition disbursement summary compared to the
                                        previously provided summary.
40   9/13/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re reviewing the attached pre-
                                        petition and post-petition disbursement summaries to confirm whether the amounts of
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        funds paid to the affiliate has changed.
40   9/16/2024   S Johnston       0.3   Recommendation to V. Rodriguez for settlement
40   9/16/2024   V Rodriguez      0.1   Correspondence to Attorney S. Johnston re the method for pursing this case and the
                                        review of the financial documents provided by the affiliate.
40   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re the method for pursing this case
                                        and the review of the financial documents provided by the affiliate.
40   9/16/2024   V Rodriguez      0.1   Review of correspondence from Attorney S. Johnston re there being no changes to the 4-
                                        year and 90-day pre-petition disbursement summaries compared to the previously
                                                                                                                                   Main Document




                                        provided summaries, and no changes to the post-petition disbursement summary
                                        compared to the previously provided summary.
40   9/16/2024   Y Lissebeck      0.2   Review various emails between V. Rodgriguez and S. Johnston re documents, settlement
                                        and final review and demand
40   9/17/2024   S Johnston       0.1   Discuss document review timeline with V. Rodriguez
                                                                                                                                                    Page 317 of 501

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                                                                     EXHIBIT "D"
                                                                         Page 317
                                EZ Debt Relief Inc. (143576-41)



                                                 FEES
                NAME                 TITLE               RATE      HOURS    TOTAL FEES
    Sara A Johnston            Partner                  $495.00      2.30     $1,138.50
    Yosina M. Lissebeck        Partner                  $745.00       .20      $149.00
    Jacob R. Bothamley         Associate                $405.00       .70      $283.50
                               eDiscovery
    Robert J. Simmons                                   $365.00       .20       $73.00
                               Project Manager
                                                          TOTALS     3.40     $1,644.00
      Date            Name     Hours    Narrative
41    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
41   8/16/2024   J Bothamley      0.1   Review 4-year and 90-day disbursement details for EZ Debt and update EZ Debt file with
                                        breakdown.
41   8/18/2024   J Bothamley      0.3   Respond to S. Johnston's request for case updates on EZ Debt Relief by reviewing
                                        relevant files and correspondence.
41   8/21/2024   S Johnston       0.5   Work on demand versus complaint next steps with J. Bothamley
41   8/22/2024   S Johnston       0.3   Continued complaint vs. discovery vs. demand strategy discussion with J. Bothamley
41   8/23/2024   J Bothamley      0.3   Review and respond to comments from S. Johnston re documents certain docs reviewed
                                        and corresponding bank statements, and general case strategy.
                                                                                                                                                                             Case 8:23-bk-10571-SC




41   8/26/2024   S Johnston       0.3   Continued recommendations to J. Bothamley re settlement and affidavit exchange
41   8/27/2024   S Johnston       0.1   Brief discussion with J. Bothamley re settlement amounts and exchanges
41    9/4/2024   S Johnston       0.5   Recommendations to J. Bothamley for next steps in light of bank statements
41    9/5/2024   R Simmons        0.2   Process EZ Debt bank statements into Viewpoint doc review database
41    9/9/2024   S Johnston       0.1   Confirm non-priority status of claims
41   9/17/2024   S Johnston       0.2   Analyze updated EZ Debt figures from J. Bothamley for settlement versus demand versus
                                        complaint strategy
41   9/20/2024   S Johnston       0.3   Work on settlement proposal, document review,                     recommendation to J.
                                                                                                                                 Main Document




                                        Bothamley
41   9/20/2024   Y Lissebeck      0.1   Review and respond to email from S. Johnston re moving case forward, settlement issues
                                        and declaration
                                                                                                                                                  Page 319 of 501

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                          Summit Marketing Solutions Inc. (143576-42)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Sara A Johnston            Partner              $495.00      1.00      $495.00
    Yosina M. Lissebeck        Partner              $745.00       .10        $74.50
    Jacob R. Bothamley         Associate            $405.00     10.20     $4,131.00
                                                      TOTALS    11.30     $4,700.50
     Date             Name     Hours    Narrative
42   7/3/2024    J Bothamley      0.1   Call w/ Brent Phillips, rep for Summit, re declaration resolving 2004 motion productions
                                        issues.
42    7/3/2024   J Bothamley      0.2   Send proposed language for declaration re 2004 motion resolution to Brent Phillips for
                                        review.
42    7/5/2024   J Bothamley       2    Review and analyze first set of documents produced by Summit Marketing solutions, add
                                        new names and affiliations to encyclopedia.
42    7/5/2024   J Bothamley      2.7   Review and analyze second set of documents produced by Summit, add names and
                                        affiliations to encyclopedia, draft further follow up questions for Brent Phillips on
                                        continuing production.
                                                                                                                                                                               Case 8:23-bk-10571-SC




42    7/5/2024   J Bothamley      0.3   Develop strategy for follow up with Brent Phillips, counsel for Summit, on further
                                        production of documents Summit likely still has.
42    7/9/2024   J Bothamley      0.1   Check main LPG docket to see if Summit filed a declaration on continuing production of
                                        documents.
42    7/9/2024   J Bothamley      0.4   Email to Brent Phillips, counsel to Summit, re update on review of produced docs and
                                        request produce further docs as previously discussed.
42   7/15/2024   J Bothamley      0.1   Follow up email to Brent Phillips, counsel for Summit Marketing, re request for further
                                        production of documents noted in emails produced, and see if migration of data is
                                                                                                                                   Main Document




42   7/23/2024   J Bothamley      0.1   Email to B. Phillips, counsel for Summit re follow up on additional document production.
42   7/24/2024   J Bothamley      0.3   Call with B. Phillips of Summit Marketing Solutions re supplemental document production
                                        and options to accomplish second round of production.
42   7/24/2024   J Bothamley      0.8   Review and analyze sample initial disclosures sent by V. Rodriguez and L. Epley
42    8/2/2024   S Johnston       0.2   Work on production supplement detail to determine if 2004 is necessary
42    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
42   8/16/2024   J Bothamley      0.1   Review 4-year and 90-day disbursement details for EZ Debt and update EZ Debt file with
                                        breakdown.
                                                                                                                                                    Page 321 of 501




42   8/18/2024   J Bothamley      0.3   Respond to S. Johnston's request for case updates on Summit Marketing by reviewing
                                        relevant files and correspondence.
42   8/21/2024   S Johnston       0.4   Recommend next steps for demand, production, and filing to J. Bothamley
42    9/9/2024   S Johnston       0.1   Confirm non-priority status of claims
42   9/16/2024   J Bothamley      0.3   Review and respond to email from S. Johnston re affiliate case developments re Summit
                                        Marketing and associated case deadlines.
42   9/19/2024   J Bothamley       1    Email to S. Johnston re general update on cases and a plan for approaching the LPG
                                        affiliates: EZ Debt and Summit Marketing.
42   9/19/2024   J Bothamley      1.4   Review produced Summit documents for mentions of Validation LLC.
42   9/20/2024   S Johnston       0.3   Work on complaint strategy for Summit/Validation affiliate agreement implications and
                                                                                                                                                                                  Page 320




                                        document review with J. Bothamley
                                                                                                                                                                              EXHIBIT "D"
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                               Gotham Trading NYC (143576-50)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Christopher B. Ghio        Partner              $625.00      1.30      $812.50
    Jeremy B. Freedman         Associate            $465.00       .30      $139.50
                                                      TOTALS     1.60      $952.00
      Date            Name    Hours    Narrative
50   7/15/2024   C Ghio          1.3   Review and revise/approve subpoena to Gotham Trading
50   7/23/2024   J Freedman      0.2   Finalize document demand to subpoena to Gotham Trading to obtain critical information
                                       regarding recoverable transfers
50    8/6/2024   J Freedman      0.1   Review and analysis of proof of service of subpoena on Gotham Trading to ensure proper
                                       service necessary to obtain critical records related to fraudulent transfers
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                          Consumer/Creditor Communications (143576-53)



                                                   FEES
               NAME                   TITLE                RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck         Partner                   $745.00       .30      $223.50
    Jamie D. Mottola            Associate                 $455.00     49.40    $22,477.00
    Wendy Yones                 Paraprofessional          $205.00       .40        $82.00
                                                            TOTALS    50.10    $22,782.50
     Date            Name    Hours    Narrative
53   7/2/2024    J Mottola      2.3   Analyze and respond to approximately 1 mailing, 8 email and 5 live phone/voicemail
                                      inquiries of LPG consumers regarding general questions in light of LPG's bankruptcy to
                                      provide non-legal analysis and information to LPG consumers and identify LPG
                                      consumer's in need of immediate assistance and escalate said inquiries to Morning Law
                                      Group and/or Omni Agent Solutions.
53    7/3/2024   J Mottola      2.5   Analyze and respond to approximately 6 email and 8 live phone/voicemails inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                                                                                                                                                           Case 8:23-bk-10571-SC




                                      Agent Solutions.
53    7/9/2024   J Mottola       2    Analyze and respond to approximately 2 physical mailing, 16 email and 7 live
                                      phone/voicemails inquiries of LPG consumers regarding general questions in light of
                                      LPG's bankruptcy to provide non-legal analysis and information to LPG consumers and
                                      identify LPG consumer's in need of immediate assistance and escalate said inquiries to
                                      Morning Law Group and/or Omni Agent Solutions.
53   7/10/2024   J Mottola      1.1   Analyze and respond to approximately 4 email and _ live phone/voicemails inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
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                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   7/17/2024   J Mottola       2    Analyze and respond to approximately 2 mailings, 15 email and 2 live phone/voicemails
                                      inquiries of LPG consumers regarding general questions in light of LPG's bankruptcy to
                                      provide non-legal analysis and information to LPG consumers and identify LPG
                                      consumer's in need of immediate assistance and escalate said inquiries to Morning Law
                                      Group and/or Omni Agent Solutions.
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53   7/18/2024   J Mottola      0.8   Analyze and respond to approximately 3 email and 2 live phone/voicemails inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   7/22/2024   J Mottola      0.9   Analyze and respond to approximately 3 email and 2 live phone/voicemails inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
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      Date           Name      Hours    Narrative
53   7/24/2024   J Mottola        1.9   Analyze and respond to approximately 4 mailing, 3 live phone/voicemail, and 3 email
                                        inquiries of LPG consumers regarding general questions in light of LPG's bankruptcy to
                                        provide non-legal analysis and information to LPG consumers and identify LPG
                                        consumer's in need of immediate assistance and escalate said inquiries to Morning Law
                                        Group and/or Omni Agent Solutions.
53   7/25/2024   J Mottola        0.6   Analyze and respond to approximately 2 live phone/voicemail, and 1 email inquiries of
                                        LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                        legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                        immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        Agent Solutions.
53   7/26/2024   J Mottola         2    Analyze and respond to approximately 4 live phone/voicemail, and 6 email inquiries of
                                        LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                        legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                        immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                        Agent Solutions.
53   7/29/2024   J Mottola        1.5   Analyze and respond to approximately 2 live phone/voicemail, and 6 email inquiries of
                                        LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
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                                        legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                        immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                        Agent Solutions.
53   7/29/2024   Y Lissebeck      0.3   Review and revise fee examiner stipulation
53   7/30/2024   J Mottola          2   Analyze and respond to approximately 3 live phone/voicemail, and 6 email inquiries of
                                        LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                        legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                        immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                                                                                                                                      Page 326 of 501




                                        Agent Solutions.
53   7/31/2024   J Mottola        0.5   Analyze and respond to approximately 2 email inquiries of LPG consumers regarding
                                        general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                        information to LPG consumers and identify LPG consumer's in need of immediate
                                        assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53    8/1/2024   J Mottola         1    Solutions.
                                        Analyze  and respond to approximately 2 live telephone/voice mail and 3 email inquiries of
                                        LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                        legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                        immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                        Agent Solutions.
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     Date            Name    Hours   Narrative
53   8/2/2024    J Mottola       1   Analyze and respond to approximately 2 live telephone/voice mail and 3 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                     Agent Solutions.
53    8/7/2024   J Mottola       1   Analyze and respond to approximately 2 live telephone/voice mail and 3 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
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                                     Agent Solutions.
53    8/8/2024   J Mottola       1   Analyze and respond to approximately 1 live telephone/voice mail and 5 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                     Agent Solutions.
53    8/9/2024   J Mottola       1   Analyze and respond to approximately 3 live telephone/voice mail and 4 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
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                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                     Agent Solutions.
53   8/13/2024   J Mottola       1   Analyze and respond to approximately 2 live telephone/voice mail and 7 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                     Agent Solutions.
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53   8/14/2024   J Mottola     0.8   Analyze and respond to approximately 3 email inquiries of LPG consumers regarding
                                     general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                     information to LPG consumers and identify LPG consumer's in need of immediate
                                     assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53   8/15/2024   J Mottola     0.8   Solutions.
                                     Analyze  and respond to approximately 1 live telephone/voice mail and 3 email inquiries of
                                     LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                     legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                     immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                     Agent Solutions.
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      Date           Name    Hours    Narrative
53   8/16/2024   J Mottola      1.5   Analyze and respond to approximately 1 live telephone/voice mail and 10 email inquiries
                                      of LPG consumers regarding general questions in light of LPG's bankruptcy to provide
                                      non-legal analysis and information to LPG consumers and identify LPG consumer's in
                                      need of immediate assistance and escalate said inquiries to Morning Law Group and/or
                                      Omni Agent Solutions.
53   8/19/2024   J Mottola       1    Analyze and respond to approximately 2 live telephone/voice mail and 3 email inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
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                                      Agent Solutions.
53   8/20/2024   J Mottola       1    Analyze and respond to approximately 1 live telephone/voice mail and 7 email inquiries of
                                      LPG consumers regarding general questions in light of LPG's bankruptcy to provide non-
                                      legal analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   8/21/2024   J Mottola      1.5   Analyze and respond to approximately 1 physical mailing, 2 live telephone/voice mail and
                                      2 email inquiries of LPG consumers regarding general questions in light of LPG's
                                                                                                                                  Main Document




                                      bankruptcy to provide non-legal analysis and information to LPG consumers and identify
                                      LPG consumer's in need of immediate assistance and escalate said inquiries to Morning
                                      Law Group and/or Omni Agent Solutions.
53   8/22/2024   J Mottola      0.7   Analyze and respond to approximately 2 email inquiries of LPG consumers regarding
                                      general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53   8/26/2024   J Mottola      0.8   Solutions.
                                      Analyze  and respond to approximately 5 email inquiries of LPG consumers regarding
                                                                                                                                                   Page 328 of 501




                                      general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53   8/28/2024   J Mottola       1    Solutions.
                                      Analyze and respond to approximately 7 email inquiries of LPG consumers regarding
                                      general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53   8/30/2024   J Mottola      1.1   Solutions.
                                      Analyze and respond to approximately 2 live/voicemail, 2 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
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                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
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                                      Agent Solutions.
      Date           Name    Hours    Narrative
53   8/30/2024   J Mottola      0.6   Revise Frequently Asked Questions form provided to LPG consumers in response to
                                      telephone or email inquiries to reflect most commonly occurring questions/concerns in an
                                      effort to keep LPG consumers informed of developments in LPG's bankruptcy case.
53   8/31/2024   J Mottola      0.8   Analyze and respond to approximately 2 email inquiries of LPG consumers regarding
                                      general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53    9/3/2024   J Mottola      1.2   Solutions.
                                      Analyze and respond to approximately 2 live/voicemail call, 5 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                                                                                                                                                             Case 8:23-bk-10571-SC




                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53    9/4/2024   J Mottola      2.1   Analyze and respond to approximately 4 live/voicemail call, 5 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
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53   9/10/2024   J Mottola      1.6   Analyze and respond to approximately 3 live/voicemail call, 4 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   9/11/2024   J Mottola       1    Analyze and respond to approximately 4 live/voicemail call, 1 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                                                                                                                                  Page 329 of 501




                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   9/12/2024   J Mottola      1.4   Analyze and respond to approximately 4 live/voicemail call, 1 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   9/16/2024   J Mottola      0.8   Analyze and respond to approximately 2 live/voicemail call, 2 email inquiries of LPG
                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
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                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
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                                      Agent Solutions.
      Date           Name    Hours    Narrative
53   9/17/2024   J Mottola      0.8   Analyze and respond to approximately 3 live/voicemail call inquiries of LPG consumers
                                      regarding general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
53   9/18/2024   J Mottola      0.5   Solutions.
                                      Revise   Frequently Asked Questions form provided to LPG consumers in response to
                                      telephone or email inquiries to reflect most commonly occurring questions/concerns in an
                                      effort to keep LPG consumers informed of developments in LPG's bankruptcy case.
53   9/18/2024   W Yones        0.4   Continued research and gather information for upcoming adversary proceeding filing
53   9/20/2024   J Mottola      1.5   Analyze and respond to approximately 5 live/voicemail call and 4 email inquiries of LPG
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                      consumers regarding general questions in light of LPG's bankruptcy to provide non-legal
                                      analysis and information to LPG consumers and identify LPG consumer's in need of
                                      immediate assistance and escalate said inquiries to Morning Law Group and/or Omni
                                      Agent Solutions.
53   9/23/2024   J Mottola      0.8   Analyze and respond to approximately 4 email inquiries of LPG consumers regarding
                                      general questions in light of LPG's bankruptcy to provide non-legal analysis and
                                      information to LPG consumers and identify LPG consumer's in need of immediate
                                      assistance and escalate said inquiries to Morning Law Group and/or Omni Agent
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                                      Solutions.
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                                  Azzure Capital LLC (143576-54)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00      4.00     $3,340.00
    M. Tyler Powell              Partner              $595.00      1.70     $1,011.50
    Yosina M. Lissebeck          Partner              $745.00       .20      $149.00
    Vanessa Rodriguez            Associate            $385.00       .10        $38.50
    Veneeta Jaswal               Associate            $460.00       .90      $414.00
                                                        TOTALS     6.90     $4,953.00
      Date           Name      Hours    Narrative
54   7/12/2024   C Celentino      1.9   Outline and review evidence of settlement brief
54   7/29/2024   V Rodriguez      0.1   Review of correspondence from Dinsmore Attorney T. Powell regarding conducting
                                        research on why California law should apply to the Azzure Note instead of New York law
                                        and research regarding remedies for usury in non-codified California statutes
54    8/1/2024   C Celentino      1.9   Settlement stipulation and plan confirmation with sharon weiss of azzure
54    8/6/2024   V Jaswal         0.9   Research and draft memorandum regarding remedies available for usury
54   8/12/2024   C Celentino      0.2   Correspond with sharon re mediation
54   8/21/2024   MT Powell        0.6   Draft email to C. Celentino and Y. Lissebeck re expert witness for Azzure mediation,
                                        questions and documents to be produced from Azzure, and involvement of BAE with
                                                                                                                                                                             Case 8:23-bk-10571-SC




                                        Debtor to consider in light of upcoming mediation with Azzure.
54   8/22/2024   MT Powell        0.3   Review and respond to emails with J. McGarvey re retention as expert witness in Azzure
                                        dispute and terms of engagement letter.
54   9/18/2024   Y Lissebeck      0.1   Review emails re mediation and documents needed from T. Powell
54   9/19/2024   MT Powell        0.2   Draft email to J. Golden, counsel for Oxford Knox, re acceptance of a subpoena duces
                                        tecum for his client re documents regarding BAE Enterprises, LLC and review response.
54   9/19/2024   Y Lissebeck      0.1   Review email from T. Powell to S. Weize re documents for upcoming mediation
54   9/23/2024   MT Powell        0.6   Review joinder of committee to motion for summary judgment as to Azzure and consider
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                                        impact on existing motion and other arguments.
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                          MCA Capital Holdings LLC (143576-56)



                                                FEES
                NAME               TITLE                RATE      HOURS    TOTAL FEES
    John A. Stephens         Partner                   $545.00     10.00     $5,450.00
    Veneeta Jaswal           Associate                 $460.00      3.40     $1,564.00
    Wendy Yones              Paraprofessional          $305.00       .30        $61.50
                                                         TOTALS    13.70     $7,075.50
      Date            Name    Hours    Narrative
56   7/29/2024   J Stephens      0.1   Review email from Y. Lissebeck re: usury issues
56   7/29/2024   J Stephens      0.2   Review files re: same and prior MCA materials and prepare email re: same
56   7/29/2024   J Stephens      0.1   Conference with J. Bothamly re: same
56   7/29/2024   J Stephens      0.1   Conference with V. Jaswal re: same
56   8/15/2024   J Stephens      0.2   Review compilation of materials for possible MCA complaint against MCA Capital
56   8/15/2024   J Stephens      0.1   Conference with V. Jaswal
56   8/19/2024   J Stephens      0.3   Review files re: matrials on MCA Capital and repositories for additional materials
56   8/19/2024   J Stephens      0.2   Prepare email to V. Jaswal re: same
56   8/19/2024   V Jaswal        0.3   Plan and prepare to review all documents and analyze whether a complaint should be filed
                                                                                                                                                                              Case 8:23-bk-10571-SC




56   8/21/2024   J Stephens      0.1   Review email from V. Jaswal re: status of MCA Capital doucment review
56   8/21/2024   V Jaswal        0.2   Draft and send internal email summarizing all documents reviewed and whether relevant
                                       documents were discovered
56   8/22/2024   J Stephens      0.1   Review email from Y. Lissebeck re: MCA Capital complaint
56   8/23/2024   J Stephens      0.1   Review email from V. Jaswal re: status of MCA Capital review analysis
56   8/26/2024   J Stephens      0.2   Prepare email to V. Jaswal re: status of MCA Capital research and recommendation
56   8/27/2024   J Stephens      0.3   Review email from V. Jaswal re: MCA Capital materials and review materials
56   8/30/2024   J Stephens      0.4   Review additional materials on MCA Capital from V. Jaswal and W. Yones re: possible
                                                                                                                                  Main Document




                                       complaint
56    9/3/2024   V Jaswal        0.6   Review additional documents regarding potentially related entities to MCA Capital
                                       Holdings, LLC
56   9/10/2024   V Jaswal        0.1   Draft and send internal email confirming no priority or administrative claims filed by
                                       defendant
56   9/11/2024   J Stephens      0.1   Exchange email with V. Jaswal re: no MCA Capital Proof of Claim
56   9/11/2024   V Jaswal        0.6   Research to determine whether MCA Capital filed an administrative or priority claim
56   9/12/2024   J Stephens      0.2   Exchange email with V. Jaswal re: list of claims and MCA Capital
                                                                                                                                                   Page 334 of 501




56   9/12/2024   J Stephens      0.3   Review information from paralegal re: MCA Capital transfer materials
56   9/12/2024   V Jaswal        0.2   Review list of claims filed with Omni to confirm none filed by defendant
56   9/13/2024   J Stephens      0.3   Review files on MCA Capital re: lawsuit
56   9/13/2024   J Stephens      0.3   Exchange email with V. jaswal re: investigation of NY lawsuit
56   9/13/2024   J Stephens      0.3   Exchange email with W. Yones re: MCA Capital email documents
56   9/13/2024   J Stephens      0.2   Brief review of MCA Capital email
56   9/13/2024   V Jaswal        1.2   Research and inventory documents related to lawsuit filed by defendant against LPG
                                       before bankruptcy in New York
56   9/16/2024   J Stephens      0.3   Review additional materials
56   9/17/2024   J Stephens      0.3   Conference with paralegal W. Yones re: additional MCA Capital documents and brief
                                       review
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56   9/17/2024   V Jaswal        0.2   Review records to determine whether defendant received aa post-petition payment
      Date            Name    Hours    Narrative
56   9/17/2024   W Yones         0.3   Research and gather information for upcoming adversary proceeding filing
56   9/18/2024   J Stephens      0.8   Continue review of MCA Capital email re: sources of LPG fund distributions and amounts
56   9/18/2024   J Stephens      0.3   Review LPG email re: possible d/b/a/s for MCA Capital
56   9/18/2024   J Stephens      0.3   Review information from NY Department of State re: multiple MCA Capital entities
56   9/18/2024   J Stephens      0.4   Review bank statement re: MCA Capital distributions
56   9/19/2024   J Stephens      0.3   Review NY Secretary of State information for MCA Capital and related entities
56   9/19/2024   J Stephens      0.5   Access NY Secretary of State website re: additional filings by entities to determine
                                       overlapping officials
56   9/19/2024   J Stephens      0.4   Access NY Supreme Court website re: MCA Capital v. LPG
                                                                                                                                                                            Case 8:23-bk-10571-SC




56   9/19/2024   J Stephens      0.3   Additional online research re: same
56   9/20/2024   J Stephens      0.3   Meeting with paralegal re: additional research of MCA Capital NY lawsuit and of MCA
                                       Capital possible affiliates
56   9/20/2024   J Stephens      0.3   Exchange email re: same and JHS NY bar information
56   9/20/2024   J Stephens      0.2   Exchange email with V. Jaswal re: additional investigation
56   9/23/2024   J Stephens      0.2   Exchange email with paralegal re: NY court records in MCA Capital lawsuit and JHS NY
                                       bar credentials
56   9/23/2024   J Stephens      0.6   Review all available MCA Capital materials re: possible basis for lawsuit
                                                                                                                                Main Document




56   9/23/2024   J Stephens      0.3   Prepare email to T. Powell re: MCA Capital materials and documents in his possession
                                                                                                                                                 Page 335 of 501

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                                                                    EXHIBIT "D"
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       MCDVI Fund 2 LLC, MCDVI Fund 2, LLC, Debt Validation Fund II, LLC, Venture

                          Partners, LLC and ProofPositive (143576-57)



                                             FEES
               NAME                  TITLE           RATE       HOURS   TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00       .10       $74.50
                                                      TOTALS      .10       $74.50
                           Case 8:23-bk-10571-SC                      Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
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                                                                                                                 EXHIBIT "D"
                                                                                                                     Page 336
Review email from N. Cooper re MCDVI parties and accounting records
Narrative
   0.1
Hours
Y Lissebeck
     Name
8/27/2024
 Date
                                      57
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                                ProofPositive LLC (143576-59)



                                             FEES
               NAME                  TITLE           RATE      HOURS    TOTAL FEES
    M. Tyler Powell            Partner              $595.00       .60      $357.00
    Yosina M. Lissebeck        Partner              $745.00       .40      $298.00
                                                      TOTALS     1.00      $655.00
      Date           Name      Hours    Narrative
59   9/17/2024   MT Powell        0.6   Review and respond to email from T. Hanson re payments to Proofpositive and Venture
                                        Partners with questions about the information he provided regarding transactions between
                                        Debtor and Venture Partners and Proofpositive.
59   9/17/2024   Y Lissebeck      0.2   Review various emails between T. Powell and T. Hanson re avoidance action, documents
                                        to produce and analysis to be done by T. Hanson in defense of action
59   9/23/2024   Y Lissebeck      0.2   Review email from T. Hanson re obtaining information related to avoidance actions and
                                        documents related thereto
                                                                                                                                                                               Case 8:23-bk-10571-SC
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                              Venture Partners, LLC (143576-60)



                                             FEES
               NAME                  TITLE           RATE      HOURS   TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00      .10       $74.50
                                                      TOTALS     .10       $74.50
      Date            Name     Hours    Narrative
60   9/11/2024   Y Lissebeck      0.1   Review email from T. Hanson re demand for documents related to marketing and affiliate
                                        actions, and review email from T. Powell in reply
                                                                                                                                                                             Case 8:23-bk-10571-SC
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                                    OHP-CDR, LP (143576-62)



                                                    FEES
                NAME                   TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner                   $835.00      4.90     $4,091.50
    Wendy Yones                  Paraprofessional          $205.00      3.30      $676.50
                                                             TOTALS     8.20     $4,768.00
      Date           Name      Hours    Narrative
62   7/15/2024   W Yones          1.2   Compare client file purchase lists for OHP and Validation Partners for use Y. Lissebeck
62   7/16/2024   C Celentino      1.8   Review revise and edit MSJ re OHP on preference
62   7/16/2024   W Yones          2.1   Continue to compare client file purchase lists for OHP and Validation Partners for use Y.
                                        Lissebeck
62    8/1/2024   C Celentino      3.1   Settlement negotiations and multiple draft exhanges to settlment reached
                                                                                                                                                                                Case 8:23-bk-10571-SC
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                  Adv. Case No. 24-1001 - Secured Creditor Liquidation (143576-63)



                                                   FEES
                 NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Christopher B. Ghio         Partner                   $625.00      1.40       $875.00
    Christopher Celentino       Partner                   $835.00      3.30      $2,755.50
    Matthew Tyler Powell        Partner                   $595.00     83.80     $49,861.00
    John H. Stephens            Partner                   $545.00       .20       $109.00
    Yosina M. Lissebeck         Partner                   $745.00     57.10     $42,539.50
    Brandon E. Lira             Associate                 $355.00     10.60      $3,763.00
    Vanessa Rodriguez           Associate                 $385.00       .20         $77.00
    Jessica M. Lavin            Associate                 $375.00      7.70      $2,887.50
    Wendy Yones                 Paraprofessional          $205.00     11.70      $2,398.50
    Jennifer E. Pitcock         Paraprofessional          $215.00      4.60       $989.00
                                                            TOTALS   180.60    $106,255.00
     Date            Name     Hours    Narrative
63   7/1/2024   MT Powell          1   Draft Declaration of Y. Lissebeck for motion for summary judgment against Bridge.
63   7/1/2024   MT Powell        3.3   Draft and revise motion for summary judgment against Azzure.
63   7/1/2024   MT Powell        0.7   Finalize undisputed facts and conclusions of law.
63   7/1/2024   MT Powell        0.7   Revise and forward declarations of J. Teeple to him for review and approval
63   7/1/2024   MT Powell        0.5   Draft and revise Declaration of Y. Lissebeck.
63   7/1/2024   MT Powell        0.3   Telephone call with J. Teeple re requested changes to declaration
63   7/1/2024   Y Lissebeck      0.2   Review email from T. Powell re status of motions and respond
63   7/1/2024   Y Lissebeck      0.5   Review various issues for use in azure motion for summary judgment and respond with
                                       comments
                                                                                                                                                                               Case 8:23-bk-10571-SC




63   7/1/2024   Y Lissebeck      0.1   Review email from J. Teeple re declaration and response
63   7/1/2024   Y Lissebeck      0.1   Draft email re declaration to T. Powell, review response and reply
63   7/1/2024   Y Lissebeck      0.1   Discuss filing motions with Trustee
63   7/1/2024   Y Lissebeck      0.1   Discuss filing motions with T. Powell
63   7/1/2024   Y Lissebeck      0.4   Review Lissebeck declaration in support of Azzure motion and supporting exhibits
63   7/1/2024   Y Lissebeck      0.1   Review email from T. Powell re J. Teeple declaration
63   7/1/2024   Y Lissebeck      0.1   Review and Respond to email from T. Powell re diverse
63   7/2/2024   J Lavin          1.9   Assess and analyze Settlement Terms Sheet, Proof of Claim, and Complaint for purposes
                                                                                                                                   Main Document




                                       of preparing Settlement Agreement between Trustee and MNS Funding. (181 pages)
63   7/2/2024   J Lavin            1   Prepare draft Settlement Agreement between Trustee and MNS Funding.
63   7/2/2024   J Lavin          2.6   Prepare draft Motion for Order Approving Settlement Agreement as to MNS Funding and
                                       Declaration of Richard Marshack in support of same.
63   7/2/2024   MT Powell        2.5   Finalize Lissebeck and Teeple declarations for motion for summary judgment against
                                       Azzure
63   7/2/2024   MT Powell         1    Draft and revise Teeple and Lissebeck declarations for motion for summary judgment
                                       against Diverse for execution.
                                                                                                                                                    Page 345 of 501




63   7/2/2024   MT Powell        2.3   Finalize motion for summary judgment against Azzure and all related pleadings for filing.
63   7/2/2024   MT Powell        1.5   Continue drafting motion for summary judgment against Diverse Capital and undisputed
                                       facts and conclusions of law for Diverse Capital motion.
63   7/2/2024   W Yones          2.1   Organize, mark and finalize exhibits and all supporting documents for the summary
                                       judgment motion regarding Azzure Capital LLC
63   7/2/2024   Y Lissebeck      0.3   Review exhibits to declaration
63   7/2/2024   Y Lissebeck      0.2   Review settlement email from secured parties
63   7/2/2024   Y Lissebeck      0.1   Draft email to trustee and OCC with copies of documents for Azzure Motion
63   7/2/2024   Y Lissebeck      0.3   Review diverse declarations and emails re finalizing motions
63   7/2/2024   Y Lissebeck      0.5   Revise and finalize NOL documents
63   7/2/2024   Y Lissebeck      0.2   Telephone call with T. Powell re NOL and findings of fact
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63   7/2/2024   Y Lissebeck      0.4   Finalize and authorizing all documents against azzure for filing
     Date            Name     Hours    Narrative
63   7/2/2024   Y Lissebeck      0.2   Review questions from J. Lavin re 9019 settlement with MNS and respond
63   7/2/2024   Y Lissebeck      0.4   Research re section 548 and forward 9th circuit law to T. Powell for diverse motion
63   7/2/2024   Y Lissebeck      0.2   Review and respond to various emails re finalizing motions and declarations for azzure
                                       filing
63   7/2/2024   Y Lissebeck      0.1   Review email to J. Teeple re diverse declaration
63   7/2/2024   Y Lissebeck      0.1   Review email to N. Rapoport re declaration in diverse
63   7/2/2024   Y Lissebeck      0.2   Review and respond to email re J. Teeple declaration and UCC statement and adding that
                                       to YML declaration if needed
63   7/2/2024   Y Lissebeck      0.2   Review declaration of YML and execute for filing
                                                                                                                                                                             Case 8:23-bk-10571-SC




63   7/3/2024   MT Powell        2.5   Draft and revise memorandum of law for motion for summary judgment against Bridge
                                       Capital and related pleadings.
63   7/3/2024   MT Powell        0.8   Draft and finalize declaration of N. Rapoport for motion for summary judgment against
                                       Diverse.
63   7/3/2024   MT Powell         2    Finish drafting and revising undisputed facts and conclusions of law for motion for
                                       summary judgment against Bridge Funding
63   7/3/2024   MT Powell         2    Finish drafting memorandum of law in support of motion for summary judgment against
                                       Diverse Capital and related pleadings.
                                                                                                                                 Main Document




63   7/3/2024   W Yones          2.2   Organize, mark and finalize exhibits and all supporting documents for the summary
                                       judgment motion regarding Bridge Funding Cap LLC
63   7/3/2024   W Yones          2.1   Organize, mark and finalize exhibits and all supporting documents for the summary
                                       judgment motion regarding Diverse Capital LLC
63   7/3/2024   Y Lissebeck      0.1   Review various rules re POS and ECF service and forward to W. Yones for use
63   7/3/2024   Y Lissebeck      0.1   Review final documents for bridge summary judgment and clean up final typos
63   7/3/2024   Y Lissebeck      0.2   Telephone call with Trustee re status of motions and settlement
63   7/3/2024   Y Lissebeck      0.1   Draft email to OCC and trustee team with copy of Bridge motion for summary judgment for
                                                                                                                                                  Page 346 of 501




                                       their review and consideration
63   7/3/2024   Y Lissebeck      1.2   Review and revise Bridge Motion for Summary Judgment
63   7/3/2024   Y Lissebeck      0.8   Review and revise YML bridge declaration in support of summary judgment
63   7/3/2024   Y Lissebeck      0.2   Review and approve Diverse motion for summary judgment for filing
63   7/3/2024   Y Lissebeck      0.2   Respond to secured creditor email re settlement offer and meeting
63   7/3/2024   Y Lissebeck      0.1   Draft email to OCC and trustee team with copy of diverse motion for summary judgment
                                       for their review and consideration
63   7/3/2024   Y Lissebeck      0.2   Telephone call with T. Powell re diverse motion for summary judgment
63   7/3/2024   Y Lissebeck        1   Review and revise diverse motion for summary judgment
63   7/3/2024   Y Lissebeck      0.6   Review all exhibits to diverse summary judgment motion and declaration
                                                                                                                                                                                Page 345




63   7/3/2024   Y Lissebeck      0.8   Review and revise YML declaration in support of summary judgment
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63   7/3/2024   Y Lissebeck      0.1   Review and respond to emails re declaration for bridge motion and revisions thereto
     Date             Name     Hours    Narrative
63   7/3/2024    Y Lissebeck      0.1   Review and respond to emails re declarations for diverse motion and revisions thereto
63   7/5/2024    MT Powell        1.5   Draft and revise settlement agreement between Trustee and MNS
63   7/5/2024    MT Powell        0.6   Review and respond to emails from counsel in Bridge adversary re settlement discussions
                                        and upcoming hearings.
63    7/5/2024   MT Powell        0.2   Review and respond to email from counsel for Diverse Capital re hearing date and
                                        settlement.
63    7/5/2024   Y Lissebeck      0.1   Review email from Diverse re continuance of hearing date for MSJ, discuss with T. Powell
63    7/5/2024   Y Lissebeck      0.1   Review email to Diverse re continuance and settlement
63    7/5/2024   Y Lissebeck      0.1   Draft email to MNS re settlement and ballot
                                                                                                                                                                                Case 8:23-bk-10571-SC




63    7/5/2024   Y Lissebeck      0.2   Discuss settlement of MNS with T. Powell and revision to allowance of unsecured claim
                                        portion
63    7/8/2024   J Lavin          1.1   Continue to prepare draft Settlement Agreement and draft Motion for Order Approving
                                        Settlement Agreement as to MNS Funding and Declaration of Richard Marshack in
                                        support of same.
63    7/8/2024   MT Powell        0.3   Review and respond to email from counsel for Diverse Capital re settlement of secured
                                        creditor adversary.
63    7/8/2024   Y Lissebeck      0.1   Review email from Diverse re settlement offer, discuss same with T. Powell
                                                                                                                                    Main Document




63    7/8/2024   Y Lissebeck      0.2   Telephone call with trustee re settlement offer of PECC and extension request
63    7/8/2024   Y Lissebeck      0.1   Telephone call with trustee re settlement offer from Diverse and counteroffer
63    7/8/2024   Y Lissebeck      0.2   Review email from PECC re request for continuance of hearing and respond re no
                                        continuance but request for counteroffer
63    7/8/2024   Y Lissebeck      0.2   Draft email to trustee and OCC re diverse settlement offer and provide suggested counter-
                                        offer
63    7/9/2024   Y Lissebeck      0.1   Review email from N. Koffroth re various settlements and respond re case status and
                                        strategy
                                                                                                                                                     Page 347 of 501




63    7/9/2024   Y Lissebeck      0.2   Review email from PECC re settlement offer, forward to trustee for review and comment
63   7/10/2024   MT Powell        0.4   Briefly review objections of OHP and PECC to motions for summary judgment.
63   7/10/2024   Y Lissebeck      0.2   Review and respond to emails from trustee re settlement with PECC
63   7/10/2024   Y Lissebeck      0.1   Draft further email to trustee and OCC team re settlement
63   7/10/2024   Y Lissebeck      0.2   Draft email to Pecc re settlement and filing objection
63   7/11/2024   J Pitcock        0.3   Attention to pleadings filed by PECC Corp. in opposition to Trustee's Motion for Summary
                                        Judgment and follow up with T. Powell regarding same.
63   7/11/2024   MT Powell        1.1   Review objections to motions for summary judgment filed by PECC
63   7/11/2024   Y Lissebeck      0.1   Review email from T. Powell re oppositions to PECC summary judgment motion and
                                        respond
                                                                                                                                                                                   Page 346




63   7/11/2024   Y Lissebeck      0.1   Draft email to T. Powell and J. Lavin re MNS settlement and moving forward with
                                                                                                                                                                               EXHIBIT "D"
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                                        documents
      Date            Name     Hours    Narrative
63   7/11/2024   Y Lissebeck      0.1   Discuss opposition to PECC Summary judgment motion with trustee
63   7/11/2024   Y Lissebeck      0.1   Review email from C. Celentino re opposition to PECC summary judgment motion and
                                        respond
63   7/12/2024   J Lavin          1.1   Continue to prepare draft Settlement Agreement and draft Motion for Order Approving
                                        Settlement Agreement as to MNS Funding and Declaration of Richard Marshack in
                                        support of same.
63   7/12/2024   MT Powell          1   Revise and edit draft settlement agreement with MNS.
63   7/12/2024   MT Powell        0.5   Review response of PECC to motion for summary judgment and outline arguments for
                                        reply brief.
                                                                                                                                                                                Case 8:23-bk-10571-SC




63   7/12/2024   MT Powell        0.8   Review docket for pleadings on appointment of Trustee
63   7/12/2024   Y Lissebeck      0.1   Review email re settlement agreement from J. Lavin and respond re declaration and
                                        documents
63   7/12/2024   Y Lissebeck      0.2   Review email from T. Powell re settlement language and respond with proposed language
63   7/14/2024   Y Lissebeck      0.1   Review email from Bridge re continuance and hearing dates
63   7/14/2024   Y Lissebeck      0.1   Forward email to T. Powell with comments on how to respond to Bridge
63   7/14/2024   Y Lissebeck      0.1   Review docket information for hearing dates
63   7/15/2024   MT Powell        1.1   Review and revise draft settlement agreement with MNS
                                                                                                                                    Main Document




63   7/15/2024   MT Powell        0.3   Review and respond to email from M. Ludwig re date of hearing and change in briefing
                                        schedule. Confirm hearing date and time with docket entries.
63   7/15/2024   MT Powell        2.3   Begin drafting reply to PECC objection to motion for summary judgment.
63   7/15/2024   MT Powell        0.8   Research cases on new value and forbearance for reply to PECCs objection to motion for
                                        summary judgment.
63   7/15/2024   Y Lissebeck      0.4   Review and revise settlement agreement with MNS
63   7/16/2024   MT Powell        3.5   Continue drafting reply to objection of PECC to motion for summary judgment.
63   7/16/2024   MT Powell          1   Research case law on sales with no new value being paid being treated as preferences for
                                                                                                                                                     Page 348 of 501




                                        reply to opposition of PECC Corp.
63   7/16/2024   Y Lissebeck      0.2   Review email from Diverse and respond with counteroffer to settlement
63   7/16/2024   Y Lissebeck      0.1   Review various emails to/from Bridge
63   7/16/2024   Y Lissebeck      0.2   Review PECC opposition to Motion for Summary Judgment in preparation for reviewing
                                        and revising reply
63   7/17/2024   J Pitcock        0.3   Prepare Proof of Service for Trustee's Reply in support of partial summary judgment.
63   7/17/2024   J Pitcock        0.3   Finalize and efile Plaintiff's Reply in Support of Motion for Partial Summary Judgment
                                        Against PECC Corp. Oversee service of same.
63   7/17/2024   MT Powell        1.5   Finish drafting and editing reply to opposition of PECC to motion for summary judgment to
                                        avoid recording of UCC statement.
                                                                                                                                                                                   Page 347




63   7/17/2024   Y Lissebeck      0.5   Review and revise PECC reply
                                                                                                                                                                               EXHIBIT "D"
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63   7/17/2024   Y Lissebeck      0.2   Review final PECC reply and authorize for filing
      Date            Name     Hours    Narrative
63   7/17/2024   Y Lissebeck      0.1   Draft email to parties with PECC reply for review and approval
63   7/18/2024   C Celentino      0.1   Confer re remaining liens and balances
63   7/18/2024   C Celentino      0.2   Discuss status of motions and arguments for hearings with C. Celentino and T. Powell
63   7/18/2024   C Celentino      0.2   Conference re diverse counteroffer and respond to email re settlement and strategy
63   7/18/2024   MT Powell        1.3   Prepare for conference call re Diverse settlement and waterfall of funds in plan
63   7/18/2024   Y Lissebeck      0.1   Discuss replies with C. Celentino and remaining liens and balances
63   7/18/2024   Y Lissebeck      0.3   Telephone call with trustee re settlements and strategy
63   7/18/2024   Y Lissebeck      0.2   Discuss status of motions and arguments for hearings with C. Celentino and T. Powell
63   7/18/2024   Y Lissebeck      0.3   Draft detailed email to OCC and Trustee team re money and settlements
                                                                                                                                                                              Case 8:23-bk-10571-SC




63   7/18/2024   Y Lissebeck      0.8   Telephone call with OCC re settlement
63   7/18/2024   Y Lissebeck      0.2   Telephone call with trustee re settlement
63   7/18/2024   Y Lissebeck      0.4   Draft term sheet with Diverse
63   7/18/2024   Y Lissebeck      0.3   Draft email to OCC and Trustee team re settlement offer from Diverse and provide
                                        information re secured creditor claims for context
63   7/18/2024   Y Lissebeck      0.2   Review diverse counteroffer and respond to email of C. Celentino re settlement and
                                        strategy
63   7/19/2024   C Celentino      0.2   Confer with team re MSJ with Bridge and Azzure and case strategy
                                                                                                                                  Main Document




63   7/19/2024   MT Powell        0.7   Review and respond to emails with R. Marshack, Trustee, and E. Hays, counsel for
                                        Trustee, re secured creditor settlements and strategy for upcoming hearings.
63   7/19/2024   MT Powell         1    Review and revise term sheet for Diverse settlement and forward to E. Birnberg, counsel
                                        for Diverse, for review.
63   7/19/2024   MT Powell        0.4   Discuss terms of term sheet and settlement with counsel for Diverse Capital
63   7/19/2024   Y Lissebeck      0.2   Review revised term sheet and respond with comments
63   7/19/2024   Y Lissebeck      0.1   Discuss settlements and 9019 motions with T.Powell
63   7/19/2024   Y Lissebeck      0.2   Review and respond to emails from T.Powell, C. Celentino and trustee re MSJ with Bridge
                                                                                                                                                   Page 349 of 501




                                        and Azzure and case strategy
63   7/19/2024   Y Lissebeck      0.1   Review and respond to emails from N. koffroth re Diverse settlement
63   7/19/2024   Y Lissebeck      0.1   Review email from T. Powell re Diverse settlement
63   7/22/2024   MT Powell        0.3   Review and respond to email from counsel for Diverse Capital re settlement term sheet.
63   7/22/2024   Y Lissebeck      0.1   Review various emails from T.powell re settlements
63   7/22/2024   Y Lissebeck      0.1   Review and respond to email from C. Burke re setting of hearing
63   7/23/2024   MT Powell        1.4   Draft and revise term sheet for settlement with Diverse Capital, LLC.
63   7/23/2024   MT Powell        1.3   Revise draft of motion to approve settlement agreement with MNS Funding.
63   7/23/2024   Y Lissebeck      0.2   Review email from T. Powell re revisions to Diverse settlement, respond thereto
63   7/24/2024   C Celentino      0.3   Review various emails from C. Celentino, T. Powell and E. Hays re stipulation and
                                        mediation issues with Azzure
                                                                                                                                                                                 Page 348
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      Date           Name      Hours    Narrative
63   7/24/2024   MT Powell        0.4   Review and respond to emails with S. Weiss counsel for Azzure re motion for summary
                                        judgment against Azzure Capital and plan deadlines.
63   7/24/2024   MT Powell        0.6   Review and respond to emails with accountants at Grobstein re list of known debtor
                                        accounts and outstanding balances in any accounts. Request identification of accounts
                                        with positive balances.
63   7/24/2024   MT Powell        0.5   Review and respond to multiple emails with E. Birnberg counsel for Diverse Capital re
                                        term sheet and other settlement details.
63   7/24/2024   Y Lissebeck      0.3   Review various emails from C. Celentino, T. Powell and E. Hays re stipulation and
                                        mediation issues with Azzure
                                                                                                                                                                                Case 8:23-bk-10571-SC




63   7/24/2024   Y Lissebeck      0.1   Review various emails from C. Haes and T. Powell re Bill.com supoena
63   7/24/2024   Y Lissebeck      0.2   Review various emails from T. Powwll re opposition of Bridge to MSJ
63   7/25/2024   C Celentino      0.2   Confer rere attachment issues and lien rights to proceeds, review various responses
                                        thereto
63   7/25/2024   J Pitcock        0.4   Review opposition pleadings filed by Bridge Funding to Plaintiff's Motion for Summary
                                        Judgment.
63   7/25/2024   J Pitcock        0.6   Finalize and file Stipulation Between Trustee and Diverse Capital and oversee service of
                                        same.
                                                                                                                                    Main Document




63   7/25/2024   MT Powell        0.8   Read and analyze objection of Bridge Funding Group and related pleadings.
63   7/25/2024   MT Powell        1.7   Review and analyze objection to motion for summary judgment filed by Bridge Funding
                                        Cap
63   7/25/2024   MT Powell        0.6   Draft and respond to email from N. Rapoport re additional declaration for reply to Bridge
                                        Funding Cap objection re interest in trust funds.
63   7/25/2024   MT Powell        0.4   Attention to executed term sheet with Diverse Capital and executed stipulation from E.
                                        Birnberg
63   7/25/2024   Y Lissebeck      0.2   Draft email to C. Celentino and E. Hays re attachment issues and lien rights to proceeds,
                                                                                                                                                     Page 350 of 501




                                        review various responses thereto
63   7/25/2024   Y Lissebeck      0.2   Review and respond to emails re stipulation to mediate with Azzure and subordination of
                                        lien to fees
63   7/25/2024   Y Lissebeck      0.1   Review various emails from S. Weise re stipulation and motion for summary judgment
63   7/26/2024   C Celentino      0.2   Confer re re MNS settlement and 9019 motion
63   7/26/2024   C Ghio           1.4   Review Nick Koffroth email and analysis re terms for continuance of Motion for Summary
                                        Judgment as to Azzure in connection with Confirmation.
63   7/26/2024   J Pitcock        0.3   Review Order continuing hearing on motion for partial summary judgment relating to
                                        Azzure Capital and update hearing calendar.
63   7/26/2024   MT Powell        0.7   Draft settlement agreement for Diverse Capital
                                                                                                                                                                                   Page 349




63   7/26/2024   MT Powell        0.3   Review and respond to offer of judgment from Bridge Funding Cap
                                                                                                                                                                               EXHIBIT "D"
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63   7/26/2024   Y Lissebeck      0.1   Review email from T. Powell to V. Rodriguez re usury issues and non-codified laws
      Date            Name     Hours    Narrative
63   7/26/2024   Y Lissebeck      0.1   Review email from M. Ludwig re setting up settlement call, respond to T. Powell re same
63   7/26/2024   Y Lissebeck      0.2   Review email from N. Koffroth re stipulation and mediation issues with Azzure, review
                                        response and reply
63   7/26/2024   Y Lissebeck      0.2   Review emails from T. Powell and C. Celentino re MNS settlement and 9019 motion
                                        between T. Powell and C. Celentino, send reply thereto
63   7/26/2024   Y Lissebeck      0.2   Review various emails from T. Powell re secured litigation status, replies and arguments
                                        on motions
63   7/29/2024   C Celentino      0.2   Confer re Azure settlement
63   7/29/2024   C Celentino      0.2   Confer re Azzure stipulation and mediation
                                                                                                                                                                                   Case 8:23-bk-10571-SC




63   7/29/2024   MT Powell        0.6   Draft and revise declaration of N. Rapoport for filing with reply in support of motion for
                                        summary judgment against Bridge Funding.
63   7/29/2024   MT Powell        0.6   Make final revisions to Declaration of N. Rapoport for possible use in reply in support of
                                        summary judgment motion against Bridge
63   7/29/2024   MT Powell         1    Discuss scope and potential claims under section 552 of the Bankruptcy Code with Y.
                                        Lissebeck
63   7/29/2024   Y Lissebeck      0.1   Review tentative re PECC
63   7/29/2024   Y Lissebeck      0.1   Telephone call with OCC re settlement of PECC
                                                                                                                                       Main Document




63   7/29/2024   Y Lissebeck      0.2   Review PECC settlement and forward to trustee for consideration with comments and
                                        suggested counteroffer
63   7/29/2024   Y Lissebeck      0.3   Draft detailed email re UCC lien research assignment to B. Lira
63   7/29/2024   Y Lissebeck      0.3   Review UCC emails re research needed related to liens
63   7/29/2024   Y Lissebeck      0.2   Review and respond to emails re diverse settlement
63   7/29/2024   Y Lissebeck      0.2   Review declaration and respond
63   7/29/2024   Y Lissebeck      0.4   Review Bridge Opposition
63   7/29/2024   Y Lissebeck      0.1   Review email from T. Powell with copy of Bridge documents and Rapoport Declaration
                                                                                                                                                        Page 351 of 501




63   7/29/2024   Y Lissebeck      0.2   Review emails re research on usury and forward to V. Jaswal, review response and reply
                                        thereto
63   7/29/2024   Y Lissebeck      0.2   Review various emails from C. Celentino re azure settlement
63   7/29/2024   Y Lissebeck      0.2   Review and respond to various emails from T. Powell re offer of judgment
63   7/29/2024   Y Lissebeck      0.2   Review various emails from T. Powell and C. Celentino re Azzure stipulation and
63   7/29/2024   Y Lissebeck      0.1   Review file re PECC motion
63   7/30/2024   B Lira           2.7   Review bankruptcy filings with attention to the effect of the bankruptcy court's orders upon
                                        the rights secured claimants
63   7/30/2024   MT Powell        1.4   Review lawsuits of Bridge Funding against LPG and text string between T. Diab and
                                        Fundura. Prepare list of open questions on payments and amounts owed.
                                                                                                                                                                                      Page 350




63   7/30/2024   MT Powell        0.4   Review edits to draft settlement agreement with Diverse Capital LLC
                                                                                                                                                                                  EXHIBIT "D"
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63   7/30/2024   MT Powell        2.6   Continue drafting and revising reply to opposition of Bridge Funding.
      Date           Name      Hours    Narrative
63   7/30/2024   MT Powell        1.4   Research and collect New York case law on release and waiver and certain Article 9
                                        provisions for use in reply to Bridge's opposition to summary judgment.
63   7/30/2024   MT Powell        1.5   Finish drafting and revisions to settlement agreement with MNS Funding
63   7/30/2024   Y Lissebeck      0.3   Review file and provide N. Koffroth with draft of insert re OHP issues for use in brief and
                                        forward to N. Koffroth with email explanation
63   7/30/2024   Y Lissebeck      0.3   Telephone call with trustee re settlement with PECC and OHP
63   7/30/2024   Y Lissebeck      0.1   Discuss settlement meeting with Bridge with T. Powell
63   7/30/2024   Y Lissebeck      0.1   Draft email to OCC with settlement offer to PECC
63   7/30/2024   Y Lissebeck      0.1   Draft email to trustee with revised Diverse settlement
                                                                                                                                                                                     Case 8:23-bk-10571-SC




63   7/30/2024   Y Lissebeck      0.1   Draft email to T. Powell with revised Diverse settlement
63   7/30/2024   Y Lissebeck      0.5   Review and authorize diverse settlement
63   7/30/2024   Y Lissebeck      0.2   Telephone call with T. Powell re Diverse settlement
63   7/30/2024   Y Lissebeck      0.1   Review email to Azzure with information re incoming proceeds and review reply from S.
                                        Weise
63   7/31/2024   B Lira           1.5   Analyze law concerning the effect of Section 552 upon the rights of secured creditors
                                        following the commencement of a Chapter 11 proceeding with attention to Ninth Circuit's
                                        interpretations of that statute
                                                                                                                                         Main Document




63   7/31/2024   B Lira           2.2   Draft memorandum of law concerning post-sale security issues in LPG's Chapter 11
                                        proceeding and related litigation
63   7/31/2024   B Lira           1.7   Analyze California law concerning the rights of secured creditors with attention to the
                                        perfectibility of security interests in the contractual rights of an obligor under the Uniform
                                        Commercial Code
63   7/31/2024   C Celentino      0.3   Conference with Trustee and team after hearing and discussion re case strategy
63   7/31/2024   J Pitcock        0.3   Revise exhibits to Declaration of Nancy Rapoport ISO Plaintiff's Motion for Partial
                                        Summary Judgment Against Bridge Funding.
                                                                                                                                                          Page 352 of 501




63   7/31/2024   J Pitcock        0.3   Draft Proof of service and conference with T. Powell regarding Trustee's Reply ISO Motion
                                        for Partial Summary Judgment Against Bridge.
63   7/31/2024   MT Powell        3.2   Prepare for and attend hearing on motions for summary judgment against OHP and PECC
                                        via zoom.
63   7/31/2024   MT Powell         1    Draft Declaration of Tyler Powell to be filed with Reply to Opposition to Bridge Summary
                                        Judgment Motion. Prepare exhibit for Declaration.
63   7/31/2024   MT Powell        2.5   Finish drafting and revising reply to opposition of Bridge Funding to Motion for Summary
                                        Judgment for filing.
63   7/31/2024   MT Powell        0.6   Review and respond to multiple emails re potential settlements with secured creditors in
                                        adversary proceeding both with Trustee and Y. Lissebeck and counsel for the creditors.
                                                                                                                                                                                        Page 351




63   7/31/2024   Y Lissebeck      0.1   Review PECC settlement and forward to client
                                                                                                                                                                                    EXHIBIT "D"
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63   7/31/2024   Y Lissebeck      0.2   Review and respond to various emails re stipulation with Azzure
      Date            Name     Hours    Narrative
63   7/31/2024   Y Lissebeck      0.3   Review stipulation with Azzure re plan treatment and stipulation to go to mediation on
                                        adversary matters
63   7/31/2024   Y Lissebeck      0.6   Review and revise Bridge Reply and discuss with T. Powell
63   7/31/2024   Y Lissebeck      0.3   Discuss case with trustee and C. Celentino after hearing and providing case strategy
                                        moving forward
63   7/31/2024   Y Lissebeck        1   Attend hearing on MSJ
63   7/31/2024   Y Lissebeck      0.5   Review files in preparation for hearing
63   7/31/2024   Y Lissebeck      0.1   Review various emails from P. Shankman re MNS related to settlement
63   7/31/2024   Y Lissebeck      0.2   Telephone call with trustee re settlement of PECC settlement
                                                                                                                                                                                Case 8:23-bk-10571-SC




63    8/1/2024   B Lira             1   Continue analyzing law concerning the effect of Section 552 upon the rights of secured
                                        creditors following the commencement of a Chapter 11 proceeding with attention to Ninth
                                        Circuit's interpretations of that statute
63    8/1/2024   B Lira           1.5   Continue drafting memorandum of law concerning post-sale security issues in LPG's
                                        Chapter 11 proceeding and related litigation
63    8/1/2024   C Celentino      0.1   Confer re emails to OCC re resolution of Azzure issues
63    8/1/2024   Y Lissebeck      0.2   Discuss settlement issues with C. Celentino re Azzure mediation and confirmation
63    8/1/2024   Y Lissebeck      0.1   Review email from MNS re settlement and respond
                                                                                                                                    Main Document




63    8/1/2024   Y Lissebeck      0.2   Telephone call with trustee re stipulation issues
63    8/1/2024   Y Lissebeck      0.1   Review further email from N. Koffroth re stipulation issues
63    8/1/2024   Y Lissebeck      0.1   Review email from S. Weisse re stipulation issues
63    8/1/2024   Y Lissebeck      0.1   Review emails from C. Celentino to OCC re resolution of Azzure issues
63    8/1/2024   Y Lissebeck      0.2   Telephone call with N. Koffroth re azzure issues
63    8/1/2024   Y Lissebeck      0.2   Discuss case strategy with T. Powell
63    8/1/2024   Y Lissebeck      0.3   Review various emails from N. Koffroth and Trustee re azzure issues
63    8/2/2024   C Celentino      0.1   Prepare email and confer re UCC issues
                                                                                                                                                     Page 353 of 501




63    8/2/2024   W Yones          1.1   Clean up, update and revise information in secured status creditor chart requested by the
                                        court for Y. Lissebeck's review
63    8/2/2024   Y Lissebeck      0.2   Review emails from MNS re settlement
63    8/2/2024   Y Lissebeck      0.3   Review file for secured creditor status, stipulations, settlements and termination
                                        statements to revise and update chart
63    8/2/2024   Y Lissebeck      0.1   Review and respond to email from E. Hays and C. Celentino re UCC issues
63    8/2/2024   Y Lissebeck      0.1   Draft email to associate re research and forward research to E. Hays
63    8/2/2024   Y Lissebeck      0.3   Review research re UCC liens and attachment to AR
63    8/2/2024   Y Lissebeck      0.5   Review and revise secured creditor chart inputting status of various creditors liens
63    8/4/2024   Y Lissebeck      0.1   Review email from MNS re settlement
63    8/5/2024   MT Powell        0.7   Review proposed changes to settlement agreement with Diverse Capital, LLC from E.
                                                                                                                                                                                   Page 352
                                                                                                                                                                               EXHIBIT "D"
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                                        Birnberg, its counsel
     Date            Name     Hours    Narrative
63   8/5/2024   Y Lissebeck      0.3   Review research re avoidance of fraudulent conveyances and preservation of rights for
                                       estate and respond to email of E. Hays re same
63   8/5/2024   Y Lissebeck      0.2   Review email from E. Birnberg re settlement language, review response from T. Powell
                                       and draft reply to T. Powell re same
63   8/5/2024   Y Lissebeck      0.1   Draft email to T. Powell re diverse settlement changes
63   8/5/2024   Y Lissebeck      0.2   Review email from E. Birnberg with revisions to Diverse settlement, and review revisions
63   8/5/2024   Y Lissebeck      0.1   Review and respond to email from T. Powell re MNS settlement and declaration
63   8/5/2024   Y Lissebeck      0.1   Review various emails from E. Hays, N. Koffroth and S. Weise re stipulation with Azzure
63   8/5/2024   Y Lissebeck        1   Draft declaration of Trustee in support of 9019 Motion
                                                                                                                                                                                 Case 8:23-bk-10571-SC




63   8/5/2024   Y Lissebeck        1   Review and revise 9019 motion with MNS
63   8/5/2024   Y Lissebeck      0.6   Review and revise MNS settlement agreement and forward for signature
63   8/6/2024   MT Powell        1.4   Draft and revise Declaration of Tyler Powell to file with Motion to Approve Settlement with
                                       MNS Funding and SSD Investments. Review documents from MNS to add details to
                                       Declaration.
63   8/6/2024   MT Powell        0.2   Draft email to counsel for Bridge dba Fundura re upcoming call and outstanding questions
                                       requiring answers before settlement discussions can progress.
63   8/6/2024   MT Powell        0.4   Revise Motion to Approve Settlement with MNS and Declaration of Tyler Powell in support
                                                                                                                                     Main Document




                                       of motion.
63   8/6/2024   W Yones          0.8   Gather information and begin preparation of 9019 motion to settle with Diverse Capital,
                                       LLC for Y. Lissebeck's review and revision
63   8/6/2024   Y Lissebeck      0.2   Review various emails from T. Powell re settlements with MNS and diverse and respond
63   8/6/2024   Y Lissebeck      0.1   Review hearing dates for settlement motion
63   8/6/2024   Y Lissebeck      0.2   Draft email to OCC with copies of settlements and draft motions for settlement
63   8/6/2024   Y Lissebeck      0.2   Review emails from MNS re revisions to motion and respond
63   8/6/2024   Y Lissebeck      0.1   Draft email to Diverse attorney re 9019 motion documents and settlement
                                                                                                                                                      Page 354 of 501




63   8/6/2024   Y Lissebeck      0.1   Draft email to MNS with settlement and 9019 motion documents for review and for
                                       signature
63   8/7/2024   MT Powell        0.3   Review and respond to emails with Y. Lissebeck re execution and finalization of motions
                                       to approve settlements with MNS Funding, OHP, and Diverse Capital.
63   8/7/2024   MT Powell        0.4   Review summary of California usury statutes to identify claims against Azzure.
63   8/7/2024   MT Powell        1.2   Revise and finalize my declaration for Motion to Approve Settlement with MNS Funding
63   8/7/2024   MT Powell        1.1   Draft and revise my declaration for Motion to Approve Settlement with Diverse Capital
63   8/7/2024   MT Powell        1.3   Finish drafting and revising motions to approve settlements with (i) MNS Funding and (ii)
                                       Diverse Capital and declarations of Trustee R. Marshack to be filed with the Motions.
63   8/7/2024   W Yones          1.8   Gather information and compile exhibits in support of the Trustee's Motion to Settle with
                                                                                                                                                                                    Page 353




                                       MNS/SSD
                                                                                                                                                                                EXHIBIT "D"
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63   8/7/2024   Y Lissebeck      0.1   Review email from T. Powell re diverse settlement and respond
     Date             Name     Hours    Narrative
63   8/7/2024    Y Lissebeck      0.6   Review, revise and finalize Diverse documents
63   8/7/2024    Y Lissebeck      0.3   Review and finalize MNS documents
63   8/7/2024    Y Lissebeck      0.3   Telephone call with trustee re settlement
63   8/7/2024    Y Lissebeck      0.2   Review and revise diverse declaration of trustee and forward to trustee for review and
                                        execution
63    8/7/2024   Y Lissebeck      0.3   Review, revise and finalize mns motion and supporting documents
63    8/7/2024   Y Lissebeck      0.3   Review and revise diverse 9019 motions and supporting declaration
63    8/7/2024   Y Lissebeck      0.3   Review and revise declaration of Trustee in support of MNS motion and discuss
                                        organization of exhibits
                                                                                                                                                                                 Case 8:23-bk-10571-SC




63    8/7/2024   Y Lissebeck      0.1   Discuss hearing date with W. Yones and finalizing MNS motion
63    8/7/2024   Y Lissebeck      0.1   Review email from T. Powell re mns settlement and respond
63    8/7/2024   Y Lissebeck      0.1   Discuss hearing date with C. Burke and finalizing diverse motion
63    8/8/2024   MT Powell        0.3   Review and approve notice of filing of executed declaration to Motion to Approve
                                        Settlement with MNS Funding.
63    8/8/2024   MT Powell        0.3   Draft emails to P. Shankman, counsel for MNS Funding, and E. Birnberg, counsel for
                                        Diverse Funding, re need to return executed settlement agreements to file as a
                                        supplement to the motions.
                                                                                                                                     Main Document




63    8/8/2024   W Yones          0.3   Gather information and update (for court) Secured Creditor Status chart for Y. Lissebeck's
                                        review
63    8/8/2024   Y Lissebeck      0.1   Review email from T. Powell re Diverse settlement
63    8/8/2024   Y Lissebeck      0.2   Review email from E. Birnberg re diverse settlement and final version, respond with copy
                                        of final version for signature
63    8/8/2024   Y Lissebeck      0.1   Review email from P. Shankman re MNS settlement
63    8/9/2024   MT Powell        0.4   Draft notice of supplemental filing for executed settlement agreements with Diverse
                                        Capital and MNS Funding
                                                                                                                                                      Page 355 of 501




63    8/9/2024   W Yones          0.2   Start preparation of and format exhibits to supplemental notice regarding Trustee's Motion
                                        to Settle with Diverse and MNS/SSB
63    8/9/2024   Y Lissebeck      0.2   Review and respond to emails from Diverse re signed settlement and continuing hearing
                                        to the 29th
63   8/12/2024   J Stephens       0.2   Exchange email re: HiBar case
63   8/12/2024   W Yones          0.3   Prepare and finalize exhibits and supplemental notice regarding Trustee's Motion to Settle
                                        with Diverse for Y. Lissebeck review, filng and service
63   8/12/2024   Y Lissebeck      0.1   Review email from P. Shankman re settlement of MNS
63   8/12/2024   Y Lissebeck      3.8   Review Bridge documents, filed documents, motion, and opposition in preparation for
                                        hearing on Summary Judgment Motion
                                                                                                                                                                                    Page 354




63   8/12/2024   Y Lissebeck      0.1   Draft email to E. Birnberg re hearing date and opposition, review response and reply
                                                                                                                                                                                EXHIBIT "D"
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63   8/12/2024   Y Lissebeck      0.2   Review and approve supplemental filing attaching signed diverse settlement
      Date            Name     Hours    Narrative
63   8/13/2024   C Celentino      0.3   Confer re oral argument
63   8/13/2024   Y Lissebeck        2   Review file and prepare for oral argument on Bridge Motion for Summary judgment
63   8/13/2024   Y Lissebeck      0.3   Discuss oral argument with C. Celentino
63   8/13/2024   Y Lissebeck      0.3   Discuss oral argument with T. Powell
63   8/13/2024   Y Lissebeck      0.5   Review file and review research re UCC issues related to termination
63   8/14/2024   C Celentino      0.2   Confer re hearing
63   8/14/2024   MT Powell        2.2   Prepare for and attend hearing on motion for summary judgment against Bridge Funding
                                        Cap in Marshack v. Bridge Funding adversary proceeding.
63   8/14/2024   MT Powell        0.5   Review and respond to emails from S. Berkovitch, counsel for Fundura, re breakdown of
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        balances owed on agreements with Fundura
63   8/14/2024   V Rodriguez      0.2   Review of several correspondences from the LPG team re researching law that discusses
                                        a UCC3 termination statement that is terminated and the secured party disputes it in
                                        preparation for a hearing.
63   8/14/2024   W Yones          0.6   Revise, format and redact exhibits and Amended Declaration of Tyler Powell in support of
                                        Settlement with Diverse
63   8/14/2024   Y Lissebeck      2.3   Prepare for Bridge Motion for Summary Judgment
63   8/14/2024   Y Lissebeck      0.3   Discuss hearing with Trustee
                                                                                                                                   Main Document




63   8/14/2024   Y Lissebeck      1.5   Attend and participate in oral argument re Bridge Motion for Summary Judgment
63   8/14/2024   Y Lissebeck      0.2   Discuss hearing with trustee
63   8/14/2024   Y Lissebeck      0.2   Discuss hearing with C. Celentino
63   8/14/2024   Y Lissebeck      0.1   Review and respond to email re Diverse settlement and amendment to declaration
63   8/15/2024   MT Powell        0.4   Review and respond to emails with S. Berkowitz re balances owed on third and fourth
                                        agreements and payments of the debtor.
63   8/15/2024   MT Powell        0.4   Review and revise declaration for filing of executed settlement agreement with Diverse.
63   8/15/2024   Y Lissebeck      0.2   Review emails re diverse declaration
                                                                                                                                                    Page 356 of 501




63   8/16/2024   C Celentino      0.1   Email re PECC judgment and order and respond
63   8/16/2024   C Celentino      0.2   Emails re stipulation with Azzure
63   8/16/2024   MT Powell        0.2   Draft email to Trustee R. Marshack requesting execution of settlement agreement with
                                        MNS and SSD
63   8/16/2024   MT Powell        0.3   Review and finalize notice of filing of executed settlement agreement between MNS and
                                        SSD and the Trustee for filing
63   8/16/2024   W Yones          0.2   Assemble Amended Powell Declaration and exhibits regarding settlement with MNS and
                                        SSG for attorney review, filing and service
63   8/16/2024   Y Lissebeck      0.1   Review email from C. Celentino re PECC judgment and order and respond
63   8/16/2024   Y Lissebeck      0.2   Review and respond to email from MNS re signature of MNS and filing supplement to
                                                                                                                                                                                  Page 355




                                        court record with signed settlement, discuss same with T. Powell
                                                                                                                                                                              EXHIBIT "D"
                                                                                                                                   Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
      Date            Name     Hours    Narrative
63   8/16/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino, N. Koffroth and E. Hays re stipulation
                                        with Azzure
63   8/19/2024   Y Lissebeck      0.2   Review email from T. Powell re MNS and information received from creditor re
                                        worldglobal, respond re following up on information received
63   8/21/2024   Y Lissebeck      0.2   Review and respond to email from T. Powell re Azzure issues and obtaining information
                                        related to claims before mediation
63   8/21/2024   Y Lissebeck      0.3   Telephone call with T. Powell re Azzure issues and further issues related to Bridge Motion
                                        pending ruling
63   8/21/2024   Y Lissebeck      0.2   Review and respond to email from T. Powell re UCC1 expert retention and moving forward
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        with Azzure mediation
63   8/22/2024   MT Powell        0.3   Review and respond to detailed emails from investor in LPG re questions about MNS
                                        Settlement.
63   8/22/2024   MT Powell        0.3   Review and respond to emails with Y. Lissebeck, P. Shankman, and E. Birnberg re
                                        hearings on approval of settlements.
63   8/22/2024   Y Lissebeck      0.3   Review and respond to various emails from P. Shankman re MNS settlement, no
                                        objections to settlement, hearing and amending proof of claim
63   8/27/2024   MT Powell        0.6   Follow up with Marshack and Hayes and accountants re additional bank records needed
                                                                                                                                     Main Document




                                        for post-petition transfers.
63   8/27/2024   MT Powell        0.3   Draft email to S. Weiss re production of information and documents from Azzure in light of
                                        ruling on motion for summary judgment against Bridge.
63   8/27/2024   MT Powell        0.6   Review Court's opinion on motion for summary judgment against Bridge
63   8/27/2024   Y Lissebeck      0.5   Review order on motion for summary judgment re Bridge
63   8/27/2024   Y Lissebeck      0.2   Telephone call with T. Powell re order and moving forward with Azzure
63   8/27/2024   Y Lissebeck      0.1   Telephone call with N. Koffroth re order and confirmation issues related thereto
63   8/27/2024   Y Lissebeck      0.1   Telephone call with Trustee re order and confirmation issues related thereto
                                                                                                                                                      Page 357 of 501




63   8/27/2024   Y Lissebeck      0.2   Draft email to trustee and OCC team re order granting trustee's motion
63   8/28/2024   Y Lissebeck      0.1   Review and respond to email from E. Lee re settlements and moving forward with targets
63   8/30/2024   MT Powell        0.8   Draft and revise orders approving motions to settle with MNS Funding and Diverse
63   8/30/2024   Y Lissebeck      0.2   Review and finalize orders on Diverse settlement and on MNS settlement
63    9/4/2024   Y Lissebeck      0.2   Review and respond to various emails from E. BIrnberg re status of settlement with
                                        Diverse, confirmation hearing, and effective date
63    9/5/2024   MT Powell        0.6   Review orders granting motions for summary judgment to determine if they were final
                                        orders
63    9/5/2024   Y Lissebeck      0.2   Review and respond to email re New Horizon settlement and 9019 motion
63    9/5/2024   Y Lissebeck      0.2   Draft email to OCC N. Kofroth and K. Ownes with notice of settlement
                                                                                                                                                                                    Page 356




63    9/5/2024   Y Lissebeck      0.3   Review and comment to T. Powell on 9019 motion
                                                                                                                                                                                EXHIBIT "D"
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63    9/6/2024   Y Lissebeck      0.1   Review and respond to email from T. Powell re finality of order and appeal
     Date            Name      Hours    Narrative
63   9/9/2024    MT Powell        0.7   Review posture of suit and nature of claims remaining post-confirmation for PECC and
                                        Bridge.
63   9/11/2024   J Pitcock        0.4   Review Notice of Appeal, forward same to T. Powell, calendar Appellant's Designation
                                        deadline.
63   9/11/2024   MT Powell        0.4   Review and respond to emails from counsel for secured creditors who settled claims
                                        during the case regarding payment and information needed.
63   9/11/2024   Y Lissebeck      0.1   Review and respond to various emails from P. Shankman re payment to MNS
63   9/11/2024   Y Lissebeck      0.1   Review various emails from T. Powell requesting w9s and responses and questions from
                                        secured parties re payment timing
                                                                                                                                                                              Case 8:23-bk-10571-SC




63   9/16/2024   J Pitcock        0.6   Draft Notices of Dismissal of Diverse Capital, LLC and MNS Funding, LLC for T. Powell's
                                        review.
63   9/18/2024   Y Lissebeck      0.1   Review Notice of Dismissal of Diverse and comment re revisions to caption and Proof of
                                        service to T. Powell
63   9/18/2024   Y Lissebeck      0.1   Review Notice of Dismissal of MNS and comment re revision to caption and Proof of
                                        Service to T. Powell
63   9/19/2024   J Pitcock        0.8   Finalize Notices of Dismissal of Diverse Capital and MNS Funding, draft Proofs of
                                        Service, file and serve same.
                                                                                                                                  Main Document




63   9/23/2024   C Celentino      0.2   Confer re notice of joinder by OCC to MSJ and confer with team re same
63   9/23/2024   Y Lissebeck      0.2   Review notice of joinder by OCC to MSJ and forward to Trustee, C. Celentino and T.
                                        Powell for review
                                                                                                                                                   Page 358 of 501

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                         Adv. Case No. 24-1080 (BMF Advance LLC) (143576-64)



                                                    FEES
                NAME                    TITLE               RATE      HOURS    TOTAL FEES
    Christopher Celentino         Partner                  $835.00       .60      $501.00
    John H. Stephens              Partner                  $545.00     27.10    $14,769.50
    M. Tyler Powell               Partner                  $595.00       .60      $357.00
    Yosina M. Lissebeck           Partner                  $745.00      4.50     $3,352.50
    Jacob R. Bothamley            Associate                $405.00      4.00     $1,620.00
    Veneeta Jaswal                Associate                $460.00     31.00    $14,260.00
                                  eDiscovery
    Robert J. Simmons                                      $365.00      1.80      $657.00
                                  Project Manager
                                                             TOTALS    69.60    $35,517.00
     Date             Name     Hours    Narrative
64   7/2/2024    J Stephens       0.2   Exchange email with V.Jaswal re: possible extension for BMF's response to the complaint
64   7/2/2024    V Jaswal         0.1   Assess whether an extension should be granted to BMF's new counsel to respond to
                                        complaint
64    7/2/2024   Y Lissebeck      0.1   Review answer to complaint
64    7/2/2024   Y Lissebeck      0.3   Draft email to V. Jaswal re deadlines and disclosures and meet and confer requirements,
                                        review response and reply
64    7/3/2024   J Stephens       0.2   Exchange email with paralegal re: BMFs answer to complaint
64    7/5/2024   J Bothamley      1.1   Review latest revisions to Firestar memo and, review relevant case law, add citations,
                                        analyze BMF complaint for further questions requiring analysis in memo.
                                                                                                                                                                              Case 8:23-bk-10571-SC




64    7/8/2024   J Bothamley      0.2   Meet with John Stephens re Firestar MCA memo and connection to BMF adversary
                                        proceeding. LPG/General
64    7/8/2024   J Stephens       0.2   Conference with HJ. Bothamly re: preparation of research on MCA agreements
64   7/10/2024   J Bothamley      1.3   Finish reviewing additional MCA and preference/fraudulent transfer case law to develop
                                        further analysis for Firestar/MCA memo.
64   7/10/2024   J Bothamley      1.4   Draft final analysis on MCA memo with additional case research and conclusion to memo
                                        and send to Y.L. with suggestions on possible further research.
64   7/10/2024   J Stephens       0.3   Conference with V. Jaswal re: preparation of initial disclosures and meet and confer
                                                                                                                                  Main Document




64   7/10/2024   Y Lissebeck      0.1   Review email from V. Jaswall re deadlines and meet and confer and respond thereto
64   7/16/2024   V Jaswal         0.1   Follow up regarding calendaring of all deadlines
64   7/16/2024   V Jaswal         0.2   Review procedure for admittance to California Central Bankruptcy Court
64   7/16/2024   Y Lissebeck      0.2   Review and respond to emails from V. Jaswal and J. Stephens re meet and confer and
                                        joint status report
64   7/17/2024   J Stephens       0.2   Review email from Y. Lissebeck re: initial disclosures
64   7/18/2024   V Jaswal         3.9   Review client documents in anticipation of preparing Rule 26 initial disclosure
64   7/19/2024   MT Powell        0.3   Review answer filed in adversary and draft email to E. Birnberg re relationship between
                                                                                                                                                   Page 360 of 501




                                        Diverse and BMF.
64   7/19/2024   MT Powell        0.3   Draft email to J. Stevens re drafts of summary judgment pleadings and prior
                                        communications with City Capital NY.
64   7/20/2024   J Stephens       0.2   Review email from T. Powell re: BMF ownership and possible resolution with Deiverse
                                        Capital and email from BMF's counsel
64   7/20/2024   J Stephens       0.2   Review email from T. Powell re: possible summary judgment against BMF and brief review
                                        of motion in similar case
64   7/22/2024   J Stephens       0.3   Exchange email with BMF's counsel re: Rule 26 preparation
64   7/22/2024   J Stephens       0.1   Exchange email with V. Jaswal re: same
64   7/22/2024   J Stephens       0.1   Review wmail re: preparation of initial disclosures
                                                                                                                                                                                 Page 359




64   7/22/2024   J Stephens       0.2   Exchange email with T. Powell re: possible settlement and Rule 26 disclosures
                                                                                                                                                                             EXHIBIT "D"
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64   7/22/2024   J Stephens       0.2   Exchange email with T. Powell re: City Capital's counsel and strategy
      Date            Name     Hours    Narrative
64   7/22/2024   V Jaswal         1.1   Review complaint in anticipation of drafting joint status report and initial disclosure
64   7/22/2024   V Jaswal         0.1   Email opposing counsel to schedule Rule 26 conference
64   7/22/2024   Y Lissebeck      0.1   Review various emails between bmf and T.Powell re meet and confer and settlements
64   7/22/2024   Y Lissebeck      0.1   Review email of V. Jaswal re joint status report
64   7/22/2024   Y Lissebeck      0.1   Review email from J. Stephen's re same
64   7/23/2024   J Stephens       0.3   Exchange email with T. Powell re: strategy for settling BMF case following Rule 26
                                        disclosures
64   7/24/2024   J Stephens       0.3   Exchange email with V. Jaswal re: outcome of meet and confer for status report and
64   7/24/2024   J Stephens       0.2   Conference re: transferor of funds
                                                                                                                                                                                    Case 8:23-bk-10571-SC




64   7/24/2024   V Jaswal         1.2   Prepare and plan for Rule 26 conference with opposing counsel
64   7/24/2024   V Jaswal         0.2   Draft and send internal summary of Rule 26 conference
64   7/24/2024   V Jaswal         0.5   Hold Rule 26 conference
64   7/25/2024   J Stephens       0.3   Exchange email (3) re: BMF's arguments in Rule 26 report
64   7/25/2024   V Jaswal         1.8   Continue reviewing documents in anticipation of preparing initial disclosure
64   7/29/2024   J Stephens       0.1   Review email from Y. Lissebeck re: usury issues
64   7/29/2024   J Stephens       0.2   Review files re: same and prior MCA materials and prepare email re: same
64   7/29/2024   J Stephens       0.1   Conference with J. Bothamly re: same
                                                                                                                                        Main Document




64   7/29/2024   J Stephens       0.1   Conference with V. Jaswal re: same
64   7/30/2024   J Stephens       0.8   Exchange email with V. Jaswal re: BMF litigation summary
64   7/30/2024   V Jaswal         0.2   Draft joint status report
64   7/30/2024   V Jaswal         0.2   Draft summary of procedural history for fee application
64   7/30/2024   V Jaswal         0.1   Send draft joint statement to opposing counsel for input
64   7/31/2024   J Stephens       0.8   Review email exchanges re: BMF's revisions to Joint Status Report
64   7/31/2024   V Jaswal         0.1   Follow up with opposing counsel regarding edits to joint status report
64   7/31/2024   V Jaswal         0.2   Revise joint status report and finalize for filing with the court
                                                                                                                                                         Page 361 of 501




64    8/1/2024   J Stephens       0.2   Exchange email re: final status report filing
64    8/1/2024   V Jaswal         0.1   Confirm joint report of filed
64    8/1/2024   V Jaswal         0.2   Review accountant information to determine whether defendant received a 549 transfer
                                        payment
64    8/5/2024   J Stephens       0.2   Review email (20 re: BMF initial disclosures
64    8/5/2024   J Stephens       0.3   Review complaint materials re: additional documents
64    8/5/2024   J Stephens       0.2   Prepare email re: same
64    8/5/2024   J Stephens       0.2   Review email from V. Jaswal re: same and Bates Numbers
64    8/5/2024   V Jaswal         2.2   Review all documents for privilege and confidentiality in anticipation of initial disclosures
64    8/5/2024   V Jaswal         0.3   Research requirements for initial disclosures
64    8/5/2024   V Jaswal         0.7   Draft initial disclosures
                                                                                                                                                                                       Page 360
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64    8/5/2024   V Jaswal         0.6   Research authority for California remedies available for usury
     Date            Name     Hours    Narrative
64   8/5/2024   Y Lissebeck      0.1   Review calendar and draft email to V. Jaswal re status of initial disclosures, review
                                       responses
64   8/6/2024   J Stephens       0.8   Review document compilation for BMF initial production
64   8/6/2024   J Stephens       0.2   Conference with V. Jaswal re: redactions and additional documents
64   8/6/2024   J Stephens       0.6   Search S Drive re: same
64   8/6/2024   J Stephens       0.2   Confernece with V. Jaswal re: additional documents redactions and labeling
64   8/6/2024   V Jaswal         3.9   Review, organize and redact PDF of relevant client documents for initial disclosure
                                       production
64   8/6/2024   V Jaswal         0.7   Continue drafting initial disclosure
                                                                                                                                                                               Case 8:23-bk-10571-SC




64   8/7/2024   J Stephens       0.3   Review email from V. Jaswal re: initial disclosures preparation revisions and email to V.
                                       Jaswal re: same
64   8/7/2024   J Stephens       0.3   Review email from V. Jaswal re: initial document production
64   8/7/2024   J Stephens       0.5   Review revised disclosures and modified (redacted) documents
64   8/7/2024   J Stephens       0.2   Exchange email and conference re: service
64   8/7/2024   R Simmons        1.8   Create production of documents for BMF Advance sub-matter
64   8/7/2024   V Jaswal         0.5   Revise and finalize initial disclosure
64   8/7/2024   V Jaswal         0.7   Draft memorandum regarding remedies for usury
                                                                                                                                   Main Document




64   8/7/2024   V Jaswal         2.6   Add additional redactions to initial disclosure document production and coordinate
                                       production
64   8/7/2024   Y Lissebeck      0.5   Review and revise initial disclosures
64   8/7/2024   Y Lissebeck      0.2   Draft email to V. Jaswal with information to include in initial disclosures
64   8/8/2024   J Stephens       0.2   Conference with v. jaswal re: BMF disclosures and document production
64   8/8/2024   J Stephens       0.4   Email exchange re: BMF meet and confer
64   8/8/2024   V Jaswal         0.3   Draft and send update to client regarding initial disclosures, meet and confer with
                                       defendant's counsel and upcoming deadlines
                                                                                                                                                    Page 362 of 501




64   8/8/2024   V Jaswal         0.3   Review and analyze defendant's initial disclosure
64   8/8/2024   V Jaswal         0.1   Send protective order to opposing counsel
64   8/8/2024   V Jaswal         0.2   Plan and prepare to draft written discovery requests to defendant
64   8/8/2024   Y Lissebeck      0.2   Review and respond to email from V. Jawal re initial disclosures, settlement and status
                                       conference
64   8/9/2024   J Stephens       0.4   Email exchange (4) regarding BMF disclosures and internal filing
64   8/9/2024   J Stephens       0.2   Prepare email re: same
64   8/9/2024   J Stephens       0.2   Exchange email re: settlement discussion with BMF counsel
64   8/9/2024   J Stephens       0.6   Exchange email with V. Jaswal re: discovery from BMF and third parties and subpoenas
                                       and brief review of case materials re: same
64   8/9/2024   J Stephens       0.2   Review email from Y. Lissebeck re: same
                                                                                                                                                                                  Page 361
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64   8/9/2024   Y Lissebeck      0.2   Review and respond to email from J. Stephens re bank subpoenas and records
      Date            Name     Hours    Narrative
64   8/12/2024   J Stephens       0.3   Exchange email with Y. Lissebeck re: additional MCA cases
64   8/12/2024   J Stephens       0.3   Review complaint in preparation for pre-status conference call with opposing counsel
64   8/12/2024   J Stephens       0.2   Conference with V. Jaswal re: same
64   8/12/2024   J Stephens       0.3   Conference call with BMF's counsel re: status conference and settlement
64   8/12/2024   J Stephens       0.1   Conference with V. Jaswal re: follow up
64   8/13/2024   J Stephens       0.2   Review joint status report
64   8/13/2024   J Stephens       0.2   Review tentative ruling and status conference
64   8/13/2024   J Stephens       0.2   Exchange email with Y. Lissebeck re: same
64   8/13/2024   J Stephens       0.2   Conference with V. Jaswal re: same and order
                                                                                                                                                                                Case 8:23-bk-10571-SC




64   8/13/2024   V Jaswal         0.2   Plan and prepare for status conference
64   8/13/2024   V Jaswal         0.2   Review court's tentative order regarding trial dates
64   8/14/2024   J Stephens       0.4   Remote appearance at status conference of BMF adverary
64   8/14/2024   J Stephens       0.2   Conference with V. Jaswal re: same
64   8/14/2024   J Stephens       0.3   Exchange email re: same of order
64   8/14/2024   J Stephens       0.2   Exchange email re: additional deadlines/calendaring
64   8/14/2024   V Jaswal         0.1   Plan and prepare to draft scheduling order
64   8/14/2024   V Jaswal         0.9   Review and analyze local rules to determine additional filing deadlines and discovery
                                                                                                                                    Main Document




64   8/14/2024   Y Lissebeck      0.2   Review and respond to emails from J. Stephens re deadlines and case strategy moving
                                        forward with discovery
64   8/15/2024   V Jaswal         1.6   Review local rules and Federal Rules of Civil Procedure to determine whether status order
                                        must be filed with the court and to determine additional case deadlines
64   8/16/2024   C Celentino      0.3   Communications re LPG writ of attachment and review order and summary judgment
                                        against, review email from Atty Ghio re same and application for temporary protective
                                        order and additional allegations for complaints
64   8/16/2024   J Stephens       0.3   Review email from C. Celentino re: LPG writ of attachment and review order and summary
                                                                                                                                                     Page 363 of 501




                                        judgment against, review email from C. Ghio re: same and application for temporary
                                        protective order and additional allegations for complaints
64   8/19/2024   J Stephens       0.4   Exchange email re: team re: lodging of orders
64   8/19/2024   J Stephens       0.2   Review proposed notice and prepare email re: same
64   8/19/2024   V Jaswal         0.3   Draft notice of lodgment of order of court's trial setting order
64   8/19/2024   V Jaswal         0.4   Review and research local court rules regarding lodging status order with court
64   8/19/2024   V Jaswal         0.4   Draft status conference and scheduling order
64   8/19/2024   Y Lissebeck      0.3   Review notice of lodgment of scheduling order and email from V. Jaswal, respond re
                                        notice of lodgement procedures, and review further reply
64   8/20/2024   C Celentino      0.3   Communications re lodging alternatives in USBC
64   8/20/2024   J Stephens       0.3   Exchange email with C. Celentino re: lodging alternatives in USBC
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64   8/20/2024   J Stephens       0.2   Conference wth V. Jaswal re: same
      Date            Name     Hours    Narrative
64   8/20/2024   J Stephens       0.3   Exchange email with V. Jaswal re: local rules
64   8/20/2024   J Stephens       0.2   Review order from court re: hearing on status conference
64   8/22/2024   J Stephens       0.2   Review notice from cour re: modification of scheduling order
64   8/22/2024   J Stephens       0.1   Review revisions
64   8/22/2024   J Stephens       0.3   Conference with paralegal re: same and exchange email
64   8/22/2024   V Jaswal         1.2   Review Court's local rules, Judge's chamber rules and Federal Rules of Civil Procedure to
                                        determine all discovery and trial-related deadlines
64   8/22/2024   Y Lissebeck      0.2   Review and respond to emails from M. Hale re MCA expert retention for case
64   8/23/2024   J Stephens       0.3   Review revised BMF scheduling order re: court's changes
                                                                                                                                                                                Case 8:23-bk-10571-SC




64   8/23/2024   J Stephens       0.2   Exchange email with V. Jaswal re: same
64   8/23/2024   J Stephens       0.2   Review email from V. Jaswal re: updated deadlines
64   8/23/2024   Y Lissebeck      0.5   Telephone call with M. Hale re MCA cases and expert testimony
64   8/23/2024   Y Lissebeck      0.3   Review email from V. Jaswal re deadlines and dates, review local rule re dates, and
                                        respond re wrong deadlines
64   8/26/2024   J Stephens       0.2   Review notice from court re: certificate of service
64   8/26/2024   J Stephens       0.2   Email exchange re: same
64   8/27/2024   J Stephens       0.2   Review email from Y. Lissebeck re: release terms for LPG settlement with BMF
                                                                                                                                    Main Document




64   8/27/2024   J Stephens       0.4   Review email and order denying Greyson's motion to vacate TRO
64   8/27/2024   V Jaswal         0.8   Review additional Vulcan Consulting Groupe bank records to determine if relevant
64    9/9/2024   J Stephens       0.3   Exchange email with Y. Lissebeck re: possible consolidation of BMF case
64    9/9/2024   J Stephens       0.3   Research re: same
64    9/9/2024   J Stephens       0.3   Exchange email with V. jaswal re: possible BMF claim
64    9/9/2024   J Stephens       0.2   Review S-Drive re: same
64    9/9/2024   V Jaswal         0.4   Plan and prepare to draft brief per court's anticipated amended status conference order
64   9/10/2024   J Stephens       0.2   Conference with C. Ghio re: alternative procedures for modifying scheduling order
                                                                                                                                                     Page 364 of 501




64   9/10/2024   J Stephens       0.2   Telehone call with J. Mottola re: possible BMF proof of claim
64   9/10/2024   V Jaswal         0.1   Draft and send internal email confirming no priority or administrative claims filed by
                                        defendant
64   9/11/2024   J Stephens       0.2   Telephone call to law clerk re: case management and preservation of records for BMF
64   9/11/2024   J Stephens       0.4   Research procedure re: modification of BMF scheduling order
64   9/11/2024   J Stephens       0.4   Exchange email with team re: procedure
64   9/11/2024   J Stephens       0.2   Telephone call from law clerk re: procedure
64   9/11/2024   J Stephens       0.1   Exchange email with V. Jaswal re: no BMF Proof of Claim
64   9/11/2024   V Jaswal         0.6   Research to determine whether BMF Advance filed an administrative or priority claim
64   9/12/2024   J Stephens         1   Review federal rules re: possible un-noticed motion for revised BMF scheduling order and
                                        local BK rules re: same or alternative ex parte
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64   9/12/2024   J Stephens       0.2   Telephone call to judge's law clerk re: same
      Date            Name     Hours    Narrative
64   9/12/2024   J Stephens       0.2   Exchange email with V. Jaswal re: list of claims
64   9/12/2024   V Jaswal         0.2   Review list of claims filed with Omni to confirm none filed by defendant
64   9/13/2024   J Stephens       0.2   Telephone call from judge's law clerk re: revised scheduling order for BMF adversary
64   9/13/2024   J Stephens       0.3   Exchange email with V. Jaswal re: same
64   9/13/2024   J Stephens       0.4   Exchange email (4) with team re: same
64   9/13/2024   J Stephens       0.4   Exchange email (4) re: litigation hold letters
64   9/16/2024   J Stephens       0.3   Review notice from court re: revised case management and preservation of BMF and
                                        review order
64   9/16/2024   J Stephens       0.3   Exchange email with V. Jaswal re: same
                                                                                                                                                                               Case 8:23-bk-10571-SC




64   9/16/2024   J Stephens       0.4   Exchange email with team re: order, briefing and document collection
64   9/16/2024   Y Lissebeck      0.1   Review order of court requiring defendant to brief and provide documents re claim
64   9/16/2024   Y Lissebeck      0.2   Read order issues by court and review calendar for deadlines, draft email to J. Stephens
                                        and V. Jaswal re calendaring deadlines and drafting brief for review
64   9/16/2024   Y Lissebeck      0.1   Review and respond to email of J. Stephens re case status and strategy in light of order
64   9/16/2024   Y Lissebeck      0.1   Draft email to M. Hale (expert) re briefing deadline and meeting to discuss
64   9/17/2024   J Stephens       0.2   Conference with V. Jasweal re: preparation of BMF case management brief
64   9/17/2024   J Stephens       0.2   Exchange email re: previous briefs
                                                                                                                                   Main Document




64   9/17/2024   J Stephens       0.2   Exxchange email with Y. Lissebeck re: 8th Circuit ponzi case
64   9/17/2024   J Stephens       0.2   Conference with C. Celentino and Y. Lissebeck re: strategy
64   9/17/2024   V Jaswal         0.2   Review records to determine whether defendant received aa post-petition payment
64   9/17/2024   Y Lissebeck      0.3   Telephone call with J. Stephans re status of case and strategy moving forward
64   9/18/2024   J Stephens       0.2   Review email from Y. Lissebeck re: Ponzi/criminal enterprise claims
64   9/20/2024   J Stephens       0.2   Review email from T. Powell re: BMF
64   9/20/2024   J Stephens       0.1   Review email from T. Powell re: BMF d/b/a/s
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                        Clearfund Solution, LLC / Cloudfund, LLC (143576-66)



                                               FEES
                NAME                   TITLE           RATE      HOURS     TOTAL FEES
    Christopher Celentino        Partner              $835.00       .20       $167.00
    Yosina M. Lissebeck          Partner              $745.00       .30       $223.50
    John H. Stephens             Partners             $545.00       .30       $163.50
    Brian M. Metcalf             Associate            $650.00      4.30      $2,795.00
    Veneeta Jaswal               Associate            $460.00       .70       $322.00
                                                        TOTALS     5.80      $3,671.00
     Date            Name      Hours    Narrative
66   8/1/2024    B Metcalf        0.9   Review and analyze agreements and related transaction documents between LPG,
                                        guarantors, and Cloudfund/Delta Bridge, analyze additional potential claims and theories
                                        of recovery related to transfers from LPG and affiliated entities.
66    8/1/2024   B Metcalf        0.7   Review and analyze agreements and related transaction documents between LPG,
                                        guarantors, and Clearfund, analyze additional potential claims and theories of recovery
                                        related to transfers from LPG and affiliated entities.
66    8/1/2024   V Jaswal         0.2   Review accountant information to determine whether defendant received a 549 transfer
                                        payment
66    8/2/2024   B Metcalf        2.7   Review and analyze MCA agreements and related exhibits and guaranties between LPG
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        and Clearfund/Cloudfund, bank records and information related to transfers between LPG
                                        and affiliated entities and Clearfund and Cloudfund/Delta Bridge, and information
                                        regarding LPG solvency and characterization and treatment of client receivables, analyze
                                        net transfer amounts and available defenses to avoidance actions and damages claims,
                                        options and strategy for potential litigation to recover transfers and additional damages.
66   8/28/2024   J Stephens       0.3   Exchange email (4) re: blurb for Clearfund matter/status for fee app
66   8/28/2024   V Jaswal         0.4   Review documents received from accountant to determine total amount transferred during
                                        the avoidance period
                                                                                                                                     Main Document




66   8/28/2024   V Jaswal         0.1   Draft status of matter for fee application
66   9/19/2024   C Celentino      0.2   Email and confer re review of avoidance detail
66   9/19/2024   Y Lissebeck      0.2   Review email from B. Metcalf re review of avoidance detail and respond to email from C.
                                        Celentino re same
66   9/19/2024   Y Lissebeck      0.1   Draft email to J. Stephens and T. Powell re pursuing this target and information from
                                        accounting records
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                 Adv. Case No. 24-1090 (Cobalt Funding Solutions, LLC) (143576-67)



                                                  FEES
                 NAME                 TITLE               RATE      HOURS    TOTAL FEES
    Christopher Celentino       Partner                  $835.00       .40      $334.00
    John H. Stephens            Partner                  $545.00     19.50    $10,627.50
    Yosina M. Lissebeck         Partner                  $745.00      2.20     $1,639.00
    Veneeta Jaswal              Associate                $460.00     18.50     $8,510.00
    Jacob r. Bothamley          Associate                $405.00       .30      $121.50
                                eDiscovery
    Robert J. Simmons                                    $365.00      1.40      $511.00
                                Project Manager
                                                           TOTALS    42.30    $21,743.00
      Date            Name     Hours    Narrative
67   7/10/2024   J Stephens       0.2   Telephone call from Cobalt's counsel re: receipt of complaint and response
67   7/11/2024   J Stephens       0.2   Telephone call with Cobalt's counsel re: extension for response pleading
67   7/11/2024   J Stephens       0.2   Exchange email with Cobalt's counsel re: stipulation and order
67   7/11/2024   J Stephens       0.2   Exchange email re: same and documents needed
67   7/16/2024   J Stephens       0.3   Exchange email with Cobalt's counsel re: status of stipulation for response extension
67   7/16/2024   J Stephens       0.2   Conference with V. Jaswal re: same
67   7/16/2024   J Stephens       0.2   Review email from Cobalt's new Bankruptcy counsel re: same
67   7/17/2024   J Stephens       0.3   Review and revise draft stipulation to extend respond date
67   7/17/2024   J Stephens       0.2   Exchange email with V. Jaswal re: same
                                                                                                                                                                              Case 8:23-bk-10571-SC




67   7/17/2024   J Stephens       0.2   Exchange email with Cobalt's counsel re: same and order
67   7/17/2024   J Stephens       0.2   Review notice from court re: appearance by Cobalt's counsel
67   7/17/2024   J Stephens       0.2   Review emaiol from Cobalt's counsel re: revised stipulation
67   7/18/2024   J Stephens       0.3   Review and revise draft stipulation and order from Cobalt's counsel for response
67   7/18/2024   J Stephens       0.1   Exchange email with V. Jaswal re: revisions
67   7/18/2024   J Stephens       0.2   Exchange email with paralegal re: same, finalizing and filing
67   7/26/2024   J Stephens       0.4   Review notice from court re: order approving Cobalt response extension and review order
67   7/29/2024   J Bothamley      0.1   Call with J. Stephens re MCA and usury memo for V. Jaswal.
                                                                                                                                  Main Document




67   7/30/2024   J Stephens       0.3   Exchange email with V. Jaswal re: Cobalt litigation summary
67   7/30/2024   V Jaswal         0.2   Draft summary of procedural history for fee application
67   7/31/2024   J Stephens       0.4   Review email from Y. Lissebeck re: 549 claims and research MCA defendants
67    8/1/2024   V Jaswal         0.6   Review defendant's answer to complaint
67    8/1/2024   V Jaswal         0.2   Review accountant information to determine whether defendant received a 549 transfer
                                        payment
67    8/2/2024   J Stephens       0.6   Review notice from court re: Cobalt's answer to complant and analyze answer
67    8/2/2024   J Stephens       0.2   Exchange email re: same
                                                                                                                                                   Page 369 of 501




67    8/9/2024   J Stephens       0.4   Review email from Y. Lissebeck re: protective order and brief review of order
67   8/12/2024   J Bothamley      0.2   Review Cobalt Funding complaint filed by J. Stephens as example of complaint against
                                        MCAs.
67   8/12/2024   J Stephens       0.1   Review email from Y. Lissebeck re: staffing
67   8/12/2024   J Stephens       0.4   Exchange email with Y. Lissebeck re: status of MCA case evaluations
67   8/12/2024   J Stephens       0.5   Prepare email to team re: complaint template and review email from Y. Lissebeck re:
67   8/12/2024   J Stephens       0.2   Conference with V. Jaswal re: meet and confer with Cobalt's counsel
67   8/12/2024   J Stephens       0.2   Review email re: same and reply
67   8/12/2024   V Jaswal         0.2   Email opposing counsel to coordinate Rule 26 meet and confer call
67   8/12/2024   V Jaswal         1.8   Begin reviewing documents in anticipation of initial disclosure
67   8/13/2024   J Stephens       0.2   Conference with V. Jaswal re: meet and confer re: status conference report
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67   8/13/2024   J Stephens       0.3   Email exchangel (4) re: same
      Date            Name     Hours    Narrative
67   8/13/2024   V Jaswal         0.2   Follow up and confirm with opposing counsel time to hold Rule 26 meet and confer
67   8/14/2024   J Stephens       0.2   Conference with V. Jaswal re: meet and confer for status conference report
67   8/14/2024   J Stephens       0.3   Review email from V. Jaswal re: results
67   8/14/2024   J Stephens       0.3   Exchange email re: preparation of report
67   8/14/2024   J Stephens       0.2   Review email from Y. Lissebeck re: report
67   8/14/2024   V Jaswal         0.5   Call with opposing counsel regarding Rule 26 meet and confer
67   8/14/2024   V Jaswal         0.2   Draft and send email summarizing Rule 26 meet and confer call with opposing counsel
67   8/14/2024   V Jaswal         0.2   Plan and prepare to draft joint status report
67   8/14/2024   Y Lissebeck      0.1   Review and respond to email from V. Jaswal re meet and confer and moving forward with
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        deadlines
67   8/15/2024   J Stephens       0.2   Review email re: status conference report, scheduling and status
67   8/15/2024   J Stephens       0.1   Conferencew tih V. Jaswal re: same
67   8/15/2024   V Jaswal         0.3   Draft summary of case for fee motion
67   8/16/2024   J Stephens       0.3   Review email from C. Celentino re: LPG writ of attachment and review order and summary
                                        judgment against, review email from C. Ghio re: same and application for temporary
                                        protective order and additional allegations for complaints
67   8/19/2024   J Stephens       0.3   Review wmail re: draft status report and review draft
                                                                                                                                     Main Document




67   8/19/2024   J Stephens       0.2   Email with V. Jaswal re: same
67   8/19/2024   V Jaswal         0.2   Draft joint status report and send to opposing counsel
67   8/20/2024   J Stephens       0.2   Conference with V.Jaswal re: joint status conference report
67   8/20/2024   V Jaswal         0.3   Coordinate access to internal share file to review additional documents in anticipation of
                                        initial disclosure
67   8/21/2024   J Stephens       0.2   Review email re: draft status report and prepare email re: same
67   8/21/2024   J Stephens       0.2   Review email from Cobalt's counsel re: defendant's revisions and review revisions
67   8/21/2024   J Stephens       0.3   Email exchange re: final draft
                                                                                                                                                      Page 370 of 501




67   8/21/2024   J Stephens       0.2   Review email from court re: status report
67   8/21/2024   V Jaswal         0.1   Follow up with opposing counsel regarding joint status report
67   8/22/2024   J Stephens       0.3   Review notice from court re: joint status conference report and exchange email with team
                                        re: same
67   8/22/2024   V Jaswal         0.3   Oversee and advise filing of joint status report
67   8/23/2024   Y Lissebeck      0.4   Telephone call with M. Hale re MCA cases and expert testimony
67   8/26/2024   V Jaswal         6.7   Review emails and attachments in advance of initial disclosures
67   8/27/2024   J Stephens       0.2   Review email from Y. Lissebeck re: release terms for LPG settlement with Cobalt
67   8/27/2024   J Stephens       0.4   Review email and order denying Greyson's motion to vacate TRO
67   8/28/2024   J Stephens       0.5   Review email from V. Jaswal re: Cobalt document production and review redacted
                                        documents
                                                                                                                                                                                    Page 369
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67   8/28/2024   J Stephens       0.3   Exchange email re: "confidential" designation
      Date            Name     Hours    Narrative
67   8/28/2024   J Stephens       0.2   Exchange email re: additional responsive documents
67   8/28/2024   J Stephens       0.6   Review Cobalt's Intial disclosures and prepare email re: same
67   8/28/2024   R Simmons        1.4   Process initial disclosures production for Cobalt matter
67   8/28/2024   V Jaswal         0.9   Draft initial disclosure
67   8/28/2024   V Jaswal         1.2   Add additional redactions to documents and finalize for production with initial disclosure
67   8/28/2024   Y Lissebeck      0.2   Review and comment re initial disclosures and suggestions for revisions
67   8/29/2024   J Stephens       0.3   Exchange email with B. Metcalf re: additional financial analysis of Cobalt's MCA history
67    9/3/2024   J Stephens       0.2   Conference with V. Jaswal re: Cobalt's late initial disclosures and follow up
67    9/3/2024   J Stephens       0.2   Conference with V. Jaswal re: status conference and issues
                                                                                                                                                                                  Case 8:23-bk-10571-SC




67    9/4/2024   J Stephens       0.2   Exchange email with Y. Lissebeck re: Cobalt status conference
67    9/4/2024   J Stephens       0.2   Exchange email with V. Jaswal re: same and tentative ruling
67    9/4/2024   J Stephens       0.3   Review tentative and status report and exchange email with V. Jaswal re: change
67    9/4/2024   J Stephens       0.3   Exchange email with V. Jaswal re: trial scheduling order
67    9/4/2024   V Jaswal         0.2   Review Court's tentative scheduling order
67    9/4/2024   V Jaswal         0.2   Draft and send internal email summarizing status conference and the court's orders
                                        regarding discovery
67    9/4/2024   V Jaswal         0.5   Plan, prepare and attend status conference
                                                                                                                                      Main Document




67    9/4/2024   Y Lissebeck      0.1   Review and respond to emails from V. Jaswal re hearing and status conference
67    9/5/2024   J Stephens       0.3   Review notice from court and order re: case management records and briefing, and email
                                        re: same
67    9/6/2024   J Stephens       0.2   Review court's scheduling order and order for briefing and document production
67    9/6/2024   J Stephens       0.2   Exchange email with team re: possible orders in other cases
67    9/6/2024   J Stephens       0.2   Telephone call from C. Ghio re: same
67    9/6/2024   Y Lissebeck      0.2   Review and respond to email from J. Stephens re order that was entered and request by
                                        court for information and briefing
                                                                                                                                                       Page 371 of 501




67    9/9/2024   J Stephens       0.1   Review notice from cour re: notice of case management order
67    9/9/2024   J Stephens       0.1   Review email from Y. Lissebeck re: possible Cobalt claim
67    9/9/2024   J Stephens       0.3   Exchange email with V. Jaswal re: same
67    9/9/2024   J Stephens       0.4   Review S-Drive re: same and email to V. Jaswal
67    9/9/2024   V Jaswal         0.4   Draft and send internal email summarizing status conference and court's order regarding
                                        Rule 26 briefing and document production
67    9/9/2024   V Jaswal         0.4   Plan and prepare to draft brief per court's status conference order
67    9/9/2024   V Jaswal         0.4   Review and analyze court's order regarding status conference
67    9/9/2024   V Jaswal         0.4   Determine deadline to submit brief and produce additional documents per court's status
                                        conference order
67    9/9/2024   Y Lissebeck      0.2   Review email from V. Jaswal re status conference and court's entry of order requiring
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                                        briefs, discuss obtaining similar order in remaining MCA litigation cases, review responses
      Date            Name     Hours    Narrative
67   9/10/2024   J Stephens       0.2   Conference with V. Jaswal re: possible claim in Cobalt case
67   9/10/2024   V Jaswal         0.4   Draft status conference and scheduling order
67   9/10/2024   V Jaswal         0.1   Draft and send internal email confirming no priority or administrative claims filed by
                                        defendant
67   9/11/2024   J Stephens       0.4   Exchange email (4) re: scheduling order and conference with V. Jaswal re: same
67   9/11/2024   J Stephens       0.1   Exchange email with V. Jaswal re: no Cobalt proof of claim
67   9/11/2024   V Jaswal         0.6   Research to determine whether Cobalt filed an administrative or priority claim
67   9/11/2024   V Jaswal         0.2   Review and finalize scheduling order for filing
67   9/12/2024   J Stephens       0.2   Review notice from court re: case scheduling order and calendar
                                                                                                                                                                               Case 8:23-bk-10571-SC




67   9/12/2024   J Stephens       0.2   Exchange email with V. Jaswal re: list of claims and Cobalt
67   9/12/2024   V Jaswal         0.2   Review list of claims filed with Omni to confirm none filed by defendant
67   9/13/2024   C Celentino      0.2   Emails re demand and litigation hold letter and confer re same
67   9/13/2024   J Stephens       0.3   Exchange email with paralegal re: Cobalt scheduling and review order
67   9/13/2024   Y Lissebeck      0.2   Review and respond to emails from J. Stephens and C. Celentino re demand and litigation
                                        hold letter, informing of letters sent out by T. Powel
67   9/16/2024   Y Lissebeck      0.2   Read order issues by court and review calendar for deadlines, draft email to J. Stephens
                                        and V. Jaswal re calendaring deadlines and drafting brief for review
                                                                                                                                   Main Document




67   9/16/2024   Y Lissebeck      0.1   Draft email to M. Hale (expert) re briefing deadline and meeting to discuss
67   9/17/2024   C Celentino      0.2   Team meeting re strategy
67   9/17/2024   J Stephens       0.2   Conference with V. Jaswal re: preparation of Cobalt case management brief
67   9/17/2024   J Stephens       0.2   Exchange email re: previous briefs
67   9/17/2024   J Stephens       0.2   Exchange email with Y. Lissebeck re: 8th Circuit ponzi case
67   9/17/2024   J Stephens       0.2   Conference with C. Celentino and Y. Lissebeck re: strategy
67   9/17/2024   V Jaswal         0.2   Review documents related to fictitious business names associated with Cobalt
67   9/17/2024   V Jaswal         0.2   Review records to determine whether defendant received aa post-petition payment
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67   9/17/2024   Y Lissebeck      0.3   Telephone call with J. Stephans re status of case and strategy moving forward
67   9/18/2024   J Stephens       0.2   Review email from Y. Lissebeck re: Ponzi/criminal enterprise claims
67   9/19/2024   Y Lissebeck      0.2   Review email from S. Johnston re Coast processing email and information related to MCA
                                        lenders, reply thereto and forward email for use to J. Stephens and T. Powell
67   9/20/2024   J Stephens       0.2   Review notice from court re: continued case scheduling and email to paralegal
67   9/20/2024   J Stephens       0.2   Review email to T. Powell re: Cobalt
67   9/20/2024   J Stephens       0.1   Review email from T. Powell re: d/b/a/s
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                           Everyday Funding Group (143576-68)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    John H. Stephens         Partner              $545.00       .50      $272.50
    Brian M. Metcalf         Associate            $650.00       .30      $195.00
    Veneeta Jaswal           Associate            $460.00       .40      $184.00
                                                    TOTALS     1.20      $651.50
     Date            Name     Hours    Narrative
68   8/5/2024    B Metcalf       0.3   Review and analyze bank records to identify potential transfers to Everyday Fund and
                                       related claims.
68   8/28/2024   J Stephens      0.3   Exchange email (4) re: blurb for Everyday Funding matter/status for fee app
68   8/28/2024   V Jaswal        0.3   Review documents received from accountant to determine total amount transferred during
                                       the avoidance period
68   8/28/2024   V Jaswal        0.1   Draft status of matter for fee application
68    9/4/2024   J Stephens      0.2   Review email from B. Metcalf re: sources of everyday transfers
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                        Franklin Capital Management LLC (143576-69)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    John H. Stephens         Partner              $545.00       .30      $163.50
    Veneeta Jaswal           Associate            $460.00       .60      $276.00
                                                    TOTALS     0.90      $439.50
     Date             Name    Hours    Narrative
69   8/1/2024    V Jaswal        0.2   Review accountant information to determine whether defendant received a 549 transfer
                                       payment
69   8/28/2024   J Stephens      0.3   Exchange email (4) re: blurb for Franklin matter/status for fee app
69   8/28/2024   V Jaswal        0.3   Review documents received from accountant to determine total amount transferred during
                                       the avoidance period
69   8/28/2024   V Jaswal        0.1   Draft status of matter for fee application
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                               Green Fund NY (143576-70)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    John H. Stephens         Partner              $545.00       .30      $163.50
    Brian M. Metcalf         Associate            $650.00      1.90     $1,235.00
    Veneeta Jaswal           Associate            $460.00       .40      $184.00
                                                    TOTALS     2.60     $1,582.50
     Date            Name     Hours    Narrative
70   8/1/2024    B Metcalf       0.6   Analyze additional potential claims, theories of recovery, and damages claims related to
                                       transfers from LPG and affiliated entities to Green Fund.
70    8/2/2024   B Metcalf       1.3   Review and analyze bank records and information related to transfers between LPG and
                                       affiliated entities and Green Gund, and information regarding LPG solvency and
                                       characterization and treatment of client receivables, analyze net transfer amounts and
                                       available defenses to avoidance actions and damages claims, options and strategy for
                                       potential litigation to recover transfers and additional damages.
70   8/28/2024   J Stephens      0.3   Exchange email (4) re: blurb for Green Fund matter/status for fee app
70   8/28/2024   V Jaswal        0.3   Review documents received from accountant to determine total amount transferred during
                                                                                                                                                                              Case 8:23-bk-10571-SC




                                       the avoidance period
70   8/28/2024   V Jaswal        0.1   Draft status of matter for fee application
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                              Kevlar Capital LLC (143576-71)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    John H. Stephens         Partner              $545.00      3.70     $2,016.50
    Veneeta Jaswal           Associate            $460.00      2.30     $1,058.00
                                                    TOTALS     6.00     $3,074.50
     Date             Name    Hours    Narrative
71   8/1/2024    V Jaswal        0.2   Review accountant information to determine whether defendant received a 549 transfer
                                       payment
71   8/15/2024   J Stephens      0.2   Review compilation of materials for possible MCA compliant against Kevlar
71   8/15/2024   J Stephens      0.1   Conference with V. Jaswal
71   8/19/2024   J Stephens      0.3   Review files re: materials on Kevlar and repositories for additional materials
71   8/19/2024   J Stephens      0.2   Prepare email to V. Jaswal re: same
71   8/19/2024   V Jaswal        0.3   Plan and prepare to review all documents and determine whether a complaint should be
                                       filed
71   8/20/2024   J Stephens      0.2   Conference with V. Jaswal re: source of MCA Capital materials to evaluate MCA
                                                                                                                                                                               Case 8:23-bk-10571-SC




71   8/21/2024   J Stephens      0.2   Review email from V. Jaswal re: status of Kevlar document review
71   8/21/2024   V Jaswal        0.2   Draft and send internal email summarizing all documents reviewed and whether relevant
                                       documents were discovered
71   8/22/2024   J Stephens      0.2   Review email froim Y. Lissebeck re: Kevlar complaint
71   8/23/2024   J Stephens      0.2   Review email from V. Jaswal re: status of Kevlar review analysis
71   8/26/2024   J Stephens      0.2   Prepare email to V. Jaswal re: status of Kevlar research and recommendation
71   8/28/2024   J Stephens      0.3   Exchange email (4) re: blurb for Kevlar matter/status for fee app
71   8/28/2024   V Jaswal        0.3   Review documents received from accountant to determine total amount transferred during
                                                                                                                                   Main Document




                                       the avoidance period
71   8/28/2024   V Jaswal        0.1   Draft status of matter for fee application
71   8/29/2024   J Stephens      0.1   Review T. Powell's summary of Kevlar
71   8/29/2024   J Stephens      0.3   Review files re: documents discussed
71   8/29/2024   J Stephens      0.7   Exchange email with V. Jaswal re: missing documents
71   8/29/2024   V Jaswal        0.7   Review UCC filings for Kevlar
71   9/10/2024   V Jaswal        0.1   Draft and send internal email confirming no priority or administrative claims filed by
                                       defendant
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71   9/11/2024   J Stephens      0.1   Exchange email with V. Jaswal re: no Kevlar Proof pf Claim
71   9/12/2024   V Jaswal        0.2   Review list of claims filed with Omni to confirm none filed by defendant
71   9/17/2024   V Jaswal        0.2   Review records to determine whether defendant received aa post-petition payment
71   9/23/2024   J Stephens      0.4   Prepare email to T. Powell re: Kevlar materials and possible lawsuit and review available
                                       materials
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                          Stratcap Management LLC (143576-72)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    John H. Stephens         Partner              $545.00       .30      $163.50
    Brian M. Metcalf         Associate            $650.00       .50      $325.00
    Veneeta Jaswal           Associate            $460.00       .40      $184.00
                                                    TOTALS     1.20      $672.50
     Date            Name     Hours    Narrative
72   8/1/2024    B Metcalf       0.5   Review and analyze documents and pleadings related to transfer of LPG accounts
                                       receivable transfers to Stratcap, analyze additional potential avoidance actions and
                                       damages claims against Stratcap.
72   8/28/2024   J Stephens      0.3   Exchange email (4) re: blurb for Stratcap matter/status for fee app
72   8/28/2024   V Jaswal        0.3   Review documents received from accountant to determine total amount transferred during
                                       the avoidance period
72   8/28/2024   V Jaswal        0.1   Draft status of matter for fee application
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                                World Global Fund LLC (143576-73)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher B. Ghio          Partner              $625.00      2.00     $1,250.00
    Christopher Celentino        Partner              $835.00       .50      $417.50
    John H. Stephens             Partner              $545.00      3.50     $1,907.50
    Yosina M. Lissebeck          Partner              $745.00       .70      $521.50
    Jeremy B. Freedman           Associate            $465.00       .60      $279.00
    Veneeta Jaswal               Associate            $460.00      9.70     $4,462.00
                                                        TOTALS    17.00     $8,837.50
     Date             Name     Hours    Narrative
73   8/1/2024    V Jaswal         0.2   Review accountant information to determine whether defendant received a 549 transfer
                                        payment
73    8/2/2024   J Stephens       0.3   Exchange email with V. Jaswal re: World Global
73   8/12/2024   J Freedman       0.4   Review and analysis of evidence and pleading status as to World Global in the 1046
                                        action in order to develop strategy regrading dismissal and new adversary complaint
73   8/12/2024   J Stephens       0.2   Exchange email re: World Global case
73   8/12/2024   Y Lissebeck      0.1   Review email from J. Stephens and respond re moving forward with MCA allegations and
                                        complaint
73   8/16/2024   C Celentino      0.3   Email re LPG writ of attachment and review order and summary judgment against, review
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        email from Atty Ghio re same and application for temporary protective order and additional
                                        allegations for complaints
73   8/16/2024   J Stephens       0.3   Review email from C. Celentino re: LPG writ of attachment and review order and summary
                                        judgment against, review email from C. Ghio re: same and application for temporary
                                        protective order and additional allegations for complaints
73   8/17/2024   J Freedman       0.2   Review and analysis of email from secured creditor regarding World Global and Shia
                                        Dembitzer in order to evaluate evidence to support further claims against same
73   8/19/2024   J Stephens       0.3   Review files re: materials on World Global and repositories for additional materials
                                                                                                                                     Main Document




73   8/19/2024   J Stephens       0.2   Prepare email to V. Jaswal re: same
73   8/19/2024   V Jaswal         3.6   Review emails and accountant records in anticipation of preparing complaint
73   8/21/2024   V Jaswal         3.6   Review all documents to determine whether a complaint should be filed against World
                                        Global Fund
73   8/21/2024   Y Lissebeck      0.1   Review and respond to email from T. Powell re world global issues
73   8/22/2024   J Stephens       0.2   Review email from Y. Lissebeck re: World Global complaint
73   8/22/2024   Y Lissebeck      0.1   Review email from T. Powell re World Global and information related to litigation targe
73   8/26/2024   J Stephens       0.2   Prepare email to V. Jaswal re: status of World Global research and recommendation
                                                                                                                                                      Page 384 of 501




73   8/26/2024   Y Lissebeck      0.2   Review and respond to email of T. Powell re worldglobal issues and accounting
                                        documents and forward accounting spreadsheet for review
73   8/27/2024   V Jaswal         0.8   Review additional Vulcan Consulting Group bank records to determine if a complaint
                                        should be filed
73   8/28/2024   J Stephens       0.3   Exchange email (4) re: blurb for World Global matter/status for fee app
73   8/28/2024   V Jaswal         0.3   Review documents received from accountant to determine total amount transferred during
                                        the avoidance period
73   8/28/2024   V Jaswal         0.1   Draft status of matter for fee application
73   9/10/2024   V Jaswal         0.1   Draft and send internal email confirming no priority or administrative claims filed by
                                        defendant
                                                                                                                                                                                    Page 383




73   9/11/2024   J Stephens       0.1   Exchange email with V. Jaswal re: no World Global Proof of Claim
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73   9/11/2024   V Jaswal         0.6   Research to determine whether World Global Fund filed an administrative or priority claim
      Date            Name     Hours    Narrative
73   9/12/2024   J Stephens       0.2   Exchange email with V. Jaswal re: list of claims and World Global
73   9/12/2024   V Jaswal         0.2   Review list of claims filed with Omni to confirm none filed by defendant
73   9/17/2024   J Stephens       0.2   Review records re: post-petition payments
73   9/17/2024   J Stephens       0.3   Exchange email with V. Jaswal re: World Global payment
73   9/17/2024   V Jaswal         0.2   Review records to determine whether defendant received aa post-petition payment
73   9/20/2024   C Celentino      0.2   Emails re Worldglobal principles and obtaining further information re same from parties in
                                        case
73   9/20/2024   C Ghio           1.1   Analysis re claims against World Global and Optimum Bank.
73   9/20/2024   J Stephens       0.2   Review email from T. Powell re: World Global transfers
                                                                                                                                                                                 Case 8:23-bk-10571-SC




73   9/20/2024   J Stephens       0.1   Review email from T. Powell re: World Global d/b/a/s
73   9/20/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino re worldglobal principles and obtaining
                                        further information re same from parties in case
73   9/23/2024   C Ghio           0.9   Legal research and analysis re holding Optimum Bank liable for funds processed by World
                                        Global for LPG.
73   9/23/2024   J Stephens       0.4   Review materials related to World Global re: possible lawsuit
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                             Ace Funding Source LLC (143576-74)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Sara A. Johnston           Partner              $495.00      1.60      $792.00
    Yosina M. Lissebeck        Partner              $745.00       .60      $447.00
    Brandon E. Lira            Associate            $355.00      1.70      $603.50
                                                      TOTALS     3.90     $1,842.50
      Date            Name     Hours    Narrative
74   9/13/2024   B Lira           0.2   Analyze claims of Ace Funding with attention to any putative rights to be treated as an
                                        administrative or priority claimant
74   9/16/2024   S Johnston       0.5   Analyze historical transfer data for claim amounts
74   9/16/2024   S Johnston       0.5   Work on case strategy in light of MCA lender status and transfers
74   9/16/2024   Y Lissebeck      0.1   Review email from S. Johnston re pursuing litigation target and claims for relief
74   9/16/2024   Y Lissebeck      0.5   Review various files and information re to litigation target and respond re secured status
                                        and additional ponzi and MCA claims to look for
74   9/17/2024   S Johnston       0.4   Work on MCA lender as unsecured creditor strategy for demand details and avoidance
                                        claims
                                                                                                                                                                                 Case 8:23-bk-10571-SC




74   9/23/2024   B Lira           1.5   Prepare demand letter to Ace Funding concerning its receipt of $395k in fraudulent
                                        transfers with attention to issues of confidentiality and spoliation
74   9/23/2024   S Johnston       0.2   Revise demand letter
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                               Herret Credit Consultants (143576-75)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00       .30      $250.50
    Sarah S. Mattingly           Partner              $610.00      1.40      $854.00
    Yosina M. Lissebeck          Partner              $745.00      1.60     $1,192.00
    Matthew J. Stockl            Associate            $480.00     29.20    $14,016.00
                                                        TOTALS    32.50    $16,312.50
     Date            Name      Hours    Narrative
75   7/1/2024    M Stockl         4.2   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/175 documents reviewed.
75    7/2/2024   M Stockl         1.7   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/63 documents reviewed.
75    7/3/2024   M Stockl         0.9   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/57 documents reviewed.
75   7/10/2024   M Stockl         0.3   Call with S. Mattingly regarding potential causes of action against K. Herret and/or Herret
                                        Credit Consultants.
75   7/10/2024   S Mattingly      0.3   Additional analysis of potential claims against Herret, pre and post-petition in order to
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        provide recovery for the estate.
75   7/11/2024   C Celentino      0.1   Review email re meeting with Herret, review response, reply
75   7/11/2024   M Stockl         0.3   Review and analyze motion for allowance of administrative priority claim filed by Herret
                                        Credit Consultants in connection with potential avoidance action against Herret Credit
                                        Consultants and K. Herret.
75   7/11/2024   M Stockl         0.7   Conference with A. Mamlyuk, S. Mattingly, and Y. Lissebeck regarding objection to Herret
                                        admin claim and potential avoidance action.
75   7/11/2024   M Stockl         1.5   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                                                                                                                      Main Document




                                        Herret/98 documents reviewed.
75   7/11/2024   S Mattingly      0.7   Additional analysis of potential Chapter 5 causes of action supported by the documents
                                        and bank records.
75   7/11/2024   Y Lissebeck      0.2   Telephone call with S. Mattingly re Herret adversary matter and strategy
75   7/11/2024   Y Lissebeck      0.1   Review and respond to email from A. Mamlyuk re meeting with Herret to discuss
75   7/11/2024   Y Lissebeck      0.1   Draft email to C. Celentino re meeting with Herret, review response, reply
75   7/11/2024   Y Lissebeck      0.5   Telephone call with A. Mamlyuk, S. Mattingly, M. Stockl re Herret information and case
                                        strategy with admin claim and adversary
                                                                                                                                                       Page 389 of 501




75   7/15/2024   M Stockl         2.5   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/230 documents reviewed.
75   7/16/2024   M Stockl         1.4   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/123 documents reviewed.
75   7/17/2024   M Stockl         0.3   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/50 documents reviewed.
75   7/18/2024   M Stockl         1.7   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/107 documents reviewed.
75   7/19/2024   M Stockl         1.1   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/100 documents reviewed.
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75   7/22/2024   M Stockl         3.7   Review and analyze debtor emails and documents in custodians file: keyword Kyle Herret/
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                                        229 documents reviewed.
      Date           Name      Hours    Narrative
75   7/23/2024   M Stockl         3.1   Review and analyze debtor emails and documents in custodians file: keyword Kyle Herret/
                                        257 documents reviewed.
75   7/25/2024   M Stockl         1.8   Review and analyze debtor emails and documents in custodians file: keyword Kyle
                                        Herret/157 documents reviewed.
75   8/23/2024   C Celentino      0.2   Confer re the complaint
75   8/23/2024   Y Lissebeck      0.2   Review and respond to email re complaint and objection to Herret admin claim
75   8/23/2024   Y Lissebeck      0.3   Telephone call with S. Mattingly re complaint and moving forward with case strategy
75   8/23/2024   Y Lissebeck      0.2   Draft email from M. Stockl and C. Celentino re the complaint
75   8/27/2024   M Stockl         0.4   Conference with S. Mattingly regarding case strategy and claims for relief against K.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        Herret and Herret Credit Consultants.
75   8/27/2024   S Mattingly      0.4   Analysis of potential causes of action
75   9/13/2024   M Stockl         1.7   Research regarding potential causes of action against Herret Credit Consulting in
                                        connection with approximately $1.3 million transferred pre-petition.
75   9/13/2024   M Stockl         0.2   Correspondence with S. Mattingly regarding potential causes of action against Herret
                                        Credit Consulting and K. Herret.
75   9/17/2024   M Stockl         0.1   Call with S. Mattingly regarding status of adversary complaint, case strategy, and next
                                        steps.
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75   9/20/2024   M Stockl         1.6   Research and form strategy regarding causes of action against Herret Credit Consultants,
                                        including claims under sections 502(d) and (j), 542, 544(b), 547, 548, 549, 550, and 551 of
                                        the Bankruptcy Code and corresponding claims under Cal Civ. Code sections 3439.04(a),
                                        3439.05 and 3439.07.
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                                  Greyson/Han Trinh (143576-76)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00       .20      $167.00
    Yosina M. Lissebeck          Partner              $745.00       .20      $149.00
    Jeremy B. Freedman           Associate            $465.00      1.90      $883.50
                                                        TOTALS     2.30     $1,199.50
      Date            Name     Hours    Narrative
76   9/23/2024   C Celentino      0.2   Conference re appeal of Greyson admin claim
76   9/23/2024   J Freedman       1.9   Draft initial disclosures as to Greyson
76   9/23/2024   Y Lissebeck      0.2   Discuss appeal of Greyson admin claim with C. Ghio and C. Celentino
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                              Han Trinh and Jayde Trinh (143576-77)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00       .20      $167.00
    Yosina M. Lissebeck          Partner              $745.00       .60      $223.50
    Jeremy B. Freedman           Associate            $465.00      4.70     $2,185.50
                                                        TOTALS     5.50     $2,576.00
     Date             Name     Hours    Narrative
77   7/5/2024    Y Lissebeck      0.1   Review and respond to email from C. Haes re Han Trinh payments and forward to C. Ghio
                                        for response
77   8/28/2024   J Freedman       0.2   Develop strategy for further discovery and subpoenas as to Han and Jayde Trinh to locate
                                        assets and evidence
77   9/19/2024   J Freedman       3.6   Review and analysis of Han's LPG email account and evidence regarding her hire date
                                        and evidence to be produced with initial disclosures
77   9/19/2024   J Freedman       0.1   Multiple emails (2) with client regarding limiting records related to Han Trinh per prior
                                        stipulation with counsel for AMEX records
77   9/19/2024   J Freedman       0.8   Review and analysis of bank records from Chase Bank related to Han and Greyson in
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        order to evaluate for production with initial disclosures
77   9/23/2024   C Celentino      0.2   Confer issues on appeal
77   9/23/2024   Y Lissebeck      0.2   Review issues on appeal and forward to C. Ghio and C. Celentino for comment
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                                  Debt Resolution Direct (143576-78)



                                               FEES
              NAME                     TITLE           RATE      HOURS    TOTAL FEES
         Matthew J. Stockl        Associate           $480.00       .10       $48.00
         Bryan L. Cockroft        Associate           $275.00      1.00      $275.00
                                                        TOTALS     1.10      $323.00
      Date           Name     Hours    Narrative
78   8/22/2024   B Cockroft        1   Update Complaint to include 549 language to recover post-petition transfers.
78   9/17/2024   M Stockl        0.1   Call with S. Mattingly regarding status of adversary complaint, case strategy, and next
                                       steps.
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                            Gofi Finance / Gofi, LLC (143576-79)



                                          FEES
                NAME              TITLE           RATE      HOURS   TOTAL FEES
    Matthew J. Stockl        Associate           $480.00      .10      $480.00
                                                   TOTALS     .10      $480.00
      Date           Name   Hours    Narrative
79   9/17/2024   M Stockl      0.1   Call with S. Mattingly regarding status of adversary complaint, case strategy, and next
                                     steps.
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                            United Debt Consultants (143576-80)



                                          FEES
                NAME              TITLE           RATE      HOURS    TOTAL FEES
    Matthew J. Stockl        Associate           $480.00       .10       $48.00
    Bryan L. Cockroft        Associate           $275.00      1.20      $330.00
                                                   TOTALS     1.30      $378.00
      Date           Name     Hours    Narrative
80   8/22/2024   B Cockroft      0.5   Update United Debt Consultants Complaint to update recovery numbers.
80   8/29/2024   B Cockroft      0.7   Analyze California law to determine the plausibility of adding an intentional fraudulent
                                       conveyance claim to complaint.
80   9/17/2024   M Stockl        0.1   Call with S. Mattingly regarding status of adversary complaint, case strategy, and next
                                       steps.
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                          Platinum Capital Consulting, LLC (143576-81)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00       .20      $149.00
    Sara A Johnston            Partner              $495.00      1.70      $841.50
    Bryan L. Cockroft          Associate            $275.00      6.70     $1,842.50
                                                      TOTALS     8.60     $2,833.00
      Date            Name     Hours    Narrative
81    8/2/2024   S Johnston       0.2   Begin review of updated complaint from B. Cockcroft
81    8/2/2024   Y Lissebeck      0.1   Telephone call with S. Johnston re case strategy and status
81   8/15/2024   B Cockroft       0.6   Draft 549 claim language to include in Complaint.
81   8/21/2024   B Cockroft       1.1   Draft 549 pre-petition transfer language to revise Complaint.
81   8/22/2024   Y Lissebeck      0.1   Review email from S. Johnston re status of filing complaint
81   8/23/2024   B Cockroft         1   Analyze 549 pre-petition claims to draft language to include in complaint.
81   8/23/2024   S Johnston         1   Additional revisions to Platinum Consulting Complaint
81   8/26/2024   B Cockroft       1.5   Finalize draft and prepare exhibits for filing of Complaint of adversary proceeding.
81   8/27/2024   S Johnston       0.1   Discuss additional counts to complaint in light or order denying Greyson's motion
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81   8/28/2024   B Cockroft       0.6   Analyze California law about intentional fraudulent conveyances.
81   8/30/2024   B Cockroft       0.9   Analyze California law to determine the plausibility of adding an intentional fraudulent
                                        conveyance claim to complaint.
81   8/30/2024   S Johnston       0.1   Continue discussions for claim additions with B. Cockcroft
81   8/31/2024   S Johnston       0.2   Continued correspondence with B. Cockcroft for Ponzi Scheme complaint
                                        recommendations
81    9/3/2024   B Cockroft       0.7   Review EPD Investment Complaint for further analysis for potential new claims.
81    9/9/2024   B Cockroft       0.3   Review case filings to see if there are any administrative claims and priority claims.
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81    9/9/2024   S Johnston       0.1   Telephone call from B. Cockcroft for priority claim discussion
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                      Adv. Case No. 24-1068 (Arash Asante Bayrooti) (143576-85)



                                                    FEES
                 NAME                  TITLE                RATE      HOURS    TOTAL FEES
    Christopher B. Ghio          Partner                   $625.00     70.00    $43,750.00
    Christopher Celentino        Partner                   $835.00      6.30     $5,260.50
    M. Tyler Powell              Partner                   $595.00      9.80     $5,831.00
    Yosina M. Lissebeck          Partner                   $745.00      4.60     $3,427.00
    Jacob R. Bothamley           Associate                 $405.00       .50      $202.50
    Matthew J. Stockl            Associate                 $480.00     60.00    $28,800.00
    Brandon E. Lira              Associate                 $355.00      7.90     $2,804.50
    Jennifer E. Pitcock          Paraprofessional          $215.00      2.50      $537.50
                                                             TOTALS   161.60    $90,613.00
     Date            Name      Hours    Narrative
85   7/2/2024    C Ghio           2.1   Begin review and legal analysis of draft Memorandum of Points and Authorities in support
                                        of Writ of Attachment.
85    7/2/2024   M Stockl         1.6   Prepare Marshack declaration in support of motion and motion for right to attach order and
                                        writ of attachment.
85    7/5/2024   C Ghio           0.5   Analysis re document demand to Bayrooti in connection with settlement discussions
85    7/5/2024   MT Powell        0.3   Review and respond to email from counsel for Mr. Bayrooti re settlement and answer
                                        deadline.
85    7/8/2024   C Ghio           2.6   Continue review and legal analysis re Memorandum of Points and Authorities in Support
                                        of Writ of Attachment
                                                                                                                                                                                 Case 8:23-bk-10571-SC




85   7/10/2024   C Celentino      0.2   Confer re case strategy and writ issues
85   7/10/2024   C Ghio           1.5   Revise Memorandum of Points and Authorities in support of writ of attachment.
85   7/10/2024   C Ghio           1.1   Legal research and analysis re writ of attachment and amendment of complaint to include
                                        11 USC 544 claim in addition to state law UFTA claims.
85   7/10/2024   C Ghio           1.2   Begin review of ancillary pleadings for writ of attachment.
85   7/10/2024   J Bothamley      0.1   Review email exchanges between C. Ghio and Y.L. re status of Bayrooti asset search and
                                        related issues.
85   7/10/2024   J Bothamley      0.1   Call with Matt Stockl re follow up library search for Bayrooti assets.
                                                                                                                                     Main Document




85   7/10/2024   J Bothamley      0.3   Review Motion For Right To Attach Order and Issuance of Writ of Attachment with
                                        accompanying documents sent by Matthew Stockl.
85   7/10/2024   M Stockl         0.2   Prepare notice of application and hearing (Form CV-4I).
85   7/10/2024   M Stockl         0.4   Prepare application for right to attach order and order for issuance of writ of attachment
                                        (Form CV-4F).
85   7/10/2024   M Stockl         0.3   Prepare right to attach order and order for issuance of writ of attachment.
85   7/10/2024   M Stockl         0.7   Review and revise declaration in support of memorandum of points and authorities in
                                        support of application for writ of attachment.
                                                                                                                                                      Page 404 of 501




85   7/10/2024   M Stockl         0.1   Review and revise notice of motion and motion for writ of attachment.
85   7/10/2024   M Stockl         0.1   Correspondence with L. Hayes regarding Bayrooti asset search in connection with pre-
                                        judgment writ of attachment.
85   7/10/2024   M Stockl         0.1   Call with J. Bothamley regarding Bayrooti asset search in connection with pre-judgment
                                        writ of attachment.
85   7/10/2024   M Stockl         1.6   Review and revise memorandum of points and authorities in support of application for writ
                                        of attachment, including cite checking and citing to declaration.
85   7/10/2024   MT Powell        0.4   Discuss amendment of complaint and pursuit of litigation against Mr. Bayrooti with Y.
                                        Lissebeck and C. Ghio.
85   7/10/2024   Y Lissebeck      0.2   Review and respond to email re status of answer, settlement and writ
                                                                                                                                                                                    Page 403




85   7/10/2024   Y Lissebeck      0.2   Review further email from C. Ghio re asset search and respond re bank information
                                                                                                                                                                                EXHIBIT "D"
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85   7/10/2024   Y Lissebeck      0.2   Discuss case strategy and writ issues with C. Celentino
      Date            Name     Hours    Narrative
85   7/10/2024   Y Lissebeck      0.2   Draft email to team re case strategy
85   7/10/2024   Y Lissebeck      0.3   Telephone call with C. Ghio and T. Powell re writ, settlement, and summary judgment
                                        issues
85   7/11/2024   C Celentino      2.1   Review bank records, tax records and subpoena records to evaluate writ of attachment
                                        strategy and run asset report and property profile report re same
85   7/11/2024   C Ghio           2.1   Review and revise/approve First Amended Complaint
85   7/11/2024   MT Powell        0.7   Revise complaint against A. Bayrooti to add fraudulent conveyance count under state law.
85   7/12/2024   C Ghio           2.1   Review email to Conte Cicala re Bayrooti FAC
85   7/12/2024   J Pitcock        1.2   Finalize Amended Complaint and accompanying exhibits for filing.
                                                                                                                                                                                 Case 8:23-bk-10571-SC




85   7/12/2024   MT Powell        0.2   Finalize amended complaint for filing.
85   7/12/2024   MT Powell        0.2   Draft email to counsel for C. Cicla, counsel for Mr. Bayrooti, attaching amended complaint
                                        and discussing revised answer and meet and confer dates.
85   7/12/2024   Y Lissebeck      0.1   Review email re amended complaint from T. Powell and new response date
85   7/16/2024   J Pitcock        0.5   Follow up with respect to service requirements relating to the Amended Complaint.
85   7/16/2024   J Pitcock        0.2   Conference with M. Powell regarding service of Amended Complaint on Defendant.
85   7/22/2024   C Celentino      0.9   Conference re Charles new case as special counsel
85   7/22/2024   C Celentino      1.2   Review, revise and finalize writ of attachment pleadings
                                                                                                                                     Main Document




85   7/22/2024   C Ghio           0.3   Analysis re service of FAC and writ.
85   7/22/2024   C Ghio             1   Review and revision of writ pleadings.
85   7/22/2024   M Stockl         0.3   Research regarding issuance of alias summons.
85   7/22/2024   M Stockl         0.3   Correspondence with T. Powell regarding service of amended complaint and writ
                                        pleadings on defendant.
85   7/22/2024   M Stockl         0.4   Correspondence with L. Hayes regarding results of asset search.
85   7/22/2024   M Stockl         0.4   Correspondence with L. Hayes regarding asset search in connection with prejudgment writ
                                        of attachment.
                                                                                                                                                      Page 405 of 501




85   7/22/2024   MT Powell        0.5   Review and respond to emails on service of amended complaint on Bayrooti and writ of
                                        attachment with C. Ghio and M. Stockl.
85   7/22/2024   MT Powell        0.3   Review and respond to emails re form demand letters for possible recipients of
                                        preferential and fraudulent transfers from C. Haes.
85   7/23/2024   C Ghio           1.4   Complete review and revision of writ of attachment papers
85   7/23/2024   M Stockl         0.2   Correspondence with L. Hayes regarding nationwide bank and brokerage search in
                                        connection with prejudgment writ of attachment.
85   7/24/2024   C Celentino      0.6   Review, revise and approve final motion for writ of attachment, notices declarations and
                                        orders related thereto and evidence of source of cash
85   7/25/2024   C Ghio           0.9   Review and analysis of potential transfers of assets to Bayrooti Trust.
                                                                                                                                                                                    Page 404




85   7/25/2024   C Ghio           1.4   Review and revision of writ of attachment pleadings
                                                                                                                                                                                EXHIBIT "D"
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      Date           Name      Hours    Narrative
85   7/25/2024   M Stockl         0.8   Revise memorandum of points and authorities in support of issuance of pre-judgment writ
                                        of attachment.
85   7/25/2024   MT Powell        0.5   Review and respond to emails re writ of attachment in Bayrooti adversary and amendment
                                        of complaint.
85   7/26/2024   M Stockl         0.4   Review and summarize asset search results in connection with pre-judgment writ of
                                        attachment.
85   7/26/2024   M Stockl         2.3   Research regarding ex parte writ of attachment.
85   7/26/2024   M Stockl         0.2   Correspondence with L. Hayes regarding search results for trust and real estate.
85   7/29/2024   C Celentino      0.9   Review and finalize writ of attachment pleadings
                                                                                                                                                                                  Case 8:23-bk-10571-SC




85    8/1/2024   M Stockl         0.9   Research regarding trust liability for individual.
85    8/1/2024   M Stockl         1.8   Revise writ pleadings for ex parte relief.
85    8/2/2024   C Ghio           1.5   Begin review of revised ex parte application for writ of attachment.
85    8/2/2024   M Stockl         3.9   Revise memorandum of points and authorities in support of ex parte application for right to
                                        attach order.
85    8/5/2024   C Ghio           0.9   Review revised draft Ex Parte Application for Writ of Attachment
85    8/5/2024   C Ghio           0.3   Strategy conference re writ of attachment with Matt Stockl.
85    8/5/2024   C Ghio           0.6   Analysis re request for temporary protective order as alternative to ex parte relief
                                                                                                                                      Main Document




85    8/5/2024   M Stockl         0.3   Revise ex parte motion for writ of attachment to include request for alternative relief of
                                        temporary protective order preventing defendant from transferring, encumbering, or
                                        hypothecating the real property pending noticed hearing.
85    8/5/2024   M Stockl         0.1   Call with C. Ghio regarding request for alternative relief of temporary protective order
                                        preventing defendant from transferring, encumbering, or hypothecating the real property
                                        pending noticed hearing.
85    8/6/2024   M Stockl         1.3   Revise memorandum of points and authorities to include request for alternative relief of
                                        temporary protective order preventing defendant from transferring, encumbering, or
                                                                                                                                                       Page 406 of 501




                                        hypothecating the real property pending noticed hearing.
85    8/7/2024   C Ghio           1.8   Review and revise Writ of Attachment pleadings.
85    8/7/2024   M Stockl         0.6   Finalize writ pleadings.
85    8/8/2024   C Ghio           1.7   Review of tentative ruling granting similar application for preliminary
                                        injunction/attachment/seizure
85    8/8/2024   M Stockl         0.3   Review and revise table of authorities for memorandum of law in support of ex parte
                                        application for writ of attachment.
85    8/8/2024   M Stockl         0.1   Correspondence with C. Ghio regarding declaration.
85    8/8/2024   M Stockl         0.1   Call with C. Ghio re AB Capital case.
85    8/8/2024   M Stockl         0.8   Review tentative ruling posted in AB Capital case in connection with ex parte application
                                                                                                                                                                                     Page 405




                                        for writ of attachment.
                                                                                                                                                                                 EXHIBIT "D"
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85   8/13/2024   C Ghio           1.6   Legal research and analysis re emergency relief
      Date           Name      Hours    Narrative
85   8/13/2024   C Ghio           0.4   Telephone call with Kyra Andrassy for Defendant Bayrooti.
85   8/13/2024   C Ghio           1.8   Final review/revision and preparation of pleadings for emergency motion
85   8/13/2024   C Ghio           0.8   Strategy conference with Matt Stockl re emergency motion under 9075-1a
85   8/13/2024   C Ghio           0.6   Telephone calls with chambers re same
85   8/13/2024   M Stockl           1   Prepare declaration regarding notice of emergency motion.
85   8/13/2024   M Stockl         0.5   Supervise service of amended complaint.
85   8/13/2024   M Stockl         0.4   Revise writ pleadings re no notice.
85   8/13/2024   M Stockl         1.7   Review and revise pleadings for hearing on emergency motion for application for right to
                                        attach order and issuance of writ of attachment.
                                                                                                                                                                                 Case 8:23-bk-10571-SC




85   8/13/2024   MT Powell        0.7   Review and respond to multiple emails with C. Ghio and Y. Lissebeck regarding service of
                                        amended complaint and writ of execution pleadings on Bayrooti and his counsel
85   8/13/2024   Y Lissebeck      0.2   Review email from C. Ghio re writ and status report and respond
85   8/13/2024   Y Lissebeck      0.2   Discuss status of case and amended complaint with C. Ghio
85   8/13/2024   Y Lissebeck      0.2   Telephone call with C. Ghio re status of writ and rules re notice
85   8/13/2024   Y Lissebeck      0.2   Telephone call with T. Powell re status of case and status report
85   8/14/2024   C Ghio           0.8   Review and approve Stockl declaration re notice to interested parties.
85   8/14/2024   C Ghio           0.2   Review tentative ruling to hear the matter
                                                                                                                                     Main Document




85   8/14/2024   C Ghio           0.6   Prepare notes for oral arguments
85   8/14/2024   C Ghio           6.1   Legal research and analysis in preparation for hearing on Writ of Attachment.
85   8/14/2024   M Stockl         0.5   Review and revise proof of service re first amended complaint and writ pleadings.
85   8/14/2024   M Stockl         0.9   Review and highlight cited cases and statutes in preparation for oral argument.
85   8/14/2024   M Stockl         0.1   Finalize and file declaration re proof of notice of hearing.
85   8/14/2024   M Stockl         1.4   Prepare outline for oral argument on application for right to attach order and issuance of
                                        writ of attachment.
85   8/15/2024   C Ghio           3.7   Legal research, analysis and preparation of notes for hearing on ex parte writ of
                                                                                                                                                      Page 407 of 501




85   8/15/2024   C Ghio           3.5   Attend hearing on ex parte writ of attachment.
85   8/15/2024   C Ghio           0.8   Review, revise and approve Temporary Restraining Order.
85   8/15/2024   C Ghio           1.3   Prepare memo to litigation team re ex parte writ of attachment strategy.
85   8/15/2024   M Stockl         0.2   Call with C. Ghio regarding right to attach order and order for issuance of writ of
                                        attachment.
85   8/15/2024   M Stockl         0.3   Lodge temporary restraining order.
85   8/15/2024   M Stockl         0.2   File notice of lodgment of order.
85   8/15/2024   M Stockl         0.4   Review and revise temporary restraining order.
85   8/15/2024   M Stockl         0.3   Prepare notice of lodgment of order.
85   8/15/2024   M Stockl         0.8   Prepare temporary restraining order.
85   8/15/2024   M Stockl         0.7   Review and summarize arguments raised in opposition to emergency motion.
                                                                                                                                                                                    Page 406
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85   8/15/2024   M Stockl         0.6   Conference with C. Ghio regarding evidentiary objections filed by defendant.
      Date            Name     Hours    Narrative
85   8/15/2024   MT Powell        0.6   Attention to email relaying Court's rulings for TRO order, writ, and subsequent hearing
85   8/15/2024   Y Lissebeck      0.4   Discuss case status with C. Ghio re writ hearing
85   8/15/2024   Y Lissebeck      0.4   Further discuss writ hearing re arguments and assets with C. Ghio
85   8/16/2024   M Stockl         0.2   Review as entered temporary restraining order.
85   8/16/2024   M Stockl         0.5   Oversee service of temporary restraining order.
85   8/16/2024   M Stockl         0.2   Review requirements for recording TRO in Orange County Recorder's Office
85   8/16/2024   Y Lissebeck      0.1   Review and respond to emails from J. Pitcock and C. Ghio re writ and court file
85   8/16/2024   Y Lissebeck      0.1   Review and respond to emails re writ and procedure for recording writ
85   8/19/2024   C Ghio           0.6   Coordinate bond for Bayrooti writ of attachment
                                                                                                                                                                                Case 8:23-bk-10571-SC




85   8/19/2024   M Stockl         0.7   Prepare Right to Attach Order After Hearing and Order for Issuance of Writ of Attachment.
85   8/19/2024   M Stockl         0.4   Prepare Writ of Attachment.
85   8/20/2024   C Ghio           0.4   Review and approve bond application and email to Richard Marshack.
85   8/20/2024   C Ghio           0.3   Review certified copy of Temporary Restraining Order and coordinate service and
                                        recording.
85   8/20/2024   C Ghio           0.9   Review and approve Right to Attach Order, Order for Issuance of Writ of Attachment and
                                        Writ of Attachment.
85   8/20/2024   C Ghio           0.4   Review surety company email and draft bond language.
                                                                                                                                    Main Document




85   8/20/2024   M Stockl         0.2   Review right to attach order and order for issuance of writ of attachment.
85   8/21/2024   C Celentino      0.2   Review and respond to email of C. Celentino re insolvency and evidence to prove debtor
                                        was insolvent
85   8/21/2024   C Ghio           0.7   Review and approve bond and power of attorney from surety
85   8/21/2024   C Ghio           0.9   Final review and approval of Writ of Attachment and Right to Attach Order.
85   8/21/2024   M Stockl         0.3   Correspondence with K. Ortiz regarding filing undertaking.
85   8/21/2024   Y Lissebeck      0.2   Review and respond to email of C. Celentino re insolvency and evidence to prove debtor
                                        was insolvent
                                                                                                                                                     Page 408 of 501




85   8/21/2024   Y Lissebeck      0.2   Review and respond to email from Trustee re valuation of assets and home
85   8/23/2024   C Ghio           0.4   Confirm service of temporary restraining order.
85   8/23/2024   M Stockl         0.8   Prepare notice of filing of undertaking.
85   8/26/2024   C Ghio           0.2   Confirm lodging of Right to Attach Order.
85   8/26/2024   C Ghio           0.4   Emails with Kyra Andrassy re Rule 26 conference and possible settlement discussions.
85   8/26/2024   C Ghio           0.6   Analysis re settlement, summary judgment and collection.
85   8/26/2024   M Stockl         0.2   Revise right to attach order.
85   8/27/2024   C Ghio           0.5   Review entered Right to Attach Order and email with Kyra Andrassy re same.
85   8/27/2024   C Ghio           0.2   Coordinate service of writ on clerk for issuance.
85   8/27/2024   M Stockl         0.5   Attention to submission of writ.
85   8/27/2024   M Stockl           1   Prepare revised right to attach order and order for issuance of writ of attachment.
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85   8/27/2024   M Stockl         0.1   Call to chambers re submission of writ to clerk's office.
      Date           Name      Hours    Narrative
85   8/27/2024   M Stockl         0.5   Research and analyze criteria for issuance of a preliminary injunction under Rule 7065.
85   8/28/2024   C Ghio           0.3   Confirm entry and service/recording of writ of attachment.
85   8/28/2024   C Ghio           1.4   Legal research and analysis re standard from continuing restraining order and entry of
                                        preliminary injunction and prepare for hearing on preliminary injunction.
85   8/28/2024   M Stockl         0.4   Expedite service and recording of certified copy of writ of attachment.
85   8/28/2024   M Stockl         0.3   Prepare proof of service of Writ of attachment.
85   8/28/2024   M Stockl         0.2   Call to clerk's office regarding submission of writ of attachment.
85   8/28/2024   M Stockl         0.8   Research and summarize criteria for preliminary injunction.
85   8/29/2024   C Ghio           0.8   Drive to Santa Ana from San Diego for hearing on Preliminary Injunction (personal
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                        appearance required) (50% reduction, total travel time 1.5).
85   8/29/2024   C Ghio            1    Drive from Santa Ana to San Diego after hearing on Preliminary Injunction (personal
                                        appearance required) (personal appearance required) (50% reduction, total travel time
                                        2.0).
85   8/29/2024   C Ghio           0.4   Attend hearing on preliminary injunction.
85   8/30/2024   M Stockl         0.1   Correspondence with C. Ghio regarding recorded writ of attachment.
85    9/3/2024   C Ghio           0.3   Analysis re confirmation of service of financial institutions.
85    9/3/2024   J Pitcock        0.2   Review and circulate Answer to First Amended Complaint to T. Powell.
                                                                                                                                     Main Document




85    9/3/2024   M Stockl         0.3   Call with U.S. Bank regarding writ of attachment.
85    9/3/2024   M Stockl         0.4   Call with Charles Schwab regarding writ of attachment.
85    9/3/2024   M Stockl         0.2   Call with Charles Schwab Mission Viejo branch regarding writ of attachment.
85    9/3/2024   M Stockl         0.1   Call with C. Ghio regarding service of writ of financial institutions.
85    9/3/2024   M Stockl         0.2   Correspondence with A. Martinez of Charles Schwab legal department re writ of
                                        attachment.
85    9/3/2024   M Stockl         0.4   Prepare instructions to U.S. Marshal regarding service of writ of attachment on Charles
                                        Schwab.
                                                                                                                                                      Page 409 of 501




85    9/3/2024   M Stockl         0.4   Prepare instructions to U.S. Marshal regarding service of writ of attachment on U.S. Bank.
85    9/5/2024   C Ghio           1.1   Conduct Rule 7026f conference.
85    9/5/2024   MT Powell        0.6   Participate in Rule 26 conference with counsel for Mr. Bayrooti.
85    9/5/2024   Y Lissebeck      0.2   Discuss meet and confer and settlement issues with C. Ghio
85    9/5/2024   Y Lissebeck      0.2   Review and respond to multiple texts re settlement issues and payment of funds
85    9/5/2024   Y Lissebeck      0.3   Telephone call with C. Ghio re status of settlement issues
85    9/6/2024   M Stockl         0.7   Prepare Notices of Attachment and Writs of Garnishee to U.S. Bank and Charles Schwab
                                        in connection with service of writ of attachment by U.S. Marshals.
85    9/6/2024   M Stockl         0.3   Call with ACE Attorney Services regarding service of writ of attachment by U.S. Marshals.
85    9/6/2024   M Stockl         0.1   Correspondence with ACE Attorney services regarding documents and service of writ of
                                        attachment by U.S. Marshals.
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85    9/9/2024   C Ghio           0.3   Follow up with Sheriff re service of writ.
     Date            Name    Hours    Narrative
85   9/9/2024    M Stockl       0.1   Call with Orange County Sheriff's Office regarding service of writ of attachment.
85   9/9/2024    M Stockl       0.8   Prepare documents for service of writ of attachment on U.S. Bank by Orange County
                                      Sheriff, including Request for Sheriff to Serve Court Papers (SER-001), Special
                                      Instructions for Writs and Levies-Attachment (SER-001A), Notice of Attachment (AT-165),
                                      and Memorandum of Garnishee (AT-167).
85    9/9/2024   M Stockl       0.8   Prepare documents for service of writ of attachment on Charles Schwab by Orange
                                      County Sheriff, including Request for Sheriff to Serve Court Papers (SER-001), Special
                                      Instructions for Writs and Levies-Attachment (SER-001A), Notice of Attachment (AT-165),
                                      and Memorandum of Garnishee (AT-167).
                                                                                                                                                                             Case 8:23-bk-10571-SC




85    9/9/2024   M Stockl       0.2   Correspondence with ACE Attorney Services regarding service of writ documents by
                                      Orange County Sheriff's Office.
85    9/9/2024   M Stockl       1.2   Research regarding appointment of special process server in adversary proceedings in
                                      connection with service of writ of attachment in the event U.S. Marshal and Orange
                                      County Sheriff are unable to serve writ of attachment.
85   9/10/2024   B Lira         0.5   Confer with TP regarding potential discovery requests to be prepared and served upon
                                      Defendant Bayrooti
85   9/10/2024   B Lira         2.1   Develop strategy concerning the discovery to be taken against Bayrooti by the Trustee
                                                                                                                                 Main Document




                                      with attention to evidentiary gaps in the record regarding Bayrooti's wherewithal
85   9/10/2024   B Lira         1.2   Begin drafting discovery requests to be served upon Defendant Bayrooti
85   9/10/2024   M Stockl       0.2   Correspondence with ACE Attorney services regarding original writ of attachment.
85   9/10/2024   M Stockl       0.1   Review and respond to D. Mercado of ACE Attorney Services regarding service of writ of
                                      attachment by Orange County Sheriff's Department.
85   9/10/2024   MT Powell      0.6   Prepare draft of joint status report for adversary
85   9/11/2024   B Lira         0.3   Emails with TP and YL concerning applicable forms for conducting discovery in the
                                      Central District of California
                                                                                                                                                  Page 410 of 501




85   9/11/2024   M Stockl       0.1   Call with J. Burnett of ACE Attorney Services regarding Orange County Sheriff non-
                                      acceptance of writ for service.
85   9/11/2024   M Stockl       0.1   Call with J. Burnett of ACE Attorney Services regarding service of writ of attachment by
                                      Orange County Sheriff's office.
85   9/11/2024   M Stockl       0.8   Revise writ documents regarding levy by U.S. Marshal.
85   9/11/2024   M Stockl       1.4   Review Berger v. Varum and Heller Ehrman LLP v. Davis Wright Tremaine LLP in
                                      connection with amending complaint to add additional claim for intentional fraudulent
                                      transfer.
85   9/12/2024   B Lira         2.5   Continue drafting discovery requests to be served upon Defendant Bayrooti
85   9/12/2024   C Ghio         0.4   Review Status Report draft and propose revisions.
                                                                                                                                                                                Page 409




85   9/12/2024   C Ghio         0.3   Telephone call from/to court re status report due in advance of status conference.
                                                                                                                                                                            EXHIBIT "D"
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      Date           Name      Hours    Narrative
85   9/12/2024   M Stockl         0.3   Prepare Notice of Attachment directed to defendant, Bayrooti, and to The Arash Bayroodi
                                        Living Trust.
85   9/12/2024   MT Powell        0.2   Draft email to K. Andrassy re joint status report, entered protective order, and additional
                                        financial information for review.
85   9/12/2024   MT Powell        0.4   Review status report answers from counsel for Mr. Bayrooti and add Trustee's responses
                                        to same
85   9/13/2024   J Pitcock        0.3   Review Joint Status Report and deficiency notices related thereto and calendar hearing
                                        set for 09/24/2024.
85   9/13/2024   J Pitcock        0.1   Conference with T. Powell regarding Joint Status Report filed and confirm next hearing
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                        date.
85   9/13/2024   M Stockl         0.3   Attention to service of writ.
85   9/13/2024   MT Powell        0.4   Attention to Court's rejection of joint status report with errors
85   9/16/2024   B Lira           0.2   Email lead TP concerning draft discovery requests against Bayrooti
85   9/17/2024   B Lira           0.2   Review email from TP concerning the discovery requests propounded by Bayrooti
85   9/17/2024   C Ghio           0.4   Review garnishee return from US Bank re 4 accounts and 3 safe deposit boxes.
85   9/17/2024   C Ghio           1.2   Prepare email to Kyra Andrassy and Samantha Klein re results of US Bank levy,
                                        document production, protective Order and compliance with TRO and writ of attachment.
                                                                                                                                      Main Document




85   9/17/2024   C Ghio           0.6   Analysis re potential contempt proceedings adverse Bayrooti following US Bank levy
85   9/17/2024   M Stockl         0.3   Review statement from U.S. Bank regarding frozen accounts and amounts.
85   9/17/2024   M Stockl         0.2   Correspondence with C. Ghio regarding discrepancy between prior amounts of funds in
                                        checking and money market accounts and currently available funds at U.S. Bank.
85   9/17/2024   M Stockl         0.2   Review discovery requests for production of documents and interrogatories to trustee.
85   9/17/2024   MT Powell        0.3   Review response of US Bank to writ of attachment identifying accounts frozen
85   9/17/2024   MT Powell        0.4   Attention to answer of US Bank to writ of attachment for A. Bayrooti
85   9/17/2024   Y Lissebeck      0.2   Review and respond to emails from M. Stockl re writ, attachment and withdrawal of money
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                                        from accounts
85   9/18/2024   C Celentino      0.2   Confer re status of writ and accounting
85   9/18/2024   C Ghio           0.7   Legal analysis re writ of attachment procedure.
85   9/18/2024   C Ghio           0.9   Legal analysis re settlement strategy.
85   9/18/2024   C Ghio           0.6   Review US Bank garnishee return and analysis re apparent discrepancy in amounts in
                                        account and Bayrooti testimony concerning $4.3 million in assets.
85   9/18/2024   C Ghio           0.4   Analysis re issuance of subpoenas to US Bank and Charles Schwab by Marshack Hays.
85   9/18/2024   M Stockl         1.6   Prepare documents for service of Writ of Attachment on US Wealth Management (US
                                        Bancorp Advisors) to attach approximately $4.4 million.
85   9/18/2024   M Stockl         2.2   Prepare subpoena to U.S. Bank.
                                                                                                                                                                                     Page 410




85   9/18/2024   M Stockl         1.5   Prepare subpoena to Charles Schwab & Co., Inc.
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85   9/18/2024   M Stockl         0.2   Correspondence with C. Ghio regarding subpoenas to U.S. Bank and Charles Schwab.
      Date            Name     Hours    Narrative
85   9/18/2024   Y Lissebeck      0.2   Draft email to C. Ghio and C. Celentino requesting status of writ and accounting, review
                                        response and reply
85   9/18/2024   Y Lissebeck      0.1   Review and respond to various emails re need for additional subpoenas and procedure for
                                        obtaining documents
85   9/19/2024   C Ghio           0.9   Review and approve draft subpoena and exhibit to subpoena – US Bank.
85   9/19/2024   C Ghio           0.9   Review and approve draft subpoena and exhibit to subpoena – Charles Schwab.
85   9/19/2024   C Ghio           0.9   Review and approve draft subpoena and exhibit to subpoena – US Bancorp Advisors.
85   9/19/2024   M Stockl         0.2   Correspondence with B. Barnhardt at Marshack Hays Wood LLP regarding subpoenas to
                                        U.S. Bank, U.S. Bancorp Advisors, LLC, and Charles Schwab.
                                                                                                                                                                                Case 8:23-bk-10571-SC




85   9/19/2024   M Stockl         0.2   Correspondence with ACE Attorney services regarding service of writ on U.S. Bancorp
                                        Advisors, LLC.
85   9/19/2024   M Stockl         1.1   Prepare subpoena to U.S. Bancorp Advisors.
85   9/19/2024   M Stockl         0.2   Revise subpoena to Charles Schwab.
85   9/19/2024   M Stockl         0.1   Revise subpoena to U.S. Bank.
85   9/20/2024   B Lira           0.9   Analyze Bayrooti's discovery requests with attention to the adequacy of the Trustee's own
                                        discovery requests
85   9/20/2024   C Ghio           0.6   Analysis re additional US Bank accounts (US Bancorp Advisors) which were not reported
                                                                                                                                    Main Document




                                        by US Bank in memorandum of garnishee.
85   9/20/2024   C Ghio           0.8   Analysis re stipulation re writ to cover US Bancorp account.
85   9/20/2024   M Stockl         0.9   Form strategy regarding obtaining separate writ of attachment for US Bancorp Advisors
                                        and an order appointing a registered process server.
85   9/20/2024   M Stockl         0.1   Correspondence with C. Ghio regarding service by U.S. Marshal and need for registered
                                        process server to open additional levy.
85   9/20/2024   MT Powell        0.7   Revise request for production of documemts from A. Bayrooti.
85   9/23/2024   C Ghio           1.1   Review and analysis and approval of discovery to Asante Bayrooti.
                                                                                                                                                     Page 412 of 501




85   9/23/2024   M Stockl         0.8   Draft responses to Bayrooti's first set of requests for production of documents.
85   9/23/2024   M Stockl         2.7   Draft responses to Bayrooti's first set of interrogatories.
85   9/23/2024   MT Powell        1.8   Finish drafting and revising discovery requests for A. Bayrooti.
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           A Solution 2 / A Solution Debt Relief / A Solution Debt Relief 3 (143576-86)



                                            FEES
                NAME                TITLE           RATE          HOURS     TOTAL FEES
    Sara A. Johnston          Partner              $495.00           .40       $198.00
    Brandon E. Lira           Associate            $355.00          1.80       $639.00
                                                     TOTALS   0                $837.00
      Date            Name    Hours    Narrative
86   9/13/2024   B Lira          0.2   Analyze claims of Solution Debt Relief with attention to any putative rights to be treated as
                                       an administrative or priority claimant
86   9/16/2024   B Lira          1.4   Prepare demand letter to ASDR concerning its receipt of $290k in fraudulent transfers with
                                       attention to issues of confidentiality and spoliation
86   9/16/2024   S Johnston      0.2   Work on underlying financial detail for revisions to demand letter
86   9/17/2024   B Lira          0.2   Revise demand letter to ASDR concerning its receipt of $290k in fraudulent transfers with
                                       attention to issues of confidentiality and spoliation
86   9/19/2024   S Johnston      0.2   Provide final revisions to B. Lira for demand letter
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                           All Service Financial, LLC (143576-87)



                                          FEES
               NAME               TITLE           RATE      HOURS   TOTAL FEES
    Brian W. Boyd            Associate           $575.00      .60      $345.00
                                                   TOTALS     .60      $345.00
      Date           Name   Hours    Narrative
87   8/25/2024   B Boyd        0.3   Review prior avoidance action filings and Cobalt Funding Complaint for purposes of
                                     drafting avoidance action Complaint as to All Service Financial, LLC.
87    9/9/2024   B Boyd        0.3   Conduct ECF training per Court requirement for representation in filing avoidance actions.
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                             Consumer Law Group, PC/Feig (143576-88)



                                                   FEES
                NAME                   TITLE               RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner                  $835.00       .70      $584.50
    Christopher B. Ghio          Partner                  $625.00      8.00     $5,000.00
    Milton T. Spurlock           Partner                  $595.00     29.30    $17,433.50
    Yosina M. Lissebeck          Partner                  $745.00      2.20     $1,639.00
    Jonathan B. Serrano          Associate                $415.00       .20        $83.00
    Suzanne M. Marino            Associate                $395.00     26.40    $10,428.00
                                 eDiscovery
    Robert J. Simmons                                     $365.00       .80      $292.00
                                 Project Manager
                                                            TOTALS    67.60    $35,460.00
      Date           Name      Hours    Narrative
88   7/10/2024   S Marino         0.4   Consider and fine tune strategic approach for potential settlement discussions with
                                        counsel for CLG with respect to the global financial relationship of the parties in light of
                                        potential dispute regarding the direction and extent of the parties' indebtedness to one
88   7/16/2024   C Celentino      0.2   another.
                                        Review and respond to team emails re Primelogix payments and obtaining statements
                                        related to transfers
88   7/16/2024   M Spurlock        1    Prepare for call with counsel for CLG to begin discussions about missing and disputed
                                        information in furtherance of future settlement.
88   7/16/2024   M Spurlock       0.5   Participate in conference with counsel for CLG regarding need for missing information and
                                        documentation to help clarify dealings between the parties at various times.
                                                                                                                                                                                   Case 8:23-bk-10571-SC




88   7/16/2024   M Spurlock       0.7   Draft summary of initial call with counsel for CLG including new questions raised by same
                                        and necessary follow-up.
88   7/16/2024   S Marino         2.1   Review and prepare summary of supplemental documentation received from CLG's
                                        counsel and build same into existing internal timeline reference document in anticipation
                                        of call with CLG's counsel.
88   7/16/2024   S Marino         0.3   Call with counsel for CLG to discuss needed documentation in advance of exploration of
                                        settlement potential.
88   7/16/2024   S Marino         0.2   Summarize call with CLG's counsel and outline next steps in pursuit of potential
                                                                                                                                       Main Document




88   7/16/2024   Y Lissebeck      0.2   Review and respond to emails from T. Spurlock, J. Serrano and C. Celentino re primelogix
                                        payments and obtaining statements related to transfers
88   7/16/2024   Y Lissebeck      0.2   Telephone call with T. Spurlock re CLG claims and bank information
88   7/29/2024   C Celentino      0.1   Conference re resolution of CLG issues
88   7/29/2024   C Celentino      0.1   Confer re settlement
88   7/29/2024   M Spurlock       0.3   Analysis regarding impact of latest documents provided by opposing counsel relative to
                                        payment to Prime Logix.
88   7/29/2024   M Spurlock       0.4   Analyze history of communications related to loan repayment and payment to Prime Logix
                                                                                                                                                        Page 418 of 501




                                        in preparation for next steps in negotiations.
88   7/29/2024   M Spurlock       0.4   Planning regarding follow-up communication with opposing counsel related to Prime Logix
                                        issue and continuing settlement negotiations.
88   7/29/2024   S Marino         0.9   Review and summarize new documentation received from CLG's counsel pertaining to a
                                        payment CLG made to Prime Logix and update global CLG chronology with same.
88   7/29/2024   S Marino         0.5   Update summary chronology document with file transfer information from
                                              analysis and outline follow up questions regarding same for
88   7/29/2024   Y Lissebeck      0.1   Discuss resolution of CLG issues with C. Celentino
88   7/29/2024   Y Lissebeck      0.2   Draft further email to T. Spurlock and C. Celentino re moving CLG forward and release of
                                        funds
                                                                                                                                                                                      Page 417




88   7/29/2024   Y Lissebeck      0.1   Draft email to         re reviewing CLG files
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      Date            Name     Hours    Narrative
88   7/29/2024   Y Lissebeck      0.3   Telephone call with T. Spurlock re CLG issues and getting access to $500,000 from loan
                                        proceeds released
88   7/29/2024   Y Lissebeck      0.1   Review email from C. Celentino re settlement
88   7/30/2024   M Spurlock       0.8   Prepare strategy for continuing efforts to request documents,                       es
                                        and gather additional information to support settlement demand,

88   7/30/2024   S Marino         0.6   Outline proposed next steps in settlement negotiations through identification of factual
                                        questions related to, and requests for documentation regarding, file transfers between
                                        LPG and CLG to ask              and CLG's counsel.
                                                                                                                                                                                  Case 8:23-bk-10571-SC




88    8/5/2024   M Spurlock       1.4   Prepare for and participate in call with consulting expert regarding amounts owed to
88    8/5/2024   S Marino         0.2   Prepare for call with             update on investigation and outline next steps of needed
                                        analysis for CLG.
88    8/5/2024   S Marino          1    Call with             discuss analysis of potential damages owed by CLG and next steps
                                        in investigation.
88    8/6/2024   M Spurlock       0.3   Review prior analysis of performance of files transferred to CLG to determine what
                                        additional information can be derived from currently known information
                                                                                                                                      Main Document




88    8/6/2024   M Spurlock       0.3   Planning regarding additional correspondence searches based on most recently learned
                                        information and names.
88    8/6/2024   M Spurlock       0.4   Draft email to consultant related to assistance in requesting access to current client file
                                        database and analysis of information we currently possess.
88    8/6/2024   M Spurlock       0.5   Draft summary of recent communications with consultant, new searches for relevant
                                        correspondence and potential discovery of relevant text messages.
88    8/6/2024   R Simmons        0.8   Search creating for S. Marino for CLG LGS Matter
88    8/6/2024   S Marino         0.5   Review                                     in order to assess potential need for revised
                                                                                                                                                       Page 419 of 501




                                        analysis in light of limited additional information received since the performance of the
88    8/6/2024   S Marino         0.6   Create and circulate list of new Viewpoint database search terms targeted at the LPG-CLG
                                        relationship using new or additional information received from CLG's counsel.
88    8/7/2024   C Celentino      0.1   Emails re case status
88    8/7/2024   Y Lissebeck      0.1   Review emails from C. Celentino and T. Spurlock re case status
88    8/7/2024   Y Lissebeck      0.2   Telephone call with C. Ghio re settlement with OHP and effect on CLG litigation
88   8/20/2024   M Spurlock       0.2   Emails with consultant regarding review of prior spreadsheets and conference to review
                                        same.
88   8/20/2024   M Spurlock       2.6   Draft lengthy detailed correspondence to attorney for CLG following up on numerous
                                        outstanding requests for information and documents, and setting forth new requests
                                                                                                                                                                                     Page 418




                                        based on information obtained thus far.
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      Date           Name     Hours   Narrative
88   8/20/2024   M Spurlock       2   Analysis of multiple spreadsheets of analysis prepared by consultant regarding
                                                                          of same in preparation for conference with consultant.
88   8/20/2024   S Marino       3.1   Synthesize additional documentation received from CLG's counsel and outline follow-up
                                      questions related to same.
88   8/20/2024   S Marino       2.7   Review and analyze potentially relevant Viewpoint documents related to known CLG and
                                      LPG actors
88   8/22/2024   M Spurlock     0.1   Emails with Ron Richards regarding work on responding to requests in our letter and
88   8/22/2024   M Spurlock     0.1   Analysis regarding potential additional request to R. Richards regarding loan debt.
88   8/22/2024   M Spurlock     0.7   Prepare for call with                                               and developing follow-
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                      up inquires related to same.
88   8/22/2024   M Spurlock     2.3   Lengthy call with                                     and application of same to
                                      calculation of                                                     s and what information
                                      needed to update prior analysis.
88   8/22/2024   M Spurlock     1.7   Draft detailed summary of recent developments,                            and current
                                      strategy.
88   8/22/2024   S Marino       0.6   Prepare for call with                                                              and
                                      enumeration of questions related to same.
                                                                                                                                    Main Document




88   8/22/2024   S Marino       2.3   Attend video conference with                                                 to CLG and
                                      information needed related to same.
88   8/23/2024   M Spurlock     0.4   Planning for upcoming conference with counsel for CLG to continue settlement efforts and
                                      follow-up on most recent and prior demands
88   8/23/2024   S Marino       0.4   Email with counsel for CLG and strategize about approach to upcoming settlement
                                      discussion in light of recent correspondence.
88   8/26/2024   M Spurlock     0.2   Emails with R. Richards regarding transition to new counsel for CLG and cancellation of
                                      present plans for continued settlement talks.
                                                                                                                                                     Page 420 of 501




88   8/26/2024   M Spurlock     0.3   Planning regarding strategy for handling change in CLG counsel and quickly connecting
                                      with new counsel and getting back into settlement discussions.
88   8/26/2024   S Marino       0.2   Review emails from counsel for CLG pertaining to CLG's substitution of counsel.
88   8/27/2024   M Spurlock     0.3   Emails with new counsel for CLG regarding planning for initial meeting and status of
                                      information obtained and reviewed from prior counsel for CLG
88   8/27/2024   S Marino       0.3   Revise and supplement                                              status vis-a-vis CLG for
                                      lead attorneys.
88   8/27/2024   S Marino       0.4   Review motion to settle with Optimum Bank in anticipation of call regarding same with
                                      substituted counsel for CLG.
88   8/28/2024   C Ghio         0.4   Review and analysis of letter to Ron Richards (former CLG counsel) and analysis of
                                                                                                                                                                                   Page 419




                                      sharing with Ira Karasch, new counsel for CLG.
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      Date           Name      Hours    Narrative
88   8/28/2024   C Ghio           1.1   Telephone conference with Ira Karasch, Trent Spurlock, Suzanne Marino and Jeremy
                                        Freedman re CLG objection to Payliance settlement and analysis re same.
88   8/28/2024   M Spurlock        1    Prepare for call with new counsel for CLG including review and outline of topics for
                                        discussion.
88   8/28/2024   M Spurlock       0.2   Emails to new counsel for CLG in advance of teleconference regarding numerous
                                        outstanding requests for information and documentation.
88   8/28/2024   M Spurlock       0.5   Participate in call with new counsel for CLG regarding settlement negotiations.
88   8/28/2024   S Marino         1.9   Create chart of                            obligations under the Court's injunction and
                                        requested obligations under the pending Optimum 9019 Motion in preparation for call with
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        CLG's newly substituted counsel.
88   8/28/2024   S Marino         0.3   Review documents to be shared with CLG's new counsel and circulate Protective Order to
                                        them via email with note about applicability thereof.
88   8/28/2024   S Marino         0.7   Call with CLG's new counsel to discuss pending matters and next steps in exploring
                                        resolution.
88   8/28/2024   Y Lissebeck      0.2   Telephone call with C. Ghio re CLG issues related to Optima, potential settlement and
                                        continuance of matters to provide more time to discuss settlement
88   8/30/2024   C Celentino      0.2   Emails re GLG effective day payment and holding money in reserve
                                                                                                                                   Main Document




88   8/30/2024   M Spurlock       0.5   Draft summary of negotiations with CLG on loan from Liberty Acquisitions and continuing
                                        work on defining amount owed to CLG.
88   8/30/2024   Y Lissebeck      0.2   Review and respond to emails from C. Celentino and C. Ghio re GLG effective day
                                        payment and holding money in reserve
88    9/3/2024   C Ghio           0.4   Emails from and to Ira Kharasch re CLG and Liberty Acquisitions.
88    9/5/2024   C Ghio             1   Multiple emails with Ira Kharasch re CLG objection to settlement with Optimum Bank and
                                        resolution of same as part of potential global settlement between Estate and CLG.
88    9/5/2024   S Marino         0.3   Email with CLG's new counsel to coordinate agreed upon extension of initial disclosure
                                                                                                                                                    Page 421 of 501




                                        deadline in light of settlement negotiations.
88    9/5/2024   Y Lissebeck      0.3   Discuss opposition of CLG and moving forward with affirmative claims for relief against
                                        them with C. Ghio
88    9/6/2024   J Serrano        0.1   Review email from T. Spurlock of Dinsmore re preparation of initial disclosures and
                                        deadlines to submit them
88    9/6/2024   J Serrano        0.1   Correspond with J. Freedman of Dinsmore re same.
88    9/6/2024   S Marino         0.4   Emails with CLG's new counsel to schedule conference to discuss CRM access and to
                                        agree upon extension of previously-agreed-upon initial disclosure deadline.
88    9/9/2024   C Ghio           1.5   Review and analysis of CLG Opposition to Optimum Bank settlement.
88    9/9/2024   C Ghio           1.1   Conduct settlement conference with Ira Kharasch for CLG.
                                                                                                                                                                                  Page 420




88    9/9/2024   C Ghio           0.5   Analysis re                               analysis of document production re same.
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     Date            Name     Hours    Narrative
88   9/9/2024    M Spurlock      0.5   Prepare for conference with CLG counsel regarding terms of CRM access and timing of
                                       production of other information and formal disclosures.
88    9/9/2024   M Spurlock      0.4   Participate in conference with CLG counsel regarding terms of CRM access and timing of
                                       production of other information and formal disclosures.
88    9/9/2024   S Marino        0.4   Call with counsel for CLG to coordinate access to CLG's CRM data.
88   9/10/2024   C Ghio          0.5   Review and respond to Ira Kharasch email re status of Liberty Acquisitions representation
                                       vis a vis settlement discussions with CLG.
88   9/10/2024   M Spurlock      0.1   Review information from counsel for CLG regarding CRM access.
88   9/10/2024   M Spurlock      0.1   Exchange emails with consultant regarding planning for use of CRM access.
                                                                                                                                                                                Case 8:23-bk-10571-SC




88   9/11/2024   M Spurlock      1.2   Prepare for and participate in video conference with consultant regarding accessing CLG
                                       CRM database and planning for analysis and work product needed from same.
88   9/11/2024   M Spurlock      0.2   Draft update for client regarding latest communication with

88   9/11/2024   M Spurlock      0.2   Exchange correspondence with counsel for CLG regarding CRM access and timetable for
                                       responses to other outstanding requests for information from CLG.
88   9/11/2024   S Marino        0.4   Call with                                               and review targets for same.
88   9/12/2024   C Ghio          1.1   Emails and telephone calls with Ira Kharasch re CLG objection to Optimum Bank
                                                                                                                                    Main Document




                                       Settlement and potential global settlement of Estate claims adverse CLG.
88   9/12/2024   M Spurlock      0.3   Analysis regarding latest correspondence from counsel for CLG and agreements related
                                       to Optimum Bank                                 efforts to obtain discovery, and planning
                                       related to same.
88   9/12/2024   S Marino        0.4   Outline plan for workup of initial disclosures on parallel track to review and analysis of
                                       information obtained from CLG's CRM.
88   9/17/2024   M Spurlock      0.2   Exchange emails with
                                                           and timing of same.
                                                                                                                                                     Page 422 of 501




88   9/17/2024   M Spurlock      0.1   Review correspondence from counsel for CLG regarding plan for rolling production of
                                       information responsive to our requests.
88   9/19/2024   M Spurlock      1.1   Conference with                                                                .
88   9/19/2024   M Spurlock      0.4   Prepare for conference with                                                       .
88   9/19/2024   M Spurlock      0.4   Analyze newly produced documents from Ira Kharasch.
88   9/19/2024   M Spurlock      2.4   Draft significant additions to overall timeline
                                                            from Ira Kharasch and

88   9/19/2024   S Marino        1.1   Call with                              CLG's CRM software.
88   9/19/2024   S Marino        2.9   Review and summarize new analysis of CLG's CRM software and data
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      Date           Name     Hours    Narrative
88   9/19/2024   S Marino        0.3   Prepare for call with

88   9/23/2024   C Ghio          0.4   Analysis re status of review of CLG accounting records.
88   9/23/2024   M Spurlock      0.2   Exchange emails with counsel for CLG regarding expected schedule for production of
                                       information responsive to our outstanding requests.
88   9/23/2024   M Spurlock       1    Review correspondence and spreadsheets from

88   9/23/2024   M Spurlock      0.4   Draft update for client regarding latest work with consultant, information produced and to
                                       be produced by CLG, and overview of amounts owed by CLG based on latest information.
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                           Acufi LLC / Acufi Finance (143576-90)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    Sara A. Johnston         Partner               $495         .30      $148.50
    Brandon E. Lira          Associate            $355.00      1.90      $674.50
                                                    TOTALS     2.20      $823.00
      Date            Name    Hours    Narrative
90   9/13/2024   B Lira          0.2   Analyze claims of AcuFi with attention to any putative rights to be treated as an
                                       administrative or priority claimant
90   9/16/2024   B Lira          1.5   Prepare demand letter to AcuFi concerning its receipt of $395k in fraudulent transfers with
                                       attention to issues of confidentiality and spoliation
90   9/16/2024   S Johnston      0.2   Revise demand letter
90   9/17/2024   B Lira          0.2   Revise demand letter to AcuFi concerning its receipt of $395k in fraudulent transfers with
                                       attention to issues of confidentiality and spoliation
90   9/19/2024   S Johnston      0.1   Provide final revisions to B. Lira for demand letter
                                                                                                                                                                                 Case 8:23-bk-10571-SC
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                          Teracel Blockchain Fund II LLC (143576-91)



                                                  FEES
               NAME                  TITLE                RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck        Partner                   $745.00       .20      $149.00
    Suzanne M. Marino          Associate                 $360.00       .10       $39.50
    Wendy Yones                Paraprofessional          $205.00       .20       $41.00
                                                           TOTALS     0.50      $229.50
      Date            Name     Hours    Narrative
91   8/27/2024   S Marino         0.1   Email lead attorneys with update on investigation into target.
91   8/27/2024   W Yones          0.2   Quick research regarding information for Teracel and related entities
91   8/27/2024   Y Lissebeck      0.2   Review email from S. Marino re litigation target and files to review, discuss matter with W.
                                        Yones and review further email with information related to litigation target and forward to
                                        S. Marino for review
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                        Brian Reale (Freedom Enrollment) (143576-93)



                                          FEES
               NAME               TITLE           RATE      HOURS    TOTAL FEES
    Bryan W. Boyd            Associate           $575.00      .30       $172.50
                                                   TOTALS     .30       $172.50
      Date           Name   Hours    Narrative
93   8/25/2024   B Boyd        0.3   Review prior avoidance action filings and Cobalt Funding Complaint for purposes of
                                     drafting avoidance action Complaint as to Freedom Enrollment.
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                              Integrity Docs LLC (143576-94)



                                          FEES
               NAME               TITLE           RATE      HOURS    TOTAL FEES
    Bryan W. Boyd            Associate           $575.00      8.90     $5,117.50
                                                   TOTALS     8.90     $5,117.50
      Date           Name   Hours    Narrative
94   8/25/2024   B Boyd        0.3   Review prior avoidance action filings and Cobalt Funding Complaint for purposes of
                                     drafting avoidance action Complaint as to Integrity Docs.
94    9/3/2024   B Boyd        0.7   Review October 4, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.7   Review September 1, 2022 Side Letter Agreement for purposes of preparing avoidance
                                     action.
94    9/3/2024   B Boyd        0.2   Review September 7, 2022 statement of accounts for purposes of preparing avoidance
                                     action.
94    9/3/2024   B Boyd        0.3   Review September 13, 2022 statement of accounts for purposes of preparing avoidance
                                                                                                                                                                       Case 8:23-bk-10571-SC




                                     action.
94    9/3/2024   B Boyd        0.3   Review February 16, 2023 statement of accounts for purposes of preparing avoidance
                                     action.
94    9/3/2024   B Boyd        0.6   Review September 7, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review January 6, 2023 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review November 7, 2022 Accounts Receivable Purchase Agreement for purposes of
                                                                                                                           Main Document




                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review November 17, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review September 14, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review September 22, 2022 Asset Purchase Agreement for purposes of preparing
                                     avoidance action.
94    9/3/2024   B Boyd        0.5   Review October 6, 2022 Accounts Receivable Purchase Agreement for purposes of
                                                                                                                                            Page 431 of 501




                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review September 7, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review January 6, 2023 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review November 7, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.4   Review November 17, 2022 Accounts Receivable Purchase Agreement for purposes of
                                     preparing avoidance action.
94    9/3/2024   B Boyd        0.3   Review March 31, 2023 Accounts Receivable Purchase Agreement for purposes of
                                                                                                                                                                          Page 430




                                     preparing avoidance action.
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     Date           Name   Hours    Narrative
94   9/3/2024   B Boyd        0.4   Review September 14, 2022 Accounts Receivable Purchase Agreement for purposes of
                                    preparing avoidance action.
94   9/3/2024   B Boyd        0.3   Review September 22, 2022 Asset Purchase Agreement for purposes of preparing
                                    avoidance action.
94   9/3/2024   B Boyd        0.3   Review October 6, 2022 Accounts Receivable Purchase Agreement for purposes of
                                    preparing avoidance action.
94   9/3/2024   B Boyd        0.8   Review September 9, 2022 Release of Security Interest and Subordinate Agreement for
                                    purposes of preparing avoidance action.
94   9/3/2024   B Boyd        0.4   Review October 4, 2022 Release of Security Interest and Subordinate Agreement for
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                                    purposes of preparing avoidance action.
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                           Golden Financial Services (143576-95)



                                          FEES
               NAME               TITLE           RATE      HOURS   TOTAL FEES
    Bryan W. Boyd            Associate           $575.00      .30      $172.50
                                                   TOTALS     .30      $172.50
      Date           Name   Hours    Narrative
95   8/25/2024   B Boyd        0.3   Review prior avoidance action filings and Cobalt Funding Complaint for purposes of
                                     drafting avoidance action Complaint as to Golden Financial Services.
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                              Liamia Group, Inc. (143576-96)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    Sara A. Johnston         Partner              $495.00       .50      $247.50
    Brandon E. Lira          Assocaite            $355.00      1.60      $568.00
                                                    TOTALS     2.10      $815.50
      Date            Name    Hours    Narrative
96   9/18/2024   S Johnston      0.2   Initial discussions with B. Lira for affiliate assignment and demand/avoidance letters
96   9/18/2024   S Johnston      0.1   Work on WIP Report detail for new affiliate
96   9/23/2024   B Lira          1.6   Prepare demand letter to Liamia concerning its receipt of $373k in fraudulent transfers
                                       with attention to issues of confidentiality and spoliation
96   9/23/2024   S Johnston      0.2   Revise avoidance letter
                                                                                                                                                                             Case 8:23-bk-10571-SC
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                              ACB Holdings, LP (143576-102)



                                           FEES
               NAME                TITLE           RATE      HOURS   TOTAL FEES
    M. Tyler Powell          Partner              $595.00      .30      $178.50
                                                    TOTALS     .30      $178.50
       Date           Name    Hours    Narrative
102   9/11/2024   MT Powell      0.3   Draft email to counsel for ACB Holdings, LP re interest in settling chapter 5 claims.
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                                CFM Indosuez Wealth (143576-104)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00      1.10      $918.50
    Matthew J. Stockl            Associate            $480.00      1.60      $768.00
                                                        TOTALS     2.70     $1686.50
       Date           Name      Hours    Narrative
104   9/17/2024   C Celentino      0.2   Communications re pursuit of potential avoidance claims.
104   9/17/2024   M Stockl         0.2   Correspondence with C. Celentino regarding pursuit of potential avoidance claims.
104   9/17/2024   M Stockl         0.9   Form strategy regarding pursuit of potential avoidance claims.
104   9/19/2024   C Celentino      0.9   Strategize concerning claims and remedies for pursuit of claims
104   9/19/2024   M Stockl         0.5   Conference with C. Celentino regarding case strategy.
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                              Vasco Associates LLC (143576-121)



                                             FEES
               NAME                  TITLE           RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00      1.60     $1,192.00
                                                      TOTALS     1.60     $1,192.00
       Date            Name     Hours    Narrative
121   7/16/2024   Y Lissebeck      0.1   Review and respond to email from S. Marino re vasco financial
121   7/16/2024   Y Lissebeck      0.1   Draft email to accountants re new litigation targets and obtaining bank documents to
                                         support transfers, review response and reply
121   7/16/2024   Y Lissebeck      0.1   Draft email to S. Marino re new litigation targets
121   7/16/2024   Y Lissebeck      1.2   Review vasco financial and collaborative spreadsheet and update litigation tracking chart
                                         and avoidance chart with information from spreadsheet
121   7/23/2024   Y Lissebeck      0.1   Review filed 2004 application
                                                                                                                                                                                 Case 8:23-bk-10571-SC
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                                Document Review (143576-122)



                                                  FEES
                NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Christopher B. Ghio        Partner                   $625.00      1.20      $750.00
    Yosina M. Lissebeck        Partner                   $745.00      1.80     $1,341.00
    Sara A. Johnston           Partner                   $495.00     40.70    $20,146.50
    Jacob R. Bothamley         Associate                 $405.00       .40      $162.00
                               eDiscovery
    Robert J. Simmons                                    $365.00      5.00     $1,825.00
                               Project Manager
    Wendy Yones                Paraprofessional          $205.00     99.60    $20,418.00
                                                           TOTALS   148.70    $44,642.50
      Date            Name      Hours    Narrative
122   7/1/2024    R Simmons        0.2   Set up Lexi Epley with Viewpoint access and draft email to same to coordinate training on
                                         software
122    7/1/2024   W Yones          0.9   Continue to review and analyze emails in custodians file: 8.
                                         accounting@phoenixlaw.com/480 items
122    7/5/2024   W Yones          1.1   Continue review and analyze emails in custodians file: 8.
                                         accounting@phoenixlaw.com/234 items
122    7/5/2024   W Yones          0.3   Review and analyze emails in custodians file: 9. accounting1@greysonlawpc.com/18
122    7/5/2024   W Yones          2.1   Review and analyze emails in custodians file: 10. accountspayable@lpglaw.com/165
122    7/5/2024   Y Lissebeck        1   Review approximately 40 emails in accounting@lpg custodian file that were marked as hot
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                         documents and provide background and notes, and copy and forward to parties for follow
                                         up
122    7/8/2024   W Yones          2.1   Review and analyze emails in custodians file: 11. admin@greysonlawpc.com/1473 items
122    7/9/2024   R Simmons        0.6   Assist W Yones with Viewpoint review searches
122    7/9/2024   R Simmons        0.4   Coordinate with Marshack Hayes to train on Viewpoint review software
122    7/9/2024   W Yones          1.2   Continue review and analyze emails in custodians file: 11.
                                         admin@greysonlawpc.com/1473 items
122   7/10/2024   J Bothamley      0.1   Review email exchange between Marshack Hays and Dinsmore re subpoenas to banks.
                                                                                                                                     Main Document




                                         LPG/General
122   7/10/2024   R Simmons        0.1   Respond to email from W. Yones re: encrypted files in Viewpoint
122   7/10/2024   W Yones          2.1   Continue review and analyze emails in custodians file: 11.
                                         admin@greysonlawpc.com/1473 items
122   7/10/2024   W Yones          3.6   Continue review and analyze emails in custodians file: 11.
                                         admin@greysonlawpc.com/1473 items
122   7/11/2024   W Yones          4.2   Continue and finish review and analyze emails in custodians file: 11.
                                         admin@greysonlawpc.com/1473 items
                                                                                                                                                      Page 444 of 501




122   7/12/2024   W Yones          3.7   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/15/2024   J Bothamley      0.2   Review email chain between Marshack Hays, Grobstein Teeple, and Dinsmore re
                                         subpoena to BofA.
122   7/15/2024   W Yones          3.8   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/16/2024   W Yones          2.1   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/17/2024   J Bothamley      0.1   Review email from B. Barnhardt re response received from Bank of America on subpoena
                                         for bank statements requests.
                                                                                                                                                                                    Page 443




122   7/18/2024   W Yones          1.1   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
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                                         items
       Date            Name     Hours    Narrative
122   7/18/2024   Y Lissebeck      0.2   Review emails from B. Bradford re subpoena documents from Bank of America and
                                         forward to J. Freedman for review and response
122   7/26/2024   W Yones          3.2   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/29/2024   W Yones          3.1   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/30/2024   W Yones          3.4   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   7/31/2024   W Yones          4.2   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                                                                                                                                                                 Case 8:23-bk-10571-SC




                                         items
122    8/1/2024   W Yones          0.8   Continue and finish review/compare entities from post-petition disbursement sheet to
                                         adversary tracking sheet and add attorney assignments to the post-petition disbursement
                                         sheet
122    8/1/2024   W Yones          1.8   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/2/2024   W Yones          1.7   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
                                                                                                                                     Main Document




122    8/5/2024   W Yones          1.5   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/6/2024   W Yones          2.7   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/7/2024   W Yones          1.7   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/8/2024   W Yones          2.8   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
                                                                                                                                                      Page 445 of 501




122    8/9/2024   W Yones          1.1   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/9/2024   W Yones          2.5   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122    8/9/2024   W Yones          0.7   Continue to review and analyze emails in custodians file: 12. admin@lpglaw.com/8880
                                         items
122   8/12/2024   R Simmons        0.3   Assist W. Yones with search creation
122   8/12/2024   S Johnston       0.4   Work on Viewpoint for initial email organization and Hot Doc/Note designations
122   8/12/2024   Y Lissebeck      0.2   Telephone all with S. Johnston re review of emails and what hot documents to look for
122   8/12/2024   Y Lissebeck      0.2   Draft emails to team re review of LPG emails and litigation targets, review various reply
                                                                                                                                                                                    Page 444




                                         emails, discuss same with W. Yones
                                                                                                                                                                                EXHIBIT "D"
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       Date            Name    Hours    Narrative
122   8/13/2024   S Johnston      2.1   Work on electronic correspondence review for "abuse" domains (14 documents) and begin
                                        work on greysonlawpc domains previously marked for review out of 396 documents
122   8/13/2024   W Yones         3.6   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                        adversary proceeding filings
122   8/13/2024   W Yones         0.4   Review and analyze emails in all custodians files in preparation for filing an adversary
                                        proceeding before August 23, 2024
122   8/13/2024   W Yones         0.2   Discuss status/progress regarding file review with S. Johnston
122   8/13/2024   W Yones         0.6   Continue to review and analyze emails in custodians file (LPG)
122   8/14/2024   W Yones         1.9   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                                                                                                                                                                   Case 8:23-bk-10571-SC




                                        adversary proceeding filings
122   8/14/2024   W Yones         0.2   Continue to review and analyze emails in custodians file (LPG)
122   8/15/2024   W Yones         5.1   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                        adversary proceeding filings and continue to review and analyze emails in custodians file
                                        (Data Source - LPG)
122   8/15/2024   W Yones         0.2   Finalize amended declaration for attorney review
122   8/16/2024   W Yones         1.2   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                        adversary proceeding filings and continue to review and analyze emails in custodians file
                                                                                                                                       Main Document




                                        (Data Source - LPG)
122   8/19/2024   W Yones         5.3   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                        adversary proceeding filings
122   8/20/2024   S Johnston      0.4   Finalize review of remaining 8 Hot Doc/Note/Further Review email designations to extract
                                        relevant information
122   8/20/2024   S Johnston      1.2   Work on 11 Accounting@lpglaw.com "Further Review" designations for "Hot Doc"
                                        determinations
122   8/20/2024   W Yones         3.9   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                                                                                                                                        Page 446 of 501




                                        adversary proceeding filings
122   8/20/2024   W Yones         0.4   Begin review of documents/email regarding                                      for J.
122   8/21/2024   R Simmons       0.3   Create additional searches for W. yones
122   8/21/2024   W Yones         1.5   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                        adversary proceeding filings
122   8/21/2024   W Yones         1.1   Continue review of documents/email regarding                                     g for J.
                                        Freedman
122   8/23/2024   S Johnston      1.9   Work on 63 emails and attachments from account@lpglaw.com with specific attention to
                                        transaction details
122   8/26/2024   R Simmons       0.6   Generate search to locate contact info for various entities suspected of fraudulent transfer
                                                                                                                                                                                      Page 445




                                        for Kathleen Frederick at Marshack hayes
                                                                                                                                                                                  EXHIBIT "D"
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122   8/26/2024   S Johnston      2.6   Work on analysis of 133 emails with attachments for accounting@lpglaw.com
       Date            Name     Hours    Narrative
122   8/26/2024   S Johnston       2.7   Work on analysis for 38 accounting@maverickmgmt.com emails and attachments
122   8/27/2024   Y Lissebeck      0.2   Review and respond to emails re accounting and bank information related to Chase,
                                         Optimum and Vulcan
122   8/28/2024   R Simmons        0.4   Generate search to locate contact info for various entities suspected of fraudulent transfer
                                         for Kathleen Frederick at Marshack hayes
122   8/28/2024   W Yones          2.1   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings
122   8/29/2024   W Yones          3.2   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings (Vulcan, bank stmts., etc.)
                                                                                                                                                                                    Case 8:23-bk-10571-SC




122   8/30/2024   S Johnston       1.4   Continue work on 36 Maverick emails with specific attention to Clearcube transactions
122   8/30/2024   S Johnston       0.5   Specific attention to Vulcan/LPG transfers and related emails for same
122   8/30/2024   W Yones          0.4   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings (MCA entities, Bianca Loli, Delphine Pastor, etc.)
122   8/30/2024   W Yones          2.1   Continue review and analyze documents/emails in all custodians files in preparation for
                                         upcoming adversary proceeding filings (Vulcan, bank stmts., etc.)
122   8/30/2024   W Yones          0.4   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings
                                                                                                                                        Main Document




122   8/31/2024   S Johnston       1.2   Work on Maverick emails 39-54 with specific attention to wires and affiliate/parent
122    9/3/2024   S Johnston       1.6   Compile QuickBooks and Google Drive link details for R. Simmons in Maverick emails
122    9/3/2024   S Johnston       1.2   Work through 19 flagged Accounting@PhoenixLaw.com emails with special attention to
                                         affiliate payables
122    9/3/2024   S Johnston       0.2   Work through 18 encrypted accounting1@greysonlaw.com emails
122    9/3/2024   S Johnston       0.4   Work through 6 flagged emails in accountspayable@lpglaw.com with specific attention to
                                         Outsource Accelerator invoicing
122    9/3/2024   S Johnston       1.3   Work through initial 12 emails for admin@greysonlawpc.com and compare to initial LPG
                                                                                                                                                         Page 447 of 501




                                         Trustee filings to tie in S. Eadie implications
122    9/3/2024   S Johnston       1.2   Analyze emails 13-55 for admin@greysonlawpc.com
122    9/3/2024   W Yones          2.8   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings and continue to review and analyze emails in custodians file
122    9/4/2024   R Simmons        1.2   Create searches for documents related to affiliate sub actions
122    9/4/2024   W Yones          3.1   Review and analyze documents/emails in all custodians files in preparation for upcoming
                                         adversary proceeding filings and continue to review and analyze emails in custodians file
122   9/14/2024   S Johnston       0.9   Analyze Hot Docs 56-67 for admin@greysonlawpc.com
122   9/16/2024   S Johnston       0.8   Review 11 emails from Admin@greysonlawpc.com
122   9/16/2024   S Johnston       0.9   Work on analysis of 104 emails and spreadsheets from admin@lpglaw.com
                                                                                                                                                                                       Page 446




122   9/16/2024   W Yones          0.4   Research and review of information regarding GGCC
                                                                                                                                                                                   EXHIBIT "D"
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       Date            Name    Hours    Narrative
122   9/17/2024   S Johnston      4.1   Analyze 39 LPG emails with special attention to lengthy email correspondence regarding
                                        secret affiliate ownership and nefarious fee changes
122   9/18/2024   R Simmons       0.2   Create additional tags in viewpoint database for additional affiliate sub matters
122   9/18/2024   S Johnston      1.4   Analyze LPG emails for affiliate and MCA d/b/a information
122   9/18/2024   S Johnston      0.2   Special attention to Pastor Delphine/CFM Indosuez Wealth emails in "admin@lpglaw.com"
                                        for demand details
122   9/18/2024   S Johnston      0.6   Work on connecting emails from admin@lpglaw.com with GGCC/Teracel/BATLLC
                                        relations for additional insider claims
122   9/18/2024   S Johnston      3.3   Work on 37 emails with Union Bank and Bank United statements and correspondence
                                                                                                                                                                               Case 8:23-bk-10571-SC




                                        emails describing pay schemes for comparison to subpoenaed documentation and ponzi
                                        scheme theories
122   9/19/2024   C Ghio          0.3   Review emails re status of subpoena response.
122   9/19/2024   C Ghio          0.9   Review Google call logs re information provided.
122   9/19/2024   R Simmons       0.7   Create searches fo ESI database to identify docs likely responsive to initial disclosure
                                        requirement in various submatters
122   9/19/2024   S Johnston      4.1   Detailed review of                       of "funders"/MCAs and hundreds of pages of bank
                                        statements associated with the same for email to Y. Lissebeck re MCA litigation through
                                                                                                                                   Main Document




                                        Coast Processing
122   9/20/2024   S Johnston      1.8   Review 12 emails, internal LPG statements, and bank records for investigation into GGCC
                                        as potential investor/affiliate
122   9/20/2024   S Johnston      0.4   Begin preparation for priority Viewpoint inquiries ahead of LPG team call
122   9/23/2024   S Johnston      1.9   Prepare high level email findings memorandum for affiliate call with Y. Lissbeck
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                              Bridge Funding Cap, LLC (143576-128)


                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $825.00       .20      $167.00
    M. Tyler Powell              Partner              $575.00      1.50      $892.50
    Yosina M. Lissebeck          Partner              $745.00       .40      $298.00
    Brandon E. Lira              Associate            $355.00     10.20     $3,621.00
                                                        TOTALS    12.30     $4,978.50
       Date            Name     Hours    Narrative
128   9/10/2024   C Celentino      0.2   Strategize re notice of appeal
128   9/10/2024   Y Lissebeck      0.2   Review notice of appeal and discuss strategy with C. Celentino, E. Hayes and T. Powell
128   9/11/2024   B Lira           0.8   Confer with TP regarding the finality of an order granting partial summary adjudication to
                                         the Trustee with attention to potential responses to Bridge Funding's appeal from that
128   9/11/2024   B Lira           1.9   Begin researching caselaw concerning the appealability of orders granting partial
                                         summary adjudication with attention to applicable precedents of the Ninth Circuit
128   9/11/2024   MT Powell        0.6   Attention to Bridge appeal and consider whether or not underlying order was final
128   9/11/2024   MT Powell        0.4   Meet with an associate to request research on appeals from non-final orders in
128   9/12/2024   B Lira           1.6   Analyze record for purposes of understanding the legal issues presented and decided by
                                                                                                                                                                                     Case 8:23-bk-10571-SC




                                         the Court's partial summary adjudication granting the Trustee's motion and entering
                                         declaratory judgment in Trustee's favor
128   9/12/2024   B Lira           1.8   Draft memorandum of law applying Ninth Circuit caselaw and applicable statutes to the
                                         notice of appeal filed by Bridge Funding from the Court's partial summary adjudication with
                                         attention to the possibility of Bridge Funding obtaining discretionary review by the District
                                         Court
128   9/12/2024   B Lira           0.8   Continue researching caselaw concerning the appealability of orders granting partial
                                         summary adjudication with attention to applicable precedents of the Ninth Circuit
                                                                                                                                         Main Document




128   9/13/2024   B Lira           3.3   Continue drafting memorandum of law applying Ninth Circuit caselaw and applicable
                                         statutes to the notice of appeal filed by Bridge Funding from the Court's partial summary
                                         adjudication with attention to the possibility of Bridge Funding obtaining discretionary
                                         review by the District Court
128   9/16/2024   MT Powell        0.5   Review memo from associate on appeal from non-final bankruptcy court judgments.
128   9/17/2024   Y Lissebeck      0.2   Review research re interlocutory appeals and motion
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                                  Avoidance Actions (143576-129)



                                                    FEES
                NAME                   TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner                   $825.00       .10        $83.50
    M. Tyler Powell              Partner                   $575.00       .90      $535.50
    Yosina M. Lissebeck          Partner                   $745.00      8.70     $6,481.50
    Wendy Yones                  Paraprofessional          $205.00       .40        $82.00
                                                             TOTALS    10.10     $7,182.50
      Date             Name     Hours    Narrative
129   7/1/2024    Y Lissebeck      0.2   Review and respond to email re Outsource and invoices for preferences
129   7/5/2024    Y Lissebeck      0.1   Review and respond to email form C. Haes re emails and bank information from White
                                         Collar Group
129    7/8/2024   MT Powell        0.2   Review and respond to email re collection of preference from Paronich Law Firm.
129    7/8/2024   Y Lissebeck      0.7   Telephone call with C. Haes and trustee re avoidance actions
129    7/8/2024   Y Lissebeck      0.1   Review and respond to email re avoidance action against law firm and ordinary course
                                         defense
129    7/9/2024   Y Lissebeck      0.1   Review and respond to email from C. Haes re avoidance actions and obtaining access to
                                         key documents
                                                                                                                                                                               Case 8:23-bk-10571-SC




129    7/9/2024   Y Lissebeck      0.3   Review Exhibit A to subpoena for Bill.com and send suggested revisions to C. Haes
129   7/16/2024   Y Lissebeck      0.2   Draft email to C. Haes with updated spreadsheet with litigation targets
129   7/17/2024   Y Lissebeck      0.1   Review and respond to email from C. Haes re Oxford Knox as a target and case strategy
129   7/17/2024   Y Lissebeck      0.1   Review and respond to email for C. Haes re investor targets
129   7/18/2024   Y Lissebeck      0.6   Telephone call with C. Haes re avoidance actions, preferences and fraudulent
                                         conveyance, demand letters and moving forward
129   7/18/2024   Y Lissebeck      0.3   Review file and email D. DeLosReyes samples of complaint allegations related to
                                         primelogix
                                                                                                                                   Main Document




129   7/18/2024   Y Lissebeck      0.2   Review and respond to email from D. DeLosReyes re primelogix and avoidance action
                                         allegations
129   7/22/2024   Y Lissebeck      0.2   Review email from C. Haes and K. Frederick re avoidance targets and review T. Powell
                                         response
129   7/31/2024   W Yones          0.4   Review and compare entities from post-petition disbursement sheet to adversary tracking
                                         sheet
129   7/31/2024   Y Lissebeck      0.3   Review 549 claims and chart from accountants re amounts transferred post-petition
129   7/31/2024   Y Lissebeck      0.3   Draft email to MH team re 549 claims
                                                                                                                                                    Page 452 of 501




129   7/31/2024   Y Lissebeck      0.3   Draft email to Dinsmore team re 549 claims
129    8/1/2024   Y Lissebeck      0.2   Review post-petition avoidance action list and forward to C. Haes
129    8/1/2024   Y Lissebeck      0.4   Telephone call with C. Haes re post-petition avoidance actions
129   8/12/2024   Y Lissebeck      0.2   Draft email to J. Stephen, T. Powell, V. Jaswal re MCA issues and need for use in
                                         mediation brief
129   8/12/2024   Y Lissebeck      0.2   Review T. Powell response and forward to V. Jaswal for use and consideration
129   8/13/2024   Y Lissebeck      0.2   Review various emails from T. Powell re HiBar claims and respond re MCA claims and
                                         adding this to mediation brief
129   8/22/2024   Y Lissebeck      0.2   Review email from C. Haes re avoidance actions and revised demand letters, respond
                                         and forward draft letters for use
                                                                                                                                                                                  Page 451




129   9/11/2024   C Celentino      0.1   Emails re preference litigation targets
                                                                                                                                                                              EXHIBIT "D"
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       Date            Name     Hours    Narrative
129   9/11/2024   Y Lissebeck      0.1   Review and respond to email from C. Haes re Master Builders response to demand and
                                         Vulcan bank information and payments from LPG
129   9/11/2024   Y Lissebeck      0.1   Review and respond to numerous emails from C. Hays and T. Powell re Bill.com
                                         payments and incorporating payments to litigation targets
129   9/11/2024   Y Lissebeck      0.1   Review further emails re BIll.com to N. Cooper re updating avoidance charts with
                                         information obtained re payments to targets
129   9/11/2024   Y Lissebeck      0.1   Review various emails from C. Celentino re preference litigation targets and respond
                                         thereto
129   9/11/2024   Y Lissebeck      0.5   Review and draft legal description for all preference litigation targets to provide to parties
                                                                                                                                                                                      Case 8:23-bk-10571-SC




                                         requesting additional information re targets
129   9/13/2024   MT Powell        0.7   Review and respond to emails re pursuit of preferences and other avoidable conveyances
                                         from litigation targets with C. Haes at Marshack and Hayes and Y. Lissebeck.
129   9/15/2024   Y Lissebeck      0.1   Review emails from C. Haes to Bill.com contact re request for compliance with subpoena
                                         and need to obtain further information
129   9/16/2024   Y Lissebeck      0.1   Review and respond to email from C. Haes re litigation strategy related to affiliate actions
                                         and MCA actions so that the avoidance actions are mirroring those
129   9/16/2024   Y Lissebeck      0.1   Review and respond to email from C. Haes re meeting to discuss litigation strategy
                                                                                                                                          Main Document




129   9/23/2024   Y Lissebeck      0.2   Review and respond to emails from C. Haes re turnover of funds by Bill.com and request
                                         for additional information related to accounts
129   9/23/2024   Y Lissebeck      1.5   Review LPG emails for Golden Circle references and create folder in data share folder
129   9/23/2024   Y Lissebeck      0.1   Draft email to E. Hays and C. Haes with information re Golden Circle
129   9/23/2024   Y Lissebeck      0.2   Review email from C. Haes re Master Builders and lease payments made on behalf of
                                         Vulcan and respond thereto
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                  Adv. Case No. 24-1120 (Colonna Cohen Law, PLLC) (143576-130)



                                                  FEES
                 NAME                TITLE                RATE      HOURS    TOTAL FEES
    Christopher Celentino      Partner                   $835.00       .30      $250.50
    Yosina M. Lissebeck        Partner                   $745.00      1.20      $894.00
    M. Tyler Powell            Partner                   $595.00     16.60     $9,877.00
    Brandon E. Lira            Associate                 $355.00     10.10     $3,585.50
    Matthew J. Stockl          Associate                 $480.00     11.60     $5,568.00
    Jennifer Pitcock           Paraprofessional          $215.00       .30        $64.50
    Wendy Yones                Paraprofessional          $205.00       .30        $61.50
                                                           TOTALS    40.40    $20,301.00
      Date            Name    Hours    Narrative
130   7/9/2024    M Stockl       2.9    Review and analyze documents, including transfer history, in connection with complaint to
                                       avoid and recover pre-petition and post-petition transfers.
130    7/9/2024   MT Powell      0.4   Analyze claims and causes of action against A. Colonna-Cohen.
130   7/10/2024   M Stockl       1.8   Prepare complaint to avoid and recover pre-petition and post-petition transfers.
130   7/12/2024   M Stockl       2.2   Prepare complaint to avoid and recover pre-petition and post-petition transfers.
130   7/15/2024   M Stockl       1.7   Revise complaint to avoid and recover pre-petition and post-petition transfers.
130   7/16/2024   M Stockl       0.5   Review trustee's complaint against merchant cash advance lenders in connection with
                                       complaint against Colonna Cohen Law.
130   7/16/2024   M Stockl       1.7   Research regarding constructive fraudulent conveyance and reasonably equivalent value
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                       in connection with complaint against Colonna Cohen Law.
130   7/23/2024   M Stockl       0.8   Revise complaint against Colonna Cohen Law, including adding count for disallowance of
                                       claims and avoidance of transfers from immediate transferee.
130   7/24/2024   MT Powell      0.7   Begin gathering information for drafting of complaint of Colonna Cohen Law Office
130   7/25/2024   MT Powell      1.5   Begin drafting complaint against A. Colonna Cohen
130   7/26/2024   MT Powell      1.9   Begin drafting complaint to determine secured claim of A. Colonna Cohen and recover
                                       payments.
130   7/26/2024   MT Powell        1   Research funding of and payment of settlements negotiated by A. Colonna Cohen
                                                                                                                                    Main Document




130   7/29/2024   B Lira         1.3   Analyze New York law concerning the rights of attorneys in reference to their legal
                                       services agreements with attention to secured remedies
130   7/29/2024   B Lira         0.8   Develop strategy concerning the putative rights asserted by the Colonna Cohen against
                                       the estate based on New York law
130   7/29/2024   MT Powell      0.6   Meet with to explain and assign research project on scope and treatment of New York
                                       attorneys' liens and other statutory liens in bankruptcy to B. Lira.
130   7/29/2024   MT Powell      2.7   Draft complaint seeking declaratory judgment against and recover of transfers from A.
                                       Colonna Cohen Law PLLC.
                                                                                                                                                     Page 455 of 501




130    8/5/2024   MT Powell      0.6   Continue drafting complaint against Colonna Cohen Law PLLC.
130    8/7/2024   B Lira         3.3   Continue analyzing New York law concerning the rights of attorneys in reference to their
                                       legal services agreements with attention to secured remedies
130    8/7/2024   B Lira         4.7   Draft memorandum of law concerning the rights of attorneys under New York law to assert
                                       lien rights with attention to the consequences of bankruptcy upon those lien rights
130    8/9/2024   MT Powell      0.4   Gather documents for adversary complaint against Colonna Cohen Law Firm.
130   8/16/2024   MT Powell      2.2   Continue drafting complaint against Ashlee Colonna Cohen Law PLLC.
130   8/20/2024   MT Powell      0.6   Continue drafting and revising complaint against Colonna Cohen law firm.
130   8/22/2024   MT Powell        1   Finish drafting and revising complaint against Colonna Cohen Firm.
130   8/23/2024   MT Powell        1   Finish drafting and finalizing complaint against Colonna Cohen Firm
                                                                                                                                                                                   Page 454




130   8/26/2024   W Yones        0.3   Start preparation for new adversary filing for Colonna
                                                                                                                                                                               EXHIBIT "D"
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       Date            Name     Hours    Narrative
130   8/28/2024   Y Lissebeck      0.2   Review and respond to email from T. Powell re A. Colona-Cohen complaint and revisions
                                         thereto and address comments re claims and allegations
130   8/28/2024   Y Lissebeck      0.2   Review and respond to various emails re the complaint finalized for filing against A.
                                         Colonna-Cohen
130   8/29/2024   MT Powell        0.8   Review and finalize Cohen complaint and exhibits.
130   8/29/2024   Y Lissebeck      0.2   Colonna - Review and approve final complaint
130    9/3/2024   MT Powell        0.2   Review filed subpoena for Colonna Cohen suit
130    9/5/2024   J Pitcock        0.3   Review and download filed pleadings from case inception.
130   9/19/2024   C Celentino      0.3   Review and revise complaint to add bk attorneys fees fair value claims
                                                                                                                                                                               Case 8:23-bk-10571-SC




130   9/19/2024   MT Powell        0.7   Prepare amended complaint asserting an objection under section 502(b)(4) as a basis for
                                         claim objection.
130   9/19/2024   Y Lissebeck      0.2   Review email from E. Hays re amending complaint to add additional claim under 502(b)(4)
                                         and respond re filing amendment
130   9/20/2024   MT Powell        0.1   Finalize first amended complaint for filing
130   9/20/2024   MT Powell        0.2   Finalize amended complaint for filing
130   9/23/2024   Y Lissebeck      0.2   Discuss response deadline to amended complaint with W. Yones and T. Powel
130   9/23/2024   Y Lissebeck      0.2   Review various emails re Colona Cohen complaint and C. Djang request for an extension
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                              Government Assistance (143576-131)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Christopher B. Ghio        Partner              $625.00      3.00     $1,875.00
    Yosina M. Lissebeck        Partner              $745.00      2.50     $1,862.50
                                                      TOTALS     5.50     $3,737.50
      Date            Name     Hours    Narrative
131   9/4/2024   C Ghio           1.7   Telephone conference with FBI special agents re LPG.
131   9/4/2024   C Ghio           1.3   Begin preparation of summary of major players for FBI.
131   9/4/2024   Y Lissebeck      2.5   NO CHARGE - meeting with Trustee team and FBI to discuss case
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                                   Validation LLC (143576-132)



                                               FEES
                NAME                   TITLE           RATE      HOURS    TOTAL FEES
    Christopher Celentino        Partner              $835.00       .50      $417.50
    Jacob R Bothamley            Associate            $405.00       .80      $324.00
                                                        TOTALS     1.30      $741.50
       Date           Name      Hours    Narrative
132   9/11/2024   C Celentino      0.5   Review and confer re research re Validation LLC in prior correspondence and documents
                                         in possession
132   9/11/2024   J Bothamley      0.5   Research Validation LLC in prior correspondence and documents in possession in
                                         response to email from Y. Lissebeck and C. Celentino.
132   9/14/2024   J Bothamley      0.1   Review email from Y. Lissebeck re strategy on new entity Validation LLC.
132   9/16/2024   J Bothamley      0.2   Email to C. Ghio re Validation LLC and next steps in strategy to approach settlement offer.
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                           Reliance Assistance Group Inc. (143576-133)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Sara A. Johnston           Partner              $495.00       .90      $445.50
    Yosina M. Lissebeck        Partner              $745.00       .10        $74.50
    Bryan L. Cockroft          Associate            $275.00      5.50     $1,512.50
                                                      TOTALS     6.50     $2,032.50
       Date           Name      Hours    Narrative
133   9/16/2024   B Cockroft       1.6   Draft letter to Reliance Assistance Group Inc. to inform them of potential fraudulent,
                                         preference, and post petition transfers.
133   9/16/2024   S Johnston       0.4   Reliance Assistance Group: Work on initial case strategy for assignment to B. Cockcroft
133   9/16/2024   Y Lissebeck      0.1   Review and respond to email from S. Johnston re case status and strategy
133   9/17/2024   B Cockroft         1   Revise letter to add detailed chart of post-petition and preference transfers to letter to
                                         Reliance Assistance.
133   9/17/2024   S Johnston       0.5   Revise demand letter
133   9/19/2024   B Cockroft       0.5   Finalize letter to Reliance Assistance Group.
133   9/19/2024   B Cockroft       2.4   Begin reviewing documents for Reliance Assistance Group to draft complaint.
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                                 Payliance, LLC (143576-134)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Christopher Ghio           Partner              $625.00     10.60     $6,625.00
    Yosina M. Lissebeck        Partner              $745.00      1.80     $1,341.00
    Jacob R. Bothamley         Associate            $405.00      6.00     $2,430.00
    Jeremy B. Freedman         Associate            $465.00     31.20    $14,508.00
                                                      TOTALS    49.60    $24,904.00
      Date             Name     Hours    Narrative
134   7/2/2024    J Bothamley      0.1   Review emails from J. Freedman re minor revisions to Payliance 9019 motion and cites to
                                         supporting docs. LPG/1046
134    7/2/2024   J Bothamley      1.1   Review changes to Payliance 9019 motion by J. Freedman, proof read and check cites on
                                         additions, various substantive edits.
134    7/2/2024   J Bothamley      1.3   Draft declaration of Richard Marshack ISO Payliance 9019 motion.
134    7/2/2024   J Bothamley      1.2   Draft declaration of Jeremy Freedman in support of Payliance 9019 motion.
134    7/2/2024   J Bothamley      0.8   Proof read, edit declarations of Richard A. Marshack and Jeremy Freedman in support of
                                         the Payliance 9019 motion. and send to J. Freedman for review.
134    7/2/2024   J Freedman       1.1   Review and analysis of evidence on the record in order to pin cite support for 9019 motion
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                         to compromise with Payliance
134    7/2/2024   J Freedman       0.9   Finalize arguments and citation to evidence to 9019 motion to compromise with Payliance
134    7/2/2024   J Freedman       0.3   Finalize declaration of Jeremy Freedman in support of Payliance 9019 motion to
                                         compromise to include evidence
134    7/2/2024   J Freedman       0.2   Finalize declaration of Richard Marshack in support of 9019 motion to compromise with
                                         Payliance
134    7/2/2024   J Freedman       0.2   Multiple emails (4) with counsel for Payliance regarding declaration in support of 9019
                                         Motion
                                                                                                                                      Main Document




134    7/3/2024   J Bothamley      1.2   Draft proposed order on Payliance 9019 motion, revise, proof read and send to J.
                                         Freedman for review.
134    7/3/2024   J Freedman       0.6   Meeting with counsel for Payliance regarding declaration needed in support of 9019
                                         motion to approve settlement and unexpected demand for indemnification by Payliance
134    7/3/2024   J Freedman       0.4   Review and analysis of prior communications with counsel for Payliance regarding
                                         indemnification in order to develop strategy for Payliances new demand for same
134    7/5/2024   J Freedman       0.2   Develop strategy regarding Payliance in light of unanticipated demand for indemnification
                                         post execution of the settlement agreement
                                                                                                                                                       Page 464 of 501




134   7/10/2024   C Ghio           0.8   Analysis re dispute in connection with Payliance settlement and contemplated 9019
134   7/10/2024   J Bothamley      0.2   Review and respond to email from Y.L. re status of Payliance 9019 motion with
                                         substantially completed motion and accompanying docs, and last known update.
134   7/10/2024   J Bothamley      0.1   Review updates from J. Freedman on status of Payliance 9019 motion to Y.L.
134   7/10/2024   J Freedman       0.3   Further review of strategy regrading settlement with Payliance given new demand for
                                         indemnity not included and expressly removed from the settlement agreement
134   7/10/2024   Y Lissebeck      0.2   Review file and draft email to J. Freedman re 9019 payliance motion, review response and
                                         reply
134   7/15/2024   C Ghio           0.2   Analysis re Payliance Order to show cause
134   7/22/2024   C Ghio           0.4   Analysis re Payliance settlement or order to show cause.
                                                                                                                                                                                     Page 463




134   7/22/2024   J Freedman       0.3   Multiple emails (4) with counsel for Payliance regarding OSC for failure to comply with
                                                                                                                                                                                 EXHIBIT "D"
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                                         preliminary injunction in light of demand for indemnification
       Date            Name     Hours    Narrative
134   7/23/2024   C Ghio           0.2   Settlement meeting with Payliance counsel.
134   7/23/2024   J Freedman       0.3   Remote meeting with counsel for Payliance regarding potential settlement of
                                         indemnification demand
134   7/25/2024   C Ghio           0.4   Telephone call with Trustee re Payliance settlement and analysis re same.
134   7/26/2024   J Freedman       0.3   Multiple emails (3) with counsel for Payliance regarding settlement of indemnification
                                         claim and declaration needed in support of 9019 motion to approve compromise
134   7/30/2024   J Freedman       0.4   Review and analysis of the Payliance declaration in support of 9019 motion and
                                         supporting exhibits per agreement
134   7/30/2024   J Freedman       0.8   Draft further arguments to the 9019 motion as to Payliance regarding the compromised
                                                                                                                                                                                  Case 8:23-bk-10571-SC




                                         indemnity claim
134   7/31/2024   J Freedman       0.1   Review and analysis of email from counsel for Payliance regarding status of declaration
                                         and revised settlement agreement
134    8/1/2024   J Freedman       0.1   Draft letter to counsel for Payliance regarding inclusion of release of indemnity claim in
                                         settlement agreement
134    8/2/2024   J Freedman       0.1   Review and analysis of email from counsel for Payliance regarding revised settlement
                                         agreement
134    8/5/2024   J Freedman       0.3   Review and analysis of Payliance further revisions to the settlement agreement and
                                                                                                                                      Main Document




                                         revised reserve accounting
134    8/5/2024   J Freedman       0.5   Draft further revisions to the motion to compromise with Payliance to revise reserve
                                         accounting and further provisions of the settlement with regards to indemnification
134    8/5/2024   J Freedman       0.5   Draft further facts to the declaration of Trustee regarding revised reserve accounting and
                                         indemnification to support motion to compromise with Payliance
134    8/5/2024   J Freedman       0.3   Draft further facts to attorney declaration in support of motion to compromise regrading
                                         revised reserve accounting and indemnification
134    8/6/2024   J Freedman       0.3   Review and analysis of finalized declaration from Payliance in support of 9019 motion to
                                                                                                                                                       Page 465 of 501




                                         compromise to ensure all evidence provided to obtain court approval
134    8/7/2024   C Ghio           1.5   Review and analysis of Payliance settlement agreement, 9019 motion, Freedman
                                         Declaration and Marshack Declaration
134    8/7/2024   J Freedman       0.5   Finalize 90190 motion with Payliance prior to filing
134    8/7/2024   Y Lissebeck      0.2   Telephone call with trustee re payliance settlement
134    8/7/2024   Y Lissebeck      0.2   Telephone call with C. Ghio re payliance and optimum settlements
134    8/8/2024   J Freedman       0.1   Draft letter to client regarding Payliance settlement agreement
134    8/8/2024   J Freedman       0.5   Finalize Payliance 9019 Motion in light of executed settlement agreement
134    8/8/2024   Y Lissebeck      0.1   Discuss payliance settlement with C. Ghio
134    8/8/2024   Y Lissebeck      0.1   Discuss payliance settlement with trustee
                                                                                                                                                                                     Page 464
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      Date             Name     Hours    Narrative
134   8/9/2024    J Freedman       0.7   Multiple emails (3) with counsel for Payliance regarding accounting, lien free calculation,
                                         settlement language and proposed order to finalize same prior to Payliance signing
                                         agreement and filing 9019 Motion
134    8/9/2024   J Freedman       0.6   Draft further accounting figures and lien free amount to 9019 motion and proposed order
                                         in light of new information provided by Payliance counsel and accounting in the settlement
                                         agreement prior to filing
134    8/9/2024   J Freedman       0.1   Review and analysis of executed settlement agreement by Payliance in order file 9019
                                         Motion
134    8/9/2024   Y Lissebeck      0.2   Review and respond to emails from C. Ghio re payliance and optimum bank settlements
                                                                                                                                                                                   Case 8:23-bk-10571-SC




134   8/11/2024   J Freedman       0.4   Review and prepare exhibits to declarations in support of 9019 Motion for compromise
                                         with Payliance for accuracy and redaction
134   8/12/2024   J Freedman       0.6   Draft further argument and pin citation to the evidence to the 9019 motion compromise
                                         with Payliance
134   8/12/2024   J Freedman       0.4   Draft further facts to the declaration of Richard Marshack in support of the 9019 Motion to
                                         compromise with Payliance
134   8/12/2024   J Freedman       0.3   Draft further revisions to the settlement agreement with Payliance regarding the release of
                                         claims and 1542 waiver
                                                                                                                                       Main Document




134   8/12/2024   J Freedman       0.4   Draft letter to counsel for Payliance regarding revised settlement agreement related to the
                                         release and 1542 waiver
134   8/12/2024   Y Lissebeck      0.1   Discuss payliance settlement with C. Ghio and release of claims
134   8/12/2024   Y Lissebeck      0.5   Review and revise payliance 9019 motion
134   8/13/2024   J Freedman       0.6   Draft further argument and citation to evidence to the 9019 motion with Payliance
134   8/14/2024   J Freedman       0.1   Review and analysis of email from counsel for Payliance regarding revised settlement
                                         agreement
134   8/14/2024   J Freedman       0.2   Teleconference with counsel for Payliance regarding revisions to the settlement
                                                                                                                                                        Page 466 of 501




134   8/20/2024   C Ghio           1.1   Review and approve final Payliance 9019 motion package
134   8/27/2024   J Freedman       0.8   Review and analysis of Greyson's opposition to 9019 motion as to Payliance and
                                         supporting evidence
134   8/28/2024   Y Lissebeck      0.2   Review opposition to payliance filed by K. March
134   8/30/2024   J Freedman       0.6   Draft reply brief in response to opposition by Greyson to Payliance 9019 Motion
134   8/31/2024   J Freedman       1.2   Draft reply to Greyson's opposition to 9019 motion re Payliance
134    9/1/2024   J Freedman       0.8   Review and analysis of prior pleadings and evidence regarding Greyson in order to draft
                                         opposition to Payliance 9019 Motion
134    9/1/2024   J Freedman        1    Draft reply to Greyson's opposition to Payliance 9019 Motion to cite to evidence in support
                                         thereof
                                                                                                                                                                                      Page 465




134    9/1/2024   J Freedman       0.7   Review and analysis of case law and statutes to support reply to Greyson's opposition to
                                                                                                                                                                                  EXHIBIT "D"
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                                         the Payliance 9019 Motion
      Date             Name    Hours    Narrative
134   9/1/2024    J Freedman      3.1   Draft argument to reply brief in response to Greyson's opposition to the Payliance 9019
                                        Motion
134    9/2/2024   J Freedman       1    Draft further evidence and arguments to reply to Greyson's opposition to Payliance 9019
                                        Motion
134    9/3/2024   C Ghio          1.1   Review, revise and approve Reply to Greyson’s opposition to Payliance 9019 motion.
134    9/4/2024   J Freedman      0.5   Finalize reply to Greyson's opposition to motion to compromise with Payliance
134   9/10/2024   J Freedman      0.2   Review and analysis of court tentative ruling on Payliance 9019 Motion in order to develop
                                        strategy for argument at hearing
134   9/10/2024   J Freedman      1.1   Review and analysis of case cited by Court in support of denying Payliance 9019 motion
                                                                                                                                                                                    Case 8:23-bk-10571-SC




                                        in order to distinguish case and develop strategy regarding same
134   9/10/2024   J Freedman      2.3   Draft argument for hearing on Payliance 9019 Motion to support turnover of all funds
134   9/10/2024   J Freedman      1.3   Review and analysis of case law regarding compromise in conjunction with a preliminary
                                        injunction and turnover order in order to prepare for hearing on Payliance 9019 Motion
134   9/11/2024   C Ghio          0.5   Review and analysis of tentative ruling.
134   9/11/2024   C Ghio          2.1   Legal research and analysis re Payliance 9019 motion and Greyson limited opposition.
134   9/11/2024   C Ghio          0.3   Telephone call with Kathleen P. March re Greyson limited opposition and possible
                                        resolution.
                                                                                                                                        Main Document




134   9/11/2024   C Ghio          0.6   Voicemails and emails with Kathleen March re Order granting Payliance 9019 motion.
134   9/11/2024   J Freedman      0.4   Review and analysis of case law cited by court and precautionary effect of court order
                                        granting compromise in order to prepare for hearing on Payliance motion to compromise
134   9/11/2024   J Freedman      0.4   Multiple emails (4) with counsel for Payliance regarding potential revisions to settlement
                                        agreement in light of court's tentative ruling
134   9/11/2024   J Freedman      0.8   Appear at and argue motion to approve compromise with Payliance
134   9/11/2024   J Freedman      0.1   Multiple emails (2) with counsel for Optimum post hearing on Payliance motion to
                                        compromise in order to discuss potential revisions to Optimum settlement
                                                                                                                                                         Page 467 of 501




134   9/11/2024   J Freedman      0.1   Review and analysis of email from counsel for Greyson regarding revisions to proposed
                                        order on Payliance motion to compromise
134   9/12/2024   C Ghio          0.5   Review and respond to Kathleen March emails re order granting Payliance 9019 motion.
134   9/13/2024   C Ghio          0.5    Review and approve the Order granting 9019 motion with Payliance.
134   9/13/2024   J Freedman      0.2   Multiple emails (2) with counsel for Greyson regarding revised proposed order on
                                        Payliance motion to compromise
134   9/13/2024   J Freedman      0.2   Draft further revisions to order on Payliance motion to compromise per meet and confer
                                        with counsel for Greyson
134   9/16/2024   J Freedman      0.2   Multiple emails (2) with counsel for Greyson regarding further revisions to order granting in
                                        part Payliance 9019 motion
                                                                                                                                                                                       Page 466




134   9/16/2024   J Freedman      0.1   Draft further revisions to order granting in part Payliance 9019 Motion
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134   9/17/2024   C Ghio          0.4   Review and approve final proposed order granting Payliance settlement.
       Date            Name    Hours    Narrative
134   9/19/2024   J Freedman      0.1   Review and analysis of email from counsel for Payliance regarding proposed order on
                                        9019 motion to compromise
                                                                                                                                                                          Case 8:23-bk-10571-SC
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                           OptimumBank Holdings Inc. (143576-136)



                                                  FEES
                NAME                 TITLE                RATE      HOURS    TOTAL FEES
    Christopher Ghio           Partner                   $625.00      8.00     $5,000.00
    Yosina M. Lissebeck        Partner                   $745.00      1.80     $1,341.00
    M. Tyler Powell            Partner                   $595.00       .60      $357.00
    Jacob R. Bothamley         Associate                 $405.00      9.10     $3,685.50
    Jeremy B. Freedman         Associate                 $465.00     17.80     $8,277.00
    Wendy Yones                Paraprofessional          $205.00      1.10      $225.50
                                                           TOTALS    38.40    $18,886.00
      Date             Name     Hours    Narrative
136   7/1/2024    Y Lissebeck        1   Review and revise settlement agreement with Optimum bank
136   7/1/2024    Y Lissebeck      0.1   Draft email to J. Freedman with revisions to Optimum bank settlement
136   7/8/2024    J Freedman       0.2   Multiple emails (2) with counsel for Optimum regarding fourth amended complaint and
                                         further responsive pleading
136    7/9/2024   Y Lissebeck      0.1   Draft email to team asking about status of settlement with Optimum
136   7/11/2024   C Ghio           0.5   Analysis re status of Optimum Bank settlement.
136   7/15/2024   C Ghio           0.3   Analysis and strategy conference re Optimum Bank settlement.
136   7/15/2024   J Bothamley      0.1   Meet with J. Freedman re drafting instructions for 9019 Optimum Bank motion.
136   7/15/2024   J Bothamley      0.7   Review and analyze draft of settlement agreement with OptimumBank in preparation for
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                         drafting 9019 motion.
136   7/15/2024   J Freedman       0.2   Develop strategy for 9019 motion for compromise with Optimum Bank
136   7/15/2024   J Freedman       0.3   Draft letter to counsel for Optimum Bank with revised settlement agreement and detailed
                                         explanation and argument as to the necessary revisions
136   7/16/2024   J Bothamley      1.1   Draft notice of Optimum 9019 motion.
136   7/16/2024   J Bothamley      0.8   Draft introduction and summary of settlement in Optimum 9019 motion.
136   7/16/2024   J Bothamley      2.4   Draft memorandum of points and authorities in support of Optimum 9019 motion.
136   7/17/2024   J Bothamley      0.8   Review draft of memorandum of points and authorities of Optimum 9019 motion and make
                                                                                                                                    Main Document




                                         revisions as necessary for clarity.
136   7/17/2024   J Bothamley      1.2   Draft declaration of Richard Marshack in support of Optimum 9019 motion.
136   7/18/2024   J Bothamley      1.1   Draft declaration of J. Freedman in support of Optimum 9019 motion.
136   7/18/2024   J Bothamley      0.9   Review, revise, and finalize Optimum 9019 motion and declarations in support for
                                         consistency and clarity before sending to J. Freedman for further review.
136   7/26/2024   J Freedman       0.3   Draft response to counsel for Optimum regarding settlement agreement and concerns with
                                         holdback
136   7/26/2024   J Freedman       0.2   Review and analysis of Vulcan records to determine further meet and confer with
                                                                                                                                                     Page 470 of 501




                                         Optimum regarding same
136   7/29/2024   J Freedman       0.3   Multiple emails (4) with counsel for Optimum bank regarding general release and risk of
                                         administrative insolvency in order to finalize resolution of this matter
136    8/5/2024   J Freedman       0.6   Multiple emails (5) with counsel for Optimum regarding further negotiation over terms of
                                         the settlement agreement in order to finalize same
136    8/6/2024   J Freedman       0.4   Draft letter to counsel for Optimum regarding responses to questions related to terms of
                                         settlement and CLG contracts necessary to respond to chargebacks
136    8/8/2024   C Ghio           0.7   Review and revise/approve Optimum Bank settlement agreement.
136    8/8/2024   J Freedman       0.1   Review and analysis of email from counsel for Optimum regarding counter offer on hold
                                         back amount to settlement agreement
                                                                                                                                                                                   Page 469




136   8/12/2024   J Freedman       0.1   Multiple emails (2) with counsel for Optimum regarding the final terms of the settlement
                                                                                                                                                                               EXHIBIT "D"
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                                         agreement in order to finalize same
       Date            Name     Hours    Narrative
136   8/13/2024   C Ghio           0.9   Final review and approval of Optimum Bank settlement agreement.
136   8/13/2024   J Freedman       0.1   Review and analysis of email from counsel for Optimum regarding further information to
                                         include in the settlement agreement
136   8/13/2024   J Freedman       0.1   Draft letter to counsel for optimum regarding declaration needed in support of 9019 motion
                                         and evidence attached thereto
136   8/13/2024   J Freedman       0.2   Draft further facts to the settlement agreement with Optimum per email from counsel for
                                         same
136   8/13/2024   J Freedman       0.2   Draft letter to counsel for optimum with explanation of further revisions to settlement
                                         agreement, timing and declaration
                                                                                                                                                                                  Case 8:23-bk-10571-SC




136   8/13/2024   J Freedman       0.8   Draft further arguments to the 9019 motion to compromise iwth Optimum and insert
                                         citations to the evidence
136   8/13/2024   J Freedman       0.3   Draft further facts to the declaration of Richard Marshack in support of 9019 Motion to
                                         compromise with Optimum
136   8/20/2024   J Freedman       0.1   Draft letter to counsel for Optimum regarding status of declaration in support of 9019
                                         motion to finalize same
136   8/21/2024   C Ghio           1.1   Final review and approval of Optimum Bank settlement and 9019 motion re same.
136   8/21/2024   J Freedman       0.4   Finalize declaration of Richard Marshack in support of 9019 motion with Optimum Bank
                                                                                                                                      Main Document




                                         prior to sending to client
136   8/21/2024   J Freedman       0.4   Finalize 9019 motion to compromise as to Optimum in light of delayed declaration and to
                                         add citations to the evidence
136   8/21/2024   J Freedman       0.1   Draft letter to counsel for Optimum regarding status of declaration in order to file 9019
                                         motion
136   8/21/2024   J Freedman       0.2   Teleconference with counsel for Optimum regarding declaration and resending executed
                                         settlement agreement
136   8/22/2024   C Ghio           2.1   Review executed Optimum Bank settlement agreement, Optimum Bank declaration,
                                                                                                                                                       Page 471 of 501




                                         Marshack declaration and 9019 motion.
136   8/22/2024   J Freedman       0.6   Draft further facts and argument to motion to compromise with optimum prior to filing
136   8/22/2024   J Freedman       0.3   Multiple emails (3) with counsel for optimum regrading further revisions to the Optimum
                                         declaration in support of 9019 motion
136   8/22/2024   J Freedman       0.4   Draft attorney declaration in support of 9019 motion with optimum
136   8/22/2024   Y Lissebeck      0.2   Discuss 9019 motion and settlement of optimum bank with C. Ghio
136   8/25/2024   MT Powell        0.6   Review Optimum settlement agreement and release language and note potential issues
                                         with other litigation targets.
136   8/26/2024   C Ghio           0.5   Legal research and analysis re Optimum Bank settlement release language.
136   8/26/2024   J Freedman       0.4   Multiple emails (5) with counsel for CLG regarding 9019 motion to compromise with
                                                                                                                                                                                     Page 470




                                         Optimum Bank
                                                                                                                                                                                 EXHIBIT "D"
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       Date            Name     Hours    Narrative
136   8/26/2024   Y Lissebeck      0.3   Review and respond to text messages re release language in Optimum bank settlement,
                                         telephone call with T. Powell re same
136   8/26/2024   Y Lissebeck      0.1   Discuss release with C. Ghio
136   8/27/2024   J Freedman       0.2   Multiple emails (2) with counsel for CLG regarding Optimum 9019 motion
136   8/28/2024   J Freedman       0.6   Teleconference with new counsel for CLG regarding potential resolution efforts and CLG's
                                         objection to the Optimum 9019 motion
136   8/28/2024   J Freedman       0.2   Review and analysis of court availability to evaluate whether Trustee can continue the
                                         hearing on the Optimum 9019 motion
136    9/6/2024   J Freedman       0.6   Review and analysis of Consumer Legal Group's opposition to Optimum 9019 Motion in
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                         order to develop strategy for reply brief
136    9/8/2024   J Freedman       2.6   Draft reply brief in response to Consumer Legal Group's opposition to Optimum 9019
                                         Motion
136    9/9/2024   J Freedman       1.5   Draft further facts and argument to Reply brief in response to CLG's opposition to
                                         Optimum 9019 Motion
136    9/9/2024   J Freedman       1.2   Review and analysis of case law cited by CLG in order to develop arguments regarding
                                         same in reply to CLG's opposition to Optimum 9019 Motion
136    9/9/2024   J Freedman        1    Draft further arguments regarding case law cited by CLG and facts to distinguish same in
                                                                                                                                    Main Document




                                         support of Optimum 9019 Motion
136    9/9/2024   J Freedman       1.7   Draft supplemental declaration in support of reply to CLG's opposition to Optimum 9019
                                         Motion and gather supporting evidence
136   9/10/2024   J Freedman       0.8   Finalize reply brief in response to CLG opposition to Optimum 9019 Motion
136   9/10/2024   J Freedman       0.1   Draft letter to counsel for Optimum regarding declaration in support of 9019 Motion
136   9/10/2024   W Yones          1.1   Prepare and finalize supplemental documents in support of Trustee's 9019 motion to
                                         settle with Optimum
136   9/11/2024   C Ghio           1.5   Legal research and analysis in preparation for hearing on Optimum Bank 9019 motion
                                                                                                                                                     Page 472 of 501




                                         based on CLG opposition.
136   9/12/2024   C Ghio           0.4   Appear at hearing on 9019 Motion on Optimum Bank Settlement.
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                                 Greyson Appeal (143576-150)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Christopher B. Ghio        Partner              $625.00       .60      $375.00
    Jeremy B. Friedman         Associate            $465.00      2.30     $1,069.50
                                                      TOTALS     2.90     $1,444.50
       Date            Name    Hours    Narrative
150   7/16/2024   J Freedman      0.3   Teleconference with General counsel for Trustee regarding Court's tentative ruling on
                                        Greyson, Han and Jayde's motions for administrative claims ahead of hearing on same
150   8/27/2024   J Freedman      1.1   Review and analysis of Court Order denying Greyson's motion for administrative claim
                                        and develop strategy in light of same
150    9/9/2024   C Ghio          0.6   Review and analysis of appeal of denial of Greyson, Han Trinh and Jayde Trinh
                                        administrative claims.
150    9/9/2024   J Freedman      0.1   Review and analysis of Greyson's notice of appeal to the order denying its administrative
                                        claim
150   9/10/2024   J Freedman      0.1   Notice of election of appeal to 9th Circuit BAP by Greyson related to its motion for
                                                                                                                                                                                Case 8:23-bk-10571-SC




                                        administrative claim
150   9/17/2024   J Freedman      0.1   Review and analysis of notice of election to proceed with appeal of order denying Han
                                        Trinh, Jayde Trinh and Greyson's motions for administrative claims
150   9/20/2024   J Freedman      0.3   Review and analysis of statement of issues on appeal as to Greyson's appeal of order
                                        denying its administrative claim
150   9/20/2024   J Freedman      0.3   Review and analysis of designation of record on appeal as to Greyson's appeal of order
                                        denying its administrative claim in order to evaluate for completeness
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                                Han Trinh Appeal (143576-151)



                                             FEES
                NAME                 TITLE           RATE      HOURS    TOTAL FEES
    Yosina M. Lissebeck        Partner              $745.00       .20      $149.00
    Jeremy B. Friedman         Associate            $465.00      5.50     $2,557.50
                                                      TOTALS     5.70     $2,706.50
       Date            Name     Hours    Narrative
151   7/16/2024   J Freedman       0.6   Review and analysis of Court's tentative ruling on Greyson, Han and Jayde Trinh's
                                         motions for administrative claims ahead of the hearing on same
151   8/27/2024   J Freedman       0.6   Review and analysis of court's order denying Han Trinh's motion for administrative claim
                                         and develop strategy in light of same
151    9/9/2024   J Freedman       0.1   Review and analysis of Han Trinh's notice of appeal regarding the denial of her
                                         administrative claim in order to develop strategy regarding same
151   9/10/2024   J Freedman       0.1   Notice of election of appeal to 9th Circuit BAP by Han Trinh related to her motion for
                                         administrative claim
151   9/10/2024   J Freedman       1.7   Draft objection to priority wage claim pursuant to 11 U.S.C. 507(a)(4) filed by Han Trinh
                                                                                                                                                                                    Case 8:23-bk-10571-SC




151   9/12/2024   J Freedman       1.3   Draft facts and citation to evidence to objections to priority wage claims as to Han, Jayde,
                                         Israel, Justin Kevin and Mario to be included in client declaration
151   9/16/2024   J Freedman       0.8   Draft subpoenas related to priority claims to Han Trinh
151   9/16/2024   Y Lissebeck      0.2   Review draft of notice of objection to Hahn claim and respond with comments re POS and
                                         notice revisions
151   9/20/2024   J Freedman       0.1   Review and analysis of statement of issues on appeal as to Han Trinh's appeal of order
                                         denying its administrative claim
151   9/20/2024   J Freedman       0.1   Review and analysis of designation of record on appeal as to Han Trinh's appeal of order
                                                                                                                                        Main Document




                                         denying its administrative claim in order to evaluate for completeness
151   9/22/2024   J Freedman       0.1   Finalize litigation hold letter as to Han Trinh
152    9/9/2024   J Freedman       0.1   Review and analysis of Jayde Trinh's notice of appeal of the order denying her
                                         administrative claim
152   9/10/2024   J Freedman       0.1   Notice of election of appeal to 9th Circuit BAP by Jayde Trinh related to her motion for
                                         administrative claim
152   9/10/2024   J Freedman       0.6   Review and analysis of court's orders denying Han and Jayde Trinh's administrative
                                         claims to support objections to priority wage claims pursuant to 11 U.S.C. 507(a)(4)
                                                                                                                                                         Page 476 of 501




152   9/12/2024   J Freedman       0.6   Draft litigation hold letter as to Han and Jayde Trinh in light of further adversary
152   9/16/2024   J Freedman       0.7   Draft subpoenas related to priority claims to Jayde Trinh
152   9/20/2024   J Freedman       0.1   Review and analysis of statement of issues on appeal as to Jayde Trinh's appeal of order
                                         denying its administrative claim
                                                                                                                                                                                       Page 475
                                                                                                                                                                                   EXHIBIT "D"
                                                                                                                                        Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
Case 8:23-bk-10571-SC    Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
                         Main Document     Page 477 of 501
                                                                    EXHIBIT "D"
                                                                        Page 476
                              Jayde Trinh Appeal (143576-152)



                                           FEES
                NAME               TITLE           RATE      HOURS    TOTAL FEES
    Jeremy B. Friedman        Associate           $465.00      2.30     $1,069.50
                                                    TOTALS     2.30     $1,069.50
                   Case 8:23-bk-10571-SC           Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
                                                   Main Document    Page 478 of 501
                                                                                              EXHIBIT "D"
                                                                                                  Page 477
Finalize litigation hold letter as to JaydeTrinh
Narrative
   0.1
Hours
J Freedman
     Name
9/22/2024
 Date
                           152
Case 8:23-bk-10571-SC
                   Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57 Desc
                   Main Document    Page 479 of 501
                                                              EXHIBIT "E"
                                                                  Page 478
                            EXHIBIT "E"
  SUMMARY SHEET FOR INTERIM FEE APPLICATION OF DINSMORE & SHOHL
  LLP FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES AS SPECIAL
  COUNSEL OF RECORD FOR CHAPTER 11 TRUSTEE, RICHARD A. MARSHACK

                     DESCRIPTION OF EXPENSE                 AMOUNT
 Copy Charges                                                     2,451.38
 Court/Deposition Reporter                                          810.00
 FedEx                                                              487.78
 Research/Investigation                                             856.31
 Messenger Service                                                  967.08
 Document Retrieval                                                 119.60
 Travel                                                             120.39




 TOTAL EXPENSES                                                   5,812.54
              Cost
 Date         Code    Base Amt                                                        Narrative
 7/1/2024   COPY            $0.45
 7/1/2024   COPY            $1.50
 7/1/2024   COPY            $2.10
 7/1/2024   COPY            $0.30
 7/1/2024   COPY            $2.55
                                  VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202405-1; DATE: 6/1/2024 - Acct Id: 398763;
 7/1/2024   RES/INV        $26.95 Billing Period:5/1/24-5/31/24
                                  VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202405-1; DATE: 6/1/2024 - Acct Id: 398763;
 7/1/2024   RES/INV         $5.39 Billing Period:5/1/24-5/31/24
 7/2/2024   COPY            $1.05
 7/2/2024   COPY            $1.05
                                                                                                                                                                                                 Case 8:23-bk-10571-SC




 7/2/2024   COPY            $3.00
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 7/3/2024   COPY            $1.65
 7/3/2024   COPY            $2.10
                                  VENDOR: Copyscan, Inc. INVOICE#: 61990; DATE: 11/10/2023; - Printing of documents to be filed under seal. Order#
 7/3/2024   COPY          $545.13 58508
                                                                                                                                                     Main Document




                                  VENDOR: Federal Express Corporation INVOICE#: 855841814; DATE: 7/12/2024; Tracking #: 276672023279 Shipment
                                  Date: 20240703 Sender: wendy yones Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship to:
 7/3/2024   FEDEX          $25.53 Honorable Scott Clarkson, U S Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
7/11/2024   COPY            $0.30
7/11/2024   COPY            $0.45
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                                  VENDOR: Fifth Third Bank; INVOICE#: 4034/20240712; DATE: 7/12/2024 - Dawnell Kring Master Card June 2024;
7/12/2024   MESSEN         $72.00 Zions Subpoena on 6/25 - Subpoena Response
7/15/2024   COPY            $2.85
7/15/2024   COPY            $4.80
                                  VENDOR: Federal Express Corporation INVOICE#: 8-529-98427; DATE: 6/14/2024; - Account 7033-0760-4 Overnight
7/16/2024   FEDEX          $23.33 courier for San Diego office to USBC 411 W 4th ST Santa Ana, CA
                                  VENDOR: Federal Express Corporation INVOICE#: 8-529-98427; DATE: 6/14/2024; - Account 7033-0760-4 Overnight
7/16/2024   FEDEX          $74.13 courier for San Diego office to USBC 411 W 4th St Santa Ana, CA
7/17/2024   COPY            $1.50
7/17/2024   COPY            $1.50
                                  VENDOR: Federal Express Corporation INVOICE#: 857150199; DATE: 7/26/2024; Tracking #: 277192151287 Shipment
                                  Date: 20240717 Sender: Matthew Tyler Powell Dinsmore & Shohl, LLP, 100 West Main Street, LEXINGTON, KY 40507
7/17/2024   FEDEX          $29.70 Ship to: Hon Scott Clarkson, US Bankruptcy Court,, 411 W 4TH ST, SANTA ANA, CA 92701
                                                                                                                                                                                                    Page 479
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                              VENDOR: Federal Express Corporation INVOICE#: 857150199; DATE: 7/26/2024; Tracking #: 277217359074 Shipment
                              Date: 20240718 Sender: Matthew Tyler Powell Dinsmore & Shohl, LLP, 100 West Main Street, LEXINGTON, KY 40507
7/18/2024   FEDEX      $29.70 Ship to: Hon Scott Clarkson, US Bankruptcy Court,, 411 W 4TH ST, SANTA ANA, CA 92701
7/23/2024   COPY        $6.90
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7/24/2024   COPY        $1.50
                              VENDOR: Federal Express Corporation INVOICE#: 857817456; DATE: 8/2/2024; Tracking #: 277427355260 Shipment
                              Date: 20240724 Sender: Jonathan B Serrano Dinsmore & Shohl, LLP, 550 S Hope St, LOS ANGELES, CA 90071 Ship
7/24/2024   FEDEX      $23.49 to: Scott Clarkson, United States Bankurtpcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
7/25/2024   COPY        $1.65
7/25/2024   COPY        $1.65
                              VENDOR: Federal Express Corporation INVOICE#: 857810175; DATE: 8/2/2024; Tracking #: 277521880957 Shipment
                              Date: 20240725 Sender: Angelica F Urena Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship
                                                                                                                                                                                          Case 8:23-bk-10571-SC




7/25/2024   FEDEX      $23.49 to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
7/30/2024   COPY        $0.30
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                              VENDOR: Federal Express Corporation INVOICE#: 858580165; DATE: 8/9/2024; Tracking #: 277782582570 Shipment
                              Date: 20240801 Sender: Wendy Yones Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship to:
 8/1/2024   FEDEX      $19.93 Honorable Scott Clarkson, U S Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
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                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202407-1; DATE: 8/1/2024 - Acct ID:398763;
 8/1/2024   RES/INV    $26.95 Billing Period:7/1/24-7/31/24
                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202407-1; DATE: 8/1/2024 - Acct ID:398763;
 8/1/2024   RES/INV    $32.34 Billing Period:7/1/24-7/31/24
 8/2/2024   COPY        $0.30
 8/5/2024   COPY      $208.95
 8/5/2024   COPY       $26.10
 8/5/2024   COPY      $130.50
 8/5/2024   COPY       $58.50
                              VENDOR: Federal Express Corporation INVOICE#: 858580165; DATE: 8/9/2024; Tracking #: 277917455840 Shipment
                                                                                                                                                               Page 481 of 501




                              Date: 20240805 Sender: Yosina M Lissebeck Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101
 8/5/2024   FEDEX      $23.33 Ship to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
 8/7/2024   COPY        $3.15
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 8/7/2024   COPY        $2.70
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8/13/2024   COPY        $3.00
                              VENDOR: Federal Express Corporation INVOICE#: 859258166; DATE: 8/16/2024; Tracking #: 278254562618 Shipment
                              Date: 20240813 Sender: Matthew J Stockl Dinsmore & Shohl, LLP, 550 S Hope St, LOS ANGELES, CA 90071 Ship to:
8/13/2024   FEDEX      $23.23 Scott Clarkson, United States Bankurtpcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
                              VENDOR: CAL Express Enterprises LLC; INVOICE#: 148265; DATE: 7/31/2024 - Master Card Charges for Dawnell
8/13/2024   MESSEN    $225.00 Kring August 2024; Courier
                              VENDOR: Federal Express Corporation INVOICE#: 859905601; DATE: 8/23/2024; Tracking #: 278300059297 Shipment
                              Date: 20240814 Sender: Matthew J Stockl Dinsmore & Shohl, LLP, 550 S Hope St, LOS ANGELES, CA 90071 Ship to:
8/14/2024   FEDEX      $23.23 Scott Clarkson, United States Bankurtpcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202406-1; DATE: 7/1/2024 - Mastercard
8/14/2024   RES/INV     $5.39 charges for Tim Hennies for July 2024; TLO
8/15/2024   COPY        $3.00
                              VENDOR: North American Services LLC; INVOICE#: 31733; DATE: 7/26/2024 - Mastercard charges for Tim Hennies
8/15/2024   RES/INV   $700.00 for July 2024; Online research
                                                                                                                                                                                           Case 8:23-bk-10571-SC




8/16/2024   COURT     $288.00 VENDOR: Briggs Reporting Company, Inc. INVOICE#: 23481; DATE: 8/16/2024; - August 14, 2024 Hearing Transcript
                              VENDOR: Federal Express Corporation INVOICE#: 859905601; DATE: 8/23/2024; Tracking #: 278384987835 Shipment
                              Date: 20240816 Sender: Matthew J Stockl Dinsmore & Shohl, LLP, 550 S Hope St, LOS ANGELES, CA 90071 Ship to:
8/16/2024   FEDEX      $19.80 Honorable Scott C Clarkson, United States Bankruptcy Court, 411 West Fourth Street, Suite, SANTA ANA, CA 92701
8/20/2024   COPY        $4.80
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8/21/2024   COPY        $0.30
                              VENDOR: Federal Express Corporation INVOICE#: 860562649; DATE: 8/30/2024; Tracking #: 278578767757 Shipment
                              Date: 20240821 Sender: Bonnie S Connolly Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship
8/21/2024   FEDEX      $19.76 to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 West Fourth Street, Suite, SANTA ANA, CA 92701
8/22/2024   COPY        $0.15
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                              VENDOR: Federal Express Corporation INVOICE#: 860562649; DATE: 8/30/2024; Tracking #: 278611123000 Shipment
                              Date: 20240822 Sender: Bonnie S Connolly Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship
8/22/2024   FEDEX      $19.76 to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 West Fourth Street, Suite, SANTA ANA, CA 92701
8/26/2024   COPY        $3.15
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8/27/2024   COPY        $2.10
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8/27/2024   COPY        $9.15
                              VENDOR: Federal Express Corporation INVOICE#: 860562649; DATE: 8/30/2024; Tracking #: 278786550440 Shipment
                              Date: 20240827 Sender: Christopher Celentino Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101
8/27/2024   FEDEX      $23.23 Ship to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
8/28/2024   COPY        $5.70
8/28/2024   COPY       $37.35
8/29/2024   COPY       $10.05
                              VENDOR: Fifth Third Bank; INVOICE#: 4034/20240829; DATE: 8/29/2024 - Master Card Charges for Dawnell Kring
8/29/2024   ONDOC      $51.20 August 2024; Pacer on 8/9 - Case Document Purchase
                              VENDOR: Fifth Third Bank; INVOICE#: 4034/20240829; DATE: 8/29/2024 - Master Card Charges for Dawnell Kring
8/29/2024   ONDOC      $43.60 August 2024; Pacer on 8/9 - Case Document Purchase
                              VENDOR: Fifth Third Bank; INVOICE#: 4034/20240829; DATE: 8/29/2024 - Master Card Charges for Dawnell Kring
8/29/2024   ONDOC       $0.80 August 2024; Pacer on 8/9 - Case Document Purchase
                              VENDOR: Briggs Reporting Company, Inc. INVOICE#: 23488; DATE: 8/27/2024; - 8:24-ap-01068-SC Marshack v.
                                                                                                                                                                                           Case 8:23-bk-10571-SC




8/30/2024   COURT     $522.00 Bayrooti - 08/15/2024 Hearing Transcript
                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202408-1; DATE: 9/1/2024 - Acct ID: 398763;
 9/1/2024   RES/INV    $48.51 Billing Period 8/1/24-8/31/24
                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202408-1; DATE: 9/1/2024 - Acct ID: 398763;
 9/1/2024   RES/INV     $5.39 Billing Period 8/1/24-8/31/24
                              VENDOR: TransUnion Risk & Alternative Data Solut; INVOICE#: 398763-202408-1; DATE: 9/1/2024 - Acct ID: 398763;
 9/1/2024   RES/INV     $5.39 Billing Period 8/1/24-8/31/24
 9/3/2024   COPY        $0.30
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 9/4/2024   COPY        $4.50
 9/4/2024   COPY      $117.15
 9/4/2024   COPY       $30.15
                              VENDOR: Federal Express Corporation INVOICE#: 862003155; DATE: 9/13/2024; Tracking #: 279096815813 Shipment
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                              Date: 20240904 Sender: Bonnie S Connolly Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship
 9/4/2024   FEDEX      $19.84 to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 West Fourth Street, Suite, SANTA ANA, CA 92701
                              VENDOR: CAL Express Enterprises LLC; INVOICE#: 148467; DATE: 9/4/2024 - Master Card Charges for Dawnell Kring
 9/4/2024   MESSEN    $131.80 Sept 2024; Courier
                              VENDOR: Federal Express Corporation INVOICE#: 862003155; DATE: 9/13/2024; Tracking #: 279139970389 Shipment
                              Date: 20240905 Sender: Bonnie S Connolly Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101 Ship
 9/5/2024   FEDEX      $19.84 to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 West Fourth Street, Suite, SANTA ANA, CA 92701
 9/8/2024   COPY      $160.50
 9/9/2024   COPY        $0.75
 9/9/2024   COPY        $0.75
9/10/2024   COPY       $40.80
9/10/2024   COPY        $0.30
9/10/2024   COPY      $120.00
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                              VENDOR: CAL Express Enterprises LLC; INVOICE#: 148405; DATE: 8/28/2024 - Master Card Charges for Dawnell
                                                                                                                                                                                          EXHIBIT "E"
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9/10/2024   MESSEN    $138.28 Kring August 2024; Courier
                             VENDOR: CAL Express Enterprises LLC; INVOICE#: 148422; DATE: 9/06/2024 - Master Card Charges for Dawnell
9/10/2024   MESSEN   $225.00 Kring August 2024; Courier
                             VENDOR: Fifth Third Bank; INVOICE#: 4034/20240910; DATE: 9/10/2024 - Master Card Charges for Dawnell Kring
9/10/2024   ONDOC     $12.00 August 2024; Courts/USBC-CA-PG on 8/19 - Case Documents Purchase
                             VENDOR: Fifth Third Bank; INVOICE#: 4034/20240910A; DATE: 9/10/2024 - Master Card Charges for Dawnell Kring
9/10/2024   ONDOC     $12.00 August 2024; USBC on 8/28 - Case Document Purchase
9/11/2024   COPY       $0.90
9/11/2024   COPY       $2.55
9/11/2024   COPY       $3.60
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9/12/2024   COPY      $80.00
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                             VENDOR: Federal Express Corporation INVOICE#: 862708354; DATE: 9/20/2024; Tracking #: 279413505360 Shipment
                             Date: 20240912 Sender: Christopher Celentino Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101
9/12/2024   FEDEX     $23.28 Ship to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
9/13/2024   COPY      $28.50
9/13/2024   COPY       $0.15
9/13/2024   COPY      $17.40
9/13/2024   COPY       $1.50
                             VENDOR: Christopher B. Ghio INVOICE#: 6894360909161247; DATE: 9/16/2024; Mileage Drive from SAN office to
                             USBC for Hearing on Plaintiff's Emergency Application for a Right to Attach Order and Issuance of Writ of Attachment or,
9/16/2024   TRAVEL   $120.39 Alternatively, for a Temporary Protective Order Pending a Noticed Hearing and Status Conference. 08/29/24
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9/17/2024   COPY       $1.95
9/17/2024   COPY       $0.45
                             VENDOR: Federal Express Corporation INVOICE#: 862708354; DATE: 9/20/2024; Tracking #: 279599574791 Shipment
                             Date: 20240917 Sender: Christopher Celentino Dinsmore & Shohl, LLP, 655 West Broadway, SAN DIEGO, CA 92101
9/17/2024   FEDEX     $23.18 Ship to: Hon Scott C Clarkson, United States Bankruptcy Court, 411 W 4TH ST, SANTA ANA, CA 92701
                             VENDOR: On-Call Legal; INVOICE#: 148538; DATE: 9/18/2024 - Master Card Charges for Dawnell Kring September
9/18/2024   MESSEN   $175.00 2024; Courier
9/19/2024   COPY     $205.95
9/19/2024   COPY     $168.60
9/19/2024   COPY       $6.30
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9/19/2024   COPY       $1.95
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9/23/2024   COPY       $5.25
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Case 8:23-bk-10571-SC                Doc 1900 Filed 11/08/24 Entered 11/08/24 22:39:57                                        Desc
                                     Main Document    Page 485 of 501



                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document: SECOND AND FINAL CHAPTER 11 APPLICATION OF
DINSMORE & SHOHL LLP FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
PERIOD JULY 1, 2024 THROUGH SEPTEMBER 23, 2024; DECLARATION OF CHRISTOPHER CELENTINO

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On November 8, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On November 8, 2024, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

JUDGE'S COPY
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 8,
2024, I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

VIA E-MAIL:

ETHICS MONITOR
NANCY RAPOPORT
nancy.rapoport@unlv.edu

ACCOUNTANT JOSH TEEPLE
jteeple@gtllp.com




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FINANCIAL ADVISOR FOR COMMITTEE FORCE TEN PARTNERS
CHAD KURTZ
ADAM MEISLIK
ckurtz@force10partners.com
ameislik@force10partners.com

FIELD AGENT AND ANALYST BICHER & ASSOCIATES
Robert F. Bicher
rfbicher@earthlink.net


TRUSTEE:
RICHARD A. MARSHACK
RMARSHACK@MARSHACKHAYS.COM

U.S. TRUSTEE'S OFFICE:
KENNETH MISKEN
KENNETH.M.MISKEN@USDOJ.GOV

QUEENIE K NG
QUEENIE.K.NG@USDOJ.GOV


                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  November 8, 2024                 Caron Burke                                           /s/ Caron Burke
  Date                          Printed Name                                             Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Kyra E Andrassy on behalf of Defendant Arash Asante Bayrooti
        kandrassy@raineslaw.com, bclark@raineslaw.com;jfisher@raineslaw.com

        Kyra E Andrassy on behalf of Interested Party Courtesy NEF
        kandrassy@raineslaw.com, bclark@raineslaw.com;jfisher@raineslaw.com

        Bradford Barnhardt on behalf of Interested Party Courtesy NEF
        bbarnhardt@marshackhays.com, bbarnhardt@ecf.courtdrive.com,alinares@ecf.courtdrive.com

        Bradford Barnhardt on behalf of Plaintiff Richard A. Marshack
        bbarnhardt@marshackhays.com, bbarnhardt@ecf.courtdrive.com,alinares@ecf.courtdrive.com

        Bradford Barnhardt on behalf of Trustee Richard A Marshack (TR)
        bbarnhardt@marshackhays.com, bbarnhardt@ecf.courtdrive.com,alinares@ecf.courtdrive.com

        Eric Bensamochan on behalf of Creditor Oxford Knox, LLC
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Courtesy NEF
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Eric Bensamochan on behalf of Interested Party Eric Bensamochan
        eric@eblawfirm.us, G63723@notify.cincompass.com

        Michael Jay Berger on behalf of Defendant Leucadia Enterprises, Inc
        michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

        Ethan J Birnberg on behalf of Defendant BMF Advance, LLC
        birnberg@portersimon.com, kdwyer@portersimon.com

        Ethan J Birnberg on behalf of Defendant Diverse Capital LLC
        birnberg@portersimon.com, kdwyer@portersimon.com

        Peter W Bowie on behalf of Trustee Richard A Marshack (TR)
        peter.bowie@dinsmore.com, caron.burke@dinsmore.com

        Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
        ron@rkbrownlaw.com

        Christopher Celentino on behalf of Plaintiff Richard A. Marshack
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Celentino on behalf of Special Counsel Dinsmore & Shohl LLP
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

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        Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Shawn M Christianson on behalf of Interested Party Courtesy NEF
        cmcintire@buchalter.com, schristianson@buchalter.com

        Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
        rbc@randallbclark.com

        Leslie A Cohen on behalf of Defendant Rosa Bianca Loli
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Leslie A Cohen on behalf of Interested Party Courtesy NEF
        leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

        Michael W Davis on behalf of Defendant Morning Law Group, P.C.
        mdavis@dtolaw.com, ygodson@dtolaw.com

        Aaron E. De Leest on behalf of Trustee Richard A Marshack (TR)
        adeleest@marshackhays.com, adeleest@marshackhays.com,alinares@ecf.courtdrive.com

        Anthony Paul Diehl on behalf of Interested Party Courtesy NEF
        anthony@apdlaw.net,
        Diehl.AnthonyB112492@notify.bestcase.com,ecf@apdlaw.net,9143954420@filings.docketbird
        .com

        Ashley Dionisio on behalf of Other Professional Omni Agent Solutions
        adionisio@omniagnt.com

        Jenny L Doling on behalf of Interested Party INTERESTED PARTY
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Association of Consumer Bankruptcy
        Attorneys
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Jenny L Doling on behalf of Interested Party National Consumer Bankruptcy Rights Center
        jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net

        Daniel A Edelman on behalf of Creditor Carolyn Beech
        dedelman@edcombs.com, courtecl@edcombs.com

        Howard M Ehrenberg on behalf of Defendant New Horizon Finance LLC
        Howard.Ehrenberg@gmlaw.com,
        hehrenberg@ecf.courtdrive.com;hehrenberg@ecf.inforuptcy.com;Karen.Files@gmlaw.com;den
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        ise.walker@gmlaw.com

        Meredith Fahn on behalf of Creditor Meredith Fahn
        fahn@sbcglobal.net

        Jeremy Faith on behalf of Defendant Colbalt Funding Solutions, LLC
        Jeremy@MarguliesFaithlaw.com,
        Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com;Amber@MarguliesFaithLa
        w.com

        Jeremy Faith on behalf of Interested Party Courtesy NEF
        Jeremy@MarguliesFaithlaw.com,
        Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com;Amber@MarguliesFaithLa
        w.com

        William P. Fennell on behalf of Creditor Validation Partners LLC
        william.fennell@fennelllaw.com,
        wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.cwalinski@fennelllaw.com;sama
        ntha.larimer@fennelllaw.com;office@fennelllaw.com;Brendan.Bargmann@fennelllaw.com

        Alan W Forsley on behalf of Creditor Anthem Blue Cross of California
        alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
        lawyers.net,addy@flpllp.com,andrea@flpllp.com

        Alan W Forsley on behalf of Defendant JGW Solutions, LLC
        alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
        lawyers.net,addy@flpllp.com,andrea@flpllp.com

        Alan W Forsley on behalf of Interested Party Courtesy NEF
        alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
        lawyers.net,addy@flpllp.com,andrea@flpllp.com

        Marc C Forsythe on behalf of Defendant Clear Vision Financial LLC
        mforsythe@goeforlaw.com,
        mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com;Forsythe.MarcR136526@notify.bes
        tcase.com

        Marc C Forsythe on behalf of Defendant Perfect Financial, LLC
        mforsythe@goeforlaw.com,
        mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com;Forsythe.MarcR136526@notify.bes
        tcase.com

        Marc C Forsythe on behalf of Defendant Point Break Holdings LLC
        mforsythe@goeforlaw.com,
        mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com;Forsythe.MarcR136526@notify.bes
        tcase.com

        Jeremy Freedman on behalf of Plaintiff Richard A. Marshack
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        jeremy.freedman@dinsmore.com, bonnie.connolly@dinsmore.com

        Jeremy Freedman on behalf of Trustee Richard A Marshack (TR)
        jeremy.freedman@dinsmore.com, bonnie.connolly@dinsmore.com

        Eric Gassman on behalf of Creditor Herret Credit
        erg@gassmanlawgroup.com, gassman.ericb112993@notify.bestcase.com

        Yisrael Gelb on behalf of Defendant Bridge Funding Cap, LLC
        yisrael@gelblawapc.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
        christopher.ghio@dinsmore.com, angelica.urena@dinsmore.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
        christopher.ghio@dinsmore.com, angelica.urena@dinsmore.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
        christopher.ghio@dinsmore.com, angelica.urena@dinsmore.com

        Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
        christopher.ghio@dinsmore.com, angelica.urena@dinsmore.com

        Amy Lynn Ginsburg on behalf of Creditor Amy Ginsburg
        efilings@ginsburglawgroup.com

        Amy Lynn Ginsburg on behalf of Creditor Kenton Cobb
        efilings@ginsburglawgroup.com

        Amy Lynn Ginsburg on behalf of Creditor Shannon Bellfield
        efilings@ginsburglawgroup.com

        Eric D Goldberg on behalf of Defendant Stripe, Inc.
        eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com

        Jeffrey I Golden on behalf of Creditor Affirma, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;
        golden.jeffreyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Anaheim Arena Management, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;
        golden.jeffreyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Anaheim Ducks Hockey Club, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;
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        golden.jeffreyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Creditor Oxford Knox, LLC
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;
        golden.jeffreyi.b117954@notify.bestcase.com

        Jeffrey I Golden on behalf of Interested Party Courtesy NEF
        jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;
        golden.jeffreyi.b117954@notify.bestcase.com

        Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Defendant Debt Validation Fund II, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Defendant MC DVI Fund 1, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Defendant MC DVI Fund 2, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        David M Goodrich on behalf of Creditor United Partnerships, LLC
        dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com

        David M Goodrich on behalf of Interested Party Courtesy NEF
        dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com

        Spencer Keith Gray on behalf of Plaintiff Richard A Marshack
        spencer.gray@dinsmore.com, wendy.yones@dinsmore.com

        Spencer Keith Gray on behalf of Trustee Richard A Marshack (TR)
        spencer.gray@dinsmore.com, wendy.yones@dinsmore.com

        Stella A Havkin on behalf of Defendant Bridge Funding Cap, LLC
        stella@havkinandshrago.com, shavkinesq@gmail.com

        D Edward Hays on behalf of Attorney Marshack Hays LLP
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
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        oza@ecf.courtdrive.com

        D Edward Hays on behalf of Creditor Committee Committee of Unsecured Creditors
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
        oza@ecf.courtdrive.com

        D Edward Hays on behalf of Interested Party Courtesy NEF
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
        oza@ecf.courtdrive.com

        D Edward Hays on behalf of Interested Party Courtesy NEF
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
        oza@ecf.courtdrive.com

        D Edward Hays on behalf of Trustee Richard A Marshack (TR)
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
        oza@ecf.courtdrive.com

        D Edward Hays on behalf of Trustee Richard A Marshack (TR)
        ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
        oza@ecf.courtdrive.com

        Alan Craig Hochheiser on behalf of Creditor City Capital NY
        ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

        Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
        ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Brian L Holman on behalf of Creditor Sharp Electronics Corporation
        b.holman@musickpeeler.com

        Richard L. Hyde on behalf of Interested Party Courtesy NEF
        rhyde@awglaw.com

        Peter L Isola on behalf of Interested Party Merchants Credit Corporation
        pisola@hinshawlaw.com, rmojica@hinshawlaw.com,iking@hinshawlaw.com

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        Razmig Izakelian on behalf of Counter-Defendant OHP-CDR, LP
        razmigizakelian@quinnemanuel.com

        Razmig Izakelian on behalf of Counter-Defendant PurchaseCo 80, LLC
        razmigizakelian@quinnemanuel.com

        Razmig Izakelian on behalf of Creditor OHP-CDR, LP
        razmigizakelian@quinnemanuel.com

        Razmig Izakelian on behalf of Plaintiff OHP-CDR, LP
        razmigizakelian@quinnemanuel.com

        Razmig Izakelian on behalf of Plaintiff PurchaseCo 80, LLC
        razmigizakelian@quinnemanuel.com

        Veneeta Jaswal on behalf of Plaintiff Richard A Marshack
        veneeta.jaswal@dinsmore.com, bonnie.connolly@dinsmore.com

        Sara Johnston on behalf of Trustee Richard A Marshack (TR)
        sara.johnston@dinsmore.com

        Sweeney Kelly on behalf of Defendant Fidelity National Information Services, Inc.
        kelly@ksgklaw.com

        Sweeney Kelly on behalf of Defendant Fidelity National Information Services, Inc. dba FIS
        kelly@ksgklaw.com

        Sweeney Kelly on behalf of Defendant Worldpay Group
        kelly@ksgklaw.com

        Sweeney Kelly on behalf of Defendant Worldpay, LLC
        kelly@ksgklaw.com

        Joon M Khang on behalf of Attorney Khang & Khang LLP
        joon@khanglaw.com

        Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
        joon@khanglaw.com

        Ira David Kharasch on behalf of Defendant Consumer Legal Group, PC
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Defendant LGS Holdco, LLC
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party Ad Hoc Consumer Claimants Committee
        ikharasch@pszjlaw.com

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        Ira David Kharasch on behalf of Interested Party Consumer Legal Group, P.C.
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party Courtesy NEF
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party LGS Holdco, LLC
        ikharasch@pszjlaw.com

        Ira David Kharasch on behalf of Interested Party Liberty Acquisitions Group Inc.
        ikharasch@pszjlaw.com

        Meredith King on behalf of Defendant Gallant Law Group
        mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law

        Meredith King on behalf of Interested Party Courtesy NEF
        mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law

        Nicholas A Koffroth on behalf of Creditor Committee Committee of Unsecured Creditors
        nkoffroth@foxrothschild.com, khoang@foxrothschild.com;ca.dkt@foxrothschild.com

        Nicholas A Koffroth on behalf of Creditor Committee Post-Confirmation Oversight Committee
        nkoffroth@foxrothschild.com, khoang@foxrothschild.com;ca.dkt@foxrothschild.com

        David S Kupetz on behalf of Defendant Marich Bein LLC
        David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

        David S Kupetz on behalf of Defendant Marich Bein, LLC
        David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

        David S Kupetz on behalf of Interested Party Courtesy NEF
        David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

        Christopher J Langley on behalf of Interested Party Courtesy NEF
        chris@slclawoffice.com,
        langleycr75251@notify.bestcase.com;ecf123@casedriver.com;john@slclawoffice.com

        Kelli Ann Lee on behalf of Trustee Richard A Marshack (TR)
        Kelli.lee@dinsmore.com, kristy.allen@dinsmore.com

        Matthew A Lesnick on behalf of Defendant OptimumBank Holdings, Inc.
        matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com

        Daniel A Lev on behalf of Interested Party Courtesy NEF
        daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

        Daniel A Lev on behalf of Interested Party Liberty Acquisitions Group Inc.
        daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
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        Britteny Leyva on behalf of Interested Party Revolv3, Inc.
        bleyva@mayerbrown.com,
        2396393420@filings.docketbird.com;KAWhite@mayerbrown.com;ladocket@mayerbrown.com

        Marc A Lieberman on behalf of Defendant JGW Solutions, LLC
        marc.lieberman@flpllp.com, addy@flpllp.com,andrea@flpllp.com

        Marc A Lieberman on behalf of Interested Party Courtesy NEF
        marc.lieberman@flpllp.com, addy@flpllp.com,andrea@flpllp.com

        Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
        mlieberman@lipsonneilson.com

        Yosina M Lissebeck on behalf of Counter-Claimant Richard A. Marshack
        Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com;Wendy.Yones@Dinsmore.com

        Yosina M Lissebeck on behalf of Defendant Richard A. Marshack
        Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com;Wendy.Yones@Dinsmore.com

        Yosina M Lissebeck on behalf of Plaintiff Richard A. Marshack
        Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com;Wendy.Yones@Dinsmore.com

        Yosina M Lissebeck on behalf of Trustee Richard A Marshack (TR)
        Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com;Wendy.Yones@Dinsmore.com

        Mitchell B Ludwig on behalf of Creditor Fundura Capital Group
        mbl@kpclegal.com, kad@kpclegal.com

        Mitchell B Ludwig on behalf of Defendant Bridge Funding Cap, LLC
        mbl@kpclegal.com, kad@kpclegal.com

        Daniel S March on behalf of Defendant Daniel S. March
        marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com

        Daniel S March on behalf of Interested Party INTERESTED PARTY
        marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com

        Kathleen P March on behalf of Creditor Greyson Law Center PC
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Creditor Han Trinh
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Creditor Phuong (Jayde) Trinh
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Defendant Greyson Law Center PC
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        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Defendant Han Trinh
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Defendant Jayde Trinh
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Kathleen P March on behalf of Interested Party The Bankruptcy Law Firm, P.C.
        kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net

        Mark J Markus on behalf of Creditor David Orr
        , markjmarkus@gmail.com;markus.markj.r112926@notify.bestcase.com

        Richard A Marshack (TR)
        pkraus@marshackhays.com, ecf.alert+Marshack@titlexi.com

        Laila Masud on behalf of Interested Party Courtesy NEF
        lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com

        Laila Masud on behalf of Interested Party Courtesy NEF
        lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com

        Laila Masud on behalf of Interested Party Richard A. Marshack
        lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com

        Laila Masud on behalf of Plaintiff Richard Marshack
        lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com

        Laila Masud on behalf of Trustee Richard A Marshack (TR)
        lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com

        Sarah S. Mattingly on behalf of Defendant Clearcube LLC
        sarah.mattingly@dinsmore.com

        Sarah S. Mattingly on behalf of Plaintiff Richard A. Marshack, Chapter 11 Trustee
        sarah.mattingly@dinsmore.com

        Sarah S. Mattingly on behalf of Plaintiff Richard A. Marshack
        sarah.mattingly@dinsmore.com

        Sarah S. Mattingly on behalf of Trustee Richard A Marshack (TR)
        sarah.mattingly@dinsmore.com
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        Tony May on behalf of Defendant Matthew Lovelady
        tmay@maybrocklaw.com

        William McCormick on behalf of Creditor TN Dept of Revenue
        Bill.McCormick@ag.tn.gov

        Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
        Kenneth.M.Misken@usdoj.gov

        Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
        Kenneth.M.Misken@usdoj.gov

        Byron Z Moldo on behalf of Interested Party Byron Moldo
        bmoldo@ecjlaw.com, aantonio@ecjlaw.com,dperez@ecjlaw.com

        Glenn D. Moses on behalf of Creditor ADP, Inc
        gmoses@venable.com,
        cascavone@venable.com;ipmalcolm@venable.com;imalcolm@ecf.courtdrive.com;jadelgado@
        venable.com

        Jamie D Mottola on behalf of Plaintiff Richard A. Marshack, Chapter 11 Trustee
        Jamie.Mottola@dinsmore.com, jhanawalt@ecf.inforuptcy.com

        Alan I Nahmias on behalf of Interested Party Courtesy NEF
        anahmias@mbn.law, jdale@mbn.law

        Victoria Newmark on behalf of Defendant Consumer Legal Group, PC
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Victoria Newmark on behalf of Defendant LGS Holdco, LLC
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Victoria Newmark on behalf of Interested Party Consumer Legal Group, P.C.
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Victoria Newmark on behalf of Interested Party Courtesy NEF
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Victoria Newmark on behalf of Interested Party LGS Holdco, LLC
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Victoria Newmark on behalf of Interested Party Liberty Acquisitions Group Inc.
        vnewmark@pszjlaw.com, hdaniels@pszjlaw.com

        Jacob Newsum-Bothamley on behalf of Plaintiff Richard A. Marshack
        jacob.bothamley@dinsmore.com, bonnie.connolly@dinsmore.com

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        Jacob Newsum-Bothamley on behalf of Trustee Richard A Marshack (TR)
        jacob.bothamley@dinsmore.com, bonnie.connolly@dinsmore.com

        Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
        queenie.k.ng@usdoj.gov

        Israel Orozco on behalf of Creditor Israel Orozco
        israel@iolawcorp.com

        Keith C Owens on behalf of Creditor Committee Committee of Unsecured Creditors
        kowens@foxrothschild.com, khoang@foxrothschild.com

        Keith C Owens on behalf of Creditor Committee Post-Confirmation Oversight Committee
        kowens@foxrothschild.com, khoang@foxrothschild.com

        Keith C Owens on behalf of Intervenor OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS
        kowens@foxrothschild.com, khoang@foxrothschild.com

        Lisa Patel on behalf of Defendant OptimumBank Holdings, Inc.
        lpatel@lesnickprince.com, jmack@lesnickprince.com;jnavarro@lesnickprince.com

        Michael R Pinkston on behalf of Creditor Wells Marble and Hurst, PLLC
        rpinkston@seyfarth.com,
        jmcdermott@seyfarth.com,sfocalendar@seyfarth.com,5314522420@filings.docketbird.com,ban
        kruptcydocket@seyfarth.com

        Douglas A Plazak on behalf of Defendant Scott James Eadie
        dplazak@rhlaw.com

        Tyler Powell on behalf of Counter-Claimant Richard A Marshack (TR)
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Counter-Claimant Richard A. Marshack
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Counter-Defendant Richard A Marshack (TR)
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Defendant Richard A. Marshack
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Plaintiff Richard A Marshack
        tyler.powell@dinsmore.com,
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        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Plaintiff Richard A. Marshack
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Tyler Powell on behalf of Trustee Richard A Marshack (TR)
        tyler.powell@dinsmore.com,
        jennifer.pitcock@dinsmore.com;caitlin.brock@dinsmore.com;wendy.yones@dinsmore.com

        Daniel H Reiss on behalf of Defendant PECC Corp
        dhr@lnbyg.com, dhr@ecf.inforuptcy.com

        Daniel H Reiss on behalf of Defendant Touzi Capital, LLC
        dhr@lnbyg.com, dhr@ecf.inforuptcy.com

        Daniel H Reiss on behalf of Defendant Eng Taing
        dhr@lnbyg.com, dhr@ecf.inforuptcy.com

        Ronald N Richards on behalf of Interested Party Courtesy NEF
        ron@ronaldrichards.com, 7206828420@filings.docketbird.com

        Vanessa Rodriguez on behalf of Plaintiff Richard A. Marshack
        vanessa.rodriguez@dinsmore.com, angelica.urena@dinsmore.com

        Vanessa Rodriguez on behalf of Trustee Richard A Marshack (TR)
        vanessa.rodriguez@dinsmore.com, angelica.urena@dinsmore.com

        Kevin Alan Rogers on behalf of Creditor Wells Marble and Hurst, PLLC
        krogers@wellsmar.com

        Gregory M Salvato on behalf of Creditor Mari Agape
        gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

        Gregory M Salvato on behalf of Interested Party Courtesy NEF
        gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

        Olivia Scott on behalf of Creditor Azzure Capital LLC
        olivia.scott@hklaw.com

        Olivia Scott on behalf of Creditor Hi Bar Capital LLC
        olivia.scott@hklaw.com

        Jonathan Serrano on behalf of Plaintiff Richard A. Marshack
        jonathan.serrano@dinsmore.com

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        Jonathan Serrano on behalf of Special Counsel Dinsmore & Shohl LLP
        jonathan.serrano@dinsmore.com

        Jonathan Serrano on behalf of Trustee Richard A Marshack (TR)
        jonathan.serrano@dinsmore.com

        Maureen J Shanahan on behalf of Creditor Randall Baldwin Clark Attorney at Law PLLC
        Mstotaro@aol.com

        Paul R Shankman on behalf of Attorney Paul R. Shankman
        PShankman@fortislaw.com, info@fortislaw.com

        Paul R Shankman on behalf of Creditor United Partnerships, LLC
        PShankman@fortislaw.com, info@fortislaw.com

        Zev Shechtman on behalf of Interested Party Danning Gill Israel & Krasnoff LLP
        Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;hannah.richmond@saul.com

        Zev Shechtman on behalf of Interested Party Morning Law Group, P.C.
        Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;hannah.richmond@saul.com

        Jeffrey M Singletary on behalf of Plaintiff Alteryx, Inc.
        jsingletary@swlaw.com, rmckay@swlaw.com

        Adam D Stein-Sapir on behalf of Creditor Pioneer Funding Group, LLC
        info@pfllc.com

        Howard Steinberg on behalf of Defendant BankUnited, N.A.
        steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-BK@gtlaw.com;howard-steinberg-
        6096@ecf.pacerpro.com

        John H. Stephens on behalf of Plaintiff Richard A Marshack
        john.stephens@dinsmore.com, lizbeth.alonso@dinsmore.com

        John H. Stephens on behalf of Plaintiff Richard A Marshack
        john.stephens@dinsmore.com, lizbeth.alonso@dinsmore.com

        Andrew Still on behalf of Creditor Alteryx, Inc.
        astill@swlaw.com, kcollins@swlaw.com

        Andrew Still on behalf of Interested Party Courtesy NEF
        astill@swlaw.com, kcollins@swlaw.com

        Andrew Still on behalf of Plaintiff Alteryx, Inc.
        astill@swlaw.com, kcollins@swlaw.com

        Matthew J Stockl on behalf of Plaintiff Richard A. Marshack
        matthew.stockl@dinsmore.com, katrice.ortiz@dinsmore.com
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        Michael R Totaro on behalf of Creditor Randall Baldwin Clark Attorney at Law PLLC
        Ocbkatty@aol.com

        Michael R Totaro on behalf of Interested Party Randall Baldwin Clark
        Ocbkatty@aol.com

        United States Trustee (SA)
        ustpregion16.sa.ecf@usdoj.gov

        William J Wall on behalf of Witness Bradford Lee
        wwall@wall-law.com

        Sharon Z. Weiss on behalf of Creditor Azzure Capital LLC
        sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

        Sharon Z. Weiss on behalf of Creditor Hi Bar Capital LLC
        sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

        Sharon Z. Weiss on behalf of Defendant Azzure Capital LLC
        sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

        Johnny White on behalf of Creditor Debt Relief Group, LLC
        JWhite@wrslawyers.com, jlee@wrslawyers.com

        Johnny White on behalf of Interested Party Courtesy NEF
        JWhite@wrslawyers.com, jlee@wrslawyers.com

        Reina Zepeda on behalf of Other Professional Omni Agent Solutions
        rzepeda@omniagnt.com




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